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                                    ID #1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


CHEMETCO SITE PRP GROUP,                      )
                                              )
            Plaintiff,                        )
                                              )
      v.                                      )    Civil Action No. 3:18-cv-00179
                                              )
A SQUARE SYSTEMS, INC.; A STREET SCRAP;       )    COMPLAINT
A-1 AUTOMOTIVE CORE SUPPLIER                  )
COMPANY, INC.; A-1 METALS CO.; A-1            )
RECYCLING, INC.; A-1 SCRAP; A-1 SCRAP,        )
INC.; A-C AUTO; A-LINE EDS, INC.; A-          )
RELIABLE AUTO PARTS & WRECKERS, INC.          )
D/B/A LKQ A-RELIABLE; A. BICKOFF & SON;       )
A. EDELSTEIN & SON, INC.; A. LEVINE & S; A.   )
MILLER & CO.; A.A. AUTO RECYCLING;            )
A.C.E. METALS; A.D.A. INC.; A.I.M.            )
RECYCLING; A.J. WARHOLA RECYCLING,            )
INC.; A.K.N.; A.M. KING INDUSTRIES, INC.;     )
A.R. MEAD SALVAGE; A.R.M.S. RECYCLING;        )
A.S.C. INC. D/B/A ASCO METALS; A.Y.           )
MCDONALD MFG. CO.; A&A FOUNDRIES              )
INC.; A&A IRON; A&A IRON & METAL INC.;        )
A&A METALS; A&A METALS, INC.; A&A             )
SALVAGE; A&B ENTERPRISES; A&B IRON;           )
A&B METAL RECYCLING; A&B METAL                )
RECYCLING, INC.; A&B RECYCLING; A&B           )
RECYCLING, INC.; A&C METALS; A&E AUTO         )
ELECTRIC, INC.; A&E METAL RECYCLING           )
AND PACKAGING, INC.; A&E RECYCLING;           )
A&G SCRAP; A&J SALVAGE; A&M                   )
ENTERPRISES; A&M METALS; A&M SCRAP            )
METAL RECYCLING, LLC; A&P RECYCLING           )
CO. INC.; A&R SALVAGE; A&S METAL; A&S         )
METAL RECYCLING; A&S METALS, INC.;            )
A&W ELECTRIC; AA 1 AUTO WRECKING; AA          )
FOUNDRIES, INC.; AAA AUTO PARTS; AAA          )
RAD AND A; AAA RECYCLING, INC. D/B/A          )
LAMAN METAL; AAA SCRAP METALS, INC.           )
D/B/A AAA SCRAP METALS; AAKER &               )
ASSOCIATES; AARD WOLF IRON & METAL;           )
AAROMET METAL RECYCLING, LLC; AARON           )
FERER & SONS CO.; AARON METALS                )
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COMPANY; AARON SCRAP IRON; ABA             )
METALS; ABALENE METAL; ABBEY METAL         )
CO.; ABBEY METALS; ABBEY METALS            )
INTERNATIONAL; ABBEY METALS                )
RECYCLING; ABC BOX COMPANY; ABC            )
METALS SUPPLY SAN DIEGO, INC. D/B/A A-1    )
ALLOYS, INC.; ABC RADIATOR & AIR, INC.;    )
ABC RECYCLING; ABC RECYCLING               )
COMPANY; ABC SALVAGE; ABC SALVAGE &        )
SCRAP METAL; ABC SALVAGE 1; ABCO           )
METAL CORP.; ABEL RECYCLING, INC. D/B/A    )
MAX SILVER & SON INC.; ABLE ALLOY, INC.;   )
ABRAMS METAL; ABRAMS SCRAP METALS          )
CO.; ABSOLUTE AUTO; ACCO WASTE;            )
ACCURATE BRONZE BEARING CO.;               )
ACCURATE CAST; ACCURATE METALS, LLC;       )
ACE ELECTRIC MOTOR SERVICE; ACE IRON       )
& METALS INC.; ACE METAL RECYCLING         )
INC.; ACE METAL RECYCLING, LLC; ACE        )
RECYCLING; ACE RESTAURANT; ACE             )
SALVAGE; ACE SCRAP METAL; ACE SCRAP        )
METAL PROCESSORS INC.; ACE SCRAP           )
METAL RECYCLING CO.; ACE STORAGE           )
CONTAINERS, INC.; ACE SURPLUS; ACIER ET    )
METAL; ACIER VALLEY; ACME; ACME AUTO       )
CO.; ACME IRON & METAL; ACME METALS;       )
ACME REFINING SCRAP IRON; ACME             )
SALVAGE; ACME SCRAP INC.; ACQUISITION;     )
ACQUISITION SCRAP METALS; ACRE IRON &      )
METAL; ACT PIPE SUPPLY; ACTION IRON &      )
METAL, INC.; ACTION METAL CO., INC.;       )
ACTION METAL RECYCLING, INC. D/B/A         )
FASS METALS, INC.; ACTION RECYCLING;       )
ACTION SALES & METAL CO., INC.; ACTION     )
SALVAGE; ACTION WRECKING; ACTIVE           )
JUNK; ACTIVE RECYCLING CO., INC.; ADA      )
AUTO PARTS; ADAMS & WESTLAKE LTD.;         )
ADAMS SCRAP METAL; ADDUCI’S                )
AUTOMOTIVE USED PARTS, INC.; ADIN IRON     )
& STEEL, INC.; ADISON AUTOMOTIVE, INC.;    )
ADMETCO, INC.; ADO METAL LTE.;             )
ADVANCE IRON & METAL COMPANY;              )
ADVANCE SALVAGE; ADVANCED AUTO;            )
ADVANCED AUTOMOTIVE & RADIATOR;            )
ADVANCED CHEMICAL COMPANY;                 )
ADVANCED RECOVERY, INC.; AEGION            )



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CORPORATION D/B/A CORRPRO COMPANIES,      )
INC.; AER; AEROVOX CORP.; AFC CABLE       )
SYSTEMS, INC.; AFFRON SUPPLY, INC.; AFG   )
INDUSTRIES; AFM; AFRAM BROS. CO.;         )
AGRESTA, LLC D/B/A WEIRTON RECYCLING;     )
AIKEN RECYCLE; AIM RECYCLING; AIRLINE     )
AUTO; AIRWAYS IRON & METAL CO.; AK        )
STAMPING; AKSARBEN SCRAP IRON &           )
METAL, CO.; AL DECKER INC.; AL STAR       )
RECYCLING, L.L.C.; AL’S SALVAGE; AL’S     )
SALVAGE CO.; ALABAMA AVIATION;            )
ALABAMA SERVICE; ALAMEDA                  )
INDUSTRIES; ALAMEDA METALS CORP.;         )
ALAMO IRON WORKS; ALAN MUNDY              )
PROPERTIES PLLC; ALAN WIRE COMPANY;       )
ALBANY IRON; ALBERT BROS.; ALBERT         )
STEEL; ALBERTA METAL; ALBUQUERQUE         )
METAL RECYCLING; ALBY INC.; ALCO IRON     )
& METALS; ALCO METAL & SUPPLY INC.;       )
ALCO MILL PRODUCTS; ALDRED SCRAP;         )
ALERIS ROLLED PRODUCTS, LLC;              )
ALEXANDRIA IRON & SUPPLY CORP.;           )
ALFIERI SCRAP METAL COMPANY, INC.;        )
ALFONSO’S TRUCKING; ALFRED H. KNIGHT      )
NORTH AMERICA LTD.; ALGONQUIN             )
INDUSTRIES, INC.; ALL AMERICAN; ALL       )
AMERICAN WASTE SYSTEMS; ALL GRADE         )
METAL CO.; ALL GRADE METAL RECYCLING      )
OF SOUTH DADE, INC.; ALL METAL            )
RECYCLING; ALL MOPAR RECYCLING L.L.C.;    )
ALL SCRAP RECYCLING, LLC; ALL SOUTH       )
PARTS & TOWING; ALL STAR METALS; ALL      )
VARIETY METAL; ALL WEATHER HEATING        )
AC SHEET METAL LLC; ALL-MET               )
RECYCLING, INC.; ALLEN AVENUE AUTO        )
SALVAGE; ALLEN RECYCLING; ALLEN           )
SCRAP METAL; ALLEN’S RADIATOR             )
COOLING SYSTEM SPECIALISTS; ALLIED        )
METALS; ALLIED METALS, LLC; ALLIED        )
RECYCLING; ALLIED RECYCLING, INC.;        )
ALLIED SCRAP; ALLIED UNIVERSAL CORP.;     )
ALLMETAL RECYCLING, LLC; ALLOY            )
METALS; ALLOY RECYCLING INC.;             )
ALMETCO ALLOY; ALPERT & ALPERT IRON       )
& METAL, INC.; ALPERT & ALPERT            )
VENTURES, INC.; ALPHA EQUIPMENT;          )



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ALPHA-1 BATTERY; ALPHEGA, INC.; ALTECH    )
METALS, INC.; ALTER SCRAP; ALU-BRA        )
FOUNDRY, LLC; ALUMINUM AND COPPER         )
RECYCLING, INC.; ALUMINUM CENTER;         )
ALUMINUM FOUNDRY OF WISCONSIN LLC;        )
ALUMINUM RECYCLING; ALUMINUM              )
RECYCLING OF WARNER ROBINS; AM-MEX        )
RECYCLING AND DISPOSAL, INC.;             )
AMALGAMET INC.; AMANA METALS;             )
AMARILLO RECYCLING COMPANY, INC.;         )
AMCEP INC.; AMEREN CORPORATION;           )
AMERICAN AUTOMOTIVE PARTS, INC.;          )
AMERICAN BRASS; AMERICAN BRASS INC.;      )
AMERICAN CAR CRUSHING INC.; AMERICAN      )
CHEMET CORPORATION; AMERICAN COLL;        )
AMERICAN COMPRESSED STEEL CORP.;          )
AMERICAN COMPRESSED STEEL INC.;           )
AMERICAN CORE; AMERICAN CRUCIBLE          )
PRODUCTS; AMERICAN ELECTRONICS            )
COMPONENTS, INC.; AMERICAN                )
GENERATOR & ARMATURE CO.; AMERICAN        )
IRON; AMERICAN IRON & METAL COMPANY       )
INC.; AMERICAN IRON & STEEL CO.;          )
AMERICAN IRON AND METAL CO. INC.;         )
AMERICAN MERC.; AMERICAN METAL;           )
AMERICAN METAL & IRON, INC.; AMERICAN     )
METAL CO.; AMERICAN METAL RECYCLING,      )
INC.; AMERICAN METALS CO.; AMERICAN       )
RECYCLING; AMERICAN RECYCLING INC.;       )
AMERICAN SALVAGE; AMERICAN SCRAP;         )
AMERICAN SCRAP IRON AND METAL CO.;        )
AMERICAN SCRAP MART; AMERICAN SCRAP       )
METAL ALLOY, INC.; AMERICAN STANDARD      )
INC.; AMERICAN TIN & SOLDER,              )
INCORPORATED; AMERICAN WASTE              )
HAULERS; AMERICAN WIRE & CABLE            )
COMPANY; AMERIFAST CORPORATION;           )
AMERIMEX MOTOR & CONTROLS, LLC;           )
AMERITECH; AMERITECH SERVICES, INC.;      )
AMERWAY, INC.; AMG RESOURCES              )
CORPORATION; AMI TRADING (U.S.A.) INC.;   )
AMLON METALS; AMMEX TRADING; AMPCO        )
METAL INCORPORATED; AMPCO PARTNERS,       )
LTD. D/B/A AMPCO SAFETY TOOLS; AMS        )
GROUP LLC; AMTEX METAL RECYCLERS,         )
INC.; ANCHOR MOTEL; ANDREW IRON &         )



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METAL CO.; ANESTIS METAL; ANGEL           )
COMPUTER RESOURCES, INC.; ANHEUSER-       )
BUSCH RECYCLING CORPORATION; ANN          )
CONCORDE ANNISTON; ANNACO SCRAP;          )
ANSAM METAL CO.; ANSONIA COPPER &         )
BRASS, INC. D/B/A ANACONDA AMERICAN       )
BRASS; ANTHONY, INC. D/B/A ANTHONY        )
INTERNATIONAL; ANTHONY’S METAL;           )
ANTHRACITE SCRAP; ANY RADIATOR            )
SERVICE LLC; APACHE IRON; API HEAT        )
TRANSFER INC.; APOLLA SCRAP METALS        )
CORP.; APPLIED WASTE MANAGEMENT,          )
INC.; ARAGON IRON; ARAMIS COMPUTER        )
SALVAGE; ARANTS, INC.; ARCATA SCRAP;      )
ARCH METALS, INC.; ARCO ALUMINUM;         )
ARENA RADIATOR; ARIZONA CASH FOR          )
CANS; ARIZONA ENVIRONMENTAL               )
RECYCLING, LLC; ARIZONA PUBLIC            )
SERVICE COMPANY; ARIZONA SCRAP IRON       )
& METAL INC.; ARKLA RECYCLING;            )
ARMATURE SALES & REBUILDER GROUP;         )
ARMYS; ARNONE SCRAP; ARRIC                )
CORPORATION D/B/A REMOVABLE               )
INSULATION COVERS; ARRINGTON METAL;       )
ARROW METALS; ARROW RECYCLING             )
CORP.; ARROW TOOL & STAMPING CO.;         )
ARROWHEAD BRASS PRODUCTS, INC.;           )
ARSHAM METAL INDUSTRIES, INC.;            )
ARTHUR’S AUTO; ARUNDEL RECYCLING          )
CENTER; ARVIN AUTOMOTIVE; AS              )
AMERICA, INC. D/B/A AMERICAN STANDARD     )
BRANDS; ASARCO LLC; ASHLEY ENERGY,        )
LLC; ASHLEY SALVAGE CO.; ASHTABULA        )
RECYCLING; ASM RECYCLING, INC.; ASNER     )
IRON & METAL CO.; ASSAD IRON; ASSURED     )
MANUFACTURING; AT DESIGNS INSIGNIA        )
INC.; AT&T INC. D/B/A SOUTHWESTERN        )
BELL TELEPHONE; ATHEN AUTO; ATKINS        )
METALS; ATKINSON SCRAP; ATLANTA           )
METAL, INC.; ATLANTIC COAST RECYCLING,    )
INC.; ATLANTIC COPPER; ATLANTIC METAL     )
& SALVAGE; ATLANTIC METALS AND            )
ALLOYS; ATLAS FOUNDERS, INC.; ATLAS       )
INC. MIAMI RIVER DIVISION; ATLAS IRON &   )
METAL CO.; ATLAS METALS INC.; ATLAS       )
PACIFIC CORP.; ATLAS RECYCLING; ATLAS     )



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RECYCLING LTD.; ATLAS SCRAP IRON &         )
METAL CO.; ATLAS STEEL, INC.; ATLAS        )
TRADERS LLC; ATLAS-LEDERER; ATWATER        )
IRON; AUDET AUTO; AUDUBON METALS           )
LLC; AUGUSTA IRON; AUGUSTA METAL;          )
AUGUSTINE METALS, INC.; AURORA             )
METALS DIVISION, LLC; AURORA               )
RADIATOR; AUSTIN HINDS MOTORS, INC.;       )
AUSTIN METAL & IRON CO. L.P.; AUTO         )
ANSWERS; AUTO PARTS FOR REBUILDING;        )
AUTO RADIATOR; AUTO-SHRED INC.;            )
AUTOMATED TECHNOLOGY RECYCLING;            )
AUTOMOBILE J.; AUTOMOTIVE EL.;             )
AUTOPART RECYCLING; AVALON                 )
PRECISION CASTING COMPANY, LLC D/B/A       )
AVALON PRECISION METALSMITHS;              )
AVALON SALVAGE; AVANTI CIRCUITS, INC.;     )
AVAYA INC.; AVIVA METALS, INC.; THE        )
AYLING & REICHERT CO.; AZCON CORP.;        )
AZCON SCRAP; AZUSA SALVAGE; B MAP          )
CORES; B MEYER BOOKKEEPING                 )
SOLUTIONS, LLC; B. CLINKSTON & SONS; B.    )
GINSBERG & CO. INC.; B. MILLENS AND        )
SONS INCORPORATED; B.B.&J. METAL; B.F.S.   )
RECYCLING; B.L.&M. REBUILDERS SUPPLY;      )
B&B IRON & METAL; B&B METALS               )
PROCESSING CO., INC.; B&B RADIATOR INC.;   )
B&B RECYCLING; B&B SALVAGE & RIGGING       )
INC.; B&H METALS; B&J USED AUTO; B&M       )
ELECTRIC MOTOR SERVICE, INC.; B&O AUTO     )
PARTS & WRECKERS INC.; B&R METALS;         )
B&R SCRAP METAL; B&R WRECKING CO.;         )
B&S AUTOMOTIVE; BABS FOUNDRY, INC.;        )
BADEN CAR PARTS, INC.; BADGER METER,       )
INC.; BAER’S AUTO PARTS; BAILEY’S SCRAP;   )
BAISDEN METAL; BAKER IRON & METAL CO.      )
INC.; BAKER METALS; BAKERMET AUTO;         )
BALEMET RECYCLING; BALL BRASS &            )
ALUMINUM FOUNDRY, INC.; BALLAST            )
METAL; BALTIMORE METAL; BALTIMORE          )
SCRAP CORP.; BAMAR METALS; BANKOFF         )
PIPE; BANTIVOGLIO; BARGAIN CENTER;         )
BARKER’S JUNK; BARRIE METALS LTD.;         )
BARRY IRON & METAL; BARTLESVILLE;          )
BASIC METAL CO.; BASIC RECYCLING, INC.;    )
BAXTER METAL CO.; BAY AREA METAL;          )



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BAY AREA RECYCLING; BAY METALS; BAY        )
SIDE RECYCLING INC.; BAY STATE; BAY        )
STATE SCRAP; BAY WEST PRODUCTS, LLC;       )
BAYOU CITY METAL; BC BRAKE; BCD            )
ELECTRO, INC.; BEACON MANAGEMENT           )
INC.; BEACON METAL COMPANY, INC.;          )
BEACON VALVE; BEAL’S AUTO; BEAUCE          )
METAL; BECK MANUFACTURING COMPANY;         )
BECK METALS; BECKER IRON; BECKER IRON      )
& METAL, INC.; BECKER IRON AND METAL,      )
INC.; BECKETT BRONZE COMPANY, INC.;        )
BECOTEK MFG., INC. D/B/A JOHNSON           )
METALL, INC.; BEDFORD METAL                )
RECYCLING; BEDFORD RECYCLING INC.;         )
BEHR IRON & STEEL CO.; BEHR IRON &         )
STEEL INC.; BEHR METALS INC.; BEHR         )
PEORIA, INC.; BEHR PRECIOUS METALS INC.;   )
BEKO TECH & MANUFACTURING; BEL FUSE        )
INC. D/B/A STEWART CONNECTOR SYSTEMS,      )
INC.; BELDEN INC.; BELDEN WIRE & CABLE     )
COMPANY, LLC; BELL BRIDGE; BELL            )
FOUNDRY CO.; BELL GARDENS RECYCLING        )
STATION; BELL IRON & METAL CO.; BELL       )
METAL; BELLAR AUTO PARTS; BELLEVILLE       )
RECYCLING, INC.; BELLSOUTH                 )
TELECOMMUNICATIONS, LLC; BELMONT           )
ABBEY COLLEGE; BELMONT METALS INC.;        )
BELSINGER SIGN WORKS INC.; BELSON          )
RECYCLING; BELSON SCRAP CORPORATION;       )
BELSON STEEL CENTER, INC.; BELTSVILLE      )
METAL; BEN SINGER & SONS INC.;             )
BENCHMARK ELECTRONICS, INC.; BENGART       )
& MEMEL, INC.; BENNETT & COHEY JUNK        )
YARD; BENSON & BENSON IRON & METAL         )
CO.; BERARD & JEMU; BEREA METALS &         )
RECYCLING; BERGEN RECYCLING, INC.;         )
BERGER & COMPANY RECYCLING, INC.;          )
BERGER RECYCLING; BERGER SCRAP;            )
BERMAN BROTHERS; BERRY GLOBAL, INC.;       )
BERRY IRON; BERWEIN METAL CO. INC.;        )
BEST RADIATOR; BEST TRADE SERVICE;         )
BESTWAY RECYCLING CO.; BETHEL METAL        )
& RECYCLERS, INC.; BETHLEHEM               )
APPARATUS COMPANY, INC.; BETHLEHEM         )
STEEL CORP.; BETTEN PROCESS; BG            )
SALVAGE, L.L.C.; BICK GROUP; BIELECKI      )



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SCRAP; BIG SPRING IRON & METAL; BILL’S    )
AUTO; BILL’S AUTO SCRAP; BILL’S SPEED     )
SHOP; BILLS RADIATORS; BILTMORE           )
METALS INC.; BISTONE SCRAP METAL;         )
BLACK IRON; BLACKSHEAR & SONS             )
CONTRACT METALS, INC.; BLACKSTOCK;        )
BLACKTIE TRUCK WRECKING;                  )
BLACKWELDER CORE SUPPLY RECYCLING;        )
BLACKWELDERS CONVERTER AND METAL          )
RECYCLING; BLADENSBURG RIVER ROAD         )
METAL CO.; BLADTS METAL & AUTO CORES;     )
BLAINE WINDOW HARDWARE INC.;              )
BLATTNER METAL; BLOCH METALS, INC.;       )
BLONDEAU METAL; BLONDER & COMPANY;        )
BLUE COLLAR SUPPLY; BLUE RECYCLING,       )
INC.; BLUE RIDGE RECYCLING, INC.; BLUE    )
SPRINGS; BLUEBIRD SCRAP; BLUERIDGE        )
EXHAUST; BLUM COMPANY; BLUME SCRAP        )
METAL & BATTERY MART, INC.;               )
BLYTHEVILLE IRON & METAL CO.; BMB         )
CRUSHING; BMS SCRAP; BOARD OF WATER       )
WORKS OF PUEBLO, COLORADO; BOB            )
BROOKS MOTOR COMPANY D/B/A                )
PRECISION PARTS & REMANUFACTURING;        )
BOB MULLEN CO.; BODINE SCRAP METAL;       )
BODNER METAL AND IRON CORPORATION;        )
BOGE IRON AND METAL COMPANY, INC.;        )
BOGGS AUTO PARTS; BOLIDEN METECH;         )
BOLTON USA CORP.; BONDI METALS,           )
FLORIDA; BONDI, INC.; BONUS METAL CO.;    )
BOOTH METAL; BOOTHHILL TRUCK;             )
BORCHERS AMERICAS INC.; BORDER            )
TRADING; BORDER TRADING CO.;              )
BORGWARNER INC.; BORINQUEN METALS         )
SCRAP CORP.; BORO AUTO WRECKING           )
COMPANY, INC.; BOSTON CORE SUPPLY,        )
INC.; BOSTON ROAD AUTO; BOUTHILLETTE      )
M&G INC.; BPS CORES, INC.; BRADHART       )
PRODUCTS INC.; BRAEAURITE METAL;          )
BRAKE’S HERBS & RECYCLING CO.;            )
BRALCO; BRAN & BROS.; BRAND & BRAND;      )
BRANDEIS MACHINERY & SUPPLY               )
COMPANY; BRANDMAN; BRANDON                )
RADIATOR; BRASS BROTHER; BRASS CRAFT      )
WESTERN CO.; BRASSCRAFT                   )
MANUFACTURING COMPANY; BRAZORIA           )



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COUNTY DISPOSAL CORPORATION; BREITER            )
METALS INC.; BRENNER IRON; BRIAN H.             )
SMITH DEMOLITION AND DISMANTLING                )
INC. D/B/A NORTHWEST DEMOLITION AND             )
DISMANTLING; BRIDGEWATER RECYCLING,             )
INC.; BRIGGS & HEINO PLUMBING &                 )
HEATING CO., INC.; BRIONES METAL;               )
BRISTOL METAL; BROADWAY ALLOYS;                 )
BROADWAY IRON; BROCK INT.; BROCKTON             )
IRON & STEEL CORPORATION; BRODY                 )
SCRAP; BRONX IRON; BROOKFIELD METAL;            )
BROOKMAN AUTO; BROOM’S AUTO                     )
SALVAGE; THE BROST FOUNDRY COMPANY;             )
BRUCK SCRAP METAL; BRUNO’S IRON AND             )
METAL RECYCLING; BRUNSTEDT &                    )
LAMBERT SYSTEMS, INC.; BRUNSWICK                )
METAL; BUCK COMPANY, INC.; BUCKMAN              )
IRON & METAL COMPANY INC.; BUD’S AUTO           )
PARTS & USED CAR SALES; BUD’S IRON &            )
METAL; BUDDY’S AUTO; BUFFALO CATS;              )
BUFFERED JUNK; BUGSYN RADIATOR;                 )
BULLDOG DISPOSAL & RECYCLING, INC.;             )
BUNTING BEARINGS CORP.; BURDEN                  )
RECYCLING & SALVAGE; BURDETT                    )
RECYCLING; BURNS IRON & METAL CO.               )
INC.; BURNSTEIN PRECISION; BUSH’S               )
RECYCLING, INC. D/B/A BUSH’S RECYCLING          )
CENTER; BUSSMAN; BUSY METAL CO.;                )
BUTCHS SCRAP METALS; BUTLER-                    )
MACDONALD, INC.; BUY RITE RADIATOR;             )
C.A. ZIMMER, INC.; C.I. GREEN LINE S.A.; C.I.   )
METALES Y METALES DE OCCIDENTE S.A.;            )
C.I.I. MIDTEX; C.K. METALS; C.M. GARY; C.R.     )
BINDER GENERAL CONTRACTORS LLC; C&C             )
METALS; C&C METALS INC.; C&C SCRAP              )
SERVICES, INC.; C&D TECHNOLOGIES, INC.;         )
C&G SALVAGE; C&L SALVAGE; C&M                   )
METALS, INC.; C&M R&D; C&M RECYCLING;           )
C&R METALS, INC.; C&R RECYCLING; C&S            )
GOLD CO.; C&S METALS; C&S                       )
METALS/VALLEY METALS; C&S SCRAP                 )
METAL; C&T CONTRACTING; C&W; C&W                )
ENTERPRISES; CABLE RECOVERY INC.;               )
CABLE RECYCLING, INC.; CABLE                    )
SOLUTIONS; CACTUS RECYCLING; CAL                )
CHEM METALS, INC.; CAL COIL MAGNETICS,          )



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 INC.; CAL-COAST RECYCLING INC.; CALBAG    )
 METALS CO.; CALIFORNIA METALS             )
 RECYCLING, INC.; CALMET TRADING;          )
 CALUMET BRASS FOUNDRY, INC.;              )
 CALVERT’S SCRAP; CAMBRIA METALS;          )
 CAMBRIDGE RECYCLING; CAMBRIDGE-LEE        )
 INDUSTRIES LLC; CAMDEN IRON & METAL,      )
 INC.; CAMDEN STEEL; CAMPBELL SCRAP;       )
 CAMPBELL TECHNOLOGICAL RESOURCES,         )
 INC.; CAN DEPOT RECYCLING; CAN DOO        )
 RECYCLING; CAN HANDLER RECYCLING;         )
 CAN HEAVEN RECYCLING; CAN LAND            )
 RECYCLING; CAN MAN; CAN MAN               )
 INDUSTRY; CAN-CORE; CANADA METAL          )
 NORTH AMERICA LTD.; CANBRO INC.;          )
 CANCO RECYCLING; CANFIELD QUALITY;        )
 CANMET ALLOYS; CANTER METALS;             )
 CANTON METAL RECYCLING LLC; CAP’S         )
 AUTO WRECKING; CAPE FEAR RECYCLERS        )
 INC.; CAPISTRANO CORES; CAPITAL CITY;     )
 CAPITAL CORES & METALS; CAPITAL           )
 METAL; CAPITAL RECYCLING; CAPITAL         )
 SCRAP; CAPITAL SCRAP METAL CO.;           )
 CAPITAL STAMP; CAPITOL CITY METALS,       )
 LLC; CAPPER PASS; CARDINAL HEALTH,        )
 INC.; CARDINAL STABILIZERS, INC.;         )
 CARIBBEAN RECYCLING, INC.; CARL’S         )
 AUTO PARTS; CARLETON IRON AND             )
 METALS, INC.; CARLOMAGNO SCRAP            )
 CORPORATION; CAROLINAS MEDICAL            )
 CENTER AT HOME, LLC; CAROLINAS            )
 RECYCLING GROUP; CARR FUTURES;            )
 CARRIBEAN RECYCLING INC.; CARRICO         )
 AUTO-HEAP; CARROUSEL RECYCLING;           )
 CARSCO; CARTER BROTHER;                   )
 CARTERSVILLE; CARTHAGE AUTO PARTS         )
 CO.; CASEBERE HEAT; CASH FOR TRASH;       )
 CASH RECYCLING; CASHWAY AUTO; CASLE       )
 IRON; CASPER IRON; CASTLE METAL;          )
 CASTRIOTA METALS & RECYCLING INC.;        )
 CASTURO IRON & METAL; CATALYSEURS M.      )
 BEDARD ENR.; CATE RECYCLING; CATSKILL     )
 COMMUNICATIONS, INC.; CAUTTRELL           )
 ENTERPRISES, INC. D/B/A FENSTER STEEL     )
 CORPORATION; CAVE RADIATOR, LLC; CBS      )
 CORPORATION; CENTRAL ALABAMA;             )



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 CENTRAL CONTROL; CENTRAL DENVER            )
 IRON WORKS, INC.; CENTRAL HUDSON GAS       )
 & ELECTRIC CORP.; CENTRAL IRON;            )
 CENTRAL KANSAS; CENTRAL METAL;             )
 CENTRAL METAL ELECTRIC; CENTRAL            )
 METAL INC.; CENTRAL METAL RECYCLING        )
 D/B/A CENTRAL METALS; CENTRAL STATES       )
 REFINING CO., INC.; CENTRAL STEEL AND      )
 WIRE COMPANY; CENTRAL TRADING &            )
 RECYCLING, INC.; CENTRAL WIRE;             )
 CENTROTRADE MINERALS & METALS, INC.;       )
 CENTURY TRADING; CERES RECYCLING;          )
 CERRO FABRICATED PRODUCTS LLC;             )
 CERRO WIRE LLC; CHAMBERS SCRAP;            )
 CHAMPION IRON; CHAMPION ORNAMENTAL         )
 CASTINGS, INC.; CHANDLER METAL;            )
 CHANDLER’S AUTO GLASS; CHANEN SCRAP        )
 & STEEL INC.; CHAPIN & FAGIN DIVISION;     )
 CHARLOTTE IND.; CHARLOTTE PEDDLER          )
 LIST; CHEM SOURCE, INC.; CHEROKEE FUR      )
 INCORPORATED; CHICAGO FASTENER, INC.;      )
 THE CHICAGO FAUCET COMPANY; CHICAGO        )
 INTERNATIONAL CHICAGO, INC.; CHICAGO       )
 RAILWAY; CHICAGO ROUTE; CHICAGO            )
 SCRAP IRON & METAL CO.; CHICAGO WEST;      )
 CHICKS METAL; CHICO SCRAP METAL;           )
 CHIPTEC INC.; CHRIS HOOVER &               )
 ASSOCIATES; CHRIS PLATING, INC.; CHRIS     )
 SCRAP; CHRISNEY RECYCLE; CHRISTY           )
 METALS, INC.; CHUCK & JANET; CHUCKS        )
 AUTO; CHURCH SCRAP METAL; CICERO           )
 IRON METAL & PAPER INC.; CIFUNSA, S.A.;    )
 CIMCO RECYCLING OTTAWA, INC.; CINCY        )
 SCRAP; CINELLI IRON & METAL CO.;           )
 CIPOLLINI RECYCLING, INC.; CIRCLE M        )
 TRADING; CIRCOSTA IRON & METAL CO.         )
 INC.; CIRCUITRONICS INC.; CIRCULO          )
 COMERCIAL S.A. DE C.V.; CITY INDUSTRIES,   )
 INC.; CITY OF ARLINGTON, TEXAS; CITY OF    )
 AVONDALE, ARIZONA; CITY OF BELLEVUE,       )
 WASHINGTON; CITY OF CHANDLER,              )
 ARIZONA; CITY OF CHARLOTTE, NORTH          )
 CAROLINA; CITY OF CHATTANOOGA,             )
 TENNESSEE; CITY OF DULUTH, MINNESOTA;      )
 CITY OF FLORISSANT, MISSOURI; CITY OF      )
 GLENDALE, CALIFORNIA; CITY OF GRAND        )



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 PRAIRIE, TEXAS; CITY OF GREENSBORO,         )
 NORTH CAROLINA; CITY OF HOLLYWOOD,          )
 FLORIDA; CITY OF INGLEWOOD,                 )
 CALIFORNIA; CITY OF IOWA CITY, IOWA;        )
 CITY OF IRVING, TEXAS; CITY OF KENOSHA,     )
 WISCONSIN; CITY OF LA MARQUE, TEXAS;        )
 CITY OF MESQUITE, TEXAS; CITY OF MIAMI      )
 BEACH, FLORIDA; CITY OF OTTUMWA,            )
 IOWA; CITY OF PAGE, ARIZONA; CITY OF        )
 PHOENIX, ARIZONA; CITY OF ROANOKE,          )
 VIRGINIA; CITY OF SNYDER, TEXAS; CITY       )
 OF SPRINGFIELD, MASSACHUSETTS; CITY         )
 OF ST. LOUIS, MISSOURI; CITY OF TAMPA,      )
 FLORIDA; CITY OF TAYLORSVILLE, UTAH;        )
 CITY OF TEXAS CITY, TEXAS; CITY OF          )
 TUCSON, ARIZONA; CITY PAPER & METAL,        )
 CO., INC.; CITY RECYCLING INC. D/B/A CITY   )
 SCRAP RECYCLING; CITY SALVAGE; CITY         )
 SALVAGE 1 INC.; CITY SCRAP & SALVAGE        )
 CO., INC.; CITY SCRAP METAL, INC.; CITY     )
 USED PARTS CO.; CITYWIDEMETALS AND          )
 SALVAGE CO.; CLARENDON LTD.; THE            )
 CLARK COMPANY; CLARK MACHINE                )
 CORPORATION; CLARK SURPLUS; CLARKE &        )
 CO.; CLASS ACT MAID SERVICE; CLAXTON        )
 COPPER & BRASS, INC.; CLAXTON               )
 RECYCLING, INC.; CLC PRECIOUS METAL         )
 RECOVERY; CLEAN EARTH RECYCLING;            )
 CLEAN NEIGHBOR; CLEANLITES                  )
 RECYCLING INC.; CLEARING SMELT;             )
 CLEVELAND AUTO; CLEVELAND                   )
 CORPORATION; CLEVELAND ROUTE;               )
 CLEVELAND WIRE AND METAL RECYCLING,         )
 LLC; CLINTON COUNT; CLOVIS AUTO             )
 PARTS; CME ARMA INCORPORATED; CME           )
 PRINTING, INC.; CME WIRE & CABLE, INC.;     )
 CMR METAL INC.; CNA METALS LIMITED;         )
 COASTAL FOUNDRIES; COASTAL FOUNDRY          )
 COMPANY; COASTAL METAL INC.; COASTAL        )
 SCRAP; COBALT-LOUISVILLE, INC.; COHEN       )
 & COHEN; COHEN & GREEN; COHEN               )
 BROTHERS, INC.; COHEN-WILBUR; COINER’S      )
 SCRAP; COLANTUONO-KLURMAN                   )
 ASSOCIATES INC. D/B/A C&K SCRAP METAL;      )
 COLE ELECTRIC COMPANY, INC.; COLEMAN        )
 ENGINEERING & METALS; COLEMAN’S             )



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 METAL; COLLINS; COLORADO METAL;           )
 COLUMBIA IRON; COLUMBUS SCRAP;            )
 COLUMBUS SCRAP MATERIAL COMPANY,          )
 INC.; COMFORT METAL; COMM CON             )
 CONNECTORS, INC.; COMMERCIAL              )
 ELECTRIC; COMMERCIAL M.; COMMERCIAL       )
 METAL CO.; COMMERCIAL METALS;             )
 COMMERCIAL METALS COMPANY;                )
 COMMODITY MANAGEMENT SERVICES, INC.       )
 D/B/A MORRELL SCRAP SERVICES;             )
 COMMODITY METAL; COMMODITY TRADE;         )
 COMMONWEALTH; COMMUNICATIONS              )
 HARDWARE, INC.; COMPASS METAL             )
 CORPORATION; COMPEX OF LOUISIANA,         )
 INC. D/B/A COMPUTER EXCHANGE;             )
 COMPLETE RECYCLING, INC.; COMPONENTS      )
 RECLAIM, INC.; COMPRESSED METALS          )
 LIMITED; COMPUTER ASSET MANAGEMENT        )
 COMPANY; COMPUTER MEDICS LLC D/B/A        )
 GWZ COMPUTERS; COMPUTER RECYCLING         )
 & REFINING, LLC; COMPUTER SCRAPPERS,      )
 LLC; CONBRACO INDUSTRIES, INC.; CONCA     )
 & MAVIGLIA INC.; CONCAST METAL            )
 PRODUCTS CO.; CONCORDE; CONCORDE -        )
 HARTFORD HQ; CONCORDE GREENSBORO;         )
 CONCORDE MISSISSIPPI; CONCORDE            )
 NASHVILLE; CONCORDE OAKLAND               )
 WAREHOUSE; CONCORDE TULSA; CONDOR         )
 METALS; CONFER METALS; CONN-SELMER,       )
 INC.; CONNECTICUT; CONNECTOR              )
 CASTINGS, INC.; CONSENTIN SA;             )
 CONSERVATION; CONSERVIT INC.;             )
 CONSOLIDATED ALLOYS, INC.;                )
 CONSOLIDATED EDISON COMPANY OF NEW        )
 YORK, INC.; CONSOLIDATED RESOURCES,       )
 INC.; CONSOLIDATED WATER; CONSPILL;       )
 CONSUMERS SCRAP; CONTAINER SALVAGE        )
 CORP.; CONTEC CORPORATION;                )
 CONTENANTS GR.; CONTENANTS TE.;           )
 CONTINENTAL METAL; CONTRACT METAL;        )
 CONVERSION RE 1; CONVERSION               )
 RECYCLING; CONWAY SCRAP METAL, INC.;      )
 COOK’S AUTO PARTS; COOL HEAT, INC.;       )
 COOPER FOUNDRY, INC.; COOPER LIGHTING;    )
 COOPER-STANDARD AUTOMOTIVE INC.;          )
 COOPER’S IRON & METAL INC.; COPAN         )



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 RESOURCES, INC.; COPPER & BRASS           )
 INTERNATIONAL; COPPER STATE METALS,       )
 LLC; CORD SPECIALTY; CORKEYS AUTO;        )
 CORNELL METAL; CORNING, INC.;             )
 CORONA’S AUTO PARTS, INCORPORATED;        )
 CORRIDOR RECYCLING, INC.; CORRUGATED      )
 PAPER-BALTIMORE; CORRUGATED PAPER-        )
 CHARLOTTE; CORRUGATED PAPER-              )
 CHICAGO; CORRUGATED PAPER-DALLAS;         )
 CORRUGATED PAPER-L.A.; CORRUGATED         )
 PAPER-MIAMI; CORRUGATED PAPER-            )
 NEWARK; COTTRELL’S; COUNTRYSIDE A;        )
 COUNTY METAL YARD, INC.; COUNTYLINE;      )
 COURTNEY CAR; COUSINS CORE; COX           )
 COMMUNICATIONS; COYNE & DELANY            )
 COMPANY; CR&R, INC.; CRAFT SALVAGE;       )
 CRANFORD IRON AND METAL COMPANY,          )
 INC.; CREATIVE BRASS WORKS L.P.;          )
 CREATIVE BRONZE, INC.; CREST METALS,      )
 INC.; CREW’S SALVAGE; CROCKER METAL;      )
 CROPSEY SCRAP IRON & METAL CORP.;         )
 CROSBIE FOUNDRY COMPANY INC.;             )
 CROSSROADS RECYCLING, INC.; CROW          )
 WING RECYCLING; CSC AUTO SALVAGE          )
 AND DISMANTLING, INC.; CULP IRON &        )
 METAL; CULP SMELTING; CUMBERLAND          )
 AUTO; CUMBERLAND RECYCLING                )
 CORPORATION OF SOUTH JERSEY;              )
 CUNNINGHAM METALS, INC.; CURBSIDE         )
 RECYCLING; CURCIO SCRAP METAL INC.;       )
 CURTIS INDUSTRIES, INC.; CURTIS METAL;    )
 CUSTOM ALLOY SCRAP SALES, INC.;           )
 CUSTOM ENVIRONMENTALIST; CUSTOM           )
 STAMPING; CWB TRANSPORT LLC D/B/A         )
 M&M SCRAP METALS; CYCLE SYSTEMS,          )
 INC.; CYPRUS COPPER; CYPRUS COPPER        )
 MARKET - WARRENTON; D AND D               )
 RECYCLING; D. COHEN AND SONS              )
 CORPORATION; D.H. GRIFFIN WRECKING        )
 CO., INC.; D.P. RECYCLING CO.; D’AMBRA    )
 METALS; D’ANDREA INDUSTRIES, INC. D/B/A   )
 ABCO RECYCLING SERVICES; D’S AUTO         )
 REPAIR; D&B INDUSTRIAL GROUP; D&C         )
 METALS; D&D SANITATION; D&J               )
 RECYCLING SERVICE; D&L METAL; D&L         )
 RECOVERY; D&R METALS; D&S SCRAP           )



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 METAL, LLC D/B/A GLOBAL SCRAP METAL;      )
 D&T RECYCLING & SALVAGE; D&T SCRAP        )
 METAL; DADEVILLE RECYCLING; DAHL &        )
 GROEZINGER, INC.; DALE AVENUE JUNK        )
 YARD; DALEX INC.; DAMILLE METAL; DAN      )
 CASE AUTO; DAN STIEFEL (R&D CORE          )
 BUYERS); DAN’S AUTO PARTS; DAN’S          )
 RECYCLE; DANA COMPANIES LLC; DANA         )
 CORPORATION; DANA INCORPORATED;           )
 DANA KEPNER COMPANY, INC.; DANA           )
 RADIATOR; DANDREA BROS.; DANIA SCRAP      )
 METALS-COMPANY; DANIEL’S ELECTRIC;        )
 DANIELLE USED; DANNY’S METALS, LLC;       )
 DARLINGTON SHREDDING COMPANY, INC.;       )
 DART METALS TRADING CO.; DART             )
 PRECISION; DATA LINK SERVICE; DAVE AND    )
 DAN’S AUTO SALVAGE; DAVE’S                )
 AUTOMOTIVE RECYCLING, LLC; DAVID H.       )
 FELL & CO., INC.; DAVID MATTHEWS, INC.    )
 D/B/A MPS COMPANY; DAVID’S AUTO;          )
 DAVIS COMPANY; DAVIS ENTERPRISES INC.;    )
 DAVIS RECYCLING CO.; DAVIS SALVAGE        )
 CO., L.L.C.; DAVIS TRADING; DAVIS-        )
 STANDARD LLC; DAYTON IRON; DBI INC.       )
 D/B/A UTILITIES & INDUSTRIES; DBR BELL,   )
 L.L.C.; DC METALS; DC SCRAP; DE MATTEO    )
 SALVAGE; DECCO ALLOYS INC.; DECKER        )
 SALVAGE; DEER VALLEY RECYCLING, LLC;      )
 DEIXIAR FER; DEKALB IRON AND METAL        )
 CO.; DEKORON WIRE & CABLE, LLC;           )
 DELAWARE METAL CORP.; DELCO-REMY          )
 GENERAL MOTORS CORP.; DELL’S AUTO         )
 WRECKING, INC.; DELMAR SCRAP;             )
 DELMORE MOTOR; DELORENZO SCRAP;           )
 DELPHI MECATRONIC SYSTEMS; DELTA          )
 SALVAGE; DELTA SCRAP; DELTEC, INC.;       )
 DEMILTA SCRAP & SALVAGE INC.;             )
 DENAPLES AUTO PARTS, INC.; DENSO          )
 MANUFACTURING TENNESSEE, INC.; THE        )
 DEPOT; DES JARDINS R.; DESERT METALS;     )
 DEUTSCHE NICKEL AMERICA, INC.;            )
 DEVANDRY’S RECYCLING; DEWEY COOK          )
 SCRAP IRON CO.; DEXMET CORP.; DIAL        )
 MANUFACTURING, INC.; DIAMOND              )
 CORPORATION, INC.; DIANA-TX UTILITY;      )
 DIE-MATE CORPORATION; DIGNITY             )



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 HEALTH; DIKES IRON & METAL; DILLION       )
 RECYCLING CENTER INC.; DIRECT CABLE       )
 BUYERS, LLC; DITTMER COMPANY;             )
 DIVERSIFIED C.; DIX SCRAP IRON & METAL;   )
 DIXIE ELECTRO MECHANICAL SERVICES,        )
 INC.; DIXIE IRON; DIXON SCRAP; DIXSON     )
 METALS RECYCLING, INC.; DJK PROPERTIES,   )
 LLC; DLUBAK GLASS COMPANY; DMD            )
 SYSTEMS RECOVERY, INC.; DO MORE           )
 RECYCLING; DOBROFSKY & CO. INC.;          )
 DOBROW INDUSTRIES INC.; THE DOE RUN       )
 COMPANY; DOLPHIN, INCORPORATED;           )
 DOMINION NICKEL; DON HOCTORS AUTO         )
 WRECKING; DON’S CAR CRUSHING, INC.;       )
 DON’S SCRAP METAL; DONAGHY                )
 RECYCLING; DONGBU DAEWOO                  )
 ELECTRONICS AMERICA INC.; DOUBLE A        )
 METAL; DOUGLAS IRON; DOVER                )
 INDUSTRIAL SCRAP SALVAGE; DOVER           )
 SCRAP D.; DOWN RIVER SCRAP IRON &         )
 METAL CO.; DP - CLINTON; DP RECYCLING;    )
 DRC METALS CO.; DUBLIN SCRAP METAL;       )
 DUBLIN SCRAP METAL, INC.; DUDEK, INC.;    )
 DUENNER SUPPLY COMPANY; DUFFIE’S          )
 RECYCLING; DUGGAN INDUSTRIES, INC.;       )
 DUISBURGER KUPFERHÜTTE; DUKE              )
 ENERGY CAROLINAS, LLC; DULIN METALS       )
 COMPANY; DULUTH BRASS                     )
 MANUFACTURING, INC.; DUME BROS.;          )
 DUNCAN ELECTRONICS DIVISION; DUNCAN       )
 IRON; DUNHAM-BUSH USA LLC; DUPLICATE      )
 DON; DURA-BOND STEEL CORP.; DURANT        )
 IRON & METAL CORPORATION; DURHAM          )
 AUTO PARTS; DUSTMAN IRON; DYNATEK         )
 MACHINES INCORPORATED; E. CHOEN &         )
 SON; E. JORDAN METAL; E. TOWN             )
 RECYCLING; E.G.I., INC.; E.I. DUPONT DE   )
 NEMOURS AND CO.; E.M.S. EUROPEA DE        )
 METALES Y SERVICIOS SL; E&J AUTO          )
 SALVAGE, LLC; E&J METAL COMPANY; E&R      )
 RECYCLING; E&U AUTO; E&W PORTABLE         )
 WELDING; EADES SCRAP; EAGLE               )
 ELECTRONICS RECYCLING, INC.; EAGLE        )
 PICHER; EAGLE SCRAP METAL; EARL’S         )
 UNIT; EARTH EXCAVATION & CLEARING;        )
 EARTHWORKS RECYCLING; EASLEY              )



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 METALS; EAST BAY MUNICIPAL UTILITY          )
 DISTRICT; EAST COAST RECYCLING; EAST        )
 COAST SCRAP METALS; EAST END AUTO;          )
 EASTERN COASTAL; EASTERN ECONOMIC           )
 RECYCLING LLC; EASTERN PRODUCT              )
 FOUNDRY, INC.; EASTON IRON & METAL;         )
 EATMAN METALS; ECLIPSE TECHNOLOGY;          )
 ECLIPSE, INC.; ECO RECYCLING SYSTEMS,       )
 INC.; ECO RESOURCES, INC.; ECOLOGY, INC.;   )
 ECP; ED’S SALVAGE; EDCO RECYCLING CO.;      )
 EDDIE’S RECYCLING; EDDISON PIPE; EDP        )
 ELECTRONIC POWER DESIGN INC.; EDWARD        )
 F. SULLIVAN & SONS, INC.; EFFINGHAM         )
 METALS; EHRIG’S SCRAP METALS, INC.; 801     )
 TRADING POST; EINFALT RECYCLING &           )
 SALVAGE, INC.; EKCO METALS; ELAN            )
 TRADING, INC.; ELDORADO ENTERPRISES,        )
 INC.; ELECTRIC WIRE & CABLE CO., INC.;      )
 ELECTRICAL COMPONENTS                       )
 INTERNATIONAL, INC.; ELECTRICAL             )
 MAINTENANCE AND TESTING, INC. D/B/A         )
 OCR’S; ELECTRICAL REBUILDERS SALES,         )
 INC. D/B/A VAPEX VERNON AUTO PARTS          )
 EXCHANGE; ELECTRO PLATE CIRCUITRY,          )
 INC.; ELECTROMEX; ELECTRONIC POWER          )
 DESIGN; ELECTRONIC SCRAP RECYCLING,         )
 INC.; ELECTRONIC ST.; ELECTROPLATED         )
 WIRE CORP.; FISK ALLOY, INC.; ELECTRUM      )
 INC. D/B/A ELECTRUM RECOVERY WORKS;         )
 ELEVATE RETAIL SOLUTIONS LTD.; ELG          )
 METALS, INC.; ELG UTICA ALLOYS, INC.;       )
 ELGIN RECYCLING, INC.; ELGIN SALVAGE;       )
 ELIZABETHTON HERB & METAL CO.;              )
 ELKHART PRODUCTS CORPORATION;               )
 ELKINS IRON; ELSTER AMCO WATER, LLC;        )
 ELWOOD CHEMICAL; EM METALS;                 )
 EMERALD COAST UTILITIES AUTHORITY;          )
 EMIL A. SCHROTH, INC.; EMJ HOLDINGS LLC;    )
 EMPIRE IRON & METAL; EMPIRE METALS;         )
 EMPIRE PACIFIC TOOLS; EMPIRE                )
 RECYCLING CORPORATION; EMR; ENCORE          )
 RESOURCES INC.; ENCORE WIRE                 )
 CORPORATION; ENCYCLE, INC.;                 )
 ENGINEERED COIL COMPANY D/B/A DHS           )
 MARLO COIL; ENGLE & HOSKIN RADIATOR         )
 EXCHANGE; ENNIS AUTOMOTIVE, INC.;           )



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 ENOVA COMPUTERS; ENTERGY SERVICES,        )
 INC.; ENTERGY TEXAS, INC.; ENVIRO         )
 TRADING; ENVIRO-CHEM, INC.;               )
 ENVIROLIGHT AND DISPOSAL, INC.;           )
 ENVIRONMENTAL PLUMBING SERVICES;          )
 ENVIRONMENTAL PROTECTION SERVICES,        )
 INC.; ENVIRONMENTAL RECOVERY              )
 SERVICES, INC. D/B/A ENVIROSERV; EPCOR    )
 WATER (USA) INC.; ERATH IRON & METAL,     )
 INC.; ERCOSA; ERIE COPPER WORKS, INC.;    )
 ERNIES SCRAP; ESCONDIDO SALES YARD;       )
 ESSEX GROUP INC.; ESSEX METAL ALLOY       )
 CO. INC.; ESTHERVILLE SCRAP IRON AND      )
 METAL CO.; ESTO SALVAGE; ESTRELLA         )
 USED PARTS; ETTKIN SCRAP IRON & METAL     )
 CO.; EVANS STEEL; EVERGLADE IRON;         )
 EVERGLADES RECYCLING; EVERGREEN           )
 RECYCLING; EVRAZ NORTH AMERICA, INC.      )
 D/B/A EVRAZ NAVAJO METALS; EXCEL          )
 ELECTRONICS; EXCELL CORES INC.; EXIT      )
 HOLDINGS, INC.; EXOTECH, INC.; EXTRA      )
 ENERGY; EZ RECYCLING CORP.; F.            )
 GENDRON CO.; F. O’CONNOR CO.; F.C.F.      )
 METAL; F.O.G. ENTERPRISES; F.P.T. AUTO    )
 SHREDDER OF MICHIGAN; F&F IRON &          )
 METALS; F&F METALS; F&S METALS; F&W       )
 RESOURCES, INC. D/B/A SPRINGFIELD IRON    )
 AND METAL COMPANY, INC.; FAGAN IRON;      )
 FAIRWAY SALVAGE; FAITH RECYCLING;         )
 FALCON FOUNDRY; FALCON TRANSIT, INC.;     )
 FALK METALS; THE FALL RIVER GROUP,        )
 INC.; FALLS IRON; FAME STARTER &          )
 ALTERNATOR REBUILDERS; FEDERAL            )
 BRONZE CASTING INDUSTRIES, INC.;          )
 FEDERAL CARTRIDGE; FEDERAL IRON &         )
 METAL INC.; FEDERAL METAL; FEDERAL        )
 METALS CO.; FEDERAL STEEL AND             )
 ERECTION CO.; FEDERAL-MOGUL               )
 CORPORATION; EATON CORP.; FEDERROW        )
 IRON; FER ET METAUX; FERGUSON             )
 ENTERPRISES INC.; FERRARO BROS.;          )
 FERROMET INC.; FERROMET RESO.;            )
 "FERROUS PROCESSING AND TRADING           )
 COMPANY D/B/A; ZALEV BROTHERS LTD";       )
 FEUZ MANUFACTURING, INC.; FINER SCRAP     )
 PROCESSORS; FINISHING SERVICES INC.;      )



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 FIRMA INC.; FIRMA PLASTICS, INC.; FIRST      )
 ELECTRIC; FIRSTAR FIBER, INC.; FISHER        )
 MANUFACTURING CO.; FITZSIMMONS               )
 METAL COMPANY, INC.; FIVENSON IRON;          )
 FLEMING TOWING; FLEXTRONICS                  )
 INTERNATIONAL USA, INC.; FLORIDA AUTO,       )
 GIDEN’S TRUCK PARTS; FLORIDA REBUILD;        )
 FLORIDA RECYCLING; FLSMIDTH USA, INC.        )
 D/B/A EXCEL FOUNDRY AND MACHINE;             )
 FLURY FOUNDRY COMPANY; FMC/CANCER            )
 CENTER; FOLLANSBEE STEEL; FOOTHILLS          )
 SANITATION & RECYCLING, INC.; FORD           )
 CITY EQUIPMENT CO.; FORENSIC                 )
 ENVIRONMENTAL SERVICES OF NC, LLC;           )
 FORKLIFTS N’ MORE; FORMAN METAL CO.;         )
 FORT RECOVERY INDUSTRIES, INC.; FORT         )
 WAYNE METALS RESEARCH PRODUCTS               )
 CORPORATION; FORTUNA SCRAP; FORTUNE          )
 METAL, INC. OF RHODE ISLAND; FOSS            )
 RECYCLING, INC.; 4126 INC. D/B/A M&L         )
 AUTO WRECKING; FOUR L LLC; FOUTS             )
 SCRAP IRON & METAL; FOUTS SCRAP              )
 METALS, INC.; FOX & ASSOCIATES; FOX          )
 HILLS IND.; FPT - PONTIAC DIVISION L.L.C.;   )
 FPT CLEVELAND, LLC; FRANC METAL;             )
 FRANCOZ METAL; FRANKEL IRON AND              )
 METAL; FRANKLIN METAL CO.; FRANKLIN          )
 METAL TRADING CORP.; FRANKLIN                )
 SURPLUS; FRANKS METAL; FRANKS                )
 RADIATOR; FRED’S ELECTRONIC                  )
 RECYCLING LLC; FREE FLO GUTTER               )
 SERVICE; FREEBIRD ENTERPRISES, L.L.C.        )
 D/B/A EAGLE AUTO & TRUCK PARTS;              )
 FREEDMAN METALS, INC.; FREEWAY               )
 CORPORATION; FREIGHT; FRESNO IRON;           )
 FRESNO UNITED METAL & RECYCLING INC.;        )
 FRIEDMAN IRON & METAL CO.; FRIEDMAN          )
 METAL; FRITTS RECYCLING, INC.; FRITZ         )
 ENTERPRISES OF FLINT, LLC; FRITZ             )
 ENTERPRISES, INC.; FRONTENAC METAL;          )
 FRONTIER CALIFORNIA, INC.; FRONTIER          )
 FIBER; FRONTIER RECYCLE; FULTON              )
 SALVAGE; FULTON SUPPLY AND                   )
 RECYCLING, INC.; FUSION INCORPORATED;        )
 FUSSELMAN SALVAGE; FUTURE ALLOYS             )
 INC.; THE G.A. AVRIL COMPANY; G.A.S.         )



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 INTERNATIONAL LLC; G.A.W. FINANCIAL        )
 CORPORATION; G.L. METALS; G.L.N. SCRAP     )
 METALS; G.S. METALS; G.S.D. TRADING USA,   )
 INC.; G.T. AUTO SALVAGE; G.T.&T.           )
 ENTERPRISES; G.T.I. INTERNATIONAL; G&E     )
 SCRAP PROCESSING COMPANY, LLC D/B/A        )
 MAINE SCRAP METAL LLC; G&G MACHINE &       )
 MAINTENANCE, INC.; G&G SALVAGE CORP.;      )
 G&L METALS; G&O MAGNUM; G&O                )
 MANUFACTURING; G&R METALS; G&S             )
 SCRAP METALS; GABY IRON AND METAL          )
 CO.; GALAMET INC.; GALION AUTO             )
 WRECKING; GAMBERG METAL; GAMMA RX;         )
 GAMTEX INDUSTRIES LP; GARAGE ST. ED;       )
 GARDEN STREET; GARDEN STREET IRON &        )
 METAL, INC.; GARDENA RECYCLING             )
 CENTER, INC.; GARDNER’S RECYCLING;         )
 GARLAND RECYCLERS CORP.; GARLAND           )
 STEEL; GARRETT & SON, INC.; GARY’S         )
 AUTO; GARY’S METALS, INC.; GARY’S          )
 SCRAP; GASTON USED AUTO PARTS &            )
 RECYCLING; GATEWAY METAL RECYCLING,        )
 INC.; GATEWAY RECYCLING; GATEWAY           )
 RECYCLING CO.; GATOR RECYCLING; GDS        )
 RECYCLING SERVICE; GE ZENITH               )
 CONTROLS, INC.; GELNK’S AUTO               )
 RECYCLING INC.; GEMARK CORPORATION;        )
 GENCORE MOTORS & AUTO PARTS LTD.;          )
 GENE’S GLASS; GENERAL ALLOYS, INC.;        )
 GENERAL BEARING CORPORATION;               )
 GENERAL ELECTRIC COMPANY; GENERAL          )
 ELECTRIC ELECTRO MATERIALS DIVISION;       )
 GENERAL METALS, INC.; GENERAL SCRAP;       )
 GENERAL STEEL; GENESEE RECYCLING;          )
 GENESIS I ENTERPRISE; GEODAX IMAGING,      )
 LLC; GEORGE APKIN & SONS, INC.; GEORGE     )
 W. GROELING & SONS SALVAGE, INC.;          )
 GEORGETOWN LOGISTICS COMPANY;              )
 GEORGIA POWER; GERALD METALS; GIANT        )
 AUTOMOTIVE PRODUCTS INC.; GIBSON           )
 BROTHERS SCRAP METAL; GIBSON SCRAP         )
 LEAD & METALS; GIFT IN KIND; GIORDANO      )
 VINELAND SCRAP MATERIAL, LLC; GIPSON       )
 ENTERPRISES; GIRARD SCRAP; GKN SINTER      )
 METALS, LLC; GLACIER VANDERVELL INC.;      )
 GLANTZ IRON & METALS, INC.; GLENCORE       )



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 LTD.; GLENCORE RECYCLING INC.;            )
 GLENCORE RECYCLING LLC; GLN SCRAP         )
 METALS, INC.; GLOBAL METAL RECYCLING;     )
 GLOBAL METAL RECYCLING, L.L.C.; GLOBE     )
 METALS; GLOBE TECHNOLOGIES                )
 CORPORATION; GLOBUS METALS CO.; GM        )
 SCRAP AND METAL LLC; GM SCRAPMETAL;       )
 GNB BATTERY TECHNOLOGIES; GOAPA           )
 SALVAGE DEALER; GOLD REFINERIES;          )
 GOLD RUSH RECYCLE; GOLDEN RECYCLING       )
 & SALVAGE, INC.; GOLDEN STATE METALS,     )
 INC.; GOLDFARB COMPANY; GOLDIN            )
 METALS, INC.; GOLDMAN INDUSTRIES;         )
 GOLDMAN’S, L.L.C.; GOLDWILS U.S.; GOOD    )
 NEIGHBOR; GOODMAN & WOLFE;                )
 GOODMAN SCRAP; GOPHER STATE SCRAP;        )
 GORDON I&M; GORDON S. DEUTCH SCRAP        )
 METAL; GOTTLIEB INC.; GOULDING SCRAP;     )
 GPS METALS, INC.; GRAFF BROS.;            )
 GRAHMAN’S WESTERN SALES; GRALNEK-         )
 DUNITZ CO.; GRAND HAVEN B; GRANDE         )
 VISTA; GRANT IRON; GRAPE SALES INC.;      )
 GRAY & SONS SOUTH FLORIDA GOLD &          )
 SILVER EXCHANGE, INC.; GRAY SUPPLY;       )
 GREAT FALLS R.; GREAT LAKES T.; GREAT     )
 WESTERN RECYCLING INDUSTRIES, INC.;       )
 GREATER GATEWAY ASSOCIATION OF            )
 REALTORS, INC.; GREATER TEXAS METAL       )
 RECYCLING CO., INC.; GREEN VILLE AUTO     )
 SALE, INC.; GREEN’S ENTER; GREEN’S        )
 RECYCLING; GREENBOLT METAL;               )
 GREENSBORO PAWN; GREER METALS;            )
 GREG’S CORE SUPPLY, INC.; GRELLS          )
 GARAGE; GREY & BRUCE; GRIFFIN L.L.C.;     )
 GRINNELL CORPORATION; GROOV-PIN           )
 CORP.; GROSSMAN IRON AND STEEL            )
 COMPANY; GROUP 1 INTERNATIONAL;           )
 GROVER RECYCLING; GRUDA METAL CO.;        )
 GTE INVESTMENT RECOVERY; GUAY             )
 METAL ENTERPRISES; GULF COAST METALS      )
 COMPANY INC.; GULF COAST SCRAP METAL,     )
 INC.; GULF IRON & METAL; GUNNERS          )
 METER; GUNTERSVILLE METAL                 )
 RECYCLING; GUNTHER ELECTRONICS, INC.;     )
 GUTTERMAN IRON & METAL                    )
 CORPORATION; GW RECYCLING; GYPSY          )



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 PEDDLERS; H J ENTERPRISES; H. BLOCKMAN    )
 & CO., INC.; H. BROWN CO.; H. COHEN       )
 INDUSTRIES; H. DIAMOND IRON; H.           )
 HIRSCHFIELD SONS COMPANY; H. KLAFF &      )
 CO.; H. MASSER COMPANY; H. SNYDER         )
 STEEL CORPORATION; H. WINTER METAL;       )
 H.W. MCKINNEY WRECKING; H&C METALS        )
 INC.; H&H IRON AND METAL, INC.; H&H       )
 METALS CO.; H&H SALVAGE; H&L              )
 PERFORMANCE WORKS, INC. D/B/A EAGLE       )
 AUTO & TRUCK WORKS; H&M METALS;           )
 H&W RECYCLING; HAAR’S SCRAP; HADLEY       )
 RECYCLING; HAGGERTY METALS; HAL’S         )
 RADIATOR SERVICE, INC.; HALLMARK          )
 METALS CORP.; HALSTEAD METAL;             )
 HAMMOND ELECTRIC MOTORS, INC.;            )
 HANDY & HARMAN; HANDY & HARMAN            )
 ELECTRONIC MATERIALS CORPORATION;         )
 HANDY & HARMAN LTD.; HANOVER              )
 RECYCLING; HANOVER SCRAP; HARDING         )
 MALL; HARLEY MORSETT D/B/A COWBOY         )
 CORES; HARPER SALVAGE & USED CARS;        )
 HARR’S SCRAP; HARRIS MANUFACTURING        )
 AND SUPPLY COMPANY, INC.; HARRIS          )
 METALS & RECYCLING; HARRISON              )
 RADIATOR; HARRY METAL; HARRY NADEL        )
 SCRAP METAL SERVICES, LLC; HARRY ROCK     )
 & CO.; HARSIP BROS., INC.; HART HEAT      )
 TRANSFER PRODUCTS, INC. D/B/A HART        )
 RADIATORS; HARTMAN HIDE & FUR             )
 COMPANY, INC.; HARVLEY’S SCRAP METAL      )
 AND CAR CRUSHING, INC.; HASCO; HASSER     )
 ENTERPRISES, INC.; LAFAYETTE TOOL AND     )
 DIE, INC.; HAWK STEEL INDUSTRIES, INC.;   )
 HAYNES AUTO PARTS; HAYNES MACHINE         )
 COMPANY; HAYWARD RECYCLING INC.;          )
 HAZ-MAT ENVIRONMENTAL SERVICES, INC.;     )
 HD SUPPLY MANAGEMENT, INC.;               )
 HEARTLAND METALS, INC.; HEAVY METAL;      )
 HEIDELBERG METAL; HEIDTMAN STEEL          )
 PRODUCTS; HEILMANN SALVAGE;               )
 HELTON’S RECYCLING; HEN METALS;           )
 HENDERSON SALVAGE; HENDRIX &              )
 COMPANY; HENDRIX SALVAGE COMPANY,         )
 INC.; HENDRIX WEST; HENLEY’S SCRAP;       )
 HENMETALS; HEPPNER IRON & METAL CO.;      )



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 HERMAN BARR & SONS; HERMAN’S METAL;       )
 HESS AND SONS SALVAGE, INC.; HESSTECH     )
 LLC; HEYCO METALS, INC.; HEYWORTH         )
 PLUMBING, INC.; HH&M METAL; HI TECH       )
 RECYCLING; HI WASTE DISPOSAL; HI-TECH     )
 RECYCLING LTD.; HIC INVESTMENTS, LLC;     )
 HICKMAN, WILLIAMS & COMPANY; HIDDEN       )
 VALLEY STEEL & SCRAP INC.; HIERZ SCRAP;   )
 HIGH PERFORMANCE TUBE; HIGHLAND           )
 CORPORATION; HIGHLAND RECYCLE;            )
 HIGHLAND RECYCLING AND SHREDDING,         )
 INC.; HILDRETH MFG. LLC; HILL ELECTRIC;   )
 HILLCREST INDUSTRIES INC. D/B/A           )
 ASSURED CORE COMPANY; HILLMAN             )
 METAL; HINDS SALVAGE COMPANY;             )
 HIRSCH INDUSTRIES INC.; HIRSCH METALS     )
 CORPORATION; HITCHCOCK IRON;              )
 HITCHINER MANUFACTURING CO., INC.;        )
 O’FALLON CASTING, LLC; HOBBS IRON &       )
 METAL CO., INC. D/B/A STEEL DEPOT;        )
 HODES INDUSTRIES; HOEGANAES               )
 CORPORATION D/B/A ARC METALS;             )
 HOEGNER TOOL & PLASTICS, INC.;            )
 HOLLAND ELECTRIC SALVAGE; HOLLANDS        )
 SALVAGE; HOLLYWOOD METAL (BEST            )
 RECYCLING SERVICES); HOLMES IRON AND      )
 METAL, INC.; HOLMES ROAD RECYCLING        )
 COMPANY, INC.; HOLSTON SURPLUS; HOLT      )
 ELECTRICAL SUPPLY CO.; HOLT               )
 RECYCLING, INC.; HOLUB RECYCLING LLC;     )
 HONEYWELL FRICTION MATERIALS;             )
 HONIGMAN RECYCLING CORP.; HORNE           )
 HEATING & COOLING; HORSEHEAD              )
 CORPORATION; HOSKAINS IRON; HOU-TEX       )
 SHEET METAL, INC.; HOUSE BARRY G.         )
 PRECIOUS METALS; HOUSTON COMPRESSED       )
 STEEL CORP.; HOUSTON METAL                )
 PROCESSING CO.; HOUSTON SCREW             )
 PRODUCTS INC.; HOWARD AUTOMOTIVE;         )
 HOWELL BROS., INC.; HOWIE’S RECYCLING     )
 CENTER, INC.; HOWLAND-TRUMBULL            )
 RECYCLING CENTER, INC.; HS METALS;        )
 HUBBELL POWER SYSTEMS, INC.; HUDSON       )
 BAYLOR WEST CORPORATION; HUDSON           )
 SALVAGE; HUMMELSTEIN IRON AND             )
 METAL; HUNTER-DOUGLAS; HUNTINGTON         )



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 INGALLS INCORPORATED; HURST METALS;         )
 HURT’S SCRAP; HURWUTZ BROTHERS;             )
 HUSSEY COPPER CORP.; HYDROMET               )
 ENVIRONMENT (USA) INC.; I COHEN CO.         )
 LTD.; I. BROOMFIELD & SON, INC.; I.         )
 ERLICHMAN CO., INC.; I. SOLOMON METAL;      )
 I. ZAITLIN; ICC LOGISTICS SERVICES, INC.;   )
 ICETOWN SALVATION; ICONCO, INC.; ICOR       )
 GROUP, INC.; IDEAL FASTENER                 )
 CORPORATION; IDEAL METAL & SALVAGE          )
 CO.; ILLINOIS ELECTRIC WORKS, INC.;         )
 ILLINOIS SCRAP; ILLINOIS SCRAP              )
 PROCESSING, INC.; IMAGE ONE FACILITY        )
 SOLUTIONS, INC.; IMAGINATIONS; IMC-         )
 METALSAMERICA, LLC; IMPERIAL AUTO;          )
 IMPERIAL ZINC CORP.; IMS RECYCLING          )
 SERVICES, INC. (INDUSTRIAL METALS &         )
 SALVAGE CO.); IN-VIN-CO INC. D/B/A WEST     )
 SIDE IRON & METAL CO.; INBOUND              )
 MANUFACTURING; INCE SCRAP; INDALEX          )
 ALUMINUM SOLUTIONS GROUP; INDIANA           )
 ALUMINUM; INDIANA METAL CRAFT, INC.;        )
 INDIANA-AMERICAN WATER COMPANY;             )
 INDIANAPOLIS MATERIALS; INDIANAPOLIS        )
 SHREDDING COMPANY, LLC; INDREGUA;           )
 INDUMETAL, S.A.; INDUSTRIAL BROKERING       )
 SERVICES; INDUSTRIAL IRON & METAL CO.;      )
 INDUSTRIAL METAL ENTERPRISE, INC.;          )
 INDUSTRIAL METAL PROCESSING;                )
 INDUSTRIAL METAL RECYCLING INC.;            )
 INDUSTRIAL METALS PROCESSING LTD.;          )
 INDUSTRIAL RECYCLING SERVICE;               )
 INDUSTRIAL RECYCLING SERVICES, INC.;        )
 INDUSTRIAL RESOURCE RECOVERY                )
 (MERVIS IN); INDUSTRIAL SCRAP               )
 CORPORATION; INDUSTRIAL SE;                 )
 INDUSTRIAL SU; INGERSOLL-RAND               )
 HOLDING COMPANY LLC; INGLETT                )
 EQUIPMENT, INC.; INNERBORO INC.;            )
 INNOVATIVE RECYCLING; INSTERSTATE CA;       )
 INSTERSTATE ME; INTEGRITY; INTEGRITY        )
 METALS INC.; INTEGRITY                      )
 TELECOMMUNICATION INC.; INTER               )
 AMERICA; INTER-COUNTY RECYCLING,            )
 INC.; INTERCITY METAL; INTERCON             )
 SOLUTIONS, INC.; INTERCONNECT SYSTEMS,      )



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 INC.; INTERMETAL U.; INTERMETCO;             )
 INTERNATIONAL GLOBAL METALS INC.;            )
 INTERNATIONAL RECYCLING;                     )
 INTERNATIONAL RECYCLING COMPANY;             )
 INTERNATIONAL RESISTIVE COMPANY, INC.        )
 D/B/A IRC CORPORATION; INTERNATIONAL         )
 SCRAP IRON & METAL CO. INC.;                 )
 INTERNATIONAL WIRE INC.; INTERREC B.V.;      )
 INTERSTATE METALS CORP.; INTERSTATE          )
 NON FERROUS; INTERSTATE SUPPLY, INC.;        )
 INTERSTATE SURPLUS, INC.; INTERSTEEL,        )
 INC.; INTRA AMERICAN METALS INC. D/B/A       )
 INTRAMETCO; IR BELL & SONS; IRON &           )
 METALS, INC.; IRON MIKE ENTERPRISES,         )
 L.L.C.; IRVING RUBBER & METAL CO., INC.;     )
 ISLAND RECYCLING INC.; ISREAL SCRAP &        )
 METAL; ITCHKAWICH METAL; ITT HIGBIE;         )
 ITT INC. D/B/A GOULD’S PUMP INC.; IWG        )
 HIGH PERFORMANCE CONDUCTORS, INC.; J.        )
 BRASS & SON; J. CROCKER METAL; J. ELIAS      )
 SCRAP; J. KUHL METALS CO. INC.; J. P.        )
 CARROLL & CO.; J. PINZ METAL CO. INC.; J.    )
 SEPENUK; J. TOPY & SONS, INC.; J. WALTER     )
 MILLER CO.; J.A. INDUSTRIES; J.A. SALVAGE;   )
 J.A.R. INTERNATIONAL SALES                   )
 CORPORATION; J.D. METALS LLC; J.E. BOBO      )
 SCRAP; J.E. KODISH & SONS, INC.; J.P. WADE   )
 CO.; J.R. LARSEN CO.; J.R. TRADING; J.S.T.   )
 CORPORATION; J.T. INC.; J.W. GREEN CO.;      )
 J.W. HARRIS CO., INC.; J.W. METALS; J&A      )
 SALVAGE; J&C RECYCLING; J&F SCRAP            )
 METAL; J&G SCRAP; J&J AUTO SALVAGE,          )
 INC. D/B/A GLENDALE AUTO PARTS; J&J          )
 METAL RECYCLING INC.; J&J METALS; J&M        )
 ENTERPRISES; J&P SCRAP METAL; J&R            )
 METALS; J&R RECYCLING; J&R RECYCLING         )
 CENTER; J&S AUTO SCRAP; J&S METALS;          )
 JACK BLUM METAL; JACK ENGLE & CO.;           )
 JACK GRAY TRUCKING; JACK’S                   )
 WOODWORK; JACKAL SCRAP; JACKPOT              )
 METALS; JACKSON FIBER; JACKSON IRON;         )
 JACKSONVILLE IRON & METAL, INC.;             )
 JACOB’S AUTO; JACOB’S IRON & METAL CO.,      )
 INC.; JACOBSON METAL CORP.; JACOMIJ          )
 METALEN B.V.; JACQUE CONSENZ, LLC;           )
 JADLER METALS; JAMES BURROWS CO.,            )



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 INC.; JAMES G. GRANT CO., LLC; JAMES          )
 HEATING & AIR, INC.; JAMES JONES              )
 COMPANY OF DELAWARE, LLC D/B/A JAMES          )
 JONES COMPANY, LLC; JANSCO; JANTZ             )
 AUTO SALES, INC.; JARVIS METALS               )
 RECYCLING, INC.; JASPER’S JUNK YARD;          )
 JAYBEN SCRAP METAL CO., INC.; JBI SCRAP       )
 PROCESSORS, INC.; JD METALS, LLC; JEFF        )
 MANUFACTURING, INC.; JEM METAL CO.;           )
 JENA METALS; JERR-CO INC.; JERRY SMITH        )
 CO.; JERRY STERNBERG COMPANY, INC.;           )
 JERRY’S METALS; JERRY’S PARTS &               )
 METALS; JEWETT METAL; JING RECYCLING;         )
 JJS&T, INC. D/B/A VISION TECHNOLOGIES;        )
 JOE BROWN & SONS; JOE BROWN INC.; JOE         )
 COLEMAN SALVAGE & DEMOLITION, INC.;           )
 JOE KRENTZMAN & SON, INC.; JOE’S SCRAP        )
 METAL SALES; JOHN BETZ METALS; JOHN C.        )
 KUPFERLE FOUNDRY CO.; JOHN CROSS              )
 PLUMBING; JOHN DEERE; JOHN P.                 )
 FLAHERTY III; FLAHERTY METALS                 )
 CORPORATION; FLAHERTY REAL ESTATE             )
 COMPANY, INC.; JOHN’S AUTO PARTS;             )
 JOHN’S IRON AND METAL, INC.; JOHNSON          )
 AUTO PARTS; JOHNSON BRASS & MACHINE           )
 FOUNDRY; JOHNSON BRASS & MACHINE              )
 FOUNDRY, INC.; JOHNSON RECYCLING &            )
 TRADING LLC; JOHNSON SCRAP; JOHNSON’S         )
 METAL RECYCLERS, INC.; JONE’S STEEL           )
 INC.; JORDAN RESEARCH; JORDAN SCRAP;          )
 JOSEPH & CO. INC.; JOSEPH FREEDMAN CO.;       )
 JOSEPH KRASH METAL COMPANY, LLC;              )
 JOSEPH LEVIN & SONS; JOSEPH ROBERTSON         )
 FOUNDRIES LTD.; JOSEPH T. RYERSON &           )
 SON, INC. D/B/A VINCENT METAL GOODS;          )
 JOSH STEEL CO.; JOSHUA FREEDLAND CO.;         )
 JSJ CORPORATION D/B/A DRAKE                   )
 COUPLINGS; JSL METALS INC.; JT’S              )
 SALVAGE CO.; JULIUS LOUIS DEITCH              )
 INTERESTS INC. D/B/A JULIUS METALS;           )
 JUNCTION-MCGREGOR PAPER & METAL               )
 RECYCLE CENTER, INC.; JUST PARTS, INC.;       )
 JUSTICE 98 INC.; JYD INDUSTRIES, INC. D/B/A   )
 AARON INDUSTRIAL RECYCLING; K.C. IRON         )
 & METAL, INC.; K.W. UTILITY                   )
 CONSTRUCTION INC.; K&G AUTO                   )



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 WRECKING; K&K ENTERPRISE; K&K METAL       )
 RECYCLING, LLC; K&K METALS; KAICHEN’S     )
 METAL MART, INC.; KALMAN W. ABRAMS        )
 METALS, INC.; KAMEN IRON; KAMEN, INC.;    )
 KANE SCRAP IRON; KANG’S CORE;             )
 KANKAKEE SCRAP CORP.; KAPLAN CO. INC.;    )
 KAPLAN COMPUTERS, LLC; KARR PARTS;        )
 KASLE RECYCLING RESOURCE CORP.;           )
 KASMAR METALS; KASPER BROTHERS;           )
 KASSAB BROTHERS; KATAMAN METALS;          )
 KAVANAUGH SALVAGE; KAW RIVER              )
 SHREDDING; KAWABATA AMERICAN              )
 INCORPORATED; KEARNEY PATTERN             )
 WORKS AND FOUNDRY INC.; KEARNY            )
 SCRAP METAL CO.; KEARNY SMELTING &        )
 REFINING COMPANY; KECK’S PLUMBING;        )
 KELLEY FOUNDRY & MACHINE COMPANY;         )
 KELLEY’S SALVAGE; KELLY TRUCKING;         )
 KELLY’S SALVAGE; KEN SYDELL               )
 ENTERPRISES, INC.; KEN W. ZION            )
 AUTOMOTIVE ENTERPRISES INC.;              )
 KENDALL’S TOWING; KENEMER SCRAP;          )
 KENNAMETAL INC.; KENNECOTT UTAH           )
 COPPER CORPORATION; KENNY’S METALS;       )
 KEY SERVICES, INC.; KEY TRONIC            )
 CORPORATION; KEYSTONE FOUNDRY;            )
 KEYWELL CORPORATION; KIENBAUM IRON;       )
 KIM-KOOL, INC.; KIM’S RADIATOR AND        )
 MANUFACTURING CO., INC.; KIMBALL          )
 ELECTRONICS, INC.; KIMBLE ELECTRIC;       )
 KIMMEL SCRAP IRON & METAL CO.; KING       )
 CORE; KING SALVAGE; KINSBURSKY            )
 METAL; KINTER; KIRKENDALL IRON;           )
 KIRKWOOD HOLDING, INC.; KISSEL IRON;      )
 KKSP PRECISION MACHINING, LLC; KLEAN      )
 SERVICES; KLEIN METALS; KLEIN’S AUTO      )
 SALVAGE; KLEINHAN’S SCRAP METAL           )
 DEALERS; KLEINHAN’S SCRAP/FREDERICK       )
 KLEINHANS; KOHNE SALVAGE;                 )
 KOLLMORGEN CORPORATION; KOPPE             )
 METALS; KOTZ METAL; KOVALCHICK            )
 SALVAGE CO.; KRAL SCRAP METAL;            )
 KRAMAR’S IRON AND METAL, INC.;            )
 KRAMER SCRAP; KRIEGER WASTE PAPER         )
 COMPANY, INC.; KRONICK INDUSTRIES,        )
 INC.; THE KROOT CORPORATION; KRUEGER      )



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 COMPANY; KUNKLE FOUNDRY; KURT IRON;         )
 L BLOOM & SON OGDEN LLC; L. BELANGER        )
 M.; L. CHENMAN, INC.; L. COHEN & SONS; L.   )
 DECKER, INC.; L.A. INDUSTRIES; L.C.         )
 AVIATION; L.C. METALS; L.C. METALS, INC.;   )
 L.H. INDUSTRIES CORP.; L.J.W. HOLDINGS,     )
 INC.; L.L. ENTERPRISE; L.S. SADLER INC.;    )
 L&K IRON AND SCRAP METAL, LLC; L&L          )
 ENTERPRISES; L&L METALS; L&M                )
 ALUMINUM; L&M SCRAP METAL; L&S              )
 METALS; L&Y SCRAP; L3 TECHNOLOGIES,         )
 INC.; LA CARIDAD JUNK YARD, INC.;           )
 LAFAYETTE PROCESSING INC.; LAJEUNESSE       )
 M.; LAKE CITY ELECTRIC; LAKE CITY           )
 METAL; LAKE IRON AND METAL COMPANY          )
 INC.; LAKESIDE NON-FERROUS METALS,          )
 INC.; LAKESIDE SCRAP METALS, INC.; LAKO     )
 ENTERPRISES; LANCE RECYCLING; LANDIE        )
 IRON; LANGE ELECTRIC, INC.; LAPOLLO’S       )
 AUTO PARTS; LARAMI METAL CO.; LARRY         )
 DERO EAST VALLEY CORE COMPANY, INC.;        )
 LARRY’S SALVAGE; LAS VEGAS PICK A           )
 PART INC.; LAS VEGAS VALLEY WATER           )
 DISTRICT; LATINOAMERICANA DE METALS-        )
 LAW; LAUREL PAPER & METAL; LAUREL           )
 STREET RECYCLERS; LAVIAGE COMM.;            )
 LAWENT IRON; LAWRENCE B. MALIS              )
 SUPPLY CO. D/B/A CHICAGO HEIGHTS IRON       )
 AND SUPPLY; LAWRENCE METALS;                )
 LAZOROV BROS.; LBC ACQUISITIONS, LLC        )
 D/B/A LEE BRASS COMPANY, INC.; LBT          )
 ENTERPRISES, INC. D/B/A GREAT               )
 NORTHWEST RECYCLING; LCM                    )
 ENTERPRISE; LEAD PRODUCTS COMPANY,          )
 INC.; LEAF SALES INC.; LEAVITT INC.;        )
 LEBANON RACK; LEBANON SCRAP;                )
 LECLERC ET FILS; LEDER BROTHERS             )
 COMPANY; LEE BRASS COMPANY; LEE             )
 COUNTY BOARD OF COUNTY                      )
 COMMISSIONERS; LEE COUNTY ELECTRIC          )
 COOPERATIVE INC.; LEE IRON AND METAL        )
 COMPANY, INC.; LEE PRECISION MACHINE        )
 SHOP, INC.; LEE’S AUTO PARTS; LEE’S IRON    )
 & METAL; LEECO INTERNATIONAL;               )
 LEELANAU INDUSTRIES, INC.; LEFLER KEN       )
 AUTO; LEGEND SMELTING AND RECYCLING,        )



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 INC.; LEHIGH METALS CORPORATION; LEI,     )
 INC.; LENMORE, INC. D/B/A WIMCO METALS;   )
 LENOX JUNK CO.; LENOX METALS, LLC; LES    )
 ENTREPRISES; LES NEWSOME; LES’S SCRAP     )
 METAL; LESA U.S., INC.; LETH & SON        )
 SALVAGE; LEVAND STEEL & SUPPLY            )
 CORPORATION; LEVI’S IRON & METAL;         )
 LEWINSKY IRON; LEWIS & CLARK; LEWIS       )
 METALS; LEWIS SUPPLY; LIBBY OWENS         )
 FORD; LIBERAL IRON; LIBERTY               )
 MANUFACTURING, INC.; LIBERTY METAL;       )
 LIGHTING HOLDINGS INTERNATIONAL LLC;      )
 LIGHTING RESOURCES LLC; LINCOLN           )
 METAL; LINCOLN RECYCLING, INC.; LION      )
 METALS INC.; LITTON COMPUTERS;            )
 LIVINGSTON PECAN AND METAL COMPANY,       )
 INC.; LLOYDS INTERNATIONAL; LML CAR       )
 CRUSH; LNR RECYCLING; LOCAL TRUCK;        )
 LOEB METAL RECYCLING CO.; LOEF CO.,       )
 INC; LOLLY METALSCRAP; LONDON IRON        )
 AND METAL CO. INC.; LONDON SALVAGE &      )
 TRADING CO. LTD.; LONDON SHREDDING        )
 DIVISION, INC.; LONE STAR IRON; LONE      )
 STAR METALS; LONE STAR METALS CO.;        )
 LONE STAR RADIATOR CO., INC.;             )
 LONGHORN RECYCLING, L.P.; LONGVIEW        )
 METAL, INC.; LOOP RECYCLING; LORBEC       )
 METALS USA LTD.; LORENE IMPORT &          )
 EXPORT USA, LLC; LORMAN IRON & METAL      )
 CO. INC.; LORNAT METALS; LOS ANGELES      )
 DEPARTMENT OF WATER AND POWER; LOS        )
 ANGELES PUMP AND VALVE PRODUCTS,          )
 INC.; LOS ANGELES SCRAP IRON & METAL      )
 CORP.; LOTTIE RECYCLING; LOU’S METALS;    )
 THE LOUIS BERKMAN LLC WEST VIRGINIA       )
 D/B/A FOLLANSBEE STEEL; LOUIS PADNOS      )
 IRON AND METAL COMPANY; LOUIS             )
 PERLMAN & SONS; LOUISIANA PIN;            )
 LOUISIANA SCRAP METAL RECYCLING           )
 LAFAYETTE, INC.; LOUISVILLE SCRAP;        )
 LOWELL SCRAP; LOWENSTEIN INC.; LU-MAR     )
 INDUSTRIAL METALS COMPANY, LTD.;          )
 LUBBOCK AMERICAN IRON & METAL;            )
 LUCAS-MILHAUPT, INC.; LUCKY MOUNTAIN      )
 TRADING, INC.; LUND’S TRUCK; LUNTZ.       )
 CORP.; LUSSIER CENTRE DU CAMION; LV       )



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 VENTURES, INC.; LYNN’S WASTE;                )
 LYNSWELL TECHNOLOGIES INC.; LYONS            )
 SALVAGE; M BLOCH & CO., INC. D/B/A           )
 BLOCH STEEL INDUSTRIES; M KAPLAN INC.;       )
 M. GERVICH & SONS, INC.; M. GLOSSER &        )
 SONS, INC.; M. J. METALS, INC.; M. LIPSITZ   )
 AND COMPANY, LTD.; M. METAL COMP.;           )
 M.&A. TRADING, INC. D/B/A RASTRO EL SOL;     )
 M.A. VIENER CO.; M.C. DAVIS COMPANY,         )
 LLC; M.H. METALS; M.J.N. SUPPLY; M.L.        )
 ASSOCIATES; M.L.C. RECYCLING; M.R.           )
 TRADING; M.R.I.; M.S.R. INCORPORATED;        )
 M.W. PLATT, INC.; M&A SCRAP METAL CO.;       )
 M&G AUTO; M&H VALVE; M&M AUTO                )
 BROKERS; M&M SALVAGE; M&M SCRAP              )
 METALS, INC. D/B/A M&M SCRAP METALS          )
 OF NEW JERSEY, INC.; M&M SERVICES; M&W       )
 METALS; MA KETTLE; MAASS MIDWEST,            )
 INC.; MAC RECLAIM DIVISION; MACHINERY        )
 SALVAGE; MACK IRON & METAL; MACK’S           )
 TWIN CITY RECYCLING, INC.; MACLENS           )
 AUTO; MACLEOD METALS CO.; MACOMB             )
 SCRAP METAL RECYCLING, INC.; MADDEN          )
 TRADING COMPANY, INC.; MADDENAIRE,           )
 INC.; MADEIRA ENTERPRISES LTD.;              )
 MADEWELL METAL; MADISON IRON;                )
 MADISON METALS; MAGIC METAL MFG.             )
 CORP.; MAGNETIC METALS CORPORATION;          )
 MAGNOLIA METAL CORPORATION;                  )
 MAGNUS; MAHLE INC.; MAHZEL METALS;           )
 MAIN RECYCLING; MAIN STREET FIBERS,          )
 INC. D/B/A MAIN STREET RECYCLING;            )
 MAINLINE METAL; MAJOR BRASS FOUNDRY          )
 CORPORATION; MAJOR IRON & METAL;             )
 MAJOR METALS CORP. D/B/A EQUITABLE           )
 METALS COMPANY; MAK METAL CORP.;             )
 MANCHESTER RECYCLING; MANDEL                 )
 METALS, INC. D/B/A U.S. STANDARD SIGN        )
 COMPANY; MANKATO IRON & METAL, INC.;         )
 MANN METALS CORP.; MANSBACH METAL;           )
 MANSFIELD PLUMBING PRODUCTS LLC;             )
 MANUCY ELECTRIC COMPANY;                     )
 MANUFACTURER’S BRASS AND ALUMINUM            )
 FOUNDRY, INC.; MARATHON ELECTRIC CO.;        )
 MARBLE METAL RECYCLING; MARCELINE            )
 SALVAGE CO.; MARCK INDUSTRIES, INC.;         )



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 MARCO INTERNATIONAL CORPORATION;          )
 MARCO STEEL S.; MARCU; MARFAY METAL       )
 COMPANY; MARIETTA RADIATOR                )
 SERVICES; MARINE RECYCLING; MARION        )
 IRON CO.; MARION RADIATOR; MARION         )
 STEEL; MARK BAKER CORE SUPPLY;            )
 MARK’S RADIATOR SERVICE; MARKER           )
 METAL III, LLC; MARKET FIXTURE; MARKET    )
 STREET RECYCLING, LTD.; MARKO METALS,     )
 INC.; MARKOVITS & FOX; MARS               )
 INDUSTRIES, INC.; MARSH BELLOFRAM         )
 CORPORATION D/B/A THE MARSH               )
 BELLOFRAM GROUP OF COMPANIES;             )
 MARSHALL IRON AND METAL; MART-ES          )
 RECYCLING; MARTIN BRASS COMPANY;          )
 MARTY’S AUTO; MARUBENI AMERICA;           )
 MASCOT INC.; MASCOT, INC.; MAT’S          )
 RECYCLING; MATERIALS RECOVERY             )
 COMPANY; MATERIALS RECYCLING INC.;        )
 MATERION BRUSH INC.; MATONIS SCRAP        )
 METALS CO.; MATRIX SCRAP; MATTHEWS        )
 INTERNATIONAL CORPORATION; MAX            )
 BROCK CO.; MAX LEVINE & CO.; MAX SCRAP    )
 METALS, INC.; MAY PHILIP CO.; MAYER       )
 ALLOYS CORPORATION; MAYERSON IRON;        )
 MAYFIELD MANUFACTURING; MAYO              )
 CLINIC; MAZZA RECYCLING SERVICES LTD;     )
 MBC COMPUTER SERVICE, INC.; MCA           )
 FABRICATION; MCCABE SCRAP IRON &          )
 MATERIALS CO; MCCALIP ERNEST L. & SON     )
 GRAVEL CO.; MCCLOUD METAL; MCCOY          )
 IRON & METAL, INC.; MCCOY SALVAGE         )
 COMPANY, L.L.C.; MCCOY’S SCRAP            )
 PROCESSING CO.; MCDONALD & SONS;          )
 MCDOWELL RECYCLING, INC.; MCGRAWS         )
 AUTO; MCGUIRE’S SCRAP; MCHENRY            )
 BRASS, INC.; MCI; MCKENZIE BROS.;         )
 MCKINNEY JUNK; MCLAUGHLIN METAL;          )
 MCNEW SALVAGE; MEDDERS AUTO CORE          )
 SUPPLY INC.; MEDFORD AUTO; MEDICAL        )
 RECYCLING; MEEKER SALES CORP.;            )
 MEMPHIS AUTO PARTS; MENZOCK SCRAP,        )
 INC.; MERCER COMPANY; MERCER GROUP        )
 INTERNATIONAL OF NEW JERSEY, INC.;        )
 MERCER WRECKING RECYCLING;                )
 MERCHANT DATA SYSTEMS, INC.;              )



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 MERCURY MARINE; MEREDITH & BE.;            )
 MERRILL LYNCH; MERVIS & SONS INC.;         )
 MERVIS INDUSTRIES INC. D/B/A MERVIS &      )
 SONS; METABEL; METAL COMMODITIES           )
 INC.; THE METAL HOUSE INC.; METAL PREP     )
 COMPANY, INC.; METAL RECLAIMERS;           )
 METAL RECYCLE; METAL RECYCLING;            )
 METAL RECYCLING CORPORATION; METAL         )
 RECYCLING SERVICES LLC; METAL              )
 RECYCLING SYSTEMS, INC.; METAL S. M.       )
 ENR.; METAL SHREDDERS; METAL               )
 TRADERS; METAL VENTURES, INC.;             )
 METALCO ENR.; METALICO BUFFALO, INC.;      )
 METALICO INC.; METALLIC RECOVERY           )
 GROUP, INC.; METALLIC, INC.;               )
 METALLURGICAL PRODUCTS COMPANY;            )
 METALS FABRICATION COMPANY, INC.;          )
 METALS PLUS; METALS PLUS                   )
 INTERNATIONAL CORP.; METALS QUALITY;       )
 METALS RECYCLING L.L.C.; METALSCO INC.;    )
 METALTECH; METALTEK INTERNATIONAL,         )
 INC.; METATRADE; METAUX L.M.; METCAST;     )
 METER TECHNOLOGIES; METERING               )
 SERVICES INC.; METHODE ELECTRONICS,        )
 INC.; METRAMET INTERNATIONAL; METRO        )
 ALLOYS INC.; METRO METAL RECYCLERS,        )
 INC.; METRO METALS, INC.; MID-ATLANTIC     )
 METALS, INC.; METRO SALVAGE; METRO         )
 SCRAP; METRO WATER SERVICES;               )
 METRONIX; METROPOLITAN DOMESTIC            )
 WATER IMPROVEMENT DISTRICT; MEYER-         )
 SABA METAL; MIAMI INDUSTRIAL MOTOR,        )
 INC.; MIAMI RECYCLING INC.; MICHAEL        )
 HEALY DESIGNS, INC. D/B/A HEALY            )
 PLAQUES; MICHAEL’S MAINTENANCE AND         )
 APPLIANCE SERVICE, INC.; MICHIGAN          )
 SCRAP METAL CO.; MICRO METALS, INC.;       )
 MICRON INDUSTRIES CORPORATION;             )
 MICROSEMI CORPORATION; MICROSOURCE         )
 INC.; MID MISSOURI; MID STAR, INC.; MID-   )
 AMERICA PAPER RECYCLING CO., INC.; MID-    )
 CAL METAL; MID-SOUTH METALS, INC.;         )
 MID-STATE AUTOMOTIVE PARTS                 )
 REBUILDERS, INCORPORATED; MID-TOWN         )
 IRON; MID-WEST FABRICATING CO.; MIDAS      )
 METAL RECYCLING INC.; MIDAS MUFFLER;       )



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 MIDDLEBORO RECYCLING, INC.; MIDLANE       )
 SALVAGE; MIDWAY IRON & METAL, INC.;       )
 MIDWEST BABBI; MIDWEST COMPUTER           )
 BROKERS, INC.; MIDWEST IRON & METAL       )
 CO., INC.; MIDWEST IRON & METAL INC.;     )
 MIDWEST IRON CO.; MIDWEST MARKET;         )
 MIDWEST METAL; MIDWEST METAL WORKS        )
 INC.; MIDWEST METALLICS L.P.; MIDWEST     )
 PAPER STOCK CO.; MIDWEST PARTS &          )
 EQUIPMENT CO. D/B/A MIDWEST SYSTEMS;      )
 MIDWEST RECYCLERS; MIDWEST SALES;         )
 MIDWEST SCRAP; MIKE’S AUTO PARTS;         )
 MIKE’S METALS INC.; MILES ALLOY, INC.;    )
 MILFORD AUTOMATIC; MILL SERVICES AND      )
 MANUFACTURING, INC.; MILL VALLEY R.;      )
 MILLENNIUM METALS RECYCLING, INC.;        )
 MILLENNIUM RECYCLING LLP; MILLER          )
 BROS. IRON & METAL CO.; MILLER            )
 COMPANY; MILLER COMPRESSING CO.;          )
 MILLER METALS; MILLER RECYCLING           )
 CORPORATION; MILLIS USED AUTO PARTS,      )
 INC.; MILWARD ALLOYS, INC.; MILWAUKEE     )
 ELECTRIC TOOL CORPORATION; MIMCO          )
 HOLDINGS, INC.; MIMCO INCORPORATED;       )
 MINALCO; MINDIS METALS; MINICHIELLO       )
 BROS., INC. D/B/A SCRAPIT; MINKIN         )
 CHANDLER CORP.; MINNKOTA IRON; MIR        )
 MAR RECYCLING; MISSISSIPPI POWER &        )
 LIGHT; MISSOURI METAL RECYCLING;          )
 MISSOURI SAND; MITAUER METAL;             )
 MITCHELL INDUSTRIES, INC.; MITCHELL       )
 PUBLIC WATER DISTRICT; MITCHELL’S; MMI    )
 INTERNATIONAL; MMSCO IRON; MMSCOIR;       )
 MODESTO JUNK COMPANY, INC.; MOELLER       )
 MANUFACTURING CO., INC.; MOELLER          )
 PRODUCTS COMPANY, INC.; MOHAVE            )
 RECYCLING; MON-VALLEY RECYCLING           )
 CENTER; MONETT STEEL CASTINGS; MONGE      )
 METALS; MONICO ALLOYS, INC.;              )
 MONMOUTH WIRE AND COMPUTER                )
 RECYCLING, INC.; MONROE IRON & METAL      )
 COMPANY, INC. D/B/A AUTO SHRED OF         )
 LOUISIANA; MONTCLAIR BRONZE, INC.;        )
 MONTEREY IRON; MONTES DE OCA              )
 MODESTA; MONTGOMERY IRON;                 )
 MONTGOMERY RADIATOR CO., INC.;            )



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 MONTGOMERY SCRAP CORP.;                    )
 MONTGOMERY TRACTOR SALVAGE INC.;           )
 MONTREAL SCRAP; MONTY RAY YOCOM;           )
 MOP INC.; MORE POWER ELECTRIC, LLC;        )
 MORGAN BRONZE PRODUCTS, INC.; MORRIS       )
 JUNKYARD; MORRIS METAL; MORRIS             )
 SALVAGE, INC.; MORRIS SCRAP; MORRIS        )
 SCRAP METAL COMPANY; MORRIS SCRAP          )
 METALS; MOSES B. GLICK, LLC;               )
 MOSKOWITZ BROS., INC.; MOTAN-              )
 COLORTRONIC GMBH; THE MOTOR                )
 CONTROL CENTER, LLC; MOTOROLA SSTG;        )
 MOUNT CARMEL; MOUNTAIN METAL CO.,          )
 INC.; MOUNTAINEER RECYCLING INC.; MPW      )
 & ASSOCIATES; MR STRATFORD BALING,         )
 LLC; MR. CAN MAN; MR. SERVICES CO. D/B/A   )
 TEXAS ALLOY; MRK GROUP, LTD.; MRP CO.,     )
 INC. (METAL RECYCLING & PROCESSING);       )
 MT. HOOD METALS; MT. PLEASANT; MT.         )
 VERNON METAL; MTM SALVAGE; MUELLER         )
 BRASS COMPANY; MUELLER DIE CUT             )
 SOLUTIONS, INC.; MUELLER SYSTEMS, LLC;     )
 MULTI METAL RECYCLING INC.;                )
 MULTICORE SOLDERS, INC.; MULTIMETCO        )
 DEARBORN; MULTIMETCO LOS ANGELES;          )
 MULTIMETCO TAMPA; MULTIMETCO, INC.;        )
 MURPHY’S SPEC; MURSIX CORP.; MUSE          )
 CORES SUPPLY CO.; MUSKEGON RAG &           )
 METAL CO.; MUSTANG METAL; MYERS            )
 BROS. GIN, INC.; MYRTLE BEACH; MYRTLE      )
 BEACH SCRAP METAL; NACHO’S AUTO            )
 REPAIR; NAPUCK SALVAGE AND SUPPLY,         )
 LLC; NATION SALVAGE; NATIONAL              )
 AERONAUTICS AND SPACE                      )
 ADMINISTRATION; NATIONAL BRASS             )
 COMPANY; NATIONAL ELECTRICAL               )
 CARBON PRODUCTS, INC.; NATIONAL            )
 EXCHANGE; NATIONAL METAL; NATIONAL         )
 METALS COMPANY; NATIONAL STEEL;            )
 NATIONAL WASTE CO.; NATIONAL WIRE          )
 PRODUCTS OF MD; NATIONAL WRECKING          )
 COMPANY; NATRONA SLAG CO., INC. D/B/A      )
 BEDNAR METAL; NAY SCRAP METAL; NCR;        )
 NEAL SCRAP; NEBB’S RECYCLING, LLC;         )
 NEBRASKA PUBLIC POWER DISTRICT;            )
 NEIMAN INDUSTRIES; NELSON REFINING,        )



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 LLC; NELSON’S IRON & METAL; NEOSHA        )
 CUSTOM; NETVIA GROUP, LLC D/B/A W-TEK;    )
 NETWORK ADJUSTERS INCORPORATED;           )
 NEU BROTHERS HOLDINGS, INC. D/B/A         )
 HUGO NEU CORPORATION; NEVADA              )
 RECYCLING CORP.; NEVCO, INC.; NEW         )
 CASTLE JUNKYARD; NEW CASTLE METALS        )
 CO., LTD.; NEW ENGLAND ELECTRIC WIRE      )
 CORPORATION; NEW JERSEY-AMERICAN          )
 WATER COMPANY, INC.; NEW MEXICO           )
 RECYCLING; NEW PHOENIX GROUP, INC.;       )
 NEW POINT SCRAP; NEW YORK METALS;         )
 NEWCO METALS INC.; NEWELL                 )
 ENTERPRISES; NEWELL RECYCLING             )
 SOUTHEAST, LLC; NEWHALL JUNK &            )
 SALVAGE; NEXANS ENERGY USA, INC.;         )
 NEXANS MAGNET WIRE USA INC.; NEY          )
 INDUSTRIES; NHR PARTNERS, INC.; NICHE     )
 TRUCKING LLC D/B/A CONTRACTOR AND         )
 TRADESMAN SCRAP; NICKELSON                )
 INDUSTRIAL SERVICE, INC.; NILES IRON &    )
 METAL; NIXALITE OF AMERICA, INC.; NIXON   )
 POWER SERVICES; NLC, INC.; NOBLE METAL    )
 CO.; NOKIA SOLUTIONS AND NETWORKS US      )
 LLC; NOMA A&E; NORALCO CORP.;             )
 NORANDA MINES; NORCO FEED AND             )
 RECYCLING; NORDDEUTSCHE; NORDYNE          )
 INC.; NORELL FOUNDRY & MACHINE, INC.;     )
 NORFOLK IRON; NORRIS IRON & METAL,        )
 INC.; NORTH 19TH AUTO SALVAGE; NORTH      )
 AMERICAN IRON & METAL, LLC; NORTH         )
 BAY AUTO; NORTH COUNTY; NORTH             )
 KANSAS CITY IRON & METAL, L.L.C.; NORTH   )
 LAPEER RECYCLING, INC.; NORTH SHORE       )
 CORE; NORTH SHORE STEEL; NORTH SHORE      )
 SUPPLY COMPANY, INC.; NORTH TAMPA         )
 RECYCLING; NORTH VERSAILLES;              )
 NORTHEAST CON.; NORTHEAST METAL;          )
 NORTHERN MINNESOTA SERVICES, INC.         )
 D/B/A GILBERT IRON & METAL; NORTHERN      )
 MOUNTAIN STATE METALS, INC.;              )
 NORTHERN TELE.; NORTHLAND                 )
 RECYCLING; NORTHSIDE REC.; NORTHSIDE      )
 SCRAP METALS, INC.; NORTHSTAR             )
 RECYCLING; NORTHSTATE RECYCLING;          )
 NORTHWEST COMPANY; NORTHWEST              )



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 RECYCLING, INC.; NORTHWESTERN METAL        )
 CO.; NOVA PB; NOVA SCIENTIFIC, INC.;       )
 NOVAK AUTO CORP.; NOVICK IRON &            )
 METAL; NSM; NU-COR; NUMBER 1               )
 RECYCLING INC.; NYTEX AUTOMATIC            )
 PRODUCTS, INC.; O’BRIEN RECYCLING          )
 CORP.; O’DELLS IRON & METAL; O&W STEEL     )
 & METAL PRODUCTS; OAKES FOUNDRY,           )
 INC.; OBRON ATLANTIC CORPORATION;          )
 OCALA RECYCLING, INC.; OCEAN STATE         )
 METALS, INC.; OETTERER SALVAGE, LLC;       )
 OHIO RECYCLING, INC.; OK RADIATOR          )
 SHOP; OKMULGEE PIPE; OKON METALS INC.;     )
 THE OKONITE COMPANY; THE OLD MILL          )
 RECYCLING; OLLIE’S SALVAGE; OLSON’S        )
 UNLIMITED INC.; OLYMPIC METALS             )
 SERVICES; OMCO CAST METALS, INC.;          )
 OMEGA METALS COMPANY, INC.; OMT            )
 RECYCLING; ONE EARTH RECYCLING, INC.       )
 D/B/A CALIFORNIA METALS; ONSTATE           )
 RECYCLING, INC.; ONTARIO SCRAP;            )
 ORANGE COUNTY, CALIFORNIA;                 )
 ORANGEBURG RECYCLING; ORBIE; ORBIT         )
 ALUMINUM INDUSTRIES; ORLANDO WASTE         )
 PAPER CO.; ORTHODOX AUTO COMPANY           )
 INC.; OSAGE METALS; OSRAM SYLVANIA         )
 INC.; OSTER ALLOYS; OSTROM’S AUTO          )
 PARTS; OUTOKUMPU COPPER KENOSHA,           )
 INC.; OWL METALS INC.; OWL WIRE &          )
 CABLE CORP.; OWNESDALE RECYCLING;          )
 OXFORD ALLOYS, INC.; OXNARD AUTO R.;       )
 OZARK RECYCLING ENTERPRISE, INC.; P.       )
 KAY METAL, INC.; P. MCAVOY                 )
 CORPORATION, INC.; P&C DEVELOPMENT         )
 LLC D/B/A ARIZONA AUTO DONORS; P&H         )
 COMPANY; P&S AUTO SALVAGE; PACE            )
 RECYCLING, INC.; PACIFIC HIDE & FUR        )
 DEPOT; PACIFIC METAL CO.; PACIFIC NON-     )
 FERROUS; PACIFIC STEEL; PACIFIC WASTE;     )
 PACKARD ELECTRIC; PADNOS RETAIL, INC.;     )
 PAINSVILLE RECYCLING; PALM SPRINGS         )
 RECYCLING CENTER, INC.; PAN METAL          )
 CORP.; PANASONIC CORPORATION OF            )
 NORTH AMERICA; PANDUIT CORP.; PARIS        )
 IRON & METAL CO., INC.; PARK STEIN INC.;   )
 PARK WELDING; PARKS-PIONEER                )



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 CORPORATION; PARKWAY IRON & METAL           )
 AND PARK STEIN INC. D/B/A PARKWAY           )
 IRON & METAL CO. INC.; PARTS EXPEDITING     )
 AND DISTRIBUTION COMPANY; PASCAP            )
 COMPANY; PATIN’S SCRAP; PATIN’S SCRAP       )
 MATERIAL; PATRICK’S GARAGE &                )
 SALVAGE; PATTERSON IRON; PATTERSON          )
 SCRAP METAL; PAUL BROWN SOUTHBAY            )
 RECYCLING; PAUL RICH ROOFING &              )
 CONSTRUCTION INC.; PAUL SNOWDEN             )
 ENTERPRISES; PAUL W. ZIMMERMAN              )
 FOUNDRIES COMPANY; PAUL’S INC.; PAUL’S      )
 RADIATORS; PAUL’S RUBBER; PAYNE AUTO        )
 PARTS; PCI; PEARLAND RADIATOR SERVICE;      )
 PEARSON SCRAP; PECHINEY WORLD TRADE;        )
 PELCO SYSTEMS; PELHAM AUTO; PENN            )
 METAL STAMPING, INC.; PENN RECYCLING;       )
 PENSACOLA SCRAP; PERMA-FINISH, INC.;        )
 PERRY IRON & METAL; PERRY’S SCRAP;          )
 PERSEE CHEMICAL; PERTH AMBOY SPRING         )
 WORKS, INC.; PESSES IRON & METAL;           )
 PETALUMA LUNK; PETER’S SCRAP; PETTIT’S      )
 AUTO PARTS & RECYCLING, INC.; PFEIFER       )
 RECYCLING, INC.; PFEIFFER & SON, LTD.;      )
 PHILIP BROTHERS; PHILIP DUBRINSKY           )
 ENTERPRISES, INC.; PHILIP METALS - LURIA    )
 BROS.; PHILIP TRADING INT’L INC.; PHILIPS   )
 ELECTRONICS NORTH AMERICA                   )
 CORPORATION; PHILIPS FUR; PHILIPS IRON;     )
 PHILLIPS INDUSTRIES; PHILLIPS IRON &        )
 METAL INC.; PHOENIX LOCK COMPANY;           )
 PICK A PART AUTO WRECKING, L.P.; PICK       )
 AND PULL; PICK YOUR PART; PICK-A-PART;      )
 PIELET BROS. TRADING, INC. D/B/A ST.        )
 LOUIS AUTO SHREDDING; PILGRIM AUTO          )
 ELECTRIC, INC.; PIMA VALVE, LLC; PINE       )
 STREET SALVAGE CO. D/B/A SCRAP              )
 PROCESSING CO.; PINELLAS COMM.; PINGEL      )
 EXCHANGER SERVICE, INC.; PINO’S SCRAP;      )
 PIONEER INDUSTRIES; PIONEER                 )
 INDUSTRIES, INC.; PIONEER METAL; PIRKLE,    )
 INC.; PJ GRECO SONS, INC.; PLANT            )
 RECLAMATION; PLUMB MASTER;                  )
 PLYMOUTH IRON; POLK SCRAP IRON, INC.;       )
 POLLACK-READING INC.; POLYMER PLASTIC       )
 PRODUCTS; PONCA IRON & METAL CO.;           )



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 PONTIAC COIL, INC.; POOR BOY AUTO           )
 SALVAGE; POOR BOY SALVAGE; POPLAR           )
 STREET; PORTER AUTO INC.; PORTER            )
 COMPANY; PORTER COUNTY IRON & METAL         )
 RECYCLING LLC; PORTERVILLE M.;              )
 PORTLAND IRON AND METAL, INC.;              )
 PORTLAND RECYCLING; POSNER METAL            )
 LTD.; POSSEHL MONTA; POTTER &               )
 BRUMFIELD; POWER MAGNETICS, INC.;           )
 POWER MOUNT; POWERCOM SERVICES;             )
 POWERLINE SCRAP METAL, INC.; PPMC,          )
 INC.; PRAIRIE STATE; PRECISE ALLOYS         )
 CORPORATION; PRECISE METAL PRODUCTS         )
 COMPANY; PREMISES METALS &                  )
 RECYCLING, INC.; PRENGLER IRON &            )
 METAL, INCORPORATED; PRESCOTT               )
 METALS; PRESCOTT RECYCLING;                 )
 PRESTOLITE WIRE; PRESTON RECYCLING          )
 INC.; PRICE PFISTER; PRIME METAL SUPPLY     )
 LLC; PRISM RECYCLING; PRO-CAL;              )
 PROFESSIONAL PLUMBING CORP.;                )
 PROGRESS RAIL SERVICES; PROLER              )
 INTERNATIONAL CORP.; PROLER                 )
 SOUTHWEST CORPORATION; PROLER STEEL         )
 CORPORATION; PROLERIZED SCHIABO NEU         )
 CO.; PROPIEDADES E.; PROPIEDADES            )
 ESMERALDA, S.A. C.V.; PROVIDENCE            )
 TECHNOLOGIES, INC.; PRUITT IRON AND         )
 METAL; PSC METALS, INC.; PUBLIC UTILITY     )
 DISTRICT NO. 1 OF CLARK COUNTY; PULL &      )
 SAVE AUTO PARTS INC.; SPALDINGS INC.        )
 D/B/A PULL & SAVE AUTO PARTS; PURCELL       )
 METAL; PUTNAM PLASTICS CORPORATION;         )
 PVS NOLWOOD, INC.; PYROPURE, INC.;          )
 QNET; QRS, INC.; QUALITY METAL; QUALITY     )
 METALS, INC.; QUALITY METER REPAIR &        )
 SUPPLY INC.; QUALITY PARTS SUPPLY, LTD.;    )
 QUANTUM RESOURCE RECOVERY, INC.;            )
 QUANTUM RESOURCES INC.; QUIMET; R S         )
 SCRAP METAL, INC.; R. ISAAC REAL ESTATE     )
 AND DEVELOPMENT, LLC; R. STATEN             )
 METAL; R. TREZZA & SON, INC.; R.E. CRASH;   )
 R’S RECYCLING LLC; R&D RECYCLING; R&H       )
 RECYCLING; R&L METALS, INC.; R&L            )
 RECYCLING; R&L SCRAP; R&L SHEET             )
 METAL CO.; R&M METALS, INC.; R&M            )



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 MIDWEST; R&M SALVAGE; R&R AUTO             )
 PARTS; R&R INDUSTRIES, INC.; R&R METAL     )
 CO., INC.; R&R METALS RECYCLING INC.;      )
 R&R SCRAP METALS; R&Z METAL                )
 RECYCLING CORP.; RAC MATERIALS, LLC;       )
 RACINE SALVAGE; RADIATION PROTECTION       )
 PRODUCTS, INC.; RAFF’S RECYCLING;          )
 RAGEIS AND SON; RAILWAY & INDUSTRIAL       )
 SERVICES INC.; RAINBOW RECYCLING;          )
 RAKE, INC.; RAKI COMPUTER RECYCLING;       )
 RAMS METAL; RANDALL TEXTRA;                )
 RANSDALL RECYCLING; RAPCO; RAS, INC.;      )
 RAVEN WIRE CO.; RAY-MAR STEEL;             )
 RAYCAR DISTRIBUTION CO.; RAYLOC            )
 DIVISION; RAYMER METALS; RD SCREW          )
 MACHINE PRODUCTS, INC.; REA MAGNET         )
 WIRE COMPANY, INC.; READING                )
 ANTHRACITE COMPANY; READING TUBE;          )
 REAL BEAUDOIN; RECICLADORA;                )
 RECICLADORA DE METALS; RECICLAJES          )
 DEL ISIMO, S.A.; RECLA METALS, L.L.L.P.;   )
 RECOVERY OPTIONS, INC. OF COLORADO;        )
 RECYCLAGE MIL.; RECYCLE AMERICA;           )
 RECYCLE WORLD; RECYCLEABLE INC.;           )
 RECYCLERS -R- RESOURCES, INC.;             )
 RECYCLERS OF OKLAHOMA, INC.; THE           )
 RECYCLING CENTER; RECYCLING                )
 CONCEPTS, INC.; RECYCLING                  )
 COORDINATORS, INC.; THE RECYCLING          )
 DEPOT, INC.; RECYCLING INDUSTRIES OF       )
 TYLER, INC.; RECYCLING INDUSTRIES OF       )
 WISCONSIN; RECYCLING SERVICE CENTERS;      )
 RECYCLING UNLIMITED CORPORATION;           )
 RECYCO, INC. D/B/A MARIPOSA RECYCLING;     )
 REDING RECYCLING; REFLECTIVE               )
 RECYCLING, INC.; REGAL FINANCE, INC.;      )
 REGAL RECYCLING, INC.; REGIONAL            )
 RECYCLING, LLC; REMAN, INC.; REMELT        )
 INDUSTRIES; RENO SALVAGE; RENU             )
 RECYCLING, INC. D/B/A L&L RECYCLING        )
 CO.; REPUBLIC CRANE AND EQUIPMENT          )
 COMPANY; REPUBLIC METALS                   )
 CORPORATION; RESERVE IRON; RESERVE         )
 METALS; RESERVE TRADING INC.; RESNO        )
 TRADING; RESOURCE MANAGEMENT               )
 ENTERPRISES, INC. D/B/A RESOURCE           )



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 MANAGEMENT COMPANIES; RESOURCE            )
 RECOVERY; RESOURCE RECYCLING              )
 INTERNATIONAL, INC.; RESOURCES ALLOYS     )
 AND METALS, INC.; THE RETROFIT            )
 COMPANIES; REUTERS; REVERE COPPER         )
 PRODUCTS; REXNORD CORPORATION;            )
 REYNOLDS ALUMINUM; RGV RECYCLING,         )
 LLC; RHIMCO INDUSTRIES, INC.; RHODES      )
 AUTO; RICE; RICE IRON; RICH METALS CO.;   )
 RICHARD WILLIAMS & ASSOCIATES, INC.;      )
 RICHARD’S MANUFACTURING; RICHKER          )
 METALS INC.; RICHMOND BROTHERS;           )
 RICHMOND INDUSTRIES, INC.; RIFKIN SCRAP   )
 IRON & METAL COMPANY; RILEY               )
 RECYCLING; RIMCO INC.; RINE RECYCLING;    )
 RITTMAN SCRAP; RIVA SERVICES, INC.;       )
 RIVER CITY IRON & METAL INC.; RIVER       )
 ROAD RECYCLING, INC.; THE RIVER           )
 SMELTING & REFINING MFG. CO.; RIVER       )
 TRADING; RIVERA AUTO PARTS; RIVERSIDE     )
 SCRAP; RIVERSIDE SCRAP IRON & METAL;      )
 RIVERVIEW PROPERTIES, INC.; RJG INC.;     )
 RMR CORPORATION; RMS                      )
 COMMUNICATIONS GROUP, INC.; ROADWAY       )
 METAL COMPANY; ROBERT’S SCRAP;            )
 ROBERTSON TRANSFORMER CO. D/B/A           )
 ROBERTSON WORLDWIDE; ROBINSON IRON;       )
 ROCHESTER IRON; ROCKINGHMA SCRAP;         )
 ROCKMAKER SCRAP; ROCKWOOL                 )
 INDUSTRIES; ROCKY MOUNT RECYCLING;        )
 ROCKY MOUNTAIN RECYCLING, INC. D/B/A      )
 GAHAGEN IRON & METAL CO.; ROCKY           )
 MOUNTAIN STEEL, INC.; RODY TRUCK          )
 CENTER OF MIAMI, INC.; ROESSING BRONZE    )
 COMPANY INC.; ROGGENTIEN AND SONS;        )
 ROHAN CO.; ROHANNA IRON; ROLA METALS      )
 CO.; ROMAC INDUSTRIES, INC.; ROMAC        )
 SUPPLY CO., INC.; ROMAINE ELECTRIC        )
 CORPORATION; ROMAN MANUFACTURING,         )
 INC.; ROMIN IRON & METAL INC.; RON        )
 PURDY SCRAP; RON SINGER LTD. D/B/A        )
 FLYING PLUMBERS, INC.; RON’S              )
 AUTOWRECKING; ROS ELECTRICAL SUPPLY       )
 & EQUIPMENT CO., LLC; ROSE CO.; ROSE      )
 METAL PROCESSING; ROSE SCRAP METAL;       )
 ROSS BROTHERS SALVAGE INC.; ROSS          )



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 METAL; ROSS RECYCLING; ROTOMETALS,             )
 INC.; ROUNTREE, INC.; ROWE INDUSTRIES          )
 INC; ROXBURY AUTO WRECKERS INC.; ROY           )
 METAL; ROYAL GREEN; ROYAL RADIATORS;           )
 ROYAL SCRAP METAL; ROYAL TRUCK;                )
 ROYAL WESTERN COMPUTER, INC.; RT               )
 PRECISION MACHINERY, LP; RUBICON               )
 RECYCLING, INC.; RUBINO BROTHERS INC.;         )
 RUBTRON METAL; RUBY METALS, INC.;              )
 RUIZ & SONS; RUSK METAL COMPANY, INC.;         )
 RVRR ENTERPRISES D/B/A SAW MILL AUTO           )
 WRECKERS; RYPAC ALUMINUM RECYCLING             )
 LTD.; S. CAMEROTA & SONS, INC.; S.             )
 JOHNSON & SONS INC.; S. KASOWITZ & SON,        )
 INC; S. MINDLIN & SON, INC.; S.M.R.I INC.;     )
 S.N.G. ALLOYS; S.S. BELCHER CO.; S.T.L.; S&J   )
 RICHMAN CORPORATION, INC.; S&P                 )
 RECYCLING; S&S LAND DE.; S&S METAL             )
 RECYCLERS; S&S METALS; S&S RAILROAD;           )
 S&S SERVICES CORP.; S&W ATLAS IRON &           )
 METAL CO., INC.; S&Z MAC, INC. D/B/A           )
 COASTAL METAL RECYCLING; SA                    )
 RECYCLING LLC; SABEL INDUSTRIES, INC.;         )
 SABER DATA, LTD.; SABOT                        )
 INTERNATIONAL; SACKIN METALS, INC.;            )
 SADOFF IRON & METAL CO.; SAFEWAY, INC.;        )
 SAIA-BURGESS AUTOMOTIVE ACTUATORS              )
 LLC D/B/A JOHNSON ELECTRIC; SALESCO            )
 SYSTEM; SALT RIVER PROJECT                     )
 AGRICULTURAL IMPROVEMENT AND                   )
 POWER DISTRICT; SALVAGE; SALVAGE               )
 SERVICE; SAM ADELSTEIN & CO. LTD.; SAM         )
 WINER & CO. INC.; SAM’S METAL; SAMPSON         )
 STEEL CORP.; SAMTEC INC. D/B/A SAMTEC          )
 USA; SAMUELS RECYCLING; SAMUELS                )
 RECYCLING CO.; SAN ANTONIO M.; SAN             )
 ANTONIO R.; SAN ANTONIO WATER                  )
 SYSTEM; SAN FERNANDO; SAN FERNANDO             )
 RECYCLING; SAN FRANCISCO; SAN JOSE             )
 METAL; SAND SPRINGS; SANFORD                   )
 SALVAGE; SANGUARO METAL; SANITARY              )
 TRASHMOVAL SERVICES INC.; SANMINA              )
 CORPORATION; SAPA EXTRUSIONS, INC.;            )
 SAUL ASSH CO.; SB INTERNATIONAL, INC.;         )
 SCHACHTER P. & SONS LTD.; SCHAFER              )
 STEEL; SCHULTZ METAL; SCHUPAN & SONS           )



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 INC.; SCHUSTER METALS, LLC; SCHWARTZ;      )
 SCHWARTZ METAL; SCHWARTZMAN                )
 COMPANY; SCIOTO METALS, INC.;              )
 SCOGGINS METAL; SCONE SCRAP; SCOTT         )
 BRASS INC.; SCOTT’S AUTO SALVAGE;          )
 SCOTT’S INDUSTR.; SCOTTSBLUFF R.P.;        )
 SCRAP ALL INC.; SCRAP ALL RECYCLING;       )
 SCRAP CORPORATION; SCRAP IRON &            )
 METAL; SCRAP METAL BUYERS OF TAMPA         )
 INC.; SCRAP METAL ENTERPRISES; SCRAP       )
 METAL OF NIAGARA; SCRAP METAL              )
 PROCESSORS, INC.; SCRAP PROCESSING CO.;    )
 SCRAPCOM, INC.; SCRAPO; SCS GROUP, L.C.;   )
 SEA VIEW TECHNOLOGIES, INC.; SEAFORTH      )
 SALVAGE; SEASON-ALL INDUSTRIES, INC.;      )
 SEATON IRON & METAL; SEATTLE IRON &        )
 METALS CORPORATION; SECONDARY RES.;        )
 SEGEL AND SON, INC.; SELF RECYCLING,       )
 INC.; SEMCO INC.; SEMINOLE WIRE & CABLE    )
 CO., INC.; SENSUS USA INC.; SERCK          )
 SERVICES, INC. D/B/A INDUSTRIAL            )
 RADIATOR SERVICE; SERVICE ALL              )
 RADIATOR INC.; SERVICE BRASS FOUNDRY,      )
 L.L.C.; SERVICE SANITATION; SEVILLE        )
 BRONZE; SEWERAGE AND WATER BOARD           )
 OF NEW ORLEANS, LOUISIANA; SEYMORE         )
 WRECKING; SHANK METALS; SHANKE             )
 METALS; SHAPIRO BROS.; SHAPIRO BROS.       )
 OF ILLINOIS, INC. D/B/A MILANO METALS      )
 AND RECYCLING; SHAPIRO METALS CO.;         )
 SHEARSON-LEHM; SHEDD-BRAND; SHELMET        )
 CORP.; SHENANGO VALLEY; SHERWIN-           )
 WILLIAMS; SHERWOOD VALVE, LLC;             )
 SHILAND METAL BROKERAGE CO., INC.;         )
 SHOSTAK IRON & METAL COMPANY, INC.;        )
 SHOW AND TELL PRODUCTS; SHRED-A-CAN;       )
 SHREVEPORT RECYCLING SERVICES;             )
 SHRINE BROTHERS; SHULIMSON BROTHERS        )
 COMPANY, INC.; SIEMENS ENERGY, INC.;       )
 SIEMENS FURNAS CONTROLS; SIEMENS           )
 INDUSTRY, INC.; SIEMENS PT; SIEMENS        )
 ROLM; SIERRA IRON & METAL CO.; SIKORA      )
 METALS, INC.; SILREC CORPORATION;          )
 SILVER STATE; SILVER STEEL; SILVER’S       )
 METAL COMPANY; SILVEY METALWORKS           )
 INC.; SIMCO RECYCLING CORP., INC. D/B/A    )



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 INTERAMERICAN METAL TRADING; SIMFLO       )
 PUMPS, INC.; SIMMONS MANUFACTURING        )
 COMPANY; SIMON B. SCRAP; SIMON            )
 METALS, LLC; SIMTAX, INC.; SIOUX CITY     )
 COMPRESSED; SIPI METALS CORP.; SISKIN     )
 STEEL; SIX-PAC RECYCLING CORP.; SKAGGS    )
 AUTO REBUILDING; SKEE’S METALS INC.;      )
 SKEETS ENGINE; SKW ALLOYS; SLC            )
 ACQUISITION, L.L.C. D/B/A SLC RECYCLING   )
 INDUSTRIES; SLC METER, LLC; SLIPPERY      )
 ROCK SALVAGE; SLIPPERY ROCK TOWING &      )
 SALVAGE D/B/A SLIPPERY ROCK SALVAGE;      )
 SMA LOGISTICS, INC.; SMITH IRON & METAL   )
 CO. INC.; SMITH’S SCRAP; SMITHEY          )
 RECYCLING COMPANY; SMITTY’S SALVAGE       )
 & SUPPLY; SMJ RECYCLING; THE SNOW CO.;    )
 SNOWMAN RECYCLING, INC.; SOL ALMAN        )
 CO. SCRAP METALS; SOL WALKER & CO.;       )
 SOLA OPTICAL USA, INC.; SOLOMON           )
 CORPORATION; SONE ALLOY, INC.; SONE’      )
 ALLOYS INC.; SONNY’S METAL; SOONER        )
 AUTO PARTS; SOS METALS, INC.; SOUTH       )
 BAY METALS, INC.; SOUTH COAST             )
 RECYCLING; SOUTH LAMAR IRON & STEEL       )
 CO.; SOUTH POST OAK RECYCLING CENTER      )
 LLC; SOUTH TEXAS R.; SOUTHBEND            )
 INDUSTRIAL, INC.; SOUTHBRIDGE SALVAGE,    )
 INC.; SOUTHERN BRASS; SOUTHERN            )
 CALIFORNIA EDISON COMPANY; SOUTHERN       )
 CORE; SOUTHERN ELECTRIC SERVICE           )
 COMPANY, INC. D/B/A TEAMSESCO;            )
 SOUTHERN FASTENERS; SOUTHERN METAL        )
 PROCESSING; SOUTHERN METALS INC.;         )
 SOUTHERN RECYCLING; SOUTHERN              )
 RECYCLING, LLC; SOUTHERN RESOURCES;       )
 SOUTHERN SCRAP; SOUTHERN SCRAP IRON       )
 & METAL COMPANY, INC.;                    )
 SOUTHERWESTER; SOUTHSIDE AUTO;            )
 SOUTHSIDE RAD.; SOUTHSIDE                 )
 REDEVELOPMENT; SOUTHSIDE SALVAGE;         )
 SOUTHWEST AUTO SALVAGE; SOUTHWEST         )
 COM.; SOUTHWEST IRON; SOUTHWEST           )
 METALSMITHS, INC.; SOUTHWEST REFINING     )
 CORP.; SOUTHWEST SYSTEM MONITORING,       )
 INC.; SOUTHWIRE COMPANY, LLC; GASTON      )
 COPPER RECYCLING, LLC; SOWARD SCRAP;      )



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 SPACE AGE METAL; SPACE TECH; SPARTAN       )
 METALS, INC.; SPECIALLOY METALS            )
 COMPANY; SPECIALTY CHEMICAL                )
 SYSTEMS, INC.; SPECIALTY RECYCLING         )
 SERVICES, INC.; SPECIALTY SALVAGE LTD.;    )
 SPECIALTY UNDERWATER SERVICES, LLC;        )
 SPECTRA PREMIUM (USA) CORP.; SPECTRUM      )
 CONTROL INC.; SPEEDWEIGH RECYCLING,        )
 INC.; SPEEDY METALS, INC. D/B/A PACIFIC    )
 METAL CUTTING & WATERJET; SPENCER          )
 ROAD PUBLIC UTILITY; SPRIGG LANE           )
 INVESTMENT CORPORATION; SPRING CITY        )
 SALVAGE CO.; SPRINGFIELD METALS;           )
 SPRINT; SPRINT CORPORATION; SPX            )
 TRANSFORMER SOLUTIONS, INC.; SQUARE        )
 DEAL IRON AND METAL; ST. JOE               )
 INTERNATIONAL; ST. JOE LEAD; ST. PAUL      )
 FOUNDRY; ST. THOMAS SCRAP; STAINLESS       )
 & ALLOY PROCESSORS, INC.; STAJO;           )
 STALLOY METAL; STANDARD AUTOMOTIVE         )
 BUILDERS; STANDARD ELECTRIC;               )
 STANDARD IRON & METALS CO.; STANDARD       )
 MOTOR; STANDARD SCRAP METAL/EIGEN          )
 SCRAP METAL & ALLOY CO.; STANDEX           )
 ELECTRONICS, INC.; STANFORD; STAR IRON     )
 & METAL; STAR SCRAP METAL COMPANY,         )
 INC.; STARTECH.COM USA LLP; STATELINE      )
 SCRAP METAL; STATE IRON & METAL INC.;      )
 STATE LINE SCRAP CO. INC.; STATE METAL     )
 CO.; STATE METAL INDUSTRIES; STATE OF      )
 ILLINOIS; STATE PAPER & METAL CO., INC.;   )
 STATE PRIDE ROOFING OF FLORIDA, INC.;      )
 STATE SAND & GRAVEL CO., INC. D/B/A        )
 STATE IRON & METAL; STATE STEEL CO.;       )
 STATECO INC.; STEEL CITY IRON; STEEL       )
 MILL; STEFFA METALS CO., INC.; STEPEN      )
 ENTERPRISES; STEPHAN’S AUTO; STERLING      )
 FAUCET CO.; STERLING PROPERTIES;           )
 STEVEN WRECKING; STEVEN’S AUTO             )
 SALES; STEVENS AUTO SALVAGE; STEVENS       )
 TRANSPORT; STEWART COMPANY D/B/A           )
 HAWKES RADIATOR; STEWART EFI, LLC;         )
 STIMPLE & WARD COMPANY; STINSON            )
 METAL; STOCTON RECYCLING CENTER;           )
 STOLTZ MACHINE; STONERIDGE, INC.;          )
 STORM INVESTMENTS, INC.; STORM             )



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 MANUFACTURING GROUP, INC.; STORM          )
 PRODUCTS; STOUT & SON; STOUT & SONS;      )
 STOUT MOTOR CO.; STRATEGIC METALS         )
 CORPORATION D/B/A ROBERT K. KURTZ         )
 COMPANY; STRATEGIC RECLAMATION,           )
 INC.; STRAUSS INDUSTRIES, INC.; STRONE    )
 INVESTMENTS, L.C. D/B/A A-LINE IRON &     )
 METALS; STRUNZA METALS; STUBBLEFIELD      )
 SALVAGE AND RECYCLING, LLC;               )
 STUDDARD SCRAP; STURGEON BAY;             )
 STURGIL & BOO; SUDBURY IRON; SUFFOLK      )
 COUNTY WATER AUTHORITY; SUISMAN &         )
 BLUMENTHAL INC.; SULPHUR SPRINGS;         )
 SUMMIT CORPORATION OF AMERICA;            )
 SUMMIT METAL; SUMMIT PROCESSORS,          )
 INC.; SUMMIT, INC.; SUN CITY RADIATORS;   )
 SUN VALLEY RECYCLING; SUNDSTRAND          )
 HEAT TRANSFER; SUNRISE METALS D/B/A       )
 SUNRISE METALS; SUNRISE RECYCLING,        )
 LLC; SUNSHINE METALS; SUNWEST             )
 METALS; SUPERIOR BRONZE CORPORATION;      )
 SUPERIOR ESSEX INC.; SUPERIOR METAL       )
 CO.; SUPPLIERS INTERNATIONAL;             )
 SUSANVILLE RECYCLING CENTER;              )
 SUWANNEE AUTO SALVAGE, INC.; SW           )
 INDUSTRIES; SWEETS FUR; SWENSON           )
 METAL SALVAGE; T&C METAL CO.; T&J         )
 METAL CO.; T&R ELECTRIC; T&T              )
 RECYCLING INC.; T&T SALES; TACOMA         )
 METALS, INC.; TALBERT METAL; TAMPA        )
 SCRAP PROCESSORS; TANDY WIRE &            )
 CABLE; TAYLOR AUTO PARTS, INC.; TCI       )
 INCORPORATED; TDY INDUSTRIES, LLC; TE     )
 KING AUTO SALVAGE; TEAM SERVICE           )
 CORPORATION; TECCOR ELECTRONICS;          )
 TECH MET COMPANY; TECHNALLOY, INC.;       )
 TECNOFIL CHENANGO, SAC; TEL TRAC;         )
 TELEDYNE REYNOLDS INC.; TELEPLAN          )
 HOLDINGS USA INC.; TELEXPRESS, INC.;      )
 TELSCO INDUSTRIES, INC. D/B/A             )
 WEATHERMATIC; TEMPLE IRON & METAL         )
 CO.; TEMPLE METAL; TENGS ENTERPRISES;     )
 TENNESSEE VALLEY RECYCLING LLC;           )
 TENNEY RIGGING, INC.; TEPLITZ LTD.;       )
 TESTRA CORPORATION; TEX X; TEX-           )
 AMERICAN RECYCLING, INC.; TEX-MEX         )



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 FORWARDING; TEXAN ELECTRIC CO. INC.;      )
 TEXAS ALLOYS; TEXAS HI TEMP ALLOY         )
 PROCESSORS & BROKERS, L.P.; TEXAS         )
 INSTRUMENTS INCORPORATED; TEXAS           )
 IRON & METAL; TEXAS METAL CASTING         )
 CO.; TEXAS METAL SCRAP RECYCLERS;         )
 TEXAS SALVAGE; TEXAS SCRAP & SALVAGE      )
 CO.; TEXSTAR RECYCLING INC.; TEXTRON      )
 AEROSTRUCTURES; TFI INTERNATIONAL;        )
 THALHEIMER BROTHERS, LLC;                 )
 THECYBERYARD.COM, INC.; THERBIAULT        )
 GAS; THERMAL INDUSTRIES, INC.;            )
 THERMAX/CDT; THIRBAUDEAU METALS;          )
 THOMAS & BETTS CORPORATION;               )
 THOMASTON RECYCLING INC.; THOMPSON        )
 INVESTMENT CASTING; THOMPSON METAL        )
 SERVICES, INC.; THOMSON RECYCLING;        )
 THORNTON SALVAGE; THRASHERS               )
 SALVAGE; THUNDERBIRD AUTOMOTIVE OF        )
 PEORIA, ARIZONA; THURO METAL              )
 PRODUCTS, INC.; TIGER AUTOMOTIVE;         )
 TIGER VALVE AND SALVAGE; TILLMAN          )
 METAL; TILLMAN SCRAP; TIMCO SCRAP         )
 IRON; TIMCO SCRAP PROCESSING; TIMCO,      )
 INC.; TIMPSON TRADING; TINTON             )
 ENTERPRISES; TITAN RECYCLING, INC.;       )
 TITUS RECYCLING CO.; TJN ENTERPRISES,     )
 INC. D/B/A TJN TRADING COMPANY; TLK       )
 INDUSTRIES, LLC; TMS INTERNATIONAL        )
 CORPORATION; TMW ENTERPRISES INC.;        )
 TOBIAN METALS; TODD SYSTEMS, INC.;        )
 TOKO TRADING CORPORATION; TOLEDO          )
 COMMUTATOR COMPANY; TOM & JERRY;          )
 TOMRA PACIFIC, INC.; REPLANET LLC;        )
 TONOLLI CANADA LTD.; TOP DOLLAR; TOP      )
 FLIGHT AUTOMOTIVE; TORRES SALVAGE;        )
 TOTAL SCRAP MANAGEMENT; TOWN OF           )
 GILBERT, ARIZONA; TOWN OF SNOWFLAKE,      )
 ARIZONA; TOYOMENJA; TRADERS METAL;        )
 TRAILER TRAIN COMPANY; TRANE US INC.;     )
 TRANSFORMER DISPOSAL SPECIALIST;          )
 TRANSPACIFIC; TRANTER FLEXOPLATE;         )
 TRAVIS PATTERN & FOUNDRY; TREASURE        )
 COAST RECYCLING; TRENT RIVER;             )
 TRENTON IRON AND METAL, INC.; TRI ALEX;   )
 TRI AUTO; TRI CITIES RECYCLING; TRI       v



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 COUNTY SALVAGE; TRI FORT; TRI HUB; TRI      )
 IOWA; TRI MACON; TRI METAL INC.; TRI OK;    )
 TRI OZARK; TRI QUAD; TRI ROCK; TRI SIKE;    )
 TRI STATE METAL COMPANY; TRI TIGER;         )
 TRI VALLEY RECYCLING INC.; TRI VAN; TRI-    )
 ANN SERVICES; TRI-AT SERVICE; TRI-BAY       )
 SERVICES; TRI-BUFF SERVICES; TRI-CICI;      )
 TRI-CITIES INDUSTRIAL BUILDERS INC.; TRI-   )
 DECATUR L.; TRI-DECATUR M.; TRI-FORT        )
 SERVICES; TRI-HUB; TRI-KC; TRI-LINCOLN;     )
 TRI-MIL; TRI-NASH SERVICES; TRI-NOLA        )
 SERVICES; TRI-OK SERVICE; TRI-OZARK;        )
 TRI-OZARK SERVICE; TRI-PORT SERVICES;       )
 TRI-QUEEN SERVICES; TRI-SAVANNAH; TRI-      )
 SIKE SERVICES; TRI-STAR ALUMINUM; TRI-      )
 STATE IRON; TRI-STATE SCRAP, LLC; TRI-      )
 SUN SERVICE; TRI-TIGER; TRIANGLE;           )
 TRIANGLE METALS; TRIANGLE RECYCLING         )
 SERVICES ANNISTON; TRIANGLE                 )
 RECYCLING SERVICES JACKSON; TRIANGLE        )
 SCRAP METAL, INC.; TRIJAN INDUSTRIES;       )
 TRINIDAD RECYCLING & TRADING CO. LTD.;      )
 TRINITY METALS; TRIO FOUNDRY, INC.;         )
 TRIPLE J METALS; TRIPPE MANUFACTURING       )
 COMPANY D/B/A TRIPP LITE; TRIUNE IRON &     )
 METAL, INC.; TROJAN TRADING; TROY           )
 BRASS, INC.; TRUMBALL RECYCLING;            )
 TRUNNELL SCRAP METALS INC.; TSINGINE        )
 AND WAUNEKA GROUP, L.L.C.; TSK              )
 PARTNERS, INC. D/B/A ERIE BRONZE            )
 ALUMINUM CO.; TUBBE AND MCCOY;              )
 TUCSON ALTERNATOR EXCHANGE; TUCSON          )
 FOUNDRY; TUCSON IRON AND METAL;             )
 TUFFCO METALS; TULLIS METALS; TULSA         )
 LEAD; TUNG TAI TRADING; TUSCALOOSA          )
 IRON & METAL CO., INC.; TUTTLE AUTO         )
 PARTS; TUTTLE’S SALVAGE; TWEED              )
 SALVAGE; 21ST CENTURY ENVIRONMENTAL         )
 MANAGEMENT OF NEVADA, LLC; TWIN             )
 VILLAGE RECYCLING CO. INC.; TXI STAR        )
 RECYCLING; TYLER STEEL & SALVAGE;           )
 TYROLER SCRAP METALS, INC.; TZSCHOPPE       )
 INDUSTRIES INC.; U-METCO INC.; U.S. #1      )
 RECYCLING, INC.; U.S. BRASS; U.S. BRONZE    )
 FOUNDRY AND MACHINE, INC.; U.S.             )
 METALS; U.S. TRADING; U.S. ZINC             )



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 CORPORATION; U.S.A. MOLD, INC.; ULTRA     )
 STAMPING & ASSEMBLY, INC.; ULVECO INC.;   )
 UMPIRE AND CONTROL SERVICES INC.;         )
 UNICORN METALS RECYCLING CO., INC.;       )
 UNION AUTO SALVAGE; UNION CITY IRON;      )
 UNION IRON & METAL COMPANY; UNION         )
 PACIFIC RAILROAD CO.; UNIQUE              )
 RESOURCES; UNITED ALLOYS & STEEL CO.;     )
 UNITED BRASS MANUFACTURERS, INC.;         )
 UNITED CHEMI-CON, INC.; UNITED DMS OF     )
 TENNESSEE, LLC; UNITED IRON AND           )
 METAL; UNITED METAL; UNITED METAL         )
 RECYCLERS; UNITED METAL RECYCLERS,        )
 INC. D/B/A MIDWEST RECYCLERS; UNITED      )
 METAL TRADERS, INC.; UNITED METAL-D.H.    )
 GRIFFIN RECYCLES, LLC; UNITED NON-        )
 FERROUS TRADING LTD.; UNITED              )
 RECYCLING, INC.; UNITED REFINING;         )
 UNITED SCRAP, INC.; UNITED SMELTING;      )
 UNITED STATES AIR FORCE; UNITED STATES    )
 DEPARTMENT OF DEFENSE; UNITED STATES      )
 SCRAP; UNIVERSAL EXCHANGE, L.L.C.;        )
 UNIVERSAL METALS & ORE CO., INC.;         )
 UNIVERSAL RECYCLING; UNIVERSAL            )
 SALVAGE; UNIVERSAL SCRAP METALS, INC.;    )
 UNIVERTICAL LLC; USA RECYCLING; USA       )
 WASTE INC.; UTAH METAL WORKS, INC.;       )
 UTILITY METALS, INC.; UVONICS; V-         )
 METALS; V.R. SYSTEMS INC.; V&V            )
 RECYCLING; VALDOSTA; VALLEY BRASS;        )
 VALLEY RECYCLING; VALLEY SALES;           )
 VALLEY SCRAP METAL; VAN’S IRON &          )
 METAL INC.; VANDALIA ELECTRIC MOTOR       )
 SERVICE, INC.; VAUGHN BATTERY             )
 COMPANY; VEAZEY MILLING; VENICE           )
 SCRAP; VENTURA INDUSTRIES; VENTURE        )
 METALS, LLC; VEOLIA ES TECHNICAL          )
 SOLUTIONS, LLC; VEOLIA SPECIAL            )
 SERVICES, INC.; VERSATILE METALS, INC.;   )
 VERTICAL SEAL COMPANY; VERTICAL           )
 TURBINE SPECIALISTS; VI-CAL METAL;        )
 VICKERS; VICKSBURG IRON; VICTOR           )
 VALLEY RECYCLING; VICTORY AUTO            )
 WRECKERS, INC.; VINCENT A. PACE INC.;     )
 VIRGINIA INSULATED PRODUCTS, INC.;        )
 VIRGINIA SCRAP; VISHAY DALE               )



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 ELECTRONICS, LLC; VISTA METALS; VISTA        )
 RECYCLING, INC.; VISTEON CORPORATION;        )
 VITO MARTINOS SERVICE & SUPPLY; VOLEX        )
 ACTIVITY COMMITTEE; VOSGES; VOUGHT           )
 AIRCRAFT COMPANY; VULCAN MATERIALS;          )
 W. SILVER RECYCLING, INC.; W.C. ROSE; W.I.   )
 SANDY’S; W.S.I., INC.; W.W. ENTERPRISES;     )
 W&W RECYCLING; WABASH ALLOYS;                )
 WABASH IRON & METAL COMPANY, INC.;           )
 WACTER METALS & RECYCLING, INC.;             )
 WAGERS SALVAGE AND RECYCLING, INC.;          )
 WALDORF IRON; WALKER AUTO; WALKER            )
 METALLURIGICAL CORPORATION;                  )
 WALKER’S MAIN; WALL AUTO WRECKERS;           )
 WALLACE RECYCLING, INC.; WALLACE             )
 STEEL; WALLACH IRON & METAL CO., INC.;       )
 WALT’S RADIATOR; WALTON METALS;              )
 WANACO INC.; WANG ELECTRIC SYSTEMS,          )
 LLC; WAPAK IRON AND METAL; WARD              )
 PRINTING; WARD SALVAGE; WAREHOUSE            )
 MANAGEMENT; WARREN CO. METAL;                )
 WARREN COUNTY; WARRENTON COPPER              )
 LLC; WASHINGTON IRON WORKS, INC.;            )
 WASHINGTON RECYCLING; WASTACH                )
 METAL RECYCLING; WASTE MANAGEMENT            )
 OF ARIZONA; WASTE NOT RECYCLING; WCA         )
 OF MISSOURI, LLC D/B/A WASTE                 )
 CORPORATION OF MISSOURI; WEBB                )
 METALS, LTD.; WEBER AUTO & TRUCK             )
 PARTS; WEBER TRANSPORT; WEEMS                )
 ENTERPRISES, INC.; WEIGH & PAY SCRAP;        )
 WEINER BROKER; WEISER RECYCLING, INC.;       )
 WEISSMAN IRON; WEISZ IRON & METAL;           )
 WELLER AUTO PARTS, INC.; WELLSTON            )
 SCRAP; WENTWORTH SCRAP; WES’S AUTO &         )
 DIESEL REPAIR, L.L.C.; WESBELL               )
 INVESTMENT RECOVERY LTD.; WESCO              )
 DISTRIBUTION, INC.; WESLEY HOLMES;           )
 WESMAN SALVAGE; WEST ALLIS SALES;            )
 WEST BRANT IRON; WEST COAST METAL;           )
 WEST END HIDE, FUR & METAL CO., INC.;        )
 WEST END SCRAP; WEST FLORIDA; WEST           )
 MICHIGAN IRON & METAL, INC. D/B/A            )
 DUSTY’S SCRAP; WEST PHILADELPHIA             )
 BRONZE CORPORATION; WEST VIRGINIA;           )
 WEST WARWICK SCRAP METAL; WESTBANK           )



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 METAL; WESTBANK METALS                    )
 CORPORATION; WESTCOAST RECYCLING,         )
 INC.; WESTECH RECYCLERS                   )
 INTERNATIONAL GROUP, LLC D/B/A            )
 WESTECH RECYCLERS; WESTERN BRASS;         )
 WESTERN BRONZE, INC.; WESTERN             )
 CAROLINA FORKLIFT; WESTERN METAL          )
 CO.; WESTERN METAL RECYCLING;             )
 WESTERN METAL RECYCLING LLC;              )
 WESTERN RECYCLING; WESTERN SCRAP          )
 PROCESSING CO., INC.; WESTERN SMELTING    )
 & METALS INC.; WESTERNORE, INC.;          )
 WESTEX IRON & METAL COMPANY;              )
 WESTINGHOUSE; WESTINGHOUSE AIR            )
 BRAKE TECHNOLOGIES CORPORATION;           )
 WESTMINCO; WESTSIDE RADIATOR              )
 SERVICE, L.L.C.; WHARTON ENTERPRISES;     )
 WHEELER METALS, INC.; WHITE BLUFF;        )
 WHITE METAL; WHOLESALE RADIATOR           )
 WAREHOUSE; WICHITA IRON & METALS          )
 CORPORATION, INC.; WILD WEST WIND;        )
 WILHOIT COMPANY; WILKOFF & SONS LLC;      )
 WILLAMETTE TRADING; WILLIAM NELSON        )
 CO.; WILLIAM REISNER CORPORATION;         )
 WILLIAMS MOBILE; WILLOUGHBY IRON          )
 AND WASTE MATERIALS LLC; WILLS POINT      )
 INC.; WILLS POINT IRON AND METAL;         )
 WILSON’S METAL EXCHANGE, INC.;            )
 WINCHESTER; WINCHESTER ELECTRONICS        )
 CORP.; WINDTECH, INC.; WIRE RECYCLING     )
 INC.; WISCONSIN RECYCLING; WISE           )
 RECYCLING, LLC; WITTENBERG SCRAP; WM      )
 MILLER SCRAP IRON & METAL; WOLF IRON      )
 AND METAL; WOLVERINE BRONZE               )
 COMPANY; WOMACK SALVAGE; WOOD &           )
 TOMKIN; WOOD BROTHERS STEEL               )
 STAMPING CO.; WOODY’S US;                 )
 WOONSOCKET AUTO; WOOSTER IRON &           )
 METAL; WORLD AUTOMOTIVE; WRG, INC.        )
 D/B/A BUCKEYE METAL CO.; WRIGHT           )
 SALVAGE; WRIGHT’S RECYCLING;              )
 WRIGHT’S SCRAP METALS INC. D/B/A          )
 WRIGHT’S SCRAP & RECYCLING; WTE           )
 CORPORATION; WURTH ELECTRONICS            )
 MIDCOM INC.; WW AUTO SALA; WYCKOFF,       )
 INC.; WYOMING RECYCLING; XCERRA           )



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 CORPORATION D/B/A EVERETT CHARLES                     )
 TECHNOLOGY; XENIA IRON & METAL;                       )
 YERBERIA SAN FRANCISCO, INC.; YONG                    )
 SING (US), INC. D/B/A SUN-LITE METALS;                )
 YORKE DOLINER & COMPANY; YOU NAME                     )
 IT; YOUNG RECYCLING INC.; YUBA CITY                   )
 SCRAP; YUDIN SCRAP METAL; Z                           )
 RECYCLERS; Z-TECH GLOBAL SOLUTIONS                    )
 LLC; 0ZLG CORES; ZINC CORPORATION OF                  )
 AMERICA; ZINC NACIONAL; ZIRCON                        )
 PRECISION INC.; and ZOILA ESPERANZA                   )
 NUNEZ DE CORTEZ,                                      )
                                                       )
               Defendants.                             )

                                         COMPLAINT

        For its Complaint, Plaintiff Chemetco Site PRP Group (hereinafter “Plaintiff” or

 “Chemetco Group”), by and through counsel, alleges as follows:

                                STATEMENT OF THE CASE

        1.     This is a civil action pursuant to the provisions of the Comprehensive

 Environmental Response, Compensation and Liability Act of 1980, as amended, 42 U.S.C. §

 9601 et seq. (“CERCLA”), relating to the release and/or threatened release of hazardous

 substances from a facility known as the Chemetco, Inc. Superfund Site, which consists of

 property located approximately two miles south of the Village of Hartford, Madison County,

 Illinois, as well as any area where hazardous substances that migrated from the Chemetco

 Superfund Site have come to be located (“Chemetco Site”). The hazardous substances at the

 Chemetco Site have contaminated the soil and surface and ground water at the Chemetco Site

 and have threatened the public health and the environment. Each Defendant generated and/or

 transported materials containing hazardous substances to the Chemetco Site.

        2.     The Chemetco Group seeks cost recovery and contribution from each Defendant

 pursuant to Sections 107(a) and 113(f) of CERCLA, 42 U.S.C. §§ 9607(a) and 9613(f), for past


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 and future response costs incurred and to be incurred by the Chemetco Group for response

 activities undertaken and to be undertaken at the Chemetco Site, along with a declaration as to

 each Defendant’s liability and an allocation of past and future response costs among all parties.

                                  JURISDICTION AND VENUE

        3.      This Court has jurisdiction over the subject matter of this action pursuant to

 Sections 107(a) and 113(b) of CERCLA, 42 U.S.C. §§ 9607(a) and 9613(b), providing federal

 jurisdiction over controversies arising under CERCLA, and pursuant to 28 U.S.C. § 1331,

 providing federal jurisdiction over controversies involving questions of federal law. The Court

 also has jurisdiction over the request for declaratory relief under Section 113 of CERCLA, 42

 U.S.C. § 9613 and 28 U.S.C. §§ 2201 and 2202.

        4.      Venue is proper in this district pursuant to Sections 107(a) and 113(b) of

 CERCLA, 42 U.S.C. §§ 9607(a) and 9613(b), and 28 U.S.C. § 1391(b), because the release or

 threatened release of hazardous substances that give rise to this action occurred and/or are

 occurring at or from the Chemetco Site located in this judicial district.

                        ALLEGATIONS COMMON TO ALL CLAIMS

        5.      The Chemetco Site consists of the Chemetco Superfund Site property,

 encompassing approximately 41 acres and located at 3754 Chemetco Lane in the Village of

 Hartford, Madison County, Illinois. The Chemetco Site was listed on the National Priorities List

 on March 2, 2010.

        6.      The entire Chemetco property comprises more than 230 acres of land at this

 location, but the former secondary copper smelting operation only took place on approximately

 41 acres that comprise the Chemetco Site from 1969 to 2001.




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        7.       The primary function of Chemetco, Inc.’s smelting operation was the secondary

 smelting of copper-bearing scrap and other materials for recycling and metals recovery. The

 Chemetco, Inc. (“Chemetco”) facility housed four furnaces to melt scrap and other materials to

 produce copper cathodes and anodes, lead/tin solder and other metallic products.

        8.       Chemetco purchased the copper-bearing scrap and other materials on the open

 market, from brokers, through a network of Chemetco-controlled warehouses, and directly from

 scrap producers and other sources.

        9.       Chemetco’s smelting operation generated a variety of residues as a result of the

 smelting process and the maintenance of the furnaces. These materials included slag formed in

 the molten metal, particulate matter collected from the furnaces’ exhaust gases (referred to as

 zinc oxide and which was produced in a slurry form and a dry form), waste refractory brick, and

 waste mortar or other furnace material from repairs and maintenance of the furnaces.

        10.      Chemetco processed the slag by drying and screening it to size and sorting it. This

 process produced “slag fines” which are also present at the Chemetco Site. Each of these

 materials contain significant quantities of lead, cadmium, copper, zinc and iron.

        11.      Chemetco uses a variety of copper-bearing materials in its copper smelting

 operation. Some of these materials required pretreatment processes such as shearing, stripping,

 chopping, or separation prior to recycling to obtain the metals and/or ease handling and loading

 the furnaces.

        12.      Between 1985 and 1998, Chemetco did not process any materials before smelting.

        13.      From 1980 to 1985, the Illinois Environmental Protection Agency (“IEPA”)

 documented dozens of violations at the Chemetco facility of Illinois interim status requirements

 under 35 Ill. Adm. Code (IAC) Part 265; Illinois groundwater quality standards under 35 IAC




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 Part 302; and Illinois Pollution Control Board water quality effluent standards under 35 IAC Part

 725.

        14.     In 1985, the U.S. Environmental Protection Agency (“EPA”) filed an

 Administrative Order against Chemetco under RCRA alleging violations of interim status

 requirements and ordering compliance actions.

        15.     In September 1996, during a RCRA inspection, IEPA discovered an unpermitted

 10-inch drain pipe discharging zinc oxide slurry from the Chemetco facility into Long Lake. The

 zinc oxide slurry release was reported to the National Response Center and the Illinois

 Emergency Management Agency.

        16.     On October 10, 1986, the Attorney General of the State of Illinois filed a

 complaint pursuant to Section 42(d) and (e) of the Illinois Environmental Protection Act, 415

 ILCS § 5/42(d) and (e), against Chemetco. On February 19, 1998, the Illinois Pollution Control

 Board issued an Interim Opinion and Order, in which the Board found that Chemetco violated a

 number of provisions set out at 35 IAC 725.213 and 415 ILCS § 5/21(f)(2).

        17.     In September 1997, EPA issued a Findings of Violation and Compliance Order to

 Chemetco pursuant to Section 309(a) of the Clean Water Act, 33 U.S.C. § 1319(a), finding

 Chemetco in violation of Section 301 of the Clean Water Act, 33 U.S.C. § 1311, for its

 unpermitted fill of wetlands and discharge of pollutants from point sources to navigable waters,

 in violation of the Clean Water Act, 33 U.S.C. § 1344.

        18.     In 1997, the United States filed civil and criminal actions against Chemetco in the

 District Court for the Southern District of Illinois. The United States’ civil claim alleged that air

 emissions from the Chemetco facility violated the federal Clean Air Act’s National Ambient Air

 Quality Standard (“NAAQS”) for lead. The United States’ criminal claim alleged that a former




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 owner and five employees of Chemetco conspired to commit criminal violations of the federal

 Clean Water Act by allowing the unpermitted zinc oxide slurry discharge from the Chemetco

 facility.

         19.    On April 6, 1998, the State of Illinois amended its October 10, 1986 Pollution

 Control Board Complaint against Chemetco to allege additional violations of 35 IAC §§

 725.242(b) and (c), 725.244(a)-(c), and Section 21(f)(2) of the Illinois Environmental Protection

 Act, 415 ILCS § 5/21(f)(2).

         20.    On August 25, 2000, the United States filed a civil complaint in the District Court

 for the Southern District of Illinois against Chemetco, seeking injunctive relief and penalties for

 violations of RCRA and the Clean Water Act. The complaint sought the closure of remaining

 RCRA units at the Chemetco facility (including the zinc oxide contaminated areas and the slag

 pile), compliance with applicable Clean Water Act requirements, and civil penalties.

         21.    At the same time, the State of Illinois filed a complaint against Chemetco under

 CERCLA for the recovery of costs incurred by the State in responding to the zinc oxide release,

 among other claims for injunctive relief.

         22.    Prior to and subsequent to the filing of the government complaints, EPA and

 IEPA civil enforcement staff negotiated with Chemetco and obtained some measures by

 Chemetco to address the off-site zinc oxide release and storm water controls at the facility.

         23.    In January 2000 and in a Consent Decree settlement, the District Court for the

 Southern District of Illinois ordered Chemetco to pay $305,267 to satisfy the United States’

 claim for civil penalties alleged in its 1997 Complaint pursuant to the Clean Air Act. Chemetco

 previously paid the State of Illinois $305,000 in settlement of some of the violations set forth in

 the United States’ Complaint.




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        24.     In December 2000, the District Court for the Southern District of Illinois ordered

 Chemetco to pay $3.86 million and sentenced it to five years’ probation in resolution of the

 United States’ criminal action, and the United States obtained a criminal judgment against

 Chemetco, Inc. and several of its officers as a consequence of this discharge pipe activity.

        25.     On October 31, 2001, Chemetco shut the facility down, and on November 13,

 2001, Chemetco filed a Chapter 7 bankruptcy petition. The Bankruptcy Court for Southern

 District of Illinois appointed a Trustee to serve as custodian of Chemetco’s assets.

        26.     On May 1, 2002, the United States filed a $140 million proof of claim in the

 Chemetco Bankruptcy proceeding, most of which was allocated to the closure of the slag pile on

 the Chemetco Site. The State of Illinois subsequently filed a proof of claim as well.

        27.     On December 7, 2001, IEPA issued a Seal Order to seal the Chemetco Site.

        28.     On February 14, 2002, the federal and state plaintiffs filed a motion for partial

 summary judgment on their RCRA, Clean Water Act and CERCLA claims in the Southern

 District of Illinois civil action. The Chemetco Estate lacked resources to oppose this motion and

 instead expressed the intent to identify work that could be performed on the Chemetco Site (as an

 alternative to the injunctive relief sought) which would allow for the recovery of value from

 certain materials, such as the slag on the Chemetco Site.

        29.     Thereafter, the Trustee for the Chemetco Estate and the federal and state plaintiffs

 began settlement negotiations with the objective of finding a way, and willing third parties, to

 reclaim metals from the slag to reduce its volume on the Chemetco Site and threats to the health

 and environment caused by its presence, and to generate money to sustain the Chemetco Estate’s

 efforts in securing the Chemetco Site, preventing further releases and removing and/or




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 stabilizing waste materials on the Chemetco Site, as well as funding further cleanup of the

 Chemetco Site.

        30.     On September 16, 2008, the State of Illinois and the Trustee agreed upon an

 Interim Order for the facility in the case styled U.S. v. Chemetco, Inc., Nos. 00-670-DRH and 00-

 677-DRH (consolidated). In this Interim Order, the Trustee agreed to implement closure plans in

 compliance with facility work plans and applicable or relevant and appropriate requirements

 (“ARARs”), and implement demolition of portions of the Chemetco facility.

        31.     In July 2009, the Trustee entered into an Asset Purchase and Processing

 Agreement with Paradigm Minerals and Environmental Services, LLC (“Paradigm Metals”). In

 September 2013, the State of Illinois, the United States, the Trustee for the Chemetco Estate, and

 Paradigm Metals entered into a settlement through a Consent Decree filed in the case styled U.S.

 v. Chemetco, Inc., Nos. 00-670-DRH and 00-677-DRH (consolidated). This Consent Decree

 superseded the above-referenced Interim Order, and is currently being implemented with EPA

 oversight.

        32.     Residual materials and process wastes form the Chemetco smelter operations

 were released from the Chemetco Site into the environment or currently are present at the

 Chemetco Site.

        33.     Approximately 452,254 cubic yards of slag material have been stockpiled on the

 northeast corner of the Chemetco facility property, covering approximately 13 acres.

        34.     Approximately 62,204 cubic yards of zinc oxide (scrubber sludge) has been

 identified as being located on the Chemetco facility property, including a 2.5-acre concrete

 bunker at the north end of the facility.




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         35.      The former truck parking lot located just south of the main facility property is

 composed of slag material and possibly spent refractory brick. The parking lot was built in 1980

 and occupies approximately 8 acres of land just north of Long Lake.

         36.      In addition to these three sources of contamination, three former RCRA hazardous

 waste management units remain unmanaged and unclosed at the Chemetco Site: zinc oxide

 lagoons (dirt pits); cooling water canals; and the floor wash impoundment (acid pits).

         37.      The discharge area from the unpermitted discharge pipe is approximately 300 feet

 long by 450 feet wide. Wetlands located along Long Lake have been impacted by the

 contamination. During excavation activities in response to the discovery of the unpermitted

 discharge pipe, layers of zinc oxide material were found to a depth of 6 feet in Long Lake.

         38.      In 2002, IEPA documented significant contamination of the Chemetco facility

 and two miles of contamination in the sediments downstream of the facility in Long Lake.

         39.      In early 2008, IEPA documented heavy metals in soils on or near the Chemetco

 facility.

         40.      Contaminants of initial concern include heavy metals such as cadmium, copper,

 lead and zinc.

         41.      The waste slag material and the zinc oxide at the Chemetco Site fail the Toxicity

 Characteristic Leaching Procedure (“TCLP”) for lead and cadmium.

         42.      Elevated levels of cadmium, copper and lead have been found in the waste slag

 material and the zinc oxide.

         43.      Dioxin has also been observed at the Chemetco Site below industrial preliminary

 remediation goals (“PRGs”), but above residential PRGs.




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        44.     The spent refractory brick at the Chemetco Site may contain hazardous levels of

 chromium.

        45.     Samples collected by IEPA from the parking lot area were found to contain

 antimony, beryllium, cadmium, calcium, cobalt, copper, iron, lead, mercury, nickel, silver,

 sodium and zinc.

        46.     The Chemetco Site has been the subject of prior Site assessment and investigation

 activities by IEPA and EPA.

        47.     In 2002, IEPA conducted a Preliminary Assessment and Site Investigation

 Inspection in order to gain a basic understanding of any risks posed to human health and/or the

 environment by releases or threatened releases at the Chemetco Site.

        48.     In 2008, IEPA conducted an Expanded Site Inspection to further characterize any

 risks posed to human health and/or the environment by releases or threatened releases for the

 Chemetco Site, and to support scoring the Chemetco Site with EPA’s Hazard Ranking System

 for proposal to the National Priorities List.

        49.     After the Chemetco Site was listed on the National Priorities List in March 2010,

 the response lead for the Chemetco Site was transferred from IEPA to EPA.

        50.     In 2011, EPA scoped a remedial investigation to identify the Chemetco Site

 characteristics and to begin to define the nature and extent of soil, air, surface water, and

 groundwater contamination at the Chemetco Site and the risks posed by the Chemetco Site.

        51.     During the week of September 12, 2011, demolition activities began on the

 Chemetco Site, including the removal of several structures to reduce the bulk of the industrial

 materials on the Chemetco Site and to change the overall look of the Chemetco Site. Included in

 these demolition activities were the Foundry Building and adjacent American Air Filter air




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 pollution control system, the interior demolition of the Tank House Building, and other adjacent

 small support buildings.

        52.     Removal, abatement and disposal of asbestos containing materials and wastes

 known to be present in these structures were conducted prior to beginning the demolition

 activities. In addition, metal bearing materials such as slag material and zinc oxide sludge were

 collected from the demolition areas and consolidated away from the active areas.

        53.     Structures, machinery and other materials removed during the demolition were

 collected and sorted to determine which items were suitable for recycling or disposal. If

 necessary, these materials were decontaminated prior to removal from the Chemetco Site.

        54.     Prior to, during and following the demolition process, storm water on the

 Chemetco Site was managed by use of an existing closed loop system. Water that met the

 conditions detailed in the National Pollutant Discharge Elimination System (“NPDES”) permit

 for the site were discharged through the NPDES storm water outfall 005. Natural evaporation

 was used to manage the remaining accumulation of storm water on the Chemetco Site.

        55.     On February 13, 2015, several potentially responsible parties (“PRPs”), including

 members of the Chemetco Group entered into an “Administrative Settlement Agreement and

 Order on Consent for Remedial Investigation/Feasibility Study,” CERCLA Docket No. V-W-15-

 C-019 (“RI/FS AOC”) with EPA to perform a Remedial Investigation/Feasibility Study

 (“RI/FS”) at the Chemetco Site.

        56.     The Chemetco Group has also been working with EPA to identify other PRPs at

 the Chemetco Site through ongoing efforts to recover information from the Wang computer

 system utilized for Chemetco operations at the Chemetco Site.




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        57.     Through December 31, 2017, the Chemetco Group has incurred over $1,000,000

 in response costs to perform various response activities at the Chemetco Site.

        58.     The response costs incurred to date by the Chemetco Group are necessary to

 address the release and/or threatened release at the Chemetco Site, and are required by EPA in

 the RI/FS AOC and otherwise, and as such are consistent with the National Contingency Plan

 (“NCP”).

        59.     In addition, the Chemetco Group has voluntarily incurred and will continue to

 incur additional recoverable response costs, including attorney’s fees and expenses to search for

 other PRPs associated with the Chemetco Site and administrative functions, that are closely tied

 to the response activities at the Chemetco Site, which the Chemetco Group is also entitled to

 recover against parties liable under CERCLA.

        60.     The Chemetco Group will continue response costs to conduct response actions at

 the Chemetco Site as required by EPA and/or IEPA.

                                          THE PARTIES

        61.     The Chemetco Group in an unincorporated association and currently consists of

 the following members, in their own right, and as assignees of the CERCLA claims at the

 Chemetco Site of those entities who have settled or will settle with the Chemetco Group: A.

 Karchmer & Son, Inc.; A. Tenenbaum Company, Inc.; ABC Metals, Inc.; ABC Svinga Brothers

 Corp.; Accurate Castings Inc. (d/b/a Hiler Industries, successor to Charles O. Hiler & Sons, Inc.);

 Ace Steel & Recycling Inc.; ACuPowder International, LLC; Advance Bronze, Inc. and Advance

 Bronze - Cleveland II, Inc.; Aetna Metal Recycling, Inc.; Agmet LLC; Alcatel-Lucent USA Inc.

 (Lucent Tech); All Florida Scrap Metals, Inc.; Alpha Metals, Inc. (f/k/a Fry’s Metals, Inc.,

 Cookson Investments); Alpha Omega Recycling, Inc. (LPHA Omega Processing); Alter Trading




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 Corporation (Mason City Iron & Metal); American Bronze Corp.; American Federal

 International, Ltd.; AmRod Corp.; Andersen Wrecking Company, Inc.; ArcelorMittal related

 companies (including ArcelorMittal USA LLC, ArcelorMittal LaPlace, LLC and ArcelorMittal

 Metal Processing LLC, El Paso Iron & Metal, Mississippi River Recycling, Inland Steel Co.);

 Arkema Inc. (Atofina Chemicals, Inc. & Elf Atochem North America Inc.); Atlas Metal & Iron

 Corp.; Atos IT Solutions and Services, Inc. (Schlumberger Industries); Aurubis Buffalo, Inc.

 (Outokumpu American Brass Co.); Ball Pipe & Supply, Inc./Borg Compressed Steel Corporation

 (The Yaffe Companies Incorporated); Barry’s Metal, LTD; Beaman Metals Co., Inc.; Bell

 Processing, Inc.; Berlinsky Scrap Corp.; BFI Waste Systems of Indiana, LP (Republic Services,

 Inc., G.E./Laidlaw-Chicago); Big River Zinc Corporation; Billy Ray Pierce d/b/a Pierce Scrap

 Metal, Inc.; Bixon Liquidation Corp. f/k/a H. Bixon & Sons, Inc.; Block Metals (a/k/a Cash’s

 Scrap Metal & Iron Corp.); Botrade S. L.; Branch Metal Processing Corporation; C & C Scrap

 Iron & Metal, Inc.; C & D Scrap Metal Recyclers Co., Inc. of Houston, TX; Calgary Pick Your

 Part, Ltd.; Cargill, Inc. - North Star Recycling; Carlisle Brake & Friction, Inc. (S.K. Wellman,

 Inc.; Wellman Products Group, Inc.; Wellman Friction Products, and Wellman Friction); Catmet

 Company, Inc.; Central Waste Material Company; Century Brass Works Inc.; Cerro Flow

 Products, LLC; Charles Scrap Metal, Inc.; Charleston Steel & Metal; City of St. Peters, MO;

 CommScope, Inc.; Copperweld Bimetallics, LLC (Copperweld Fayetteville Division); CPS

 Energy; D & J Promotions d/b/a Jeffco Metals; Dade Scrap Iron & Metal, Inc.; David J. Joseph

 Company (River Metals Recycling, LLC, DJJ Metals, Western Metals Recycling LLC, a/k/a

 Commercial Iron & Metal Co.); DBW & Associates, Inc. - DBW Metals Recycling;

 Derichebourg Recycling USA, INC. (CFF Recycling); Detroit Iron & Metal Company; Didion-

 Orf Recycling, Inc. (Didion Recycling Co.); Dumes, Inc.; Eisner Brothers, Inc.; Elkhart Brass




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 Manufacturing; Elmet Slu; Empire Metal Recycling, Inc.; Enviro-Metal, Inc. (f/k/a Salem Metal

 Recyclers, Inc.); ERICO International Corporation; Excal, Inc.; Family Recycling Centers, Inc.;

 Federal Metals Co., Inc.; Foil’s, Incorporated; Franklin Bronze & Alloy Co., Inc.; Franklin

 Dissolution Corp. - Joyce Iron & Metal; Franklin Iron & Metal Corp.; Freeport Minerals

 Corporation; Freeport-McMoRan Sales Company, Inc. (Phelps Dodge Sales Corp.); Fresno

 Valves & Castings, Inc.; Gardner Iron & Metal Co, Inc.; General Cable Corporation (BICC

 General); General Iron Industries, Inc.; General Metals Corporation; Gerdau Ameristeel US Inc.

 (Fargo Iron & Metal); Global Electronic Recycling; GLS Metals Group Inc.; Gold Metal (which

 includes GMY Ltd. (GMY Enterprises LLC, general partner of GMY Ltd. d/b/a Spectrum

 Metals) and Gold Metal Recyclers Ltd. (Gold Metals Recyclers Management LLC as general

 partner of Gold Metal Recyclers, Ltd.)); Gold’n West Surplus, Inc.; Gordon Industries, Inc. - L.

 Gordon Iron & Metal; Great Lakes Paper Stock Corporation (GLR, Great Lakes Recycling, GLR

 Advanced Recycling, Advanced Recycling, Great Lakes Electronic Recycling); Guardian

 Industries (Engineered Glass Products, Marsco Manufacturing); Harding Metals, Inc.;

 Homestead Iron & Metal Recyclers, LLC; Huron Valley Steel Corporation; Hutcherson Metals

 Inc.; Interco Trading, Inc.; International Metal Corp.; ISA Recycling Inc.; Iskiwitz Metal; J.

 Solotken & Co., Inc.; J. Trockman & Sons; Joe W. Morgan, Inc./Henry Fligeltaub Company;

 Johnson Controls, Inc.; Keystone Iron & Metal Co. Inc.; Kobe Steel USA, Inc. (Kobe Copper

 Products Inc.); Kohler Company; Langley Recycling; LEMM Liquidating Company, LLC f/k/a

 Fulmer Company, LLC; Liberty Iron and Metal LLC (Liberty Iron and Metal Holdings, Inc.);

 Liberty Scrap Metal Plant II, Inc.; Liberty Scrap Metal, Inc.; Lincoln Foundry; Lopez Scrap

 Metal, Inc.; Louis Meskan Brass Foundry, Inc.; Luvata Appleton LLC; M&M Metals

 International Inc.; M. Burstein & Company, Inc.; Mahoney Foundries, Inc. (Vermont Foundry,




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 Controlled Machining); Martin Bros. Sardis, LLC; Masco Corporation (Delta Faucet); Mason

 Corporation; Max Cohen & Sons, Inc. (d/b/a Advanced Recycling); McNichols Scrap Iron &

 Metal Co.; Metal Briquetting Company; Metal Dynamics Corp.; Metal Exchange Corporation;

 Metal Management Midwest, Inc. (including Cozzi Iron & Metal, Metal Management Pittsburgh,

 Sims Group USA Corp., Metal Management Memphis, LLC, Metal Management Arizona, Inc.,

 Metal Management Denver, Metal Management New Jersey, Metal Management Ohio);

 Metalico Rochester, Inc. (Metallico Lyell Acquisition); Metallo - Chimique, N.V.; Metalstamp,

 Inc.; Metro Group, Inc. (Metro Steel Recyclers); Metro Metals Northwest, Inc. - All Recycling,

 Inc.; Metro Recycling Inc.; Miami Metals, Inc.; Midland Manufacturing Company; Milwaukee

 Valve Company, Inc.; Mintz Scrap Iron and Metal, Co., Inc.; Modine Manufacturing Company;

 Moen Incorporated; Molex, LLC - Temp-Flex, LLC; Morganite Inc.; Mt. Clements Metal

 Recycling, Inc.; Mueller Co. LLC; Mueller Tube Products, Inc. and its parent, Mueller

 Industries, Inc. (Fulton); New Ulm Steel & Recycling, Inc.; Niagara Mohawk Power Company

 (National Grid); NIBCO, Inc.; Nonferrous Products, Inc.; Northeast Metal Traders, Inc.;

 Northrop Grumman Systems Corporation (Kester, Inc., Kester Solder); NTR, plc (indemnitor for

 Greenstar Mid America, LLC), Mid America Recycling, Altas Investments plc; Nyrstar

 Clarksville, Inc. (Pasiminco Zinc, Inc.); O & D Manufacturing; Ocmus, Inc. (f/k/a SUMCO

 INC.); Olin Corporation (Waterbury Rolling Mills Incorporated); Omni Source Corporation; ON

 Semiconductor Corporation; Overland Metals LLC; Palm Beach Metal, Inc.; Parker Hannifin

 Corp.; Paul Mattuchio Inc.; PETAG Corporation; Phoenix Metal Trading, Inc.; PIAD Precision

 Casting Corporation; PMX Industries Inc. (PMX Euclid Plant); Productive Metals, Inc.; Quandt

 Auto Salvage, Inc.; Quantum Metals Inc.; Quincy Recycle Paper, Inc.; R&M Recycling, Inc.;

 Recycling Center, Inc.; Remington Arms Company, LLC; Rochester Computer Recycling &




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 Recovery LLC (Regional Computer Recycling & Recovery LLC); Rosenman’s Inc.; Safran

 Metals, Inc.; Salitsky Alloys, Inc.; Sam Berman and Sons; Schnitzer Steel Industries, Inc.;

 Secondary Metal Processing, Inc.; Serlin Iron & Metal; Sims Brothers Inc.; Slesnick Iron &

 Metal; Sloan Valve Company; Small Parts, Inc.; SMC Recycling, Inc.; Southern Metals

 Company; Standard Iron & Metal Co., LLC, (Oklahoma City, OK); Standard Metals Recycling;

 TAG Acquisitions, Inc., (d/b/a National Material Recycling); TE Connectivity (successor to

 AMP, Incorporated); Techemet Trading Inc.; TEXEL Corporation; The Ford Meter Box

 Company, Inc.; The Kendra Group d/b/a Bell Enterprise; Thornton Iron & Metal, Inc.; Totall

 Metal Recycling, Inc. (Transformit); TTM Technologies, Inc. (Tyco Electronics Printed Circuit

 Group Dallas Division); United States Metal Powders, Inc. (U.S. Bronze Powders); United

 Technologies Corporation (UTC) on behalf of its wholly owned subsidiary, Kidde-Fenwal, Inc.,

 as the apparent successor to AFAC c/o National Foam, Inc.; Victor Technologies (Victor

 Equipment Company); Victory White Metal Co.; Viking Recycling Inc.; Watts Regulator Co.;

 West Virginia Cashin Recyclables, Inc.; William Miller Scrap Iron & Metal Co.; Wolverine

 Brass Inc.; and Wolverine Tube Inc. (Great Lakes Copper).

        62.     Each of the members of the Chemetco Group is a signatory to the RI/FS AOC.

        63.     According to Chemetco Site records, Defendant A Square Systems, Inc. (“Square

 Systems”) contributed at least 3,148 lbs. of materials to the Chemetco Site. These materials were

 generated by Square Systems and contained hazardous substances.

        64.     To date, Square Systems has not paid any response costs incurred by the

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        65.     According to Chemetco Site records, Defendant A Street Scrap (“A Street Scrap”)

 contributed at least 148 lbs. of materials to the Chemetco Site. These materials were generated

 by A Street Scrap and contained hazardous substances.

        66.     To date, A Street Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        67.     According to Chemetco Site records, Defendant A-1 Automotive Core Supplier

 Company, Inc. (“A-1 Auto”) contributed at least 242,496 lbs. of materials to the Chemetco Site.

 These materials were generated by A-1 Auto and contained hazardous substances.

        68.     To date, A-1 Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        69.     According to Chemetco Site records, Defendant A-1 Metals Co. (“A-1 Metals”)

 contributed at least 38,332 lbs. of materials to the Chemetco Site. These materials were

 generated by A-1 Metals and contained hazardous substances.

        70.     To date, A-1 Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        71.     According to Chemetco Site records, Defendant A-1 Recycling, Inc. (“A-1

 Recycling”) contributed at least 120,873 lbs. of materials to the Chemetco Site. These materials

 were generated by A-1 Recycling and contained hazardous substances.

        72.     To date, A-1 Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        73.     According to Chemetco Site records, Defendant A-1 Scrap (“A-1 Scrap”)

 contributed at least 1,631 lbs. of materials to the Chemetco Site. These materials were generated

 by A-1 Scrap and contained hazardous substances.




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        74.     To date, A-1 Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        75.     According to Chemetco Site records, Defendant A-1 Scrap, Inc. (“A-1 Scrap,

 Inc.”) contributed at least 65,181 lbs. of materials to the Chemetco Site. These materials were

 generated by A-1 Scrap, Inc. and contained hazardous substances.

        76.     To date, A-1 Scrap, Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        77.     According to Chemetco Site records, Defendant A-C Auto (“A-C Auto”)

 contributed at least 21,847 lbs. of materials to the Chemetco Site. These materials were

 generated by A-C Auto and contained hazardous substances.

        78.     To date, A-C Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        79.     According to Chemetco Site records, Defendant A-Line EDS, Inc. (“A-Line

 EDS”) contributed at least 106,807 lbs. of materials to the Chemetco Site. These materials were

 generated by A-Line EDS and contained hazardous substances.

        80.     To date, A-Line EDS has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        81.     According to Chemetco Site records, Defendant A-Reliable Auto Parts &

 Wreckers, Inc. doing business as LKQ A-Reliable (“A-Reliable Auto”) contributed at least 4,256

 lbs. of materials to the Chemetco Site. These materials were generated by A-Reliable Auto and

 contained hazardous substances.

        82.     To date, A-Reliable Auto has not paid any response costs incurred by the

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        83.     According to Chemetco Site records, Defendant A. Bickoff & Son (“A. Bickoff”)

 contributed at least 7,924 lbs. of materials to the Chemetco Site. These materials were generated

 by A. Bickoff and contained hazardous substances.

        84.     To date, A. Bickoff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        85.     According to Chemetco Site records, Defendant A. Edelstein & Son, Inc.

 (“Edelstein & Son”) contributed at least 43,482 lbs. of materials to the Chemetco Site. These

 materials were generated by Edelstein & Son and contained hazardous substances.

        86.     To date, Edelstein & Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        87.     According to Chemetco Site records, Defendant A. Levine & S (“A Levine”)

 contributed at least 694 lbs. of materials to the Chemetco Site. These materials were generated

 by A Levine and contained hazardous substances.

        88.     To date, A Levine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        89.     According to Chemetco Site records, Defendant A. Miller & Co. (“A. Miller”)

 contributed at least 431,316 lbs. of materials to the Chemetco Site. These materials were

 generated by A. Miller and contained hazardous substances.

        90.     To date, A. Miller has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        91.     According to Chemetco Site records, Defendant A.A. Auto Recycling (“AA

 Auto”) contributed at least 477 lbs. of materials to the Chemetco Site. These materials were

 generated by AA Auto and contained hazardous substances.




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        92.     To date, AA Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        93.     According to Chemetco Site records, Defendant A.C.E. Metals (“ACE Metals”)

 contributed at least 911 lbs. of materials to the Chemetco Site. These materials were generated

 by ACE Metals and contained hazardous substances.

        94.     To date, ACE Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        95.     According to Chemetco Site records, Defendant A.D.A. Inc. (“A.D.A.”)

 contributed at least 22,199 lbs. of materials to the Chemetco Site. These materials were

 generated by A.D.A. and contained hazardous substances.

        96.     To date, A.D.A. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        97.     According to Chemetco Site records, Defendant A.I.M. Recycling (“A.I.M.

 Recycling”) contributed at least 22,541 lbs. of materials to the Chemetco Site. These materials

 were generated by A.I.M. Recycling and contained hazardous substances.

        98.     To date, A.I.M. Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        99.     According to Chemetco Site records, Defendant A.J. Warhola Recycling, Inc.

 (“Warhola Recycling”) contributed at least 56,837 lbs. of materials to the Chemetco Site. These

 materials were generated by Warhola Recycling and contained hazardous substances.

        100.    To date, Warhola Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        101.    According to Chemetco Site records, Defendant A.K.N. (“A.K.N.”) contributed at

 least 22,204 lbs. of materials to the Chemetco Site. These materials were generated by A.K.N.

 and contained hazardous substances.

        102.    To date, A.K.N. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        103.    According to Chemetco Site records, Defendant A.M. King Industries, Inc.

 (“A.M. King”) contributed at least 39,457 lbs. of materials to the Chemetco Site. These materials

 were generated by A.M. King and contained hazardous substances.

        104.    To date, A.M. King has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        105.    According to Chemetco Site records, Defendant A.R. Mead Salvage (“ARMS”)

 contributed at least 1,401 lbs. of materials to the Chemetco Site. These materials were generated

 by ARMS and contained hazardous substances.

        106.    To date, ARMS has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        107.    According to Chemetco Site records, Defendant A.R.M.S. Recycling (“ARMS

 Recycling”) contributed at least 647 lbs. of materials to the Chemetco Site. These materials were

 generated by ARMS Recycling and contained hazardous substances.

        108.    To date, ARMS Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        109.    According to Chemetco Site records, Defendant A.S.C. Inc. doing business as

 ASCO Metals (“ASC”) contributed at least 151,620 lbs. of materials to the Chemetco Site. These

 materials were generated by ASC and contained hazardous substances.




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        110.    To date, ASC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        111.    According to Chemetco Site records, Defendant A.Y. McDonald Mfg. Co. (“A.Y.

 McDonald”) contributed at least 497,084 lbs. of materials to the Chemetco Site. These materials

 were generated by A.Y. McDonald and contained hazardous substances.

        112.    To date, A.Y. McDonald has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        113.    According to Chemetco Site records, Defendant A&A Foundries Inc. (“A&A

 Foundries”) contributed materials to the Chemetco Site. These materials were generated by A&A

 Foundries and contained hazardous substances.

        114.    To date, A&A Foundries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        115.    According to Chemetco Site records, Defendant A&A Iron (“A&A Iron”)

 contributed at least 6,683 lbs. of materials to the Chemetco Site. These materials were generated

 by A&A Iron and contained hazardous substances.

        116.    To date, A&A Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        117.    According to Chemetco Site records, Defendant A&A Iron & Metal Inc. (“A&A

 Iron & Metal”) contributed at least 21,007 lbs. of materials to the Chemetco Site. These materials

 were generated by A&A Iron & Metal and contained hazardous substances.

        118.    To date, A&A Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        119.    According to Chemetco Site records, Defendant A&A Metals (“A&A Metals”)

 contributed at least 30,736 lbs. of materials to the Chemetco Site. These materials were

 generated by A&A Metals and contained hazardous substances.

        120.    To date, A&A Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        121.    According to Chemetco Site records, Defendant A&A Metals, Inc. (“A&A

 Metals, Inc.”) contributed at least 1,223,281 lbs. of materials to the Chemetco Site. These

 materials were generated by A&A Metals, Inc. and contained hazardous substances.

        122.    To date, A&A Metals, Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        123.    According to Chemetco Site records, Defendant A&A Salvage (“A&A Salvage”)

 contributed at least 171 lbs. of materials to the Chemetco Site. These materials were generated

 by A&A Salvage and contained hazardous substances.

        124.    To date, A&A Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        125.    According to Chemetco Site records, Defendant A&B Enterprises (“A&B

 Enterprises”) contributed at least 563,337 lbs. of materials to the Chemetco Site. These materials

 were generated by A&B Enterprises and contained hazardous substances.

        126.    To date, A&B Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        127.    According to Chemetco Site records, Defendant A&B Iron (“A&B Iron”)

 contributed at least 1,939 lbs. of materials to the Chemetco Site. These materials were generated

 by A&B Iron and contained hazardous substances.




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        128.    To date, A&B Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        129.    According to Chemetco Site records, Defendant A&B Metal Recycling (“A&B

 Metal”) contributed at least 861 lbs. of materials to the Chemetco Site. These materials were

 generated by A&B Metal and contained hazardous substances.

        130.    To date, A&B Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        131.    According to Chemetco Site records, Defendant A&B Metal Recycling, Inc.

 (“A&B Metal Recycling”) contributed materials to the Chemetco Site. These materials were

 generated by A&B Metal Recycling and contained hazardous substances.

        132.    To date, A&B Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        133.    According to Chemetco Site records, Defendant A&B Recycling (“A&B

 Recycling”) contributed materials to the Chemetco Site. These materials were generated by A&B

 Recycling and contained hazardous substances.

        134.    To date, A&B Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        135.    According to Chemetco Site records, Defendant A&B Recycling, Inc. (“A&B

 Recycling, Inc.”) contributed at least 639,824 lbs. of materials to the Chemetco Site. These

 materials were generated by A&B Recycling, Inc. and contained hazardous substances.

        136.    To date, A&B Recycling, Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        137.    According to Chemetco Site records, Defendant A&C Metals (“A&C Metals”)

 contributed at least 5,428 lbs. of materials to the Chemetco Site. These materials were generated

 by A&C Metals and contained hazardous substances.

        138.    To date, A&C Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        139.    According to Chemetco Site records, Defendant A&E Auto Electric, Inc. (“A&E

 Auto Electric”) contributed at least 628,945 lbs. of materials to the Chemetco Site. These

 materials were generated by A&E Auto Electric and contained hazardous substances.

        140.    To date, A&E Auto Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        141.    According to Chemetco Site records, Defendant A&E Metal Recycling and

 Packaging, Inc. (“A&E Metal”) contributed at least 96,501 lbs. of materials to the Chemetco

 Site. These materials were generated by A&E Metal and contained hazardous substances.

        142.    To date, A&E Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        143.    According to Chemetco Site records, Defendant A&E Recycling (“A&E

 Recycling”) contributed at least 11,982 lbs. of materials to the Chemetco Site. These materials

 were generated by A&E Recycling and contained hazardous substances.

        144.    To date, A&E Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        145.    According to Chemetco Site records, Defendant A&G Scrap (“A&G Scrap”)

 contributed at least 35 lbs. of materials to the Chemetco Site. These materials were generated by

 A&G Scrap and contained hazardous substances.




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        146.    To date, A&G Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        147.    According to Chemetco Site records, Defendant A&J Salvage (“A&J Salvage”)

 contributed at least 73 lbs. of materials to the Chemetco Site. These materials were generated by

 A&J Salvage and contained hazardous substances.

        148.    To date, A&J Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        149.    According to Chemetco Site records, Defendant A&M Enterprises (“A&M

 Enterprises”) contributed at least 1,213,888 lbs. of materials to the Chemetco Site. These

 materials were generated by A&M Enterprises and contained hazardous substances.

        150.    To date, A&M Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        151.    According to Chemetco Site records, Defendant A&M Metals (“A&M Metals”)

 contributed at least 42 lbs. of materials to the Chemetco Site. These materials were generated by

 A&M Metals and contained hazardous substances.

        152.    To date, A&M Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        153.    Defendant A&M Scrap Metal Recycling, LLC (“A&M Scrap”) is responsible for

 the waste attributable to Coast 2 Coast Metal Recycling, Inc. (“Coast 2 Coast”).

        154.    Coast 2 Coast was formed as a Florida corporation and later dissolved, with last

 officers of record as Cheryl and Mark Richman at 9360 N.W. 31st Place, Sunrise, Florida (“31st

 address”).




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        155.    A&M Scrap is also a Florida corporation, with last officers of record as Cheryl

 and Mark Richman at the 31st address.

        156.    Both Coast 2 Coast and A&M Scrap were and/or are in the business of scrap

 metal recycling.

        157.    According to Chemetco Site records, Coast 2 Coast contributed at least 55,367

 lbs. of materials to the Chemetco Site. These materials were generated by Coast 2 Coast and

 contained hazardous substances.

        158.    To date, A&M Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        159.    According to Chemetco Site records, Defendant A&P Recycling Co. Inc. (“A&P

 Recycling”) contributed at least 153,754 lbs. of materials to the Chemetco Site. These materials

 were generated by A&P Recycling and contained hazardous substances.

        160.    To date, A&P Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        161.    According to Chemetco Site records, Defendant A&R Salvage (“A&R Salvage”)

 contributed at least 143,090 lbs. of materials to the Chemetco Site. These materials were

 generated by A&R Salvage and contained hazardous substances.

        162.    To date, A&R Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        163.    According to Chemetco Site records, Defendant A&S Metal (“A&S Metal”)

 contributed at least 3,342 lbs. of materials to the Chemetco Site. These materials were generated

 by A&S Metal and contained hazardous substances.




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        164.    To date, A&S Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        165.    According to Chemetco Site records, Defendant A&S Metal Recycling (“A&S

 Metal Recycling”) contributed at least 676,421 lbs. of materials to the Chemetco Site. These

 materials were generated by A&S Metal Recycling and contained hazardous substances.

        166.    To date, A&S Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        167.    According to Chemetco Site records, Defendant A&S Metals, Inc. (“A&S

 Metals”) contributed at least 62,381 lbs. of materials to the Chemetco Site. These materials were

 generated by A&S Metals and contained hazardous substances.

        168.    To date, A&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        169.    According to Chemetco Site records, Defendant A&W Electric (“A&W Electric”)

 contributed at least 794 lbs. of materials to the Chemetco Site. These materials were generated

 by A&W Electric and contained hazardous substances.

        170.    To date, A&W Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        171.    According to Chemetco Site records, Defendant AA 1 Auto Wrecking (“AA 1

 Auto”) contributed at least 7,472 lbs. of materials to the Chemetco Site. These materials were

 generated by AA 1 Auto and contained hazardous substances.

        172.    To date, AA 1 Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        173.    According to Chemetco Site records, Defendant AA Foundries, Inc. (“AA

 Foundries”) contributed at least 350,131 lbs. of materials to the Chemetco Site. These materials

 were generated by AA Foundries and contained hazardous substances.

        174.    To date, AA Foundries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        175.    According to Chemetco Site records, Defendant AAA Auto Parts (“AAA Auto

 Parts”) contributed at least 1,000 lbs. of materials to the Chemetco Site. These materials were

 generated by AAA Auto Parts and contained hazardous substances.

        176.    To date, AAA Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        177.    According to Chemetco Site records, Defendant AAA Rad and A (“AAA Rad”)

 contributed at least 21,119 lbs. of materials to the Chemetco Site. These materials were

 generated by AAA Rad and contained hazardous substances.

        178.    To date, AAA Rad has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        179.    According to Chemetco Site records, Defendant AAA Recycling, Inc. doing

 business as Laman Metal (“AAA Recycling”) contributed at least 9,756 lbs. of materials to the

 Chemetco Site. These materials were generated by AAA Recycling and contained hazardous

 substances.

        180.    To date, AAA Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        181.    According to Chemetco Site records, Defendant AAA Scrap Metals, Inc. doing

 business as AAA Scrap Metals (“AAA Scrap Metals”) contributed at least 13,651 lbs. of




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 materials to the Chemetco Site. These materials were generated by AAA Scrap Metals and

 contained hazardous substances.

        182.    To date, AAA Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        183.    According to Chemetco Site records, Defendant Aaker & Associates (“Aaker

 Associates”) contributed at least 4,807 lbs. of materials to the Chemetco Site. These materials

 were generated by Aaker Associates and contained hazardous substances.

        184.    To date, Aaker Associates has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        185.    According to Chemetco Site records, Defendant Aard Wolf Iron & Metal (“Aard

 Wolf Iron”) contributed at least 6 lbs. of materials to the Chemetco Site. These materials were

 generated by Aard Wolf Iron and contained hazardous substances.

        186.    To date, Aard Wolf Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        187.    According to Chemetco Site records, Defendant Aaromet Metal Recycling, LLC

 (“Aaromet Metal”) contributed at least 406,218 lbs. of materials to the Chemetco Site. These

 materials were generated by Aaromet Metal and contained hazardous substances.

        188.    To date, Aaromet Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        189.    According to Chemetco Site records, Defendant Aaron Ferer & Sons Co. (“Aaron

 Ferer”) contributed at least 44,540 lbs. of materials to the Chemetco Site. These materials were

 generated by Aaron Ferer and contained hazardous substances.




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        190.    To date, Aaron Ferer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        191.    According to Chemetco Site records, Defendant Aaron Metals Company (“Aaron

 Metals”) contributed at least 523,747 lbs. of materials to the Chemetco Site. These materials

 were generated by Aaron Metals and contained hazardous substances.

        192.    To date, Aaron Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        193.    According to Chemetco Site records, Defendant Aaron Scrap Iron (“Aaron

 Scrap”) contributed at least 294 lbs. of materials to the Chemetco Site. These materials were

 generated by Aaron Scrap and contained hazardous substances.

        194.    To date, Aaron Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        195.    According to Chemetco Site records, Defendant ABA Metals (“ABA Metals”)

 contributed at least 14,325 lbs. of materials to the Chemetco Site. These materials were

 generated by ABA Metals and contained hazardous substances.

        196.    To date, ABA Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        197.    According to Chemetco Site records, Defendant Abalene Metal (“Abalene

 Metal”) contributed at least 584 lbs. of materials to the Chemetco Site. These materials were

 generated by Abalene Metal and contained hazardous substances.

        198.    To date, Abalene Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        199.    According to Chemetco Site records, Defendant Abbey Metal Co. (“Abbey

 Metal”) contributed at least 316,407 lbs. of materials to the Chemetco Site. These materials were

 generated by Abbey Metal and contained hazardous substances.

        200.    To date, Abbey Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        201.    According to Chemetco Site records, Defendant Abbey Metals (“Abbey Metals”)

 contributed at least 784,520 lbs. of materials to the Chemetco Site. These materials were

 generated by Abbey Metals and contained hazardous substances.

        202.    To date, Abbey Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        203.    According to Chemetco Site records, Defendant Abbey Metals International

 (“Abbey Metals Intl.”) contributed materials to the Chemetco Site. These materials were

 generated by Abbey Metals Intl. and contained hazardous substances.

        204.    To date, Abbey Metals Intl. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        205.    According to Chemetco Site records, Defendant Abbey Metals Recycling

 (“Abbey Metals Recycling”) contributed at least 1,090,869 lbs. of materials to the Chemetco

 Site. These materials were generated by Abbey Metals Recycling and contained hazardous

 substances.

        206.    To date, Abbey Metals Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        207.    According to Chemetco Site records, Defendant ABC Box Company (“ABC

 Box”) contributed at least 14,917 lbs. of materials to the Chemetco Site. These materials were

 generated by ABC Box and contained hazardous substances.

        208.    To date, ABC Box has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        209.    Defendant ABC Metals Supply San Diego, Inc. (“ABC Metals”) is responsible for

 the waste attributable to A-1 Alloys, Inc. (“A-1”).

        210.    In or about January, 2012, ABC Metals amended its name to A-1.

        211.    According to Chemetco Site records, A-1 contributed at least 40,029 lbs. of

 materials to the Chemetco Site. These materials were generated by A-1 and contained hazardous

 substances.

        212.    To date, ABC Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        213.    According to Chemetco Site records, Defendant ABC Radiator & Air, Inc. (“ABC

 Radiator”) contributed at least 40,778 lbs. of materials to the Chemetco Site. These materials

 were generated by ABC Radiator and contained hazardous substances.

        214.    To date, ABC Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        215.    According to Chemetco Site records, Defendant ABC Recycling (“ABC

 Recycling”) contributed at least 38 lbs. of materials to the Chemetco Site. These materials were

 generated by ABC Recycling and contained hazardous substances.

        216.    To date, ABC Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        217.    According to Chemetco Site records, Defendant ABC Recycling Company

 (“ABC Recycling Co.”) contributed at least 125,185 lbs. of materials to the Chemetco Site.

 These materials were generated by ABC Recycling Co. and contained hazardous substances.

        218.    To date, ABC Recycling Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        219.    According to Chemetco Site records, Defendant ABC Salvage (“ABC Salvage”)

 contributed at least 1,491 lbs. of materials to the Chemetco Site. These materials were generated

 by ABC Salvage and contained hazardous substances.

        220.    To date, ABC Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        221.    According to Chemetco Site records, Defendant ABC Salvage & Scrap Metal

 (“ABC Salvage & Scrap”) contributed at least 83,507 lbs. of materials to the Chemetco Site.

 These materials were generated by ABC Salvage & Scrap and contained hazardous substances.

        222.    To date, ABC Salvage & Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        223.    According to Chemetco Site records, Defendant ABC Salvage I (“ABC Salvage

 I”) contributed at least 20,409 lbs. of materials to the Chemetco Site. These materials were

 generated by ABC Salvage I and contained hazardous substances.

        224.    To date, ABC Salvage I has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        225.    According to Chemetco Site records, Defendant Abco Metal Corp. (“Abco

 Metal”) contributed at least 30,590 lbs. of materials to the Chemetco Site. These materials were

 generated by Abco Metal and contained hazardous substances.




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        226.    To date, Abco Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        227.    According to Chemetco Site records, Defendant Abel Recycling, Inc. doing

 business as Max Silver & Son Inc. (“Abel Recycling”) contributed at least 6,455 lbs. of materials

 to the Chemetco Site. These materials were generated by Abel Recycling and contained

 hazardous substances.

        228.    To date, Abel Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        229.    Defendant Able Alloy, Inc. (“Able Alloy”) is responsible for the waste

 attributable to Able Alloy & Scrap Co. (“Able Scrap”).

        230.    In or about 1989, Able Scrap amended its name to Able Alloy.

        231.    According to Chemetco Site records, Able Scrap contributed at least 331,307 lbs.

 of materials to the Chemetco Site. These materials were generated by Able Scrap and contained

 hazardous substances.

        232.    To date, Able Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        233.    According to Chemetco Site records, Defendant Abrams Metal (“Abrams Metal”)

 contributed at least 3,092 lbs. of materials to the Chemetco Site. These materials were generated

 by Abrams Metal and contained hazardous substances.

        234.    To date, Abrams Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        235.    According to Chemetco Site records, Defendant Abrams Scrap Metals Co.

 (“Abrams Scrap”) contributed at least 26,130 lbs. of materials to the Chemetco Site. These

 materials were generated by Abrams Scrap and contained hazardous substances.

        236.    To date, Abrams Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        237.    According to Chemetco Site records, Defendant Absolute Auto (“Absolute Auto”)

 contributed at least 565,859 lbs. of materials to the Chemetco Site. These materials were

 generated by Absolute Auto and contained hazardous substances.

        238.    To date, Absolute Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        239.    According to Chemetco Site records, Defendant ACCO Waste (“ACCO Waste”)

 contributed at least 237,300 lbs. of materials to the Chemetco Site. These materials were

 generated by ACCO Waste and contained hazardous substances.

        240.    To date, ACCO Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        241.    According to Chemetco Site records, Defendant Accurate Bronze Bearing Co.

 (“Accurate Bronze”) contributed at least 17,816 lbs. of materials to the Chemetco Site. These

 materials were generated by Accurate Bronze and contained hazardous substances.

        242.    To date, Accurate Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        243.    According to Chemetco Site records, Defendant Accurate Cast (“Accurate Cast”)

 contributed at least 2,124 lbs. of materials to the Chemetco Site. These materials were generated

 by Accurate Cast and contained hazardous substances.




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        244.    To date, Accurate Cast has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        245.    Defendant Accurate Metals, LLC (“Accurate Metals”) is responsible for the waste

 attributable to Darby Recycling Center (“Darby Recycling”).

        246.    According to Chemetco Site records, Darby Recycling contributed at least

 170,218 lbs. of materials to the Chemetco Site. These materials were generated by Darby

 Recycling and contained hazardous substances.

        247.    To date, Accurate Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        248.    According to Chemetco Site records, Defendant Ace Electric Motor Service

 (“Ace Electric”) contributed at least 2,929 lbs. of materials to the Chemetco Site. These materials

 were generated by Ace Electric and contained hazardous substances.

        249.    To date, Ace Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        250.    According to Chemetco Site records, Defendant Ace Iron & Metals Inc. (“Ace

 Metals”) contributed at least 89,114 lbs. of materials to the Chemetco Site. These materials were

 generated by Ace Metals and contained hazardous substances.

        251.    To date, Ace Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        252.    According to Chemetco Site records, Defendant Ace Metal Recycling Inc. (“Ace

 Metal Recycling”) contributed at least 29,401 lbs. of materials to the Chemetco Site. These

 materials were generated by Ace Metal Recycling and contained hazardous substances.




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        253.    To date, Ace Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        254.    Defendant Ace Metal Recycling, LLC (“Ace Metal”) is responsible for the waste

 attributable to Henryetta Iron & Metal, LLC (“Henryetta Iron”).

        255.    According to Chemetco Site records, Henryetta Iron contributed at least 50,687

 lbs. of materials to the Chemetco Site. These materials were generated by Henryetta Iron and

 contained hazardous substances.

        256.    To date, Ace Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        257.    According to Chemetco Site records, Defendant Ace Recycling (“Ace

 Recycling”) contributed at least 3,674 lbs. of materials to the Chemetco Site. These materials

 were generated by Ace Recycling and contained hazardous substances.

        258.    To date, Ace Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        259.    According to Chemetco Site records, Defendant Ace Restaurant (“Ace

 Restaurant”) contributed at least 3,962 lbs. of materials to the Chemetco Site. These materials

 were generated by Ace Restaurant and contained hazardous substances.

        260.    To date, Ace Restaurant has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        261.    According to Chemetco Site records, Defendant Ace Salvage (“Ace Salvage”)

 contributed at least 32 lbs. of materials to the Chemetco Site. These materials were generated by

 Ace Salvage and contained hazardous substances.




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        262.    To date, Ace Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        263.    According to Chemetco Site records, Defendant Ace Scrap Metal (“Ace Scrap

 Metal”) contributed at least 1,705 lbs. of materials to the Chemetco Site. These materials were

 generated by Ace Scrap Metal and contained hazardous substances.

        264.    To date, Ace Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        265.    According to Chemetco Site records, Defendant Ace Scrap Metal Processors Inc.

 (“Ace Scrap”) contributed at least 80,446 lbs. of materials to the Chemetco Site. These materials

 were generated by Ace Scrap and contained hazardous substances.

        266.    To date, Ace Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        267.    According to Chemetco Site records, Defendant Ace Scrap Metal Recycling Co.

 (“Ace Scrap Recycling”) contributed at least 13,767 lbs. of materials to the Chemetco Site.

 These materials were generated by Ace Scrap Recycling and contained hazardous substances.

        268.    To date, Ace Scrap Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        269.    According to Chemetco Site records, Defendant Ace Storage Containers, Inc.

 (“Ace Storage”) contributed at least 28,073 lbs. of materials to the Chemetco Site. These

 materials were generated by Ace Storage and contained hazardous substances.

        270.    To date, Ace Storage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        271.    According to Chemetco Site records, Defendant Ace Surplus (“Ace Surplus”)

 contributed at least 4,279 lbs. of materials to the Chemetco Site. These materials were generated

 by Ace Surplus and contained hazardous substances.

        272.    To date, Ace Surplus has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        273.    According to Chemetco Site records, Defendant Acier Et Metal (“Acier Et

 Metal”) contributed at least 2,700 lbs. of materials to the Chemetco Site. These materials were

 generated by Acier Et Metal and contained hazardous substances.

        274.    To date, Acier Et Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        275.    According to Chemetco Site records, Defendant Acier Valley (“Acier Valley”)

 contributed at least 124 lbs. of materials to the Chemetco Site. These materials were generated

 by Acier Valley and contained hazardous substances.

        276.    To date, Acier Valley has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        277.    According to Chemetco Site records, Defendant Acme (“Acme”) contributed at

 least 198,401 lbs. of materials to the Chemetco Site. These materials were generated by Acme

 and contained hazardous substances.

        278.    To date, Acme has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        279.    According to Chemetco Site records, Defendant Acme Auto Co. (“Acme Auto”)

 contributed at least 49,407 lbs. of materials to the Chemetco Site. These materials were

 generated by Acme Auto and contained hazardous substances.




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        280.    To date, Acme Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        281.    According to Chemetco Site records, Defendant Acme Iron & Metal (“Acme Iron

 & Metal”) contributed materials to the Chemetco Site. These materials were generated by Acme

 Iron & Metal and contained hazardous substances.

        282.    To date, Acme Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        283.    According to Chemetco Site records, Defendant Acme Metals (“Acme Metals”)

 contributed at least 12,390 lbs. of materials to the Chemetco Site. These materials were

 generated by Acme Metals and contained hazardous substances.

        284.    To date, Acme Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        285.    According to Chemetco Site records, Defendant Acme Refining Scrap Iron

 (“Acme Refining Scrap”) contributed at least 3,006,373 lbs. of materials to the Chemetco Site.

 These materials were generated by Acme Refining Scrap and contained hazardous substances.

        286.    To date, Acme Refining Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        287.    According to Chemetco Site records, Defendant Acme Salvage (“Acme Salvage”)

 contributed at least 3,188 lbs. of materials to the Chemetco Site. These materials were generated

 by Acme Salvage and contained hazardous substances.

        288.    To date, Acme Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        289.    According to Chemetco Site records, Defendant Acme Scrap Inc. (“Acme Scrap”)

 contributed at least 30,633 lbs. of materials to the Chemetco Site. These materials were

 generated by Acme Scrap and contained hazardous substances.

        290.    To date, Acme Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        291.    According to Chemetco Site records, Defendant Acquisition (“Acquisition”)

 contributed at least 22,752 lbs. of materials to the Chemetco Site. These materials were

 generated by Acquisition and contained hazardous substances.

        292.    To date, Acquisition has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        293.    According to Chemetco Site records, Defendant Acquisition Scrap Metals

 (“Acquisition Scrap”) contributed at least 30,807 lbs. of materials to the Chemetco Site. These

 materials were generated by Acquisition Scrap and contained hazardous substances.

        294.    To date, Acquisition Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        295.    According to Chemetco Site records, Defendant Acre Iron & Metal (“Acre Iron”)

 contributed at least 879,533 lbs. of materials to the Chemetco Site. These materials were

 generated by Acre Iron and contained hazardous substances.

        296.    To date, Acre Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        297.    According to Chemetco Site records, Defendant Act Pipe Supply (“Act Pipe”)

 contributed at least 844 lbs. of materials to the Chemetco Site. These materials were generated

 by Act Pipe and contained hazardous substances.




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        298.    To date, Act Pipe has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        299.    According to Chemetco Site records, Defendant Action Iron & Metal, Inc.

 (“Action Iron & Metal”) contributed at least 343,863 lbs. of materials to the Chemetco Site.

 These materials were generated by Action Iron & Metal and contained hazardous substances.

        300.    To date, Action Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        301.    According to Chemetco Site records, Defendant Action Metal Co., Inc. (“Action

 Metal”) contributed at least 492,670 lbs. of materials to the Chemetco Site. These materials were

 generated by Action Metal and contained hazardous substances.

        302.    To date, Action Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        303.    According to Chemetco Site records, Defendant Action Metal Recycling, Inc.

 doing business as Fass Metals, Inc. (“Action Metal Recycling”) contributed at least 15,885 lbs.

 of materials to the Chemetco Site. These materials were generated by Action Metal Recycling

 and contained hazardous substances.

        304.    To date, Action Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        305.    According to Chemetco Site records, Defendant Action Recycling (“Action

 Recycling”) contributed at least 2,215 lbs. of materials to the Chemetco Site. These materials

 were generated by Action Recycling and contained hazardous substances.

        306.    To date, Action Recycling has not paid any response costs incurred by the

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        307.    According to Chemetco Site records, Defendant Action Sales & Metal Co., Inc.

 (“Action Sales”) contributed at least 685,867 lbs. of materials to the Chemetco Site. These

 materials were generated by Action Sales and contained hazardous substances.

        308.    To date, Action Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        309.    According to Chemetco Site records, Defendant Action Salvage (“Action

 Salvage”) contributed at least 46,187 lbs. of materials to the Chemetco Site. These materials

 were generated by Action Salvage and contained hazardous substances.

        310.    To date, Action Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        311.    According to Chemetco Site records, Defendant Action Wrecking (“Action

 Wrecking”) contributed at least 7,044 lbs. of materials to the Chemetco Site. These materials

 were generated by Action Wrecking and contained hazardous substances.

        312.    To date, Action Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        313.    According to Chemetco Site records, Defendant Active Junk (“Active Junk”)

 contributed at least 2,510 lbs. of materials to the Chemetco Site. These materials were generated

 by Active Junk and contained hazardous substances.

        314.    To date, Active Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        315.    According to Chemetco Site records, Defendant Active Recycling Co., Inc.

 (“Active Recycling”) contributed at least 218,246 lbs. of materials to the Chemetco Site. These

 materials were generated by Active Recycling and contained hazardous substances.




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        316.    To date, Active Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        317.    According to Chemetco Site records, Defendant Ada Auto Parts (“Ada Auto”)

 contributed at least 2,215 lbs. of materials to the Chemetco Site. These materials were generated

 by Ada Auto and contained hazardous substances.

        318.    To date, Ada Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        319.    According to Chemetco Site records, Defendant Adams & Westlake Ltd.

 (“Adams & Westlake”) contributed at least 106,705 lbs. of materials to the Chemetco Site. These

 materials were generated by Adams & Westlake and contained hazardous substances.

        320.    To date, Adams & Westlake has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        321.    According to Chemetco Site records, Defendant Adams Scrap Metal (“Adams

 Scrap”) contributed at least 6,237 lbs. of materials to the Chemetco Site. These materials were

 generated by Adams Scrap and contained hazardous substances.

        322.    To date, Adams Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        323.    According to Chemetco Site records, Defendant Adduci’s Automotive Used Parts,

 Inc. (“Adduci’s Automotive”) contributed at least 1,362 lbs. of materials to the Chemetco Site.

 These materials were generated by Adduci’s Automotive and contained hazardous substances.

        324.    To date, Adduci’s Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        325.    According to Chemetco Site records, Defendant Adin Iron & Steel, Inc. (“Adin

 Iron”) contributed at least 110,779 lbs. of materials to the Chemetco Site. These materials were

 generated by Adin Iron and contained hazardous substances.

        326.    To date, Adin Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        327.    According to Chemetco Site records, Defendant Adison Automotive, Inc.

 (“Adison Automotive”) contributed at least 1,576 lbs. of materials to the Chemetco Site. These

 materials were generated by Adison Automotive and contained hazardous substances.

        328.    To date, Adison Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        329.    According to Chemetco Site records, Defendant Admetco, Inc. (“Admetco”)

 contributed at least 89,950 lbs. of materials to the Chemetco Site. These materials were

 generated by Admetco and contained hazardous substances.

        330.    To date, Admetco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        331.    According to Chemetco Site records, Defendant Ado Metal Lte. (“Ado Metal”)

 contributed at least 117,780 lbs. of materials to the Chemetco Site. These materials were

 generated by Ado Metal and contained hazardous substances.

        332.    To date, Ado Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        333.    According to Chemetco Site records, Defendant Advance Iron & Metal Company

 (“Advance Iron”) contributed at least 265,065 lbs. of materials to the Chemetco Site. These

 materials were generated by Advance Iron and contained hazardous substances.




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        334.    To date, Advance Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        335.    According to Chemetco Site records, Defendant Advance Salvage (“Advance

 Salvage”) contributed at least 7,862 lbs. of materials to the Chemetco Site. These materials were

 generated by Advance Salvage and contained hazardous substances.

        336.    To date, Advance Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        337.    According to Chemetco Site records, Defendant Advanced Auto (“Advanced

 Auto”) contributed at least 1,956 lbs. of materials to the Chemetco Site. These materials were

 generated by Advanced Auto and contained hazardous substances.

        338.    To date, Advanced Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        339.    Defendant Advanced Automotive & Radiator ("Advanced Automotive") is

 responsible for the waste attributable to Illini Radiator & Automotive (“Illini Radiator”).

        340.    According to Chemetco Site records, Illini Radiator contributed at least 4,323 lbs.

 of materials to the Chemetco Site. These materials were generated by Illini Radiator and

 contained hazardous substances.

        341.    To date, Advanced Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        342.    According to Chemetco Site records, Defendant Advanced Chemical Company

 (“Advanced Chemical”) contributed at least 356,394 lbs. of materials to the Chemetco Site.

 These materials were generated by Advanced Chemical and contained hazardous substances.




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        343.   To date, Advanced Chemical has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        344.   According to Chemetco Site records, Defendant Advanced Recovery, Inc.

 (“Advanced Recovery”) contributed at least 22,446 lbs. of materials to the Chemetco Site. These

 materials were generated by Advanced Recovery and contained hazardous substances.

        345.   To date, Advanced Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        346.   Defendant Aegion Corporation (“Aegion”) is responsible for the waste

 attributable to Thermal Reduction Company (“Thermal Reduction”).

        347.   On or about November 1, 1994, Corrpro Companies, Inc. (“Corrpro”) acquired

 Thermal Reduction.

        348.   On or about March 31, 2009, Aegion acquired Corrpro.

        349.   According to Chemetco Site records, Thermal Reduction contributed at least

 10,571 lbs. of materials to the Chemetco Site. These materials were generated by Thermal

 Reduction and contained hazardous substances.

        350.   To date, Aegion has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        351.   According to Chemetco Site records, Defendant AER (“AER”) contributed at

 least 7,960 lbs. of materials to the Chemetco Site. These materials were generated by AER and

 contained hazardous substances.

        352.   To date, AER has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        353.    According to Chemetco Site records, Defendant Aerovox Corp. (“Aerovox”)

 contributed at least 203,377 lbs. of materials to the Chemetco Site. These materials were

 generated by Aerovox and contained hazardous substances.

        354.    To date, Aerovox has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        355.    According to Chemetco Site records, Defendant AFC Cable Systems, Inc. (“AFC

 Cable”) contributed at least 66,332 lbs. of materials to the Chemetco Site. These materials were

 generated by AFC Cable and contained hazardous substances.

        356.    To date, AFC Cable has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        357.    According to Chemetco Site records, Defendant Affron Supply, Inc. (“Affron

 Supply”) contributed at least 15,049 lbs. of materials to the Chemetco Site. These materials were

 generated by Affron Supply and contained hazardous substances.

        358.    To date, Affron Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        359.    According to Chemetco Site records, Defendant AFG Industries (“AFG”)

 contributed at least 47,084 lbs. of materials to the Chemetco Site. These materials were

 generated by AFG and contained hazardous substances.

        360.    To date, AFG has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        361.    According to Chemetco Site records, Defendant AFM (“AFM”) contributed at

 least 65,809 lbs. of materials to the Chemetco Site. These materials were generated by AFM and

 contained hazardous substances.




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        362.    To date, AFM has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        363.    According to Chemetco Site records, Defendant Afram Bros. Co. (“Afram Bros.”)

 contributed at least 411,537 lbs. of materials to the Chemetco Site. These materials were

 generated by Afram Bros. and contained hazardous substances.

        364.    To date, Afram Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        365.    According to Chemetco Site records, Defendant Agresta, LLC doing business as

 Weirton Recycling (“Agresta”) contributed at least 2,675 lbs. of materials to the Chemetco Site.

 These materials were generated by Agresta and contained hazardous substances.

        366.    To date, Agresta has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        367.    According to Chemetco Site records, Defendant Aiken Recycle (“Aiken

 Recycle”) contributed at least 2,833 lbs. of materials to the Chemetco Site. These materials were

 generated by Aiken Recycle and contained hazardous substances.

        368.    To date, Aiken Recycle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        369.    According to Chemetco Site records, Defendant Aim Recycling (“Aim

 Recycling”) contributed at least 22,557 lbs. of materials to the Chemetco Site. These materials

 were generated by Aim Recycling and contained hazardous substances.

        370.    To date, Aim Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        371.    According to Chemetco Site records, Defendant Airline Auto (“Airline Auto”)

 contributed at least 752 lbs. of materials to the Chemetco Site. These materials were generated

 by Airline Auto and contained hazardous substances.

        372.    To date, Airline Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        373.    According to Chemetco Site records, Defendant Airways Iron & Metal Co.

 (“Airways Iron”) contributed at least 71,259 lbs. of materials to the Chemetco Site. These

 materials were generated by Airways Iron and contained hazardous substances.

        374.    To date, Airways Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        375.    According to Chemetco Site records, Defendant AK Stamping (“AK Stamping”)

 contributed at least 192,582 lbs. of materials to the Chemetco Site. These materials were

 generated by AK Stamping and contained hazardous substances.

        376.    To date, AK Stamping has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        377.    According to Chemetco Site records, Defendant Aksarben Scrap Iron & Metal,

 Co. (“Aksarben”) contributed at least 3,427 lbs. of materials to the Chemetco Site. These

 materials were generated by Aksarben and contained hazardous substances.

        378.    To date, Aksarben has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        379.    According to Chemetco Site records, Defendant Al Decker Inc. (“Al Decker”)

 contributed at least 404 lbs. of materials to the Chemetco Site. These materials were generated

 by Al Decker and contained hazardous substances.




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        380.    To date, Al Decker has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        381.    According to Chemetco Site records, Defendant Al Star Recycling, L.L.C. (“Al

 Star Recycling”) contributed at least 19,231 lbs. of materials to the Chemetco Site. These

 materials were generated by Al Star Recycling and contained hazardous substances.

        382.    To date, Al Star Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        383.    According to Chemetco Site records, Defendant Al’s Salvage (“Al’s Salvage”)

 contributed at least 14,942 lbs. of materials to the Chemetco Site. These materials were

 generated by Al’s Salvage and contained hazardous substances.

        384.    To date, Al’s Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        385.    According to Chemetco Site records, Defendant Al’s Salvage Co. (“Al’s Salvage

 Co.”) contributed at least 18,700 lbs. of materials to the Chemetco Site. These materials were

 generated by Al’s Salvage Co. and contained hazardous substances.

        386.    To date, Al’s Salvage Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        387.    According to Chemetco Site records, Defendant Alabama Aviation (“Alabama

 Aviation”) contributed at least 9,114 lbs. of materials to the Chemetco Site. These materials were

 generated by Alabama Aviation and contained hazardous substances.

        388.    To date, Alabama Aviation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        389.    According to Chemetco Site records, Defendant Alabama Service (“Alabama

 Service”) contributed at least 4,735,187 lbs. of materials to the Chemetco Site. These materials

 were generated by Alabama Service and contained hazardous substances.

        390.    To date, Alabama Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        391.    According to Chemetco Site records, Defendant Alameda Industries (“Alameda

 Industries”) contributed at least 50 lbs. of materials to the Chemetco Site. These materials were

 generated by Alameda Industries and contained hazardous substances.

        392.    To date, Alameda Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        393.    According to Chemetco Site records, Defendant Alameda Metals Corp.

 (“Alameda”) contributed at least 442,829 lbs. of materials to the Chemetco Site. These materials

 were generated by Alameda and contained hazardous substances.

        394.    To date, Alameda has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        395.    According to Chemetco Site records, Defendant Alamo Iron Works (“Alamo

 Iron”) contributed at least 2,199 lbs. of materials to the Chemetco Site. These materials were

 generated by Alamo Iron and contained hazardous substances.

        396.    To date, Alamo Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        397.    Defendant Alan Mundy Properties PLLC (“Alan Mundy”) is responsible for the

 waste attributable to Chem-Lab Circuit Company Inc. (“Chem-Lab”).




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        398.    According to Chemetco Site records, Chem-Lab contributed at least 1,039 lbs. of

 materials to the Chemetco Site. These materials were generated by Chem-Lab and contained

 hazardous substances.

        399.    To date, Alan Mundy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        400.    According to Chemetco Site records, Defendant Alan Wire Company (“Alan

 Wire”) contributed at least 52,890 lbs. of materials to the Chemetco Site. These materials were

 generated by Alan Wire and contained hazardous substances.

        401.    To date, Alan Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        402.    According to Chemetco Site records, Defendant Albany Iron (“Albany Iron”)

 contributed at least 19 lbs. of materials to the Chemetco Site. These materials were generated by

 Albany Iron and contained hazardous substances.

        403.    To date, Albany Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        404.    According to Chemetco Site records, Defendant Albert Bros. (“Albert Bros.”)

 contributed at least 211,117 lbs. of materials to the Chemetco Site. These materials were

 generated by Albert Bros. and contained hazardous substances.

        405.    To date, Albert Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        406.    According to Chemetco Site records, Defendant Albert Steel (“Albert Steel”)

 contributed at least 738 lbs. of materials to the Chemetco Site. These materials were generated

 by Albert Steel and contained hazardous substances.




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        407.    To date, Albert Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        408.    According to Chemetco Site records, Defendant Alberta Metal (“Alberta Metal”)

 contributed at least 293,789 lbs. of materials to the Chemetco Site. These materials were

 generated by Alberta Metal and contained hazardous substances.

        409.    To date, Alberta Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        410.    According to Chemetco Site records, Defendant Albuquerque Metal Recycling

 (“Albuquerque Metal”) contributed at least 1,910 lbs. of materials to the Chemetco Site. These

 materials were generated by Albuquerque Metal and contained hazardous substances.

        411.    To date, Albuquerque Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        412.    According to Chemetco Site records, Defendant Alby Inc. (“Alby”) contributed at

 least 25,337 lbs. of materials to the Chemetco Site. These materials were generated by Alby and

 contained hazardous substances.

        413.    To date, Alby has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        414.    According to Chemetco Site records, Defendant Alco Iron & Metals (“Alco Iron”)

 contributed at least 1,223,897 lbs. of materials to the Chemetco Site. These materials were

 generated by Alco Iron and contained hazardous substances.

        415.    To date, Alco Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        416.    According to Chemetco Site records, Defendant Alco Metal & Supply Inc. (“Alco

 Metal”) contributed at least 3,932 lbs. of materials to the Chemetco Site. These materials were

 generated by Alco Metal and contained hazardous substances.

        417.    To date, Alco Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        418.    According to Chemetco Site records, Defendant Alco Mill Products (“Alco Mill

 Products”) contributed at least 25,028 lbs. of materials to the Chemetco Site. These materials

 were generated by Alco Mill Products and contained hazardous substances.

        419.    To date, Alco Mill Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        420.    According to Chemetco Site records, Defendant Aldred Scrap (“Aldred Scrap”)

 contributed at least 8,637 lbs. of materials to the Chemetco Site. These materials were generated

 by Aldred Scrap and contained hazardous substances.

        421.    To date, Aldred Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        422.    Defendant Aleris Rolled Products, LLC (“Aleris Products, LLC”) is responsible

 for the waste attributable to Barmet of Kentucky, Inc. doing business as Can Man Recycling

 Center (“Barmet of Kentucky”).

        423.    In or about 1986, Barmet of Kentucky was merged with and into Barmet

 Industries, Inc. (“Barmet Industries”).

        424.    In or about 1986, Barmet Industries amended its name to Barmet Aluminum

 Corporation (“Barmet Aluminum”), and was thereafter acquired by Commonwealth Industries,

 Inc.




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        425.    In or about 1997, Barmet Aluminum amended its name to Commonwealth

 Aluminum Concast, Inc. (“Commonwealth Concast”).

        426.    In or about 2004, Commonwealth Concast was acquired by Aleris Corporation.

        427.    In or about 2010, Commonwealth Concast amended its name to Commonwealth

 Aluminum Concast, LLC (“Commonwealth LLC”).

        428.    In or out 2010, Commonwealth LLC was merged with and into Aleris Rolled

 Products, Inc. (“Aleris Products, Inc.”).

        429.    In or about 2010, Aleris Products, Inc. amended its name to Aleris Products, LLC.

        430.    According to Chemetco Site records, Barmet of Kentucky contributed at least

 174,170 lbs. of materials to the Chemetco Site. These materials were generated by Barmet of

 Kentucky and contained hazardous substances.

        431.    To date, Aleris Products, LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        432.    According to Chemetco Site records, Defendant Alexandria Iron & Supply Corp.

 (“Alexandria Iron”) contributed at least 78,306 lbs. of materials to the Chemetco Site. These

 materials were generated by Alexandria Iron and contained hazardous substances.

        433.    To date, Alexandria Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        434.    According to Chemetco Site records, Defendant Alfieri Scrap Metal Company,

 Inc. (“Alfieri Scrap”) contributed at least 166,131 lbs. of materials to the Chemetco Site. These

 materials were generated by Alfieri Scrap and contained hazardous substances.

        435.    To date, Alfieri Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        436.    According to Chemetco Site records, Defendant Alfonso’s Trucking (“Alfonso’s

 Trucking”) contributed at least 4,152 lbs. of materials to the Chemetco Site. These materials

 were generated by Alfonso’s Trucking and contained hazardous substances.

        437.    To date, Alfonso’s Trucking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        438.    According to Chemetco Site records, Defendant Alfred H. Knight North America

 Ltd. (“Alfred H. Knight NA”) contributed at least 1,538 lbs. of materials to the Chemetco Site.

 These materials were generated by Alfred H. Knight NA and contained hazardous substances.

        439.    To date, Alfred H. Knight NA has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        440.    According to Chemetco Site records, Defendant Algonquin Industries, Inc.

 (“Algonquin Industries”) contributed at least 7,433 lbs. of materials to the Chemetco Site. These

 materials were generated by Algonquin Industries and contained hazardous substances.

        441.    To date, Algonquin Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        442.    According to Chemetco Site records, Defendant All American (“All American”)

 contributed at least 75,280 lbs. of materials to the Chemetco Site. These materials were

 generated by All American and contained hazardous substances.

        443.    To date, All American has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        444.    According to Chemetco Site records, Defendant All American Waste Systems

 (“All American Waste”) contributed at least 302,520 lbs. of materials to the Chemetco Site.

 These materials were generated by All American Waste and contained hazardous substances.




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        445.    To date, All American Waste has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        446.    According to Chemetco Site records, Defendant All Grade Metal Co. (“All Grade

 Metal”) contributed at least 1,127 lbs. of materials to the Chemetco Site. These materials were

 generated by All Grade Metal and contained hazardous substances.

        447.    To date, All Grade Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        448.    According to Chemetco Site records, Defendant All Grade Metal Recycling of

 South Dade, Inc. (“All Grade Metal Recycling”) contributed at least 73,816 lbs. of materials to

 the Chemetco Site. These materials were generated by All Grade Metal Recycling and contained

 hazardous substances.

        449.    To date, All Grade Metal Recycling has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        450.    According to Chemetco Site records, Defendant All Metal Recycling (“All Metal

 Recycling”) contributed at least 24,081 lbs. of materials to the Chemetco Site. These materials

 were generated by All Metal Recycling and contained hazardous substances.

        451.    To date, All Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        452.    Defendant All Mopar Recycling L.L.C. (“All Mopar”) is responsible for the waste

 attributable to Yank-Your-Part, Inc. (“Yank-Your-Part”).

        453.    In or about 1996, Yank-Your-Part was formed as an Arizona corporation.

        454.    Yank-Your-Part did business at 2104 West Broadway Road, Phoenix, Arizona

 85041 (“Broadway address”).




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        455.    According to the Arizona Secretary of State, Yank-Your-Part’s president was

 David Eugene Buckenmeyer.

        456.    In or about 1999, All Mopar, whose manager is David Buckenmeyer at the

 Broadway address, was formed as an Arizona corporation.

        457.    In or about 2001, Yank-Your-Part was dissolved.

        458.    According to Chemetco Site records, Yank-Your-Part contributed at least 14,803

 lbs. of materials to the Chemetco Site. These materials were generated by Yank-Your-Part and

 contained hazardous substances.

        459.    To date, All Mopar has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        460.    According to Chemetco Site records, Defendant All Scrap Recycling, LLC (“All

 Scrap”) contributed at least 29,446 lbs. of materials to the Chemetco Site. These materials were

 generated by All Scrap and contained hazardous substances.

        461.    To date, All Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        462.    According to Chemetco Site records, Defendant All South Parts & Towing (“All

 South Towing”) contributed at least 733 lbs. of materials to the Chemetco Site. These materials

 were generated by All South Towing and contained hazardous substances.

        463.    To date, All South Towing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        464.    According to Chemetco Site records, Defendant All Star Metals (“All Star

 Metals”) contributed at least 2,257,286 lbs. of materials to the Chemetco Site. These materials

 were generated by All Star Metals and contained hazardous substances.




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        465.    To date, All Star Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        466.    According to Chemetco Site records, Defendant All Variety Metal (“All Variety

 Metal”) contributed at least 26 lbs. of materials to the Chemetco Site. These materials were

 generated by All Variety Metal and contained hazardous substances.

        467.    To date, All Variety Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        468.    According to Chemetco Site records, Defendant All Weather Heating AC Sheet

 Metal LLC (“All Weather”) contributed at least 342 lbs. of materials to the Chemetco Site. These

 materials were generated by All Weather and contained hazardous substances.

        469.    To date, All Weather has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        470.    According to Chemetco Site records, Defendant All-Met Recycling, Inc. (“All-

 Met”) contributed at least 10,494 lbs. of materials to the Chemetco Site. These materials were

 generated by All-Met and contained hazardous substances.

        471.    To date, All-Met has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        472.    According to Chemetco Site records, Defendant Allen Avenue Auto Salvage

 (“Allen Avenue”) contributed at least 2,360 lbs. of materials to the Chemetco Site. These

 materials were generated by Allen Avenue and contained hazardous substances.

        473.    To date, Allen Avenue has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        474.    According to Chemetco Site records, Defendant Allen Recycling (“Allen

 Recycling”) contributed at least 1,219 lbs. of materials to the Chemetco Site. These materials

 were generated by Allen Recycling and contained hazardous substances.

        475.    To date, Allen Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        476.    According to Chemetco Site records, Defendant Allen Scrap Metal (“Allen Scrap

 Metal”) contributed at least 51,376 lbs. of materials to the Chemetco Site. These materials were

 generated by Allen Scrap Metal and contained hazardous substances.

        477.    To date, Allen Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        478.    According to Chemetco Site records, Defendant Allen’s Radiator Cooling System

 Specialists (“Allen’s Radiator”) contributed at least 58,589 lbs. of materials to the Chemetco

 Site. These materials were generated by Allen’s Radiator and contained hazardous substances.

        479.    To date, Allen’s Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        480.    According to Chemetco Site records, Defendant Allied Metals (“Allied Metals”)

 contributed at least 29,468 lbs. of materials to the Chemetco Site. These materials were

 generated by Allied Metals and contained hazardous substances.

        481.    To date, Allied Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        482.    Defendant Allied Metals, LLC (“Allied Metals, LLC”) is responsible for the

 waste attributable to Allied Metal Corporation (“Allied Corp.”).




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        483.    According to Chemetco Site records, Allied Corp. contributed at least 92,130 lbs.

 of materials to the Chemetco Site. These materials were generated by Allied Corp. and contained

 hazardous substances.

        484.    Additionally, Allied Metals, LLC is responsible for the waste attributable to

 Lawrence Scrap Dealers Mart (“Lawrence Scrap”).

        485.    According to Chemetco Site records, Lawrence Scrap contributed at least 195,948

 lbs. of materials to the Chemetco Site. These materials were generated by Lawrence Scrap and

 contained hazardous substances.

        486.    To date, Allied Metals, LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        487.    According to Chemetco Site records, Defendant Allied Recycling (“Allied

 Recycling”) contributed at least 620 lbs. of materials to the Chemetco Site. These materials were

 generated by Allied Recycling and contained hazardous substances.

        488.    To date, Allied Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        489.    According to Chemetco Site records, Defendant Allied Recycling, Inc. (“Allied

 Recycling, Inc.”) contributed at least 525,748 lbs. of materials to the Chemetco Site. These

 materials were generated by Allied Recycling, Inc. and contained hazardous substances.

        490.    To date, Allied Recycling, Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        491.    According to Chemetco Site records, Defendant Allied Scrap (“Allied Scrap”)

 contributed at least 1,200 lbs. of materials to the Chemetco Site. These materials were generated

 by Allied Scrap and contained hazardous substances.




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        492.    To date, Allied Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        493.    According to Chemetco Site records, Defendant Allied Universal Corp. (“Allied

 Universal”) contributed at least 1,083 lbs. of materials to the Chemetco Site. These materials

 were generated by Allied Universal and contained hazardous substances.

        494.    To date, Allied Universal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        495.    Defendant Allmetal Recycling, LLC (“Allmetal”) is responsible for the waste

 attributable to Auto Castings Recover Co. (“Auto Castings”).

        496.    In or about 1972, Auto Casting was established as a Kansas corporation.

        497.    In or about 2009, Allmetal was established as a Kansas corporation.

        498.    In or about 2015, Auto Castings was merged with and into Allmetal.

        499.    According to Chemetco Site records, Auto Castings contributed at least 11,878

 lbs. of materials to the Chemetco Site. These materials were generated by Auto Castings and

 contained hazardous substances.

        500.    To date, Allmetal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        501.    According to Chemetco Site records, Defendant Alloy Metals (“Alloy Metals”)

 contributed at least 1,010 lbs. of materials to the Chemetco Site. These materials were generated

 by Alloy Metals and contained hazardous substances.

        502.    To date, Alloy Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        503.    According to Chemetco Site records, Defendant Alloy Recycling Inc. (“Alloy

 Recycling”) contributed at least 116,729 lbs. of materials to the Chemetco Site. These materials

 were generated by Alloy Recycling and contained hazardous substances.

        504.    To date, Alloy Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        505.    According to Chemetco Site records, Defendant Almetco Alloy (“Almetco

 Alloy”) contributed at least 1,778 lbs. of materials to the Chemetco Site. These materials were

 generated by Almetco Alloy and contained hazardous substances.

        506.    To date, Almetco Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        507.    According to Chemetco Site records, Defendant Alpert & Alpert Iron & Metal,

 Inc. (“Alpert & Alpert Iron”) contributed at least 320,724 lbs. of materials to the Chemetco Site.

 These materials were generated by Alpert & Alpert Iron and contained hazardous substances.

        508.    To date, Alpert & Alpert Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        509.    According to Chemetco Site records, Defendant Alpert & Alpert Ventures, Inc.

 (“Alpert & Alpert Ventures”) contributed at least 2,102,421 lbs. of materials to the Chemetco

 Site. These materials were generated by Alpert & Alpert Ventures and contained hazardous

 substances.

        510.    To date, Alpert & Alpert Ventures has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        511.    According to Chemetco Site records, Defendant Alpha Equipment (“Alpha

 Equipment”) contributed at least 295,672 lbs. of materials to the Chemetco Site. These materials

 were generated by Alpha Equipment and contained hazardous substances.

        512.    To date, Alpha Equipment has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        513.    According to Chemetco Site records, Defendant Alpha-1 Battery (“Alpha-1

 Battery”) contributed at least 5,130 lbs. of materials to the Chemetco Site. These materials were

 generated by Alpha-1 Battery and contained hazardous substances.

        514.    To date, Alpha-1 Battery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        515.    According to Chemetco Site records, Defendant Alphega, Inc. (“Alphega”)

 contributed at least 53 lbs. of materials to the Chemetco Site. These materials were generated by

 Alphega and contained hazardous substances.

        516.    To date, Alphega has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        517.    According to Chemetco Site records, Defendant Altech Metals, Inc. (“Altech

 Metals”) contributed at least 134,711 lbs. of materials to the Chemetco Site. These materials

 were generated by Altech Metals and contained hazardous substances.

        518.    To date, Altech Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        519.    According to Chemetco Site records, Defendant Alter Scrap (“Alter Scrap”)

 contributed at least 85,744 lbs. of materials to the Chemetco Site. These materials were

 generated by Alter Scrap and contained hazardous substances.




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        520.    To date, Alter Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        521.    According to Chemetco Site records, Defendant Alu-Bra Foundry, LLC (“Alu-

 Bra”) contributed at least 267,904 lbs. of materials to the Chemetco Site. These materials were

 generated by Alu-Bra and contained hazardous substances.

        522.    To date, Alu-Bra has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        523.    According to Chemetco Site records, Defendant Aluminum and Copper

 Recycling, Inc. (“Aluminum and Copper”) contributed at least 121,232 lbs. of materials to the

 Chemetco Site. These materials were generated by Aluminum and Copper and contained

 hazardous substances.

        524.    To date, Aluminum and Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        525.    According to Chemetco Site records, Defendant Aluminum Center (“Aluminum

 Center”) contributed at least 1,314 lbs. of materials to the Chemetco Site. These materials were

 generated by Aluminum Center and contained hazardous substances.

        526.    To date, Aluminum Center has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        527.    Defendant Aluminum Foundry of Wisconsin LLC (“AFW, LLC”) is responsible

 for the waste attributable to A.F.W. Foundry, Inc. (“AFW, Inc.”).

        528.    According to Chemetco Site records, AFW, Inc. contributed at least 72,480 lbs. of

 materials to the Chemetco Site. These materials were generated by AFW, Inc. and contained

 hazardous substances.




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        529.   To date, AFW, LLC has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        530.   According to Chemetco Site records, Defendant Aluminum Recycling

 (“Aluminum Recycling”) contributed at least 5,484 lbs. of materials to the Chemetco Site. These

 materials were generated by Aluminum Recycling and contained hazardous substances.

        531.   To date, Aluminum Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        532.   According to Chemetco Site records, Defendant Aluminum Recycling of Warner

 Robins (“Warner Robins Recycling”) contributed at least 42,913 lbs. of materials to the

 Chemetco Site. These materials were generated by Warner Robins Recycling and contained

 hazardous substances.

        533.   To date, Warner Robins Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        534.   Defendant Am-Mex Recycling and Disposal, Inc. (“Am-Mex Recycling”) is

 responsible for the waste attributable to Harley Metals Company (“Harley Metals”).

        535.   From at least 1990, Harley Metals operated as a California corporation located at

 1706 S. Grande Vista, Los Angeles, California (the “Grande address”).

        536.   In or about 1997, Harley Metals amended its name to Am-Mex Recycling.

        537.   On or about January 11, 2001, Am-Mex Recycling was registered with the

 California Secretary of State, and is located at 3315 E. Washington Blvd., Los Angeles,

 California (the “Washington address”).

        538.   The Grande and Washington addresses are both part of the same property for Am-

 Mex Recycling.




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        539.    According to Chemetco Site records, Harley Metals contributed at least 72,881

 lbs. of materials to the Chemetco Site. These materials were generated by Harley Metals and

 contained hazardous substances.

        540.    To date, Am-Mex Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        541.    According to Chemetco Site records, Defendant Amalgamet Inc. (“Amalgamet”)

 contributed at least 545 lbs. of materials to the Chemetco Site. These materials were generated

 by Amalgamet and contained hazardous substances.

        542.    To date, Amalgamet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        543.    According to Chemetco Site records, Defendant Amana Metals (“Amana Metals”)

 contributed at least 41,072 lbs. of materials to the Chemetco Site. These materials were

 generated by Amana Metals and contained hazardous substances.

        544.    To date, Amana Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        545.    According to Chemetco Site records, Defendant Amarillo Recycling Company,

 Inc. (“Amarillo Recycling”) contributed at least 54,731 lbs. of materials to the Chemetco Site.

 These materials were generated by Amarillo Recycling and contained hazardous substances.

        546.    To date, Amarillo Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        547.    According to Chemetco Site records, Defendant Amcep Inc. (“Amcep”)

 contributed at least 673,091 lbs. of materials to the Chemetco Site. These materials were

 generated by Amcep and contained hazardous substances.




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        548.    To date, Amcep has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        549.    According to Chemetco Site records, Defendant Ameren Corporation (“Ameren”)

 contributed at least 1,195,745 lbs. of materials to the Chemetco Site. These materials were

 generated by Ameren and contained hazardous substances.

        550.    To date, Ameren has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        551.    According to Chemetco Site records, Defendant American Automotive Parts, Inc.

 (“American Automotive”) contributed at least 832,268 lbs. of materials to the Chemetco Site.

 These materials were generated by American Automotive and contained hazardous substances.

        552.    To date, American Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        553.    According to Chemetco Site records, Defendant American Brass (“American

 Brass II”) contributed at least 3,617,513 lbs. of materials to the Chemetco Site. These materials

 were generated by American Brass II and contained hazardous substances.

        554.    To date, American Brass II has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        555.    According to Chemetco Site records, Defendant American Brass Inc. (“American

 Brass I”) contributed at least 1,082 lbs. of materials to the Chemetco Site. These materials were

 generated by American Brass I and contained hazardous substances.

        556.    To date, American Brass I has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        557.    According to Chemetco Site records, Defendant American Car Crushing Inc.

 (“American Car Crushing”) contributed at least 242,780 lbs. of materials to the Chemetco Site.

 These materials were generated by American Car Crushing and contained hazardous substances.

        558.    To date, American Car Crushing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        559.    According to Chemetco Site records, Defendant American Chemet Corporation

 (“American Chemet”) contributed at least 354,231 lbs. of materials to the Chemetco Site. These

 materials were generated by American Chemet and contained hazardous substances.

        560.    To date, American Chemet has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        561.    According to Chemetco Site records, Defendant American Coll (“American

 Coll”) contributed at least 9,599 lbs. of materials to the Chemetco Site. These materials were

 generated by American Coll and contained hazardous substances.

        562.    To date, American Coll has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        563.    According to Chemetco Site records, Defendant American Compressed Steel

 Corp. (“American Compressed Steel”) contributed materials to the Chemetco Site. These

 materials were generated by American Compressed Steel and contained hazardous substances.

        564.    To date, American Compressed Steel has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        565.    According to Chemetco Site records, Defendant American Compressed Steel Inc.

 (“American Compressed”) contributed at least 22,190 lbs. of materials to the Chemetco Site.

 These materials were generated by American Compressed and contained hazardous substances.




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        566.    To date, American Compressed has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        567.    According to Chemetco Site records, Defendant American Core (“American

 Core”) contributed at least 2,874 lbs. of materials to the Chemetco Site. These materials were

 generated by American Core and contained hazardous substances.

        568.    To date, American Core has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        569.    According to Chemetco Site records, Defendant American Crucible Products

 (“American Crucible Products”) contributed at least 38 lbs. of materials to the Chemetco Site.

 These materials were generated by American Crucible Products and contained hazardous

 substances.

        570.    To date, American Crucible Products has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        571.    According to Chemetco Site records, Defendant American Electronics

 Components, Inc. (“American Electronics”) contributed at least 15,192 lbs. of materials to the

 Chemetco Site. These materials were generated by American Electronics and contained

 hazardous substances.

        572.    To date, American Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        573.    According to Chemetco Site records, Defendant American Generator & Armature

 Co. (“American Generator”) contributed at least 1,470,422 lbs. of materials to the Chemetco

 Site. These materials were generated by American Generator and contained hazardous

 substances.




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        574.    To date, American Generator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        575.    According to Chemetco Site records, Defendant American Iron (“American Iron”)

 contributed at least 1,760 lbs. of materials to the Chemetco Site. These materials were generated

 by American Iron and contained hazardous substances.

        576.    To date, American Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        577.    According to Chemetco Site records, Defendant American Iron & Metal

 Company Inc. (“AIM”) contributed at least 47,635 lbs. of materials to the Chemetco Site. These

 materials were generated by AIM and contained hazardous substances.

        578.    To date, AIM has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        579.    According to Chemetco Site records, Defendant American Iron & Steel Co.

 (“American Iron & Steel”) contributed at least 890,324 lbs. of materials to the Chemetco Site.

 These materials were generated by American Iron & Steel and contained hazardous substances.

        580.    To date, American Iron & Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        581.    According to Chemetco Site records, Defendant American Iron and Metal Co.

 Inc. (“American Iron and Metal”) contributed at least 242 lbs. of materials to the Chemetco Site.

 These materials were generated by American Iron and Metal and contained hazardous

 substances.

        582.    To date, American Iron and Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        583.    According to Chemetco Site records, Defendant American Merc. (“American

 Merc.”) contributed at least 354,440 lbs. of materials to the Chemetco Site. These materials were

 generated by American Merc. and contained hazardous substances.

        584.    To date, American Merc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        585.    According to Chemetco Site records, Defendant American Metal (“American

 Metal”) contributed at least 3,650 lbs. of materials to the Chemetco Site. These materials were

 generated by American Metal and contained hazardous substances.

        586.    To date, American Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        587.    According to Chemetco Site records, Defendant American Metal & Iron, Inc.

 (“American Metal & Iron”) contributed at least 71,916 lbs. of materials to the Chemetco Site.

 These materials were generated by American Metal & Iron and contained hazardous substances.

        588.    To date, American Metal & Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        589.    According to Chemetco Site records, Defendant American Metal Co. (“AMC”)

 contributed at least 2,266 lbs. of materials to the Chemetco Site. These materials were generated

 by AMC and contained hazardous substances.

        590.    To date, AMC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        591.    According to Chemetco Site records, Defendant American Metal Recycling, Inc.

 (“American Metal Recycling”) contributed at least 223,532 lbs. of materials to the Chemetco




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 Site. These materials were generated by American Metal Recycling and contained hazardous

 substances.

        592.    To date, American Metal Recycling has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        593.    According to Chemetco Site records, Defendant American Metals Co.

 (“American Metals”) contributed at least 87,361 lbs. of materials to the Chemetco Site. These

 materials were generated by American Metals and contained hazardous substances.

        594.    To date, American Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        595.    According to Chemetco Site records, Defendant American Recycling (“American

 Recycling”) contributed at least 10,175 lbs. of materials to the Chemetco Site. These materials

 were generated by American Recycling and contained hazardous substances.

        596.    To date, American Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        597.    According to Chemetco Site records, Defendant American Recycling Inc.

 (“ARI”) contributed at least 3,408 lbs. of materials to the Chemetco Site. These materials were

 generated by ARI and contained hazardous substances.

        598.    To date, ARI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        599.    According to Chemetco Site records, Defendant American Salvage (“American

 Salvage”) contributed at least 283 lbs. of materials to the Chemetco Site. These materials were

 generated by American Salvage and contained hazardous substances.




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        600.    To date, American Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        601.    According to Chemetco Site records, Defendant American Scrap (“American

 Scrap”) contributed at least 937,297 lbs. of materials to the Chemetco Site. These materials were

 generated by American Scrap and contained hazardous substances.

        602.    To date, American Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        603.    According to Chemetco Site records, Defendant American Scrap Iron and Metal

 Co. (“American Scrap Iron”) contributed at least 66 lbs. of materials to the Chemetco Site. These

 materials were generated by American Scrap Iron and contained hazardous substances.

        604.    To date, American Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        605.    According to Chemetco Site records, Defendant American Scrap Mart (“Scrap

 Mart”) contributed at least 100,740 lbs. of materials to the Chemetco Site. These materials were

 generated by Scrap Mart and contained hazardous substances.

        606.    To date, Scrap Mart has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        607.    According to Chemetco Site records, Defendant American Scrap Metal Alloy,

 Inc. (“American Scrap Metal”) contributed at least 2,163,511 lbs. of materials to the Chemetco

 Site. These materials were generated by American Scrap Metal and contained hazardous

 substances.

        608.    To date, American Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        609.   According to Chemetco Site records, Defendant American Standard Inc.

 (“American Standard”) contributed at least 816,873 lbs. of materials to the Chemetco Site. These

 materials were generated by American Standard and contained hazardous substances.

        610.   To date, American Standard has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        611.   According to Chemetco Site records, Defendant American Tin & Solder,

 Incorporated (“American Tin & Solder”) contributed at least 20,922 lbs. of materials to the

 Chemetco Site. These materials were generated by American Tin & Solder and contained

 hazardous substances.

        612.   To date, American Tin & Solder has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        613.   According to Chemetco Site records, Defendant American Waste Haulers

 (“American Waste”) contributed at least 448 lbs. of materials to the Chemetco Site. These

 materials were generated by American Waste and contained hazardous substances.

        614.   To date, American Waste has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        615.   According to Chemetco Site records, Defendant American Wire & Cable

 Company (“American Wire”) contributed at least 8,444 lbs. of materials to the Chemetco Site.

 These materials were generated by American Wire and contained hazardous substances.

        616.   To date, American Wire has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        617.    According to Chemetco Site records, Defendant Amerifast Corporation

 (“Amerifast”) contributed at least 80,063 lbs. of materials to the Chemetco Site. These materials

 were generated by Amerifast and contained hazardous substances.

        618.    To date, Amerifast has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        619.    According to Chemetco Site records, Defendant Amerimex Motor & Controls,

 LLC (“AmeriMex”) contributed at least 13,988 lbs. of materials to the Chemetco Site. These

 materials were generated by AmeriMex and contained hazardous substances.

        620.    To date, AmeriMex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        621.    According to Chemetco Site records, Defendant Ameritech (“Ameritech”)

 contributed at least 1,069,024 lbs. of materials to the Chemetco Site. These materials were

 generated by Ameritech and contained hazardous substances.

        622.    To date, Ameritech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        623.    According to Chemetco Site records, Defendant Ameritech Services, Inc.

 (“Ameritech Services”) contributed at least 43,728 lbs. of materials to the Chemetco Site. These

 materials were generated by Ameritech Services and contained hazardous substances.

        624.    To date, Ameritech Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        625.    According to Chemetco Site records, Defendant Amerway, Inc. (“Amerway”)

 contributed at least 260,099 lbs. of materials to the Chemetco Site. These materials were

 generated by Amerway and contained hazardous substances.




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        626.    To date, Amerway has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        627.    Defendant AMG Resources Corporation (“AMG Resources”) is responsible for

 the waste attributable to New Jersey Iron & Metal, Inc. (“NJ Iron”).

        628.    In or about 2000, AMG Resources acquired NJ Iron.

        629.    According to Chemetco Site records, NJ Iron contributed at least 526,087 lbs. of

 materials to the Chemetco Site. These materials were generated by NJ Iron and contained

 hazardous substances.

        630.    To date, AMG Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        631.    According to Chemetco Site records, Defendant AMI Trading (U.S.A.) Inc.

 (“AMI Trading”) contributed at least 592,397 lbs. of materials to the Chemetco Site. These

 materials were generated by AMI Trading and contained hazardous substances.

        632.    To date, AMI Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        633.    According to Chemetco Site records, Defendant Amlon Metals (“Amlon Metals”)

 contributed at least 1,452 lbs. of materials to the Chemetco Site. These materials were generated

 by Amlon Metals and contained hazardous substances.

        634.    To date, Amlon Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        635.    According to Chemetco Site records, Defendant Ammex Trading (“Ammex

 Trading”) contributed at least 22,626 lbs. of materials to the Chemetco Site. These materials

 were generated by Ammex Trading and contained hazardous substances.




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        636.    To date, Ammex Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        637.    According to Chemetco Site records, Defendant Ampco Metal Incorporated

 (“Ampco Metal”) contributed at least 1,295,179 lbs. of materials to the Chemetco Site. These

 materials were generated by Ampco Metal and contained hazardous substances.

        638.    To date, Ampco Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        639.    According to Chemetco Site records, Defendant Ampco Partners, Ltd. doing

 business as Ampco Safety Tools (“Ampco Partners”) contributed at least 263,731 lbs. of

 materials to the Chemetco Site. These materials were generated by Ampco Partners and

 contained hazardous substances.

        640.    To date, Ampco Partners has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        641.    Defendant AMS Group LLC (“AMS”) is responsible for the waste attributable to

 Complex Trading Group, Inc. (“Complex Trading Group”).

        642.    On or about February 25, 1994, Complex Trading Group was formed as a Texas

 corporation and thereafter became inactive, with its mailing address and/or principal place of

 business at 2337 Naomi Street, Houston, Texas 77054 (the “Naomi address”).

        643.    David Hess was the President of Complex Trading Group.

        644.    On or about March 20, 2006, AMS was formed as a Texas corporation with its

 principal place of business at the Naomi address and with President David Hess.




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        645.    According to Chemetco Site records, Complex Trading Group contributed at least

 206,578 lbs. of materials to the Chemetco Site. These materials were generated by Complex

 Trading Group and contained hazardous substances.

        646.    To date, AMS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        647.    Defendant Amtex Metal Recyclers, Inc. (“Amtex Metal Recyclers”) is responsible

 for the waste attributable to Amtex Metal, Inc. (“Amtex”).

        648.    In or about 1994, Amtex was formed as a Texas Corporation, and thereafter

 dissolved.

        649.    In or about 1996, Amtex Metal Recyclers was formed as a corporation.

        650.    Sheldon Tuffyas was an officer for both Amtex and Amtex Metal Recyclers.

        651.    Both Amtex and Amtex Metal Recyclers were located at 5203 Stillbrooke Drive,

 Houston, Texas 77035.

        652.    According to Chemetco Site records, Amtex contributed at least 35,608 lbs. of

 materials to the Chemetco Site. These materials were generated by Amtex and contained

 hazardous substances.

        653.    To date, Amtex Metal Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        654.    According to Chemetco Site records, Defendant Anchor Motel (“Anchor Motel”)

 contributed at least 77 lbs. of materials to the Chemetco Site. These materials were generated by

 Anchor Motel and contained hazardous substances.

        655.    To date, Anchor Motel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        656.    According to Chemetco Site records, Defendant Andrew Iron & Metal Co.

 (“Andrew Iron”) contributed at least 116,890 lbs. of materials to the Chemetco Site. These

 materials were generated by Andrew Iron and contained hazardous substances.

        657.    To date, Andrew Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        658.    According to Chemetco Site records, Defendant Anestis Metal (“Anestis”)

 contributed at least 2,236 lbs. of materials to the Chemetco Site. These materials were generated

 by Anestis and contained hazardous substances.

        659.    To date, Anestis has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        660.    According to Chemetco Site records, Defendant Angel Computer Resources, Inc.

 (“Angel Computer”) contributed at least 1,242 lbs. of materials to the Chemetco Site. These

 materials were generated by Angel Computer and contained hazardous substances.

        661.    To date, Angel Computer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        662.    According to Chemetco Site records, Defendant Anheuser-Busch Recycling

 Corporation (“Anheuser-Busch”) contributed at least 77,862 lbs. of materials to the Chemetco

 Site. These materials were generated by Anheuser-Busch and contained hazardous substances.

        663.    To date, Anheuser-Busch has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        664.    According to Chemetco Site records, Defendant Ann Concorde Anniston (“Ann

 Concorde”) contributed at least 967,080 lbs. of materials to the Chemetco Site. These materials

 were generated by Ann Concorde and contained hazardous substances.




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        665.    To date, Ann Concorde has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        666.    According to Chemetco Site records, Defendant Annaco Scrap (“Annaco”)

 contributed at least 3,220 lbs. of materials to the Chemetco Site. These materials were generated

 by Annaco and contained hazardous substances.

        667.    To date, Annaco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        668.    According to Chemetco Site records, Defendant Ansam Metal Co. (“Ansam

 Metal”) contributed at least 25,142 lbs. of materials to the Chemetco Site. These materials were

 generated by Ansam Metal and contained hazardous substances.

        669.    To date, Ansam Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        670.    According to Chemetco Site records, Defendant Ansonia Copper doing business

 as Anaconda American Brass (“Ansonia Copper”) contributed at least 7,141,866 lbs. of materials

 to the Chemetco Site. These materials were generated by Ansonia Copper and contained

 hazardous substances.

        671.    To date, Ansonia Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        672.    According to Chemetco Site records, Defendant Anthony, Inc. doing business as

 Anthony International (“Anthony”) contributed at least 31,329 lbs. of materials to the Chemetco

 Site. These materials were generated by Anthony and contained hazardous substances.

        673.    To date, Anthony has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        674.    According to Chemetco Site records, Defendant Anthony’s Metal (“Anthony’s

 Metal”) contributed at least 20,607 lbs. of materials to the Chemetco Site. These materials were

 generated by Anthony’s Metal and contained hazardous substances.

        675.    To date, Anthony’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        676.    According to Chemetco Site records, Defendant Anthracite Scrap (“Anthracite

 Scrap”) contributed at least 1,916 lbs. of materials to the Chemetco Site. These materials were

 generated by Anthracite Scrap and contained hazardous substances.

        677.    To date, Anthracite Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        678.    According to Chemetco Site records, Defendant Any Radiator Service LLC

 (“Any Radiator”) contributed at least 13,285 lbs. of materials to the Chemetco Site. These

 materials were generated by Any Radiator and contained hazardous substances.

        679.    To date, Any Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        680.    According to Chemetco Site records, Defendant Apache Iron (“Apache Iron”)

 contributed at least 9,740 lbs. of materials to the Chemetco Site. These materials were generated

 by Apache Iron and contained hazardous substances.

        681.    To date, Apache Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        682.    Defendant API Heat Transfer Inc. (“API Heat”) is responsible for the waste

 attributable to General ThermoDynamics, Inc. (“General ThermoDynamics”).




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        683.    In or about 1989, General ThermoDynamics was merged with and into Insilco

 Corporation (“Insilco”).

        684.    In or about 2000, Insilco amended its name to Insilco Technologies, Inc. (“Insilco

 Tech”).

        685.    In or about 2000, ThermaSys Corporation (“ThermaSys”) acquired the General

 ThermoDynamics division of Insilco Tech.

        686.    In or about 2013, ThermaSys was merged with and into API Heat.

        687.    According to Chemetco Site records, General ThermoDynamics contributed at

 least 98,177 lbs. of materials to the Chemetco Site. These materials were generated by General

 ThermoDynamics and contained hazardous substances.

        688.    To date, API Heat has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        689.    According to Chemetco Site records, Defendant Apolla Scrap Metals Corp.

 (“Apolla Scrap”) contributed at least 114 lbs. of materials to the Chemetco Site. These materials

 were generated by Apolla Scrap and contained hazardous substances.

        690.    To date, Apolla Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        691.    According to Chemetco Site records, Defendant Applied Waste Management, Inc.

 (“Applied Waste”) contributed at least 40,387 lbs. of materials to the Chemetco Site. These

 materials were generated by Applied Waste and contained hazardous substances.

        692.    To date, Applied Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        693.    According to Chemetco Site records, Defendant Aragon Iron (“Aragon Iron”)

 contributed at least 2,525,730 lbs. of materials to the Chemetco Site. These materials were

 generated by Aragon Iron and contained hazardous substances.

        694.    To date, Aragon Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        695.    According to Chemetco Site records, Defendant Aramis Computer Salvage

 (“Aramis Computer Salvage”) contributed at least 5,622 lbs. of materials to the Chemetco Site.

 These materials were generated by Aramis Computer Salvage and contained hazardous

 substances.

        696.    To date, Aramis Computer Salvage has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        697.    According to Chemetco Site records, Defendant Arants, Inc. (“Arants”)

 contributed at least 3,486 lbs. of materials to the Chemetco Site. These materials were generated

 by Arants and contained hazardous substances.

        698.    To date, Arants has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        699.    According to Chemetco Site records, Defendant Arcata Scrap (“Arcata Scrap”)

 contributed at least 47,387 lbs. of materials to the Chemetco Site. These materials were

 generated by Arcata Scrap and contained hazardous substances.

        700.    To date, Arcata Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        701.    According to Chemetco Site records, Defendant Arch Metals, Inc. (“Arch

 Metals”) contributed at least 852,122 lbs. of materials to the Chemetco Site. These materials

 were generated by Arch Metals and contained hazardous substances.

        702.    To date, Arch Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        703.    According to Chemetco Site records, Defendant Arco Aluminum (“Arco

 Aluminum”) contributed at least 3,578 lbs. of materials to the Chemetco Site. These materials

 were generated by Arco Aluminum and contained hazardous substances.

        704.    To date, Arco Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        705.    According to Chemetco Site records, Defendant Arena Radiator (“Arena

 Radiator”) contributed at least 7,936 lbs. of materials to the Chemetco Site. These materials were

 generated by Arena Radiator and contained hazardous substances.

        706.    To date, Arena Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        707.    According to Chemetco Site records, Defendant Arizona Cash for Cans (“Arizona

 Cash”) contributed at least 14,808 lbs. of materials to the Chemetco Site. These materials were

 generated by Arizona Cash and contained hazardous substances.

        708.    To date, Arizona Cash has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        709.    According to Chemetco Site records, Defendant Arizona Environmental

 Recycling, LLC (“Arizona Environmental”) contributed materials to the Chemetco Site. These

 materials were generated by Arizona Environmental and contained hazardous substances.




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        710.    To date, Arizona Environmental has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        711.    According to Chemetco Site records, Defendant Arizona Public Service Company

 (“APS”) contributed at least 105,760 lbs. of materials to the Chemetco Site. These materials

 were generated by APS and contained hazardous substances.

        712.    To date, APS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        713.    According to Chemetco Site records, Defendant Arizona Scrap Iron & Metal Inc.

 (“Arizona Scrap Metal”) contributed at least 350,922 lbs. of materials to the Chemetco Site.

 These materials were generated by Arizona Scrap Metal and contained hazardous substances.

        714.    To date, Arizona Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        715.    According to Chemetco Site records, Defendant Arkla Recycling (“Arkla

 Recycling”) contributed at least 2,047,421 lbs. of materials to the Chemetco Site. These

 materials were generated by Arkla Recycling and contained hazardous substances.

        716.    To date, Arkla Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        717.    According to Chemetco Site records, Defendant Armature Sales & Rebuilder

 Group (“Armature Sales”) contributed at least 200,811 lbs. of materials to the Chemetco Site.

 These materials were generated by Armature Sales and contained hazardous substances.

        718.    To date, Armature Sales has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        719.    According to Chemetco Site records, Defendant Armys (“Armys”) contributed at

 least 18,659 lbs. of materials to the Chemetco Site. These materials were generated by Armys

 and contained hazardous substances.

        720.    To date, Armys has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        721.    According to Chemetco Site records, Defendant Arnone Scrap (“Arnone”)

 contributed at least 356 lbs. of materials to the Chemetco Site. These materials were generated

 by Arnone and contained hazardous substances.

        722.    To date, Arnone has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        723.    According to Chemetco Site records, Defendant Arric Corporation doing business

 as Removable Insulation Covers (“Arric”) contributed at least 8,122 lbs. of materials to the

 Chemetco Site. These materials were generated by Arric and contained hazardous substances.

        724.    To date, Arric has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        725.    According to Chemetco Site records, Defendant Arrington Metal (“Arrington

 Metal”) contributed at least 101,184 lbs. of materials to the Chemetco Site. These materials were

 generated by Arrington Metal and contained hazardous substances.

        726.    To date, Arrington Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        727.    According to Chemetco Site records, Defendant Arrow Metals (“Arrow Metals”)

 contributed at least 3,562 lbs. of materials to the Chemetco Site. These materials were generated

 by Arrow Metals and contained hazardous substances.




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        728.    To date, Arrow Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        729.    According to Chemetco Site records, Defendant Arrow Recycling Corp. (“Arrow

 Recycling”) contributed at least 1,241,197 lbs. of materials to the Chemetco Site. These

 materials were generated by Arrow Recycling and contained hazardous substances.

        730.    To date, Arrow Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        731.    According to Chemetco Site records, Defendant Arrow Tool & Stamping Co.

 (“Arrow Tool”) contributed at least 22,498 lbs. of materials to the Chemetco Site. These

 materials were generated by Arrow Tool and contained hazardous substances.

        732.    To date, Arrow Tool has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        733.    According to Chemetco Site records, Defendant Arrowhead Brass Products, Inc.

 (“Arrowhead Brass”) contributed at least 3,139,165 lbs. of materials to the Chemetco Site. These

 materials were generated by Arrowhead Brass and contained hazardous substances.

        734.    To date, Arrowhead Brass has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        735.    According to Chemetco Site records, Defendant Arsham Metal Industries, Inc.

 (“Arsham Metal”) contributed at least 31,429 lbs. of materials to the Chemetco Site. These

 materials were generated by Arsham Metal and contained hazardous substances.

        736.    To date, Arsham Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        737.    According to Chemetco Site records, Defendant Arthur’s Auto (“Arthur’s Auto”)

 contributed at least 43,442 lbs. of materials to the Chemetco Site. These materials were

 generated by Arthur’s Auto and contained hazardous substances.

        738.    To date, Arthur’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        739.    According to Chemetco Site records, Defendant Arundel Recycling Center

 (“Arundel Recycling”) contributed at least 3,801 lbs. of materials to the Chemetco Site. These

 materials were generated by Arundel Recycling and contained hazardous substances.

        740.    To date, Arundel Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        741.    According to Chemetco Site records, Defendant Arvin Automotive (“Arvin

 Automotive”) contributed at least 27,640 lbs. of materials to the Chemetco Site. These materials

 were generated by Arvin Automotive and contained hazardous substances.

        742.    To date, Arvin Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        743.    Defendant AS America, Inc. doing business as American Standard Brands (“AS

 America”) is responsible for the waste attributable to Jado Bathroom & Hardware Mfg. (“Jado”).

        744.    In or about 2000, AS America acquired Jado.

        745.    According to Chemetco Site records, Jado contributed at least 63,962 lbs. of

 materials to the Chemetco Site. These materials were generated by Jado and contained hazardous

 substances.

        746.    To date, AS America has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        747.    Defendant ASARCO LLC (“ASARCO LLC”) is responsible for the waste

 attributable to ASARCO Incorporated (“ASARCO Inc.”).

        748.    In or about March 2005, ASARCO Inc. was merged with and into ASARCO

 LLC.

        749.    According to Chemetco Site records, ASARCO Inc. contributed at least 122,300

 lbs. of materials to the Chemetco Site. These materials were generated by ASARCO Inc. and

 contained hazardous substances.

        750.    Additionally, ASARCO LLC is responsible for the waste attributable to Federated

 Genco Limited (“Federated Genco”).

        751.    According to Chemetco Site records, Federated Genco contributed at least 85,340

 lbs. of materials to the Chemetco Site. These materials were generated by Federated Genco and

 contained hazardous substances.

        752.    To date, ASARCO LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        753.    According to Chemetco Site records, Defendant Ashley Energy, LLC (“Ashley

 Energy”) contributed at least 15,560 lbs. of materials to the Chemetco Site. These materials were

 generated by Ashley Energy and contained hazardous substances.

        754.    To date, Ashley Energy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        755.    According to Chemetco Site records, Defendant Ashley Salvage Co. (“Ashley

 Salvage”) contributed at least 306,338 lbs. of materials to the Chemetco Site. These materials

 were generated by Ashley Salvage and contained hazardous substances.




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        756.    To date, Ashley Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        757.    According to Chemetco Site records, Defendant Ashtabula Recycling

 (“Ashtabula”) contributed at least 3,354 lbs. of materials to the Chemetco Site. These materials

 were generated by Ashtabula and contained hazardous substances.

        758.    To date, Ashtabula has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        759.    According to Chemetco Site records, Defendant ASM Recycling, Inc. (“ASM

 Recycling”) contributed at least 10,993 lbs. of materials to the Chemetco Site. These materials

 were generated by ASM Recycling and contained hazardous substances.

        760.    To date, ASM Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        761.    According to Chemetco Site records, Defendant Asner Iron & Metal Co. (“Asner

 Iron”) contributed at least 125,649 lbs. of materials to the Chemetco Site. These materials were

 generated by Asner Iron and contained hazardous substances.

        762.    To date, Asner Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        763.    According to Chemetco Site records, Defendant Assad Iron (“Assad Iron”)

 contributed at least 113,184 lbs. of materials to the Chemetco Site. These materials were

 generated by Assad Iron and contained hazardous substances.

        764.    To date, Assad Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        765.    According to Chemetco Site records, Defendant Assured Manufacturing

 (“Assured Manufacturing”) contributed at least 135 lbs. of materials to the Chemetco Site. These

 materials were generated by Assured Manufacturing and contained hazardous substances.

        766.    To date, Assured Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        767.    According to Chemetco Site records, Defendant AT Designs Insignia Inc. (“AT

 Designs”) contributed at least 42,137 lbs. of materials to the Chemetco Site. These materials

 were generated by AT Designs and contained hazardous substances.

        768.    To date, AT Designs has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        769.    According to Chemetco Site records, Defendant AT&T Inc. doing business as

 Southwestern Bell Telephone (“AT&T”) contributed at least 2,596,305 lbs. of materials to the

 Chemetco Site. These materials were generated by AT&T and contained hazardous substances.

        770.    To date, AT&T has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        771.    According to Chemetco Site records, Defendant Athen Auto (“Athen Auto”)

 contributed at least 532 lbs. of materials to the Chemetco Site. These materials were generated

 by Athen Auto and contained hazardous substances.

        772.    To date, Athen Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        773.    According to Chemetco Site records, Defendant Atkins Metals (“Atkins Metals”)

 contributed at least 18,260 lbs. of materials to the Chemetco Site. These materials were

 generated by Atkins Metals and contained hazardous substances.




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        774.    To date, Atkins Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        775.    According to Chemetco Site records, Defendant Atkinson Scrap (“Atkinson

 Scrap”) contributed at least 194,676 lbs. of materials to the Chemetco Site. These materials were

 generated by Atkinson Scrap and contained hazardous substances.

        776.    To date, Atkinson Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        777.    According to Chemetco Site records, Defendant Atlanta Metal, Inc. (“Atlanta

 Metal”) contributed at least 34,860 lbs. of materials to the Chemetco Site. These materials were

 generated by Atlanta Metal and contained hazardous substances.

        778.    To date, Atlanta Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        779.    According to Chemetco Site records, Defendant Atlantic Coast Recycling, Inc.

 (“Atlantic Recycling”) contributed at least 292,924 lbs. of materials to the Chemetco Site. These

 materials were generated by Atlantic Recycling and contained hazardous substances.

        780.    To date, Atlantic Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        781.    According to Chemetco Site records, Defendant Atlantic Copper (“Atlantic

 Copper”) contributed at least 4,338 lbs. of materials to the Chemetco Site. These materials were

 generated by Atlantic Copper and contained hazardous substances.

        782.    To date, Atlantic Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        783.    According to Chemetco Site records, Defendant Atlantic Metal & Salvage

 (“Atlantic Metal”) contributed at least 104 lbs. of materials to the Chemetco Site. These

 materials were generated by Atlantic Metal and contained hazardous substances.

        784.    To date, Atlantic Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        785.    According to Chemetco Site records, Defendant Atlantic Metals and Alloys

 (“Atlantic Metals Alloys”) contributed at least 47,990 lbs. of materials to the Chemetco Site.

 These materials were generated by Atlantic Metals Alloys and contained hazardous substances.

        786.    To date, Atlantic Metals Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        787.    According to Chemetco Site records, Defendant Atlas Founders, Inc. (“Atlas

 Founders”) contributed at least 26,110 lbs. of materials to the Chemetco Site. These materials

 were generated by Atlas Founders and contained hazardous substances.

        788.    To date, Atlas Founders has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        789.    According to Chemetco Site records, Defendant Atlas Inc. Miami River Division

 (“Atlas”) contributed at least 1,064,398 lbs. of materials to the Chemetco Site. These materials

 were generated by Atlas and contained hazardous substances.

        790.    To date, Atlas has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        791.    According to Chemetco Site records, Defendant Atlas Iron & Metal Co. (“Atlas

 Iron”) contributed at least 1,103 lbs. of materials to the Chemetco Site. These materials were

 generated by Atlas Iron and contained hazardous substances.




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        792.    To date, Atlas Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        793.    According to Chemetco Site records, Defendant Atlas Metals Inc. (“Atlas

 Metals”) contributed at least 30,516 lbs. of materials to the Chemetco Site. These materials were

 generated by Atlas Metals and contained hazardous substances.

        794.    To date, Atlas Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        795.    According to Chemetco Site records, Defendant Atlas Pacific Corp. (“Atlas

 Pacific”) contributed at least 6,359,000 lbs. of materials to the Chemetco Site. These materials

 were generated by Atlas Pacific and contained hazardous substances.

        796.    To date, Atlas Pacific has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        797.    According to Chemetco Site records, Defendant Atlas Recycling (“Atlas

 Recycling”) contributed at least 24,305 lbs. of materials to the Chemetco Site. These materials

 were generated by Atlas Recycling and contained hazardous substances.

        798.    To date, Atlas Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        799.    According to Chemetco Site records, Defendant Atlas Recycling Ltd. (“ARL”)

 contributed at least 391 lbs. of materials to the Chemetco Site. These materials were generated

 by ARL and contained hazardous substances.

        800.    To date, ARL has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        801.    According to Chemetco Site records, Defendant Atlas Scrap Iron & Metal Co.

 (“Atlas Scrap IM”) contributed at least 789,950 lbs. of materials to the Chemetco Site. These

 materials were generated by Atlas Scrap IM and contained hazardous substances.

        802.    To date, Atlas Scrap IM has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        803.    According to Chemetco Site records, Defendant Atlas Steel, Inc. (“Atlas Steel”)

 contributed at least 654,371 lbs. of materials to the Chemetco Site. These materials were

 generated by Atlas Steel and contained hazardous substances.

        804.    To date, Atlas Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        805.    According to Chemetco Site records, Defendant Atlas Traders LLC (“Atlas

 Traders”) contributed at least 667,670 lbs. of materials to the Chemetco Site. These materials

 were generated by Atlas Traders and contained hazardous substances.

        806.    To date, Atlas Traders has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        807.    According to Chemetco Site records, Defendant Atlas-Lederer (“Atlas-Lederer”)

 contributed at least 3,000 lbs. of materials to the Chemetco Site. These materials were generated

 by Atlas-Lederer and contained hazardous substances.

        808.    To date, Atlas-Lederer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        809.    According to Chemetco Site records, Defendant Atwater Iron (“Atwater Iron”)

 contributed at least 291 lbs. of materials to the Chemetco Site. These materials were generated

 by Atwater Iron and contained hazardous substances.




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        810.    To date, Atwater Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        811.    According to Chemetco Site records, Defendant Audet Auto (“Audet Auto”)

 contributed at least 638 lbs. of materials to the Chemetco Site. These materials were generated

 by Audet Auto and contained hazardous substances.

        812.    To date, Audet Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        813.    According to Chemetco Site records, Defendant Audubon Metals LLC

 (“Audubon Metals”) contributed at least 47,000 lbs. of materials to the Chemetco Site. These

 materials were generated by Audubon Metals and contained hazardous substances.

        814.    To date, Audubon Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        815.    According to Chemetco Site records, Defendant Augusta Iron (“Augusta Iron”)

 contributed at least 11,797 lbs. of materials to the Chemetco Site. These materials were

 generated by Augusta Iron and contained hazardous substances.

        816.    To date, Augusta Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        817.    According to Chemetco Site records, Defendant Augusta Metal (“Augusta

 Metal”) contributed at least 396,622 lbs. of materials to the Chemetco Site. These materials were

 generated by Augusta Metal and contained hazardous substances.

        818.    To date, Augusta Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        819.    According to Chemetco Site records, Defendant Augustine Metals, Inc.

 (“Augustine Metals”) contributed at least 1,466,890 lbs. of materials to the Chemetco Site. These

 materials were generated by Augustine Metals and contained hazardous substances.

        820.    To date, Augustine Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        821.    According to Chemetco Site records, Defendant Aurora Metals Division, LLC

 (“Aurora Metals”) contributed at least 542,999 lbs. of materials to the Chemetco Site. These

 materials were generated by Aurora Metals and contained hazardous substances.

        822.    To date, Aurora Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        823.    According to Chemetco Site records, Defendant Aurora Radiator (“Aurora

 Radiator”) contributed at least 912 lbs. of materials to the Chemetco Site. These materials were

 generated by Aurora Radiator and contained hazardous substances.

        824.    To date, Aurora Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        825.    According to Chemetco Site records, Defendant Austin Hinds Motors, Inc.

 (“Austin Hinds”) contributed at least 27,400 lbs. of materials to the Chemetco Site. These

 materials were generated by Austin Hinds and contained hazardous substances.

        826.    To date, Austin Hinds has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        827.    According to Chemetco Site records, Defendant Austin Metal & Iron Co. L.P.

 (“Austin Metal”) contributed at least 478,567 lbs. of materials to the Chemetco Site. These

 materials were generated by Austin Metal and contained hazardous substances.




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        828.    To date, Austin Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        829.    According to Chemetco Site records, Defendant Auto Answers (“Auto Answers”)

 contributed at least 1,893 lbs. of materials to the Chemetco Site. These materials were generated

 by Auto Answers and contained hazardous substances.

        830.    To date, Auto Answers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        831.    According to Chemetco Site records, Defendant Auto Parts for Rebuilding

 (“Rebuilding Auto Parts”) contributed at least 1,866 lbs. of materials to the Chemetco Site.

 These materials were generated by Rebuilding Auto Parts and contained hazardous substances.

        832.    To date, Rebuilding Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        833.    According to Chemetco Site records, Defendant Auto Radiator (“Auto Radiator”)

 contributed at least 7,432 lbs. of materials to the Chemetco Site. These materials were generated

 by Auto Radiator and contained hazardous substances.

        834.    To date, Auto Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        835.    According to Chemetco Site records, Defendant Auto-Shred Inc. (“Auto-Shred”)

 contributed at least 64,509 lbs. of materials to the Chemetco Site. These materials were

 generated by Auto-Shred and contained hazardous substances.

        836.    To date, Auto-Shred has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        837.    According to Chemetco Site records, Defendant Automated Technology

 Recycling (“Automated Recycling”) contributed at least 137,443 lbs. of materials to the

 Chemetco Site. These materials were generated by Automated Recycling and contained

 hazardous substances.

        838.    To date, Automated Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        839.    According to Chemetco Site records, Defendant Automobile J. (“Automobile J.”)

 contributed at least 302 lbs. of materials to the Chemetco Site. These materials were generated

 by Automobile J. and contained hazardous substances.

        840.    To date, Automobile J. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        841.    According to Chemetco Site records, Defendant Automotive El. (“Automotive

 El.”) contributed at least 31,659 lbs. of materials to the Chemetco Site. These materials were

 generated by Automotive El. and contained hazardous substances.

        842.    To date, Automotive El. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        843.    According to Chemetco Site records, Defendant Autopart Recycling (“Autopart

 Recycling”) contributed at least 85,667 lbs. of materials to the Chemetco Site. These materials

 were generated by Autopart Recycling and contained hazardous substances.

        844.    To date, Autopart Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        845.    Defendant Avalon Precision Casting Company, LLC doing business as Avalon

 Precision Metalsmiths (“Avalon Precision”) is responsible for the waste attributable to Precision

 Metalsmiths, Inc. (“Precision Metalsmiths”).

        846.    In or about April 2014, Precision Metalsmiths was acquired by and merged into

 Avalon Precision.

        847.    According to Chemetco Site records, Precision Metalsmiths contributed at least

 3,997 lbs. of materials to the Chemetco Site. These materials were generated by Precision

 Metalsmiths and contained hazardous substances.

        848.    To date, Avalon Precision has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        849.    According to Chemetco Site records, Defendant Avalon Salvage (“Avalon

 Salvage”) contributed at least 18 lbs. of materials to the Chemetco Site. These materials were

 generated by Avalon Salvage and contained hazardous substances.

        850.    To date, Avalon Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        851.    According to Chemetco Site records, Defendant Avanti Circuits, Inc. (“Avanti

 Circuits”) contributed at least 7,471 lbs. of materials to the Chemetco Site. These materials were

 generated by Avanti Circuits and contained hazardous substances.

        852.    To date, Avanti Circuits has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        853.    According to Chemetco Site records, Defendant Avaya Inc. (“Avaya”)

 contributed at least 111,894 lbs. of materials to the Chemetco Site. These materials were

 generated by Avaya and contained hazardous substances.




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        854.    To date, Avaya has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        855.    Defendant Aviva Metals, Inc. (“Aviva”) is responsible for the waste attributable

 to National Bronze and Metals, Inc. (“National Bronze”).

        856.    In or about November 2017, National Bronze amended its name to Aviva.

        857.    According to Chemetco Site records, National Bronze contributed at least 29,374

 lbs. of materials to the Chemetco Site. These materials were generated by National Bronze and

 contained hazardous substances.

        858.    To date, Aviva has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        859.    According to Chemetco Site records, Defendant The Ayling & Reichert Co.

 (“Ayling & Reichert”) contributed at least 14,024 lbs. of materials to the Chemetco Site. These

 materials were generated by Ayling & Reichert and contained hazardous substances.

        860.    To date, Ayling & Reichert has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        861.    According to Chemetco Site records, Defendant Azcon Corp. (“Azcon”)

 contributed at least 165,490 lbs. of materials to the Chemetco Site. These materials were

 generated by Azcon and contained hazardous substances.

        862.    To date, Azcon has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        863.    According to Chemetco Site records, Defendant Azcon Scrap (“Azcon Scrap”)

 contributed at least 22,405 lbs. of materials to the Chemetco Site. These materials were

 generated by Azcon Scrap and contained hazardous substances.




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        864.    To date, Azcon Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        865.    According to Chemetco Site records, Defendant Azusa Salvage (“Azusa

 Salvage”) contributed at least 15,044 lbs. of materials to the Chemetco Site. These materials

 were generated by Azusa Salvage and contained hazardous substances.

        866.    To date, Azusa Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        867.    According to Chemetco Site records, Defendant B Map Cores (“B Map Cores”)

 contributed at least 2,229,033 lbs. of materials to the Chemetco Site. These materials were

 generated by B Map Cores and contained hazardous substances.

        868.    To date, B Map Cores has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        869.    Defendant B Meyer Bookkeeping Solutions, LLC (“B Meyer”) is responsible for

 the waste attributable to MGM Metal Recyclers (“MGM Metal”).

        870.    According to Chemetco Site records, MGM Metal contributed at least 99,302 lbs.

 of materials to the Chemetco Site. These materials were generated by MGM Metal and contained

 hazardous substances.

        871.    To date, B Meyer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        872.    According to Chemetco Site records, Defendant B. Clinkston & Sons (“B

 Clinkston”) contributed at least 50,163 lbs. of materials to the Chemetco Site. These materials

 were generated by B Clinkston and contained hazardous substances.




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        873.    To date, B Clinkston has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        874.    According to Chemetco Site records, Defendant B. Ginsberg & Co. Inc. (“B

 Ginsberg”) contributed at least 31 lbs. of materials to the Chemetco Site. These materials were

 generated by B Ginsberg and contained hazardous substances.

        875.    To date, B Ginsberg has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        876.    According to Chemetco Site records, Defendant B. Millens and Sons Incorporated

 (“Millens and Sons”) contributed at least 12,501 lbs. of materials to the Chemetco Site. These

 materials were generated by Millens and Sons and contained hazardous substances.

        877.    To date, Millens and Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        878.    According to Chemetco Site records, Defendant B.B.&J. Metal (“BB&J”)

 contributed at least 6,590 lbs. of materials to the Chemetco Site. These materials were generated

 by BB&J and contained hazardous substances.

        879.    To date, BB&J has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        880.    According to Chemetco Site records, Defendant B.F.S. Recycling (“BFS

 Recycling”) contributed at least 3,536 lbs. of materials to the Chemetco Site. These materials

 were generated by BFS Recycling and contained hazardous substances.

        881.    To date, BFS Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        882.    According to Chemetco Site records, Defendant B.L.&M. Rebuilders Supply

 (“B.L.&M. Rebuilders”) contributed at least 21,299 lbs. of materials to the Chemetco Site. These

 materials were generated by B.L.&M. Rebuilders and contained hazardous substances.

        883.    To date, B.L.&M. Rebuilders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        884.    According to Chemetco Site records, Defendant B&B Iron & Metal (“B&B Iron”)

 contributed at least 408,409 lbs. of materials to the Chemetco Site. These materials were

 generated by B&B Iron and contained hazardous substances.

        885.    To date, B&B Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        886.    According to Chemetco Site records, Defendant B&B Metals Processing Co., Inc.

 (“B&B Metals”) contributed at least 162,383 lbs. of materials to the Chemetco Site. These

 materials were generated by B&B Metals and contained hazardous substances.

        887.    To date, B&B Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        888.    According to Chemetco Site records, Defendant B&B Radiator Inc. (“B&B

 Radiator”) contributed at least 708 lbs. of materials to the Chemetco Site. These materials were

 generated by B&B Radiator and contained hazardous substances.

        889.    To date, B&B Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        890.    According to Chemetco Site records, Defendant B&B Recycling (“B&B

 Recycling”) contributed at least 867 lbs. of materials to the Chemetco Site. These materials were

 generated by B&B Recycling and contained hazardous substances.




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        891.    To date, B&B Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        892.    According to Chemetco Site records, Defendant B&B Salvage & Rigging Inc.

 (“B&B Salvage”) contributed at least 145 lbs. of materials to the Chemetco Site. These materials

 were generated by B&B Salvage and contained hazardous substances.

        893.    To date, B&B Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        894.    According to Chemetco Site records, Defendant B&H Metals (“B&H Metals”)

 contributed at least 1,880,910 lbs. of materials to the Chemetco Site. These materials were

 generated by B&H Metals and contained hazardous substances.

        895.    To date, B&H Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        896.    According to Chemetco Site records, Defendant B&J Used Auto (“B&J Used

 Auto”) contributed at least 42,979 lbs. of materials to the Chemetco Site. These materials were

 generated by B&J Used Auto and contained hazardous substances.

        897.    To date, B&J Used Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        898.    Defendant B&M Electric Motor Service, Inc. (“B&M Electric”) is responsible

 for the waste attributable to Industrial Motor Rewinding Co. (“Industrial Motor”).

        899.    According to Chemetco Site records, Industrial Motor contributed at least 15,601

 lbs. of materials to the Chemetco Site. These materials were generated by Industrial Motor and

 contained hazardous substances.




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        900.    To date, B&M Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        901.    Defendant B&O Auto Parts & Wreckers Inc. (“B&O Auto Parts”) is responsible

 for the waste attributable to West Chicago Auto Wreckers Inc. (“Chicago Auto Wreckers”).

        902.    According to Chemetco Site records, Chicago Auto Wreckers contributed at least

 39,089 lbs. of materials to the Chemetco Site. These materials were generated by Chicago Auto

 Wreckers and contained hazardous substances.

        903.    To date, B&O Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        904.    According to Chemetco Site records, Defendant B&R Metals (“B&R Metals”)

 contributed at least 232,257 lbs. of materials to the Chemetco Site. These materials were

 generated by B&R Metals and contained hazardous substances.

        905.    To date, B&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        906.    According to Chemetco Site records, Defendant B&R Scrap Metal (“B&R

 Scrap”) contributed at least 465,791 lbs. of materials to the Chemetco Site. These materials were

 generated by B&R Scrap and contained hazardous substances.

        907.    To date, B&R Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        908.    According to Chemetco Site records, Defendant B&R Wrecking Co. (“B&R

 Wrecking”) contributed at least 1,999 lbs. of materials to the Chemetco Site. These materials

 were generated by B&R Wrecking and contained hazardous substances.




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        909.    To date, B&R Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        910.    According to Chemetco Site records, Defendant B&S Automotive (“B&S

 Automotive”) contributed at least 6,260 lbs. of materials to the Chemetco Site. These materials

 were generated by B&S Automotive and contained hazardous substances.

        911.    To date, B&S Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        912.    According to Chemetco Site records, Defendant Babs Foundry, Inc. (“Babs

 Foundry”) contributed at least 195,804 lbs. of materials to the Chemetco Site. These materials

 were generated by Babs Foundry and contained hazardous substances.

        913.    To date, Babs Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        914.    According to Chemetco Site records, Defendant Baden Car Parts, Inc. (“Baden

 Car”) contributed at least 6,864 lbs. of materials to the Chemetco Site. These materials were

 generated by Baden Car and contained hazardous substances.

        915.    To date, Baden Car has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        916.    According to Chemetco Site records, Defendant Badger Meter, Inc. (“Badger

 Meter”) contributed at least 1,511,491 lbs. of materials to the Chemetco Site. These materials

 were generated by Badger Meter and contained hazardous substances.

        917.    To date, Badger Meter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        918.    According to Chemetco Site records, Defendant Baer’s Auto Parts (“Baer’s

 Auto”) contributed at least 703,900 lbs. of materials to the Chemetco Site. These materials were

 generated by Baer’s Auto and contained hazardous substances.

        919.    To date, Baer’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        920.    According to Chemetco Site records, Defendant Bailey’s Scrap (“Bailey’s Scrap”)

 contributed at least 6,880 lbs. of materials to the Chemetco Site. These materials were generated

 by Bailey’s Scrap and contained hazardous substances.

        921.    To date, Bailey’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        922.    According to Chemetco Site records, Defendant Baisden Metal (“Baisden Metal”)

 contributed at least 46,095 lbs. of materials to the Chemetco Site. These materials were

 generated by Baisden Metal and contained hazardous substances.

        923.    To date, Baisden Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        924.    According to Chemetco Site records, Defendant Baker Iron & Metal Co. Inc.

 (“Baker Iron”) contributed at least 39,694 lbs. of materials to the Chemetco Site. These materials

 were generated by Baker Iron and contained hazardous substances.

        925.    To date, Baker Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        926.    According to Chemetco Site records, Defendant Baker Metals (“Baker Metals”)

 contributed at least 30,866 lbs. of materials to the Chemetco Site. These materials were

 generated by Baker Metals and contained hazardous substances.




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        927.    To date, Baker Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        928.    According to Chemetco Site records, Defendant Bakermet Auto (“Bakermet

 Auto”) contributed at least 15 lbs. of materials to the Chemetco Site. These materials were

 generated by Bakermet Auto and contained hazardous substances.

        929.    To date, Bakermet Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        930.    According to Chemetco Site records, Defendant Balemet Recycling (“Balemet

 Recycling”) contributed at least 34,056 lbs. of materials to the Chemetco Site. These materials

 were generated by Balemet Recycling and contained hazardous substances.

        931.    To date, Balemet Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        932.    According to Chemetco Site records, Defendant Ball Brass & Aluminum

 Foundry, Inc. (“Ball Foundry”) contributed at least 450,276 lbs. of materials to the Chemetco

 Site. These materials were generated by Ball Foundry and contained hazardous substances.

        933.    To date, Ball Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        934.    According to Chemetco Site records, Defendant Ballast Metal (“Ballast Metal”)

 contributed at least 874 lbs. of materials to the Chemetco Site. These materials were generated

 by Ballast Metal and contained hazardous substances.

        935.    To date, Ballast Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        936.    According to Chemetco Site records, Defendant Baltimore Metal (“Baltimore

 Metal”) contributed at least 17,917 lbs. of materials to the Chemetco Site. These materials were

 generated by Baltimore Metal and contained hazardous substances.

        937.    To date, Baltimore Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        938.    According to Chemetco Site records, Defendant Baltimore Scrap Corp.

 (“Baltimore Scrap”) contributed at least 90,280 lbs. of materials to the Chemetco Site. These

 materials were generated by Baltimore Scrap and contained hazardous substances.

        939.    To date, Baltimore Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        940.    According to Chemetco Site records, Defendant Bamar Metals (“Bamar Metals”)

 contributed at least 892 lbs. of materials to the Chemetco Site. These materials were generated

 by Bamar Metals and contained hazardous substances.

        941.    To date, Bamar Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        942.    According to Chemetco Site records, Defendant Bankoff Pipe (“Bankoff Pipe”)

 contributed at least 34,320 lbs. of materials to the Chemetco Site. These materials were

 generated by Bankoff Pipe and contained hazardous substances.

        943.    To date, Bankoff Pipe has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        944.    According to Chemetco Site records, Defendant Bantivoglio (“Bantivoglio”)

 contributed at least 8,243 lbs. of materials to the Chemetco Site. These materials were generated

 by Bantivoglio and contained hazardous substances.




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        945.    To date, Bantivoglio has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        946.    According to Chemetco Site records, Defendant Bargain Center (“Bargain

 Center”) contributed at least 8,851 lbs. of materials to the Chemetco Site. These materials were

 generated by Bargain Center and contained hazardous substances.

        947.    To date, Bargain Center has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        948.    According to Chemetco Site records, Defendant Barker’s Junk (“Barker’s Junk”)

 contributed at least 4,742 lbs. of materials to the Chemetco Site. These materials were generated

 by Barker’s Junk and contained hazardous substances.

        949.    To date, Barker’s Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        950.    According to Chemetco Site records, Defendant Barrie Metals Ltd. (“Barrie

 Metals”) contributed at least 482 lbs. of materials to the Chemetco Site. These materials were

 generated by Barrie Metals and contained hazardous substances.

        951.    To date, Barrie Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        952.    According to Chemetco Site records, Defendant Barry Iron & Metal (“Barry Iron

 & Metal”) contributed at least 1,777 lbs. of materials to the Chemetco Site. These materials were

 generated by Barry Iron & Metal and contained hazardous substances.

        953.    To date, Barry Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        954.    According to Chemetco Site records, Defendant Bartlesville (“Bartlesville”)

 contributed at least 1,853 lbs. of materials to the Chemetco Site. These materials were generated

 by Bartlesville and contained hazardous substances.

        955.    To date, Bartlesville has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        956.    According to Chemetco Site records, Defendant Basic Metal Co. (“Basic Metal”)

 contributed at least 469,287 lbs. of materials to the Chemetco Site. These materials were

 generated by Basic Metal and contained hazardous substances.

        957.    To date, Basic Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        958.    According to Chemetco Site records, Defendant Basic Recycling, Inc. (“Basic

 Recycling”) contributed at least 1,073,349 lbs. of materials to the Chemetco Site. These

 materials were generated by Basic Recycling and contained hazardous substances.

        959.    To date, Basic Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        960.    According to Chemetco Site records, Defendant Baxter Metal Co. (“Baxter

 Metal”) contributed at least 622 lbs. of materials to the Chemetco Site. These materials were

 generated by Baxter Metal and contained hazardous substances.

        961.    To date, Baxter Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        962.    According to Chemetco Site records, Defendant Bay Area Metal (“Bay Area

 Metal”) contributed at least 623 lbs. of materials to the Chemetco Site. These materials were

 generated by Bay Area Metal and contained hazardous substances.




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        963.    To date, Bay Area Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        964.    According to Chemetco Site records, Defendant Bay Area Recycling (“Bay Area

 Recycling”) contributed at least 18,893 lbs. of materials to the Chemetco Site. These materials

 were generated by Bay Area Recycling and contained hazardous substances.

        965.    To date, Bay Area Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        966.    According to Chemetco Site records, Defendant Bay Metals (“Bay Metals”)

 contributed at least 212 lbs. of materials to the Chemetco Site. These materials were generated

 by Bay Metals and contained hazardous substances.

        967.    To date, Bay Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        968.    According to Chemetco Site records, Defendant Bay Side Recycling Inc. (“Bay

 Side Recycling”) contributed at least 254,620 lbs. of materials to the Chemetco Site. These

 materials were generated by Bay Side Recycling and contained hazardous substances.

        969.    To date, Bay Side Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        970.    According to Chemetco Site records, Defendant Bay State (“Bay State”)

 contributed at least 38,227 lbs. of materials to the Chemetco Site. These materials were

 generated by Bay State and contained hazardous substances.

        971.    To date, Bay State has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        972.    According to Chemetco Site records, Defendant Bay State Scrap (“Bay State

 Scrap”) contributed at least 526,369 lbs. of materials to the Chemetco Site. These materials were

 generated by Bay State Scrap and contained hazardous substances.

        973.    To date, Bay State Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        974.    According to Chemetco Site records, Defendant Bay West Products, LLC (“Bay

 West”) contributed at least 128,716 lbs. of materials to the Chemetco Site. These materials were

 generated by Bay West and contained hazardous substances.

        975.    To date, Bay West has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        976.    According to Chemetco Site records, Defendant Bayou City Metal (“Bayou City

 Metal”) contributed at least 7,792 lbs. of materials to the Chemetco Site. These materials were

 generated by Bayou City Metal and contained hazardous substances.

        977.    To date, Bayou City Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        978.    According to Chemetco Site records, Defendant BC Brake (“BC Brake”)

 contributed at least 6,320 lbs. of materials to the Chemetco Site. These materials were generated

 by BC Brake and contained hazardous substances.

        979.    To date, BC Brake has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        980.    According to Chemetco Site records, Defendant BCD Electro, Inc. (“BCD”)

 contributed at least 20,285 lbs. of materials to the Chemetco Site. These materials were

 generated by BCD and contained hazardous substances.




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        981.    To date, BCD has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        982.    Defendant Beacon Management Inc. (“Beacon Management”) is responsible for

 the waste attributable to Boards with Fingers, Inc. (“Boards with Fingers”).

        983.    In or about 1998, Boards with Fingers amended its name to Beacon Management.

        984.    According to Chemetco Site records, Boards with Fingers contributed at least

 474,642 lbs. of materials to the Chemetco Site. These materials were generated by Boards with

 Fingers and contained hazardous substances.

        985.    To date, Beacon Management has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        986.    According to Chemetco Site records, Defendant Beacon Metal Company, Inc.

 (“Beacon Metal”) contributed at least 34,031 lbs. of materials to the Chemetco Site. These

 materials were generated by Beacon Metal and contained hazardous substances.

        987.    To date, Beacon Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        988.    According to Chemetco Site records, Defendant Beacon Valve (“Beacon Valve”)

 contributed at least 5,024 lbs. of materials to the Chemetco Site. These materials were generated

 by Beacon Valve and contained hazardous substances.

        989.    To date, Beacon Valve has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        990.    According to Chemetco Site records, Defendant Beal’s Auto (“Beal’s Auto”)

 contributed at least 5,999 lbs. of materials to the Chemetco Site. These materials were generated

 by Beal’s Auto and contained hazardous substances.




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        991.    To date, Beal’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        992.    According to Chemetco Site records, Defendant Beauce Metal (“Beauce Metal”)

 contributed at least 308 lbs. of materials to the Chemetco Site. These materials were generated

 by Beauce Metal and contained hazardous substances.

        993.    To date, Beauce Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        994.    According to Chemetco Site records, Defendant Beck Manufacturing Company

 (“Beck Manufacturing”) contributed at least 118,427 lbs. of materials to the Chemetco Site.

 These materials were generated by Beck Manufacturing and contained hazardous substances.

        995.    To date, Beck Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        996.    According to Chemetco Site records, Defendant Beck Metals (“Beck Metals”)

 contributed at least 45,347 lbs. of materials to the Chemetco Site. These materials were

 generated by Beck Metals and contained hazardous substances.

        997.    To date, Beck Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        998.    According to Chemetco Site records, Defendant Becker Iron (“Becker Iron”)

 contributed at least 4,004 lbs. of materials to the Chemetco Site. These materials were generated

 by Becker Iron and contained hazardous substances.

        999.    To date, Becker Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1000. Defendant Becker Iron & Metal, Inc. (“Becker Iron & Metal”) is responsible for

 the waste attributable to Sam Fenster & Sons, Inc. (“Fenster & Sons”).

        1001. According to Chemetco Site records, Fenster & Sons contributed at least 312,792

 lbs. of materials to the Chemetco Site. These materials were generated by Fenster & Sons and

 contained hazardous substances.

        1002. To date, Becker Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1003. According to Chemetco Site records, Defendant Becker Iron and Metal, Inc.

 (“Becker Iron and Metal”) contributed at least 99,008 lbs. of materials to the Chemetco Site.

 These materials were generated by Becker Iron and Metal and contained hazardous substances.

        1004. To date, Becker Iron and Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1005. According to Chemetco Site records, Defendant Beckett Bronze Company, Inc.

 (“Beckett Bronze”) contributed at least 202,098 lbs. of materials to the Chemetco Site. These

 materials were generated by Beckett Bronze and contained hazardous substances.

        1006. To date, Beckett Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1007. According to Chemetco Site records, Defendant Becotek Mfg., Inc. doing

 business as Johnson Metall, Inc. (“Becotek”) contributed materials to the Chemetco Site. These

 materials were generated by Becotek and contained hazardous substances.

        1008. To date, Becotek has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        1009. According to Chemetco Site records, Defendant Bedford Metal Recycling

 (“Bedford Metal”) contributed at least 1,087 lbs. of materials to the Chemetco Site. These

 materials were generated by Bedford Metal and contained hazardous substances.

        1010. To date, Bedford Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1011. According to Chemetco Site records, Defendant Bedford Recycling Inc.

 (“Bedford Recycling”) contributed at least 435,420 lbs. of materials to the Chemetco Site. These

 materials were generated by Bedford Recycling and contained hazardous substances.

        1012. To date, Bedford Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1013. According to Chemetco Site records, Defendant Behr Iron & Steel Co. (“Behr

 Iron Co.”) contributed at least 285,158 lbs. of materials to the Chemetco Site. These materials

 were generated by Behr Iron Co. and contained hazardous substances.

        1014. To date, Behr Iron Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1015. According to Chemetco Site records, Defendant Behr Iron & Steel Inc. (“Behr

 Iron & Steel”) contributed at least 120,116 lbs. of materials to the Chemetco Site. These

 materials were generated by Behr Iron & Steel and contained hazardous substances.

        1016. To date, Behr Iron & Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1017. According to Chemetco Site records, Defendant Behr Metals Inc. (“Behr Metals”)

 contributed at least 234,460 lbs. of materials to the Chemetco Site. These materials were

 generated by Behr Metals and contained hazardous substances.




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        1018. To date, Behr Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1019. According to Chemetco Site records, Defendant Behr Peoria, Inc. (“Behr Peoria”)

 contributed at least 845,628 lbs. of materials to the Chemetco Site. These materials were

 generated by Behr Peoria and contained hazardous substances.

        1020. To date, Behr Peoria has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1021. According to Chemetco Site records, Defendant Behr Precious Metals Inc. (“Behr

 Precious Metals”) contributed at least 1,073,349 lbs. of materials to the Chemetco Site. These

 materials were generated by Behr Precious Metals and contained hazardous substances.

        1022. To date, Behr Precious Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1023. According to Chemetco Site records, Defendant Beko Tech & Manufacturing

 (“Beko Tech”) contributed at least 894,611 lbs. of materials to the Chemetco Site. These

 materials were generated by Beko Tech and contained hazardous substances.

        1024. To date, Beko Tech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1025. According to Chemetco Site records, Defendant Bel Fuse Inc. doing business as

 Stewart Connector Systems, Inc. (“Bel Fuse”) contributed at least 4,308 lbs. of materials to the

 Chemetco Site. These materials were generated by Bel Fuse and contained hazardous substances.

        1026. To date, Bel Fuse has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1027. Defendant Belden Inc. (“Belden”) is responsible for the waste attributable to

 Belden Communications Company (“Belden Communications”).

        1028. In or about 1996, Belden Communications was formed as a Delaware corporation.

        1029. In or about 2005, Belden Communications was dissolved.

        1030. In or about 2005, Belden was formed as Delaware corporation.

        1031. Both Belden and Belden Communications were active at 7701 Forsyth Boulevard,

 Suite 800, St. Louis, Missouri 63105.

        1032. According to Chemetco Site records, Belden Communications contributed at least

 7,315,979 lbs. of materials to the Chemetco Site. These materials were generated by Belden

 Communications and contained hazardous substances.

        1033. To date, Belden has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1034. According to Chemetco Site records, Defendant Belden Wire & Cable Company,

 LLC (“Belden Wire”) contributed at least 77,300 lbs. of materials to the Chemetco Site. These

 materials were generated by Belden Wire and contained hazardous substances.

        1035. To date, Belden Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1036. According to Chemetco Site records, Defendant Bell Bridge (“Bell Bridge”)

 contributed at least 2,000 lbs. of materials to the Chemetco Site. These materials were generated

 by Bell Bridge and contained hazardous substances.

        1037. To date, Bell Bridge has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1038. According to Chemetco Site records, Defendant Bell Foundry Co. (“Bell

 Foundry”) contributed at least 364,310 lbs. of materials to the Chemetco Site. These materials

 were generated by Bell Foundry and contained hazardous substances.

        1039. To date, Bell Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1040. According to Chemetco Site records, Defendant Bell Gardens Recycling Station

 (“Bell Gardens Recycling”) contributed at least 2,298 lbs. of materials to the Chemetco Site.

 These materials were generated by Bell Gardens Recycling and contained hazardous substances.

        1041. To date, Bell Gardens Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1042. According to Chemetco Site records, Defendant Bell Iron & Metal Co. (“Bell

 Iron”) contributed at least 3,904 lbs. of materials to the Chemetco Site. These materials were

 generated by Bell Iron and contained hazardous substances.

        1043. To date, Bell Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1044. According to Chemetco Site records, Defendant Bell Metal (“Bell Metal”)

 contributed at least 4,212 lbs. of materials to the Chemetco Site. These materials were generated

 by Bell Metal and contained hazardous substances.

        1045. To date, Bell Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1046. According to Chemetco Site records, Defendant Bellar Auto Parts (“Bellar Auto”)

 contributed at least 7,574 lbs. of materials to the Chemetco Site. These materials were generated

 by Bellar Auto and contained hazardous substances.




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        1047. To date, Bellar Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1048. According to Chemetco Site records, Defendant Belleville Recycling, Inc.

 (“Belleville Recycling”) contributed at least 80,144 lbs. of materials to the Chemetco Site. These

 materials were generated by Belleville Recycling and contained hazardous substances.

        1049. To date, Belleville Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1050. According to Chemetco Site records, Defendant Bellsouth Telecommunications,

 LLC (“Bellsouth”) contributed at least 40,762 lbs. of materials to the Chemetco Site. These

 materials were generated by Bellsouth and contained hazardous substances.

        1051. To date, Bellsouth has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1052. According to Chemetco Site records, Defendant Belmont Abbey College

 (“Belmont Abbey”) contributed at least 13,343 lbs. of materials to the Chemetco Site. These

 materials were generated by Belmont Abbey and contained hazardous substances.

        1053. To date, Belmont Abbey has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1054. According to Chemetco Site records, Defendant Belmont Metals Inc. (“Belmont

 Metals”) contributed at least 313,678 lbs. of materials to the Chemetco Site. These materials

 were generated by Belmont Metals and contained hazardous substances.

        1055. To date, Belmont Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1056. According to Chemetco Site records, Defendant Belsinger Sign Works Inc.

 (“Belsinger Sign”) contributed at least 2,983 lbs. of materials to the Chemetco Site. These

 materials were generated by Belsinger Sign and contained hazardous substances.

        1057. To date, Belsinger Sign has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1058. According to Chemetco Site records, Defendant Belson Recycling (“Belson

 Recycling”) contributed at least 1,941,615 lbs. of materials to the Chemetco Site. These

 materials were generated by Belson Recycling and contained hazardous substances.

        1059. To date, Belson Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1060. Defendant Belson Scrap Corporation (“Belson Scrap”) is responsible for the

 waste attributable to Kankakee Auto Recyclers, Inc. (“Kankakee Auto”).

        1061. According to Chemetco Site records, Kankakee Auto contributed at least 1,060

 lbs. of materials to the Chemetco Site. These materials were generated by Kankakee Auto and

 contained hazardous substances.

        1062. To date, Belson Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1063. Defendant Belson Steel Center, Inc. (“Belson Steel”) is responsible for the waste

 attributable to Belson Scrap & Steel, Inc. (“Belson Scrap”).

        1064. According to Chemetco Site records, Belson Scrap contributed at least 25,604 lbs.

 of materials to the Chemetco Site. These materials were generated by Belson Scrap and

 contained hazardous substances.




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        1065. To date, Belson Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1066. According to Chemetco Site records, Defendant Beltsville Metal (“Beltsville

 Metal”) contributed at least 16,811 lbs. of materials to the Chemetco Site. These materials were

 generated by Beltsville Metal and contained hazardous substances.

        1067. To date, Beltsville Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1068. According to Chemetco Site records, Defendant Ben Singer & Sons Inc. (“Singer

 & Sons”) contributed at least 84,855 lbs. of materials to the Chemetco Site. These materials were

 generated by Singer & Sons and contained hazardous substances.

        1069. To date, Singer & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1070. Defendant Benchmark Electronics, Inc. (“Benchmark Electronics”) is responsible

 for the waste attributable to Kent Electronics Corporation (“Kent Electronics”).

        1071. In or about 1973, Kent Electronics was formed as a Texas corporation and later

 amended its name to K*Tec Electronics Corporation (“K*Tec Electronics”).

        1072. In or about 2002, K*Tec Electronics was merged with and into Suntron

 Corporation (“Suntron”).

        1073. In or about 2013, Suntron was merged with and into Benchmark Electronics.

        1074. According to Chemetco Site records, Kent Electronics contributed at least 1,069

 lbs. of materials to the Chemetco Site. These materials were generated by Kent Electronics and

 contained hazardous substances.




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        1075. To date, Benchmark Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1076. According to Chemetco Site records, Defendant Bengart & Memel, Inc.

 (“Bengart”) contributed at least 206,257 lbs. of materials to the Chemetco Site. These materials

 were generated by Bengart and contained hazardous substances.

        1077. To date, Bengart has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1078. According to Chemetco Site records, Defendant Bennett & Cohey Junk Yard

 (“Bennett & Cohey”) contributed at least 98 lbs. of materials to the Chemetco Site. These

 materials were generated by Bennett & Cohey and contained hazardous substances.

        1079. To date, Bennett & Cohey has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1080. According to Chemetco Site records, Defendant Benson & Benson Iron & Metal

 Co. (“Benson Iron”) contributed at least 6,164,999 lbs. of materials to the Chemetco Site. These

 materials were generated by Benson Iron and contained hazardous substances.

        1081. To date, Benson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1082. According to Chemetco Site records, Defendant Berard & Jemu (“Berard &

 Jemu”) contributed at least 33 lbs. of materials to the Chemetco Site. These materials were

 generated by Berard & Jemu and contained hazardous substances.

        1083. To date, Berard & Jemu has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1084. According to Chemetco Site records, Defendant Berea Metals & Recycling

 (“Berea Metals”) contributed at least 229,844 lbs. of materials to the Chemetco Site. These

 materials were generated by Berea Metals and contained hazardous substances.

        1085. To date, Berea Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1086. According to Chemetco Site records, Defendant Bergen Recycling, Inc. (“Bergen

 Recycling”) contributed at least 411,018 lbs. of materials to the Chemetco Site. These materials

 were generated by Bergen Recycling and contained hazardous substances.

        1087. To date, Bergen Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1088. According to Chemetco Site records, Defendant Berger & Company Recycling,

 Inc. (“Berger & Co. Recycling”) contributed at least 423,207 lbs. of materials to the Chemetco

 Site. These materials were generated by Berger & Co. Recycling and contained hazardous

 substances.

        1089. To date, Berger & Co. Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1090. According to Chemetco Site records, Defendant Berger Recycling (“Berger

 Recycling”) contributed at least 94,020 lbs. of materials to the Chemetco Site. These materials

 were generated by Berger Recycling and contained hazardous substances.

        1091. To date, Berger Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1092. According to Chemetco Site records, Defendant Berger Scrap (“Berger Scrap”)

 contributed at least 4,529 lbs. of materials to the Chemetco Site. These materials were generated

 by Berger Scrap and contained hazardous substances.

        1093. To date, Berger Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1094. According to Chemetco Site records, Defendant Berman Brothers (“Berman

 Brothers”) contributed at least 1,710,134 lbs. of materials to the Chemetco Site. These materials

 were generated by Berman Brothers and contained hazardous substances.

        1095. To date, Berman Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1096. Defendant Berry Global, Inc. (“Berry Global”) is responsible for the waste

 attributable to APM, Inc. (“APM”).

        1097. In or about 2003, Berry Plastics, Inc. (“Berry Plastics”) acquired APM.

        1098. In or about 2017, Berry Plastics amended its name to Berry Global.

        1099. According to Chemetco Site records, APM contributed at least 24,281 lbs. of

 materials to the Chemetco Site. These materials were generated by APM and contained

 hazardous substances.

        1100. To date, Berry Global has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1101. According to Chemetco Site records, Defendant Berry Iron (“Berry Iron”)

 contributed at least 1,122 lbs. of materials to the Chemetco Site. These materials were generated

 by Berry Iron and contained hazardous substances.




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        1102. To date, Berry Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1103. According to Chemetco Site records, Defendant Berwein Metal Co. Inc.

 (“Berwein Metal”) contributed at least 6,026 lbs. of materials to the Chemetco Site. These

 materials were generated by Berwein Metal and contained hazardous substances.

        1104. To date, Berwein Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1105. According to Chemetco Site records, Defendant Best Radiator (“Best Radiator”)

 contributed at least 406 lbs. of materials to the Chemetco Site. These materials were generated

 by Best Radiator and contained hazardous substances.

        1106. To date, Best Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1107. According to Chemetco Site records, Defendant Best Trade Service (“Best Trade

 Service”) contributed at least 5,496 lbs. of materials to the Chemetco Site. These materials were

 generated by Best Trade Service and contained hazardous substances.

        1108. To date, Best Trade Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1109. According to Chemetco Site records, Defendant Bestway Recycling Co.

 (“Bestway Recycling”) contributed at least 2,438 lbs. of materials to the Chemetco Site. These

 materials were generated by Bestway Recycling and contained hazardous substances.

        1110. To date, Bestway Recycling has not paid any response costs incurred by the

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        1111. According to Chemetco Site records, Defendant Bethel Metal & Recyclers, Inc.

 (“Bethel Metals”) contributed at least 9,456 lbs. of materials to the Chemetco Site. These

 materials were generated by Bethel Metals and contained hazardous substances.

        1112. To date, Bethel Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1113. According to Chemetco Site records, Defendant Bethlehem Apparatus Company,

 Inc. (“Bethlehem Apparatus”) contributed at least 454,462 lbs. of materials to the Chemetco Site.

 These materials were generated by Bethlehem Apparatus and contained hazardous substances.

        1114. To date, Bethlehem Apparatus has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1115. According to Chemetco Site records, Defendant Bethlehem Steel Corp.

 (“Bethlehem Steel”) contributed at least 10,358 lbs. of materials to the Chemetco Site. These

 materials were generated by Bethlehem Steel and contained hazardous substances.

        1116. To date, Bethlehem Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1117. According to Chemetco Site records, Defendant Betten Process (“Betten

 Process”) contributed at least 22,441 lbs. of materials to the Chemetco Site. These materials were

 generated by Betten Process and contained hazardous substances.

        1118. To date, Betten Process has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1119. According to Chemetco Site records, Defendant BG Salvage, L.L.C. (“BG

 Salvage”) contributed at least 43,810 lbs. of materials to the Chemetco Site. These materials

 were generated by BG Salvage and contained hazardous substances.




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        1120. To date, BG Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1121. According to Chemetco Site records, Defendant Bick Group (“Bick”) contributed

 at least 468 lbs. of materials to the Chemetco Site. These materials were generated by Bick and

 contained hazardous substances.

        1122. To date, Bick has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        1123. According to Chemetco Site records, Defendant Bielecki Scrap (“Bielecki Scrap”)

 contributed at least 151,172 lbs. of materials to the Chemetco Site. These materials were

 generated by Bielecki Scrap and contained hazardous substances.

        1124. To date, Bielecki Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1125. According to Chemetco Site records, Defendant Big Spring Iron & Metal (“Big

 Spring”) contributed at least 796 lbs. of materials to the Chemetco Site. These materials were

 generated by Big Spring and contained hazardous substances.

        1126. To date, Big Spring has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1127. According to Chemetco Site records, Defendant Bill’s Auto (“Bill’s Auto”)

 contributed at least 163 lbs. of materials to the Chemetco Site. These materials were generated

 by Bill’s Auto and contained hazardous substances.

        1128. To date, Bill’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1129. According to Chemetco Site records, Defendant Bill’s Auto Scrap (“Bill’s Auto

 Scrap”) contributed at least 145,874 lbs. of materials to the Chemetco Site. These materials were

 generated by Bill’s Auto Scrap and contained hazardous substances.

        1130. To date, Bill’s Auto Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1131. According to Chemetco Site records, Defendant Bill’s Speed Shop (“Bill’s

 Shop”) contributed at least 199,124 lbs. of materials to the Chemetco Site. These materials were

 generated by Bill’s Shop and contained hazardous substances.

        1132. To date, Bill’s Shop has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1133. According to Chemetco Site records, Defendant Bills Radiators (“Bills

 Radiators”) contributed at least 577 lbs. of materials to the Chemetco Site. These materials were

 generated by Bills Radiators and contained hazardous substances.

        1134. To date, Bills Radiators has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1135. Defendant Biltmore Metals, Inc. (“Biltmore Metals”) is responsible for the waste

 attributable to 813 West Cermak, Inc. doing business as Biltmore Metals (“813 West Cermak”).

        1136. In or about 1981, 813 West Cermak was formed as an Illinois Corporation.

        1137. 813 West Cermak did business as Biltmore Metals, Inc.

        1138. In or about 2013, 813 West Cermak was dissolved and Biltmore Metals was

 formed.

        1139. Hal Kaplin was the CEO for both 813 West Cermak and Biltmore Metals and they

 were both located at 813-15 West Cermak Road, Chicago, Illinois.




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        1140. According to Chemetco Site records, 813 West Cermak contributed at least

 166,008 lbs. of materials to the Chemetco Site. These materials were generated by 813 West

 Cermak and contained hazardous substances.

        1141. To date, Biltmore Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1142. According to Chemetco Site records, Defendant Bistone Scrap Metal (“Bistone

 Scrap Metal”) contributed at least 3,982 lbs. of materials to the Chemetco Site. These materials

 were generated by Bistone Scrap Metal and contained hazardous substances.

        1143. To date, Bistone Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1144. According to Chemetco Site records, Defendant Black Iron (“Black Iron”)

 contributed at least 655,572 lbs. of materials to the Chemetco Site. These materials were

 generated by Black Iron and contained hazardous substances.

        1145. To date, Black Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1146. According to Chemetco Site records, Defendant Blackshear & Sons Contract

 Metals, Inc. (“Blackshear & Sons”) contributed at least 42,154 lbs. of materials to the Chemetco

 Site. These materials were generated by Blackshear & Sons and contained hazardous substances.

        1147. To date, Blackshear & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1148. According to Chemetco Site records, Defendant Blackstock (“Blackstock”)

 contributed at least 903 lbs. of materials to the Chemetco Site. These materials were generated

 by Blackstock and contained hazardous substances.




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        1149. To date, Blackstock has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1150. According to Chemetco Site records, Defendant Blacktie Truck Wrecking

 (“Blacktie Truck”) contributed at least 530 lbs. of materials to the Chemetco Site. These

 materials were generated by Blacktie Truck and contained hazardous substances.

        1151. To date, Blacktie Truck has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1152. According to Chemetco Site records, Defendant Blackwelder Core Supply

 Recycling (“Blackwelder Core”) contributed at least 32,194 lbs. of materials to the Chemetco

 Site. These materials were generated by Blackwelder Core and contained hazardous substances.

        1153. To date, Blackwelder Core has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1154. According to Chemetco Site records, Defendant Blackwelders Converter and

 Metal Recycling (“Blackwelders Recycling”) contributed at least 232,404 lbs. of materials to the

 Chemetco Site. These materials were generated by Blackwelders Recycling and contained

 hazardous substances.

        1155. To date, Blackwelders Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1156. According to Chemetco Site records, Defendant Bladensburg River Road Metal

 Co. (“Bladensburg River Road Metal”) contributed at least 627 lbs. of materials to the Chemetco

 Site. These materials were generated by Bladensburg River Road Metal and contained hazardous

 substances.




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        1157. To date, Bladensburg River Road Metal has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        1158. According to Chemetco Site records, Defendant Bladts Metal & Auto Cores

 (“Bladts Metal”) contributed at least 10,090 lbs. of materials to the Chemetco Site. These

 materials were generated by Bladts Metal and contained hazardous substances.

        1159. To date, Bladts Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1160. According to Chemetco Site records, Defendant Blaine Window Hardware Inc.

 (“Blaine Window”) contributed at least 17,346 lbs. of materials to the Chemetco Site. These

 materials were generated by Blaine Window and contained hazardous substances.

        1161. To date, Blaine Window has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1162. According to Chemetco Site records, Defendant Blattner Metal (“Blattner Metal”)

 contributed at least 5 lbs. of materials to the Chemetco Site. These materials were generated by

 Blattner Metal and contained hazardous substances.

        1163. To date, Blattner Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1164. According to Chemetco Site records, Defendant Bloch Metals, Inc. (“Bloch

 Metals”) contributed at least 429,634 lbs. of materials to the Chemetco Site. These materials

 were generated by Bloch Metals and contained hazardous substances.

        1165. To date, Bloch Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1166. According to Chemetco Site records, Defendant Blondeau Metal (“Blondeau

 Metal”) contributed at least 9,177 lbs. of materials to the Chemetco Site. These materials were

 generated by Blondeau Metal and contained hazardous substances.

        1167. To date, Blondeau Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1168. According to Chemetco Site records, Defendant Blonder & Company (“Blonder

 & Co.”) contributed at least 11,016 lbs. of materials to the Chemetco Site. These materials were

 generated by Blonder & Co. and contained hazardous substances.

        1169. To date, Blonder & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1170. According to Chemetco Site records, Defendant Blue Collar Supply (“Blue Collar

 Supply”) contributed at least 186 lbs. of materials to the Chemetco Site. These materials were

 generated by Blue Collar Supply and contained hazardous substances.

        1171. To date, Blue Collar Supply has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1172. According to Chemetco Site records, Defendant Blue Recycling, Inc. (“Blue

 Recycling”) contributed at least 74,876 lbs. of materials to the Chemetco Site. These materials

 were generated by Blue Recycling and contained hazardous substances.

        1173. To date, Blue Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1174. According to Chemetco Site records, Defendant Blue Ridge Recycling, Inc.

 (“Blue Ridge Recycling”) contributed at least 2,639 lbs. of materials to the Chemetco Site. These

 materials were generated by Blue Ridge Recycling and contained hazardous substances.




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        1175. To date, Blue Ridge Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1176. According to Chemetco Site records, Defendant Blue Springs (“Blue Springs”)

 contributed at least 6,228 lbs. of materials to the Chemetco Site. These materials were generated

 by Blue Springs and contained hazardous substances.

        1177. To date, Blue Springs has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1178. According to Chemetco Site records, Defendant Bluebird Scrap (“Bluebird

 Scrap”) contributed at least 13,743 lbs. of materials to the Chemetco Site. These materials were

 generated by Bluebird Scrap and contained hazardous substances.

        1179. To date, Bluebird Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1180. According to Chemetco Site records, Defendant Blueridge Exhaust (“Blueridge

 Exhaust”) contributed at least 233,502 lbs. of materials to the Chemetco Site. These materials

 were generated by Blueridge Exhaust and contained hazardous substances.

        1181. To date, Blueridge Exhaust has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1182. According to Chemetco Site records, Defendant Blum Company (“Blum”)

 contributed at least 43,743 lbs. of materials to the Chemetco Site. These materials were

 generated by Blum and contained hazardous substances.

        1183. To date, Blum has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        1184. According to Chemetco Site records, Defendant Blume Scrap Metal & Battery

 Mart, Inc. (“Blume Scrap”) contributed at least 17,509 lbs. of materials to the Chemetco Site.

 These materials were generated by Blume Scrap and contained hazardous substances.

        1185. To date, Blume Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1186. According to Chemetco Site records, Defendant Blytheville Iron & Metal Co.

 (“Blytheville Iron”) contributed materials to the Chemetco Site. These materials were generated

 by Blytheville Iron and contained hazardous substances.

        1187. To date, Blytheville Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1188. According to Chemetco Site records, Defendant BMB Crushing (“BMB

 Crushing”) contributed at least 6,139 lbs. of materials to the Chemetco Site. These materials

 were generated by BMB Crushing and contained hazardous substances.

        1189. To date, BMB Crushing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1190. According to Chemetco Site records, Defendant BMS Scrap (“BMS Scrap”)

 contributed at least 404 lbs. of materials to the Chemetco Site. These materials were generated

 by BMS Scrap and contained hazardous substances.

        1191. To date, BMS Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1192. According to Chemetco Site records, Defendant Board of Water Works of Pueblo,

 Colorado (“Board of Water Works”) contributed at least 44,390 lbs. of materials to the Chemetco




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 Site. These materials were generated by Board of Water Works and contained hazardous

 substances.

        1193. To date, Board of Water Works has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1194. According to Chemetco Site records, Defendant Bob Brooks Motor Company

 doing business as Precision Parts & Remanufacturing (“Brooks Motor”) contributed at least

 182,016 lbs. of materials to the Chemetco Site. These materials were generated by Brooks Motor

 and contained hazardous substances.

        1195. To date, Brooks Motor has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1196. According to Chemetco Site records, Defendant Bob Mullen Co. (“Bob Mullen”)

 contributed at least 270 lbs. of materials to the Chemetco Site. These materials were generated

 by Bob Mullen and contained hazardous substances.

        1197. To date, Bob Mullen has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1198. According to Chemetco Site records, Defendant Bodine Scrap Metal (“Bodine

 Scrap Metal”) contributed at least 6,589 lbs. of materials to the Chemetco Site. These materials

 were generated by Bodine Scrap Metal and contained hazardous substances.

        1199. To date, Bodine Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1200. According to Chemetco Site records, Defendant Bodner Metal and Iron

 Corporation (“Bodner Metal”) contributed at least 215,703 lbs. of materials to the Chemetco

 Site. These materials were generated by Bodner Metal and contained hazardous substances.




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        1201. To date, Bodner Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1202. According to Chemetco Site records, Defendant Boge Iron and Metal Company,

 Inc. (“Boge Iron”) contributed at least 2,080,132 lbs. of materials to the Chemetco Site. These

 materials were generated by Boge Iron and contained hazardous substances.

        1203. To date, Boge Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1204. According to Chemetco Site records, Defendant Boggs Auto Parts (“Boggs Auto

 Parts”) contributed at least 120,873 lbs. of materials to the Chemetco Site. These materials were

 generated by Boggs Auto Parts and contained hazardous substances.

        1205. To date, Boggs Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1206. According to Chemetco Site records, Defendant Boliden Metech (“Boliden

 Metech”) contributed at least 11,168 lbs. of materials to the Chemetco Site. These materials were

 generated by Boliden Metech and contained hazardous substances.

        1207. To date, Boliden Metech has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1208. Defendant Bolton USA Corp. (“Bolton”) is responsible for the waste attributable

 to Cerro Metal Products Company (“Cerro Metal”).

        1209. In or about 2008, Cerro Metal amended its name to Bolton.

        1210. According to Chemetco Site records, Cerro Metal contributed at least 40,333 lbs.

 of materials to the Chemetco Site. These materials were generated by Cerro Metal and contained

 hazardous substances.




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        1211. To date, Bolton has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1212. According to Chemetco Site records, Defendant Bondi Metals, Florida (“Bondi

 Metals”) contributed at least 652,466 lbs. of materials to the Chemetco Site. These materials

 were generated by Bondi Metals and contained hazardous substances.

        1213. To date, Bondi Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1214. According to Chemetco Site records, Defendant Bondi, Inc. (“Bondi”) contributed

 materials to the Chemetco Site. These materials were generated by Bondi and contained

 hazardous substances.

        1215. To date, Bondi has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1216. According to Chemetco Site records, Defendant Bonus Metal Co. (“Bonus

 Metal”) contributed at least 105,433 lbs. of materials to the Chemetco Site. These materials were

 generated by Bonus Metal and contained hazardous substances.

        1217. To date, Bonus Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1218. According to Chemetco Site records, Defendant Booth Metal (“Booth Metal”)

 contributed at least 3,000 lbs. of materials to the Chemetco Site. These materials were generated

 by Booth Metal and contained hazardous substances.

        1219. To date, Booth Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1220. According to Chemetco Site records, Defendant Boothhill Truck (“Boothhill

 Truck”) contributed at least 2,037 lbs. of materials to the Chemetco Site. These materials were

 generated by Boothhill Truck and contained hazardous substances.

        1221. To date, Boothhill Truck has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1222. Defendant Borchers Americas Inc. (“Borchers Americas”) is responsible for the

 waste attributable to OMG Americas, Inc. (“OMG Americas”).

        1223. In or about January 2017, Borchers Inc. was merged with and into OMG

 Americas.

        1224. As a result of this merger, OMG Americas amended its name to Borchers

 America.

        1225. According to Chemetco Site records, OMG Americas contributed at least 286,837

 lbs. of materials to the Chemetco Site. These materials were generated by OMG Americas and

 contained hazardous substances.

        1226. To date, Borchers Americas has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1227. According to Chemetco Site records, Defendant Border Trading (“Border Trading

 1”) contributed at least 21,725,865 lbs. of materials to the Chemetco Site. These materials were

 generated by Border Trading 1 and contained hazardous substances.

        1228. To date, Border Trading 1 has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1229. According to Chemetco Site records, Defendant Border Trading Co. (“Border

 Trading 2”) contributed at least 8,886,780 lbs. of materials to the Chemetco Site. These materials

 were generated by Border Trading 2 and contained hazardous substances.

        1230. To date, Border Trading 2 has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1231. According to Chemetco Site records, Defendant BorgWarner Inc. (“BorgWarner

 Inc.”) contributed at least 71,010 lbs. of materials to the Chemetco Site. These materials were

 generated by BorgWarner Inc. and contained hazardous substances.

        1232. To date, BorgWarner Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1233. According to Chemetco Site records, Defendant Borinquen Metals Scrap Corp.

 (“Borinquen Metals”) contributed at least 2,235,423 lbs. of materials to the Chemetco Site.

 These materials were generated by Borinquen Metals and contained hazardous substances.

        1234. To date, Borinquen Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1235. According to Chemetco Site records, Defendant Boro Auto Wrecking Company,

 Inc. (“Boro Auto”) contributed at least 1,205,635 lbs. of materials to the Chemetco Site. These

 materials were generated by Boro Auto and contained hazardous substances.

        1236. To date, Boro Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1237. According to Chemetco Site records, Defendant Boston Core Supply, Inc.

 (“Boston Core”) contributed at least 59,255 lbs. of materials to the Chemetco Site. These

 materials were generated by Boston Core and contained hazardous substances.




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        1238. To date, Boston Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1239. According to Chemetco Site records, Defendant Boston Road Auto (“Boston

 Road Auto”) contributed at least 4,158 lbs. of materials to the Chemetco Site. These materials

 were generated by Boston Road Auto and contained hazardous substances.

        1240. To date, Boston Road Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1241. According to Chemetco Site records, Defendant Bouthillette M&G Inc.

 (“Bouthillette”) contributed at least 4,595 lbs. of materials to the Chemetco Site. These materials

 were generated by Bouthillette and contained hazardous substances.

        1242. To date, Bouthillette has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1243. According to Chemetco Site records, Defendant BPS Cores, Inc. (“BPS Core”)

 contributed at least 2,312,313 lbs. of materials to the Chemetco Site. These materials were

 generated by BPS Core and contained hazardous substances.

        1244. To date, BPS Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1245. According to Chemetco Site records, Defendant Bradhart Products Inc.

 (“Bradhart”) contributed at least 483,101 lbs. of materials to the Chemetco Site. These materials

 were generated by Bradhart and contained hazardous substances.

        1246. To date, Bradhart has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1247. According to Chemetco Site records, Defendant Braeaurite Metal (“Braeaurite

 Metal”) contributed at least 1,532 lbs. of materials to the Chemetco Site. These materials were

 generated by Braeaurite Metal and contained hazardous substances.

        1248. To date, Braeaurite Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1249. According to Chemetco Site records, Defendant Brake’s Herbs & Recycling Co.

 (“Brake’s Recycling”) contributed at least 1,598 lbs. of materials to the Chemetco Site. These

 materials were generated by Brake’s Recycling and contained hazardous substances.

        1250. To date, Brake’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1251. According to Chemetco Site records, Defendant Bralco (“Bralco”) contributed at

 least 1,669 lbs. of materials to the Chemetco Site. These materials were generated by Bralco and

 contained hazardous substances.

        1252. To date, Bralco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1253. According to Chemetco Site records, Defendant Bran & Bros. (“Bran & Bros.”)

 contributed at least 1,080 lbs. of materials to the Chemetco Site. These materials were generated

 by Bran & Bros. and contained hazardous substances.

        1254. To date, Bran & Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1255. According to Chemetco Site records, Defendant Brand & Brand (“Brand &

 Brand”) contributed at least 28,889 lbs. of materials to the Chemetco Site. These materials were

 generated by Brand & Brand and contained hazardous substances.




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        1256. To date, Brand & Brand has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1257. Defendant Brandeis Machinery & Supply Company (“Brandeis”) is responsible

 for the waste attributable to Missouri-Illinois Tractor & Equipment Co., Inc. (“MO-IL Tractor”).

        1258. In or about 1989, MO-IL Tractor was merged with and into Brandeis.

        1259. According to Chemetco Site records, MO-IL Tractor contributed at least 3 lbs. of

 materials to the Chemetco Site. These materials were generated by MO-IL Tractor and contained

 hazardous substances.

        1260. To date, Brandeis has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1261. According to Chemetco Site records, Defendant Brandman (“Brandman”)

 contributed at least 1,296 lbs. of materials to the Chemetco Site. These materials were generated

 by Brandman and contained hazardous substances.

        1262. To date, Brandman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1263. According to Chemetco Site records, Defendant Brandon Radiator (“Brandon

 Radiator”) contributed at least 91,790 lbs. of materials to the Chemetco Site. These materials

 were generated by Brandon Radiator and contained hazardous substances.

        1264. To date, Brandon Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1265. According to Chemetco Site records, Defendant Brass Brother (“Brass Brother”)

 contributed at least 51,569 lbs. of materials to the Chemetco Site. These materials were

 generated by Brass Brother and contained hazardous substances.




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        1266. To date, Brass Brother has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1267. According to Chemetco Site records, Defendant Brass Craft Western Co. (“Brass

 Craft”) contributed at least 3,901 lbs. of materials to the Chemetco Site. These materials were

 generated by Brass Craft and contained hazardous substances.

        1268. To date, Brass Craft has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1269. According to Chemetco Site records, Defendant Brasscraft Manufacturing

 Company (“Brasscraft”) contributed at least 36,952 lbs. of materials to the Chemetco Site. These

 materials were generated by Brasscraft and contained hazardous substances.

        1270. Additionally, Brasscraft is responsible for the waste attributable to Thomas Mfg.

 Company of Thomasville (“Thomas”).

        1271. In or about 2003, Thomas was merged with and into Brasscraft.

        1272. According to Chemetco Site records, Thomas contributed at least 89,240 lbs. of

 materials to the Chemetco Site. These materials were generated by Thomas and contained

 hazardous substances.

        1273. To date, Brasscraft has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1274. According to Chemetco Site records, Defendant Brazoria County Disposal

 Corporation (“Brazoria County Disposal”) contributed at least 70,734 lbs. of materials to the

 Chemetco Site. These materials were generated by Brazoria County Disposal and contained

 hazardous substances.




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        1275. To date, Brazoria County Disposal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1276. According to Chemetco Site records, Defendant Breiter Metals Inc. (“Breiter

 Metals”) contributed at least 101,180 lbs. of materials to the Chemetco Site. These materials

 were generated by Breiter Metals and contained hazardous substances.

        1277. To date, Breiter Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1278. According to Chemetco Site records, Defendant Brenner Iron (“Brenner Iron”)

 contributed at least 253 lbs. of materials to the Chemetco Site. These materials were generated

 by Brenner Iron and contained hazardous substances.

        1279. To date, Brenner Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1280. According to Chemetco Site records, Defendant Brian H. Smith Demolition and

 Dismantling Inc. doing business as Northwest Demolition and Dismantling (“BHS Demolition”)

 contributed at least 23,664 lbs. of materials to the Chemetco Site. These materials were

 generated by BHS Demolition and contained hazardous substances.

        1281. To date, BHS Demolition has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1282. According to Chemetco Site records, Defendant Bridgewater Recycling, Inc.

 (“Bridgewater Recycling”) contributed at least 46,894 lbs. of materials to the Chemetco Site.

 These materials were generated by Bridgewater Recycling and contained hazardous substances.

        1283. To date, Bridgewater Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1284. According to Chemetco Site records, Defendant Briggs & Heino Plumbing &

 Heating Co., Inc. (“Briggs & Heino”) contributed at least 2,135 lbs. of materials to the Chemetco

 Site. These materials were generated by Briggs & Heino and contained hazardous substances.

        1285. To date, Briggs & Heino has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1286. According to Chemetco Site records, Defendant Briones Metal (“Briones Metal”)

 contributed at least 1,248 lbs. of materials to the Chemetco Site. These materials were generated

 by Briones Metal and contained hazardous substances.

        1287. To date, Briones Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1288. According to Chemetco Site records, Defendant Bristol Metal (“Bristol Metal”)

 contributed at least 40,478 lbs. of materials to the Chemetco Site. These materials were

 generated by Bristol Metal and contained hazardous substances.

        1289. To date, Bristol Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1290. According to Chemetco Site records, Defendant Broadway Alloys (“Broadway

 Alloys”) contributed at least 793,908 lbs. of materials to the Chemetco Site. These materials

 were generated by Broadway Alloys and contained hazardous substances.

        1291. To date, Broadway Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1292. According to Chemetco Site records, Defendant Broadway Iron (“Broadway

 Iron”) contributed at least 29,530 lbs. of materials to the Chemetco Site. These materials were

 generated by Broadway Iron and contained hazardous substances.




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        1293. To date, Broadway Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1294. According to Chemetco Site records, Defendant Brock Int. (“Brock Int.”)

 contributed at least 3,456 lbs. of materials to the Chemetco Site. These materials were generated

 by Brock Int. and contained hazardous substances.

        1295. To date, Brock Int has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1296. According to Chemetco Site records, Defendant Brockton Iron & Steel

 Corporation (“Brockton Steel”) contributed at least 78,517 lbs. of materials to the Chemetco Site.

 These materials were generated by Brockton Steel and contained hazardous substances.

        1297. To date, Brockton Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1298. According to Chemetco Site records, Defendant Brody Scrap (“Brody Scrap”)

 contributed at least 116,373 lbs. of materials to the Chemetco Site. These materials were

 generated by Brody Scrap and contained hazardous substances.

        1299. To date, Brody Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1300. According to Chemetco Site records, Defendant Bronx Iron (“Bronx Iron”)

 contributed at least 2,540 lbs. of materials to the Chemetco Site. These materials were generated

 by Bronx Iron and contained hazardous substances.

        1301. To date, Bronx Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1302. According to Chemetco Site records, Defendant Brookfield Metal (“Brookfield

 Metal”) contributed at least 291 lbs. of materials to the Chemetco Site. These materials were

 generated by Brookfield Metal and contained hazardous substances.

        1303. To date, Brookfield Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1304. According to Chemetco Site records, Defendant Brookman Auto (“Brookman

 Auto”) contributed at least 7,952 lbs. of materials to the Chemetco Site. These materials were

 generated by Brookman Auto and contained hazardous substances.

        1305. To date, Brookman Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1306. According to Chemetco Site records, Defendant Broom’s Auto Salvage

 (“Broom’s Auto”) contributed at least 165 lbs. of materials to the Chemetco Site. These materials

 were generated by Broom’s Auto and contained hazardous substances.

        1307. To date, Broom’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1308. According to Chemetco Site records, Defendant The Brost Foundry Company

 (“Brost Foundry”) contributed at least 303,683 lbs. of materials to the Chemetco Site. These

 materials were generated by Brost Foundry and contained hazardous substances.

        1309. To date, Brost Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1310. According to Chemetco Site records, Defendant Bruck Scrap Metal (“Bruck

 Scrap Metal”) contributed at least 3,511 lbs. of materials to the Chemetco Site. These materials

 were generated by Bruck Scrap Metal and contained hazardous substances.




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        1311. To date, Bruck Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1312. According to Chemetco Site records, Defendant Bruno’s Iron and Metal

 Recycling (“Bruno’s Recycling”) contributed at least 214,650 lbs. of materials to the Chemetco

 Site. These materials were generated by Bruno’s Recycling and contained hazardous substances.

        1313. To date, Bruno’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1314. According to Chemetco Site records, Defendant Brunstedt & Lambert Systems,

 Inc. (“Brunstedt”) contributed at least 463 lbs. of materials to the Chemetco Site. These materials

 were generated by Brunstedt and contained hazardous substances.

        1315. To date, Brunstedt has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1316. According to Chemetco Site records, Defendant Brunswick Metal (“Brunswick

 Metal”) contributed at least 3,675 lbs. of materials to the Chemetco Site. These materials were

 generated by Brunswick Metal and contained hazardous substances.

        1317. To date, Brunswick Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1318. According to Chemetco Site records, Defendant Buck Company, Inc. (“Buck”)

 contributed at least 167,578 lbs. of materials to the Chemetco Site. These materials were

 generated by Buck and contained hazardous substances.

        1319. To date, Buck has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        1320. According to Chemetco Site records, Defendant Buckman Iron & Metal Company

 Inc. (“Buckman Iron”) contributed at least 153,512 lbs. of materials to the Chemetco Site. These

 materials were generated by Buckman Iron and contained hazardous substances.

        1321. To date, Buckman Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1322. According to Chemetco Site records, Defendant Bud’s Auto Parts & Used Car

 Sales (“Bud’s Auto Parts”) contributed at least 14,076 lbs. of materials to the Chemetco Site.

 These materials were generated by Bud’s Auto Parts and contained hazardous substances.

        1323. To date, Bud’s Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1324. According to Chemetco Site records, Defendant Bud’s Iron & Metal (“Bud’s

 Iron”) contributed at least 291,026 lbs. of materials to the Chemetco Site. These materials were

 generated by Bud’s Iron and contained hazardous substances.

        1325. To date, Bud’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1326. According to Chemetco Site records, Defendant Buddy’s Auto (“Buddy’s Auto”)

 contributed at least 9,465 lbs. of materials to the Chemetco Site. These materials were generated

 by Buddy’s Auto and contained hazardous substances.

        1327. To date, Buddy’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1328. According to Chemetco Site records, Defendant Buffalo Cats (“Buffalo Cats”)

 contributed at least 9,565 lbs. of materials to the Chemetco Site. These materials were generated

 by Buffalo Cats and contained hazardous substances.




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        1329. To date, Buffalo Cats has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1330. According to Chemetco Site records, Defendant Buffered Junk (“Buffered Junk”)

 contributed at least 1,938 lbs. of materials to the Chemetco Site. These materials were generated

 by Buffered Junk and contained hazardous substances.

        1331. To date, Buffered Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1332. According to Chemetco Site records, Defendant Bugsyn Radiator (“Bugsyn

 Radiator”) contributed at least 1,735 lbs. of materials to the Chemetco Site. These materials were

 generated by Bugsyn Radiator and contained hazardous substances.

        1333. To date, Bugsyn Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1334. Defendant Bulldog Disposal & Recycling, Inc. (“Bulldog Disposal”) is

 responsible for the waste attributable to Dumpster Divers Recycling Services (“Dumpster

 Divers”).

        1335. According to Chemetco Site records, Dumpster Divers contributed at least 31,688

 lbs. of materials to the Chemetco Site. These materials were generated by Dumpster Divers and

 contained hazardous substances.

        1336. To date, Bulldog Disposal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1337. According to Chemetco Site records, Defendant Bunting Bearings Corp.

 (“Bunting Bearings”) contributed at least 1,009,241 lbs. of materials to the Chemetco Site. These

 materials were generated by Bunting Bearings and contained hazardous substances.




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        1338. To date, Bunting Bearings has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1339. According to Chemetco Site records, Defendant Burden Recycling & Salvage

 (“Burden Recycling”) contributed at least 12,471 lbs. of materials to the Chemetco Site. These

 materials were generated by Burden Recycling and contained hazardous substances.

        1340. To date, Burden Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1341. According to Chemetco Site records, Defendant Burdett Recycling (“Burdett

 Recycling”) contributed at least 6,025 lbs. of materials to the Chemetco Site. These materials

 were generated by Burdett Recycling and contained hazardous substances.

        1342. To date, Burdett Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1343. According to Chemetco Site records, Defendant Burns Iron & Metal Co. Inc.

 (“Burns Metal”) contributed at least 42,004 lbs. of materials to the Chemetco Site. These

 materials were generated by Burns Metal and contained hazardous substances.

        1344. To date, Burns Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1345. According to Chemetco Site records, Defendant Burnstein Precision (“Burnstein

 Precision”) contributed at least 1,416,531 lbs. of materials to the Chemetco Site. These materials

 were generated by Burnstein Precision and contained hazardous substances.

        1346. To date, Burnstein Precision has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1347. According to Chemetco Site records, Defendant Bush’s Recycling, Inc. doing

 business as Bush’s Recycling Center (“Bush’s Recycling”) contributed at least 119,408 lbs. of

 materials to the Chemetco Site. These materials were generated by Bush’s Recycling and

 contained hazardous substances.

        1348. To date, Bush’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1349. According to Chemetco Site records, Defendant Bussman (“Bussman”)

 contributed at least 8 lbs. of materials to the Chemetco Site. These materials were generated by

 Bussman and contained hazardous substances.

        1350. To date, Bussman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1351. According to Chemetco Site records, Defendant Busy Metal Co. (“Busy Metal”)

 contributed at least 2,542 lbs. of materials to the Chemetco Site. These materials were generated

 by Busy Metal and contained hazardous substances.

        1352. To date, Busy Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1353. According to Chemetco Site records, Defendant Butchs Scrap Metals (“Butchs

 Scrap”) contributed at least 63,958 lbs. of materials to the Chemetco Site. These materials were

 generated by Butchs Scrap and contained hazardous substances.

        1354. To date, Butchs Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1355. According to Chemetco Site records, Defendant Butler-MacDonald, Inc. (“Butler-

 MacDonald”) contributed at least 34,680 lbs. of materials to the Chemetco Site. These materials

 were generated by Butler-MacDonald and contained hazardous substances.

        1356. To date, Butler-MacDonald has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1357. According to Chemetco Site records, Defendant Buy Rite Radiator (“Buy Rite

 Radiator”) contributed at least 12,201 lbs. of materials to the Chemetco Site. These materials

 were generated by Buy Rite Radiator and contained hazardous substances.

        1358. To date, Buy Rite Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1359. According to Chemetco Site records, Defendant C.A. Zimmer, Inc. (“Zimmer

 Inc.”) contributed at least 3,638 lbs. of materials to the Chemetco Site. These materials were

 generated by Zimmer Inc. and contained hazardous substances.

        1360. To date, Zimmer Inc. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1361. According to Chemetco Site records, Defendant C.I. Green Line S.A. (“Green

 Line”) contributed at least 78,648 lbs. of materials to the Chemetco Site. These materials were

 generated by Green Line and contained hazardous substances.

        1362. To date, Green Line has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1363. According to Chemetco Site records, Defendant C.I. Metales Y Metales De

 Occidente S.A. (“C.I. Metales”) contributed at least 143,475 lbs. of materials to the Chemetco

 Site. These materials were generated by C.I. Metales and contained hazardous substances.




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        1364. To date, C.I. Metales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1365. According to Chemetco Site records, Defendant C.I.I. Midtex (“C.I.I. Midtex”)

 contributed at least 5,694 lbs. of materials to the Chemetco Site. These materials were generated

 by C.I.I. Midtex and contained hazardous substances.

        1366. To date, C.I.I. Midtex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1367. According to Chemetco Site records, Defendant C.K. Metals (“CK Metals”)

 contributed at least 10,358 lbs. of materials to the Chemetco Site. These materials were

 generated by CK Metals and contained hazardous substances.

        1368. To date, CK Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1369. According to Chemetco Site records, Defendant C.M. Gary (“C.M. Gary”)

 contributed at least 12,211 lbs. of materials to the Chemetco Site. These materials were

 generated by C.M. Gary and contained hazardous substances.

        1370. To date, C.M. Gary has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1371. According to Chemetco Site records, Defendant C.R. Binder General Contractors

 LLC (“CR Binder”) contributed at least 5,782 lbs. of materials to the Chemetco Site. These

 materials were generated by CR Binder and contained hazardous substances.

        1372. To date, CR Binder has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1373. According to Chemetco Site records, Defendant C&C Metals (“C&C Metals”)

 contributed at least 5,436 lbs. of materials to the Chemetco Site. These materials were generated

 by C&C Metals and contained hazardous substances.

        1374. To date, C&C Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1375. According to Chemetco Site records, Defendant C&C Metals Inc. (“C&C Metals

 Inc.”) contributed at least 1,258,700 lbs. of materials to the Chemetco Site. These materials were

 generated by C&C Metals Inc. and contained hazardous substances.

        1376. To date, C&C Metals Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1377. Defendant C&C Scrap Services, Inc. ("C&C Scrap") is responsible for the waste

 attributable to D&M Metals Inc. (“D&M Metals”).

        1378. On or about September 17, 2013, C&C Scrap acquired D&M.

        1379. According to Chemetco Site records, D&M Metals contributed at least 249,628

 lbs. of materials to the Chemetco Site. These materials were generated by D&M Metals and

 contained hazardous substances.

        1380. To date, C&C Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1381. According to Chemetco Site records, Defendant C&D Technologies, Inc. (“C&D

 Technologies”) contributed at least 2,084 lbs. of materials to the Chemetco Site. These materials

 were generated by C&D Technologies and contained hazardous substances.

        1382. To date, C&D Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1383. According to Chemetco Site records, Defendant C&G Salvage (“C&G Salvage”)

 contributed at least 55,595 lbs. of materials to the Chemetco Site. These materials were

 generated by C&G Salvage and contained hazardous substances.

        1384. To date, C&G Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1385. According to Chemetco Site records, Defendant C&L Salvage (“C&L Salvage”)

 contributed at least 678 lbs. of materials to the Chemetco Site. These materials were generated

 by C&L Salvage and contained hazardous substances.

        1386. To date, C&L Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1387. According to Chemetco Site records, Defendant C&M Metals, Inc. (“C&M

 Metals”) contributed at least 106,887 lbs. of materials to the Chemetco Site. These materials

 were generated by C&M Metals and contained hazardous substances.

        1388. To date, C&M Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1389. According to Chemetco Site records, Defendant C&M R&D (“C&M”)

 contributed at least 6,468 lbs. of materials to the Chemetco Site. These materials were generated

 by C&M and contained hazardous substances.

        1390. To date, C&M has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1391. According to Chemetco Site records, Defendant C&M Recycling (“C&M

 Recycling”) contributed at least 25,721 lbs. of materials to the Chemetco Site. These materials

 were generated by C&M Recycling and contained hazardous substances.




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        1392. To date, C&M Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1393. According to Chemetco Site records, Defendant C&R Metals, Inc. (“C&R

 Metals”) contributed at least 114,240 lbs. of materials to the Chemetco Site. These materials

 were generated by C&R Metals and contained hazardous substances.

        1394. To date, C&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1395. According to Chemetco Site records, Defendant C&R Recycling (“C&R

 Recycling”) contributed at least 371 lbs. of materials to the Chemetco Site. These materials were

 generated by C&R Recycling and contained hazardous substances.

        1396. To date, C&R Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1397. According to Chemetco Site records, Defendant C&S Gold Co. (“C&S Gold”)

 contributed at least 28,773 lbs. of materials to the Chemetco Site. These materials were

 generated by C&S Gold and contained hazardous substances.

        1398. To date, C&S Gold has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1399. According to Chemetco Site records, Defendant C&S Metals (“C&S Metals”)

 contributed at least 273,645 lbs. of materials to the Chemetco Site. These materials were

 generated by C&S Metals and contained hazardous substances.

        1400. To date, C&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1401. According to Chemetco Site records, Defendant C&S Metals/Valley Metals

 (“C&S/Valley Metals”) contributed at least 446,250 lbs. of materials to the Chemetco Site. These

 materials were generated by C&S/Valley Metals and contained hazardous substances.

        1402. To date, C&S/Valley Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1403. According to Chemetco Site records, Defendant C&S Scrap Metal (“C&S Scrap

 Metal”) contributed at least 90 lbs. of materials to the Chemetco Site. These materials were

 generated by C&S Scrap Metal and contained hazardous substances.

        1404. To date, C&S Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1405. According to Chemetco Site records, Defendant C&T Contracting (“C&T

 Contracting”) contributed at least 1,579 lbs. of materials to the Chemetco Site. These materials

 were generated by C&T Contracting and contained hazardous substances.

        1406. To date, C&T Contracting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1407. According to Chemetco Site records, Defendant C&W (“C&W”) contributed at

 least 1,646 lbs. of materials to the Chemetco Site. These materials were generated by C&W and

 contained hazardous substances.

        1408. To date, C&W has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1409. According to Chemetco Site records, Defendant C&W Enterprises (“C&W

 Enterprises”) contributed at least 1,225 lbs. of materials to the Chemetco Site. These materials

 were generated by C&W Enterprises and contained hazardous substances.




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        1410. To date, C&W Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1411. According to Chemetco Site records, Defendant Cable Recovery Inc. (“Cable

 Recovery”) contributed at least 1,081,126 lbs. of materials to the Chemetco Site. These materials

 were generated by Cable Recovery and contained hazardous substances.

        1412. To date, Cable Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1413. According to Chemetco Site records, Defendant Cable Recycling, Inc. (“Cable

 Recycling”) contributed materials to the Chemetco Site. These materials were generated by

 Cable Recycling and contained hazardous substances.

        1414. To date, Cable Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1415. According to Chemetco Site records, Defendant Cable Solutions (“Cable

 Solutions”) contributed at least 1,394 lbs. of materials to the Chemetco Site. These materials

 were generated by Cable Solutions and contained hazardous substances.

        1416. To date, Cable Solutions has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1417. According to Chemetco Site records, Defendant Cactus Recycling (“Cactus

 Recycling”) contributed at least 755,520 lbs. of materials to the Chemetco Site. These materials

 were generated by Cactus Recycling and contained hazardous substances.

        1418. To date, Cactus Recycling has not paid any response costs incurred by the

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        1419. According to Chemetco Site records, Defendant Cal Chem Metals, Inc. (“Cal

 Chem Metals”) contributed at least 72,307 lbs. of materials to the Chemetco Site. These

 materials were generated by Cal Chem Metals and contained hazardous substances.

        1420. To date, Cal Chem Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1421. According to Chemetco Site records, Defendant Cal Coil Magnetics, Inc. (“Cal

 Coil”) contributed at least 428 lbs. of materials to the Chemetco Site. These materials were

 generated by Cal Coil and contained hazardous substances.

        1422. To date, Cal Coil has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1423. According to Chemetco Site records, Defendant Cal-Coast Recycling Inc. (“Cal-

 Coast”) contributed at least 264 lbs. of materials to the Chemetco Site. These materials were

 generated by Cal-Coast and contained hazardous substances.

        1424. To date, Cal-Coast has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1425. According to Chemetco Site records, Defendant Calbag Metals Co. (“Calbag

 Metals”) contributed at least 175,405 lbs. of materials to the Chemetco Site. These materials

 were generated by Calbag Metals and contained hazardous substances.

        1426. To date, Calbag Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1427. According to Chemetco Site records, Defendant California Metals Recycling, Inc.

 (“California Metals”) contributed at least 167,386 lbs. of materials to the Chemetco Site. These

 materials were generated by California Metals and contained hazardous substances.




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        1428. To date, California Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1429. According to Chemetco Site records, Defendant Calmet Trading (“Calmet

 Trading”) contributed at least 3,079 lbs. of materials to the Chemetco Site. These materials were

 generated by Calmet Trading and contained hazardous substances.

        1430. To date, Calmet Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1431. According to Chemetco Site records, Defendant Calumet Brass Foundry, Inc.

 (“Calumet Brass”) contributed at least 29,542 lbs. of materials to the Chemetco Site. These

 materials were generated by Calumet Brass and contained hazardous substances.

        1432. To date, Calumet Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1433. According to Chemetco Site records, Defendant Calvert’s Scrap (“Calvert’s

 Scrap”) contributed at least 76,360 lbs. of materials to the Chemetco Site. These materials were

 generated by Calvert’s Scrap and contained hazardous substances.

        1434. To date, Calvert’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1435. According to Chemetco Site records, Defendant Cambria Metals (“Cambria

 Metals”) contributed at least 433,326 lbs. of materials to the Chemetco Site. These materials

 were generated by Cambria Metals and contained hazardous substances.

        1436. To date, Cambria Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1437. According to Chemetco Site records, Defendant Cambridge Recycling

 (“Cambridge Recycling”) contributed at least 42 lbs. of materials to the Chemetco Site. These

 materials were generated by Cambridge Recycling and contained hazardous substances.

        1438. To date, Cambridge Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1439. According to Chemetco Site records, Defendant Cambridge-Lee Industries LLC

 (“Cambridge-Lee”) contributed at least 551,728 lbs. of materials to the Chemetco Site. These

 materials were generated by Cambridge-Lee and contained hazardous substances.

        1440. Additionally, Cambridge-Lee is responsible for the waste attributable to Reading

 Tube Corporation (“Reading Tube Corp.”).

        1441. In or about 1996, Cambridge-Lee acquired Reading Tube Corp.

        1442. Thereafter, Reading Tube Corp. operated as a division of Cambridge-Lee.

        1443. According to Chemetco Site records, Reading Tube Corp. contributed at least

 259,804 lbs. of materials to the Chemetco Site. These materials were generated by Reading Tube

 Corp. and contained hazardous substances.

        1444. To date, Cambridge-Lee has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1445. Defendant Camden Iron & Metal, Inc. (“Camden Iron”) is responsible for the

 waste attributable to Bantivoglio Metals, Inc. (“Bantivoglio Metals”).

        1446. According to Chemetco Site records, Bantivoglio Metals contributed at least

 337,592 lbs. of materials to the Chemetco Site. These materials were generated by Bantivoglio

 Metals and contained hazardous substances.




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        1447. Additionally, Camden Iron is responsible for the waste attributable to N.

 Bantivoglio’s Sons, Inc. (“N. Bantivoglio”).

        1448. According to Chemetco Site records, N. Bantivoglio contributed at least 77,920

 lbs. of materials to the Chemetco Site. These materials were generated by N. Bantivoglio and

 contained hazardous substances.

        1449. To date, Camden Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1450. According to Chemetco Site records, Defendant Camden Steel (“Camden Steel”)

 contributed at least 5,890 lbs. of materials to the Chemetco Site. These materials were generated

 by Camden Steel and contained hazardous substances.

        1451. To date, Camden Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1452. According to Chemetco Site records, Defendant Campbell Scrap (“Campbell

 Scrap”) contributed at least 6,847 lbs. of materials to the Chemetco Site. These materials were

 generated by Campbell Scrap and contained hazardous substances.

        1453. To date, Campbell Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1454. According to Chemetco Site records, Defendant Campbell Technological

 Resources, Inc. (“Campbell Resources”) contributed at least 80,920 lbs. of materials to the

 Chemetco Site. These materials were generated by Campbell Resources and contained hazardous

 substances.

        1455. To date, Campbell Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1456. According to Chemetco Site records, Defendant Can Depot Recycling (“Can

 Depot Recycling”) contributed at least 248,246 lbs. of materials to the Chemetco Site. These

 materials were generated by Can Depot Recycling and contained hazardous substances.

        1457. To date, Can Depot Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1458. According to Chemetco Site records, Defendant Can Doo Recycling (“Can Doo

 Recycling”) contributed at least 62,232 lbs. of materials to the Chemetco Site. These materials

 were generated by Can Doo Recycling and contained hazardous substances.

        1459. To date, Can Doo Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1460. According to Chemetco Site records, Defendant Can Handler Recycling (“Can

 Handler”) contributed at least 32,630 lbs. of materials to the Chemetco Site. These materials

 were generated by Can Handler and contained hazardous substances.

        1461. To date, Can Handler has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1462. According to Chemetco Site records, Defendant Can Heaven Recycling (“Can

 Heaven Recycling”) contributed at least 1,348 lbs. of materials to the Chemetco Site. These

 materials were generated by Can Heaven Recycling and contained hazardous substances.

        1463. To date, Can Heaven Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1464. According to Chemetco Site records, Defendant Can Land Recycling (“Can Land

 Recycling”) contributed at least 493 lbs. of materials to the Chemetco Site. These materials were

 generated by Can Land Recycling and contained hazardous substances.




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        1465. To date, Can Land Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1466. According to Chemetco Site records, Defendant Can Man (“Can Man”)

 contributed at least 19,741 lbs. of materials to the Chemetco Site. These materials were

 generated by Can Man and contained hazardous substances.

        1467. To date, Can Man has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1468. According to Chemetco Site records, Defendant Can Man Industry (“Can Man

 Industry”) contributed at least 2,085 lbs. of materials to the Chemetco Site. These materials were

 generated by Can Man Industry and contained hazardous substances.

        1469. To date, Can Man Industry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1470. According to Chemetco Site records, Defendant Can-Core (“Can-Core”)

 contributed at least 159,119 lbs. of materials to the Chemetco Site. These materials were

 generated by Can-Core and contained hazardous substances.

        1471. To date, Can-Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1472. Defendant Canada Metal North America Ltd. (“Canada Metal NA”) is responsible

 for the waste attributable to Canada Metal Ltd. and/or Canada Metal Western Ltd. (“Canada

 Metal Western”).

        1473. In or about 2016, Canada Metal Ltd. amended its name to Canada Metal.




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        1474. According to Chemetco Site records, Canada Metal Western contributed at least

 29,440 lbs. of materials to the Chemetco Site. These materials were generated by Canada Metal

 Western and contained hazardous substances.

        1475. To date, Canada Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1476. According to Chemetco Site records, Defendant Canbro Inc. (“Canbro”)

 contributed at least 26,616 lbs. of materials to the Chemetco Site. These materials were

 generated by Canbro and contained hazardous substances.

        1477. To date, Canbro has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1478. According to Chemetco Site records, Defendant Canco Recycling (“Canco

 Recycling”) contributed at least 1,974 lbs. of materials to the Chemetco Site. These materials

 were generated by Canco Recycling and contained hazardous substances.

        1479. To date, Canco Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1480. According to Chemetco Site records, Defendant Canfield Quality (“Canfield

 Quality”) contributed at least 179,505 lbs. of materials to the Chemetco Site. These materials

 were generated by Canfield Quality and contained hazardous substances.

        1481. To date, Canfield Quality has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1482. According to Chemetco Site records, Defendant Canmet Alloys (“Canmet

 Alloys”) contributed at least 29,641 lbs. of materials to the Chemetco Site. These materials were

 generated by Canmet Alloys and contained hazardous substances.




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        1483. To date, Canmet Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1484. According to Chemetco Site records, Defendant Canter Metals (“Canter Metals”)

 contributed at least 121,026 lbs. of materials to the Chemetco Site. These materials were

 generated by Canter Metals and contained hazardous substances.

        1485. To date, Canter Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1486. Defendant Canton Metal Recycling LLC (“Canton Metal”) is responsible for the

 waste attributable to Cambridge Iron and Metal Co., Inc. (“Cambridge Iron”).

        1487. According to Chemetco Site records, Cambridge Iron contributed at least 118,527

 lbs. of materials to the Chemetco Site. These materials were generated by Cambridge Iron and

 contained hazardous substances.

        1488. To date, Canton Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1489. According to Chemetco Site records, Defendant Cap’s Auto Wrecking (“Cap’s

 Auto Wrecking”) contributed at least 18,048 lbs. of materials to the Chemetco Site. These

 materials were generated by Cap’s Auto Wrecking and contained hazardous substances.

        1490. To date, Cap’s Auto Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1491. According to Chemetco Site records, Defendant Cape Fear Recyclers Inc. (“Cape

 Fear Recyclers”) contributed at least 198,729 lbs. of materials to the Chemetco Site. These

 materials were generated by Cape Fear Recyclers and contained hazardous substances.




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        1492. To date, Cape Fear Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1493. According to Chemetco Site records, Defendant Capistrano Cores (“Capistrano

 Cores”) contributed at least 2,727 lbs. of materials to the Chemetco Site. These materials were

 generated by Capistrano Cores and contained hazardous substances.

        1494. To date, Capistrano Cores has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1495. According to Chemetco Site records, Defendant Capital City (“Capital City”)

 contributed at least 573 lbs. of materials to the Chemetco Site. These materials were generated

 by Capital City and contained hazardous substances.

        1496. To date, Capital City has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1497. According to Chemetco Site records, Defendant Capital Cores & Metals (“Capital

 Cores & Metals”) contributed at least 6,266 lbs. of materials to the Chemetco Site. These

 materials were generated by Capital Cores & Metals and contained hazardous substances.

        1498. To date, Capital Cores & Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1499. According to Chemetco Site records, Defendant Capital Metal (“Capital Metal”)

 contributed at least 1,593 lbs. of materials to the Chemetco Site. These materials were generated

 by Capital Metal and contained hazardous substances.

        1500. To date, Capital Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1501. According to Chemetco Site records, Defendant Capital Recycling (“Capital

 Recycling”) contributed at least 1,711 lbs. of materials to the Chemetco Site. These materials

 were generated by Capital Recycling and contained hazardous substances.

        1502. To date, Capital Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1503. According to Chemetco Site records, Defendant Capital Scrap (“Capital Scrap”)

 contributed at least 384 lbs. of materials to the Chemetco Site. These materials were generated

 by Capital Scrap and contained hazardous substances.

        1504. To date, Capital Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1505. According to Chemetco Site records, Defendant Capital Scrap Metal Co.

 (“Capital Scrap Metal”) contributed at least 2,342 lbs. of materials to the Chemetco Site. These

 materials were generated by Capital Scrap Metal and contained hazardous substances.

        1506. To date, Capital Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1507. According to Chemetco Site records, Defendant Capital Stamp (“Capital Stamp”)

 contributed at least 44,899 lbs. of materials to the Chemetco Site. These materials were

 generated by Capital Stamp and contained hazardous substances.

        1508. To date, Capital Stamp has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1509. According to Chemetco Site records, Defendant Capitol City Metals, LLC

 (“Capitol City Metals”) contributed at least 118,543 lbs. of materials to the Chemetco Site. These

 materials were generated by Capitol City Metals and contained hazardous substances.




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        1510. To date, Capitol City Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1511. According to Chemetco Site records, Defendant Capper Pass (“Capper Pass”)

 contributed at least 17,941 lbs. of materials to the Chemetco Site. These materials were

 generated by Capper Pass and contained hazardous substances.

        1512. To date, Capper Pass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1513. Defendant Cardinal Health, Inc. (“Cardinal Health”) is responsible for the waste

 attributable to Geodax Technology, Inc. (“Geodax Tech”).

        1514. On or about July 2, 2004, Geodax Tech was acquired by and merged with and

 into Cardinal Health.

        1515. According to Chemetco Site records, Geodax Tech contributed at least 7,026 lbs.

 of materials to the Chemetco Site. These materials were generated by Geodax Tech and

 contained hazardous substances.

        1516. Additionally, Cardinal Health is responsible for the waste attributable to Syncor

 International Corp. (“Syncor”).

        1517. In or about December 2002, Syncor was acquired by and merged with and into

 Cardinal Health.

        1518. According to Chemetco Site records, Syncor contributed at least 8,960 lbs. of

 materials to the Chemetco Site. These materials were generated by Syncor and contained

 hazardous substances.

        1519. To date, Cardinal Health has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1520. According to Chemetco Site records, Defendant Cardinal Stabilizers, Inc.

 (“Cardinal Stabilizers”) contributed at least 239,958 lbs. of materials to the Chemetco Site. These

 materials were generated by Cardinal Stabilizers and contained hazardous substances.

        1521. To date, Cardinal Stabilizers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1522. According to Chemetco Site records, Defendant Caribbean Recycling, Inc.

 (“Caribbean Recycling”) contributed at least 53,512 lbs. of materials to the Chemetco Site. These

 materials were generated by Caribbean Recycling and contained hazardous substances.

        1523. To date, Caribbean Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1524. According to Chemetco Site records, Defendant Carl’s Auto Parts (“Carl’s Auto

 Parts”) contributed at least 10,637 lbs. of materials to the Chemetco Site. These materials were

 generated by Carl’s Auto Parts and contained hazardous substances.

        1525. To date, Carl’s Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1526. According to Chemetco Site records, Defendant Carleton Iron and Metals, Inc.

 (“Carleton Iron”) contributed at least 3,144,337 lbs. of materials to the Chemetco Site. These

 materials were generated by Carleton Iron and contained hazardous substances.

        1527. To date, Carleton Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1528. According to Chemetco Site records, Defendant Carlomagno Scrap Corporation

 (“Carlomagno”) contributed at least 225,379 lbs. of materials to the Chemetco Site. These

 materials were generated by Carlomagno and contained hazardous substances.




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        1529. To date, Carlomagno has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1530. According to Chemetco Site records, Defendant Carolinas Medical Center at

 Home, LLC (“Carolinas Medical”) contributed at least 6,508 lbs. of materials to the Chemetco

 Site. These materials were generated by Carolinas Medical and contained hazardous substances.

        1531. To date, Carolinas Medical has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1532. According to Chemetco Site records, Defendant Carolinas Recycling Group

 (“Carolinas Recycling”) contributed at least 3,930 lbs. of materials to the Chemetco Site. These

 materials were generated by Carolinas Recycling and contained hazardous substances.

        1533. To date, Carolinas Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1534. According to Chemetco Site records, Defendant Carr Futures (“Carr Futures”)

 contributed at least 43,261 lbs. of materials to the Chemetco Site. These materials were

 generated by Carr Futures and contained hazardous substances.

        1535. To date, Carr Futures has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1536. According to Chemetco Site records, Defendant Carribean Recycling Inc.

 (“Carribean Recycling”) contributed at least 164,870 lbs. of materials to the Chemetco Site.

 These materials were generated by Carribean Recycling and contained hazardous substances.

        1537. To date, Carribean Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1538. According to Chemetco Site records, Defendant Carrico Auto-Heap (“Carrico”)

 contributed at least 449 lbs. of materials to the Chemetco Site. These materials were generated

 by Carrico and contained hazardous substances.

        1539. To date, Carrico has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1540. According to Chemetco Site records, Defendant Carrousel Recycling (“Carrousel

 Recycling”) contributed at least 932 lbs. of materials to the Chemetco Site. These materials were

 generated by Carrousel Recycling and contained hazardous substances.

        1541. To date, Carrousel Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1542. According to Chemetco Site records, Defendant Carsco (“Carsco”) contributed at

 least 217,335 lbs. of materials to the Chemetco Site. These materials were generated by Carsco

 and contained hazardous substances.

        1543. To date, Carsco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1544. According to Chemetco Site records, Defendant Carter Brother (“Carter Brother”)

 contributed at least 11,956 lbs. of materials to the Chemetco Site. These materials were

 generated by Carter Brother and contained hazardous substances.

        1545. To date, Carter Brother has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1546. According to Chemetco Site records, Defendant Cartersville (“Cartersville”)

 contributed at least 358 lbs. of materials to the Chemetco Site. These materials were generated

 by Cartersville and contained hazardous substances.




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        1547. To date, Cartersville has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1548. According to Chemetco Site records, Defendant Carthage Auto Parts Co.

 (“Carthage Auto”) contributed at least 2,445 lbs. of materials to the Chemetco Site. These

 materials were generated by Carthage Auto and contained hazardous substances.

        1549. To date, Carthage Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1550. According to Chemetco Site records, Defendant Casebere Heat (“Casebere Heat”)

 contributed at least 1,033 lbs. of materials to the Chemetco Site. These materials were generated

 by Casebere Heat and contained hazardous substances.

        1551. To date, Casebere Heat has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1552. According to Chemetco Site records, Defendant Cash for Trash (“Cash for

 Trash”) contributed at least 3,581 lbs. of materials to the Chemetco Site. These materials were

 generated by Cash for Trash and contained hazardous substances.

        1553. To date, Cash for Trash has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1554. According to Chemetco Site records, Defendant Cash Recycling (“Cash

 Recycling”) contributed at least 726,910 lbs. of materials to the Chemetco Site. These materials

 were generated by Cash Recycling and contained hazardous substances.

        1555. To date, Cash Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1556. According to Chemetco Site records, Defendant Cashway Auto (“Cashway

 Auto”) contributed at least 25 lbs. of materials to the Chemetco Site. These materials were

 generated by Cashway Auto and contained hazardous substances.

        1557. To date, Cashway Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1558. According to Chemetco Site records, Defendant Casle Iron (“Casle Iron”)

 contributed at least 24,664 lbs. of materials to the Chemetco Site. These materials were

 generated by Casle Iron and contained hazardous substances.

        1559. To date, Casle Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1560. According to Chemetco Site records, Defendant Casper Iron (“Casper Iron”)

 contributed at least 3,146 lbs. of materials to the Chemetco Site. These materials were generated

 by Casper Iron and contained hazardous substances.

        1561. To date, Casper Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1562. According to Chemetco Site records, Defendant Castle Metal (“Castle Metal”)

 contributed at least 54,908 lbs. of materials to the Chemetco Site. These materials were

 generated by Castle Metal and contained hazardous substances.

        1563. To date, Castle Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1564. According to Chemetco Site records, Defendant Castriota Metals & Recycling

 Inc. (“Castriota Metals”) contributed at least 195,955 lbs. of materials to the Chemetco Site.

 These materials were generated by Castriota Metals and contained hazardous substances.




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        1565. To date, Castriota Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1566. According to Chemetco Site records, Defendant Casturo Iron & Metal (“Casturo

 Iron”) contributed at least 14,238 lbs. of materials to the Chemetco Site. These materials were

 generated by Casturo Iron and contained hazardous substances.

        1567. To date, Casturo Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1568. According to Chemetco Site records, Defendant Catalyseurs M. Bedard Enr.

 (“Catalyseurs”) contributed at least 2,350 lbs. of materials to the Chemetco Site. These materials

 were generated by Catalyseurs and contained hazardous substances.

        1569. To date, Catalyseurs has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1570. According to Chemetco Site records, Defendant Cate Recycling (“Cate

 Recycling”) contributed at least 25 lbs. of materials to the Chemetco Site. These materials were

 generated by Cate Recycling and contained hazardous substances.

        1571. To date, Cate Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1572. According to Chemetco Site records, Defendant Catskill Communications, Inc.

 (“Catskill Communications”) contributed at least 1,280 lbs. of materials to the Chemetco Site.

 These materials were generated by Catskill Communications and contained hazardous

 substances.

        1573. To date, Catskill Communications has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1574. According to Chemetco Site records, Defendant Cauttrell Enterprises, Inc. doing

 business as Fenster Steel Corporation (“Cauttrell”) contributed materials to the Chemetco Site.

 These materials were generated by Cauttrell and contained hazardous substances.

        1575. To date, Cauttrell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1576. According to Chemetco Site records, Defendant Cave Radiator, LLC (“Cave

 Radiator”) contributed at least 84,658 lbs. of materials to the Chemetco Site. These materials

 were generated by Cave Radiator and contained hazardous substances.

        1577. To date, Cave Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1578. Defendant CBS Corporation ("CBS") is responsible for the waste attributable to

 Westinghouse Electric Corp. (“Westinghouse Electric”).

        1579. In or about 1992, Westinghouse Electric amended its name to CBS.

        1580. According to Chemetco Site records, Westinghouse Electric contributed at least

 8,216 lbs. of materials to the Chemetco Site. These materials were generated by Westinghouse

 Electric and contained hazardous substances.

        1581. To date, CBS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        1582. According to Chemetco Site records, Defendant Central Alabama (“Central

 Alabama”) contributed at least 15,013 lbs. of materials to the Chemetco Site. These materials

 were generated by Central Alabama and contained hazardous substances.

        1583. To date, Central Alabama has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1584. According to Chemetco Site records, Defendant Central Control (“Central

 Control”) contributed at least 3,620 lbs. of materials to the Chemetco Site. These materials were

 generated by Central Control and contained hazardous substances.

        1585. To date, Central Control has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1586. According to Chemetco Site records, Defendant Central Denver Iron Works, Inc.

 (“Central Denver Iron”) contributed at least 4,497 lbs. of materials to the Chemetco Site. These

 materials were generated by Central Denver Iron and contained hazardous substances.

        1587. To date, Central Denver Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1588. According to Chemetco Site records, Defendant Central Hudson Gas & Electric

 Corp. (“Central Hudson Gas”) contributed at least 139,131 lbs. of materials to the Chemetco

 Site. These materials were generated by Central Hudson Gas and contained hazardous

 substances.

        1589. To date, Central Hudson Gas has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1590. According to Chemetco Site records, Defendant Central Iron (“Central Iron”)

 contributed at least 517,193 lbs. of materials to the Chemetco Site. These materials were

 generated by Central Iron and contained hazardous substances.

        1591. To date, Central Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1592. According to Chemetco Site records, Defendant Central Kansas (“Central

 Kansas”) contributed at least 6,620 lbs. of materials to the Chemetco Site. These materials were

 generated by Central Kansas and contained hazardous substances.

        1593. To date, Central Kansas has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1594. According to Chemetco Site records, Defendant Central Metal (“Central Metal”)

 contributed at least 367,695 lbs. of materials to the Chemetco Site. These materials were

 generated by Central Metal and contained hazardous substances.

        1595. To date, Central Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1596. According to Chemetco Site records, Defendant Central Metal Electric (“Central

 Metal Electric”) contributed at least 8,469 lbs. of materials to the Chemetco Site. These materials

 were generated by Central Metal Electric and contained hazardous substances.

        1597. To date, Central Metal Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1598. According to Chemetco Site records, Defendant Central Metal Inc. (“Central

 Metal Inc.”) contributed at least 710,080 lbs. of materials to the Chemetco Site. These materials

 were generated by Central Metal Inc. and contained hazardous substances.

        1599. To date, Central Metal Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1600. According to Chemetco Site records, Defendant Central Metal Recycling doing

 business as Central Metals (“Central Metal Recycling”) contributed at least 23,426 lbs. of




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 materials to the Chemetco Site. These materials were generated by Central Metal Recycling and

 contained hazardous substances.

        1601. To date, Central Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1602. According to Chemetco Site records, Defendant Central States Refining Co., Inc.

 (“Central Refining”) contributed at least 43,784 lbs. of materials to the Chemetco Site. These

 materials were generated by Central Refining and contained hazardous substances.

        1603. To date, Central Refining has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1604. According to Chemetco Site records, Defendant Central Steel and Wire Company

 (“Central Steel”) contributed at least 38,675 lbs. of materials to the Chemetco Site. These

 materials were generated by Central Steel and contained hazardous substances.

        1605. To date, Central Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1606. According to Chemetco Site records, Defendant Central Trading & Recycling,

 Inc. (“Central Trading”) contributed at least 294,270 lbs. of materials to the Chemetco Site.

 These materials were generated by Central Trading and contained hazardous substances.

        1607. To date, Central Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1608. According to Chemetco Site records, Defendant Central Wire (“Central Wire”)

 contributed at least 43 lbs. of materials to the Chemetco Site. These materials were generated by

 Central Wire and contained hazardous substances.




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         1609. To date, Central Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         1610. According to Chemetco Site records, Defendant Centrotrade Minerals & Metals,

 Inc. (“Centrotrade”) contributed at least 13,994,768 lbs. of materials to the Chemetco Site. These

 materials were generated by Centrotrade and contained hazardous substances.

         1611. Centrotrade used to be a Chemetco Group member, but withdrew from the

 Chemetco Group and has not agreed to pay its equitable share of response costs at the Chemetco

 Site.

         1612. According to Chemetco Site records, Defendant Century Trading (“Century

 Trading”) contributed at least 127,369 lbs. of materials to the Chemetco Site. These materials

 were generated by Century Trading and contained hazardous substances.

         1613. To date, Century Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         1614. According to Chemetco Site records, Defendant Ceres Recycling (“Ceres

 Recycling”) contributed at least 610 lbs. of materials to the Chemetco Site. These materials were

 generated by Ceres Recycling and contained hazardous substances.

         1615. To date, Ceres Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         1616. According to Chemetco Site records, Defendant Cerro Fabricated Products LLC

 (“CFP”) contributed at least 472,354 lbs. of materials to the Chemetco Site. These materials were

 generated by CFP and contained hazardous substances.

         1617. To date, CFP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        1618. According to Chemetco Site records, Defendant Cerro Wire LLC (“Cerro Wire”)

 contributed at least 37,720 lbs. of materials to the Chemetco Site. These materials were

 generated by Cerro Wire and contained hazardous substances.

        1619. To date, Cerro Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1620. According to Chemetco Site records, Defendant Chambers Scrap (“Chambers

 Scrap”) contributed at least 1,389 lbs. of materials to the Chemetco Site. These materials were

 generated by Chambers Scrap and contained hazardous substances.

        1621. To date, Chambers Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1622. According to Chemetco Site records, Defendant Champion Iron (“Champion

 Iron”) contributed at least 30,209 lbs. of materials to the Chemetco Site. These materials were

 generated by Champion Iron and contained hazardous substances.

        1623. To date, Champion Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1624. According to Chemetco Site records, Defendant Champion Ornamental Castings,

 Inc. (“Champion Ornamental”) contributed at least 86,412 lbs. of materials to the Chemetco Site.

 These materials were generated by Champion Ornamental and contained hazardous substances.

        1625. To date, Champion Ornamental has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1626. According to Chemetco Site records, Defendant Chandler Metal (“Chandler

 Metal”) contributed at least 23,376 lbs. of materials to the Chemetco Site. These materials were

 generated by Chandler Metal and contained hazardous substances.




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        1627. To date, Chandler Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1628. According to Chemetco Site records, Defendant Chandler’s Auto Glass

 (“Chandler’s Auto”) contributed at least 256 lbs. of materials to the Chemetco Site. These

 materials were generated by Chandler’s Auto and contained hazardous substances.

        1629. To date, Chandler’s Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1630. According to Chemetco Site records, Defendant Chanen Scrap & Steel Inc.

 (“Chanen Scrap”) contributed at least 85,129 lbs. of materials to the Chemetco Site. These

 materials were generated by Chanen Scrap and contained hazardous substances.

        1631. To date, Chanen Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1632. According to Chemetco Site records, Defendant Chapin & Fagin Division

 (“Chapin & Fagin”) contributed at least 31,596 lbs. of materials to the Chemetco Site. These

 materials were generated by Chapin & Fagin and contained hazardous substances.

        1633. To date, Chapin & Fagin has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1634. According to Chemetco Site records, Defendant Charlotte Ind. (“Charlotte”)

 contributed at least 11,086 lbs. of materials to the Chemetco Site. These materials were

 generated by Charlotte and contained hazardous substances.

        1635. To date, Charlotte has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1636. According to Chemetco Site records, Defendant Charlotte Peddler List

 (“Charlotte Peddler”) contributed at least 29,066 lbs. of materials to the Chemetco Site. These

 materials were generated by Charlotte Peddler and contained hazardous substances.

        1637. To date, Charlotte Peddler has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1638. According to Chemetco Site records, Defendant Chem Source, Inc. (“Chem

 Source”) contributed at least 30,240 lbs. of materials to the Chemetco Site. These materials were

 generated by Chem Source and contained hazardous substances.

        1639. To date, Chem Source has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1640. According to Chemetco Site records, Defendant Cherokee Fur Incorporated

 (“Cherokee Fur”) contributed at least 20,539 lbs. of materials to the Chemetco Site. These

 materials were generated by Cherokee Fur and contained hazardous substances.

        1641. To date, Cherokee Fur has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1642. According to Chemetco Site records, Defendant Chicago Fastener, Inc. (“Chicago

 Fastener”) contributed at least 29,172 lbs. of materials to the Chemetco Site. These materials

 were generated by Chicago Fastener and contained hazardous substances.

        1643. To date, Chicago Fastener has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1644. Defendant The Chicago Faucet Company ("Chicago Faucet") is responsible for

 the waste attributable to Starline Manufacturing Co., Inc. (“Starline”).

        1645. Chicago Faucet owns and/or operates the Starline manufacturing plant.




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        1646. According to Chemetco Site records, Starline contributed at least 256,912 lbs. of

 materials to the Chemetco Site. These materials were generated by Starline and contained

 hazardous substances.

        1647. To date, Chicago Faucet has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1648. According to Chemetco Site records, Defendant Chicago International Chicago,

 Inc. (“Chicago International”) contributed at least 379,164 lbs. of materials to the Chemetco Site.

 These materials were generated by Chicago International and contained hazardous substances.

        1649. To date, Chicago International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1650. According to Chemetco Site records, Defendant Chicago Railway (“Chicago

 Railway”) contributed at least 1,456,932 lbs. of materials to the Chemetco Site. These materials

 were generated by Chicago Railway and contained hazardous substances.

        1651. To date, Chicago Railway has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1652. According to Chemetco Site records, Defendant Chicago Route (“Chicago

 Route”) contributed at least 49,903 lbs. of materials to the Chemetco Site. These materials were

 generated by Chicago Route and contained hazardous substances.

        1653. To date, Chicago Route has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1654. According to Chemetco Site records, Defendant Chicago Scrap Iron & Metal Co.

 (“Chicago Scrap”) contributed at least 98,092 lbs. of materials to the Chemetco Site. These

 materials were generated by Chicago Scrap and contained hazardous substances.




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        1655. To date, Chicago Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1656. According to Chemetco Site records, Defendant Chicago West (“Chicago West”)

 contributed at least 19,182 lbs. of materials to the Chemetco Site. These materials were

 generated by Chicago West and contained hazardous substances.

        1657. To date, Chicago West has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1658. According to Chemetco Site records, Defendant Chicks Metal (“Chicks Metal”)

 contributed at least 4,840 lbs. of materials to the Chemetco Site. These materials were generated

 by Chicks Metal and contained hazardous substances.

        1659. To date, Chicks Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1660. According to Chemetco Site records, Defendant Chico Scrap Metal (“Chico Scrap

 Metal”) contributed at least 31,560 lbs. of materials to the Chemetco Site. These materials were

 generated by Chico Scrap Metal and contained hazardous substances.

        1661. To date, Chico Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1662. According to Chemetco Site records, Defendant Chiptec Inc. (“Chiptec”)

 contributed at least 2,158 lbs. of materials to the Chemetco Site. These materials were generated

 by Chiptec and contained hazardous substances.

        1663. To date, Chiptec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        1664. According to Chemetco Site records, Defendant Chris Hoover & Associates

 (“Chris Hoover”) contributed at least 2,462,577 lbs. of materials to the Chemetco Site. These

 materials were generated by Chris Hoover and contained hazardous substances.

        1665. To date, Chris Hoover has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1666. According to Chemetco Site records, Defendant Chris Plating, Inc. (“Chris

 Plating”) contributed at least 97,487 lbs. of materials to the Chemetco Site. These materials were

 generated by Chris Plating and contained hazardous substances.

        1667. To date, Chris Plating has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1668. According to Chemetco Site records, Defendant Chris Scrap (“Chris Scrap”)

 contributed at least 44,835 lbs. of materials to the Chemetco Site. These materials were

 generated by Chris Scrap and contained hazardous substances.

        1669. To date, Chris Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1670. According to Chemetco Site records, Defendant Chrisney Recycle (“Chrisney

 Recycle”) contributed at least 16,967 lbs. of materials to the Chemetco Site. These materials

 were generated by Chrisney Recycle and contained hazardous substances.

        1671. To date, Chrisney Recycle has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1672. According to Chemetco Site records, Defendant Christy Metals, Inc. (“Christy

 Metals”) contributed at least 15,860 lbs. of materials to the Chemetco Site. These materials were

 generated by Christy Metals and contained hazardous substances.




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        1673. To date, Christy Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1674. According to Chemetco Site records, Defendant Chuck & Janet (“Chuck &

 Janet”) contributed at least 59,934 lbs. of materials to the Chemetco Site. These materials were

 generated by Chuck & Janet and contained hazardous substances.

        1675. To date, Chuck & Janet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1676. According to Chemetco Site records, Defendant Chucks Auto (“Chucks Auto”)

 contributed at least 5,598 lbs. of materials to the Chemetco Site. These materials were generated

 by Chucks Auto and contained hazardous substances.

        1677. To date, Chucks Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1678. According to Chemetco Site records, Defendant Church Scrap Metal (“Church

 Scrap Metal”) contributed at least 2,160 lbs. of materials to the Chemetco Site. These materials

 were generated by Church Scrap Metal and contained hazardous substances.

        1679. To date, Church Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1680. According to Chemetco Site records, Defendant Cicero Iron Metal & Paper Inc.

 (“Cicero Iron”) contributed at least 188,680 lbs. of materials to the Chemetco Site. These

 materials were generated by Cicero Iron and contained hazardous substances.

        1681. To date, Cicero Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1682. According to Chemetco Site records, Defendant Cifunsa, S.A. (“Cifunsa, SA”)

 contributed at least 30,058 lbs. of materials to the Chemetco Site. These materials were

 generated by Cifunsa, SA and contained hazardous substances.

        1683. To date, Cifunsa, SA has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1684. Defendant CIMCO Recycling Ottawa, Inc. ("CIMCO Recycling") is responsible

 for the waste attributable to Second Wind Recycling, Inc. (“Second Wind”).

        1685. According to Chemetco Site records, Second Wind contributed at least 161,348

 lbs. of materials to the Chemetco Site. These materials were generated by Second Wind and

 contained hazardous substances.

        1686. To date, CIMCO Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1687. According to Chemetco Site records, Defendant Cincy Scrap (“Cincy Scrap”)

 contributed at least 1,299 lbs. of materials to the Chemetco Site. These materials were generated

 by Cincy Scrap and contained hazardous substances.

        1688. To date, Cincy Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1689. According to Chemetco Site records, Defendant Cinelli Iron & Metal Co.

 (“Cinelli Iron”) contributed at least 15,578 lbs. of materials to the Chemetco Site. These

 materials were generated by Cinelli Iron and contained hazardous substances.

        1690. To date, Cinelli Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1691. According to Chemetco Site records, Defendant Cipollini Recycling, Inc.

 (“Cipollini Recycling”) contributed at least 194,140 lbs. of materials to the Chemetco Site. These

 materials were generated by Cipollini Recycling and contained hazardous substances.

        1692. To date, Cipollini Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1693. According to Chemetco Site records, Defendant Circle M Trading (“Circle M

 Trading”) contributed at least 1,686 lbs. of materials to the Chemetco Site. These materials were

 generated by Circle M Trading and contained hazardous substances.

        1694. To date, Circle M Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1695. According to Chemetco Site records, Defendant CIRCOSTA Iron & Metal Co.

 Inc. (“CIRCOSTA”) contributed at least 447,780 lbs. of materials to the Chemetco Site. These

 materials were generated by CIRCOSTA and contained hazardous substances.

        1696. To date, CIRCOSTA has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1697. According to Chemetco Site records, Defendant Circuitronics Inc.

 (“Circuitronics”) contributed at least 10,185 lbs. of materials to the Chemetco Site. These

 materials were generated by Circuitronics and contained hazardous substances.

        1698. To date, Circuitronics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1699. According to Chemetco Site records, Defendant Circulo Comercial S.A. de C.V.

 (“Circulo Comercial”) contributed at least 2,771,589 lbs. of materials to the Chemetco Site.

 These materials were generated by Circulo Comercial and contained hazardous substances.




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        1700. To date, Circulo Comercial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1701. According to Chemetco Site records, Defendant City Industries, Inc. (“City

 Industries”) contributed at least 233,801 lbs. of materials to the Chemetco Site. These materials

 were generated by City Industries and contained hazardous substances.

        1702. To date, City Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1703. According to Chemetco Site records, Defendant City of Arlington, Texas (“City

 of Arlington”) contributed at least 131,288 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Arlington and contained hazardous substances.

        1704. To date, City of Arlington has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1705. According to Chemetco Site records, Defendant City of Avondale, Arizona (“City

 of Avondale”) contributed at least 9,935 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Avondale and contained hazardous substances.

        1706. To date, City of Avondale has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1707. According to Chemetco Site records, Defendant City of Bellevue, Washington

 (“City of Bellevue”) contributed at least 9,143 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Bellevue and contained hazardous substances.

        1708. To date, City of Bellevue has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1709. According to Chemetco Site records, Defendant City of Chandler, Arizona (“City

 of Chandler”) contributed at least 16,061 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Chandler and contained hazardous substances.

        1710. To date, City of Chandler has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1711. According to Chemetco Site records, Defendant City of Charlotte, North Carolina

 (“City of Charlotte”) contributed at least 30,222 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Charlotte and contained hazardous substances.

        1712. To date, City of Charlotte has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1713. According to Chemetco Site records, Defendant City of Chattanooga, Tennessee

 (“City of Chattanooga”) contributed at least 1,739 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Chattanooga and contained hazardous substances.

        1714. To date, City of Chattanooga has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1715. According to Chemetco Site records, Defendant City of Duluth, Minnesota (“City

 of Duluth”) contributed at least 4,892 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Duluth and contained hazardous substances.

        1716. To date, City of Duluth has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1717. According to Chemetco Site records, Defendant City of Florissant, Missouri

 (“City of Florissant”) contributed at least 5,468 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Florissant and contained hazardous substances.




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        1718. To date, City of Florissant has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1719. According to Chemetco Site records, Defendant City of Glendale, California

 (“City of Glendale”) contributed at least 148 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Glendale and contained hazardous substances.

        1720. To date, City of Glendale has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1721. According to Chemetco Site records, Defendant City of Grand Prairie, Texas

 (“City of Grand Prairie”) contributed at least 4,210 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Grand Prairie and contained hazardous substances.

        1722. To date, City of Grand Prairie has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1723. According to Chemetco Site records, Defendant City of Greensboro, North

 Carolina (“City of Greensboro”) contributed at least 10,760 lbs. of materials to the Chemetco

 Site. These materials were generated by City of Greensboro and contained hazardous substances.

        1724. To date, City of Greensboro has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1725. According to Chemetco Site records, Defendant City of Hollywood, Florida

 (“Hollywood”) contributed at least 39,553 lbs. of materials to the Chemetco Site. These materials

 were generated by Hollywood and contained hazardous substances.

        1726. To date, Hollywood has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1727. According to Chemetco Site records, Defendant City of Inglewood, California

 (“City of Inglewood”) contributed at least 7,266 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Inglewood and contained hazardous substances.

        1728. To date, City of Inglewood has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1729. According to Chemetco Site records, Defendant City of Iowa City, Iowa (“City of

 Iowa City”) contributed at least 2,100 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Iowa City and contained hazardous substances.

        1730. To date, City of Iowa City has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1731. According to Chemetco Site records, Defendant City of Irving, Texas (“City of

 Irving”) contributed at least 36,871 lbs. of materials to the Chemetco Site. These materials were

 generated by City of Irving and contained hazardous substances.

        1732. To date, City of Irving has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1733. Defendant City of Kenosha, Wisconsin ("City of Kenosha") is responsible for the

 waste attributable to Kenosha Water Utility (“Kenosha Water Utility”).

        1734. According to Chemetco Site records, Kenosha Water Utility contributed at least

 7,102 lbs. of materials to the Chemetco Site. These materials were generated by Kenosha Water

 Utility and contained hazardous substances.

        1735. To date, City of Kenosha has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1736. According to Chemetco Site records, Defendant City of La Marque, Texas (“City

 of La Marque”) contributed at least 18,946 lbs. of materials to the Chemetco Site. These

 materials were generated by City of La Marque and contained hazardous substances.

        1737. To date, City of La Marque has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1738. According to Chemetco Site records, Defendant City of Mesquite, Texas (“City of

 Mesquite”) contributed at least 65,685 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Mesquite and contained hazardous substances.

        1739. To date, City of Mesquite has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1740. According to Chemetco Site records, Defendant City of Miami Beach, Florida

 (“City of Miami Beach”) contributed at least 61,195 lbs. of materials to the Chemetco Site.

 These materials were generated by City of Miami Beach and contained hazardous substances.

        1741. To date, City of Miami Beach has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1742. Defendant City of Ottumwa, Iowa ("City of Ottumwa") is responsible for the

 waste attributable to Otumwa Recycling Center (“Otumwa Recycling”).

        1743. City of Ottumwa is the owner and/or operator of Otumwa Recycling.

        1744. According to Chemetco Site records, Otumwa Recycling contributed at least

 38,960 lbs. of materials to the Chemetco Site. These materials were generated by Otumwa

 Recycling and contained hazardous substances.

        1745. To date, City of Ottumwa has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1746. According to Chemetco Site records, Defendant City of Page, Arizona (“City of

 Page”) contributed at least 2,554 lbs. of materials to the Chemetco Site. These materials were

 generated by City of Page and contained hazardous substances.

        1747. To date, City of Page has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1748. According to Chemetco Site records, Defendant City of Phoenix, Arizona (“City

 of Phoenix”) contributed at least 104,072 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Phoenix and contained hazardous substances.

        1749. To date, City of Phoenix has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1750. According to Chemetco Site records, Defendant City of Roanoke, Virginia (“City

 of Roanoke”) contributed at least 48,920 lbs. of materials to the Chemetco Site. These materials

 were generated by City of Roanoke and contained hazardous substances.

        1751. To date, City of Roanoke has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1752. According to Chemetco Site records, Defendant City of Snyder, Texas (“City of

 Snyder”) contributed at least 44,950 lbs. of materials to the Chemetco Site. These materials were

 generated by City of Snyder and contained hazardous substances.

        1753. To date, City of Snyder has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1754. According to Chemetco Site records, Defendant City of Springfield,

 Massachusetts (“City of Springfield”) contributed at least 15,585 lbs. of materials to the




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 Chemetco Site. These materials were generated by City of Springfield and contained hazardous

 substances.

        1755. To date, City of Springfield has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1756. According to Chemetco Site records, Defendant City of St. Louis, Missouri (“City

 of St. Louis”) contributed at least 26,240 lbs. of materials to the Chemetco Site. These materials

 were generated by City of St. Louis and contained hazardous substances.

        1757. To date, City of St. Louis has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1758. According to Chemetco Site records, Defendant City of Tampa, Florida (“City of

 Tampa”) contributed at least 18,359 lbs. of materials to the Chemetco Site. These materials were

 generated by City of Tampa and contained hazardous substances.

        1759. To date, City of Tampa has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1760. Defendant City of Taylorsville, Utah ("City of Taylorsville") is responsible for the

 waste attributable to Taylorsville-Bennion Improvement District (“TBID”).

        1761. According to Chemetco Site records, TBID contributed at least 16,454 lbs. of

 materials to the Chemetco Site. These materials were generated by TBID and contained

 hazardous substances.

        1762. To date, City of Taylorsville has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1763. According to Chemetco Site records, Defendant City of Texas City, Texas (“City

 of Texas City”) contributed at least 70,784 lbs. of materials to the Chemetco Site. These

 materials were generated by City of Texas City and contained hazardous substances.

        1764. To date, City of Texas City has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1765. According to Chemetco Site records, Defendant City of Tucson, Arizona

 (“Tucson”) contributed at least 21,263 lbs. of materials to the Chemetco Site. These materials

 were generated by Tucson and contained hazardous substances.

        1766. To date, Tucson has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        1767. According to Chemetco Site records, Defendant City Paper & Metal, Co., Inc.

 (“City Paper”) contributed at least 259,286 lbs. of materials to the Chemetco Site. These

 materials were generated by City Paper and contained hazardous substances.

        1768. To date, City Paper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1769. According to Chemetco Site records, Defendant City Recycling Inc. doing

 business as City Scrap Recycling (“City Recycling”) contributed at least 203,187 lbs. of

 materials to the Chemetco Site. These materials were generated by City Recycling and contained

 hazardous substances.

        1770. To date, City Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1771. According to Chemetco Site records, Defendant City Salvage (“City Salvage”)

 contributed at least 95,220 lbs. of materials to the Chemetco Site. These materials were

 generated by City Salvage and contained hazardous substances.

        1772. To date, City Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1773. According to Chemetco Site records, Defendant City Salvage 1 Inc. (“City

 Salvage 1”) contributed at least 5,384 lbs. of materials to the Chemetco Site. These materials

 were generated by City Salvage 1 and contained hazardous substances.

        1774. To date, City Salvage 1 has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1775. According to Chemetco Site records, Defendant City Scrap & Salvage Co., Inc.

 (“City Scrap”) contributed at least 58,989 lbs. of materials to the Chemetco Site. These materials

 were generated by City Scrap and contained hazardous substances.

        1776. To date, City Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1777. According to Chemetco Site records, Defendant City Scrap Metal, Inc. (“City

 Scrap Metal”) contributed at least 22,327 lbs. of materials to the Chemetco Site. These materials

 were generated by City Scrap Metal and contained hazardous substances.

        1778. To date, City Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1779. According to Chemetco Site records, Defendant City Used Parts Co. (“City Used

 Parts”) contributed at least 46 lbs. of materials to the Chemetco Site. These materials were

 generated by City Used Parts and contained hazardous substances.




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        1780. To date, City Used Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1781. According to Chemetco Site records, Defendant CityWideMetals and Salvage Co.

 (“CityWideMetals”) contributed at least 10,964 lbs. of materials to the Chemetco Site. These

 materials were generated by CityWideMetals and contained hazardous substances.

        1782. To date, CityWideMetals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1783. According to Chemetco Site records, Defendant Clarendon Ltd. (“Clarendon”)

 contributed at least 431 lbs. of materials to the Chemetco Site. These materials were generated

 by Clarendon and contained hazardous substances.

        1784. To date, Clarendon has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1785. According to Chemetco Site records, Defendant The Clark Company (“Clark

 Company”) contributed at least 191 lbs. of materials to the Chemetco Site. These materials were

 generated by Clark Company and contained hazardous substances.

        1786. To date, Clark Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1787. According to Chemetco Site records, Defendant Clark Machine Corporation

 (“Clark Machine”) contributed at least 38,951 lbs. of materials to the Chemetco Site. These

 materials were generated by Clark Machine and contained hazardous substances.

        1788. To date, Clark Machine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1789. According to Chemetco Site records, Defendant Clark Surplus (“Clark Surplus”)

 contributed at least 2,009 lbs. of materials to the Chemetco Site. These materials were generated

 by Clark Surplus and contained hazardous substances.

        1790. To date, Clark Surplus has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1791. According to Chemetco Site records, Defendant Clarke & Co. (“Clarke & Co”)

 contributed at least 1,336 lbs. of materials to the Chemetco Site. These materials were generated

 by Clarke & Co and contained hazardous substances.

        1792. To date, Clarke & Co has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1793. According to Chemetco Site records, Defendant Class Act Maid Service (“Class

 Act”) contributed at least 174,243 lbs. of materials to the Chemetco Site. These materials were

 generated by Class Act and contained hazardous substances.

        1794. To date, Class Act has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1795. According to Chemetco Site records, Defendant Claxton Copper & Brass, Inc.

 (“Claxton Copper”) contributed at least 2,285,350 lbs. of materials to the Chemetco Site. These

 materials were generated by Claxton Copper and contained hazardous substances.

        1796. To date, Claxton Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1797. According to Chemetco Site records, Defendant Claxton Recycling, Inc.

 (“Claxton Recycling”) contributed materials to the Chemetco Site. These materials were

 generated by Claxton Recycling and contained hazardous substances.




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        1798. To date, Claxton Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1799. According to Chemetco Site records, Defendant CLC Precious Metal Recovery

 (“CLC Metal Recovery”) contributed at least 2,322,375 lbs. of materials to the Chemetco Site.

 These materials were generated by CLC Metal Recovery and contained hazardous substances.

        1800. To date, CLC Metal Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1801. According to Chemetco Site records, Defendant Clean Earth Recycling (“Clean

 Earth Recycling”) contributed at least 1,752 lbs. of materials to the Chemetco Site. These

 materials were generated by Clean Earth Recycling and contained hazardous substances.

        1802. To date, Clean Earth Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1803. According to Chemetco Site records, Defendant Clean Neighbor (“Clean

 Neighbor”) contributed at least 8,558 lbs. of materials to the Chemetco Site. These materials

 were generated by Clean Neighbor and contained hazardous substances.

        1804. To date, Clean Neighbor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1805. According to Chemetco Site records, Defendant Cleanlites Recycling Inc.

 (“Cleanlites Recycling”) contributed at least 72,637 lbs. of materials to the Chemetco Site. These

 materials were generated by Cleanlites Recycling and contained hazardous substances.

        1806. Additionally, Cleanlites Recycling is responsible for the waste attributable to

 USA Lamp & Ballast Recycling Inc. (“USA Lamp”).

        1807. In or about 2000, USA Lamp acquired Cleanlites Recycling.




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        1808. In or about 2013, USA Lamp amended its name to Cleanlites Recycling.

        1809. According to Chemetco Site records, USA Lamp contributed at least 49,096 lbs.

 of materials to the Chemetco Site. These materials were generated by USA Lamp and contained

 hazardous substances.

        1810. To date, Cleanlites Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1811. According to Chemetco Site records, Defendant Clearing Smelt (“Clearing

 Smelt”) contributed at least 1,099 lbs. of materials to the Chemetco Site. These materials were

 generated by Clearing Smelt and contained hazardous substances.

        1812. To date, Clearing Smelt has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1813. According to Chemetco Site records, Defendant Cleveland Auto (“Cleveland

 Auto”) contributed materials to the Chemetco Site. These materials were generated by Cleveland

 Auto and contained hazardous substances.

        1814. To date, Cleveland Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1815. According to Chemetco Site records, Defendant Cleveland Corporation

 (“Cleveland Corporation”) contributed at least 39 lbs. of materials to the Chemetco Site. These

 materials were generated by Cleveland Corporation and contained hazardous substances.

        1816. To date, Cleveland Corporation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1817. According to Chemetco Site records, Defendant Cleveland Route (“Cleveland

 Route”) contributed at least 21,120 lbs. of materials to the Chemetco Site. These materials were

 generated by Cleveland Route and contained hazardous substances.

        1818. To date, Cleveland Route has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1819. According to Chemetco Site records, Defendant Cleveland Wire and Metal

 Recycling, LLC (“Cleveland Wire”) contributed at least 176,003 lbs. of materials to the

 Chemetco Site. These materials were generated by Cleveland Wire and contained hazardous

 substances.

        1820. To date, Cleveland Wire has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1821. According to Chemetco Site records, Defendant Clinton Count (“Clinton Count”)

 contributed at least 221,495 lbs. of materials to the Chemetco Site. These materials were

 generated by Clinton Count and contained hazardous substances.

        1822. To date, Clinton Count has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1823. According to Chemetco Site records, Defendant Clovis Auto Parts (“Clovis Auto

 Parts”) contributed at least 12,224 lbs. of materials to the Chemetco Site. These materials were

 generated by Clovis Auto Parts and contained hazardous substances.

        1824. To date, Clovis Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1825. According to Chemetco Site records, Defendant CME Arma Incorporated (“CME

 Arma”) contributed at least 77,108 lbs. of materials to the Chemetco Site. These materials were

 generated by CME Arma and contained hazardous substances.

        1826. To date, CME Arma has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1827. According to Chemetco Site records, Defendant CME Printing, Inc. (“CME”)

 contributed at least 3,007 lbs. of materials to the Chemetco Site. These materials were generated

 by CME and contained hazardous substances.

        1828. To date, CME has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        1829. According to Chemetco Site records, Defendant CME Wire & Cable, Inc. (“CME

 Wire”) contributed at least 22,066 lbs. of materials to the Chemetco Site. These materials were

 generated by CME Wire and contained hazardous substances.

        1830. To date, CME Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1831. According to Chemetco Site records, Defendant CMR Metal Inc. (“CMR Metal”)

 contributed at least 634 lbs. of materials to the Chemetco Site. These materials were generated

 by CMR Metal and contained hazardous substances.

        1832. To date, CMR Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1833. According to Chemetco Site records, Defendant CNA Metals Limited (“CNA

 Metals”) contributed at least 381,996 lbs. of materials to the Chemetco Site. These materials

 were generated by CNA Metals and contained hazardous substances.




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        1834. To date, CNA Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1835. According to Chemetco Site records, Defendant Coastal Foundries (“Coastal

 Foundries”) contributed at least 1,420 lbs. of materials to the Chemetco Site. These materials

 were generated by Coastal Foundries and contained hazardous substances.

        1836. To date, Coastal Foundries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1837. According to Chemetco Site records, Defendant Coastal Foundry Company

 (“Coastal Foundry”) contributed at least 21,708 lbs. of materials to the Chemetco Site. These

 materials were generated by Coastal Foundry and contained hazardous substances.

        1838. To date, Coastal Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1839. According to Chemetco Site records, Defendant Coastal Metal Inc. (“Coastal

 Metal”) contributed at least 35,170 lbs. of materials to the Chemetco Site. These materials were

 generated by Coastal Metal and contained hazardous substances.

        1840. To date, Coastal Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1841. According to Chemetco Site records, Defendant Coastal Scrap (“Coastal Scrap”)

 contributed at least 1,539 lbs. of materials to the Chemetco Site. These materials were generated

 by Coastal Scrap and contained hazardous substances.

        1842. To date, Coastal Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1843. Defendant Cobalt-Louisville, Inc. ("Cobalt-Louisville") is responsible for the

 waste attributable to Louisville Scrap Material Co., Inc. (“Louisville Scrap”).

        1844. In or about 1999, Louisville Scrap was merged with and into Cobalt-Louisville.

        1845. According to Chemetco Site records, Louisville Scrap contributed at least 43,022

 lbs. of materials to the Chemetco Site. These materials were generated by Louisville Scrap and

 contained hazardous substances.

        1846. To date, Cobalt-Louisville has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1847. According to Chemetco Site records, Defendant Cohen & Cohen (“Cohen &

 Cohen”) contributed at least 23,507 lbs. of materials to the Chemetco Site. These materials were

 generated by Cohen & Cohen and contained hazardous substances.

        1848. To date, Cohen & Cohen has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1849. According to Chemetco Site records, Defendant Cohen & Green (“Cohen &

 Green”) contributed at least 330 lbs. of materials to the Chemetco Site. These materials were

 generated by Cohen & Green and contained hazardous substances.

        1850. To date, Cohen & Green has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1851. Defendant Cohen Brothers, Inc. (“Cohen Brothers”) is responsible for the waste

 attributable to Daniel Cohen Enterprises, Inc. (“Cohen Enterprises”).

        1852. According to Chemetco Site records, Cohen Enterprises contributed at least

 284,448 lbs. of materials to the Chemetco Site. These materials were generated by Cohen

 Enterprises and contained hazardous substances.




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        1853. Additionally, Cohen Brothers is responsible for the waste attributable to Mose

 Cohen & Sons, Inc. (“Mose Cohen”).

        1854. According to Chemetco Site records, Mose Cohen contributed at least 35,657 lbs.

 of materials to the Chemetco Site. These materials were generated by Mose Cohen and contained

 hazardous substances.

        1855. To date, Cohen Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1856. According to Chemetco Site records, Defendant Cohen-Wilbur (“Cohen-Wilbur”)

 contributed at least 42,475 lbs. of materials to the Chemetco Site. These materials were

 generated by Cohen-Wilbur and contained hazardous substances.

        1857. To date, Cohen-Wilbur has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1858. According to Chemetco Site records, Defendant Coiner’s Scrap (“Coiner’s

 Scrap”) contributed at least 4,157 lbs. of materials to the Chemetco Site. These materials were

 generated by Coiner’s Scrap and contained hazardous substances.

        1859. To date, Coiner’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1860. According to Chemetco Site records, Defendant Colantuono-Klurman Associates

 Inc. doing business as C&K Scrap Metal (“C&K Scrap”) contributed at least 169,292 lbs. of

 materials to the Chemetco Site. These materials were generated by C&K Scrap and contained

 hazardous substances.

        1861. To date, C&K Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1862. Defendant Cole Electric Company, Inc. ("Cole Electric") is responsible for the

 waste attributable to IMS Group, Inc. (“IMS Group”).

        1863. In or about 2002, Cole Electric acquired IMS Group.

        1864. According to Chemetco Site records, IMS Group contributed at least 36,830 lbs.

 of materials to the Chemetco Site. These materials were generated by IMS Group and contained

 hazardous substances.

        1865. To date, Cole Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1866. According to Chemetco Site records, Defendant Coleman Engineering & Metals

 (“Coleman Engineering”) contributed at least 2,024,466 lbs. of materials to the Chemetco Site.

 These materials were generated by Coleman Engineering and contained hazardous substances.

        1867. To date, Coleman Engineering has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1868. According to Chemetco Site records, Defendant Coleman’s Metal (“Coleman’s

 Metal”) contributed at least 519,796 lbs. of materials to the Chemetco Site. These materials were

 generated by Coleman’s Metal and contained hazardous substances.

        1869. To date, Coleman’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1870. According to Chemetco Site records, Defendant Collins (“Collins”) contributed at

 least 11,610 lbs. of materials to the Chemetco Site. These materials were generated by Collins

 and contained hazardous substances.

        1871. To date, Collins has not paid any response costs incurred by the Chemetco Group

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        1872. According to Chemetco Site records, Defendant Colorado Metal (“Colorado

 Metal”) contributed at least 115,682 lbs. of materials to the Chemetco Site. These materials were

 generated by Colorado Metal and contained hazardous substances.

        1873. To date, Colorado Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1874. According to Chemetco Site records, Defendant Columbia Iron (“Columbia Iron”)

 contributed at least 11,440 lbs. of materials to the Chemetco Site. These materials were

 generated by Columbia Iron and contained hazardous substances.

        1875. To date, Columbia Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1876. According to Chemetco Site records, Defendant Columbus Scrap (“Columbus

 Scrap”) contributed at least 869,149 lbs. of materials to the Chemetco Site. These materials were

 generated by Columbus Scrap and contained hazardous substances.

        1877. To date, Columbus Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1878. Defendant Columbus Scrap Material Company, Inc. ("Columbus Scrap Material")

 is responsible for the waste attributable to Southern Scrap & Metal Company, Inc. (“Southern

 Scrap”).

        1879. In or about 2000, Columbus Scrap Material acquired the assets of Southern Scrap.

        1880. According to Chemetco Site records, Southern Scrap contributed at least 86,192

 lbs. of materials to the Chemetco Site. These materials were generated by Southern Scrap and

 contained hazardous substances.




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        1881. To date, Columbus Scrap Material has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1882. According to Chemetco Site records, Defendant Comfort Metal (“Comfort

 Metal”) contributed at least 934 lbs. of materials to the Chemetco Site. These materials were

 generated by Comfort Metal and contained hazardous substances.

        1883. To date, Comfort Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1884. According to Chemetco Site records, Defendant Comm Con Connectors, Inc.

 (“Comm Con”) contributed at least 2,314 lbs. of materials to the Chemetco Site. These materials

 were generated by Comm Con and contained hazardous substances.

        1885. To date, Comm Con has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1886. According to Chemetco Site records, Defendant Commercial Electric

 (“Commercial Electric”) contributed at least 172 lbs. of materials to the Chemetco Site. These

 materials were generated by Commercial Electric and contained hazardous substances.

        1887. To date, Commercial Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1888. According to Chemetco Site records, Defendant Commercial M. (“Commercial

 M.”) contributed at least 264 lbs. of materials to the Chemetco Site. These materials were

 generated by Commercial M. and contained hazardous substances.

        1889. To date, Commercial M. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1890. According to Chemetco Site records, Defendant Commercial Metal Co.

 (“Commercial Metal”) contributed at least 1,355,568 lbs. of materials to the Chemetco Site.

 These materials were generated by Commercial Metal and contained hazardous substances.

        1891. To date, Commercial Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1892. According to Chemetco Site records, Defendant Commercial Metals

 (“Commercial Metals”) contributed at least 3,711,902 lbs. of materials to the Chemetco Site.

 These materials were generated by Commercial Metals and contained hazardous substances.

        1893. To date, Commercial Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1894. According to Chemetco Site records, Defendant Commercial Metals Company

 (“CMC”) contributed at least 121,549 lbs. of materials to the Chemetco Site. These materials

 were generated by CMC and contained hazardous substances.

        1895. Additionally, CMC is responsible for the waste attributable to 12th Street Scrap

 (“12th St. Scrap”).

        1896. According to Chemetco Site records, 12th St. Scrap contributed at least 48,178

 lbs. of materials to the Chemetco Site. These materials were generated by 12th St. Scrap and

 contained hazardous substances.

        1897. Additionally, CMC is responsible for the waste attributable to All Metals

 Processors, Inc. (“All Metals”).

        1898. In or about 1997, CMC acquired All Metals.




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        1899. According to Chemetco Site records, All Metals contributed at least 31,112 lbs. of

 materials to the Chemetco Site. These materials were generated by All Metals and contained

 hazardous substances.

        1900. Additionally, CMC is responsible for the waste attributable to AMP Recycling

 (“AMP Recycling”).

        1901. According to Chemetco Site records, AMP Recycling contributed at least 31,835

 lbs. of materials to the Chemetco Site. These materials were generated by AMP Recycling and

 contained hazardous substances.

        1902. Additionally, CMC is responsible for the waste attributable to American Iron &

 Metal Company (“American Iron & Metal”).

        1903. According to Chemetco Site records, American Iron & Metal contributed at least

 51,239 lbs. of materials to the Chemetco Site. These materials were generated by American Iron

 & Metal and contained hazardous substances.

        1904. Additionally, CMC is responsible for the waste attributable to Falk Steel and

 Metal Co. (“Falk”).

        1905. According to Chemetco Site records, Falk contributed at least 3,260 lbs. of

 materials to the Chemetco Site. These materials were generated by Falk and contained hazardous

 substances.

        1906. Additionally, CMC is responsible for the waste attributable to Mayfield Salvage,

 Inc. (“Mayfield”).

        1907. In or about 2007, CMC acquired Mayfield.




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        1908. According to Chemetco Site records, Mayfield contributed at least 89,174 lbs. of

 materials to the Chemetco Site. These materials were generated by Mayfield and contained

 hazardous substances.

        1909. Additionally, CMC is responsible for the waste attributable to Newell Recycling

 Co., Inc. (“Newell”).

        1910. On or about May 30, 2014, CMC acquired Newell.

        1911. According to Chemetco Site records, Newell contributed at least 572,033 lbs. of

 materials to the Chemetco Site. These materials were generated by Newell and contained

 hazardous substances.

        1912. Additionally, CMC is responsible for the waste attributable to Yarmuk Scrap

 Processing (“Yarmuk”).

        1913. Yarmuk was a former trade name of CMC.

        1914. According to Chemetco Site records, Yarmuk contributed at least 44,570 lbs. of

 materials to the Chemetco Site. These materials were generated by Yarmuk and contained

 hazardous substances.

        1915. Additionally, CMC is responsible for the waste attributable to Yonack Iron &

 Metal Co. (“Yonack”).

        1916. In or about 2006, CMC acquired Yonack.

        1917. According to Chemetco Site records, Yonack contributed at least 658,007 lbs. of

 materials to the Chemetco Site. These materials were generated by Yonack and contained

 hazardous substances.

        1918. To date, CMC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        1919. According to Chemetco Site records, Defendant Commodity Management

 Services, Inc. doing business as Morrell Scrap Services (“CMS”) contributed at least 186,010

 lbs. of materials to the Chemetco Site. These materials were generated by CMS and contained

 hazardous substances.

        1920. Additionally, CMS is responsible for the waste attributable to Desert Sky Metal

 Recovery (“Desert Sky”).

        1921. According to Chemetco Site records, Desert Sky contributed at least 40,467 lbs.

 of materials to the Chemetco Site. These materials were generated by Desert Sky and contained

 hazardous substances.

        1922. To date, CMS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        1923. According to Chemetco Site records, Defendant Commodity Metal (“Commodity

 Metal”) contributed at least 23,027 lbs. of materials to the Chemetco Site. These materials were

 generated by Commodity Metal and contained hazardous substances.

        1924. To date, Commodity Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1925. According to Chemetco Site records, Defendant Commodity Trade (“Commodity

 Trade”) contributed at least 18,389 lbs. of materials to the Chemetco Site. These materials were

 generated by Commodity Trade and contained hazardous substances.

        1926. To date, Commodity Trade has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1927. According to Chemetco Site records, Defendant Commonwealth

 (“Commonwealth”) contributed at least 1,088 lbs. of materials to the Chemetco Site. These

 materials were generated by Commonwealth and contained hazardous substances.

        1928. To date, Commonwealth has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1929. Defendant Communications Hardware, Inc. ("Communications Hardware") is

 responsible for the waste attributable to Computer Metal Recyclers Inc. (“Computer Metal”).

        1930. In or about 1989, Communications Hardware was formed as a Texas corporation,

 and was later dissolved.

        1931. In or about 1996, Computer Metal was formed as a Texas corporation.

        1932. Both Communications Hardware and Computer Metal were active at 133 South

 Town East Boulevard, Mesquite, Texas 75149.

        1933. Janet Chaffin and Louis Langford were officers of Communications Hardware

 and Computer Metal.

        1934. According to Chemetco Site records, Computer Metal contributed at least 160,204

 lbs. of materials to the Chemetco Site. These materials were generated by Computer Metal and

 contained hazardous substances.

        1935. To date, Communications Hardware has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        1936. According to Chemetco Site records, Defendant Compass Metal Corporation

 (“Compass Metal”) contributed at least 1,808,622 lbs. of materials to the Chemetco Site. These

 materials were generated by Compass Metal and contained hazardous substances.




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        1937. To date, Compass Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1938. According to Chemetco Site records, Defendant Compex of Louisiana, Inc. doing

 business as Computer Exchange (“Compex of Louisiana”) contributed at least 2,756 lbs. of

 materials to the Chemetco Site. These materials were generated by Compex of Louisiana and

 contained hazardous substances.

        1939. To date, Compex of Louisiana has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1940. According to Chemetco Site records, Defendant Complete Recycling, Inc.

 (“Complete Recycling”) contributed at least 829,040 lbs. of materials to the Chemetco Site.

 These materials were generated by Complete Recycling and contained hazardous substances.

        1941. To date, Complete Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1942. According to Chemetco Site records, Defendant Components Reclaim, Inc.

 (“Components Reclaim”) contributed at least 13,988 lbs. of materials to the Chemetco Site.

 These materials were generated by Components Reclaim and contained hazardous substances.

        1943. To date, Components Reclaim has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1944. According to Chemetco Site records, Defendant Compressed Metals Limited

 (“Compressed Metals”) contributed at least 35,220 lbs. of materials to the Chemetco Site. These

 materials were generated by Compressed Metals and contained hazardous substances.

        1945. To date, Compressed Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1946. According to Chemetco Site records, Defendant Computer Asset Management

 Company (“Computer Asset Management”) contributed at least 32,686 lbs. of materials to the

 Chemetco Site. These materials were generated by Computer Asset Management and contained

 hazardous substances.

        1947. To date, Computer Asset Management has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        1948. According to Chemetco Site records, Defendant Computer Medics LLC doing

 business as GWZ Computers (“Computer Medics”) contributed at least 3,266 lbs. of materials to

 the Chemetco Site. These materials were generated by Computer Medics and contained

 hazardous substances.

        1949. To date, Computer Medics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1950. According to Chemetco Site records, Defendant Computer Recycling & Refining,

 LLC (“CRR”) contributed at least 18,686 lbs. of materials to the Chemetco Site. These materials

 were generated by CRR and contained hazardous substances.

        1951. To date, CRR has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        1952. According to Chemetco Site records, Defendant Computer Scrappers, LLC

 (“Computer Scrappers”) contributed at least 2,298 lbs. of materials to the Chemetco Site. These

 materials were generated by Computer Scrappers and contained hazardous substances.

        1953. To date, Computer Scrappers has not paid any response costs incurred by the

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        1954. According to Chemetco Site records, Defendant Conbraco Industries, Inc.

 (“Conbraco”) contributed at least 461,384 lbs. of materials to the Chemetco Site. These materials

 were generated by Conbraco and contained hazardous substances.

        1955. To date, Conbraco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1956. According to Chemetco Site records, Defendant Conca & Maviglia Inc. (“Conca

 & Maviglia”) contributed at least 1,262,141 lbs. of materials to the Chemetco Site. These

 materials were generated by Conca & Maviglia and contained hazardous substances.

        1957. To date, Conca & Maviglia has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1958. According to Chemetco Site records, Defendant Concast Metal Products Co.

 (“Concast Metal”) contributed at least 340,406 lbs. of materials to the Chemetco Site. These

 materials were generated by Concast Metal and contained hazardous substances.

        1959. To date, Concast Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1960. According to Chemetco Site records, Defendant Concorde (“Concorde”)

 contributed at least 8,027,048 lbs. of materials to the Chemetco Site. These materials were

 generated by Concorde and contained hazardous substances.

        1961. To date, Concorde has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1962. According to Chemetco Site records, Defendant Concorde - Hartford HQ

 (“Concorde Hartford”) contributed at least 3,860 lbs. of materials to the Chemetco Site. These

 materials were generated by Concorde Hartford and contained hazardous substances.




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        1963. To date, Concorde Hartford has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1964. According to Chemetco Site records, Defendant Concorde Greensboro

 (“Concorde Greensboro”) contributed at least 23,649 lbs. of materials to the Chemetco Site.

 These materials were generated by Concorde Greensboro and contained hazardous substances.

        1965. To date, Concorde Greensboro has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1966. According to Chemetco Site records, Defendant Concorde Mississippi

 (“Concorde Mississippi”) contributed at least 167,993 lbs. of materials to the Chemetco Site.

 These materials were generated by Concorde Mississippi and contained hazardous substances.

        1967. To date, Concorde Mississippi has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1968. According to Chemetco Site records, Defendant Concorde Nashville (“Concorde

 Nashville”) contributed at least 9,976 lbs. of materials to the Chemetco Site. These materials

 were generated by Concorde Nashville and contained hazardous substances.

        1969. To date, Concorde Nashville has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1970. According to Chemetco Site records, Defendant Concorde Oakland Warehouse

 (“Oakland Warehouse”) contributed at least 770 lbs. of materials to the Chemetco Site. These

 materials were generated by Oakland Warehouse and contained hazardous substances.

        1971. To date, Oakland Warehouse has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        1972. According to Chemetco Site records, Defendant Concorde Tulsa (“Concorde

 Tulsa”) contributed at least 24,012 lbs. of materials to the Chemetco Site. These materials were

 generated by Concorde Tulsa and contained hazardous substances.

        1973. To date, Concorde Tulsa has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1974. According to Chemetco Site records, Defendant Condor Metals (“Condor

 Metals”) contributed at least 379 lbs. of materials to the Chemetco Site. These materials were

 generated by Condor Metals and contained hazardous substances.

        1975. To date, Condor Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1976. According to Chemetco Site records, Defendant Confer Metals (“Confer Metals”)

 contributed at least 86 lbs. of materials to the Chemetco Site. These materials were generated by

 Confer Metals and contained hazardous substances.

        1977. To date, Confer Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1978. Defendant Conn-Selmer, Inc. ("Conn-Selmer") is responsible for the waste

 attributable to United Musical Instruments, U.S.A., Inc. (“United Musical Instruments”).

        1979. In or about 2003, United Musical Instruments was merged with and into Conn-

 Selmer.

        1980. According to Chemetco Site records, United Musical Instruments contributed at

 least 46,700 lbs. of materials to the Chemetco Site. These materials were generated by United

 Musical Instruments and contained hazardous substances.




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        1981. To date, Conn-Selmer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1982. According to Chemetco Site records, Defendant Connecticut (“Connecticut”)

 contributed at least 21,352 lbs. of materials to the Chemetco Site. These materials were

 generated by Connecticut and contained hazardous substances.

        1983. To date, Connecticut has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1984. According to Chemetco Site records, Defendant Connector Castings, Inc.

 (“Connector Castings”) contributed materials to the Chemetco Site. These materials were

 generated by Connector Castings and contained hazardous substances.

        1985. To date, Connector Castings has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1986. According to Chemetco Site records, Defendant Consentin SA (“Consentin SA”)

 contributed at least 5,027 lbs. of materials to the Chemetco Site. These materials were generated

 by Consentin SA and contained hazardous substances.

        1987. To date, Consentin SA has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1988. According to Chemetco Site records, Defendant Conservation (“Conservation”)

 contributed at least 8 lbs. of materials to the Chemetco Site. These materials were generated by

 Conservation and contained hazardous substances.

        1989. To date, Conservation has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        1990. According to Chemetco Site records, Defendant Conservit Inc. (“Conservit”)

 contributed at least 1,312 lbs. of materials to the Chemetco Site. These materials were generated

 by Conservit and contained hazardous substances.

        1991. To date, Conservit has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        1992. According to Chemetco Site records, Defendant Consolidated Alloys, Inc.

 (“Consolidated Alloys”) contributed at least 3,553,120 lbs. of materials to the Chemetco Site.

 These materials were generated by Consolidated Alloys and contained hazardous substances.

        1993. To date, Consolidated Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1994. According to Chemetco Site records, Defendant Consolidated Edison Company of

 New York, Inc. (“Consolidated Edison”) contributed at least 80,655 lbs. of materials to the

 Chemetco Site. These materials were generated by Consolidated Edison and contained hazardous

 substances.

        1995. To date, Consolidated Edison has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        1996. According to Chemetco Site records, Defendant Consolidated Resources, Inc.

 (“CRI”) contributed at least 353,871 lbs. of materials to the Chemetco Site. These materials were

 generated by CRI and contained hazardous substances.

        1997. To date, CRI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        1998. According to Chemetco Site records, Defendant Consolidated Water

 (“Consolidated Water”) contributed at least 1,327 lbs. of materials to the Chemetco Site. These

 materials were generated by Consolidated Water and contained hazardous substances.

        1999. To date, Consolidated Water has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2000. According to Chemetco Site records, Defendant Conspill (“Conspill”) contributed

 at least 21,510 lbs. of materials to the Chemetco Site. These materials were generated by

 Conspill and contained hazardous substances.

        2001. To date, Conspill has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2002. According to Chemetco Site records, Defendant Consumers Scrap (“Consumers

 Scrap”) contributed at least 1,025,613 lbs. of materials to the Chemetco Site. These materials

 were generated by Consumers Scrap and contained hazardous substances.

        2003. To date, Consumers Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2004. According to Chemetco Site records, Defendant Container Salvage Corp.

 (“Container Salvage”) contributed at least 31,746 lbs. of materials to the Chemetco Site. These

 materials were generated by Container Salvage and contained hazardous substances.

        2005. To date, Container Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2006. According to Chemetco Site records, Defendant Contec Corporation (“Contec”)

 contributed at least 1,172 lbs. of materials to the Chemetco Site. These materials were generated

 by Contec and contained hazardous substances.




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        2007. To date, Contec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2008. According to Chemetco Site records, Defendant Contenants Gr. (“Contenants

 Gr”) contributed at least 298 lbs. of materials to the Chemetco Site. These materials were

 generated by Contenants Gr and contained hazardous substances.

        2009. To date, Contenants Gr has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2010. According to Chemetco Site records, Defendant Contenants Te. (“Contenants

 Te”) contributed at least 6,254 lbs. of materials to the Chemetco Site. These materials were

 generated by Contenants Te and contained hazardous substances.

        2011. To date, Contenants Te has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2012. According to Chemetco Site records, Defendant Continental Metal (“Continental

 Metal”) contributed at least 30,595 lbs. of materials to the Chemetco Site. These materials were

 generated by Continental Metal and contained hazardous substances.

        2013. To date, Continental Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2014. According to Chemetco Site records, Defendant Contract Metal (“Contract

 Metal”) contributed at least 14,086 lbs. of materials to the Chemetco Site. These materials were

 generated by Contract Metal and contained hazardous substances.

        2015. To date, Contract Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2016. According to Chemetco Site records, Defendant Conversion Re 1 (“Conversion

 Re 1”) contributed at least 8,990 lbs. of materials to the Chemetco Site. These materials were

 generated by Conversion Re 1 and contained hazardous substances.

        2017. To date, Conversion Re 1 has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2018. According to Chemetco Site records, Defendant Conversion Recycling

 (“Conversion Recycling”) contributed at least 730 lbs. of materials to the Chemetco Site. These

 materials were generated by Conversion Recycling and contained hazardous substances.

        2019. To date, Conversion Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2020. According to Chemetco Site records, Defendant Conway Scrap Metal, Inc.

 (“Conway Scrap”) contributed at least 34,240 lbs. of materials to the Chemetco Site. These

 materials were generated by Conway Scrap and contained hazardous substances.

        2021. To date, Conway Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2022. According to Chemetco Site records, Defendant Cook’s Auto Parts (“Cook’s

 Auto Parts”) contributed at least 2,295 lbs. of materials to the Chemetco Site. These materials

 were generated by Cook’s Auto Parts and contained hazardous substances.

        2023. To date, Cook’s Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2024. According to Chemetco Site records, Defendant Cool Heat, Inc. (“Cool Heat”)

 contributed at least 4,804 lbs. of materials to the Chemetco Site. These materials were generated

 by Cool Heat and contained hazardous substances.




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        2025. To date, Cool Heat has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2026. According to Chemetco Site records, Defendant Cooper Foundry, Inc. (“Cooper

 Foundry”) contributed at least 111,437 lbs. of materials to the Chemetco Site. These materials

 were generated by Cooper Foundry and contained hazardous substances.

        2027. To date, Cooper Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2028. According to Chemetco Site records, Defendant Cooper Lighting (“Cooper

 Lighting”) contributed at least 323,256 lbs. of materials to the Chemetco Site. These materials

 were generated by Cooper Lighting and contained hazardous substances.

        2029. To date, Cooper Lighting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2030. Defendant Cooper-Standard Automotive Inc. ("Cooper-Standard Auto") is

 responsible for the waste attributable to ITT Automotive, Inc. (“ITT Auto”).

        2031. In or about December 2005, Cooper-Standard Auto acquired ITT Auto.

        2032. According to Chemetco Site records, ITT Auto contributed at least 231,905 lbs. of

 materials to the Chemetco Site. These materials were generated by ITT Auto and contained

 hazardous substances.

        2033. To date, Cooper-Standard Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2034. According to Chemetco Site records, Defendant Cooper’s Iron & Metal Inc.

 (“Cooper’s Metal”) contributed at least 216,032 lbs. of materials to the Chemetco Site. These

 materials were generated by Cooper’s Metal and contained hazardous substances.




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        2035. To date, Cooper’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2036. According to Chemetco Site records, Defendant Copan Resources, Inc. (“Copan

 Resources”) contributed at least 34,667 lbs. of materials to the Chemetco Site. These materials

 were generated by Copan Resources and contained hazardous substances.

        2037. To date, Copan Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2038. According to Chemetco Site records, Defendant Copper & Brass International

 (“Copper & Brass International”) contributed at least 1,506 lbs. of materials to the Chemetco

 Site. These materials were generated by Copper & Brass International and contained hazardous

 substances.

        2039. To date, Copper & Brass International has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        2040. According to Chemetco Site records, Defendant Copper State Metals, LLC

 (“Copper Metals”) contributed at least 47,750 lbs. of materials to the Chemetco Site. These

 materials were generated by Copper Metals and contained hazardous substances.

        2041. To date, Copper Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2042. According to Chemetco Site records, Defendant Cord Specialty (“Cord

 Specialty”) contributed at least 2,615,912 lbs. of materials to the Chemetco Site. These materials

 were generated by Cord Specialty and contained hazardous substances.

        2043. To date, Cord Specialty has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2044. According to Chemetco Site records, Defendant Corkeys Auto (“Corkeys Auto”)

 contributed at least 1,105 lbs. of materials to the Chemetco Site. These materials were generated

 by Corkeys Auto and contained hazardous substances.

        2045. To date, Corkeys Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2046. According to Chemetco Site records, Defendant Cornell Metal (“Cornell Metal”)

 contributed at least 122,806 lbs. of materials to the Chemetco Site. These materials were

 generated by Cornell Metal and contained hazardous substances.

        2047. To date, Cornell Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2048. According to Chemetco Site records, Defendant Corning, Inc. (“Corning”)

 contributed at least 21,131 lbs. of materials to the Chemetco Site. These materials were

 generated by Corning and contained hazardous substances.

        2049. To date, Corning has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2050. According to Chemetco Site records, Defendant Corona’s Auto Parts,

 Incorporated (“Corona’s Auto”) contributed at least 29,820 lbs. of materials to the Chemetco

 Site. These materials were generated by Corona’s Auto and contained hazardous substances.

        2051. To date, Corona’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2052. According to Chemetco Site records, Defendant Corridor Recycling, Inc.

 (“Corridor Recycling”) contributed at least 567,859 lbs. of materials to the Chemetco Site. These

 materials were generated by Corridor Recycling and contained hazardous substances.




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        2053. To date, Corridor Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2054. According to Chemetco Site records, Defendant Corrugated Paper-Baltimore

 (“Corrugated Baltimore”) contributed at least 3,605 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Baltimore and contained hazardous substances.

        2055. To date, Corrugated Baltimore has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2056. According to Chemetco Site records, Defendant Corrugated Paper-Charlotte

 (“Corrugated Charlotte”) contributed at least 13 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Charlotte and contained hazardous substances.

        2057. To date, Corrugated Charlotte has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2058. According to Chemetco Site records, Defendant Corrugated Paper-Chicago

 (“Corrugated Chicago”) contributed at least 1,755 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Chicago and contained hazardous substances.

        2059. To date, Corrugated Chicago has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2060. According to Chemetco Site records, Defendant Corrugated Paper-Dallas

 (“Corrugated Dallas”) contributed at least 2,667 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Dallas and contained hazardous substances.

        2061. To date, Corrugated Dallas has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2062. According to Chemetco Site records, Defendant Corrugated Paper-L.A.

 (“Corrugated L.A.”) contributed at least 453 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated L.A. and contained hazardous substances.

        2063. To date, Corrugated L.A. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2064. According to Chemetco Site records, Defendant Corrugated Paper-Miami

 (“Corrugated Miami”) contributed at least 1,779 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Miami and contained hazardous substances.

        2065. To date, Corrugated Miami has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2066. According to Chemetco Site records, Defendant Corrugated Paper-Newark

 (“Corrugated Newark”) contributed at least 866 lbs. of materials to the Chemetco Site. These

 materials were generated by Corrugated Newark and contained hazardous substances.

        2067. To date, Corrugated Newark has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2068. According to Chemetco Site records, Defendant Cottrell’s (“Cottrell’s”)

 contributed at least 36,272 lbs. of materials to the Chemetco Site. These materials were

 generated by Cottrell’s and contained hazardous substances.

        2069. To date, Cottrell’s has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2070. According to Chemetco Site records, Defendant Countryside A (“Countryside A”)

 contributed at least 20,348 lbs. of materials to the Chemetco Site. These materials were

 generated by Countryside A and contained hazardous substances.




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        2071. To date, Countryside A has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2072. According to Chemetco Site records, Defendant County Metal Yard, Inc.

 (“County Metal”) contributed at least 232,168 lbs. of materials to the Chemetco Site. These

 materials were generated by County Metal and contained hazardous substances.

        2073. To date, County Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2074. According to Chemetco Site records, Defendant Countyline (“Countyline”)

 contributed at least 3,044 lbs. of materials to the Chemetco Site. These materials were generated

 by Countyline and contained hazardous substances.

        2075. To date, Countyline has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2076. According to Chemetco Site records, Defendant Courtney Car (“Courtney Car”)

 contributed at least 263 lbs. of materials to the Chemetco Site. These materials were generated

 by Courtney Car and contained hazardous substances.

        2077. To date, Courtney Car has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2078. According to Chemetco Site records, Defendant Cousins Core (“Cousins Core”)

 contributed at least 45,848 lbs. of materials to the Chemetco Site. These materials were

 generated by Cousins Core and contained hazardous substances.

        2079. To date, Cousins Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2080. According to Chemetco Site records, Defendant Cox Communications (“Cox”)

 contributed at least 340 lbs. of materials to the Chemetco Site. These materials were generated

 by Cox and contained hazardous substances.

        2081. To date, Cox has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2082. According to Chemetco Site records, Defendant Coyne & Delany Company

 (“Coyne & Delany”) contributed at least 39,784 lbs. of materials to the Chemetco Site. These

 materials were generated by Coyne & Delany and contained hazardous substances.

        2083. To date, Coyne & Delany has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2084. According to Chemetco Site records, Defendant CR&R, Inc. (“CR&R”)

 contributed at least 240 lbs. of materials to the Chemetco Site. These materials were generated

 by CR&R and contained hazardous substances.

        2085. To date, CR&R has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2086. According to Chemetco Site records, Defendant Craft Salvage (“Craft Salvage”)

 contributed at least 951 lbs. of materials to the Chemetco Site. These materials were generated

 by Craft Salvage and contained hazardous substances.

        2087. To date, Craft Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2088. According to Chemetco Site records, Defendant Cranford Iron and Metal

 Company, Inc. (“Cranford Iron”) contributed at least 378,397 lbs. of materials to the Chemetco

 Site. These materials were generated by Cranford Iron and contained hazardous substances.




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        2089. To date, Cranford Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2090. According to Chemetco Site records, Defendant Creative Brass Works L.P.

 (“Creative Brass”) contributed materials to the Chemetco Site. These materials were generated

 by Creative Brass and contained hazardous substances.

        2091. To date, Creative Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2092. According to Chemetco Site records, Defendant Creative Bronze, Inc. (“Creative

 Bronze”) contributed at least 14,782 lbs. of materials to the Chemetco Site. These materials were

 generated by Creative Bronze and contained hazardous substances.

        2093. To date, Creative Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2094. According to Chemetco Site records, Defendant Crest Metals, Inc. (“Crest

 Metals”) contributed at least 41,660 lbs. of materials to the Chemetco Site. These materials were

 generated by Crest Metals and contained hazardous substances.

        2095. To date, Crest Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2096. According to Chemetco Site records, Defendant Crew’s Salvage (“Crew’s

 Salvage”) contributed at least 953 lbs. of materials to the Chemetco Site. These materials were

 generated by Crew’s Salvage and contained hazardous substances.

        2097. To date, Crew’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2098. According to Chemetco Site records, Defendant Crocker Metal (“Crocker Metal”)

 contributed at least 320,053 lbs. of materials to the Chemetco Site. These materials were

 generated by Crocker Metal and contained hazardous substances.

        2099. To date, Crocker Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2100. According to Chemetco Site records, Defendant Cropsey Scrap Iron & Metal

 Corp. (“Cropsey Scrap”) contributed at least 845,755 lbs. of materials to the Chemetco Site.

 These materials were generated by Cropsey Scrap and contained hazardous substances.

        2101. To date, Cropsey Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2102. According to Chemetco Site records, Defendant Crosbie Foundry Company Inc.

 (“Crosbie Foundry”) contributed at least 17,571 lbs. of materials to the Chemetco Site. These

 materials were generated by Crosbie Foundry and contained hazardous substances.

        2103. To date, Crosbie Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2104. According to Chemetco Site records, Defendant Crossroads Recycling, Inc.

 (“Crossroads Recycling”) contributed at least 288,520 lbs. of materials to the Chemetco Site.

 These materials were generated by Crossroads Recycling and contained hazardous substances.

        2105. To date, Crossroads Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2106. According to Chemetco Site records, Defendant Crow Wing Recycling (“Crow

 Wing Recycling”) contributed at least 56,477 lbs. of materials to the Chemetco Site. These

 materials were generated by Crow Wing Recycling and contained hazardous substances.




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        2107. To date, Crow Wing Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2108. Defendant CSC Auto Salvage and Dismantling, Inc. ("CSC Auto Salvage") is

 responsible for the waste attributable Mike’s Auto Wrecking, Inc. (“Mike’s Wrecking”).

        2109. According to Chemetco Site records, Mike’s Wrecking contributed at least 41,928

 lbs. of materials to the Chemetco Site. These materials were generated by Mike’s Wrecking and

 contained hazardous substances.

        2110. To date, CSC Auto Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2111. According to Chemetco Site records, Defendant Culp Iron & Metal (“Culp Iron &

 Metal”) contributed at least 1,075,027 lbs. of materials to the Chemetco Site. These materials

 were generated by Culp Iron & Metal and contained hazardous substances.

        2112. To date, Culp Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2113. According to Chemetco Site records, Defendant Culp Smelting (“Culp Smelting”)

 contributed at least 103,784 lbs. of materials to the Chemetco Site. These materials were

 generated by Culp Smelting and contained hazardous substances.

        2114. To date, Culp Smelting has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2115. According to Chemetco Site records, Defendant Cumberland Auto (“Cumberland

 Auto”) contributed at least 4,094 lbs. of materials to the Chemetco Site. These materials were

 generated by Cumberland Auto and contained hazardous substances.




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        2116. To date, Cumberland Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2117. According to Chemetco Site records, Defendant Cumberland Recycling

 Corporation of South Jersey (“Cumberland Recycling”) contributed at least 295,763 lbs. of

 materials to the Chemetco Site. These materials were generated by Cumberland Recycling and

 contained hazardous substances.

        2118. To date, Cumberland Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2119. According to Chemetco Site records, Defendant Cunningham Metals, Inc.

 (“Cunningham Metals”) contributed at least 18,684 lbs. of materials to the Chemetco Site. These

 materials were generated by Cunningham Metals and contained hazardous substances.

        2120. To date, Cunningham Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2121. According to Chemetco Site records, Defendant Curbside Recycling (“Curbside

 Recycling”) contributed at least 584 lbs. of materials to the Chemetco Site. These materials were

 generated by Curbside Recycling and contained hazardous substances.

        2122. To date, Curbside Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2123. According to Chemetco Site records, Defendant Curcio Scrap Metal Inc. (“Curcio

 Scrap Metal”) contributed at least 174,076 lbs. of materials to the Chemetco Site. These

 materials were generated by Curcio Scrap Metal and contained hazardous substances.

        2124. To date, Curcio Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2125. According to Chemetco Site records, Defendant Curtis Industries, Inc. (“Curtis

 Industries”) contributed at least 1,949 lbs. of materials to the Chemetco Site. These materials

 were generated by Curtis Industries and contained hazardous substances.

        2126. To date, Curtis Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2127. According to Chemetco Site records, Defendant Curtis Metal (“Curtis Metal”)

 contributed at least 331,729 lbs. of materials to the Chemetco Site. These materials were

 generated by Curtis Metal and contained hazardous substances.

        2128. To date, Curtis Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2129. Defendant Custom Alloy Scrap Sales, Inc. ("Custom Alloy") is responsible for the

 waste attributable to Custom Alloy Scrap Sales Metals International, Inc. (“Custom

 International”).

        2130. In or about 2009, Custom International amended its name to Custom Alloy.

        2131. According to Chemetco Site records, Custom International contributed at least

 766,425 lbs. of materials to the Chemetco Site. These materials were generated by Custom

 International and contained hazardous substances.

        2132. To date, Custom Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2133. According to Chemetco Site records, Defendant Custom Environmentalist

 (“Custom Environmentalist”) contributed at least 8,164 lbs. of materials to the Chemetco Site.

 These materials were generated by Custom Environmentalist and contained hazardous

 substances.




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        2134. To date, Custom Environmentalist has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2135. According to Chemetco Site records, Defendant Custom Stamping (“Custom

 Stamping”) contributed at least 427 lbs. of materials to the Chemetco Site. These materials were

 generated by Custom Stamping and contained hazardous substances.

        2136. To date, Custom Stamping has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2137. According to Chemetco Site records, Defendant CWB Transport LLC doing

 business as M&M Scrap Metals (“CWB Transport”) contributed at least 27,236 lbs. of materials

 to the Chemetco Site. These materials were generated by CWB Transport and contained

 hazardous substances.

        2138. To date, CWB Transport has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2139. According to Chemetco Site records, Defendant Cycle Systems, Inc. (“Cycle

 Systems”) contributed at least 83,094 lbs. of materials to the Chemetco Site. These materials

 were generated by Cycle Systems and contained hazardous substances.

        2140. To date, Cycle Systems has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2141. According to Chemetco Site records, Defendant Cyprus Copper (“Cyprus

 Copper”) contributed at least 16,367 lbs. of materials to the Chemetco Site. These materials were

 generated by Cyprus Copper and contained hazardous substances.

        2142. To date, Cyprus Copper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2143. According to Chemetco Site records, Defendant Cyprus Copper Market -

 Warrenton (“Cyprus Copper Market”) contributed at least 129,320 lbs. of materials to the

 Chemetco Site. These materials were generated by Cyprus Copper Market and contained

 hazardous substances.

        2144. To date, Cyprus Copper Market has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2145. According to Chemetco Site records, Defendant D and D Recycling (“D and D

 Recycling”) contributed at least 43,270 lbs. of materials to the Chemetco Site. These materials

 were generated by D and D Recycling and contained hazardous substances.

        2146. To date, D and D Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2147. According to Chemetco Site records, Defendant D. Cohen and Sons Corporation

 (“Cohen and Sons”) contributed at least 541,105 lbs. of materials to the Chemetco Site. These

 materials were generated by Cohen and Sons and contained hazardous substances.

        2148. To date, Cohen and Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2149. According to Chemetco Site records, Defendant D.H. Griffin Wrecking Co., Inc.

 (“D.H. Griffin”) contributed at least 104,153 lbs. of materials to the Chemetco Site. These

 materials were generated by D.H. Griffin and contained hazardous substances.

        2150. To date, D.H. Griffin has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2151. According to Chemetco Site records, Defendant D.P. Recycling Co. (“DP

 Recycling”) contributed materials to the Chemetco Site. These materials were generated by DP

 Recycling and contained hazardous substances.

        2152. To date, DP Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2153. According to Chemetco Site records, Defendant D’Ambra Metals (“D’Ambra

 Metals”) contributed at least 27,345 lbs. of materials to the Chemetco Site. These materials were

 generated by D’Ambra Metals and contained hazardous substances.

        2154. To date, D’Ambra Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2155. According to Chemetco Site records, Defendant D’Andrea Industries, Inc. doing

 business as ABCO Recycling Services (“D’Andrea Industries”) contributed at least 100,582 lbs.

 of materials to the Chemetco Site. These materials were generated by D’Andrea Industries and

 contained hazardous substances.

        2156. To date, D’Andrea Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2157. According to Chemetco Site records, Defendant D’s Auto Repair (“D’s Auto”)

 contributed at least 625 lbs. of materials to the Chemetco Site. These materials were generated

 by D’s Auto and contained hazardous substances.

        2158. To date, D’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2159. According to Chemetco Site records, Defendant D&B Industrial Group (“D&B

 Industrial”) contributed at least 27,189 lbs. of materials to the Chemetco Site. These materials

 were generated by D&B Industrial and contained hazardous substances.

        2160. To date, D&B Industrial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2161. According to Chemetco Site records, Defendant D&C Metals (“D&C Metals”)

 contributed at least 701 lbs. of materials to the Chemetco Site. These materials were generated

 by D&C Metals and contained hazardous substances.

        2162. To date, D&C Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2163. According to Chemetco Site records, Defendant D&D Sanitation (“D&D

 Sanitation”) contributed at least 1,543 lbs. of materials to the Chemetco Site. These materials

 were generated by D&D Sanitation and contained hazardous substances.

        2164. To date, D&D Sanitation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2165. According to Chemetco Site records, Defendant D&J Recycling Service (“D&J

 Recycling”) contributed at least 739 lbs. of materials to the Chemetco Site. These materials were

 generated by D&J Recycling and contained hazardous substances.

        2166. To date, D&J Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2167. According to Chemetco Site records, Defendant D&L Metal (“D&L Metal”)

 contributed at least 1,855 lbs. of materials to the Chemetco Site. These materials were generated

 by D&L Metal and contained hazardous substances.




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        2168. To date, D&L Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2169. According to Chemetco Site records, Defendant D&L Recovery (“D&L

 Recovery”) contributed at least 7,197 lbs. of materials to the Chemetco Site. These materials

 were generated by D&L Recovery and contained hazardous substances.

        2170. To date, D&L Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2171. According to Chemetco Site records, Defendant D&R Metals (“D&R Metals”)

 contributed at least 97 lbs. of materials to the Chemetco Site. These materials were generated by

 D&R Metals and contained hazardous substances.

        2172. To date, D&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2173. Defendant D&S Scrap Metal, LLC doing business as Global Scrap Metal (“D&S

 Metal”) is responsible for the waste attributable to Schioppo Corporation (“Schioppo”).

        2174. In or about 1959, Schioppo was formed as a New York corporation, at 197

 Grandview Avenue, Staten Island, New York 10303, with CEO Stephen Schioppo.

        2175. In or about 2003, Schioppo was dissolved.

        2176. In or about 2005, Schioppo Metals, LLC (“Schioppo Metals”) was formed as a

 New York corporation.

        2177. In or about 2005, Schioppo Metals amended its name to D&S Metal, which is

 located at at 197 Grandview Avenue, Staten Island, New York 10303, with President Stephen

 Schioppo.




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        2178. According to Chemetco Site records, Schioppo contributed at least 104,838 lbs. of

 materials to the Chemetco Site. These materials were generated by Schioppo and contained

 hazardous substances.

        2179. To date, D&S Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2180. According to Chemetco Site records, Defendant D&T Recycling & Salvage

 (“D&T Recycling”) contributed at least 86,190 lbs. of materials to the Chemetco Site. These

 materials were generated by D&T Recycling and contained hazardous substances.

        2181. To date, D&T Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2182. According to Chemetco Site records, Defendant D&T Scrap Metal (“D&T Scrap

 Metal”) contributed at least 40,427 lbs. of materials to the Chemetco Site. These materials were

 generated by D&T Scrap Metal and contained hazardous substances.

        2183. To date, D&T Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2184. According to Chemetco Site records, Defendant Dadeville Recycling (“Dadeville

 Recycling”) contributed at least 3,895 lbs. of materials to the Chemetco Site. These materials

 were generated by Dadeville Recycling and contained hazardous substances.

        2185. To date, Dadeville Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2186. According to Chemetco Site records, Defendant Dahl & Groezinger, Inc. (“Dahl

 & Groezinger”) contributed at least 67,908 lbs. of materials to the Chemetco Site. These

 materials were generated by Dahl & Groezinger and contained hazardous substances.




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        2187. To date, Dahl & Groezinger has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2188. According to Chemetco Site records, Defendant Dale Avenue Junk Yard (“Dale

 Avenue Junk”) contributed at least 506 lbs. of materials to the Chemetco Site. These materials

 were generated by Dale Avenue Junk and contained hazardous substances.

        2189. To date, Dale Avenue Junk has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2190. According to Chemetco Site records, Defendant Dalex Inc. (“Dalex”) contributed

 at least 208 lbs. of materials to the Chemetco Site. These materials were generated by Dalex and

 contained hazardous substances.

        2191. To date, Dalex has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2192. According to Chemetco Site records, Defendant Damille Metal (“Damille Metal”)

 contributed at least 129 lbs. of materials to the Chemetco Site. These materials were generated

 by Damille Metal and contained hazardous substances.

        2193. To date, Damille Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2194. According to Chemetco Site records, Defendant Dan Case Auto (“Dan Case

 Auto”) contributed at least 979 lbs. of materials to the Chemetco Site. These materials were

 generated by Dan Case Auto and contained hazardous substances.

        2195. To date, Dan Case Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2196. According to Chemetco Site records, Defendant Dan Stiefel (R&D Core Buyers)

 (“R&D Core”) contributed at least 59,141 lbs. of materials to the Chemetco Site. These materials

 were generated by R&D Core and contained hazardous substances.

        2197. To date, R&D Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2198. According to Chemetco Site records, Defendant Dan’s Auto Parts (“Dan’s Auto

 Parts”) contributed at least 3,972 lbs. of materials to the Chemetco Site. These materials were

 generated by Dan’s Auto Parts and contained hazardous substances.

        2199. To date, Dan’s Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2200. According to Chemetco Site records, Defendant Dan’s Recycle (“Dan’s Recycle”)

 contributed at least 3,771 lbs. of materials to the Chemetco Site. These materials were generated

 by Dan’s Recycle and contained hazardous substances.

        2201. To date, Dan’s Recycle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2202. According to Chemetco Site records, Defendant Dana Companies LLC (“Dana

 Companies”) contributed at least 2,999,660 lbs. of materials to the Chemetco Site. These

 materials were generated by Dana Companies and contained hazardous substances.

        2203. To date, Dana Companies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2204. According to Chemetco Site records, Defendant Dana Corporation (“Dana

 Corporation”) contributed materials to the Chemetco Site. These materials were generated by

 Dana Corporation and contained hazardous substances.




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        2205. To date, Dana Corporation has not paid any response costs incurred by the

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        2206. According to Chemetco Site records, Defendant Dana Incorporated (“Dana”)

 contributed at least 117,420 lbs. of materials to the Chemetco Site. These materials were

 generated by Dana and contained hazardous substances.

        2207. To date, Dana has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2208. According to Chemetco Site records, Defendant Dana Kepner Company, Inc.

 (“Dana Kepner”) contributed at least 4,298 lbs. of materials to the Chemetco Site. These

 materials were generated by Dana Kepner and contained hazardous substances.

        2209. To date, Dana Kepner has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2210. According to Chemetco Site records, Defendant Dana Radiator (“Dana Radiator”)

 contributed at least 32,323 lbs. of materials to the Chemetco Site. These materials were

 generated by Dana Radiator and contained hazardous substances.

        2211. To date, Dana Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2212. According to Chemetco Site records, Defendant Dandrea Bros. (“Dandrea Bros.”)

 contributed at least 6 lbs. of materials to the Chemetco Site. These materials were generated by

 Dandrea Bros. and contained hazardous substances.

        2213. To date, Dandrea Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2214. According to Chemetco Site records, Defendant Dania Scrap Metals-Company

 (“Dania Scrap Metals”) contributed at least 322,752 lbs. of materials to the Chemetco Site. These

 materials were generated by Dania Scrap Metals and contained hazardous substances.

        2215. To date, Dania Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2216. According to Chemetco Site records, Defendant Daniel’s Electric (“Daniel’s

 Electric”) contributed at least 727 lbs. of materials to the Chemetco Site. These materials were

 generated by Daniel’s Electric and contained hazardous substances.

        2217. To date, Daniel’s Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2218. According to Chemetco Site records, Defendant Danielle Used (“Danielle Used”)

 contributed at least 142 lbs. of materials to the Chemetco Site. These materials were generated

 by Danielle Used and contained hazardous substances.

        2219. To date, Danielle Used has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2220. Defendant Danny’s Metals, LLC (“Danny’s Metals”) is responsible for the waste

 attributable to Mountain City Junk (“Mt. City Junk”).

        2221. According to Chemetco Site records, Mt. City Junk contributed at least 59,578

 lbs. of materials to the Chemetco Site. These materials were generated by Mt. City Junk and

 contained hazardous substances.

        2222. To date, Danny’s Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2223. According to Chemetco Site records, Defendant Darlington Shredding Company,

 Inc. (“Darlington Shredding”) contributed at least 271,044 lbs. of materials to the Chemetco Site.

 These materials were generated by Darlington Shredding and contained hazardous substances.

        2224. To date, Darlington Shredding has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2225. According to Chemetco Site records, Defendant Dart Metals Trading Co. (“Dart

 Metals”) contributed at least 28,266 lbs. of materials to the Chemetco Site. These materials were

 generated by Dart Metals and contained hazardous substances.

        2226. To date, Dart Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2227. According to Chemetco Site records, Defendant Dart Precision (“Dart Precision”)

 contributed at least 42,049 lbs. of materials to the Chemetco Site. These materials were

 generated by Dart Precision and contained hazardous substances.

        2228. To date, Dart Precision has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2229. According to Chemetco Site records, Defendant Data Link Service (“Data Link”)

 contributed at least 943 lbs. of materials to the Chemetco Site. These materials were generated

 by Data Link and contained hazardous substances.

        2230. To date, Data Link has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2231. According to Chemetco Site records, Defendant Dave and Dan’s Auto Salvage

 (“Dave Auto Salvage”) contributed at least 13,173 lbs. of materials to the Chemetco Site. These

 materials were generated by Dave Auto Salvage and contained hazardous substances.




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        2232. To date, Dave Auto Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2233. According to Chemetco Site records, Defendant Dave’s Automotive Recycling,

 LLC (“Dave’s Auto”) contributed at least 4,961 lbs. of materials to the Chemetco Site. These

 materials were generated by Dave’s Auto and contained hazardous substances.

        2234. To date, Dave’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2235. According to Chemetco Site records, Defendant David H. Fell & Co., Inc. (“Fell

 & Co.”) contributed at least 6,438 lbs. of materials to the Chemetco Site. These materials were

 generated by Fell & Co. and contained hazardous substances.

        2236. To date, Fell & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2237. According to Chemetco Site records, Defendant David Matthews, Inc. doing

 business as MPS Company (“MPS”) contributed at least 34,110 lbs. of materials to the Chemetco

 Site. These materials were generated by MPS and contained hazardous substances.

        2238. To date, MPS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2239. According to Chemetco Site records, Defendant David’s Auto (“David’s Auto”)

 contributed at least 34,931 lbs. of materials to the Chemetco Site. These materials were

 generated by David’s Auto and contained hazardous substances.

        2240. To date, David’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2241. According to Chemetco Site records, Defendant Davis Company (“Davis

 Company”) contributed at least 7,199 lbs. of materials to the Chemetco Site. These materials

 were generated by Davis Company and contained hazardous substances.

        2242. To date, Davis Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2243. Defendant Davis Enterprises Inc. of Salisbury (“Davis Enterprises”) is responsible

 for the waste attributable to T.H. Davis & Co., Inc. (“T.H. Davis”).

        2244. In or about 1989, T.H. Davis was formed as a North Carolina corporation.

        2245. In or about 1994, Davis Enterprises was formed as a North Carolina corporation.

        2246. In or about 2003, T.H. Davis was dissolved.

        2247. Both T.H. Davis and Davis Enterprises were located at 7585 Sherrills Ford Road,

 Salisbury, North Carolina 28147.

        2248. Tommy Davis and Randy Davis were officers of T.H. Davis and Davis

 Enterprises.

        2249. According to Chemetco Site records, T.H. Davis contributed at least 101,429 lbs.

 of materials to the Chemetco Site. These materials were generated by T.H. Davis and contained

 hazardous substances.

        2250. To date, Davis Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2251. According to Chemetco Site records, Defendant Davis Recycling Co. (“Davis

 Recycling”) contributed at least 15,433 lbs. of materials to the Chemetco Site. These materials

 were generated by Davis Recycling and contained hazardous substances.




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        2252. To date, Davis Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2253. According to Chemetco Site records, Defendant Davis Salvage Co., L.L.C.

 (“Davis Salvage”) contributed at least 135,773 lbs. of materials to the Chemetco Site. These

 materials were generated by Davis Salvage and contained hazardous substances.

        2254. To date, Davis Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2255. According to Chemetco Site records, Defendant Davis Trading (“Davis Trading”)

 contributed at least 5,841 lbs. of materials to the Chemetco Site. These materials were generated

 by Davis Trading and contained hazardous substances.

        2256. To date, Davis Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2257. According to Chemetco Site records, Defendant Davis-Standard LLC (“Davis-

 Standard”) contributed at least 397 lbs. of materials to the Chemetco Site. These materials were

 generated by Davis-Standard and contained hazardous substances.

        2258. To date, Davis-Standard has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2259. According to Chemetco Site records, Defendant Dayton Iron (“Dayton Iron”)

 contributed at least 29,120 lbs. of materials to the Chemetco Site. These materials were

 generated by Dayton Iron and contained hazardous substances.

        2260. To date, Dayton Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2261. According to Chemetco Site records, Defendant DBI Inc. doing business as

 Utilities & Industries (“DBI”) contributed at least 348,833 lbs. of materials to the Chemetco Site.

 These materials were generated by DBI and contained hazardous substances.

        2262. To date, DBI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2263. Defendant DBR Bell, L.L.C. (“DBR Bell”) is responsible for the waste

 attributable to Dremco, Inc. (“Dremco”).

        2264. In or about 1994, Dremco was formed as an Arizona corporation.

        2265. In or about 1997, DBR Bell was formed as an Arizona corporation.

        2266. In or about 2007, Dremco was dissolved.

        2267. According to the Arizona Secretary of State, Dremco was located at 4437 East

 Voltaire Avenue, Phoenix, Arizona 85032 (the “Voltaire address”) and was owned and/or

 managed by Denise and Douglas Robinson.

        2268. According to the Arizona Secretary of State, DBR Bell is located at the Voltaire

 address and is owned and/or managed by Denise and Douglas Robinson.

        2269. According to Chemetco Site records, Dremco contributed at least 141 lbs. of

 materials to the Chemetco Site. These materials were generated by Dremco and contained

 hazardous substances.

        2270. To date, DBR Bell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2271. According to Chemetco Site records, Defendant DC Metals (“DC Metals”)

 contributed at least 32,992 lbs. of materials to the Chemetco Site. These materials were

 generated by DC Metals and contained hazardous substances.




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        2272. To date, DC Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2273. According to Chemetco Site records, Defendant DC Scrap (“DC Scrap”)

 contributed at least 19,473 lbs. of materials to the Chemetco Site. These materials were

 generated by DC Scrap and contained hazardous substances.

        2274. To date, DC Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2275. According to Chemetco Site records, Defendant De Matteo Salvage (“De Matteo

 Salvage”) contributed at least 373 lbs. of materials to the Chemetco Site. These materials were

 generated by De Matteo Salvage and contained hazardous substances.

        2276. To date, De Matteo Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2277. According to Chemetco Site records, Defendant Decco Alloys Inc. (“Decco

 Alloys”) contributed at least 26,181 lbs. of materials to the Chemetco Site. These materials were

 generated by Decco Alloys and contained hazardous substances.

        2278. To date, Decco Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2279. According to Chemetco Site records, Defendant Decker Salvage (“Decker

 Salvage”) contributed at least 22,345 lbs. of materials to the Chemetco Site. These materials

 were generated by Decker Salvage and contained hazardous substances.

        2280. To date, Decker Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2281. According to Chemetco Site records, Defendant Deer Valley Recycling, LLC

 (“Deer Valley”) contributed at least 65,935 lbs. of materials to the Chemetco Site. These

 materials were generated by Deer Valley and contained hazardous substances.

        2282. To date, Deer Valley has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2283. According to Chemetco Site records, Defendant Deixiar Fer (“Deixiar Fer”)

 contributed at least 41 lbs. of materials to the Chemetco Site. These materials were generated by

 Deixiar Fer and contained hazardous substances.

        2284. To date, Deixiar Fer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2285. According to Chemetco Site records, Defendant DeKalb Iron and Metal Co.

 (“DeKalb Iron”) contributed at least 195,965 lbs. of materials to the Chemetco Site. These

 materials were generated by DeKalb Iron and contained hazardous substances.

        2286. To date, DeKalb Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2287. According to Chemetco Site records, Defendant Dekoron Wire & Cable, LLC

 (“Dekoron Wire”) contributed at least 114,251 lbs. of materials to the Chemetco Site. These

 materials were generated by Dekoron Wire and contained hazardous substances.

        2288. To date, Dekoron Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2289. According to Chemetco Site records, Defendant Delaware Metal Corp.

 (“Delaware Metal”) contributed at least 85,280 lbs. of materials to the Chemetco Site. These

 materials were generated by Delaware Metal and contained hazardous substances.




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        2290. To date, Delaware Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2291. According to Chemetco Site records, Defendant Delco-Remy General Motors

 Corp. (“Delco-Remy Motors”) contributed at least 4,493,185 lbs. of materials to the Chemetco

 Site. These materials were generated by Delco-Remy Motors and contained hazardous

 substances.

        2292. To date, Delco-Remy Motors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2293. According to Chemetco Site records, Defendant Dell’s Auto Wrecking, Inc.

 (“Dell’s Auto”) contributed at least 33,990 lbs. of materials to the Chemetco Site. These

 materials were generated by Dell’s Auto and contained hazardous substances.

        2294. To date, Dell’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2295. According to Chemetco Site records, Defendant Delmar Scrap (“Delmar Scrap”)

 contributed at least 21,304 lbs. of materials to the Chemetco Site. These materials were

 generated by Delmar Scrap and contained hazardous substances.

        2296. To date, Delmar Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2297. According to Chemetco Site records, Defendant Delmore Motor (“Delmore

 Motor”) contributed at least 50 lbs. of materials to the Chemetco Site. These materials were

 generated by Delmore Motor and contained hazardous substances.

        2298. To date, Delmore Motor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2299. According to Chemetco Site records, Defendant Delorenzo Scrap (“Delorenzo

 Scrap”) contributed at least 93,592 lbs. of materials to the Chemetco Site. These materials were

 generated by Delorenzo Scrap and contained hazardous substances.

        2300. To date, Delorenzo Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2301. According to Chemetco Site records, Defendant Delphi Mecatronic Systems

 (“Delphi Systems”) contributed at least 86,092 lbs. of materials to the Chemetco Site. These

 materials were generated by Delphi Systems and contained hazardous substances.

        2302. To date, Delphi Systems has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2303. According to Chemetco Site records, Defendant Delta Salvage (“Delta Salvage”)

 contributed at least 279,772 lbs. of materials to the Chemetco Site. These materials were

 generated by Delta Salvage and contained hazardous substances.

        2304. To date, Delta Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2305. According to Chemetco Site records, Defendant Delta Scrap (“Delta Scrap”)

 contributed at least 75,439 lbs. of materials to the Chemetco Site. These materials were

 generated by Delta Scrap and contained hazardous substances.

        2306. To date, Delta Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2307. According to Chemetco Site records, Defendant Deltec, Inc. (“Deltec”)

 contributed at least 55,805 lbs. of materials to the Chemetco Site. These materials were

 generated by Deltec and contained hazardous substances.




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        2308. To date, Deltec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2309. According to Chemetco Site records, Defendant Demilta Scrap & Salvage Inc.

 (“Demilta Salvage”) contributed at least 115,964 lbs. of materials to the Chemetco Site. These

 materials were generated by Demilta Salvage and contained hazardous substances.

        2310. To date, Demilta Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2311. According to Chemetco Site records, Defendant DeNaples Auto Parts, Inc.

 (“DeNaples Auto”) contributed at least 5,390 lbs. of materials to the Chemetco Site. These

 materials were generated by DeNaples Auto and contained hazardous substances.

        2312. To date, DeNaples Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2313. According to Chemetco Site records, Defendant DENSO Manufacturing

 Tennessee, Inc. (“DENSO”) contributed at least 775 lbs. of materials to the Chemetco Site.

 These materials were generated by DENSO and contained hazardous substances.

        2314. To date, DENSO has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2315. According to Chemetco Site records, Defendant The Depot (“The Depot”)

 contributed at least 780 lbs. of materials to the Chemetco Site. These materials were generated

 by The Depot and contained hazardous substances.

        2316. To date, The Depot has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2317. According to Chemetco Site records, Defendant Des Jardins R. (“Des Jardins”)

 contributed at least 2,590 lbs. of materials to the Chemetco Site. These materials were generated

 by Des Jardins and contained hazardous substances.

        2318. To date, Des Jardins has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2319. According to Chemetco Site records, Defendant Desert Metals (“Desert Metals”)

 contributed at least 10,760 lbs. of materials to the Chemetco Site. These materials were

 generated by Desert Metals and contained hazardous substances.

        2320. To date, Desert Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2321. Defendant Deutsche Nickel America, Inc. (“Deutsche Nickel”) is responsible for

 the waste attributable to City Metal Co., Inc. doing business as Criterion Recycling (“City

 Metal”).

        2322. In or about 2002, City Metal was merged into Deutsche Nickel.

        2323. According to Chemetco Site records, City Metal contributed at least 172,984 lbs.

 of materials to the Chemetco Site. These materials were generated by City Metal and contained

 hazardous substances.

        2324. To date, Deutsche Nickel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2325. According to Chemetco Site records, Defendant Devandry’s Recycling

 (“Devandry’s Recycling”) contributed at least 18,315 lbs. of materials to the Chemetco Site.

 These materials were generated by Devandry’s Recycling and contained hazardous substances.




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        2326. To date, Devandry’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2327. According to Chemetco Site records, Defendant Dewey Cook Scrap Iron Co.

 (“Dewey Scrap Iron”) contributed at least 4,984 lbs. of materials to the Chemetco Site. These

 materials were generated by Dewey Scrap Iron and contained hazardous substances.

        2328. To date, Dewey Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2329. Defendant Dexmet Corp. (“Dexmet”) is responsible for the waste attributable to

 Exmet of Kentucky, Inc. (“Exmet of Kentucky”).

        2330. According to Chemetco Site records, Exmet of Kentucky contributed at least

 37,240 lbs. of materials to the Chemetco Site. These materials were generated by Exmet of

 Kentucky and contained hazardous substances.

        2331. To date, Dexmet has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2332. According to Chemetco Site records, Defendant Dial Manufacturing, Inc. (“Dial

 Manufacturing”) contributed at least 36,445 lbs. of materials to the Chemetco Site. These

 materials were generated by Dial Manufacturing and contained hazardous substances.

        2333. To date, Dial Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2334. According to Chemetco Site records, Defendant Diamond Corporation, Inc.

 (“Diamond”) contributed at least 7,919 lbs. of materials to the Chemetco Site. These materials

 were generated by Diamond and contained hazardous substances.




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        2335. To date, Diamond has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2336. According to Chemetco Site records, Defendant Diana-TX Utility (“Diana-TX

 Utility”) contributed at least 29 lbs. of materials to the Chemetco Site. These materials were

 generated by Diana-TX Utility and contained hazardous substances.

        2337. To date, Diana-TX Utility has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2338. According to Chemetco Site records, Defendant Die-Mate Corporation (“Die-

 Mate”) contributed at least 15,109 lbs. of materials to the Chemetco Site. These materials were

 generated by Die-Mate and contained hazardous substances.

        2339. To date, Die-Mate has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2340. Defendant Dignity Health (“Dignity Health”) is responsible for the waste

 attributable to St. Joseph’s Hospital (“St. Joseph’s Hospital”).

        2341. According to Chemetco Site records, St. Joseph’s Hospital contributed at least

 12,607 lbs. of materials to the Chemetco Site. These materials were generated by St. Joseph’s

 Hospital and contained hazardous substances.

        2342. To date, Dignity Health has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2343. According to Chemetco Site records, Defendant Dikes Iron & Metal (“Dikes Iron

 & Metal”) contributed at least 48,185 lbs. of materials to the Chemetco Site. These materials

 were generated by Dikes Iron & Metal and contained hazardous substances.




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        2344. To date, Dikes Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2345. According to Chemetco Site records, Defendant Dillion Recycling Center Inc.

 (“Dillion Recycling”) contributed at least 367,670 lbs. of materials to the Chemetco Site. These

 materials were generated by Dillion Recycling and contained hazardous substances.

        2346. To date, Dillion Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2347. According to Chemetco Site records, Defendant Direct Cable Buyers, LLC

 (“Direct Cable”) contributed at least 76,694 lbs. of materials to the Chemetco Site. These

 materials were generated by Direct Cable and contained hazardous substances.

        2348. To date, Direct Cable has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2349. According to Chemetco Site records, Defendant Dittmer Company (“Dittmer”)

 contributed at least 140,128 lbs. of materials to the Chemetco Site. These materials were

 generated by Dittmer and contained hazardous substances.

        2350. To date, Dittmer has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2351. According to Chemetco Site records, Defendant Diversified C. (“Diversified C.”)

 contributed at least 211,712 lbs. of materials to the Chemetco Site. These materials were

 generated by Diversified C. and contained hazardous substances.

        2352. To date, Diversified C. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2353. According to Chemetco Site records, Defendant Dix Scrap Iron & Metal (“Dix

 Scrap”) contributed at least 682,451 lbs. of materials to the Chemetco Site. These materials were

 generated by Dix Scrap and contained hazardous substances.

        2354. To date, Dix Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2355. Defendant Dixie Electro Mechanical Services, Inc. (“Dixie Electro”) is

 responsible for the waste attributable to Dixie Electric Motor Service, Inc. (“Dixie Electric”).

        2356. In or about 2009, Dixie Electric amended its name to Dixie Electro.

        2357. According to Chemetco Site records, Dixie Electric contributed at least 31,465

 lbs. of materials to the Chemetco Site. These materials were generated by Dixie Electric and

 contained hazardous substances.

        2358. To date, Dixie Electro has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2359. According to Chemetco Site records, Defendant Dixie Iron (“Dixie Iron”)

 contributed at least 42,228 lbs. of materials to the Chemetco Site. These materials were

 generated by Dixie Iron and contained hazardous substances.

        2360. To date, Dixie Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2361. According to Chemetco Site records, Defendant Dixon Scrap (“Dixon Scrap”)

 contributed at least 3,270 lbs. of materials to the Chemetco Site. These materials were generated

 by Dixon Scrap and contained hazardous substances.

        2362. To date, Dixon Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2363. According to Chemetco Site records, Defendant Dixson Metals Recycling, Inc.

 (“Dixson Recycling”) contributed at least 198,917 lbs. of materials to the Chemetco Site. These

 materials were generated by Dixson Recycling and contained hazardous substances.

        2364. To date, Dixson Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2365. Defendant DJK Properties, LLC (“DJK Properties”) is responsible for the waste

 attributable to Huco, Inc. doing business as Kurpinski Metal Recycling (“Huco”).

        2366. According to Chemetco Site records, Huco contributed at least 168,354 lbs. of

 materials to the Chemetco Site. These materials were generated by Huco and contained

 hazardous substances.

        2367. To date, DJK Properties has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2368. According to Chemetco Site records, Defendant Dlubak Glass Company (“Dlubak

 Glass”) contributed materials to the Chemetco Site. These materials were generated by Dlubak

 Glass and contained hazardous substances.

        2369. To date, Dlubak Glass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2370. According to Chemetco Site records, Defendant DMD Systems Recovery, Inc.

 (“DMD Recovery”) contributed at least 14,412 lbs. of materials to the Chemetco Site. These

 materials were generated by DMD Recovery and contained hazardous substances.

        2371. To date, DMD Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2372. According to Chemetco Site records, Defendant Do More Recycling (“Do More

 Recycling”) contributed at least 88,239 lbs. of materials to the Chemetco Site. These materials

 were generated by Do More Recycling and contained hazardous substances.

        2373. To date, Do More Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2374. According to Chemetco Site records, Defendant Dobrofsky & Co. Inc.

 (“Dobrofsky”) contributed at least 186,849 lbs. of materials to the Chemetco Site. These

 materials were generated by Dobrofsky and contained hazardous substances.

        2375. To date, Dobrofsky has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2376. According to Chemetco Site records, Defendant Dobrow Industries Inc.

 (“Dobrow Industries”) contributed at least 142,360 lbs. of materials to the Chemetco Site. These

 materials were generated by Dobrow Industries and contained hazardous substances.

        2377. To date, Dobrow Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2378. According to Chemetco Site records, Defendant The Doe Run Company (“Doe

 Run”) contributed at least 94,480 lbs. of materials to the Chemetco Site. These materials were

 generated by Doe Run and contained hazardous substances.

        2379. To date, Doe Run has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2380. According to Chemetco Site records, Defendant Dolphin, Incorporated

 (“Dolphin”) contributed at least 3,195 lbs. of materials to the Chemetco Site. These materials

 were generated by Dolphin and contained hazardous substances.




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        2381. To date, Dolphin has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2382. According to Chemetco Site records, Defendant Dominion Nickel (“Dominion

 Nickel”) contributed at least 3,554 lbs. of materials to the Chemetco Site. These materials were

 generated by Dominion Nickel and contained hazardous substances.

        2383. To date, Dominion Nickel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2384. According to Chemetco Site records, Defendant Don Hoctors Auto Wrecking

 (“Hoctors Auto Wrecking”) contributed at least 1,468 lbs. of materials to the Chemetco Site.

 These materials were generated by Hoctors Auto Wrecking and contained hazardous substances.

        2385. To date, Hoctors Auto Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2386. Defendant Don’s Car Crushing, Inc. (“Don’s Car Crushing”) is responsible for the

 waste attributable to Don’s Scrap Iron & Metal Co., Inc. (“Don’s Scrap Iron”).

        2387. In or about 1973, Don’s Scrap Iron was formed.

        2388. In or about 2005, Don’s Car Crushing was formed.

        2389. In or about 2016, Don’s Scrap Iron was merged with and into Don’s Car

 Crushing.

        2390. According to Chemetco Site records, Don’s Scrap Iron contributed at least

 181,876 lbs. of materials to the Chemetco Site. These materials were generated by Don’s Scrap

 Iron and contained hazardous substances.

        2391. To date, Don’s Car Crushing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site




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        2392. According to Chemetco Site records, Defendant Don’s Scrap Metal (“Don’s

 Scrap”) contributed at least 24,172 lbs. of materials to the Chemetco Site. These materials were

 generated by Don’s Scrap and contained hazardous substances.

        2393. To date, Don’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2394. According to Chemetco Site records, Defendant Donaghy Recycling (“Donaghy

 Recycling”) contributed at least 1,372 lbs. of materials to the Chemetco Site. These materials

 were generated by Donaghy Recycling and contained hazardous substances.

        2395. To date, Donaghy Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2396. According to Chemetco Site records, Defendant Dongbu Daewoo Electronics

 America Inc. (“Daewoo Electronics”) contributed at least 58,355 lbs. of materials to the

 Chemetco Site. These materials were generated by Daewoo Electronics and contained hazardous

 substances.

        2397. To date, Daewoo Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2398. According to Chemetco Site records, Defendant Double A Metal (“Double A

 Metal”) contributed at least 281 lbs. of materials to the Chemetco Site. These materials were

 generated by Double A Metal and contained hazardous substances.

        2399. To date, Double A Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2400. According to Chemetco Site records, Defendant Douglas Iron (“Douglas Iron”)

 contributed at least 79 lbs. of materials to the Chemetco Site. These materials were generated by

 Douglas Iron and contained hazardous substances.

        2401. To date, Douglas Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2402. According to Chemetco Site records, Defendant Dover Industrial Scrap Salvage

 (“Dover Industrial”) contributed at least 2,331 lbs. of materials to the Chemetco Site. These

 materials were generated by Dover Industrial and contained hazardous substances.

        2403. To date, Dover Industrial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2404. According to Chemetco Site records, Defendant Dover Scrap D. (“Dover Scrap”)

 contributed at least 342 lbs. of materials to the Chemetco Site. These materials were generated

 by Dover Scrap and contained hazardous substances.

        2405. To date, Dover Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2406. According to Chemetco Site records, Defendant Down River Scrap Iron & Metal

 Co. (“Down River Metal”) contributed at least 142,070 lbs. of materials to the Chemetco Site.

 These materials were generated by Down River Metal and contained hazardous substances.

        2407. To date, Down River Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2408. According to Chemetco Site records, Defendant DP - Clinton (“DP Clinton”)

 contributed at least 481 lbs. of materials to the Chemetco Site. These materials were generated

 by DP Clinton and contained hazardous substances.




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        2409. To date, DP Clinton has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2410. According to Chemetco Site records, Defendant DP Recycling (“DP Recycling”)

 contributed at least 1,938,757 lbs. of materials to the Chemetco Site. These materials were

 generated by DP Recycling and contained hazardous substances.

        2411. To date, DP Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2412. According to Chemetco Site records, Defendant DRC Metals Co. (“DRC Metals”)

 contributed at least 574 lbs. of materials to the Chemetco Site. These materials were generated

 by DRC Metals and contained hazardous substances.

        2413. To date, DRC Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2414. According to Chemetco Site records, Defendant Dublin Scrap Metal (“Dublin

 Scrap”) contributed at least 3,053 lbs. of materials to the Chemetco Site. These materials were

 generated by Dublin Scrap and contained hazardous substances.

        2415. To date, Dublin Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2416. According to Chemetco Site records, Defendant Dublin Scrap Metal, Inc.

 (“Dublin Metal”) contributed at least 204,293 lbs. of materials to the Chemetco Site. These

 materials were generated by Dublin Metal and contained hazardous substances.

        2417. Additionally, Dublin Metal is responsible for the waste attributable to J&J Metal

 Co. (“J&J Metal”).




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        2418. According to Chemetco Site records, J&J Metal contributed at least 39,077 lbs. of

 materials to the Chemetco Site. These materials were generated by J&J Metal and contained

 hazardous substances.

        2419. To date, Dublin Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2420. According to Chemetco Site records, Defendant Dudek, Inc. (“Dudek”)

 contributed at least 48,728 lbs. of materials to the Chemetco Site. These materials were

 generated by Dudek and contained hazardous substances.

        2421. To date, Dudek has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2422. According to Chemetco Site records, Defendant Duenner Supply Company

 (“Duenner Supply”) contributed at least 9,324 lbs. of materials to the Chemetco Site. These

 materials were generated by Duenner Supply and contained hazardous substances.

        2423. To date, Duenner Supply has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2424. According to Chemetco Site records, Defendant Duffie’s Recycling (“Duffie’s

 Recycling”) contributed at least 30,930 lbs. of materials to the Chemetco Site. These materials

 were generated by Duffie’s Recycling and contained hazardous substances.

        2425. To date, Duffie’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2426. According to Chemetco Site records, Defendant Duggan Industries, Inc.

 (“Duggan Industries”) contributed at least 123,279 lbs. of materials to the Chemetco Site. These

 materials were generated by Duggan Industries and contained hazardous substances.




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        2427. To date, Duggan Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2428. According to Chemetco Site records, Defendant Duisburger Kupferhütte

 (“Duisburger”) contributed at least 4,867 lbs. of materials to the Chemetco Site. These materials

 were generated by Duisburger and contained hazardous substances.

        2429. To date, Duisburger has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2430. Defendant Duke Energy Carolinas, LLC (“Duke Energy”) is responsible for the

 waste attributable to Duke Power Company LLC (“Duke Power”).

        2431. In or about 2006, Duke Power amended its name to Duke Energy.

        2432. According to Chemetco Site records, Duke Power contributed at least 132,033

 lbs. of materials to the Chemetco Site. These materials were generated by Duke Power and

 contained hazardous substances.

        2433. To date, Duke Energy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2434. According to Chemetco Site records, Defendant Dulin Metals Company (“Dulin

 Metals”) contributed at least 1,490,745 lbs. of materials to the Chemetco Site. These materials

 were generated by Dulin Metals and contained hazardous substances.

        2435. To date, Dulin Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2436. According to Chemetco Site records, Defendant Duluth Brass Manufacturing, Inc.

 (“Duluth Manufacturing”) contributed at least 439,378 lbs. of materials to the Chemetco Site.

 These materials were generated by Duluth Manufacturing and contained hazardous substances.




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        2437. To date, Duluth Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2438. According to Chemetco Site records, Defendant Dume Bros. (“Dume”)

 contributed at least 410,980 lbs. of materials to the Chemetco Site. These materials were

 generated by Dume and contained hazardous substances.

        2439. To date, Dume has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2440. According to Chemetco Site records, Defendant Duncan Electronics Division

 (“Duncan Electronics”) contributed at least 1,223 lbs. of materials to the Chemetco Site. These

 materials were generated by Duncan Electronics and contained hazardous substances.

        2441. To date, Duncan Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2442. According to Chemetco Site records, Defendant Duncan Iron (“Duncan Iron”)

 contributed at least 342 lbs. of materials to the Chemetco Site. These materials were generated

 by Duncan Iron and contained hazardous substances.

        2443. To date, Duncan Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2444. According to Chemetco Site records, Defendant Dunham-Bush USA LLC

 (“Dunham-Bush”) contributed at least 53,567 lbs. of materials to the Chemetco Site. These

 materials were generated by Dunham-Bush and contained hazardous substances.

        2445. To date, Dunham-Bush has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2446. According to Chemetco Site records, Defendant Duplicate Don (“Duplicate Don”)

 contributed at least 1,310 lbs. of materials to the Chemetco Site. These materials were generated

 by Duplicate Don and contained hazardous substances.

        2447. To date, Duplicate Don has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2448. Defendant Dura-Bond Steel Corp. (“Dura-Bond Steel”) is responsible for the

 waste attributable to J.A. Norris Specialty Metals (“Norris Specialty”).

        2449. According to Chemetco Site records, Norris Specialty contributed at least 26,153

 lbs. of materials to the Chemetco Site. These materials were generated by Norris Specialty and

 contained hazardous substances.

        2450. To date, Dura-Bond Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2451. According to Chemetco Site records, Defendant Durant Iron & Metal Corporation

 (“Durant Iron”) contributed at least 264,937 lbs. of materials to the Chemetco Site. These

 materials were generated by Durant Iron and contained hazardous substances.

        2452. To date, Durant Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2453. According to Chemetco Site records, Defendant Durham Auto Parts (“Durham

 Auto Parts”) contributed at least 183 lbs. of materials to the Chemetco Site. These materials were

 generated by Durham Auto Parts and contained hazardous substances.

        2454. To date, Durham Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2455. According to Chemetco Site records, Defendant Dustman Iron (“Dustman Iron”)

 contributed at least 4,212 lbs. of materials to the Chemetco Site. These materials were generated

 by Dustman Iron and contained hazardous substances.

        2456. To date, Dustman Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2457. According to Chemetco Site records, Defendant Dynatek Machines Incorporated

 (“Dynatek Machines”) contributed at least 12,699 lbs. of materials to the Chemetco Site. These

 materials were generated by Dynatek Machines and contained hazardous substances.

        2458. To date, Dynatek Machines has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2459. According to Chemetco Site records, Defendant E. Choen & Son (“Choen &

 Son”) contributed at least 91,877 lbs. of materials to the Chemetco Site. These materials were

 generated by Choen & Son and contained hazardous substances.

        2460. To date, Choen & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2461. According to Chemetco Site records, Defendant E. Jordan Metal (“Jordan Metal”)

 contributed at least 168,496 lbs. of materials to the Chemetco Site. These materials were

 generated by Jordan Metal and contained hazardous substances.

        2462. To date, Jordan Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2463. According to Chemetco Site records, Defendant E. Town Recycling (“E. Town

 Recycling”) contributed at least 28,541 lbs. of materials to the Chemetco Site. These materials

 were generated by E. Town Recycling and contained hazardous substances.




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        2464. To date, E. Town Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2465. According to Chemetco Site records, Defendant E.G.I., Inc. (“EGI”) contributed

 at least 2,475 lbs. of materials to the Chemetco Site. These materials were generated by EGI and

 contained hazardous substances.

        2466. To date, EGI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2467. According to Chemetco Site records, Defendant E.I. DuPont De Nemours and Co.

 (“DuPont”) contributed at least 18,680 lbs. of materials to the Chemetco Site. These materials

 were generated by DuPont and contained hazardous substances.

        2468. To date, DuPont has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2469. According to Chemetco Site records, Defendant E.M.S. Europea de Metales y

 Servicios SL (“E.M.S. Europea”) contributed at least 566,817 lbs. of materials to the Chemetco

 Site. These materials were generated by E.M.S. Europea and contained hazardous substances.

        2470. To date, E.M.S. Europea has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2471. According to Chemetco Site records, Defendant E&J Auto Salvage, LLC (“E&J

 Auto”) contributed at least 5,746 lbs. of materials to the Chemetco Site. These materials were

 generated by E&J Auto and contained hazardous substances.

        2472. To date, E&J Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2473. According to Chemetco Site records, Defendant E&J Metal Company (“E&J

 Metal”) contributed at least 238,056 lbs. of materials to the Chemetco Site. These materials were

 generated by E&J Metal and contained hazardous substances.

        2474. To date, E&J Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2475. According to Chemetco Site records, Defendant E&R Recycling (“E&R

 Recycling”) contributed at least 12,228 lbs. of materials to the Chemetco Site. These materials

 were generated by E&R Recycling and contained hazardous substances.

        2476. To date, E&R Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2477. According to Chemetco Site records, Defendant E&U Auto (“E&U Auto”)

 contributed at least 1,453 lbs. of materials to the Chemetco Site. These materials were generated

 by E&U Auto and contained hazardous substances.

        2478. To date, E&U Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2479. According to Chemetco Site records, Defendant E&W Portable Welding (“E&W

 Portable”) contributed at least 16,136 lbs. of materials to the Chemetco Site. These materials

 were generated by E&W Portable and contained hazardous substances.

        2480. To date, E&W Portable has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2481. According to Chemetco Site records, Defendant Eades Scrap (“Eades Scrap”)

 contributed at least 12,449 lbs. of materials to the Chemetco Site. These materials were

 generated by Eades Scrap and contained hazardous substances.




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        2482. To date, Eades Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2483. According to Chemetco Site records, Defendant Eagle Electronics Recycling, Inc.

 (“Eagle Recycling”) contributed at least 538,957 lbs. of materials to the Chemetco Site. These

 materials were generated by Eagle Recycling and contained hazardous substances.

        2484. To date, Eagle Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2485. According to Chemetco Site records, Defendant Eagle Picher (“Eagle Picher”)

 contributed at least 1,175,168 lbs. of materials to the Chemetco Site. These materials were

 generated by Eagle Picher and contained hazardous substances.

        2486. To date, Eagle Picher has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2487. According to Chemetco Site records, Defendant Eagle Scrap Metal (“Eagle

 Scrap”) contributed at least 1,085,053 lbs. of materials to the Chemetco Site. These materials

 were generated by Eagle Scrap and contained hazardous substances.

        2488. To date, Eagle Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2489. According to Chemetco Site records, Defendant Earl’s Unit (“Earl’s Unit”)

 contributed at least 59,034 lbs. of materials to the Chemetco Site. These materials were

 generated by Earl’s Unit and contained hazardous substances.

        2490. To date, Earl’s Unit has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2491. According to Chemetco Site records, Defendant Earth Excavation & Clearing

 (“Earth Excavation”) contributed at least 442 lbs. of materials to the Chemetco Site. These

 materials were generated by Earth Excavation and contained hazardous substances.

        2492. To date, Earth Excavation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2493. According to Chemetco Site records, Defendant Earthworks Recycling

 (“Earthworks Recycling”) contributed at least 11,360 lbs. of materials to the Chemetco Site.

 These materials were generated by Earthworks Recycling and contained hazardous substances.

        2494. To date, Earthworks Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2495. According to Chemetco Site records, Defendant Easley Metals (“Easley Metals”)

 contributed at least 28,871 lbs. of materials to the Chemetco Site. These materials were

 generated by Easley Metals and contained hazardous substances.

        2496. To date, Easley Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2497. Defendant East Bay Municipal Utility District (“East Bay Municipal”) is

 responsible for the waste attributable to East Bay Mud (“East Bay Mud”).

        2498. According to Chemetco Site records, East Bay Mud contributed at least 212,225

 lbs. of materials to the Chemetco Site. These materials were generated by East Bay Mud and

 contained hazardous substances.

        2499. To date, East Bay Municipal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2500. According to Chemetco Site records, Defendant East Coast Recycling (“East

 Coast Recycling”) contributed at least 8,043 lbs. of materials to the Chemetco Site. These

 materials were generated by East Coast Recycling and contained hazardous substances.

        2501. To date, East Coast Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2502. According to Chemetco Site records, Defendant East Coast Scrap Metals (“East

 Coast Scrap”) contributed at least 649,933 lbs. of materials to the Chemetco Site. These

 materials were generated by East Coast Scrap and contained hazardous substances.

        2503. To date, East Coast Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2504. According to Chemetco Site records, Defendant East End Auto (“East End Auto”)

 contributed at least 1,811 lbs. of materials to the Chemetco Site. These materials were generated

 by East End Auto and contained hazardous substances.

        2505. To date, East End Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2506. According to Chemetco Site records, Defendant Eastern Coastal (“Eastern

 Coastal”) contributed at least 16,643 lbs. of materials to the Chemetco Site. These materials were

 generated by Eastern Coastal and contained hazardous substances.

        2507. To date, Eastern Coastal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2508. Defendant Eastern Economic Recycling LLC (“Economic Recycling”) is

 responsible for the waste attributable to Chris’s Scrap Iron & Metal (“Chris’s Scrap”).




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        2509. According to Chemetco Site records, Chris’s Scrap contributed at least 50,124 lbs.

 of materials to the Chemetco Site. These materials were generated by Chris’s Scrap and

 contained hazardous substances.

        2510. To date, Economic Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2511. According to Chemetco Site records, Defendant Eastern Product Foundry, Inc.

 (“Eastern Product”) contributed at least 32,617 lbs. of materials to the Chemetco Site. These

 materials were generated by Eastern Product and contained hazardous substances.

        2512. To date, Eastern Product has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2513. According to Chemetco Site records, Defendant Easton Iron & Metal (“Easton

 Iron & Metal”) contributed at least 65,800 lbs. of materials to the Chemetco Site. These materials

 were generated by Easton Iron & Metal and contained hazardous substances.

        2514. To date, Easton Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2515. According to Chemetco Site records, Defendant Eatman Metals (“Eatman

 Metals”) contributed at least 10,884 lbs. of materials to the Chemetco Site. These materials were

 generated by Eatman Metals and contained hazardous substances.

        2516. To date, Eatman Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2517. According to Chemetco Site records, Defendant Eclipse Technology (“Eclipse

 Tech”) contributed at least 787,691 lbs. of materials to the Chemetco Site. These materials were

 generated by Eclipse Tech and contained hazardous substances.




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        2518. To date, Eclipse Tech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2519. Defendant Eclipse, Inc. (“Eclipse”) is responsible for the waste attributable to

 Sall-Eclipse, Inc. (“Sall-Eclipse”).

        2520. In or about 1986, Sall-Eclipse was formed as a Illinois corporation.

        2521. In or about 1994, Eclipse, Inc. (“Eclipse, Inc.”) was formed as a Illinois

 corporation.

        2522. In or about 1998, Sall-Eclipse was dissolved, with last officer of record as

 president Douglas C. Perks at 1665 Elmwood Road, Rockford, Illinois.

        2523. In or about 2002, Eclipse, Inc. was merged with an into Eclipse Combustion, Inc.,

 and the surviving entity’s name became Eclipse.

        2524. The last officer of record for Eclipse, Inc. is president Douglas C. Perks at 1665

 Elmwood Road, Rockford, Illinois.

        2525. According to Chemetco Site records, Sall-Eclipse contributed at least 483,761 lbs.

 of materials to the Chemetco Site. These materials were generated by Sall-Eclipse and contained

 hazardous substances.

        2526. To date, Eclipse has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2527. According to Chemetco Site records, Defendant Eco Recycling Systems, Inc.

 (“Eco Recycling”) contributed at least 200,730 lbs. of materials to the Chemetco Site. These

 materials were generated by Eco Recycling and contained hazardous substances.

        2528. To date, Eco Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2529. According to Chemetco Site records, Defendant Eco Resources, Inc. (“Eco

 Resources”) contributed at least 1,480 lbs. of materials to the Chemetco Site. These materials

 were generated by Eco Resources and contained hazardous substances.

        2530. To date, Eco Resources has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2531. Defendant Ecology, Inc. (“Ecology”) is responsible for the waste attributable to

 Lake County Scrap Metal (“Lake County Metal”).

        2532. Lake County Metal is an assumed name of Ecology.

        2533. According to Chemetco Site records, Lake County Metal contributed at least

 60,382 lbs. of materials to the Chemetco Site. These materials were generated by Lake County

 Metal and contained hazardous substances.

        2534. Additionally, Ecology is responsible for the waste attributable to St. Charles

 Scrap (“Charles Scrap”).

        2535. Charles Scrap is an assumed name of Ecology.

        2536. According to Chemetco Site records, Charles Scrap contributed at least 92,452

 lbs. of materials to the Chemetco Site. These materials were generated by Charles Scrap and

 contained hazardous substances.

        2537. To date, Ecology has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2538. According to Chemetco Site records, Defendant ECP (“ECP”) contributed at least

 121,841 lbs. of materials to the Chemetco Site. These materials were generated by ECP and

 contained hazardous substances.




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        2539. To date, ECP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2540. According to Chemetco Site records, Defendant Ed’s Salvage (“Ed’s Salvage”)

 contributed at least 3,940 lbs. of materials to the Chemetco Site. These materials were generated

 by Ed’s Salvage and contained hazardous substances.

        2541. To date, Ed’s Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2542. According to Chemetco Site records, Defendant Edco Recycling Co. (“Edco

 Recycling”) contributed at least 333,885 lbs. of materials to the Chemetco Site. These materials

 were generated by Edco Recycling and contained hazardous substances.

        2543. To date, Edco Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2544. According to Chemetco Site records, Defendant Eddie’s Recycling (“Eddie’s

 Recycling”) contributed at least 99 lbs. of materials to the Chemetco Site. These materials were

 generated by Eddie’s Recycling and contained hazardous substances.

        2545. To date, Eddie’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2546. According to Chemetco Site records, Defendant Eddison Pipe (“Eddison Pipe”)

 contributed at least 550 lbs. of materials to the Chemetco Site. These materials were generated

 by Eddison Pipe and contained hazardous substances.

        2547. To date, Eddison Pipe has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2548. According to Chemetco Site records, Defendant EDP Electronic Power Design

 Inc. (“EDP”) contributed at least 756 lbs. of materials to the Chemetco Site. These materials

 were generated by EDP and contained hazardous substances.

        2549. To date, EDP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2550. According to Chemetco Site records, Defendant Edward F. Sullivan & Sons, Inc.

 (“Edward Sullivan & Sons”) contributed at least 114,123 lbs. of materials to the Chemetco Site.

 These materials were generated by Edward Sullivan & Sons and contained hazardous substances.

        2551. Additionally, Edward Sullivan & Sons is responsible for the waste attributable to

 Thomas M. Sullivan & Son (“Thomas Sullivan”).

        2552. Thomas Sullivan is an assumed name of Edward Sullivan & Sons.

        2553. According to Chemetco Site records, Thomas Sullivan contributed at least 19,310

 lbs. of materials to the Chemetco Site. These materials were generated by Thomas Sullivan and

 contained hazardous substances.

        2554. To date, Edward Sullivan & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2555. According to Chemetco Site records, Defendant Effingham Metals (“Effingham

 Metals”) contributed at least 15,059 lbs. of materials to the Chemetco Site. These materials were

 generated by Effingham Metals and contained hazardous substances.

        2556. To date, Effingham Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2557. According to Chemetco Site records, Defendant Ehrig’s Scrap Metals, Inc.

 (“Ehrig’s Metals”) contributed at least 23,814 lbs. of materials to the Chemetco Site. These

 materials were generated by Ehrig’s Metals and contained hazardous substances.

        2558. To date, Ehrig’s Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2559. According to Chemetco Site records, Defendant 801 Trading Post (“801

 Trading”) contributed at least 817 lbs. of materials to the Chemetco Site. These materials were

 generated by 801 Trading and contained hazardous substances.

        2560. To date, 801 Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2561. According to Chemetco Site records, Defendant Einfalt Recycling & Salvage, Inc.

 (“Einfalt Recycling”) contributed at least 80,842 lbs. of materials to the Chemetco Site. These

 materials were generated by Einfalt Recycling and contained hazardous substances.

        2562. To date, Einfalt Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2563. According to Chemetco Site records, Defendant Ekco Metals (“Ekco Metals”)

 contributed at least 1,770,948 lbs. of materials to the Chemetco Site. These materials were

 generated by Ekco Metals and contained hazardous substances.

        2564. To date, Ekco Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2565. According to Chemetco Site records, Defendant Elan Trading, Inc. (“Elan

 Trading”) contributed materials to the Chemetco Site. These materials were generated by Elan

 Trading and contained hazardous substances.




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        2566. To date, Elan Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2567. According to Chemetco Site records, Defendant Eldorado Enterprises, Inc.

 (“Eldorado Enterprises”) contributed at least 319,191 lbs. of materials to the Chemetco Site.

 These materials were generated by Eldorado Enterprises and contained hazardous substances.

        2568. To date, Eldorado Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2569. According to Chemetco Site records, Defendant Electric Wire & Cable Co., Inc.

 (“Electric Wire”) contributed at least 125,440 lbs. of materials to the Chemetco Site. These

 materials were generated by Electric Wire and contained hazardous substances.

        2570. To date, Electric Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2571. Defendant Electrical Components International, Inc. (“ECI”) is responsible for the

 waste attributable to NOMA Corporation (“NOMA”).

        2572. In or about February 2007, ECI acquired NOMA.

        2573. According to Chemetco Site records, NOMA contributed at least 3,117 lbs. of

 materials to the Chemetco Site. These materials were generated by NOMA and contained

 hazardous substances.

        2574. To date, ECI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2575. According to Chemetco Site records, Defendant Electrical Maintenance and

 Testing, Inc. doing business as OCR’s (“EMT”) contributed at least 39,316 lbs. of materials to

 the Chemetco Site. These materials were generated by EMT and contained hazardous substances.




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        2576. To date, EMT has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2577. According to Chemetco Site records, Defendant Electrical Rebuilders Sales, Inc.

 doing business as Vapex Vernon Auto Parts Exchange (“Electrical Rebuilders”) contributed at

 least 196,883 lbs. of materials to the Chemetco Site. These materials were generated by

 Electrical Rebuilders and contained hazardous substances.

        2578. To date, Electrical Rebuilders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2579. According to Chemetco Site records, Defendant Electro Plate Circuitry, Inc.

 (“Electro Plate Circuitry”) contributed at least 42,181 lbs. of materials to the Chemetco Site.

 These materials were generated by Electro Plate Circuitry and contained hazardous substances.

        2580. To date, Electro Plate Circuitry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2581. According to Chemetco Site records, Defendant Electromex (“Electromex”)

 contributed at least 711 lbs. of materials to the Chemetco Site. These materials were generated

 by Electromex and contained hazardous substances.

        2582. To date, Electromex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2583. According to Chemetco Site records, Defendant Electronic Power Design

 (“Power Design”) contributed at least 182 lbs. of materials to the Chemetco Site. These materials

 were generated by Power Design and contained hazardous substances.

        2584. To date, Power Design has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2585. According to Chemetco Site records, Defendant Electronic Scrap Recycling, Inc.

 (“Electronic Scrap Recycling”) contributed at least 150,559 lbs. of materials to the Chemetco

 Site. These materials were generated by Electronic Scrap Recycling and contained hazardous

 substances.

        2586. To date, Electronic Scrap Recycling has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        2587. According to Chemetco Site records, Defendant Electronic St. (“Electronic St.”)

 contributed at least 1,582 lbs. of materials to the Chemetco Site. These materials were generated

 by Electronic St. and contained hazardous substances.

        2588. To date, Electronic St. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2589. According to Chemetco Site records, Defendant Electroplated Wire Corp.

 (“Electroplated Wire”) contributed at least 23,179 lbs. of materials to the Chemetco Site. These

 materials were generated by Electroplated Wire and contained hazardous substances.

        2590. To date, Electroplated Wire has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2591. Alternatively, Defendant Fisk Alloy, Inc. (“Fisk Alloy”) is responsible for the

 waste attributable to Electroplated Wire, as alleged in paragraph no. 2589 above.

        2592. To date, Fisk Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2593. According to Chemetco Site records, Defendant Electrum Inc. doing business as

 Electrum Recovery Works (“Electrum”) contributed at least 61,742 lbs. of materials to the




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 Chemetco Site. These materials were generated by Electrum and contained hazardous

 substances.

        2594. To date, Electrum has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2595. Defendant Elevate Retail Solutions Ltd. (“Elevate Retail”) is responsible for the

 waste attributable to PMI Group Ltd. (“PMI”).

        2596. In or about 2014, PMI was merged with and into Elevate Retail.

        2597. According to Chemetco Site records, PMI contributed at least 29,220 lbs. of

 materials to the Chemetco Site. These materials were generated by PMI and contained hazardous

 substances.

        2598. To date, Elevate Retail has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2599. According to Chemetco Site records, Defendant ELG Metals, Inc. (“ELG

 Metals”) contributed at least 17 lbs. of materials to the Chemetco Site. These materials were

 generated by ELG Metals and contained hazardous substances.

        2600. To date, ELG Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2601. Defendant ELG Utica Alloys, Inc. (“ELG Utica”) is responsible for the waste

 attributable to Utica Alloys, Inc. (“Utica Alloys”).

        2602. In or about 2008, Utica Alloys amended its name to ELG Utica.

        2603. According to Chemetco Site records, Utica Alloys contributed at least 27,890 lbs.

 of materials to the Chemetco Site. These materials were generated by Utica Alloys and contained

 hazardous substances.




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        2604. To date, ELG Utica has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2605. According to Chemetco Site records, Defendant Elgin Recycling, Inc. (“Elgin

 Recycling”) contributed at least 48,322 lbs. of materials to the Chemetco Site. These materials

 were generated by Elgin Recycling and contained hazardous substances.

        2606. To date, Elgin Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2607. According to Chemetco Site records, Defendant Elgin Salvage (“Elgin Salvage”)

 contributed at least 4,044 lbs. of materials to the Chemetco Site. These materials were generated

 by Elgin Salvage and contained hazardous substances.

        2608. To date, Elgin Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2609. According to Chemetco Site records, Defendant Elizabethton Herb & Metal Co.

 (“Elizabethton Herb”) contributed at least 206,851 lbs. of materials to the Chemetco Site. These

 materials were generated by Elizabethton Herb and contained hazardous substances.

        2610. To date, Elizabethton Herb has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2611. Defendant Elkhart Products Corporation (“Elkhart Products”) is responsible for

 the waste attributable to Elkhart Products Corporation (“original Elkhart Products”).

        2612. According to Chemetco Site records, original Elkhart Products contributed at least

 80,910 lbs. of materials to the Chemetco Site. These materials were generated by original Elkhart

 Products and contained hazardous substances.




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        2613. To date, Elkhart Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2614. According to Chemetco Site records, Defendant Elkins Iron (“Elkins Iron”)

 contributed at least 35,507 lbs. of materials to the Chemetco Site. These materials were

 generated by Elkins Iron and contained hazardous substances.

        2615. To date, Elkins Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2616. Defendant Elster AMCO Water, LLC (“Elster AMCO LLC”) is responsible for

 the waste attributable to ABB Water Meters, Inc. (“ABB Water”).

        2617. In or about 2002, ABB Water amended its name to AMCO Water Metering

 Systems, Inc. (“AMCO Water”).

        2618. In or about 2006, AMCO Water amended its name to Elster AMCO Water, Inc.

 (“Elster AMCO Inc.”).

        2619. In or about 2011, Elster AMCO Inc. converted to Elster AMCO LLC.

        2620. According to Chemetco Site records, ABB Water contributed at least 2,027 lbs. of

 materials to the Chemetco Site. These materials were generated by ABB Water and contained

 hazardous substances.

        2621. To date, Elster AMCO LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2622. According to Chemetco Site records, Defendant Elwood Chemical (“Elwood

 Chemical”) contributed at least 14,788 lbs. of materials to the Chemetco Site. These materials

 were generated by Elwood Chemical and contained hazardous substances.




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        2623. To date, Elwood Chemical has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2624. According to Chemetco Site records, Defendant Em Metals (“Em Metals”)

 contributed at least 620 lbs. of materials to the Chemetco Site. These materials were generated

 by Em Metals and contained hazardous substances.

        2625. To date, Em Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2626. According to Chemetco Site records, Defendant Emerald Coast Utilities Authority

 (“ECUA”) contributed at least 30,950 lbs. of materials to the Chemetco Site. These materials

 were generated by ECUA and contained hazardous substances.

        2627. To date, ECUA has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2628. According to Chemetco Site records, Defendant Emil A. Schroth, Inc. (“Emil A.

 Schroth”) contributed at least 181,898 lbs. of materials to the Chemetco Site. These materials

 were generated by Emil A. Schroth and contained hazardous substances.

        2629. To date, Emil A. Schroth has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2630. Defendant EMJ Holdings LLC (“EMJ Holdings”) is responsible for the waste

 attributable to Midtex Electronic Exchange LLC (“Midtex Electronic”).

        2631. According to Chemetco Site records, Midtex Electronic contributed at least 2,100

 lbs. of materials to the Chemetco Site. These materials were generated by Midtex Electronic and

 contained hazardous substances.




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        2632. To date, EMJ Holdings has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2633. According to Chemetco Site records, Defendant Empire Iron & Metal (“Empire

 Iron”) contributed at least 2,676,661 lbs. of materials to the Chemetco Site. These materials were

 generated by Empire Iron and contained hazardous substances.

        2634. To date, Empire Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2635. According to Chemetco Site records, Defendant Empire Metals (“Empire

 Metals”) contributed at least 22,997 lbs. of materials to the Chemetco Site. These materials were

 generated by Empire Metals and contained hazardous substances.

        2636. To date, Empire Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2637. According to Chemetco Site records, Defendant Empire Pacific Tools (“Empire

 Tools”) contributed at least 28,616 lbs. of materials to the Chemetco Site. These materials were

 generated by Empire Tools and contained hazardous substances.

        2638. To date, Empire Tools has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2639. According to Chemetco Site records, Defendant Empire Recycling Corporation

 (“Empire Recycling”) contributed at least 1,280,307 lbs. of materials to the Chemetco Site.

 These materials were generated by Empire Recycling and contained hazardous substances.

        2640. To date, Empire Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2641. According to Chemetco Site records, Defendant EMR (“EMR”) contributed at

 least 7,033 lbs. of materials to the Chemetco Site. These materials were generated by EMR and

 contained hazardous substances.

        2642. To date, EMR has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2643. According to Chemetco Site records, Defendant Encore Resources Inc. (“Encore

 Resources”) contributed at least 2,517 lbs. of materials to the Chemetco Site. These materials

 were generated by Encore Resources and contained hazardous substances.

        2644. To date, Encore Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2645. According to Chemetco Site records, Defendant Encore Wire Corporation

 (“Encore Wire”) contributed at least 86,312 lbs. of materials to the Chemetco Site. These

 materials were generated by Encore Wire and contained hazardous substances.

        2646. To date, Encore Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2647. According to Chemetco Site records, Defendant Encycle, Inc. (“Encycle”)

 contributed at least 45,438 lbs. of materials to the Chemetco Site. These materials were

 generated by Encycle and contained hazardous substances.

        2648. To date, Encycle has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2649. According to Chemetco Site records, Defendant Engineered Coil Company doing

 business as DHS Marlo Coil (“Engineered Coil”) contributed at least 11,534 lbs. of materials to




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 the Chemetco Site. These materials were generated by Engineered Coil and contained hazardous

 substances.

        2650. To date, Engineered Coil has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2651. According to Chemetco Site records, Defendant Engle & Hoskin Radiator

 Exchange (“Engle & Hoskin”) contributed at least 1,644 lbs. of materials to the Chemetco Site.

 These materials were generated by Engle & Hoskin and contained hazardous substances.

        2652. To date, Engle & Hoskin has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2653. According to Chemetco Site records, Defendant Ennis Automotive, Inc. (“Ennis

 Automotive”) contributed at least 6,473,714 lbs. of materials to the Chemetco Site. These

 materials were generated by Ennis Automotive and contained hazardous substances.

        2654. To date, Ennis Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2655. Defendant Enova Computers (“Enova”) is responsible for the waste attributable to

 Digital Resale Corporation (“Digital Resale”).

        2656. According to Chemetco Site records, Digital Resale contributed at least 4,162 lbs.

 of materials to the Chemetco Site. These materials were generated by Digital Resale and

 contained hazardous substances.

        2657. To date, Enova has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        2658. According to Chemetco Site records, Defendant Entergy Services, Inc. (“Entergy

 Services”) contributed at least 54,510 lbs. of materials to the Chemetco Site. These materials

 were generated by Entergy Services and contained hazardous substances.

        2659. To date, Entergy Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2660. According to Chemetco Site records, Defendant Entergy Texas, Inc. (“Entergy

 Texas”) contributed at least 59,221 lbs. of materials to the Chemetco Site. These materials were

 generated by Entergy Texas and contained hazardous substances.

        2661. To date, Entergy Texas has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2662. According to Chemetco Site records, Defendant Enviro Trading (“Enviro

 Trading”) contributed at least 30 lbs. of materials to the Chemetco Site. These materials were

 generated by Enviro Trading and contained hazardous substances.

        2663. To date, Enviro Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2664. According to Chemetco Site records, Defendant Enviro-Chem, Inc. (“Enviro-

 Chem”) contributed at least 494,401 lbs. of materials to the Chemetco Site. These materials were

 generated by Enviro-Chem and contained hazardous substances.

        2665. To date, Enviro-Chem has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2666. According to Chemetco Site records, Defendant Envirolight and Disposal, Inc.

 (“Envirolight”) contributed at least 5,008 lbs. of materials to the Chemetco Site. These materials

 were generated by Envirolight and contained hazardous substances.




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        2667. To date, Envirolight has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2668. According to Chemetco Site records, Defendant Environmental Plumbing

 Services (“Environmental Plumbing”) contributed at least 15,419 lbs. of materials to the

 Chemetco Site. These materials were generated by Environmental Plumbing and contained

 hazardous substances.

        2669. To date, Environmental Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2670. According to Chemetco Site records, Defendant Environmental Protection

 Services, Inc. (“EPS”) contributed at least 182,128 lbs. of materials to the Chemetco Site. These

 materials were generated by EPS and contained hazardous substances.

        2671. To date, EPS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2672. According to Chemetco Site records, Defendant Environmental Recovery

 Services, Inc. doing business as Enviroserv (“Environmental Recovery”) contributed at least

 120,421 lbs. of materials to the Chemetco Site. These materials were generated by

 Environmental Recovery and contained hazardous substances.

        2673. To date, Environmental Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2674. Defendant EPCOR Water (USA) Inc. (“EPCOR Water”) is responsible for the

 waste attributable to Citizens Water Resources Company of Arizona (“Citizens Water”).

        2675. In or about 2010, EPCOR Water acquired Citizens Water.




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        2676. According to Chemetco Site records, Citizens Water contributed at least 82,134

 lbs. of materials to the Chemetco Site. These materials were generated by Citizens Water and

 contained hazardous substances.

        2677. To date, EPCOR Water has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2678. According to Chemetco Site records, Defendant Erath Iron & Metal, Inc. (“Erath

 Iron”) contributed at least 205,489 lbs. of materials to the Chemetco Site. These materials were

 generated by Erath Iron and contained hazardous substances.

        2679. To date, Erath Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2680. According to Chemetco Site records, Defendant Ercosa (“Ercosa”) contributed at

 least 2,414 lbs. of materials to the Chemetco Site. These materials were generated by Ercosa and

 contained hazardous substances.

        2681. To date, Ercosa has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2682. According to Chemetco Site records, Defendant Erie Copper Works, Inc. (“Erie

 Copper”) contributed at least 94,549 lbs. of materials to the Chemetco Site. These materials were

 generated by Erie Copper and contained hazardous substances.

        2683. To date, Erie Copper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2684. According to Chemetco Site records, Defendant Ernies Scrap (“Ernies Scrap”)

 contributed at least 1,924 lbs. of materials to the Chemetco Site. These materials were generated

 by Ernies Scrap and contained hazardous substances.




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        2685. To date, Ernies Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2686. According to Chemetco Site records, Defendant Escondido Sales Yard

 (“Escondido Sales Yard”) contributed at least 2,255 lbs. of materials to the Chemetco Site. These

 materials were generated by Escondido Sales Yard and contained hazardous substances.

        2687. To date, Escondido Sales Yard has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2688. According to Chemetco Site records, Defendant Essex Group Inc. (“Essex

 Group”) contributed at least 1,214,846 lbs. of materials to the Chemetco Site. These materials

 were generated by Essex Group and contained hazardous substances.

        2689. To date, Essex Group has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2690. According to Chemetco Site records, Defendant Essex Metal Alloy Co. Inc.

 (“Essex Metal”) contributed at least 292,246 lbs. of materials to the Chemetco Site. These

 materials were generated by Essex Metal and contained hazardous substances.

        2691. To date, Essex Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2692. According to Chemetco Site records, Defendant Estherville Scrap Iron and Metal

 Co. (“Estherville Scrap”) contributed at least 37,133 lbs. of materials to the Chemetco Site.

 These materials were generated by Estherville Scrap and contained hazardous substances.

        2693. To date, Estherville Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2694. According to Chemetco Site records, Defendant Esto Salvage (“Esto Salvage”)

 contributed at least 35,705 lbs. of materials to the Chemetco Site. These materials were

 generated by Esto Salvage and contained hazardous substances.

        2695. To date, Esto Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2696. According to Chemetco Site records, Defendant Estrella Used Parts (“Estrella

 Used Parts”) contributed at least 1,352 lbs. of materials to the Chemetco Site. These materials

 were generated by Estrella Used Parts and contained hazardous substances.

        2697. To date, Estrella Used Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2698. According to Chemetco Site records, Defendant Ettkin Scrap Iron & Metal Co.

 (“Ettkin Scrap”) contributed at least 1,409 lbs. of materials to the Chemetco Site. These materials

 were generated by Ettkin Scrap and contained hazardous substances.

        2699. To date, Ettkin Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2700. According to Chemetco Site records, Defendant Evans Steel (“Evans Steel”)

 contributed at least 106,683 lbs. of materials to the Chemetco Site. These materials were

 generated by Evans Steel and contained hazardous substances.

        2701. To date, Evans Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2702. According to Chemetco Site records, Defendant Everglade Iron (“Everglade

 Iron”) contributed at least 3,076 lbs. of materials to the Chemetco Site. These materials were

 generated by Everglade Iron and contained hazardous substances.




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        2703. To date, Everglade Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2704. According to Chemetco Site records, Defendant Everglades Recycling

 (“Everglades Recycling”) contributed at least 445,419 lbs. of materials to the Chemetco Site.

 These materials were generated by Everglades Recycling and contained hazardous substances.

        2705. To date, Everglades Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2706. According to Chemetco Site records, Defendant Evergreen Recycling

 (“Evergreen Recycling”) contributed at least 11,361 lbs. of materials to the Chemetco Site. These

 materials were generated by Evergreen Recycling and contained hazardous substances.

        2707. To date, Evergreen Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2708. According to Chemetco Site records, Defendant EVRAZ North America, Inc.

 doing business as Evraz Navajo Metals (“EVRAZ”) contributed at least 79,863 lbs. of materials

 to the Chemetco Site. These materials were generated by EVRAZ and contained hazardous

 substances.

        2709.   Additionally, EVRAZ is responsible for the waste attributable to General Scrap,

 Inc. (“General Scrap”).

        2710. In or about June 2008, EVRAZ acquired the outstanding stock of General Scrap.

        2711. Thereafter, General Scrap operated as a division of EVRAZ.

        2712. According to Chemetco Site records, General Scrap contributed at least 89,359

 lbs. of materials to the Chemetco Site. These materials were generated by General Scrap and

 contained hazardous substances.




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        2713. Additionally, EVRAZ is responsible for the waste attributable to Continental

 Metal Products (“Continental Metal”).

        2714. On or about June 16, 2009, Continental Metal was registered as a trade name of

 General Scrap with the North Dakota Secretary of State.

        2715. Continental Metal operated at 3101 Valley Street, Minot, North Dakota (the

 “Minot location”), and EVRAZ continues to operate as Continental Metal at the Minot location.

        2716. According to Chemetco Site records, Continental Metal contributed at least

 98,503 lbs. of materials to the Chemetco Site. These materials were generated by Continental

 Metal and contained hazardous substances.

        2717. To date, EVRAZ has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2718. According to Chemetco Site records, Defendant Excel Electronics (“Excel

 Electronics”) contributed at least 1,981 lbs. of materials to the Chemetco Site. These materials

 were generated by Excel Electronics and contained hazardous substances.

        2719. To date, Excel Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2720. According to Chemetco Site records, Defendant Excell Cores Inc. (“Excell”)

 contributed at least 11,646 lbs. of materials to the Chemetco Site. These materials were

 generated by Excell and contained hazardous substances.

        2721. To date, Excell has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        2722. According to Chemetco Site records, Defendant Exit Holdings, Inc. (“Exit

 Holdings”) contributed materials to the Chemetco Site. These materials were generated by Exit

 Holdings and contained hazardous substances.

        2723. To date, Exit Holdings has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2724. According to Chemetco Site records, Defendant Exotech, Inc. (“Exotech”)

 contributed at least 1,798 lbs. of materials to the Chemetco Site. These materials were generated

 by Exotech and contained hazardous substances.

        2725. To date, Exotech has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2726. According to Chemetco Site records, Defendant Extra Energy (“Extra Energy”)

 contributed at least 510 lbs. of materials to the Chemetco Site. These materials were generated

 by Extra Energy and contained hazardous substances.

        2727. To date, Extra Energy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2728. According to Chemetco Site records, Defendant EZ Recycling Corp. (“EZ

 Recycling”) contributed at least 90,225 lbs. of materials to the Chemetco Site. These materials

 were generated by EZ Recycling and contained hazardous substances.

        2729. To date, EZ Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2730. According to Chemetco Site records, Defendant F. Gendron Co. (“F. Gendron”)

 contributed at least 260,084 lbs. of materials to the Chemetco Site. These materials were

 generated by F. Gendron and contained hazardous substances.




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        2731. To date, F. Gendron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2732. According to Chemetco Site records, Defendant F. O’Connor Co. (“F.

 O’Connor”) contributed at least 2,475 lbs. of materials to the Chemetco Site. These materials

 were generated by F. O’Connor and contained hazardous substances.

        2733. To date, F. O’Connor has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2734. According to Chemetco Site records, Defendant F.C.F. Metal (“FCF Metal”)

 contributed at least 78,001 lbs. of materials to the Chemetco Site. These materials were

 generated by FCF Metal and contained hazardous substances.

        2735. To date, FCF Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2736. According to Chemetco Site records, Defendant F.O.G. Enterprises (“FOG

 Enterprises”) contributed at least 140,814 lbs. of materials to the Chemetco Site. These materials

 were generated by FOG Enterprises and contained hazardous substances.

        2737. To date, FOG Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2738. According to Chemetco Site records, Defendant F.P.T. Auto Shredder of

 Michigan (“F.P.T. Auto”) contributed at least 1,022,764 lbs. of materials to the Chemetco Site.

 These materials were generated by F.P.T. Auto and contained hazardous substances.

        2739. To date, F.P.T. Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2740. According to Chemetco Site records, Defendant F&F Iron & Metals (“F&F Iron

 & Metals”) contributed at least 314,467 lbs. of materials to the Chemetco Site. These materials

 were generated by F&F Iron & Metals and contained hazardous substances.

        2741. To date, F&F Iron & Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2742. According to Chemetco Site records, Defendant F&F Metals (“F&F Metals”)

 contributed at least 3,358 lbs. of materials to the Chemetco Site. These materials were generated

 by F&F Metals and contained hazardous substances.

        2743. To date, F&F Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2744. According to Chemetco Site records, Defendant F&S Metals (“F&S Metals”)

 contributed at least 384 lbs. of materials to the Chemetco Site. These materials were generated

 by F&S Metals and contained hazardous substances.

        2745. To date, F&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2746. According to Chemetco Site records, Defendant F&W Resources, Inc. doing

 business as Springfield Iron and Metal Company, Inc. (“F&W Resources”) contributed at least

 155,284 lbs. of materials to the Chemetco Site. These materials were generated by F&W

 Resources and contained hazardous substances.

        2747. To date, F&W Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2748. According to Chemetco Site records, Defendant Fagan Iron (“Fagan Iron”)

 contributed at least 11,390 lbs. of materials to the Chemetco Site. These materials were

 generated by Fagan Iron and contained hazardous substances.

        2749. To date, Fagan Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2750. According to Chemetco Site records, Defendant Fairway Salvage (“Fairway

 Salvage”) contributed at least 798,302 lbs. of materials to the Chemetco Site. These materials

 were generated by Fairway Salvage and contained hazardous substances.

        2751. To date, Fairway Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2752. According to Chemetco Site records, Defendant Faith Recycling (“Faith

 Recycling”) contributed at least 21,679 lbs. of materials to the Chemetco Site. These materials

 were generated by Faith Recycling and contained hazardous substances.

        2753. To date, Faith Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2754. According to Chemetco Site records, Defendant Falcon Foundry (“Falcon

 Foundry”) contributed at least 1,424 lbs. of materials to the Chemetco Site. These materials were

 generated by Falcon Foundry and contained hazardous substances.

        2755. To date, Falcon Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2756. According to Chemetco Site records, Defendant Falcon Transit, Inc. doing

 business as Oak Cliff Metals (“Falcon Transit”) contributed at least 77,079 lbs. of materials to




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 the Chemetco Site. These materials were generated by Falcon Transit and contained hazardous

 substances.

        2757. To date, Falcon Transit has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2758. According to Chemetco Site records, Defendant Falk Metals (“Falk Metals”)

 contributed at least 18 lbs. of materials to the Chemetco Site. These materials were generated by

 Falk Metals and contained hazardous substances.

        2759. To date, Falk Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2760. Defendant The Fall River Group, Inc. (“Fall River Group”) is responsible for the

 waste attributable to Fall River Foundry Company, Inc. (“Fall River Foundry”).

        2761. In or about 1953, Fall River Foundry was formed as a Wisconsin corporation.

        2762. In or about 1979, Fall River Foundry amended its name to The Fall River Group,

 Inc. (“original Fall River Group”).

        2763. According to Chemetco Site records, Fall River Foundry contributed at least

 39,046 lbs. of materials to the Chemetco Site. These materials were generated by Fall River

 Foundry and contained hazardous substances.

        2764. Additionally, Fall River Group is responsible for the waste attributable to

 Rheocast Corporation (“Rheocast”).

        2765. In or about June 1985, original Fall River Group was merged with and into

 Rheocast.

        2766. Additionally, in or about June 1985, Rheocast amended its name to The Fall River

 Group, Inc. (“second Fall River Group”).




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        2767. In or about December 1985, second Fall River Group was merged with and into

 Enterprise Aviation Inc. (“Enterprise”).

        2768. Additionally, in or about December 1985, Enterprise amended its name to The

 Fall River Group, Inc. (“Fall River Group”).

        2769. According to Chemetco Site records, Rheocast contributed at least 25,382 lbs. of

 materials to the Chemetco Site. These materials were generated by Rheocast and contained

 hazardous substances.

        2770. To date, Fall River Group has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2771. According to Chemetco Site records, Defendant Falls Iron (“Falls Iron”)

 contributed at least 6,820 lbs. of materials to the Chemetco Site. These materials were generated

 by Falls Iron and contained hazardous substances.

        2772. To date, Falls Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2773. According to Chemetco Site records, Defendant Fame Starter & Alternator

 Rebuilders (“Fame Starter”) contributed at least 10,907 lbs. of materials to the Chemetco Site.

 These materials were generated by Fame Starter and contained hazardous substances.

        2774. To date, Fame Starter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2775. According to Chemetco Site records, Defendant Federal Bronze Casting

 Industries, Inc. (“Federal Bronze”) contributed at least 36,875 lbs. of materials to the Chemetco

 Site. These materials were generated by Federal Bronze and contained hazardous substances.




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        2776. To date, Federal Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2777. According to Chemetco Site records, Defendant Federal Cartridge (“Federal

 Cartridge”) contributed at least 904 lbs. of materials to the Chemetco Site. These materials were

 generated by Federal Cartridge and contained hazardous substances.

        2778. To date, Federal Cartridge has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2779. According to Chemetco Site records, Defendant Federal Iron & Metal Inc.

 (“Federal Iron”) contributed at least 3,622 lbs. of materials to the Chemetco Site. These materials

 were generated by Federal Iron and contained hazardous substances.

        2780. To date, Federal Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2781. According to Chemetco Site records, Defendant Federal Metal (“Federal Metal”)

 contributed at least 11,902 lbs. of materials to the Chemetco Site. These materials were

 generated by Federal Metal and contained hazardous substances.

        2782. To date, Federal Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2783. According to Chemetco Site records, Defendant Federal Metals Co. (“Federal

 Metals”) contributed at least 4,638,794 lbs. of materials to the Chemetco Site. These materials

 were generated by Federal Metals and contained hazardous substances.

        2784. To date, Federal Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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          2785. According to Chemetco Site records, Defendant Federal Steel and Erection Co.

 (“Federal Steel”) contributed at least 3,068 lbs. of materials to the Chemetco Site. These

 materials were generated by Federal Steel and contained hazardous substances.

          2786. To date, Federal Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          2787. According to Chemetco Site records, Defendant Federal-Mogul Corporation

 (“Federal-Mogul”) contributed at least 43,569,947 lbs. of materials to the Chemetco Site. These

 materials were generated by Federal-Mogul and contained hazardous substances.

          2788. Additionally, Federal-Mogul is responsible for the waste attributable to Wagner

 Brake (“Wagner Brake”) and Wagner Lighting (“Wagner Lighting”).

          2789. In or about 1998, Federal-Mogul acquired Wagner Brake and Wagner Lighting

 from Cooper Industries Inc. (“Cooper Industries”).

          2790. According to Chemetco Site records, Wagner Brake contributed at least 68,442

 lbs. of materials to the Chemetco Site. These materials were generated by Wagner Brake and

 contained hazardous substances.

          2791. According to Chemetco Site records, Wagner Lighting contributed at least

 538,325 lbs. of materials to the Chemetco Site. These materials were generated by Wagner

 Lighting and contained hazardous substances.

          2792. To date, Federal-Mogul has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          2793. Alternatively, Defendant Eaton Corp. (“Eaton”) is responsible for the waste

 attributable to Wagner Brake and Wagner Lighting, as alleged in paragraph nos. 2790 and 2791

 above.




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        2794. In or about 2012, Eaton acquired Cooper Industries.

        2795. Additionally, Eaton is responsible for the waste attributable to Cutler-Hammer

 Inc. (“Cutler-Hammer”).

        2796. In or about 2003, Cutler-Hammer amended its name to Eaton Electrical Inc.

 (“Eaton Electrical”).

        2797. In or about 2009, Eaton Eletrical was merged with and into Eaton.

        2798. According to Chemetco Site records, Cutler-Hammer contributed at least 37,331

 lbs. of materials to the Chemetco Site. These materials were generated by Cutler-Hammer and

 contained hazardous substances.

        2799. Additionally, according to Chemetco Site records, Eaton contributed at least

 219,736 lbs. of materials to the Chemetco Site. These materials were generated by Eaton and

 contained hazardous substances.

        2800. To date, Eaton has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2801. According to Chemetco Site records, Defendant Federrow Iron (“Federrow Iron”)

 contributed at least 1,128 lbs. of materials to the Chemetco Site. These materials were generated

 by Federrow Iron and contained hazardous substances.

        2802. To date, Federrow Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2803. According to Chemetco Site records, Defendant Fer et Metaux (“Fer et Metaux”)

 contributed at least 1,419 lbs. of materials to the Chemetco Site. These materials were generated

 by Fer et Metaux and contained hazardous substances.




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        2804. To date, Fer et Metaux has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2805. Defendant Ferguson Enterprises Inc. (“Ferguson Enterprises”) is responsible for

 the waste attributable to Municipal Pipe & Fabricating Company (“Municipal Pipe”).

        2806. According to Chemetco Site records, Municipal Pipe contributed at least 19,940

 lbs. of materials to the Chemetco Site. These materials were generated by Municipal Pipe and

 contained hazardous substances.

        2807. To date, Ferguson Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2808. According to Chemetco Site records, Defendant Ferraro Bros. (“Ferraro Bros”)

 contributed at least 702 lbs. of materials to the Chemetco Site. These materials were generated

 by Ferraro Bros and contained hazardous substances.

        2809. To date, Ferraro Bros has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2810. According to Chemetco Site records, Defendant Ferromet Inc. (“Ferromet”)

 contributed at least 175 lbs. of materials to the Chemetco Site. These materials were generated

 by Ferromet and contained hazardous substances.

        2811. To date, Ferromet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2812. According to Chemetco Site records, Defendant Ferromet Reso. (“Ferromet

 Reso”) contributed at least 4,659 lbs. of materials to the Chemetco Site. These materials were

 generated by Ferromet Reso and contained hazardous substances.




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        2813. To date, Ferromet Reso has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2814. According to Chemetco Site records, Defendant Ferrous Processing and Trading

 Company doing business as Zalev Brothers LTD (“FTP”) contributed at least 49,583 lbs. of

 materials to the Chemetco Site. These materials were generated by FTP and contained hazardous

 substances.

        2815. To date, FTP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2816. According to Chemetco Site records, Defendant Feuz Manufacturing, Inc.

 (“Feuz”) contributed at least 172,768 lbs. of materials to the Chemetco Site. These materials

 were generated by Feuz and contained hazardous substances.

        2817. To date, Feuz has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2818. According to Chemetco Site records, Defendant Finer Scrap Processors (“Finer

 Scrap”) contributed at least 44,802 lbs. of materials to the Chemetco Site. These materials were

 generated by Finer Scrap and contained hazardous substances.

        2819. To date, Finer Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2820. According to Chemetco Site records, Defendant Finishing Services Inc.

 (“Finishing Services”) contributed at least 584 lbs. of materials to the Chemetco Site. These

 materials were generated by Finishing Services and contained hazardous substances.

        2821. To date, Finishing Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2822. According to Chemetco Site records, Defendant Firma Inc. (“Firma”) contributed

 at least 16,914 lbs. of materials to the Chemetco Site. These materials were generated by Firma

 and contained hazardous substances.

        2823. To date, Firma has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2824. According to Chemetco Site records, Defendant Firma Plastics, Inc. (“Firma

 Plastics”) contributed at least 88,605 lbs. of materials to the Chemetco Site. These materials were

 generated by Firma Plastics and contained hazardous substances.

        2825. To date, Firma Plastics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2826. According to Chemetco Site records, Defendant First Electric (“First Electric”)

 contributed at least 24,622 lbs. of materials to the Chemetco Site. These materials were

 generated by First Electric and contained hazardous substances.

        2827. To date, First Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2828. According to Chemetco Site records, Defendant Firstar Fiber, Inc. (“Firstar

 Fiber”) contributed materials to the Chemetco Site. These materials were generated by Firstar

 Fiber and contained hazardous substances.

        2829. To date, Firstar Fiber has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2830. According to Chemetco Site records, Defendant Fisher Manufacturing Co.

 (“Fisher”) contributed at least 149,190 lbs. of materials to the Chemetco Site. These materials

 were generated by Fisher and contained hazardous substances.




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        2831. Additionally, Fisher is responsible for the waste attributable to Harden Industries,

 Inc. (“Harden”).

        2832. In or about 2001, Fisher acquired Harden.

        2833. According to Chemetco Site records, Harden contributed at least 2,685 lbs. of

 materials to the Chemetco Site. These materials were generated by Harden and contained

 hazardous substances.

        2834. To date, Fisher has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2835. According to Chemetco Site records, Defendant Fitzsimmons Metal Company,

 Inc. (“Fitzsimmons Metal”) contributed at least 303,941 lbs. of materials to the Chemetco Site.

 These materials were generated by Fitzsimmons Metal and contained hazardous substances.

        2836. To date, Fitzsimmons Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2837. According to Chemetco Site records, Defendant Fivenson Iron (“Fivenson Iron”)

 contributed at least 43,659 lbs. of materials to the Chemetco Site. These materials were

 generated by Fivenson Iron and contained hazardous substances.

        2838. To date, Fivenson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2839. According to Chemetco Site records, Defendant Fleming Towing (“Fleming

 Towing”) contributed at least 14,905 lbs. of materials to the Chemetco Site. These materials

 were generated by Fleming Towing and contained hazardous substances.

        2840. To date, Fleming Towing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2841. Defendant Flextronics International USA, Inc. (“Flextronics”) is responsible for

 the waste attributable to Saturn Electronics & Engineering, Inc. (“Saturn Electronics”).

        2842. In or about December 2012, Flextronics acquired Saturn Electronics.

        2843. According to Chemetco Site records, Saturn Electronics contributed at least 3,780

 lbs. of materials to the Chemetco Site. These materials were generated by Saturn Electronics and

 contained hazardous substances.

        2844. To date, Flextronics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2845. According to Chemetco Site records, Defendant Florida Auto, Giden’s Truck

 Parts (“Florida Auto”) contributed at least 999 lbs. of materials to the Chemetco Site. These

 materials were generated by Florida Auto and contained hazardous substances.

        2846. To date, Florida Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2847. According to Chemetco Site records, Defendant Florida Rebuild (“Florida

 Rebuild”) contributed at least 1,367 lbs. of materials to the Chemetco Site. These materials were

 generated by Florida Rebuild and contained hazardous substances.

        2848. To date, Florida Rebuild has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2849. According to Chemetco Site records, Defendant Florida Recycling (“Florida

 Recycling”) contributed at least 47,576 lbs. of materials to the Chemetco Site. These materials

 were generated by Florida Recycling and contained hazardous substances.

        2850. To date, Florida Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2851. Defendant FLSmidth USA, Inc. doing business as Excel Foundry and Machine

 (“FLSmidth”) is responsible for the waste attributable to Excel Foundry and Machine, Inc.

 (“Excel Foundry”).

        2852. In or about 2013, Excel Foundry was merged with and into FLSmidth.

        2853. According to Chemetco Site records, Excel Foundry contributed at least 184,161

 lbs. of materials to the Chemetco Site. These materials were generated by Excel Foundry and

 contained hazardous substances.

        2854. To date, FLSmidth has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2855. According to Chemetco Site records, Defendant Flury Foundry Company (“Flury

 Foundry”) contributed at least 391,931 lbs. of materials to the Chemetco Site. These materials

 were generated by Flury Foundry and contained hazardous substances.

        2856. To date, Flury Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2857. According to Chemetco Site records, Defendant FMC/Cancer Center (“FMC”)

 contributed at least 1,336 lbs. of materials to the Chemetco Site. These materials were generated

 by FMC and contained hazardous substances.

        2858. To date, FMC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        2859. According to Chemetco Site records, Defendant Follansbee Steel (“Follansbee

 Steel”) contributed at least 78,264 lbs. of materials to the Chemetco Site. These materials were

 generated by Follansbee Steel and contained hazardous substances.




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        2860. To date, Follansbee Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2861. Defendant Foothills Sanitation & Recycling, Inc. (“Foothills Sanitation”) is

 responsible for the waste attributable to J&W Recycling Company, Inc. (“J&W Recycling”).

        2862. In or about 1990, J&W Recycling was formed as a North Carolina corporation,

 and later amended its name to J&J Recycling Co., Inc. (“J&J Recycling”).

        2863. In or about 2002, J&J Recycling was merged with and into Foothills Sanitation.

        2864. According to Chemetco Site records, J&W Recycling contributed at least 27,338

 lbs. of materials to the Chemetco Site. These materials were generated by J&W Recycling and

 contained hazardous substances.

        2865. To date, Foothills Sanitation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2866. According to Chemetco Site records, Defendant Ford City Equipment Co. (“Ford

 City Equipment”) contributed at least 20,269 lbs. of materials to the Chemetco Site. These

 materials were generated by Ford City Equipment and contained hazardous substances.

        2867. To date, Ford City Equipment has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2868. Defendant Forensic Environmental Services of NC, LLC (“Forensic Services”) is

 responsible for the waste attributable to IBS Environmental Services, LLC (“IBS Services”).

        2869. On or about January 1, 2017, IBS Services amended its name to Forensic

 Services.




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        2870. According to Chemetco Site records, IBS Services contributed at least 11,900 lbs.

 of materials to the Chemetco Site. These materials were generated by IBS Services and

 contained hazardous substances.

        2871. To date, Forensic Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2872. According to Chemetco Site records, Defendant Forklifts N’ More (“Forklifts N’

 More”) contributed at least 86 lbs. of materials to the Chemetco Site. These materials were

 generated by Forklifts N’ More and contained hazardous substances.

        2873. To date, Forklifts N’ More has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2874. According to Chemetco Site records, Defendant Forman Metal Co. (“Forman

 Metal”) contributed at least 46,259 lbs. of materials to the Chemetco Site. These materials were

 generated by Forman Metal and contained hazardous substances.

        2875. To date, Forman Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2876. According to Chemetco Site records, Defendant Fort Recovery Industries, Inc.

 (“Fort Recovery”) contributed at least 27,891 lbs. of materials to the Chemetco Site. These

 materials were generated by Fort Recovery and contained hazardous substances.

        2877. To date, Fort Recovery has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2878. According to Chemetco Site records, Defendant Fort Wayne Metals Research

 Products Corporation (“Fort Wayne Metals”) contributed at least 33,490 lbs. of materials to the




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 Chemetco Site. These materials were generated by Fort Wayne Metals and contained hazardous

 substances.

        2879. To date, Fort Wayne Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2880. According to Chemetco Site records, Defendant Fortuna Scrap (“Fortuna Scrap”)

 contributed at least 938 lbs. of materials to the Chemetco Site. These materials were generated

 by Fortuna Scrap and contained hazardous substances.

        2881. To date, Fortuna Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2882. According to Chemetco Site records, Defendant Fortune Metal, Inc. of Rhode

 Island (“Fortune Metal”) contributed at least 12,373 lbs. of materials to the Chemetco Site. These

 materials were generated by Fortune Metal and contained hazardous substances.

        2883. To date, Fortune Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2884. Defendant Foss Recycling, Inc. (“Foss Recycling”) is responsible for the waste

 attributable to Bruce’s Iron & Metal, Inc. (“Bruce’s Iron”).

        2885. According to Chemetco Site records, Bruce’s Iron contributed at least 134,874

 lbs. of materials to the Chemetco Site. These materials were generated by Bruce’s Iron and

 contained hazardous substances.

        2886. To date, Foss Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2887. According to Chemetco Site records, Defendant 4126 Inc. doing business as

 M&L Auto Wrecking (“M&L Wrecking”) contributed at least 7,992 lbs. of materials to the




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 Chemetco Site. These materials were generated by M&L Wrecking and contained hazardous

 substances.

        2888. To date, M&L Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2889. According to Chemetco Site records, Defendant Four L LLC (“Four L”)

 contributed at least 1,566 lbs. of materials to the Chemetco Site. These materials were generated

 by Four L and contained hazardous substances.

        2890. To date, Four L has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2891. According to Chemetco Site records, Defendant Fouts Scrap Iron & Metal (“Fouts

 Scrap Iron”) contributed at least 2,008 lbs. of materials to the Chemetco Site. These materials

 were generated by Fouts Scrap Iron and contained hazardous substances.

        2892. To date, Fouts Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2893. According to Chemetco Site records, Defendant Fouts Scrap Metals, Inc. (“Fouts

 Scrap”) contributed at least 56,879 lbs. of materials to the Chemetco Site. These materials were

 generated by Fouts Scrap and contained hazardous substances.

        2894. To date, Fouts Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2895. According to Chemetco Site records, Defendant Fox & Associates (“Fox &

 Associates”) contributed at least 162 lbs. of materials to the Chemetco Site. These materials were

 generated by Fox & Associates and contained hazardous substances.




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         2896. To date, Fox & Associates has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         2897. According to Chemetco Site records, Defendant Fox Hills Ind. (“Fox Hills”)

 contributed at least 1,997,247 lbs. of materials to the Chemetco Site. These materials were

 generated by Fox Hills and contained hazardous substances.

         2898. Fox Hills used to be a Chemetco Group member, but withdrew from the

 Chemetco Group and has not agreed to pay its equitable share of response costs at the Chemetco

 Site.

         2899. According to Chemetco Site records, Defendant FPT - Pontiac Division L.L.C.

 (“FPT Pontiac”) contributed at least 432,558 lbs. of materials to the Chemetco Site. These

 materials were generated by FPT Pontiac and contained hazardous substances.

         2900. To date, FPT Pontiac has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         2901. According to Chemetco Site records, Defendant FPT Cleveland, LLC (“FPT

 Cleveland”) contributed at least 2,995 lbs. of materials to the Chemetco Site. These materials

 were generated by FPT Cleveland and contained hazardous substances.

         2902. To date, FPT Cleveland has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         2903. According to Chemetco Site records, Defendant Franc Metal (“Franc Metal”)

 contributed at least 22,158 lbs. of materials to the Chemetco Site. These materials were

 generated by Franc Metal and contained hazardous substances.

         2904. To date, Franc Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2905. According to Chemetco Site records, Defendant Francoz Metal (“Francoz Metal”)

 contributed at least 1,067 lbs. of materials to the Chemetco Site. These materials were generated

 by Francoz Metal and contained hazardous substances.

        2906. To date, Francoz Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2907. According to Chemetco Site records, Defendant Frankel Iron and Metal (“Frankel

 Iron”) contributed at least 7,564 lbs. of materials to the Chemetco Site. These materials were

 generated by Frankel Iron and contained hazardous substances.

        2908. To date, Frankel Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2909. According to Chemetco Site records, Defendant Franklin Metal Co. (“Franklin

 Metal”) contributed at least 3,987 lbs. of materials to the Chemetco Site. These materials were

 generated by Franklin Metal and contained hazardous substances.

        2910. To date, Franklin Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2911. According to Chemetco Site records, Defendant Franklin Metal Trading Corp.

 (“Franklin Metal Trading”) contributed at least 3,670,328 lbs. of materials to the Chemetco Site.

 These materials were generated by Franklin Metal Trading and contained hazardous substances.

        2912. To date, Franklin Metal Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2913. According to Chemetco Site records, Defendant Franklin Surplus (“Franklin

 Surplus”) contributed at least 2,410 lbs. of materials to the Chemetco Site. These materials were

 generated by Franklin Surplus and contained hazardous substances.




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        2914. To date, Franklin Surplus has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2915. According to Chemetco Site records, Defendant Franks Metal (“Franks Metal”)

 contributed at least 93,439 lbs. of materials to the Chemetco Site. These materials were

 generated by Franks Metal and contained hazardous substances.

        2916. To date, Franks Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2917. According to Chemetco Site records, Defendant Franks Radiator (“Franks

 Radiator”) contributed at least 1,001 lbs. of materials to the Chemetco Site. These materials were

 generated by Franks Radiator and contained hazardous substances.

        2918. To date, Franks Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2919. Defendant Fred’s Electronic Recycling LLC (“Fred’s Recycling”) is responsible

 for the waste attributable to Metal Exchange (“Metal Exchange”).

        2920. According to Chemetco Site records, Metal Exchange contributed at least 111,088

 lbs. of materials to the Chemetco Site. These materials were generated by Metal Exchange and

 contained hazardous substances.

        2921. To date, Fred’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2922. According to Chemetco Site records, Defendant Free Flo Gutter Service (“Free

 Flo”) contributed at least 137 lbs. of materials to the Chemetco Site. These materials were

 generated by Free Flo and contained hazardous substances.




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        2923. To date, Free Flo has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2924. According to Chemetco Site records, Defendant Freebird Enterprises, L.L.C.

 doing business as Eagle Auto & Truck Parts (“Freebird Enterprises”) contributed at least 1,169

 lbs. of materials to the Chemetco Site. These materials were generated by Freebird Enterprises

 and contained hazardous substances.

        2925. To date, Freebird Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2926. According to Chemetco Site records, Defendant Freedman Metals, Inc.

 (“Freedman”) contributed at least 39,202 lbs. of materials to the Chemetco Site. These materials

 were generated by Freedman and contained hazardous substances.

        2927. To date, Freedman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2928. According to Chemetco Site records, Defendant Freeway Corporation

 (“Freeway”) contributed at least 4,404 lbs. of materials to the Chemetco Site. These materials

 were generated by Freeway and contained hazardous substances.

        2929. To date, Freeway has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2930. According to Chemetco Site records, Defendant Freight (“Freight”) contributed at

 least 162,177 lbs. of materials to the Chemetco Site. These materials were generated by Freight

 and contained hazardous substances.

        2931. To date, Freight has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        2932. According to Chemetco Site records, Defendant Fresno Iron (“Fresno Iron”)

 contributed at least 11,111 lbs. of materials to the Chemetco Site. These materials were

 generated by Fresno Iron and contained hazardous substances.

        2933. To date, Fresno Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2934. According to Chemetco Site records, Defendant Fresno United Metal &

 Recycling Inc. (“Fresno Recycling”) contributed at least 572,969 lbs. of materials to the

 Chemetco Site. These materials were generated by Fresno Recycling and contained hazardous

 substances.

        2935. To date, Fresno Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2936. According to Chemetco Site records, Defendant Friedman Iron & Metal Co.

 (“Friedman Iron”) contributed at least 113,994 lbs. of materials to the Chemetco Site. These

 materials were generated by Friedman Iron and contained hazardous substances.

        2937. To date, Friedman Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2938. According to Chemetco Site records, Defendant Friedman Metal (“Friedman

 Metal”) contributed at least 2,328 lbs. of materials to the Chemetco Site. These materials were

 generated by Friedman Metal and contained hazardous substances.

        2939. To date, Friedman Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2940. According to Chemetco Site records, Defendant Fritts Recycling, Inc. (“Fritts

 Recycling”) contributed at least 11,835 lbs. of materials to the Chemetco Site. These materials

 were generated by Fritts Recycling and contained hazardous substances.

        2941. To date, Fritts Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2942. Defendant Fritz Enterprises of Flint, LLC (“Fritz Enterprises”) is responsible for

 the waste attributable to Spooner Auto Parts, Inc. (“Spooner Auto”).

        2943. In or about January 1998, Spooner Auto amended its name to Spooner Metals,

 Inc. (“Spooner Inc.”).

        2944. In or about October 2006, Fritz Acquisition Company, LLC (“Fritz Acquisition”)

 was formed as a limited liability company.

        2945. In or about November 2006, Spooner Inc. amended its name to Skidway

 Liquidating Company (“Skidway”).

        2946. Further, in or about November 2006, Fritz Acquisition amended its name to

 Spooner Metals, LLC (“Spooner LLC”).

        2947. In or about July 2009, Skidway was dissolved.

        2948. In or about 2011, Spooner LLC amended its name to Fritz Enterprises.

        2949. According to Chemetco Site records, Spooner Auto contributed at least 64,963

 lbs. of materials to the Chemetco Site. These materials were generated by Spooner Auto and

 contained hazardous substances.

        2950. To date, Fritz Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2951. According to Chemetco Site records, Defendant Fritz Enterprises, Inc. (“Fritz

 Enterprises, Inc.”) contributed at least 118,090 lbs. of materials to the Chemetco Site. These

 materials were generated by Fritz Enterprises, Inc. and contained hazardous substances.

        2952. To date, Fritz Enterprises, Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2953. According to Chemetco Site records, Defendant Frontenac Metal (“Frontenac

 Metal”) contributed at least 5,105 lbs. of materials to the Chemetco Site. These materials were

 generated by Frontenac Metal and contained hazardous substances.

        2954. To date, Frontenac Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2955. Defendant Frontier California, Inc. (“Frontier California”) is responsible for the

 waste attributable to GTE California, Inc. (“GTE California”).

        2956. In or about 2016, GTE California amended its name to Frontier California.

        2957. According to Chemetco Site records, GTE California contributed at least 163,892

 lbs. of materials to the Chemetco Site. These materials were generated by GTE California and

 contained hazardous substances.

        2958. To date, Frontier California has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2959. According to Chemetco Site records, Defendant Frontier Fiber (“Frontier Fiber”)

 contributed at least 3,549 lbs. of materials to the Chemetco Site. These materials were generated

 by Frontier Fiber and contained hazardous substances.

        2960. To date, Frontier Fiber has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2961. According to Chemetco Site records, Defendant Frontier Recycle (“Frontier

 Recycle”) contributed at least 3,160 lbs. of materials to the Chemetco Site. These materials were

 generated by Frontier Recycle and contained hazardous substances.

        2962. To date, Frontier Recycle has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2963. According to Chemetco Site records, Defendant Fulton Salvage (“Fulton

 Salvage”) contributed at least 1,334 lbs. of materials to the Chemetco Site. These materials were

 generated by Fulton Salvage and contained hazardous substances.

        2964. To date, Fulton Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2965. According to Chemetco Site records, Defendant Fulton Supply & Recycling

 (“Fulton Supply”) contributed at least 946,873 lbs. of materials to the Chemetco Site. These

 materials were generated by Fulton Supply and contained hazardous substances.

        2966. To date, Fulton Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2967. According to Chemetco Site records, Defendant Fusion Incorporated (“Fusion”)

 contributed at least 175,491 lbs. of materials to the Chemetco Site. These materials were

 generated by Fusion and contained hazardous substances.

        2968. To date, Fusion has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2969. According to Chemetco Site records, Defendant Fusselman Salvage

 (“Fusselman”) contributed at least 119,825 lbs. of materials to the Chemetco Site. These

 materials were generated by Fusselman and contained hazardous substances.




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        2970. To date, Fusselman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2971. According to Chemetco Site records, Defendant Future Alloys Inc. (“Future

 Alloys”) contributed at least 80,418 lbs. of materials to the Chemetco Site. These materials were

 generated by Future Alloys and contained hazardous substances.

        2972. To date, Future Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2973. According to Chemetco Site records, Defendant The G.A. Avril Company (“G.A.

 Avril”) contributed at least 937,803 lbs. of materials to the Chemetco Site. These materials were

 generated by G.A. Avril and contained hazardous substances.

        2974. To date, G.A. Avril has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2975. According to Chemetco Site records, Defendant G.A.S. International LLC

 (“G.A.S. International”) contributed materials to the Chemetco Site. These materials were

 generated by G.A.S. International and contained hazardous substances.

        2976. To date, G.A.S. International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2977. Defendant G.A.W. Financial Corporation (“G.A.W. Financial”) is responsible for

 the waste attributable to Goldie’s Salvage, Inc. (“Goldie’s Salvage”).

        2978. In or about 1998, Goldie’s Salvage amended its name to G.A.W. Financial.

        2979. According to Chemetco Site records, Goldie’s Salvage contributed at least 2,399

 lbs. of materials to the Chemetco Site. These materials were generated by Goldie’s Salvage and

 contained hazardous substances.




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        2980. To date, G.A.W. Financial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        2981. According to Chemetco Site records, Defendant G.L. Metals (“G.L. Metals”)

 contributed at least 5,926 lbs. of materials to the Chemetco Site. These materials were generated

 by G.L. Metals and contained hazardous substances.

        2982. To date, G.L. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2983. According to Chemetco Site records, Defendant G.L.N. Scrap Metals (“G.L.N.

 Scrap”) contributed at least 1,905,391 lbs. of materials to the Chemetco Site. These materials

 were generated by G.L.N. Scrap and contained hazardous substances.

        2984. To date, G.L.N. Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2985. According to Chemetco Site records, Defendant G.S. Metals (“G.S. Metals”)

 contributed at least 779,852 lbs. of materials to the Chemetco Site. These materials were

 generated by G.S. Metals and contained hazardous substances.

        2986. To date, G.S. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2987. According to Chemetco Site records, Defendant G.S.D. Trading USA, Inc.

 (“G.S.D. Trading”) contributed at least 128,499 lbs. of materials to the Chemetco Site. These

 materials were generated by G.S.D. Trading and contained hazardous substances.

        2988. To date, G.S.D. Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        2989. According to Chemetco Site records, Defendant G.T. Auto Salvage (“G.T. Auto”)

 contributed at least 243 lbs. of materials to the Chemetco Site. These materials were generated

 by G.T. Auto and contained hazardous substances.

        2990. To date, G.T. Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2991. According to Chemetco Site records, Defendant G.T.&T. Enterprises (“G.T.&T.”)

 contributed at least 63,274 lbs. of materials to the Chemetco Site. These materials were

 generated by G.T.&T. and contained hazardous substances.

        2992. To date, G.T.&T. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        2993. According to Chemetco Site records, Defendant G.T.I. International (“G.T.I.”)

 contributed at least 203,828 lbs. of materials to the Chemetco Site. These materials were

 generated by G.T.I. and contained hazardous substances.

        2994. To date, G.T.I. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        2995. Defendant G&E Scrap Processing Company, LLC doing business as Maine Scrap

 Metal LLC (“G&E Scrap”) is responsible for the waste attributable to Maine Scrap Metal, Inc.

 (“Maine Scrap Metal”).

        2996. According to Chemetco Site records, Maine Scrap Metal contributed at least

 63,936 lbs. of materials to the Chemetco Site. These materials were generated by Maine Scrap

 Metal and contained hazardous substances.

        2997. To date, G&E Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        2998. According to Chemetco Site records, Defendant G&G Machine & Maintenance,

 Inc. (“G&G Machine”) contributed at least 73 lbs. of materials to the Chemetco Site. These

 materials were generated by G&G Machine and contained hazardous substances.

        2999. To date, G&G Machine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3000. According to Chemetco Site records, Defendant G&G Salvage Corp. (“G&G

 Salvage”) contributed at least 1,168,452 lbs. of materials to the Chemetco Site. These materials

 were generated by G&G Salvage and contained hazardous substances.

        3001. To date, G&G Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3002. According to Chemetco Site records, Defendant G&L Metals (“G&L”)

 contributed at least 341,175 lbs. of materials to the Chemetco Site. These materials were

 generated by G&L and contained hazardous substances.

        3003. To date, G&L has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3004. According to Chemetco Site records, Defendant G&O Magnum (“G&O

 Magnum”) contributed at least 286 lbs. of materials to the Chemetco Site. These materials were

 generated by G&O Magnum and contained hazardous substances.

        3005. To date, G&O Magnum has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3006. According to Chemetco Site records, Defendant G&O Manufacturing (“G&O

 Manufacturing”) contributed at least 2,020,602 lbs. of materials to the Chemetco Site. These

 materials were generated by G&O Manufacturing and contained hazardous substances.




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        3007. To date, G&O Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3008. According to Chemetco Site records, Defendant G&R Metals (“G&R Metals”)

 contributed at least 6,840 lbs. of materials to the Chemetco Site. These materials were generated

 by G&R Metals and contained hazardous substances.

        3009. To date, G&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3010. According to Chemetco Site records, Defendant G&S Scrap Metals (“G&S

 Scrap”) contributed at least 1,852,981 lbs. of materials to the Chemetco Site. These materials

 were generated by G&S Scrap and contained hazardous substances.

        3011. To date, G&S Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3012. According to Chemetco Site records, Defendant Gaby Iron and Metal Co. (“Gaby

 Iron”) contributed at least 205,767 lbs. of materials to the Chemetco Site. These materials were

 generated by Gaby Iron and contained hazardous substances.

        3013. To date, Gaby Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3014. According to Chemetco Site records, Defendant Galamet Inc. (“Galamet”)

 contributed at least 1,798,790 lbs. of materials to the Chemetco Site. These materials were

 generated by Galamet and contained hazardous substances.

        3015. To date, Galamet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3016. According to Chemetco Site records, Defendant Galion Auto Wrecking (“Galion

 Auto”) contributed at least 3,612,029 lbs. of materials to the Chemetco Site. These materials

 were generated by Galion Auto and contained hazardous substances.

        3017. To date, Galion Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3018. According to Chemetco Site records, Defendant Gamberg Metal (“Gamberg”)

 contributed at least 510 lbs. of materials to the Chemetco Site. These materials were generated

 by Gamberg and contained hazardous substances.

        3019. To date, Gamberg has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3020. According to Chemetco Site records, Defendant Gamma Rx (“Gamma Rx”)

 contributed at least 15,101 lbs. of materials to the Chemetco Site. These materials were

 generated by Gamma Rx and contained hazardous substances.

        3021. To date, Gamma Rx has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3022. Defendant Gamtex Industries LP (“Gamtex Industries”) is responsible for the

 waste attributable to Atlas Scrap Iron & Metal Co. (“Atlas Scrap Iron”).

        3023. In or about 2000, Gamtex Industries acquired Atlas Scrap Iron.

        3024. According to Chemetco Site records, Atlas Scrap Iron contributed at least 212,128

 lbs. of materials to the Chemetco Site. These materials were generated by Atlas Scrap Iron and

 contained hazardous substances.

        3025. To date, Gamtex Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3026. According to Chemetco Site records, Defendant Garage St. Ed (“Garage St. Ed”)

 contributed at least 2,060 lbs. of materials to the Chemetco Site. These materials were generated

 by Garage St. Ed and contained hazardous substances.

        3027. To date, Garage St. Ed has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3028. According to Chemetco Site records, Defendant Garden Street (“Garden Street”)

 contributed at least 7,727 lbs. of materials to the Chemetco Site. These materials were generated

 by Garden Street and contained hazardous substances.

        3029. To date, Garden Street has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3030. According to Chemetco Site records, Defendant Garden Street Iron & Metal, Inc.

 (“Garden Street Metal”) contributed at least 42,052 lbs. of materials to the Chemetco Site. These

 materials were generated by Garden Street Metal and contained hazardous substances.

        3031. To date, Garden Street Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3032. According to Chemetco Site records, Defendant Gardena Recycling Center, Inc.

 (“Gardena Recycling”) contributed at least 121,123 lbs. of materials to the Chemetco Site. These

 materials were generated by Gardena Recycling and contained hazardous substances.

        3033. To date, Gardena Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3034. According to Chemetco Site records, Defendant Gardner’s Recycling (“Gardner’s

 Recycling”) contributed at least 24,066 lbs. of materials to the Chemetco Site. These materials

 were generated by Gardner’s Recycling and contained hazardous substances.




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        3035. To date, Gardner’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3036. According to Chemetco Site records, Defendant Garland Recyclers Corp.

 (“Garland Recyclers”) contributed at least 181,851 lbs. of materials to the Chemetco Site. These

 materials were generated by Garland Recyclers and contained hazardous substances.

        3037. To date, Garland Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3038. According to Chemetco Site records, Defendant Garland Steel (“Garland Steel”)

 contributed at least 671,881 lbs. of materials to the Chemetco Site. These materials were

 generated by Garland Steel and contained hazardous substances.

        3039. To date, Garland Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3040. According to Chemetco Site records, Defendant Garrett & Son, Inc. (“Garrett &

 Son”) contributed at least 233,599 lbs. of materials to the Chemetco Site. These materials were

 generated by Garrett & Son and contained hazardous substances.

        3041. To date, Garrett & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3042. According to Chemetco Site records, Defendant Gary’s Auto (“Gary’s Auto”)

 contributed at least 4,000 lbs. of materials to the Chemetco Site. These materials were generated

 by Gary’s Auto and contained hazardous substances.

        3043. To date, Gary’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3044. According to Chemetco Site records, Defendant Gary’s Metals, Inc. (“Gary’s

 Metals”) contributed at least 616,480 lbs. of materials to the Chemetco Site. These materials

 were generated by Gary’s Metals and contained hazardous substances.

        3045. To date, Gary’s Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3046. According to Chemetco Site records, Defendant Gary’s Scrap (“Gary’s Scrap”)

 contributed at least 1,764 lbs. of materials to the Chemetco Site. These materials were generated

 by Gary’s Scrap and contained hazardous substances.

        3047. To date, Gary’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3048. According to Chemetco Site records, Defendant Gaston Used Auto Parts &

 Recycling (“Gaston Recycling”) contributed at least 6,022 lbs. of materials to the Chemetco Site.

 These materials were generated by Gaston Recycling and contained hazardous substances.

        3049. To date, Gaston Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3050. According to Chemetco Site records, Defendant Gateway Metal Recycling, Inc.

 (“Gateway Metal”) contributed at least 2,722,839 lbs. of materials to the Chemetco Site. These

 materials were generated by Gateway Metal and contained hazardous substances.

        3051. To date, Gateway Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3052. According to Chemetco Site records, Defendant Gateway Recycling (“Gateway

 Recycling”) contributed at least 296 lbs. of materials to the Chemetco Site. These materials were

 generated by Gateway Recycling and contained hazardous substances.




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        3053. To date, Gateway Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3054. According to Chemetco Site records, Defendant Gateway Recycling Co.

 (“Gateway Recycling Co.”) contributed at least 5,581 lbs. of materials to the Chemetco Site.

 These materials were generated by Gateway Recycling Co. and contained hazardous substances.

        3055. To date, Gateway Recycling Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3056. According to Chemetco Site records, Defendant Gator Recycling (“Gator

 Recycling”) contributed at least 216 lbs. of materials to the Chemetco Site. These materials were

 generated by Gator Recycling and contained hazardous substances.

        3057. To date, Gator Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3058. According to Chemetco Site records, Defendant GDS Recycling Service (“GDS

 Recycling”) contributed at least 24,992 lbs. of materials to the Chemetco Site. These materials

 were generated by GDS Recycling and contained hazardous substances.

        3059. To date, GDS Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3060. According to Chemetco Site records, Defendant GE Zenith Controls, Inc. (“GE

 Zenith”) contributed at least 67,111 lbs. of materials to the Chemetco Site. These materials were

 generated by GE Zenith and contained hazardous substances.

        3061. To date, GE Zenith has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3062. According to Chemetco Site records, Defendant Gelnk’s Auto Recycling Inc.

 (“Gelnk’s Auto Recycling”) contributed at least 79,660 lbs. of materials to the Chemetco Site.

 These materials were generated by Gelnk’s Auto Recycling and contained hazardous substances.

        3063. To date, Gelnk’s Auto Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3064. According to Chemetco Site records, Defendant Gemark Corporation (“Gemark”)

 contributed at least 330 lbs. of materials to the Chemetco Site. These materials were generated

 by Gemark and contained hazardous substances.

        3065. To date, Gemark has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3066. According to Chemetco Site records, Defendant Gencore Motors & Auto Parts

 Ltd. (“Gencore Motors”) contributed at least 2,424 lbs. of materials to the Chemetco Site. These

 materials were generated by Gencore Motors and contained hazardous substances.

        3067. To date, Gencore Motors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3068. According to Chemetco Site records, Defendant Gene’s Glass (“Gene’s Glass”)

 contributed at least 1,670 lbs. of materials to the Chemetco Site. These materials were generated

 by Gene’s Glass and contained hazardous substances.

        3069. To date, Gene’s Glass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3070. According to Chemetco Site records, Defendant General Alloys, Inc. (“General

 Alloys”) contributed at least 55,456 lbs. of materials to the Chemetco Site. These materials were

 generated by General Alloys and contained hazardous substances.




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        3071. To date, General Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3072. Defendant General Bearing Corporation (“General Bearing”) is responsible for

 the waste attributable to Hyatt Railway Products Corp. (“Hyatt”).

        3073. According to Chemetco Site records, Hyatt contributed at least 5,626 lbs. of

 materials to the Chemetco Site. These materials were generated by Hyatt and contained

 hazardous substances.

        3074. To date, General Bearing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3075. According to Chemetco Site records, Defendant General Electric Company

 (“General Electric Co.”) contributed at least 47,192 lbs. of materials to the Chemetco Site. These

 materials were generated by General Electric Co. and contained hazardous substances.

        3076. To date, General Electric Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3077. According to Chemetco Site records, Defendant General Electric Electro

 Materials Division (“General Electric EMD”) contributed at least 263 lbs. of materials to the

 Chemetco Site. These materials were generated by General Electric EMD and contained

 hazardous substances.

        3078. To date, General Electric EMD has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3079. According to Chemetco Site records, Defendant General Metals, Inc. (“General

 Metals”) contributed at least 129,863 lbs. of materials to the Chemetco Site. These materials

 were generated by General Metals and contained hazardous substances.




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        3080. To date, General Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3081. According to Chemetco Site records, Defendant General Scrap (“General Scrap”)

 contributed at least 12,174 lbs. of materials to the Chemetco Site. These materials were

 generated by General Scrap and contained hazardous substances.

        3082. To date, General Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3083. According to Chemetco Site records, Defendant General Steel (“General Steel”)

 contributed at least 497,978 lbs. of materials to the Chemetco Site. These materials were

 generated by General Steel and contained hazardous substances.

        3084. To date, General Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3085. According to Chemetco Site records, Defendant Genesee Recycling (“Genesee

 Recycling”) contributed at least 76 lbs. of materials to the Chemetco Site. These materials were

 generated by Genesee Recycling and contained hazardous substances.

        3086. To date, Genesee Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3087. According to Chemetco Site records, Defendant Genesis I Enterprise (“Genesis

 I”) contributed at least 1,986 lbs. of materials to the Chemetco Site. These materials were

 generated by Genesis I and contained hazardous substances.

        3088. To date, Genesis I has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3089. According to Chemetco Site records, Defendant Geodax Imaging, LLC

 (“Geodax”) contributed at least 13,238 lbs. of materials to the Chemetco Site. These materials

 were generated by Geodax and contained hazardous substances.

        3090. To date, Geodax has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3091. According to Chemetco Site records, Defendant George Apkin & Sons, Inc.

 (“Apkin & Sons”) contributed at least 114,669 lbs. of materials to the Chemetco Site. These

 materials were generated by Apkin & Sons and contained hazardous substances.

        3092. To date, Apkin & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3093. According to Chemetco Site records, Defendant George W. Groeling & Sons

 Salvage, Inc. (“Groeling Salvage”) contributed at least 9,187 lbs. of materials to the Chemetco

 Site. These materials were generated by Groeling Salvage and contained hazardous substances.

        3094. To date, Groeling Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3095. According to Chemetco Site records, Defendant Georgetown Logistics Company

 (“Georgetown Logistics”) contributed at least 84,040 lbs. of materials to the Chemetco Site.

 These materials were generated by Georgetown Logistics and contained hazardous substances.

        3096. To date, Georgetown Logistics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3097. According to Chemetco Site records, Defendant Georgia Power (“Georgia

 Power”) contributed at least 341,194 lbs. of materials to the Chemetco Site. These materials were

 generated by Georgia Power and contained hazardous substances.




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        3098. To date, Georgia Power has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3099. According to Chemetco Site records, Defendant Gerald Metals (“Gerald Metals”)

 contributed at least 286,176 lbs. of materials to the Chemetco Site. These materials were

 generated by Gerald Metals and contained hazardous substances.

        3100. To date, Gerald Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3101. According to Chemetco Site records, Defendant Giant Automotive Products Inc.

 (“Giant Automotive”) contributed at least 3,513 lbs. of materials to the Chemetco Site. These

 materials were generated by Giant Automotive and contained hazardous substances.

        3102. To date, Giant Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3103. According to Chemetco Site records, Defendant Gibson Brothers Scrap Metal

 (“Gibson Brothers”) contributed at least 35,510 lbs. of materials to the Chemetco Site. These

 materials were generated by Gibson Brothers and contained hazardous substances.

        3104. To date, Gibson Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3105. According to Chemetco Site records, Defendant Gibson Scrap Lead & Metals

 (“Gibson Scrap Lead”) contributed at least 319,086 lbs. of materials to the Chemetco Site. These

 materials were generated by Gibson Scrap Lead and contained hazardous substances.

        3106. To date, Gibson Scrap Lead has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3107. According to Chemetco Site records, Defendant Gift In Kind (“Gift In Kind”)

 contributed at least 34,921 lbs. of materials to the Chemetco Site. These materials were

 generated by Gift In Kind and contained hazardous substances.

        3108. To date, Gift In Kind has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3109. According to Chemetco Site records, Defendant Giordano Vineland Scrap

 Material, LLC (“Giordano Scrap”) contributed at least 227,739 lbs. of materials to the Chemetco

 Site. These materials were generated by Giordano Scrap and contained hazardous substances.

        3110. To date, Giordano Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3111. According to Chemetco Site records, Defendant Gipson Enterprises (“Gipson

 Enterprises”) contributed at least 19 lbs. of materials to the Chemetco Site. These materials were

 generated by Gipson Enterprises and contained hazardous substances.

        3112. To date, Gipson Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3113. According to Chemetco Site records, Defendant Girard Scrap (“Girard Scrap”)

 contributed at least 111,613 lbs. of materials to the Chemetco Site. These materials were

 generated by Girard Scrap and contained hazardous substances.

        3114. To date, Girard Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3115. According to Chemetco Site records, Defendant GKN Sinter Metals, LLC

 (“GKN”) contributed at least 207,384 lbs. of materials to the Chemetco Site. These materials

 were generated by GKN and contained hazardous substances.




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        3116. To date, GKN has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3117. According to Chemetco Site records, Defendant Glacier Vandervell Inc. (“Glacier

 Vandervell”) contributed at least 18,645,164 lbs. of materials to the Chemetco Site. These

 materials were generated by Glacier Vandervell and contained hazardous substances.

        3118. To date, Glacier Vandervell has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3119. According to Chemetco Site records, Defendant Glantz Iron & Metals, Inc.

 (“Glantz Iron”) contributed at least 313,821 lbs. of materials to the Chemetco Site. These

 materials were generated by Glantz Iron and contained hazardous substances.

        3120. To date, Glantz Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3121. According to Chemetco Site records, Defendant Glencore Ltd. (“Glencore Ltd.”)

 contributed materials to the Chemetco Site. These materials were generated by Glencore Ltd. and

 contained hazardous substances.

        3122. To date, Glencore Ltd. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3123. According to Chemetco Site records, Defendant Glencore Recycling Inc.

 (“Glencore Recycling Inc.”) contributed materials to the Chemetco Site. These materials were

 generated by Glencore Recycling Inc. and contained hazardous substances.

        3124. To date, Glencore Recycling Inc. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3125. Defendant Glencore Recycling LLC (“Glencore Recycling LLC”) is responsible

 for the waste attributable to Micro Metallics Corporation (“Micro Metallics”).

        3126. In or about 1984, Micro Metallics was acquired by Noranda Inc. (“Noranda”).

        3127. In or about 2005, Noranda and Micro Metallics were merged with and into

 Falconbridge Limited (“Falconbridge”).

        3128. In or about 2006, Falconbridge was merged with and into Xstrata PLC

 (“Xstrata”).

        3129. In or about 2013, Xstrata was merged with and into Glencore Recycling LLC.

        3130. According to Chemetco Site records, Micro Metallics contributed at least 388,502

 lbs. of materials to the Chemetco Site. These materials were generated by Micro Metallics and

 contained hazardous substances.

        3131. To date, Glencore Recycling LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3132. According to Chemetco Site records, Defendant GLN Scrap Metals, Inc. (“GLN

 Scrap”) contributed at least 1,260 lbs. of materials to the Chemetco Site. These materials were

 generated by GLN Scrap and contained hazardous substances.

        3133. To date, GLN Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3134. According to Chemetco Site records, Defendant Global Metal Recycling (“Global

 Metal”) contributed at least 718,332 lbs. of materials to the Chemetco Site. These materials were

 generated by Global Metal and contained hazardous substances.

        3135. To date, Global Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3136. According to Chemetco Site records, Defendant Global Metal Recycling, L.L.C.

 (“Global Metal LLC”) contributed materials to the Chemetco Site. These materials were

 generated by Global Metal LLC and contained hazardous substances.

        3137. To date, Global Metal LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3138. According to Chemetco Site records, Defendant Globe Metals (“Globe Metals”)

 contributed at least 65,171 lbs. of materials to the Chemetco Site. These materials were

 generated by Globe Metals and contained hazardous substances.

        3139. To date, Globe Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3140. According to Chemetco Site records, Defendant Globe Technologies Corporation

 (“Globe Technologies”) contributed at least 22,280 lbs. of materials to the Chemetco Site. These

 materials were generated by Globe Technologies and contained hazardous substances.

        3141. To date, Globe Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3142. According to Chemetco Site records, Defendant Globus Metals Co. (“Globus

 Metals”) contributed at least 160 lbs. of materials to the Chemetco Site. These materials were

 generated by Globus Metals and contained hazardous substances.

        3143. To date, Globus Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3144. Defendant GM Scrap and Metal LLC (“GM Scrap”) is responsible for the waste

 attributable to A&B Scrap Co. (“A&B Scrap”).




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        3145. According to Chemetco Site records, A&B Scrap contributed at least 222,709 lbs.

 of materials to the Chemetco Site. These materials were generated by A&B Scrap and contained

 hazardous substances.

        3146. To date, GM Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3147. According to Chemetco Site records, Defendant GM Scrapmetal (“GM

 Scrapmetal”) contributed at least 462 lbs. of materials to the Chemetco Site. These materials

 were generated by GM Scrapmetal and contained hazardous substances.

        3148. To date, GM Scrapmetal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3149. According to Chemetco Site records, Defendant GNB Battery Technologies

 (“GNB Battery”) contributed at least 518,391 lbs. of materials to the Chemetco Site. These

 materials were generated by GNB Battery and contained hazardous substances.

        3150. To date, GNB Battery has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3151. According to Chemetco Site records, Defendant Goapa Salvage Dealer (“Goapa

 Salvage Dealer”) contributed at least 6,123 lbs. of materials to the Chemetco Site. These

 materials were generated by Goapa Salvage Dealer and contained hazardous substances.

        3152. To date, Goapa Salvage Dealer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3153. According to Chemetco Site records, Defendant Gold Refineries (“Gold

 Refineries”) contributed at least 21,684 lbs. of materials to the Chemetco Site. These materials

 were generated by Gold Refineries and contained hazardous substances.




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        3154. To date, Gold Refineries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3155. According to Chemetco Site records, Defendant Gold Rush Recycle (“Gold Rush

 Recycle”) contributed at least 654,493 lbs. of materials to the Chemetco Site. These materials

 were generated by Gold Rush Recycle and contained hazardous substances.

        3156. To date, Gold Rush Recycle has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3157. According to Chemetco Site records, Defendant Golden Recycling & Salvage,

 Inc. (“Golden Recycling”) contributed at least 135,385 lbs. of materials to the Chemetco Site.

 These materials were generated by Golden Recycling and contained hazardous substances.

        3158. To date, Golden Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3159. According to Chemetco Site records, Defendant Golden State Metals, Inc.

 (“Golden State Metals”) contributed at least 68,107 lbs. of materials to the Chemetco Site. These

 materials were generated by Golden State Metals and contained hazardous substances.

        3160. To date, Golden State Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3161. According to Chemetco Site records, Defendant Goldfarb Company (“Goldfarb”)

 contributed at least 381 lbs. of materials to the Chemetco Site. These materials were generated

 by Goldfarb and contained hazardous substances.

        3162. To date, Goldfarb has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3163. According to Chemetco Site records, Defendant Goldin Metals, Inc. (“Goldin

 Metals”) contributed at least 126,127 lbs. of materials to the Chemetco Site. These materials

 were generated by Goldin Metals and contained hazardous substances.

        3164. To date, Goldin Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3165. According to Chemetco Site records, Defendant Goldman Industries (“Goldman

 Industries”) contributed at least 527 lbs. of materials to the Chemetco Site. These materials were

 generated by Goldman Industries and contained hazardous substances.

        3166. To date, Goldman Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3167. Defendant Goldman’s, L.L.C. (“Goldman”) is responsible for the waste

 attributable to Marko Metals, Ltd. doing business as Goldmans (“Marko Metals”).

        3168. According to Chemetco Site records, Marko Metals contributed at least 7691 lbs.

 of materials to the Chemetco Site. These materials were generated by Marko Metals and

 contained hazardous substances.

        3169. To date, Goldman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3170. According to Chemetco Site records, Defendant Goldwils U.S. (“Goldwils”)

 contributed at least 488 lbs. of materials to the Chemetco Site. These materials were generated

 by Goldwils and contained hazardous substances.

        3171. To date, Goldwils has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3172. According to Chemetco Site records, Defendant Good Neighbor (“Good

 Neighbor”) contributed at least 472 lbs. of materials to the Chemetco Site. These materials were

 generated by Good Neighbor and contained hazardous substances.

        3173. To date, Good Neighbor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3174. According to Chemetco Site records, Defendant Goodman & Wolfe (“Goodman

 & Wolfe”) contributed at least 1,380 lbs. of materials to the Chemetco Site. These materials were

 generated by Goodman & Wolfe and contained hazardous substances.

        3175. To date, Goodman & Wolfe has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3176. According to Chemetco Site records, Defendant Goodman Scrap (“Goodman

 Scrap”) contributed at least 614 lbs. of materials to the Chemetco Site. These materials were

 generated by Goodman Scrap and contained hazardous substances.

        3177. To date, Goodman Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3178. According to Chemetco Site records, Defendant Gopher State Scrap (“Gopher

 State Scrap”) contributed at least 136,093 lbs. of materials to the Chemetco Site. These materials

 were generated by Gopher State Scrap and contained hazardous substances.

        3179. To date, Gopher State Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3180. According to Chemetco Site records, Defendant Gordon I&M (“Gordon I&M”)

 contributed at least 894 lbs. of materials to the Chemetco Site. These materials were generated

 by Gordon I&M and contained hazardous substances.




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        3181. To date, Gordon I&M has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3182. According to Chemetco Site records, Defendant Gordon S. Deutch Scrap Metal

 (“Deutch Scrap”) contributed at least 5,644 lbs. of materials to the Chemetco Site. These

 materials were generated by Deutch Scrap and contained hazardous substances.

        3183. To date, Deutch Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3184. According to Chemetco Site records, Defendant Gottlieb Inc. (“Gottlieb”)

 contributed at least 27,339 lbs. of materials to the Chemetco Site. These materials were

 generated by Gottlieb and contained hazardous substances.

        3185. To date, Gottlieb has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3186. According to Chemetco Site records, Defendant Goulding Scrap (“Goulding

 Scrap”) contributed at least 129,938 lbs. of materials to the Chemetco Site. These materials were

 generated by Goulding Scrap and contained hazardous substances.

        3187. To date, Goulding Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3188. Defendant GPS Metals, Inc. (“GPS Metals”) is responsible for the waste

 attributable to HKP Metals, Inc. (“HKP Metals”).

        3189. According to Chemetco Site records, HKP Metals contributed at least 61,517 lbs.

 of materials to the Chemetco Site. These materials were generated by HKP Metals and contained

 hazardous substances.




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        3190. To date, GPS Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3191. According to Chemetco Site records, Defendant Graff Bros. (“Graff Bros.”)

 contributed at least 2,629 lbs. of materials to the Chemetco Site. These materials were generated

 by Graff Bros. and contained hazardous substances.

        3192. To date, Graff Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3193. According to Chemetco Site records, Defendant Grahman’s Western Sales

 (“Grahman’s Sales”) contributed at least 1,764 lbs. of materials to the Chemetco Site. These

 materials were generated by Grahman’s Sales and contained hazardous substances.

        3194. To date, Grahman’s Sales has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3195. According to Chemetco Site records, Defendant Gralnek-Dunitz Co. (“Gralnek-

 Dunitz”) contributed at least 3,967,975 lbs. of materials to the Chemetco Site. These materials

 were generated by Gralnek-Dunitz and contained hazardous substances.

        3196. To date, Gralnek-Dunitz has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3197. According to Chemetco Site records, Defendant Grand Haven B (“Grand Haven”)

 contributed at least 657,067 lbs. of materials to the Chemetco Site. These materials were

 generated by Grand Haven and contained hazardous substances.

        3198. To date, Grand Haven has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3199. According to Chemetco Site records, Defendant Grande Vista (“Grande Vista”)

 contributed at least 1,602 lbs. of materials to the Chemetco Site. These materials were generated

 by Grande Vista and contained hazardous substances.

        3200. To date, Grande Vista has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3201. According to Chemetco Site records, Defendant Grant Iron (“Grant Iron”)

 contributed at least 16,206 lbs. of materials to the Chemetco Site. These materials were

 generated by Grant Iron and contained hazardous substances.

        3202. To date, Grant Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3203. According to Chemetco Site records, Defendant Grape Sales Inc. (“Grape Sales”)

 contributed at least 42,054 lbs. of materials to the Chemetco Site. These materials were

 generated by Grape Sales and contained hazardous substances.

        3204. To date, Grape Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3205. According to Chemetco Site records, Defendant Gray & Sons South Florida Gold

 & Silver Exchange, Inc. (“Gray & Sons”) contributed at least 4,204 lbs. of materials to the

 Chemetco Site. These materials were generated by Gray & Sons and contained hazardous

 substances.

        3206. To date, Gray & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3207. According to Chemetco Site records, Defendant Gray Supply (“Gray Supply”)

 contributed at least 634,090 lbs. of materials to the Chemetco Site. These materials were

 generated by Gray Supply and contained hazardous substances.

        3208. To date, Gray Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3209. According to Chemetco Site records, Defendant Great Falls R. (“Great Falls”)

 contributed at least 27,283 lbs. of materials to the Chemetco Site. These materials were

 generated by Great Falls and contained hazardous substances.

        3210. To date, Great Falls has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3211. According to Chemetco Site records, Defendant Great Lakes T. (“Great Lakes”)

 contributed at least 3,349 lbs. of materials to the Chemetco Site. These materials were generated

 by Great Lakes and contained hazardous substances.

        3212. To date, Great Lakes has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3213. According to Chemetco Site records, Defendant Great Western Recycling

 Industries, Inc. (“Western Recycling Industries”) contributed at least 101,331 lbs. of materials to

 the Chemetco Site. These materials were generated by Western Recycling Industries and

 contained hazardous substances.

        3214. To date, Western Recycling Industries has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.




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        3215. According to Chemetco Site records, Defendant Greater Gateway Association of

 Realtors, Inc. (“GGAR”) contributed at least 779 lbs. of materials to the Chemetco Site. These

 materials were generated by GGAR and contained hazardous substances.

        3216. To date, GGAR has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3217. According to Chemetco Site records, Defendant Greater Texas Metal Recycling

 Co., Inc. (“Texas Metal Recycling”) contributed at least 533,817 lbs. of materials to the

 Chemetco Site. These materials were generated by Texas Metal Recycling and contained

 hazardous substances.

        3218. To date, Texas Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3219. Defendant Green Ville Auto Sale, Inc. (“Green Ville Auto”) is responsible for the

 waste attributable to Auto Express Center (“Auto Express”).

        3220. According to Chemetco Site records, Auto Express contributed at least 71 lbs. of

 materials to the Chemetco Site. These materials were generated by Auto Express and contained

 hazardous substances.

        3221. To date, Green Ville Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3222. According to Chemetco Site records, Defendant Green’s Enter (“Green’s Enter”)

 contributed at least 269,335 lbs. of materials to the Chemetco Site. These materials were

 generated by Green’s Enter and contained hazardous substances.

        3223. To date, Green’s Enter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3224. According to Chemetco Site records, Defendant Green’s Recycling (“Green’s

 Recycling”) contributed at least 274 lbs. of materials to the Chemetco Site. These materials were

 generated by Green’s Recycling and contained hazardous substances.

        3225. To date, Green’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3226. According to Chemetco Site records, Defendant Greenbolt Metal (“Greenbolt

 Metal”) contributed at least 21,759 lbs. of materials to the Chemetco Site. These materials were

 generated by Greenbolt Metal and contained hazardous substances.

        3227. To date, Greenbolt Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3228. According to Chemetco Site records, Defendant Greensboro Pawn (“Greensboro

 Pawn”) contributed at least 2,841 lbs. of materials to the Chemetco Site. These materials were

 generated by Greensboro Pawn and contained hazardous substances.

        3229. To date, Greensboro Pawn has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3230. According to Chemetco Site records, Defendant Greer Metals (“Greer Metals”)

 contributed at least 76,793 lbs. of materials to the Chemetco Site. These materials were

 generated by Greer Metals and contained hazardous substances.

        3231. To date, Greer Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3232. According to Chemetco Site records, Defendant Greg’s Core Supply, Inc.

 (“Greg’s Supply”) contributed at least 27,395 lbs. of materials to the Chemetco Site. These

 materials were generated by Greg’s Supply and contained hazardous substances.




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        3233. To date, Greg’s Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3234. According to Chemetco Site records, Defendant Grells Garage (“Grells Garage”)

 contributed at least 6,610 lbs. of materials to the Chemetco Site. These materials were generated

 by Grells Garage and contained hazardous substances.

        3235. To date, Grells Garage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3236. According to Chemetco Site records, Defendant Grey & Bruce (“Grey & Bruce”)

 contributed at least 242 lbs. of materials to the Chemetco Site. These materials were generated

 by Grey & Bruce and contained hazardous substances.

        3237. To date, Grey & Bruce has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3238. According to Chemetco Site records, Defendant Griffin L.L.C. (“Griffin”)

 contributed at least 12,254 lbs. of materials to the Chemetco Site. These materials were

 generated by Griffin and contained hazardous substances.

        3239. To date, Griffin has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3240. According to Chemetco Site records, Defendant Grinnell Corporation (“Grinnell

 Corporation”) contributed at least 760,581 lbs. of materials to the Chemetco Site. These

 materials were generated by Grinnell Corporation and contained hazardous substances.

        3241. To date, Grinnell Corporation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3242. According to Chemetco Site records, Defendant Groov-Pin Corp. (“Groov-Pin”)

 contributed at least 6,380 lbs. of materials to the Chemetco Site. These materials were generated

 by Groov-Pin and contained hazardous substances.

        3243. To date, Groov-Pin has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3244. Defendant Grossman Iron and Steel Company (“Grossman Iron & Steel”) is

 responsible for the waste attributable to Grossman Iron & Metal Company (“Grossman Iron &

 Metal”).

        3245. According to the Missouri Secretary of State, Grossman Iron & Metal is the

 former name of Grossman Iron & Steel.

        3246. According to Chemetco Site records, Grossman Iron & Metal contributed at least

 135,884 lbs. of materials to the Chemetco Site. These materials were generated by Grossman

 Iron & Metal and contained hazardous substances.

        3247. To date, Grossman Iron & Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3248. According to Chemetco Site records, Defendant Group 1 International (“Group 1

 International”) contributed at least 2,196 lbs. of materials to the Chemetco Site. These materials

 were generated by Group 1 International and contained hazardous substances.

        3249. To date, Group 1 International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3250. According to Chemetco Site records, Defendant Grover Recycling (“Grover

 Recycling”) contributed at least 21 lbs. of materials to the Chemetco Site. These materials were

 generated by Grover Recycling and contained hazardous substances.




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        3251. To date, Grover Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3252. According to Chemetco Site records, Defendant Gruda Metal Co. (“Gruda

 Metal”) contributed at least 6,222 lbs. of materials to the Chemetco Site. These materials were

 generated by Gruda Metal and contained hazardous substances.

        3253. To date, Gruda Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3254. According to Chemetco Site records, Defendant GTE Investment Recovery

 (“GTE Investment”) contributed at least 1,287,806 lbs. of materials to the Chemetco Site. These

 materials were generated by GTE Investment and contained hazardous substances.

        3255. To date, GTE Investment has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3256. According to Chemetco Site records, Defendant Guay Metal Enterprises (“Guay

 Enterprises”) contributed at least 13,641 lbs. of materials to the Chemetco Site. These materials

 were generated by Guay Enterprises and contained hazardous substances.

        3257. To date, Guay Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3258. According to Chemetco Site records, Defendant Gulf Coast Metals Company Inc.

 (“Gulf Coast Metals”) contributed at least 8,618 lbs. of materials to the Chemetco Site. These

 materials were generated by Gulf Coast Metals and contained hazardous substances.

        3259. To date, Gulf Coast Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3260. According to Chemetco Site records, Defendant Gulf Coast Scrap Metal, Inc.

 (“Gulf Coast Scrap”) contributed at least 107,359 lbs. of materials to the Chemetco Site. These

 materials were generated by Gulf Coast Scrap and contained hazardous substances.

        3261. To date, Gulf Coast Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3262. According to Chemetco Site records, Defendant Gulf Iron & Metal (“Gulf Iron &

 Metal”) contributed at least 3,398 lbs. of materials to the Chemetco Site. These materials were

 generated by Gulf Iron & Metal and contained hazardous substances.

        3263. To date, Gulf Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3264. According to Chemetco Site records, Defendant Gunners Meter (“Gunners

 Meter”) contributed at least 2,341 lbs. of materials to the Chemetco Site. These materials were

 generated by Gunners Meter and contained hazardous substances.

        3265. To date, Gunners Meter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3266. According to Chemetco Site records, Defendant Guntersville Metal Recycling

 (“Guntersville Metal”) contributed at least 127,457 lbs. of materials to the Chemetco Site. These

 materials were generated by Guntersville Metal and contained hazardous substances.

        3267. To date, Guntersville Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3268. According to Chemetco Site records, Defendant Gunther Electronics, Inc.

 (“Gunther Electronics”) contributed at least 2,930 lbs. of materials to the Chemetco Site. These

 materials were generated by Gunther Electronics and contained hazardous substances.




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        3269. To date, Gunther Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3270. According to Chemetco Site records, Defendant Gutterman Iron & Metal

 Corporation (“Gutterman Iron”) contributed at least 408,832 lbs. of materials to the Chemetco

 Site. These materials were generated by Gutterman Iron and contained hazardous substances.

        3271. To date, Gutterman Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3272. According to Chemetco Site records, Defendant GW Recycling (“GW

 Recycling”) contributed at least 148 lbs. of materials to the Chemetco Site. These materials were

 generated by GW Recycling and contained hazardous substances.

        3273. To date, GW Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3274. According to Chemetco Site records, Defendant Gypsy Peddlers (“Gypsy

 Peddlers”) contributed at least 18,324 lbs. of materials to the Chemetco Site. These materials

 were generated by Gypsy Peddlers and contained hazardous substances.

        3275. To date, Gypsy Peddlers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3276. According to Chemetco Site records, Defendant H J Enterprises (“H J

 Enterprises”) contributed at least 1,329,628 lbs. of materials to the Chemetco Site. These

 materials were generated by H J Enterprises and contained hazardous substances.

        3277. To date, H J Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3278. According to Chemetco Site records, Defendant H. Blockman & Co., Inc. (“H.

 Blockman”) contributed at least 279,334 lbs. of materials to the Chemetco Site. These materials

 were generated by H. Blockman and contained hazardous substances.

        3279. To date, H. Blockman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3280. According to Chemetco Site records, Defendant H. Brown Co. (“H. Brown”)

 contributed at least 43 lbs. of materials to the Chemetco Site. These materials were generated by

 H. Brown and contained hazardous substances.

        3281. To date, H. Brown has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3282. According to Chemetco Site records, Defendant H. Cohen Industries (“H.

 Cohen”) contributed at least 56,967 lbs. of materials to the Chemetco Site. These materials were

 generated by H. Cohen and contained hazardous substances.

        3283. To date, H. Cohen has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3284. According to Chemetco Site records, Defendant H. Diamond Iron (“H.

 Diamond”) contributed at least 1,213,274 lbs. of materials to the Chemetco Site. These materials

 were generated by H. Diamond and contained hazardous substances.

        3285. To date, H. Diamond has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3286. According to Chemetco Site records, Defendant H. Hirschfield Sons Company

 (“Hirschfield Sons”) contributed at least 272,657 lbs. of materials to the Chemetco Site. These

 materials were generated by Hirschfield Sons and contained hazardous substances.




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        3287. To date, Hirschfield Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3288. According to Chemetco Site records, Defendant H. Klaff & Co. (“H. Klaff”)

 contributed at least 9,494 lbs. of materials to the Chemetco Site. These materials were generated

 by H. Klaff and contained hazardous substances.

        3289. To date, H. Klaff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3290. According to Chemetco Site records, Defendant H. Masser Company (“H.

 Masser”) contributed at least 45,982 lbs. of materials to the Chemetco Site. These materials were

 generated by H. Masser and contained hazardous substances.

        3291. To date, H. Masser has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3292. According to Chemetco Site records, Defendant H. Snyder Steel Corporation

 (“Snyder Steel”) contributed at least 6,754 lbs. of materials to the Chemetco Site. These

 materials were generated by Snyder Steel and contained hazardous substances.

        3293. To date, Snyder Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3294. According to Chemetco Site records, Defendant H. Winter Metal (“H. Winter”)

 contributed at least 1,050 lbs. of materials to the Chemetco Site. These materials were generated

 by H. Winter and contained hazardous substances.

        3295. To date, H. Winter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3296. According to Chemetco Site records, Defendant H.W. McKinney Wrecking

 (“McKinney Wrecking”) contributed at least 6,324 lbs. of materials to the Chemetco Site. These

 materials were generated by McKinney Wrecking and contained hazardous substances.

        3297. To date, McKinney Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3298. According to Chemetco Site records, Defendant H&C Metals Inc. (“H&C

 Metals”) contributed at least 1,188,493 lbs. of materials to the Chemetco Site. These materials

 were generated by H&C Metals and contained hazardous substances.

        3299. To date, H&C Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3300. According to Chemetco Site records, Defendant H&H Iron and Metal, Inc.

 (“H&H Iron”) contributed at least 66,471 lbs. of materials to the Chemetco Site. These materials

 were generated by H&H Iron and contained hazardous substances.

        3301. To date, H&H Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3302. According to Chemetco Site records, Defendant H&H Metals Co. (“H&H

 Metals”) contributed at least 409,886 lbs. of materials to the Chemetco Site. These materials

 were generated by H&H Metals and contained hazardous substances.

        3303. To date, H&H Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3304. According to Chemetco Site records, Defendant H&H Salvage (“H&H Salvage”)

 contributed at least 58 lbs. of materials to the Chemetco Site. These materials were generated by

 H&H Salvage and contained hazardous substances.




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        3305. To date, H&H Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3306. According to Chemetco Site records, Defendant H&L Performance Works, Inc.

 doing business as Eagle Auto & Truck Works (“H&L Performance”) contributed at least 10,854

 lbs. of materials to the Chemetco Site. These materials were generated by H&L Performance and

 contained hazardous substances.

        3307. To date, H&L Performance has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3308. According to Chemetco Site records, Defendant H&M Metals (“H&M Metals”)

 contributed at least 3,228 lbs. of materials to the Chemetco Site. These materials were generated

 by H&M Metals and contained hazardous substances.

        3309. To date, H&M Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3310. According to Chemetco Site records, Defendant H&W Recycling (“H&W

 Recycling”) contributed at least 29,437 lbs. of materials to the Chemetco Site. These materials

 were generated by H&W Recycling and contained hazardous substances.

        3311. To date, H&W Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3312. According to Chemetco Site records, Defendant Haar’s Scrap (“Haar’s”)

 contributed at least 134 lbs. of materials to the Chemetco Site. These materials were generated

 by Haar’s and contained hazardous substances.

        3313. To date, Haar’s has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        3314. According to Chemetco Site records, Defendant Hadley Recycling (“Hadley”)

 contributed at least 25,492 lbs. of materials to the Chemetco Site. These materials were

 generated by Hadley and contained hazardous substances.

        3315. To date, Hadley has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3316. According to Chemetco Site records, Defendant Haggerty Metals (“Haggerty

 Metals”) contributed at least 1,215,350 lbs. of materials to the Chemetco Site. These materials

 were generated by Haggerty Metals and contained hazardous substances.

        3317. To date, Haggerty Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3318. According to Chemetco Site records, Defendant Hal’s Radiator Service, Inc.

 (“Hal’s Radiator”) contributed at least 1,214 lbs. of materials to the Chemetco Site. These

 materials were generated by Hal’s Radiator and contained hazardous substances.

        3319. To date, Hal’s Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3320. According to Chemetco Site records, Defendant Hallmark Metals Corp.

 (“Hallmark”) contributed at least 340,712 lbs. of materials to the Chemetco Site. These materials

 were generated by Hallmark and contained hazardous substances.

        3321. To date, Hallmark has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3322. According to Chemetco Site records, Defendant Halstead Metal (“Halstead

 Metal”) contributed at least 3,006 lbs. of materials to the Chemetco Site. These materials were

 generated by Halstead Metal and contained hazardous substances.




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        3323. To date, Halstead Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3324. According to Chemetco Site records, Defendant Hammond Electric Motors, Inc.

 (“Hammond”) contributed at least 44,730 lbs. of materials to the Chemetco Site. These materials

 were generated by Hammond and contained hazardous substances.

        3325. To date, Hammond has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3326. According to Chemetco Site records, Defendant Handy & Harman (“Handy &

 Harman”) contributed at least 950 lbs. of materials to the Chemetco Site. These materials were

 generated by Handy & Harman and contained hazardous substances.

        3327. To date, Handy & Harman has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3328. According to Chemetco Site records, Defendant Handy & Harman Electronic

 Materials Corporation (“Harman Electronic”) contributed at least 34,912 lbs. of materials to the

 Chemetco Site. These materials were generated by Harman Electronic and contained hazardous

 substances.

        3329. To date, Harman Electronic has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3330. Defendant Handy & Harman Ltd. (“Handy & Harman Ltd.”) is responsible for the

 waste attributable to Ele Corporation doing business as HH Electric Corp. (“HH Electric”).

        3331. In or about 2014, HH Electric was merged with and into Handy & Harmon Ltd.




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        3332. According to Chemetco Site records, HH Electric contributed at least 23,356 lbs.

 of materials to the Chemetco Site. These materials were generated by HH Electric and contained

 hazardous substances.

        3333. To date, Handy & Harman Ltd. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3334. According to Chemetco Site records, Defendant Hanover Recycling (“Hanover

 Recycling”) contributed at least 124,065 lbs. of materials to the Chemetco Site. These materials

 were generated by Hanover Recycling and contained hazardous substances.

        3335. To date, Hanover Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3336. According to Chemetco Site records, Defendant Hanover Scrap (“Hanover

 Scrap”) contributed at least 5,245 lbs. of materials to the Chemetco Site. These materials were

 generated by Hanover Scrap and contained hazardous substances.

        3337. To date, Hanover Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3338. According to Chemetco Site records, Defendant Harding Mall (“Harding Mall”)

 contributed at least 7,310 lbs. of materials to the Chemetco Site. These materials were generated

 by Harding Mall and contained hazardous substances.

        3339. To date, Harding Mall has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3340. According to Chemetco Site records, Defendant Harley Morsett doing business as

 Cowboy Cores (“Cowboy Cores”) contributed at least 34,867 lbs. of materials to the Chemetco

 Site. These materials were generated by Cowboy Cores and contained hazardous substances.




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        3341. To date, Cowboy Cores has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3342. According to Chemetco Site records, Defendant Harper Salvage & Used Cars

 (“Harper Salvage”) contributed at least 4,760 lbs. of materials to the Chemetco Site. These

 materials were generated by Harper Salvage and contained hazardous substances.

        3343. To date, Harper Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3344. According to Chemetco Site records, Defendant Harr’s Scrap (“Harr’s Scrap”)

 contributed at least 474 lbs. of materials to the Chemetco Site. These materials were generated

 by Harr’s Scrap and contained hazardous substances.

        3345. To date, Harr’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3346. According to Chemetco Site records, Defendant Harris Manufacturing and Supply

 Company, Inc. (“Harris Manufacturing”) contributed at least 100,257 lbs. of materials to the

 Chemetco Site. These materials were generated by Harris Manufacturing and contained

 hazardous substances.

        3347. To date, Harris Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3348. According to Chemetco Site records, Defendant Harris Metals & Recycling

 (“Harris Metals”) contributed at least 68,398 lbs. of materials to the Chemetco Site. These

 materials were generated by Harris Metals and contained hazardous substances.

        3349. To date, Harris Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3350. According to Chemetco Site records, Defendant Harrison Radiator (“Harrison

 Radiator”) contributed at least 2,744 lbs. of materials to the Chemetco Site. These materials were

 generated by Harrison Radiator and contained hazardous substances.

        3351. To date, Harrison Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3352. According to Chemetco Site records, Defendant Harry Metal (“Harry Metal”)

 contributed at least 10,089 lbs. of materials to the Chemetco Site. These materials were

 generated by Harry Metal and contained hazardous substances.

        3353. To date, Harry Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3354. According to Chemetco Site records, Defendant Harry Nadel Scrap Metal

 Services, LLC (“Nadel Scrap”) contributed at least 58,687 lbs. of materials to the Chemetco Site.

 These materials were generated by Nadel Scrap and contained hazardous substances.

        3355. To date, Nadel Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3356. According to Chemetco Site records, Defendant Harry Rock & Co. (“Harry

 Rock”) contributed at least 257,054 lbs. of materials to the Chemetco Site. These materials were

 generated by Harry Rock and contained hazardous substances.

        3357. To date, Harry Rock has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3358. According to Chemetco Site records, Defendant Harsip Bros., Inc. (“Harsip”)

 contributed at least 51,130 lbs. of materials to the Chemetco Site. These materials were

 generated by Harsip and contained hazardous substances.




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        3359. To date, Harsip has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3360. According to Chemetco Site records, Defendant Hart Heat Transfer Products, Inc.

 doing business as Hart Radiators (“Hart Products”) contributed at least 2,594 lbs. of materials to

 the Chemetco Site. These materials were generated by Hart Products and contained hazardous

 substances.

        3361. To date, Hart Products has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3362. According to Chemetco Site records, Defendant Hartman Hide & Fur Company,

 Inc. (“Hartman Hide”) contributed at least 62,242 lbs. of materials to the Chemetco Site. These

 materials were generated by Hartman Hide and contained hazardous substances.

        3363. To date, Hartman Hide has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3364. According to Chemetco Site records, Defendant Harvley’s Scrap Metal and Car

 Crushing, Inc. (“Harvley’s Scrap”) contributed at least 128,237 lbs. of materials to the Chemetco

 Site. These materials were generated by Harvley’s Scrap and contained hazardous substances.

        3365. To date, Harvley’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3366. According to Chemetco Site records, Defendant Hasco (“Hasco”) contributed at

 least 43,914 lbs. of materials to the Chemetco Site. These materials were generated by Hasco and

 contained hazardous substances.

        3367. To date, Hasco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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          3368. According to Chemetco Site records, Defendant Hasser Enterprises, Inc. (“Hasser

 Enterprises”) contributed at least 1,954 lbs. of materials to the Chemetco Site. These materials

 were generated by Hasser Enterprises and contained hazardous substances.

          3369. To date, Hasser Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

          3370. Alternatively, Defendant Lafayette Tool and Die, Inc. (“Lafayette Tool”) is

 responsible for the waste attributable to Hasser Enterprises, as alleged in paragraph no. 3368

 above.

          3371. To date, Lafayette Tool has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          3372. According to Chemetco Site records, Defendant Hawk Steel Industries, Inc.

 (“Hawk Steel”) contributed at least 43,077 lbs. of materials to the Chemetco Site. These

 materials were generated by Hawk Steel and contained hazardous substances.

          3373. To date, Hawk Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          3374. According to Chemetco Site records, Defendant Haynes Auto Parts (“Haynes

 Auto”) contributed at least 676 lbs. of materials to the Chemetco Site. These materials were

 generated by Haynes Auto and contained hazardous substances.

          3375. To date, Haynes Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          3376. According to Chemetco Site records, Defendant Haynes Machine Company

 (“Haynes Machine”) contributed at least 13,891 lbs. of materials to the Chemetco Site. These

 materials were generated by Haynes Machine and contained hazardous substances.




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        3377. To date, Haynes Machine has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3378. According to Chemetco Site records, Defendant Hayward Recycling Inc.

 (“Hayward Recycling”) contributed at least 29,366 lbs. of materials to the Chemetco Site. These

 materials were generated by Hayward Recycling and contained hazardous substances.

        3379. To date, Hayward Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3380. According to Chemetco Site records, Defendant Haz-Mat Environmental

 Services, Inc. (“Haz-Mat”) contributed at least 41,200 lbs. of materials to the Chemetco Site.

 These materials were generated by Haz-Mat and contained hazardous substances.

        3381. To date, Haz-Mat has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3382. Defendant HD Supply Management, Inc. (“HD Supply”) is responsible for the

 waste attributable to Hughes Supply Management, Inc. (“Hughes Supply”).

        3383. In or about 2007, Hughes Supply amended its name to HD Supply.

        3384. According to Chemetco Site records, Hughes Supply contributed at least 9,738

 lbs. of materials to the Chemetco Site. These materials were generated by Hughes Supply and

 contained hazardous substances.

        3385. To date, HD Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3386. Defendant Heartland Metals, Inc. (“Heartland Metals”) is responsible for the

 waste attributable to Pure Lead Products, Inc. (“Pure Lead”).

        3387. In or about 1935, Pure Lead was formed as a Florida corporation.




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        3388. In or about 2003, Heartland Metals was formed as a Florida corporation at 127

 Ranier Drive, Lake Placid, Florida (“Ranier Dr. address”).

        3389. In or about June 2004, Pure Lead was dissolved with last officer of record as

 Phyllis Canter at the Ranier Dr. address.

        3390. The Florida Secretary of State records list Phyllis Canter as an officer for

 Heartland Metals until 2006.

        3391. Heartland Metals represents that Pure Lead Products is currently its division.

        3392. According to Chemetco Site records, Pure Lead contributed at least 5,653 lbs. of

 materials to the Chemetco Site. These materials were generated by Pure Lead and contained

 hazardous substances.

        3393. To date, Heartland Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3394. According to Chemetco Site records, Defendant Heavy Metal (“Heavy Metal”)

 contributed at least 12,376 lbs. of materials to the Chemetco Site. These materials were

 generated by Heavy Metal and contained hazardous substances.

        3395. To date, Heavy Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3396. According to Chemetco Site records, Defendant Heidelberg Metal (“Heidelberg

 Metal”) contributed at least 2,577 lbs. of materials to the Chemetco Site. These materials were

 generated by Heidelberg Metal and contained hazardous substances.

        3397. To date, Heidelberg Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3398. According to Chemetco Site records, Defendant Heidtman Steel Products

 (“Heidtman Steel”) contributed at least 10,239 lbs. of materials to the Chemetco Site. These

 materials were generated by Heidtman Steel and contained hazardous substances.

        3399. To date, Heidtman Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3400. According to Chemetco Site records, Defendant Heilmann Salvage (“Heilmann

 Salvage”) contributed at least 80 lbs. of materials to the Chemetco Site. These materials were

 generated by Heilmann Salvage and contained hazardous substances.

        3401. To date, Heilmann Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3402. According to Chemetco Site records, Defendant Helton’s Recycling (“Helton’s

 Recycling”) contributed at least 11,296 lbs. of materials to the Chemetco Site. These materials

 were generated by Helton’s Recycling and contained hazardous substances.

        3403. To date, Helton’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3404. According to Chemetco Site records, Defendant Hen Metals (“Hen Metals”)

 contributed at least 5,479 lbs. of materials to the Chemetco Site. These materials were generated

 by Hen Metals and contained hazardous substances.

        3405. To date, Hen Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3406. According to Chemetco Site records, Defendant Henderson Salvage (“Henderson

 Salvage”) contributed at least 54 lbs. of materials to the Chemetco Site. These materials were

 generated by Henderson Salvage and contained hazardous substances.




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        3407. To date, Henderson Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3408. According to Chemetco Site records, Defendant Hendrix & Company (“Hendrix

 & Company”) contributed at least 602,722 lbs. of materials to the Chemetco Site. These

 materials were generated by Hendrix & Company and contained hazardous substances.

        3409. To date, Hendrix & Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3410. According to Chemetco Site records, Defendant Hendrix Salvage Company, Inc.

 (“Hendrix Salvage”) contributed at least 534,088 lbs. of materials to the Chemetco Site. These

 materials were generated by Hendrix Salvage and contained hazardous substances.

        3411. To date, Hendrix Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3412. According to Chemetco Site records, Defendant Hendrix West (“Hendrix West”)

 contributed at least 5,531 lbs. of materials to the Chemetco Site. These materials were generated

 by Hendrix West and contained hazardous substances.

        3413. To date, Hendrix West has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3414. According to Chemetco Site records, Defendant Henley’s Scrap (“Henley’s

 Scrap”) contributed at least 594 lbs. of materials to the Chemetco Site. These materials were

 generated by Henley’s Scrap and contained hazardous substances.

        3415. To date, Henley’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3416. According to Chemetco Site records, Defendant Henmetals (“Henmetals”)

 contributed at least 5,479 lbs. of materials to the Chemetco Site. These materials were generated

 by Henmetals and contained hazardous substances.

        3417. To date, Henmetals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3418. According to Chemetco Site records, Defendant Heppner Iron & Metal Co.

 (“Heppner Iron”) contributed at least 406 lbs. of materials to the Chemetco Site. These materials

 were generated by Heppner Iron and contained hazardous substances.

        3419. To date, Heppner Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3420. According to Chemetco Site records, Defendant Herman Barr & Sons (“Herman

 Barr”) contributed at least 2,730,189 lbs. of materials to the Chemetco Site. These materials were

 generated by Herman Barr and contained hazardous substances.

        3421. To date, Herman Barr has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3422. According to Chemetco Site records, Defendant Herman’s Metal (“Herman’s

 Metal”) contributed at least 783 lbs. of materials to the Chemetco Site. These materials were

 generated by Herman’s Metal and contained hazardous substances.

        3423. To date, Herman’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3424. According to Chemetco Site records, Defendant Hess and Sons Salvage, Inc.

 (“Hess Salvage”) contributed at least 124,081 lbs. of materials to the Chemetco Site. These

 materials were generated by Hess Salvage and contained hazardous substances.




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        3425. To date, Hess Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3426. According to Chemetco Site records, Defendant Hesstech LLC (“Hesstech”)

 contributed at least 460 lbs. of materials to the Chemetco Site. These materials were generated

 by Hesstech and contained hazardous substances.

        3427. To date, Hesstech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3428. According to Chemetco Site records, Defendant Heyco Metals, Inc. (“Heyco

 Metals”) contributed at least 12,392 lbs. of materials to the Chemetco Site. These materials were

 generated by Heyco Metals and contained hazardous substances.

        3429. To date, Heyco Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3430. According to Chemetco Site records, Defendant Heyworth Plumbing, Inc.

 (“Heyworth Plumbing”) contributed at least 2,963 lbs. of materials to the Chemetco Site. These

 materials were generated by Heyworth Plumbing and contained hazardous substances.

        3431. To date, Heyworth Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3432. According to Chemetco Site records, Defendant HH&M Metal (“HH&M”)

 contributed at least 671 lbs. of materials to the Chemetco Site. These materials were generated

 by HH&M and contained hazardous substances.

        3433. To date, HH&M has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        3434. According to Chemetco Site records, Defendant Hi Tech Recycling (“Hi Tech

 Recycling”) contributed at least 107,093 lbs. of materials to the Chemetco Site. These materials

 were generated by Hi Tech Recycling and contained hazardous substances.

        3435. To date, Hi Tech Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3436. According to Chemetco Site records, Defendant HI Waste Disposal (“HI Waste”)

 contributed at least 17,879 lbs. of materials to the Chemetco Site. These materials were

 generated by HI Waste and contained hazardous substances.

        3437. To date, HI Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3438. According to Chemetco Site records, Defendant Hi-Tech Recycling Ltd. (“Hi-

 Tech”) contributed at least 17,754 lbs. of materials to the Chemetco Site. These materials were

 generated by Hi-Tech and contained hazardous substances.

        3439. To date, Hi-Tech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3440. Defendant HIC Investments, LLC (“HIC Investments”) is responsible for the

 waste attributable to Hurwich Iron Company Inc. (“Hurwich Iron”).

        3441. According to Chemetco Site records, Hurwich Iron contributed at least 142,613

 lbs. of materials to the Chemetco Site. These materials were generated by Hurwich Iron and

 contained hazardous substances.

        3442. To date, HIC Investments has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3443. According to Chemetco Site records, Defendant Hickman, Williams & Company

 (“Hickman”) contributed at least 10,980 lbs. of materials to the Chemetco Site. These materials

 were generated by Hickman and contained hazardous substances.

        3444. To date, Hickman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3445. According to Chemetco Site records, Defendant Hidden Valley Steel & Scrap Inc.

 (“Hidden Valley Steel”) contributed at least 383 lbs. of materials to the Chemetco Site. These

 materials were generated by Hidden Valley Steel and contained hazardous substances.

        3446. To date, Hidden Valley Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3447. According to Chemetco Site records, Defendant Hierz Scrap (“Hierz Scrap”)

 contributed at least 748,087 lbs. of materials to the Chemetco Site. These materials were

 generated by Hierz Scrap and contained hazardous substances.

        3448. To date, Hierz Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3449. According to Chemetco Site records, Defendant High Performance Tube (“High

 Performance”) contributed at least 17,780 lbs. of materials to the Chemetco Site. These materials

 were generated by High Performance and contained hazardous substances.

        3450. To date, High Performance has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3451. According to Chemetco Site records, Defendant Highland Corporation

 (“Highland Corporation”) contributed at least 623,233 lbs. of materials to the Chemetco Site.

 These materials were generated by Highland Corporation and contained hazardous substances.




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        3452. To date, Highland Corporation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3453. According to Chemetco Site records, Defendant Highland Recycle (“Highland

 Recycle”) contributed at least 3,128 lbs. of materials to the Chemetco Site. These materials were

 generated by Highland Recycle and contained hazardous substances.

        3454. To date, Highland Recycle has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3455. According to Chemetco Site records, Defendant Highland Recycling and

 Shredding, Inc. (“Highland Recycling”) contributed at least 47,637 lbs. of materials to the

 Chemetco Site. These materials were generated by Highland Recycling and contained hazardous

 substances.

        3456. To date, Highland Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3457. According to Chemetco Site records, Defendant Hildreth Mfg. LLC (“Hildreth

 Mfg.”) contributed at least 102,155 lbs. of materials to the Chemetco Site. These materials were

 generated by Hildreth Mfg. and contained hazardous substances.

        3458. To date, Hildreth Mfg. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3459. According to Chemetco Site records, Defendant Hill Electric (“Hill Electric”)

 contributed at least 896 lbs. of materials to the Chemetco Site. These materials were generated

 by Hill Electric and contained hazardous substances.

        3460. To date, Hill Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3461. According to Chemetco Site records, Defendant Hillcrest Industries Inc. doing

 business as Assured Core Company (“Hillcrest”) contributed at least 47,979 lbs. of materials to

 the Chemetco Site. These materials were generated by Hillcrest and contained hazardous

 substances.

        3462. To date, Hillcrest has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3463. According to Chemetco Site records, Defendant Hillman Metal (“Hillman Metal”)

 contributed at least 2,210 lbs. of materials to the Chemetco Site. These materials were generated

 by Hillman Metal and contained hazardous substances.

        3464. To date, Hillman Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3465. According to Chemetco Site records, Defendant Hinds Salvage Company (“Hinds

 Salvage”) contributed at least 17,582 lbs. of materials to the Chemetco Site. These materials

 were generated by Hinds Salvage and contained hazardous substances.

        3466. To date, Hinds Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3467. According to Chemetco Site records, Defendant Hirsch Industries Inc. (“Hirsch

 Industries”) contributed at least 1,352 lbs. of materials to the Chemetco Site. These materials

 were generated by Hirsch Industries and contained hazardous substances.

        3468. To date, Hirsch Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3469. According to Chemetco Site records, Defendant Hirsch Metals Corporation

 (“Hirsch Metals”) contributed at least 252,202 lbs. of materials to the Chemetco Site. These

 materials were generated by Hirsch Metals and contained hazardous substances.

        3470. To date, Hirsch Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3471. According to Chemetco Site records, Defendant Hitchcock Iron (“Hitchcock

 Iron”) contributed at least 899,740 lbs. of materials to the Chemetco Site. These materials were

 generated by Hitchcock Iron and contained hazardous substances.

        3472. To date, Hitchcock Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3473. According to Chemetco Site records, Defendant Hitchiner Manufacturing Co.,

 Inc. (“Hitchiner”) contributed at least 1,217 lbs. of materials to the Chemetco Site. These

 materials were generated by Hitchiner and contained hazardous substances.

        3474. To date, Hitchiner has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3475. Alternatively, Defendant O’Fallon Casting, LLC (“O’Fallon Casting”) is

 responsible for the waste attributable to Hitchiner, as alleged in paragraph no. 3473 above.

        3476. To date, O’Fallon Casting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3477. According to Chemetco Site records, Defendant Hobbs Iron & Metal Co., Inc.

 doing business as Steel Depot (“Hobbs Iron”) contributed at least 360,035 lbs. of materials to the

 Chemetco Site. These materials were generated by Hobbs Iron and contained hazardous

 substances.




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        3478. To date, Hobbs Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3479. According to Chemetco Site records, Defendant Hodes Industries (“Hodes

 Industries”) contributed at least 4,558 lbs. of materials to the Chemetco Site. These materials

 were generated by Hodes Industries and contained hazardous substances.

        3480. To date, Hodes Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3481. According to Chemetco Site records, Defendant Hoeganaes Corporation doing

 business as Arc Metals (“Hoeganaes”) contributed at least 331,821 lbs. of materials to the

 Chemetco Site. These materials were generated by Hoeganaes and contained hazardous

 substances.

        3482. To date, Hoeganaes has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3483. According to Chemetco Site records, Defendant Hoegner Tool & Plastics, Inc.

 (“Hoegner Tool”) contributed at least 297 lbs. of materials to the Chemetco Site. These materials

 were generated by Hoegner Tool and contained hazardous substances.

        3484. To date, Hoegner Tool has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3485. According to Chemetco Site records, Defendant Holland Electric Salvage

 (“Holland Salvage”) contributed at least 212,953 lbs. of materials to the Chemetco Site. These

 materials were generated by Holland Salvage and contained hazardous substances.

        3486. To date, Holland Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3487. According to Chemetco Site records, Defendant Hollands Salvage (“Hollands

 Salvage”) contributed at least 1,130 lbs. of materials to the Chemetco Site. These materials were

 generated by Hollands Salvage and contained hazardous substances.

        3488. To date, Hollands Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3489. According to Chemetco Site records, Defendant Hollywood Metal (Best

 Recycling Services) (“Hollywood Metal”) contributed at least 1,217,975 lbs. of materials to the

 Chemetco Site. These materials were generated by Hollywood Metal and contained hazardous

 substances.

        3490. To date, Hollywood Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3491. According to Chemetco Site records, Defendant Holmes Iron and Metal, Inc.

 (“Holmes Iron”) contributed at least 116,771 lbs. of materials to the Chemetco Site. These

 materials were generated by Holmes Iron and contained hazardous substances.

        3492. To date, Holmes Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3493. Defendant Holmes Road Recycling Company, Inc. (“Holmes Recycling”) is

 responsible for the waste attributable to Union Iron & Metal Company Inc. (“Union Iron”).

        3494. According to Chemetco Site records, Union Iron contributed at least 615,341 lbs.

 of materials to the Chemetco Site. These materials were generated by Union Iron and contained

 hazardous substances.

        3495. To date, Holmes Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3496. According to Chemetco Site records, Defendant Holston Surplus (“Holston”)

 contributed at least 35,150 lbs. of materials to the Chemetco Site. These materials were

 generated by Holston and contained hazardous substances.

        3497. To date, Holston has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3498. According to Chemetco Site records, Defendant Holt Electrical Supply Co. (“Holt

 Electrical”) contributed at least 1,790 lbs. of materials to the Chemetco Site. These materials

 were generated by Holt Electrical and contained hazardous substances.

        3499. To date, Holt Electrical has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3500. According to Chemetco Site records, Defendant Holt Recycling, Inc. (“Holt

 Recycling”) contributed at least 172,989 lbs. of materials to the Chemetco Site. These materials

 were generated by Holt Recycling and contained hazardous substances.

        3501. To date, Holt Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3502. According to Chemetco Site records, Defendant Holub Recycling LLC (“Holub

 Recycling”) contributed at least 89,878 lbs. of materials to the Chemetco Site. These materials

 were generated by Holub Recycling and contained hazardous substances.

        3503. To date, Holub Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3504. According to Chemetco Site records, Defendant Honeywell Friction Materials

 (“Honeywell Friction”) contributed at least 444,590 lbs. of materials to the Chemetco Site. These

 materials were generated by Honeywell Friction and contained hazardous substances.




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        3505. To date, Honeywell Friction has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3506. According to Chemetco Site records, Defendant Honigman Recycling Corp.

 (“Honigman Recycling”) contributed at least 238,571 lbs. of materials to the Chemetco Site.

 These materials were generated by Honigman Recycling and contained hazardous substances.

        3507. To date, Honigman Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3508. According to Chemetco Site records, Defendant Horne Heating & Cooling

 (“Horne Heating”) contributed at least 490 lbs. of materials to the Chemetco Site. These

 materials were generated by Horne Heating and contained hazardous substances.

        3509. To date, Horne Heating has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3510. According to Chemetco Site records, Defendant Horsehead Corporation

 (“Horsehead”) contributed at least 241,045 lbs. of materials to the Chemetco Site. These

 materials were generated by Horsehead and contained hazardous substances.

        3511. To date, Horsehead has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3512. According to Chemetco Site records, Defendant Hoskains Iron (“Hoskains”)

 contributed at least 79,000 lbs. of materials to the Chemetco Site. These materials were

 generated by Hoskains and contained hazardous substances.

        3513. To date, Hoskains has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3514. According to Chemetco Site records, Defendant Hou-Tex Sheet Metal, Inc.

 (“Hou-Tex Sheet”) contributed at least 8,549 lbs. of materials to the Chemetco Site. These

 materials were generated by Hou-Tex Sheet and contained hazardous substances.

        3515. To date, Hou-Tex Sheet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3516. According to Chemetco Site records, Defendant House Barry G. Precious Metals

 (“House”) contributed at least 33,573 lbs. of materials to the Chemetco Site. These materials

 were generated by House and contained hazardous substances.

        3517. To date, House has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3518. According to Chemetco Site records, Defendant Houston Compressed Steel Corp.

 (“Houston Compressed”) contributed at least 1,239,126 lbs. of materials to the Chemetco Site.

 These materials were generated by Houston Compressed and contained hazardous substances.

        3519. To date, Houston Compressed has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3520. According to Chemetco Site records, Defendant Houston Metal Processing Co.

 (“Houston Metal Processing”) contributed at least 43,580 lbs. of materials to the Chemetco Site.

 These materials were generated by Houston Metal Processing and contained hazardous

 substances.

        3521. To date, Houston Metal Processing has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.




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        3522. According to Chemetco Site records, Defendant Houston Screw Products Inc.

 (“Houston Screw”) contributed at least 284 lbs. of materials to the Chemetco Site. These

 materials were generated by Houston Screw and contained hazardous substances.

        3523. To date, Houston Screw has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3524. According to Chemetco Site records, Defendant Howard Automotive (“Howard

 Automotive”) contributed at least 1,445 lbs. of materials to the Chemetco Site. These materials

 were generated by Howard Automotive and contained hazardous substances.

        3525. To date, Howard Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3526. Defendant Howell Bros., Inc. (“Howell Bros.”) is responsible for the waste

 attributable to Elizabeth Metals (“Elizabeth Metals”).

        3527. According to Chemetco Site records, Elizabeth Metals contributed at least 79,361

 lbs. of materials to the Chemetco Site. These materials were generated by Elizabeth Metals and

 contained hazardous substances.

        3528. To date, Howell Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3529. According to Chemetco Site records, Defendant Howie’s Recycling Center, Inc.

 (“Howie’s Recycling”) contributed at least 85,977 lbs. of materials to the Chemetco Site. These

 materials were generated by Howie’s Recycling and contained hazardous substances.

        3530. To date, Howie’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3531. According to Chemetco Site records, Defendant Howland-Trumbull Recycling

 Center, Inc. (“Howland-Trumbull Recycling”) contributed at least 2,034 lbs. of materials to the

 Chemetco Site. These materials were generated by Howland-Trumbull Recycling and contained

 hazardous substances.

        3532. To date, Howland-Trumbull Recycling has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        3533. According to Chemetco Site records, Defendant HS Metals (“HS Metals”)

 contributed at least 82,182 lbs. of materials to the Chemetco Site. These materials were

 generated by HS Metals and contained hazardous substances.

        3534. To date, HS Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3535. According to Chemetco Site records, Defendant Hubbell Power Systems, Inc.

 (“Hubbell Power”) contributed at least 113,775 lbs. of materials to the Chemetco Site. These

 materials were generated by Hubbell Power and contained hazardous substances.

        3536. To date, Hubbell Power has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3537. According to Chemetco Site records, Defendan Hudson Baylor West Corporation

 (“Hudson Baylor”) contributed at least 53,560 lbs. of materials to the Chemetco Site. These

 materials were generated by Hudson Baylor and contained hazardous substances.

        3538. To date, Hudson Baylor has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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            3539. According to Chemetco Site records, Defendant Hudson Salvage (“Hudson

 Salvage”) contributed at least 1,788 lbs. of materials to the Chemetco Site. These materials were

 generated by Hudson Salvage and contained hazardous substances.

            3540. To date, Hudson Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

            3541. According to Chemetco Site records, Defendant Hummelstein Iron and Metal

 (“Hummesltein”) contributed at least 37,107 lbs. of materials to the Chemetco Site. These

 materials were generated by Hummesltein and contained hazardous substances.

            3542. To date, Hummesltein has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

            3543. According to Chemetco Site records, Defendant Hunter-Douglas (“Hunter-

 Douglas”) contributed at least 442 lbs. of materials to the Chemetco Site. These materials were

 generated by Hunter-Douglas and contained hazardous substances.

            3544. To date, Hunter-Douglas has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

            3545. Defendant Huntington Ingalls Incorporated (“Huntington Ingalls”) is responsible

 for the waste attributable to Avondale Industries, Inc. (“Avondale Industries”).

            3546. In or about 2002, Avondale Industries was merged with and into Northrop

 Grumman Ship Systems, Inc. (“Northrop Grumman Ship”).

            3547. In or about 2009, Northrop Grumman Ship was merged with and into Huntington

 Ingalls.




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        3548. According to Chemetco Site records, Avondale Industries contributed at least

 126,790 lbs. of materials to the Chemetco Site. These materials were generated by Avondale

 Industries and contained hazardous substances.

        3549. Additionally, Huntington Ingalls is responsible for the waste attributable to

 Ingalls Shipbuilding (“Ingalls Shipbuilding”).

        3550. Ingalls Shipbuilding is a division of Huntington.

        3551. According to Chemetco Site records, Ingalls Shipbuilding contributed at least

 17,887 lbs. of materials to the Chemetco Site. These materials were generated by Ingalls

 Shipbuilding and contained hazardous substances.

        3552. Additionally, Huntington Ingalls is responsible for the waste attributable to

 Newport News Shipbuilding and Dry Dock Company (“Newport News”).

        3553. In or about 2008, Newport News amended its name to Northrop Grumman

 Shipbuilding, Inc. (“Northrop Shipbuilding”).

        3554. In or about 2011, Northrop Shipbuilding amended its name to Huntington Ingalls.

        3555. According to Chemetco Site records, Newport News contributed at least 176,922

 lbs. of materials to the Chemetco Site. These materials were generated by Newport News and

 contained hazardous substances.

        3556. To date, Huntington Ingalls has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3557. According to Chemetco Site records, Defendant Hurst Metals (“Hurst Metals”)

 contributed at least 1,067 lbs. of materials to the Chemetco Site. These materials were generated

 by Hurst Metals and contained hazardous substances.




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        3558. To date, Hurst Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3559. According to Chemetco Site records, Defendant Hurt’s Scrap (“Hurt’s Scrap”)

 contributed at least 300 lbs. of materials to the Chemetco Site. These materials were generated

 by Hurt’s Scrap and contained hazardous substances.

        3560. To date, Hurt’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3561. According to Chemetco Site records, Defendant Hurwutz Brothers (“Hurwitz

 Brothers”) contributed at least 1,934 lbs. of materials to the Chemetco Site. These materials were

 generated by Hurwitz Brothers and contained hazardous substances.

        3562. To date, Hurwitz Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3563. According to Chemetco Site records, Defendant Hussey Copper Corp. (“Hussey

 Copper”) contributed at least 607,065 lbs. of materials to the Chemetco Site. These materials

 were generated by Hussey Copper and contained hazardous substances.

        3564. To date, Hussey Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3565. According to Chemetco Site records, Defendant Hydromet Environment (USA)

 Inc. (“Hydromet”) contributed at least 575,074 lbs. of materials to the Chemetco Site. These

 materials were generated by Hydromet and contained hazardous substances.

        3566. To date, Hydromet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3567. According to Chemetco Site records, Defendant I Cohen Co. Ltd. (“I Cohen”)

 contributed at least 1,503 lbs. of materials to the Chemetco Site. These materials were generated

 by I Cohen and contained hazardous substances.

        3568. To date, I Cohen has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3569. According to Chemetco Site records, Defendant I. Broomfield & Son, Inc.

 (“Broomfield & Son”) contributed at least 172,236 lbs. of materials to the Chemetco Site. These

 materials were generated by Broomfield & Son and contained hazardous substances.

        3570. To date, Broomfield & Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3571. According to Chemetco Site records, Defendant I. Erlichman Co., Inc.

 (“Erlichman Co.”) contributed at least 1,441,748 lbs. of materials to the Chemetco Site. These

 materials were generated by Erlichman Co. and contained hazardous substances.

        3572. To date, Erlichman Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3573. According to Chemetco Site records, Defendant I. Solomon Metal (“Solomon

 Metal”) contributed at least 481,463 lbs. of materials to the Chemetco Site. These materials were

 generated by Solomon Metal and contained hazardous substances.

        3574. To date, Solomon Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3575. According to Chemetco Site records, Defendant I. Zaitlin (“Zaitlin”) contributed

 at least 4,470 lbs. of materials to the Chemetco Site. These materials were generated by Zaitlin

 and contained hazardous substances.




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        3576. To date, Zaitlin has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3577. According to Chemetco Site records, Defendant ICC Logistics Services, Inc.

 (“ICC Logistics”) contributed at least 29,344 lbs. of materials to the Chemetco Site. These

 materials were generated by ICC Logistics and contained hazardous substances.

        3578. To date, ICC Logistics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3579. According to Chemetco Site records, Defendant Icetown Salvation (“Icetown”)

 contributed at least 42,700 lbs. of materials to the Chemetco Site. These materials were

 generated by Icetown and contained hazardous substances.

        3580. To date, Icetown has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3581. According to Chemetco Site records, Defendant Iconco, Inc. (“Iconco”)

 contributed at least 16,500 lbs. of materials to the Chemetco Site. These materials were

 generated by Iconco and contained hazardous substances.

        3582. To date, Iconco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3583. According to Chemetco Site records, Defendant Icor Group, Inc. (“Icor”)

 contributed at least 398,737 lbs. of materials to the Chemetco Site. These materials were

 generated by Icor and contained hazardous substances.

        3584. To date, Icor has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        3585. According to Chemetco Site records, Defendant IDEAL Fastener Corporation

 (“IDEAL Fastener”) contributed at least 87,904 lbs. of materials to the Chemetco Site. These

 materials were generated by IDEAL Fastener and contained hazardous substances.

        3586. To date, IDEAL Fastener has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3587. According to Chemetco Site records, Defendant Ideal Metal & Salvage Co.

 (“Ideal Metal”) contributed at least 20,594 lbs. of materials to the Chemetco Site. These

 materials were generated by Ideal Metal and contained hazardous substances.

        3588. To date, Ideal Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3589. According to Chemetco Site records, Defendant Illinois Electric Works, Inc.

 (“Illinois Electric”) contributed at least 61,907 lbs. of materials to the Chemetco Site. These

 materials were generated by Illinois Electric and contained hazardous substances.

        3590. To date, Illinois Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3591. According to Chemetco Site records, Defendant Illinois Scrap (“Illinois Scrap”)

 contributed at least 8,942 lbs. of materials to the Chemetco Site. These materials were generated

 by Illinois Scrap and contained hazardous substances.

        3592. To date, Illinois Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3593. According to Chemetco Site records, Defendant Illinois Scrap Processing, Inc.

 (“Illinois Scrap Processing”) contributed at least 572,364 lbs. of materials to the Chemetco Site.

 These materials were generated by Illinois Scrap Processing and contained hazardous substances.




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        3594. To date, Illinois Scrap Processing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3595. Defendant Image One Facility Solutions, Inc. (“Image One”) is responsible for

 the waste attributable to Langsdale Metals, Inc. (“Langsdale Metals”).

        3596. According to Chemetco Site records, Langsdale Metals contributed at least 37,560

 lbs. of materials to the Chemetco Site. These materials were generated by Langsdale Metals and

 contained hazardous substances.

        3597. To date, Image One has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3598. According to Chemetco Site records, Defendant Imaginations (“Imaginations”)

 contributed at least 4,127 lbs. of materials to the Chemetco Site. These materials were generated

 by Imaginations and contained hazardous substances.

        3599. To date, Imaginations has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3600. Defendant IMC-MetalsAmerica, LLC (“IMC”) is responsible for the waste

 attributable to International Metals and Marketing Group Ltd., Inc. (“International Metals”).

        3601. According to Chemetco Site records, International Metals contributed at least

 162,496 lbs. of materials to the Chemetco Site. These materials were generated by International

 Metals and contained hazardous substances.

        3602. To date, IMC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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         3603. According to Chemetco Site records, Defendant Imperial Auto (“Imperial Auto”)

 contributed at least 42,254 lbs. of materials to the Chemetco Site. These materials were

 generated by Imperial Auto and contained hazardous substances.

         3604. To date, Imperial Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         3605. According to Chemetco Site records, Defendant Imperial Zinc Corp. (“Imperial

 Zinc”) contributed at least 44,540 lbs. of materials to the Chemetco Site. These materials were

 generated by Imperial Zinc and contained hazardous substances.

         3606. To date, Imperial Zinc has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         3607. According to Chemetco Site records, Defendant IMS Recycling Services, Inc.

 (Industrial Metals & Salvage Co.) (“IMS Recycling”) contributed at least 1,051,391 lbs. of

 materials to the Chemetco Site. These materials were generated by IMS Recycling and contained

 hazardous substances.

         3608. IMS Recycling used to be a Chemetco Group member, but withdrew from the

 Chemetco Group and has not agreed to pay its equitable share of response costs at the Chemetco

 Site.

         3609. According to Chemetco Site records, Defendant In-Vin-Co Inc. doing business as

 West Side Iron & Metal Co. (“In-Vin-Co”) contributed at least 53,580 lbs. of materials to the

 Chemetco Site. These materials were generated by In-Vin-Co and contained hazardous

 substances.

         3610. To date, In-Vin-Co has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3611. According to Chemetco Site records, Defendant Inbound Manufacturing

 (“Inbound Mfg.”) contributed at least 560,964 lbs. of materials to the Chemetco Site. These

 materials were generated by Inbound Mfg. and contained hazardous substances.

        3612. To date, Inbound Mfg. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3613. According to Chemetco Site records, Defendant INCE Scrap (“INCE Scrap”)

 contributed at least 42,988 lbs. of materials to the Chemetco Site. These materials were

 generated by INCE Scrap and contained hazardous substances.

        3614. To date, INCE Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3615. According to Chemetco Site records, Defendant Indalex Aluminum Solutions

 Group (“Indalex Aluminum”) contributed at least 13,649 lbs. of materials to the Chemetco Site.

 These materials were generated by Indalex Aluminum and contained hazardous substances.

        3616. To date, Indalex Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3617. According to Chemetco Site records, Defendant Indiana Aluminum (“Indiana

 Aluminum”) contributed at least 16,066 lbs. of materials to the Chemetco Site. These materials

 were generated by Indiana Aluminum and contained hazardous substances.

        3618. To date, Indiana Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3619. According to Chemetco Site records, Defendant Indiana Metal Craft, Inc.

 (“Indiana Metal Craft”) contributed at least 15,135 lbs. of materials to the Chemetco Site. These

 materials were generated by Indiana Metal Craft and contained hazardous substances.




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        3620. To date, Indiana Metal Craft has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3621. Defendant Indiana-American Water Company (“Indiana-American”) is

 responsible for the waste attributable to Gary-Hobart Water Co. (“Gary-Hobart”).

        3622. In or about November 1994, Gary-Hobart amended its name to Northwest Indiana

 Water Company (“NW Indiana Water”).

        3623. In or about 2000, NW Indiana Water was merged with and into Indiana-

 American.

        3624. According to Chemetco Site records, Gary-Hobart contributed at least 48,692 lbs.

 of materials to the Chemetco Site. These materials were generated by Gary-Hobart and contained

 hazardous substances.

        3625. Additionally, Indiana-American is responsible for the waste attributable to NW

 Indiana Water.

        3626. According to Chemetco Site records, NW Indiana Water contributed at least

 27,378 lbs. of materials to the Chemetco Site. These materials were generated by NW Indiana

 Water and contained hazardous substances.

        3627. To date, Indiana-American has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3628. According to Chemetco Site records, Defendant Indianapolis Materials

 (“Indianapolis Materials”) contributed at least 210,629 lbs. of materials to the Chemetco Site.

 These materials were generated by Indianapolis Materials and contained hazardous substances.

        3629. To date, Indianapolis Materials has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3630. According to Chemetco Site records, Defendant Indianapolis Shredding

 Company, LLC (“Indianapolis Shredding Company”) contributed at least 475,400 lbs. of

 materials to the Chemetco Site. These materials were generated by Indianapolis Shredding

 Company and contained hazardous substances.

        3631. To date, Indianapolis Shredding Company has not paid any response costs

 incurred by the Chemetco Group at the Chemetco Site.

        3632. According to Chemetco Site records, Defendant Indregua (“Indregua”)

 contributed at least 832,442 lbs. of materials to the Chemetco Site. These materials were

 generated by Indregua and contained hazardous substances.

        3633. To date, Indregua has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3634. According to Chemetco Site records, Defendant Indumetal, S.A. (“Indumetal”)

 contributed at least 3,293,381 lbs. of materials to the Chemetco Site. These materials were

 generated by Indumetal and contained hazardous substances.

        3635. To date, Indumetal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3636. According to Chemetco Site records, Defendant Industrial Brokering Services

 (“Industrial Brokering”) contributed at least 13,480 lbs. of materials to the Chemetco Site. These

 materials were generated by Industrial Brokering and contained hazardous substances.

        3637. To date, Industrial Brokering has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3638. According to Chemetco Site records, Defendant Industrial Iron & Metal Co.

 (“Industrial Iron”) contributed at least 131,497 lbs. of materials to the Chemetco Site. These

 materials were generated by Industrial Iron and contained hazardous substances.

        3639. To date, Industrial Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3640. According to Chemetco Site records, Defendant Industrial Metal Enterprise, Inc.

 (“Industrial Metal”) contributed at least 32,406 lbs. of materials to the Chemetco Site. These

 materials were generated by Industrial Metal and contained hazardous substances.

        3641. To date, Industrial Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3642. According to Chemetco Site records, Defendant Industrial Metal Processing

 (“Industrial Metal Processing”) contributed at least 519,016 lbs. of materials to the Chemetco

 Site. These materials were generated by Industrial Metal Processing and contained hazardous

 substances.

        3643. To date, Industrial Metal Processing has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        3644. According to Chemetco Site records, Defendant Industrial Metal Recycling Inc.

 (“Industrial Metal Reycling”) contributed at least 46,965 lbs. of materials to the Chemetco Site.

 These materials were generated by Industrial Metal Reycling and contained hazardous

 substances.

        3645. To date, Industrial Metal Reycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3646. According to Chemetco Site records, Defendant Industrial Metals Processing Ltd.

 (“Industrial Processing”) contributed at least 38,150 lbs. of materials to the Chemetco Site. These

 materials were generated by Industrial Processing and contained hazardous substances.

        3647. To date, Industrial Processing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3648. According to Chemetco Site records, Defendant Industrial Recycling Service

 (“Industrial Recycling”) contributed at least 678,090 lbs. of materials to the Chemetco Site.

 These materials were generated by Industrial Recycling and contained hazardous substances.

        3649. To date, Industrial Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3650. According to Chemetco Site records, Defendant Industrial Recycling Services,

 Inc. (“Industrial Recycling Services”) contributed materials to the Chemetco Site. These

 materials were generated by Industrial Recycling Services and contained hazardous substances.

        3651. To date, Industrial Recycling Services has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        3652. According to Chemetco Site records, Defendant Industrial Resource Recovery

 (Mervis IN) (“Industrial Resource Recovery”) contributed at least 395,988 lbs. of materials to

 the Chemetco Site. These materials were generated by Industrial Resource Recovery and

 contained hazardous substances.

        3653. To date, Industrial Resource Recovery has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.




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        3654. According to Chemetco Site records, Defendant Industrial Scrap Corporation

 (“Industrial Scrap”) contributed at least 153,135 lbs. of materials to the Chemetco Site. These

 materials were generated by Industrial Scrap and contained hazardous substances.

        3655. To date, Industrial Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3656. According to Chemetco Site records, Defendant Industrial SE (“Industrial SE”)

 contributed at least 2,400 lbs. of materials to the Chemetco Site. These materials were generated

 by Industrial SE and contained hazardous substances.

        3657. To date, Industrial SE has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3658. According to Chemetco Site records, Defendant Industrial SU (“Industrial SU”)

 contributed at least 206,080 lbs. of materials to the Chemetco Site. These materials were

 generated by Industrial SU and contained hazardous substances.

        3659. To date, Industrial SU has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3660. Defendant Ingersoll-Rand Holding Company LLC (“Ingersoll-Rand”) is

 responsible for the waste attributable to Schlage Lock Company LLC (“Schlage Lock”).

        3661. In or about 2010, Schlage Lock was merged with and into Ingersoll-Rand Schlage

 Lock Holding Company LLC (“Ingersoll-Rand Schlage”).

        3662. In or about 2014, Ingersoll-Rand Schlage amended its name to Ingersoll-Rand.

        3663. According to Chemetco Site records, Schlage Lock contributed at least 22,307

 lbs. of materials to the Chemetco Site. These materials were generated by Schlage Lock and

 contained hazardous substances.




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        3664. To date, Ingersoll-Rand has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3665. According to Chemetco Site records, Defendant Inglett Equipment, Inc. (“Inglett

 Equipment”) contributed at least 1,836 lbs. of materials to the Chemetco Site. These materials

 were generated by Inglett Equipment and contained hazardous substances.

        3666. To date, Inglett Equipment has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3667. According to Chemetco Site records, Defendant Innerboro Inc. (“Innerboro”)

 contributed at least 33 lbs. of materials to the Chemetco Site. These materials were generated by

 Innerboro and contained hazardous substances.

        3668. To date, Innerboro has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3669. According to Chemetco Site records, Defendant Innovative Recycling

 (“Innovative Recycling”) contributed at least 908,700 lbs. of materials to the Chemetco Site.

 These materials were generated by Innovative Recycling and contained hazardous substances.

        3670. To date, Innovative Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3671. According to Chemetco Site records, Defendant Insterstate CA (“Insterstate CA”)

 contributed at least 57,105 lbs. of materials to the Chemetco Site. These materials were

 generated by Insterstate CA and contained hazardous substances.

        3672. To date, Insterstate CA has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3673. According to Chemetco Site records, Defendant Insterstate ME (“Insterstate ME”)

 contributed at least 313,074 lbs. of materials to the Chemetco Site. These materials were

 generated by Insterstate ME and contained hazardous substances.

        3674. To date, Insterstate ME has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3675. According to Chemetco Site records, Defendant Integrity (“Integrity”) contributed

 at least 20 lbs. of materials to the Chemetco Site. These materials were generated by Integrity

 and contained hazardous substances.

        3676. To date, Integrity has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3677. According to Chemetco Site records, Defendant Integrity Metals Inc. (“Integrity

 Metals”) contributed at least 19,952 lbs. of materials to the Chemetco Site. These materials were

 generated by Integrity Metals and contained hazardous substances.

        3678. To date, Integrity Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3679. According to Chemetco Site records, Defendant Integrity Telecommunication Inc.

 (“Integrity Telecommunication”) contributed at least 1,137 lbs. of materials to the Chemetco

 Site. These materials were generated by Integrity Telecommunication and contained hazardous

 substances.

        3680. To date, Integrity Telecommunication has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.




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        3681. According to Chemetco Site records, Defendant Inter America (“Inter America”)

 contributed at least 2,130 lbs. of materials to the Chemetco Site. These materials were generated

 by Inter America and contained hazardous substances.

        3682. To date, Inter America has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3683. According to Chemetco Site records, Defendant Inter-County Recycling, Inc.

 (“Inter-County Recycling”) contributed at least 42,594 lbs. of materials to the Chemetco Site.

 These materials were generated by Inter-County Recycling and contained hazardous substances.

        3684. To date, Inter-County Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3685. According to Chemetco Site records, Defendant Intercity Metal (“Intercity

 Metal”) contributed at least 576,616 lbs. of materials to the Chemetco Site. These materials were

 generated by Intercity Metal and contained hazardous substances.

        3686. To date, Intercity Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3687. According to Chemetco Site records, Defendant Intercon Solutions, Inc.

 (“Intercon”) contributed at least 6,328 lbs. of materials to the Chemetco Site. These materials

 were generated by Intercon and contained hazardous substances.

        3688. To date, Intercon has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3689. According to Chemetco Site records, Defendant Interconnect Systems, Inc.

 (“Interconnect Systems”) contributed at least 2,290 lbs. of materials to the Chemetco Site. These

 materials were generated by Interconnect Systems and contained hazardous substances.




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        3690. To date, Interconnect Systems has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3691. According to Chemetco Site records, Defendant Intermetal U. (“Intermetal U.”)

 contributed at least 77,075 lbs. of materials to the Chemetco Site. These materials were

 generated by Intermetal U. and contained hazardous substances.

        3692. To date, Intermetal U. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3693. According to Chemetco Site records, Defendant Intermetco (“Intermetco”)

 contributed at least 42,260 lbs. of materials to the Chemetco Site. These materials were

 generated by Intermetco and contained hazardous substances.

        3694. To date, Intermetco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3695. According to Chemetco Site records, Defendant International Global Metals Inc.

 (“IGM”) contributed at least 312,136 lbs. of materials to the Chemetco Site. These materials

 were generated by IGM and contained hazardous substances.

        3696. To date, IGM has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3697. According to Chemetco Site records, Defendant International Recycling

 (“International Recycling”) contributed at least 90,020 lbs. of materials to the Chemetco Site.

 These materials were generated by International Recycling and contained hazardous substances.

        3698. To date, International Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3699. According to Chemetco Site records, Defendant International Recycling

 Company (“International Recycling Co.”) contributed at least 126,892 lbs. of materials to the

 Chemetco Site. These materials were generated by International Recycling Co. and contained

 hazardous substances.

        3700. To date, International Recycling Co. has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        3701. According to Chemetco Site records, Defendant International Resistive Company,

 Inc. doing business as IRC Corporation (“IRC”) contributed at least 171,115 lbs. of materials to

 the Chemetco Site. These materials were generated by IRC and contained hazardous substances.

        3702. To date, IRC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3703. According to Chemetco Site records, Defendant International Scrap Iron & Metal

 Co. Inc. (“International Scrap Iron”) contributed at least 3,233 lbs. of materials to the Chemetco

 Site. These materials were generated by International Scrap Iron and contained hazardous

 substances.

        3704. To date, International Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3705. According to Chemetco Site records, Defendant International Wire Inc.

 (“International Wire”) contributed at least 100,405 lbs. of materials to the Chemetco Site. These

 materials were generated by International Wire and contained hazardous substances.

        3706. To date, International Wire has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3707. According to Chemetco Site records, Defendant Interrec B.V. (“Interrec”)

 contributed at least 37,698 lbs. of materials to the Chemetco Site. These materials were

 generated by Interrec and contained hazardous substances.

        3708. To date, Interrec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3709. According to Chemetco Site records, Defendant Interstate Metals Corp.

 (“Interstate Metals”) contributed at least 420,615 lbs. of materials to the Chemetco Site. These

 materials were generated by Interstate Metals and contained hazardous substances.

        3710. To date, Interstate Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3711. According to Chemetco Site records, Defendant Interstate Non Ferrous

 (“Interstate Non Ferrous”) contributed at least 1,340,527 lbs. of materials to the Chemetco Site.

 These materials were generated by Interstate Non Ferrous and contained hazardous substances.

        3712. To date, Interstate Non Ferrous has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3713. According to Chemetco Site records, Defendant Interstate Supply, Inc.

 (“Interstate Supply”) contributed at least 430 lbs. of materials to the Chemetco Site. These

 materials were generated by Interstate Supply and contained hazardous substances.

        3714. To date, Interstate Supply has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3715. According to Chemetco Site records, Defendant Interstate Surplus, Inc.

 (“Interstate Surplus”) contributed at least 51,886 lbs. of materials to the Chemetco Site. These

 materials were generated by Interstate Surplus and contained hazardous substances.




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        3716. To date, Interstate Surplus has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3717. According to Chemetco Site records, Defendant Intersteel, Inc. (“Intersteel”)

 contributed at least 167,660 lbs. of materials to the Chemetco Site. These materials were

 generated by Intersteel and contained hazardous substances.

        3718. To date, Intersteel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3719. According to Chemetco Site records, Defendant Intra American Metals Inc. doing

 business as Intrametco (“Intrametco”) contributed at least 13,172 lbs. of materials to the

 Chemetco Site. These materials were generated by Intrametco and contained hazardous

 substances.

        3720. To date, Intrametco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3721. According to Chemetco Site records, Defendant IR Bell & Sons (“IR Bell”)

 contributed at least 1,912 lbs. of materials to the Chemetco Site. These materials were generated

 by IR Bell and contained hazardous substances.

        3722. To date, IR Bell has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3723. According to Chemetco Site records, Defendant Iron & Metals, Inc. (“Iron &

 Metals”) contributed at least 655,044 lbs. of materials to the Chemetco Site. These materials

 were generated by Iron & Metals and contained hazardous substances.

        3724. To date, Iron & Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3725. Defendant Iron Mike Enterprises, L.L.C. (“Iron Enterprises”) is responsible for

 the waste attributable to Golden Nugget Recycling, Inc. (“Golden Nugget Recycling”).

        3726. According to Chemetco Site records, Golden Nugget Recycling contributed at

 least 168,408 lbs. of materials to the Chemetco Site. These materials were generated by Golden

 Nugget Recycling and contained hazardous substances.

        3727. To date, Iron Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3728. According to Chemetco Site records, Defendant Irving Rubber & Metal Co., Inc.

 (“Irving Rubber”) contributed at least 242,363 lbs. of materials to the Chemetco Site. These

 materials were generated by Irving Rubber and contained hazardous substances.

        3729. To date, Irving Rubber has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3730. According to Chemetco Site records, Defendant Island Recycling Inc. (“Island

 Recycling”) contributed at least 77,749 lbs. of materials to the Chemetco Site. These materials

 were generated by Island Recycling and contained hazardous substances.

        3731. To date, Island Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3732. According to Chemetco Site records, Defendant Isreal Scrap & Metal (“Isreal

 Scrap”) contributed at least 47,027 lbs. of materials to the Chemetco Site. These materials were

 generated by Isreal Scrap and contained hazardous substances.

        3733. To date, Isreal Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3734. According to Chemetco Site records, Defendant Itchkawich Metal (“Itchkawich”)

 contributed at least 505 lbs. of materials to the Chemetco Site. These materials were generated

 by Itchkawich and contained hazardous substances.

        3735. To date, Itchkawich has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3736. According to Chemetco Site records, Defendant ITT Higbie (“ITT Higbie”)

 contributed at least 30,552 lbs. of materials to the Chemetco Site. These materials were

 generated by ITT Higbie and contained hazardous substances.

        3737. To date, ITT Higbie has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3738. According to Chemetco Site records, Defendant ITT Inc. doing business as

 Gould’s Pump Inc. (“ITT”) contributed at least 6,624 lbs. of materials to the Chemetco Site.

 These materials were generated by ITT and contained hazardous substances.

        3739. To date, ITT has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3740. Defendant IWG High Performance Conductors, Inc. (“IWG Conductors”) is

 responsible for the waste attributable to Phelps Dodge High Performance Conductors (“Phelps

 Dodge Conductors”).

        3741. According to Chemetco Site records, Phelps Dodge Conductors contributed at

 least 126,354 lbs. of materials to the Chemetco Site. These materials were generated by Phelps

 Dodge Conductors and contained hazaroud substances.

        3742. To date, IWG Conductors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3743. According to Chemetco Site records, Defendant J. Brass & Son (“Brass & Son”)

 contributed at least 2,846 lbs. of materials to the Chemetco Site. These materials were generated

 by Brass & Son and contained hazardous substances.

        3744. To date, Brass & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3745. According to Chemetco Site records, Defendant J. Crocker Metal (“J. Crocker

 Metal”) contributed at least 3,756 lbs. of materials to the Chemetco Site. These materials were

 generated by J. Crocker Metal and contained hazardous substances.

        3746. To date, J. Crocker Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3747. According to Chemetco Site records, Defendant J. Elias Scrap (“Elias Scrap”)

 contributed at least 2,628 lbs. of materials to the Chemetco Site. These materials were generated

 by Elias Scrap and contained hazardous substances.

        3748. To date, Elias Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3749. According to Chemetco Site records, Defendant J. Kuhl Metals Co. Inc. (“Kuhl

 Metals”) contributed at least 59,262 lbs. of materials to the Chemetco Site. These materials were

 generated by Kuhl Metals and contained hazardous substances.

        3750. To date, Kuhl Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3751. According to Chemetco Site records, Defendant J. P. Carroll & Co. (“J. P.

 Carroll”) contributed at least 227,495 lbs. of materials to the Chemetco Site. These materials

 were generated by J. P. Carroll and contained hazardous substances.




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        3752. To date, J. P. Carroll has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3753. According to Chemetco Site records, Defendant J. Pinz Metal Co. Inc. (“Pinz

 Metal”) contributed at least 1,074,843 lbs. of materials to the Chemetco Site. These materials

 were generated by Pinz Metal and contained hazardous substances.

        3754. To date, Pinz Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3755. According to Chemetco Site records, Defendant J. Sepenuk (“Sepenuk”)

 contributed at least 193,689 lbs. of materials to the Chemetco Site. These materials were

 generated by Sepenuk and contained hazardous substances.

        3756. To date, Sepenuk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3757. According to Chemetco Site records, Defendant J. Topy & Sons, Inc. (“Topy &

 Sons”) contributed at least 9,592 lbs. of materials to the Chemetco Site. These materials were

 generated by Topy & Sons and contained hazardous substances.

        3758. To date, Topy & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3759. According to Chemetco Site records, Defendant J. Walter Miller Co. (“Walter

 Miller”) contributed at least 139,639 lbs. of materials to the Chemetco Site. These materials were

 generated by Walter Miller and contained hazardous substances.

        3760. To date, Walter Miller has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3761. According to Chemetco Site records, Defendant J.A. Industries (“J.A. Industries”)

 contributed at least 2,442 lbs. of materials to the Chemetco Site. These materials were generated

 by J.A. Industries and contained hazardous substances.

        3762. To date, J.A. Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3763. According to Chemetco Site records, Defendant J.A. Salvage (“JA Salvage”)

 contributed at least 62,629 lbs. of materials to the Chemetco Site. These materials were

 generated by JA Salvage and contained hazardous substances.

        3764. To date, JA Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3765. According to Chemetco Site records, Defendant J.A.R. International Sales

 Corporation (“JAR International”) contributed at least 84,454 lbs. of materials to the Chemetco

 Site. These materials were generated by JAR International and contained hazardous substances.

        3766. To date, JAR International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3767. According to Chemetco Site records, Defendant J.D. Metals LLC (“J.D. Metals”)

 contributed at least 12,539 lbs. of materials to the Chemetco Site. These materials were

 generated by J.D. Metals and contained hazardous substances.

        3768. To date, J.D. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3769. According to Chemetco Site records, Defendant J.E. Bobo Scrap (“Bobo Scrap”)

 contributed at least 510 lbs. of materials to the Chemetco Site. These materials were generated

 by Bobo Scrap and contained hazardous substances.




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        3770. To date, Bobo Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3771. According to Chemetco Site records, Defendant J.E. Kodish & Sons, Inc.

 (“Kodish & Sons”) contributed at least 119,353 lbs. of materials to the Chemetco Site. These

 materials were generated by Kodish & Sons and contained hazardous substances.

        3772. To date, Kodish & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3773. According to Chemetco Site records, Defendant J.P. Wade Co. (“J.P. Wade”)

 contributed at least 190,580 lbs. of materials to the Chemetco Site. These materials were

 generated by J.P. Wade and contained hazardous substances.

        3774. To date, J.P. Wade has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3775. According to Chemetco Site records, Defendant J.R. Larsen Co. (“J.R. Larsen”)

 contributed at least 1,015,699 lbs. of materials to the Chemetco Site. These materials were

 generated by J.R. Larsen and contained hazardous substances.

        3776. To date, J.R. Larsen has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3777. According to Chemetco Site records, Defendant J.R. Trading (“J.R. Trading”)

 contributed at least 395 lbs. of materials to the Chemetco Site. These materials were generated

 by J.R. Trading and contained hazardous substances.

        3778. To date, J.R. Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3779. According to Chemetco Site records, Defendant J.S.T. Corporation (“J.S.T.”)

 contributed at least 102,652 lbs. of materials to the Chemetco Site. These materials were

 generated by J.S.T. and contained hazardous substances.

        3780. To date, J.S.T. has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3781. According to Chemetco Site records, Defendant J.T. Inc. (“J.T. Inc.”) contributed

 at least 11,003 lbs. of materials to the Chemetco Site. These materials were generated by J.T. Inc.

 and contained hazardous substances.

        3782. To date, J.T. Inc. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3783. According to Chemetco Site records, Defendant J.W. Green Co. (“J.W. Green”)

 contributed at least 745 lbs. of materials to the Chemetco Site. These materials were generated

 by J.W. Green and contained hazardous substances.

        3784. To date, J.W. Green has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3785. According to Chemetco Site records, Defendant J.W. Harris Co., Inc. (“J.W.

 Harris”) contributed at least 31,825 lbs. of materials to the Chemetco Site. These materials were

 generated by J.W. Harris and contained hazardous substances.

        3786. To date, J.W. Harris has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3787. According to Chemetco Site records, Defendant J.W. Metals (“J.W. Metals”)

 contributed at least 411 lbs. of materials to the Chemetco Site. These materials were generated

 by J.W. Metals and contained hazardous substances.




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        3788. To date, J.W. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3789. According to Chemetco Site records, Defendant J&A Salvage (“J&A Salvage”)

 contributed at least 10,588 lbs. of materials to the Chemetco Site. These materials were

 generated by J&A Salvage and contained hazardous substances.

        3790. To date, J&A Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3791. According to Chemetco Site records, Defendant J&C Recycling (“J&C

 Recycling”) contributed at least 72,128 lbs. of materials to the Chemetco Site. These materials

 were generated by J&C Recycling and contained hazardous substances.

        3792. To date, J&C Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3793. According to Chemetco Site records, Defendant J&F Scrap Metal (“J&F Scrap”)

 contributed at least 9,447 lbs. of materials to the Chemetco Site. These materials were generated

 by J&F Scrap and contained hazardous substances.

        3794. To date, J&F Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3795. According to Chemetco Site records, Defendant J&G Scrap (“J&G Scrap”)

 contributed at least 25,214 lbs. of materials to the Chemetco Site. These materials were

 generated by J&G Scrap and contained hazardous substances.

        3796. To date, J&G Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3797. According to Chemetco Site records, Defendant J&J Auto Salvage, Inc. doing

 business as Glendale Auto Parts (“J&J Auto”) contributed at least 67 lbs. of materials to the

 Chemetco Site. These materials were generated by J&J Auto and contained hazardous

 substances.

        3798. To date, J&J Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3799. According to Chemetco Site records, Defendant J&J Metal Recycling Inc. (“J&J

 Recycling”) contributed at least 14,094 lbs. of materials to the Chemetco Site. These materials

 were generated by J&J Recycling and contained hazardous substances.

        3800. To date, J&J Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3801. According to Chemetco Site records, Defendant J&J Metals (“J&J Metals”)

 contributed at least 10,207 lbs. of materials to the Chemetco Site. These materials were

 generated by J&J Metals and contained hazardous substances.

        3802. To date, J&J Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3803. According to Chemetco Site records, Defendant J&M Enterprises (“J&M

 Enterprises”) contributed at least 12,539 lbs. of materials to the Chemetco Site. These materials

 were generated by J&M Enterprises and contained hazardous substances.

        3804. To date, J&M Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3805. According to Chemetco Site records, Defendant J&P Scrap Metal (“J&P Scrap

 Metal”) contributed at least 23,964 lbs. of materials to the Chemetco Site. These materials were

 generated by J&P Scrap Metal and contained hazardous substances.

        3806. To date, J&P Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3807. According to Chemetco Site records, Defendant J&R Metals (“J&R Metals”)

 contributed at least 59,676 lbs. of materials to the Chemetco Site. These materials were

 generated by J&R Metals and contained hazardous substances.

        3808. To date, J&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3809. According to Chemetco Site records, Defendant J&R Recycling (“J&R

 Recycling”) contributed at least 2,331 lbs. of materials to the Chemetco Site. These materials

 were generated by J&R Recycling and contained hazardous substances.

        3810. To date, J&R Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3811. According to Chemetco Site records, Defendant J&R Recycling Center (“J&R

 Recycling Center”) contributed at least 24,810 lbs. of materials to the Chemetco Site. These

 materials were generated by J&R Recycling Center and contained hazardous substances.

        3812. To date, J&R Recycling Center has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3813. According to Chemetco Site records, Defendant J&S Auto Scrap (“J&S Auto”)

 contributed at least 150 lbs. of materials to the Chemetco Site. These materials were generated

 by J&S Auto and contained hazardous substances.




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        3814. To date, J&S Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3815. According to Chemetco Site records, Defendant J&S Metals (“J&S Metals”)

 contributed at least 1,555 lbs. of materials to the Chemetco Site. These materials were generated

 by J&S Metals and contained hazardous substances.

        3816. To date, J&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3817. According to Chemetco Site records, Defendant Jack Blum Metal (“Blum Metal”)

 contributed at least 63,613 lbs. of materials to the Chemetco Site. These materials were

 generated by Blum Metal and contained hazardous substances.

        3818. To date, Blum Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3819. According to Chemetco Site records, Defendant Jack Engle & Co. (“Engle &

 Co.”) contributed at least 378,718 lbs. of materials to the Chemetco Site. These materials were

 generated by Engle & Co. and contained hazardous substances.

        3820. To date, Engle & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3821. According to Chemetco Site records, Defendant Jack Gray Trucking (“Jack

 Gray”) contributed at least 42 lbs. of materials to the Chemetco Site. These materials were

 generated by Jack Gray and contained hazardous substances.

        3822. To date, Jack Gray has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3823. According to Chemetco Site records, Defendant Jack’s Woodwork (“Jack’s

 Woodwork”) contributed at least 6,593 lbs. of materials to the Chemetco Site. These materials

 were generated by Jack’s Woodwork and contained hazardous substances.

        3824. To date, Jack’s Woodwork has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3825. According to Chemetco Site records, Defendant Jackal Scrap (“Jackal Scrap”)

 contributed at least 42,221 lbs. of materials to the Chemetco Site. These materials were

 generated by Jackal Scrap and contained hazardous substances.

        3826. To date, Jackal Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3827. According to Chemetco Site records, Defendant Jackpot Metals (“Jackpot

 Metals”) contributed at least 371 lbs. of materials to the Chemetco Site. These materials were

 generated by Jackpot Metals and contained hazardous substances.

        3828. To date, Jackpot Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3829. According to Chemetco Site records, Defendant Jackson Fiber (“Jackson Fiber”)

 contributed at least 1,742 lbs. of materials to the Chemetco Site. These materials were generated

 by Jackson Fiber and contained hazardous substances.

        3830. To date, Jackson Fiber has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3831. According to Chemetco Site records, Defendant Jackson Iron (“Jackson Iron”)

 contributed at least 6,869 lbs. of materials to the Chemetco Site. These materials were generated

 by Jackson Iron and contained hazardous substances.




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        3832. To date, Jackson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3833. According to Chemetco Site records, Defendant Jacksonville Iron & Metal, Inc.

 (“Jacksonville Iron”) contributed at least 216,874 lbs. of materials to the Chemetco Site. These

 materials were generated by Jacksonville Iron and contained hazardous substances.

        3834. To date, Jacksonville Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3835. According to Chemetco Site records, Defendant Jacob’s Auto (“Jacob’s Auto”)

 contributed at least 10,636 lbs. of materials to the Chemetco Site. These materials were

 generated by Jacob’s Auto and contained hazardous substances.

        3836. To date, Jacob’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3837. According to Chemetco Site records, Defendant Jacob’s Iron & Metal Co., Inc.

 (“Jacob’s Iron”) contributed at least 15,648 lbs. of materials to the Chemetco Site. These

 materials were generated by Jacob’s Iron and contained hazardous substances.

        3838. To date, Jacob’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3839. According to Chemetco Site records, Defendant Jacobson Metal Corp. (“Jacobson

 Metal”) contributed at least 139,080 lbs. of materials to the Chemetco Site. These materials were

 generated by Jacobson Metal and contained hazardous substances.

        3840. To date, Jacobson Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3841. According to Chemetco Site records, Defendant Jacomij Metalen B.V. (“Jacomij

 Metalen”) contributed at least 446,772 lbs. of materials to the Chemetco Site. These materials

 were generated by Jacomij Metalen and contained hazardous substances.

        3842. To date, Jacomij Metalen has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3843. According to Chemetco Site records, Defendant Jacque Consenz, LLC

 (“Consenz”) contributed at least 3,076 lbs. of materials to the Chemetco Site. These materials

 were generated by Consenz and contained hazardous substances.

        3844. To date, Consenz has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3845. According to Chemetco Site records, Defendant Jadler Metals (“Jadler Metals”)

 contributed at least 2,503 lbs. of materials to the Chemetco Site. These materials were generated

 by Jadler Metals and contained hazardous substances.

        3846. To date, Jadler Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3847. According to Chemetco Site records, Defendant James Burrows Co., Inc.

 (“Burrows Co.”) contributed at least 34,216 lbs. of materials to the Chemetco Site. These

 materials were generated by Burrows Co. and contained hazardous substances.

        3848. To date, Burrows Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3849. According to Chemetco Site records, Defendant James G. Grant Co., LLC

 (“JGG”) contributed at least 93,392 lbs. of materials to the Chemetco Site. These materials were

 generated by JGG and contained hazardous substances.




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        3850. To date, JGG has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3851. According to Chemetco Site records, Defendant James Heating & Air, Inc.

 (“James Heating”) contributed at least 2,343 lbs. of materials to the Chemetco Site. These

 materials were generated by James Heating and contained hazardous substances.

        3852. To date, James Heating has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3853. Defendant James Jones Company of Delaware, LLC doing business as James

 Jones Company, LLC (“JJC of Delaware”) is responsible for the waste attributable to James

 Jones Co. (“James Jones Co.”).

        3854. In or about 2006, James Jones Co. was merged with and into JJC of Delaware.

        3855. According to Chemetco Site records, James Jones Co. contributed at least

 5,454,643 lbs. of materials to the Chemetco Site. These materials were generated by James Jones

 Co. and contained hazardous substances.

        3856. To date, JJC of Delaware has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3857. According to Chemetco Site records, Defendant Jansco (“Jansco”) contributed at

 least 4,464 lbs. of materials to the Chemetco Site. These materials were generated by Jansco and

 contained hazardous substances.

        3858. To date, Jansco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        3859. According to Chemetco Site records, Defendant Jantz Auto Sales, Inc. (“Jantz

 Auto”) contributed at least 172,337 lbs. of materials to the Chemetco Site. These materials were

 generated by Jantz Auto and contained hazardous substances.

        3860. To date, Jantz Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3861. According to Chemetco Site records, Defendant Jarvis Metals Recycling, Inc.

 (“Jarvis Metals Recycling”) contributed at least 2,800,333 lbs. of materials to the Chemetco Site.

 These materials were generated by Jarvis Metals Recycling and contained hazardous substances.

        3862. To date, Jarvis Metals Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3863. According to Chemetco Site records, Defendant Jasper’s Junk Yard (“Jasper’s

 Junk”) contributed at least 1,839 lbs. of materials to the Chemetco Site. These materials were

 generated by Jasper’s Junk and contained hazardous substances.

        3864. To date, Jasper’s Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3865. According to Chemetco Site records, Defendant Jayben Scrap Metal Co., Inc.

 (“Jayben Scrap Metal”) contributed at least 24,799 lbs. of materials to the Chemetco Site. These

 materials were generated by Jayben Scrap Metal and contained hazardous substances.

        3866. To date, Jayben Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3867. Defendant JBI Scrap Processors, Inc. (“JBI Scrap”) is responsible for the waste

 attributable to The Scrap Yard, LLC doing business as Cleveland Scrap (“Scrap Yard”).




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        3868. According to Chemetco Site records, Scrap Yard contributed at least 134,049 lbs.

 of materials to the Chemetco Site. These materials were generated by Scrap Yard and contained

 hazardous substances.

        3869. To date, JBI Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3870. According to Chemetco Site records, Defendant JD Metals, LLC (“JD Metals”)

 contributed at least 14,340 lbs. of materials to the Chemetco Site. These materials were

 generated by JD Metals and contained hazardous substances.

        3871. To date, JD Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3872. Defendant Jeff Manufacturing, Inc. (“Jeff Manufacturing”) is responsible for the

 waste attributable to TJ Manufacturing, Inc. (“TJ Manufacturing”).

        3873. On or about August 16, 2006, TJ Manufacturing amended its name to Jeff

 Manufacturing.

        3874. According to Chemetco Site records, TJ Manufacturing contributed at least

 27,084 lbs. of materials to the Chemetco Site. These materials were generated by TJ

 Manufacturing and contained hazardous substances.

        3875. To date, Jeff Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3876. According to Chemetco Site records, Defendant Jem Metal Co. (“Jem Metal”)

 contributed at least 420,314 lbs. of materials to the Chemetco Site. These materials were

 generated by Jem Metal and contained hazardous substances.




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        3877. To date, Jem Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3878. According to Chemetco Site records, Defendant Jena Metals (“Jena Metals”)

 contributed at least 26,147 lbs. of materials to the Chemetco Site. These materials were

 generated by Jena Metals and contained hazardous substances.

        3879. To date, Jena Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3880. According to Chemetco Site records, Defendant Jerr-Co Inc. (“Jerr-Co”)

 contributed at least 132,349 lbs. of materials to the Chemetco Site. These materials were

 generated by Jerr-Co and contained hazardous substances.

        3881. To date, Jerr-Co has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3882. According to Chemetco Site records, Defendant Jerry Smith Co. (“Smith Co.”)

 contributed at least 5,646 lbs. of materials to the Chemetco Site. These materials were generated

 by Smith Co. and contained hazardous substances.

        3883. To date, Smith Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3884. According to Chemetco Site records, Defendant Jerry Sternberg Company, Inc.

 (“Sternberg”) contributed at least 82,490 lbs. of materials to the Chemetco Site. These materials

 were generated by Sternberg and contained hazardous substances.

        3885. To date, Sternberg has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3886. According to Chemetco Site records, Defendant Jerry’s Metals (“Jerry’s Metals”)

 contributed at least 660 lbs. of materials to the Chemetco Site. These materials were generated

 by Jerry’s Metals and contained hazardous substances.

        3887. To date, Jerry’s Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3888. According to Chemetco Site records, Defendant Jerry’s Parts & Metals (“Jerry’s

 Parts & Metals”) contributed at least 23,424 lbs. of materials to the Chemetco Site. These

 materials were generated by Jerry’s Parts & Metals and contained hazardous substances.

        3889. To date, Jerry’s Parts & Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3890. According to Chemetco Site records, Defendant Jewett Metal (“Jewett Metal”)

 contributed at least 23,730 lbs. of materials to the Chemetco Site. These materials were

 generated by Jewett Metal and contained hazardous substances.

        3891. To date, Jewett Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3892. According to Chemetco Site records, Defendant Jing Recycling (“Jing

 Recycling”) contributed at least 1,008 lbs. of materials to the Chemetco Site. These materials

 were generated by Jing Recycling and contained hazardous substances.

        3893. To date, Jing Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3894. Defendant JJS&T, Inc. doing business as Vision Technologies (“JJS&T”) is

 responsible for the waste attributable to Thomas Haack Electronics, Inc. (“Thomas Haack

 Electronics”).




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        3895. According to Chemetco Site records, Thomas Haack Electronics contributed at

 least 16,794 lbs. of materials to the Chemetco Site. These materials were generated by Thomas

 Haack Electronics and contained hazardous substances.

        3896. To date, JJS&T has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        3897. According to Chemetco Site records, Defendant Joe Brown & Sons (“Brown &

 Sons”) contributed at least 574,102 lbs. of materials to the Chemetco Site. These materials were

 generated by Brown & Sons and contained hazardous substances.

        3898. To date, Brown & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3899. According to Chemetco Site records, Defendant Joe Brown Inc. (“JBI”)

 contributed at least 3,274 lbs. of materials to the Chemetco Site. These materials were generated

 by JBI and contained hazardous substances.

        3900. To date, JBI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3901. According to Chemetco Site records, Defendant Joe Coleman Salvage &

 Demolition, Inc. (“Coleman Salvage”) contributed at least 37,000 lbs. of materials to the

 Chemetco Site. These materials were generated by Coleman Salvage and contained hazardous

 substances.

        3902. To date, Coleman Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3903. According to Chemetco Site records, Defendant Joe Krentzman & Son, Inc.

 (“Krentzman & Son”) contributed at least 44,745 lbs. of materials to the Chemetco Site. These

 materials were generated by Krentzman & Son and contained hazardous substances.

        3904. To date, Krentzman & Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3905. According to Chemetco Site records, Defendant Joe’s Scrap Metal Sales (“Joe’s

 Scrap”) contributed at least 1,411 lbs. of materials to the Chemetco Site. These materials were

 generated by Joe’s Scrap and contained hazardous substances.

        3906. To date, Joe’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3907. According to Chemetco Site records, Defendant John Betz Metals (“Betz

 Metals”) contributed at least 1,620,213 lbs. of materials to the Chemetco Site. These materials

 were generated by Betz Metals and contained hazardous substances.

        3908. To date, Betz Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3909. According to Chemetco Site records, Defendant John C. Kupferle Foundry Co.

 (“Kupferle Foundry”) contributed at least 6,422 lbs. of materials to the Chemetco Site. These

 materials were generated by Kupferle Foundry and contained hazardous substances.

        3910. To date, Kupferle Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3911. According to Chemetco Site records, Defendant John Cross Plumbing (“Cross

 Plumbing”) contributed at least 627 lbs. of materials to the Chemetco Site. These materials were

 generated by Cross Plumbing and contained hazardous substances.




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        3912. To date, Cross Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3913. According to Chemetco Site records, Defendant John Deere (“John Deere”)

 contributed at least 881 lbs. of materials to the Chemetco Site. These materials were generated

 by John Deere and contained hazardous substances.

        3914. To date, John Deere has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3915. According to Chemetco Site records, Defendant John P. Flaherty III (“John

 Flaherty”) contributed at least 189,035 lbs. of materials to the Chemetco Site. These materials

 were generated by John Flaherty and contained hazardous substances.

        3916. To date, John Flaherty has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3917. Alternatively, Defendant Flaherty Metals Corporation (“Flaherty Metals”) is

 responsible for the waste attributable to John Flaherty, as alleged in paragraph no. 3915 above.

        3918. To date, Flaherty Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3919. Alternatively, Defendant Flaherty Real Estate Company, Inc. (“Flaherty Real

 Estate”) is responsible for the waste attributable to John Flaherty, as alleged in paragraph no.

 3915 above.

        3920. To date, Flaherty Real Estate has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3921. According to Chemetco Site records, Defendant John’s Auto Parts (“John’s

 Auto”) contributed at least 64 lbs. of materials to the Chemetco Site. These materials were

 generated by John’s Auto and contained hazardous substances.

        3922. To date, John’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3923. According to Chemetco Site records, Defendant John’s Iron and Metal, Inc.

 (“John’s Iron”) contributed at least 282,503 lbs. of materials to the Chemetco Site. These

 materials were generated by John’s Iron and contained hazardous substances.

        3924. To date, John’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3925. According to Chemetco Site records, Defendant Johnson Auto Parts (“Johnson

 Auto”) contributed at least 26,565 lbs. of materials to the Chemetco Site. These materials were

 generated by Johnson Auto and contained hazardous substances.

        3926. To date, Johnson Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3927. According to Chemetco Site records, Defendant Johnson Brass & Machine

 Foundry (“Johnson Machine Foundry”) contributed at least 5,591,652 lbs. of materials to the

 Chemetco Site. These materials were generated by Johnson Machine Foundry and contained

 hazardous substances.

        3928. To date, Johnson Machine Foundry has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.




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        3929. According to Chemetco Site records, Defendant Johnson Brass & Machine

 Foundry, Inc. (“Johnson Brass Foundry”) contributed materials to the Chemetco Site. These

 materials were generated by Johnson Brass Foundry and contained hazardous substances.

        3930. To date, Johnson Brass Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3931. According to Chemetco Site records, Defendant Johnson Recycling & Trading

 LLC (“Johnson Recycling”) contributed at least 100,910 lbs. of materials to the Chemetco Site.

 These materials were generated by Johnson Recycling and contained hazardous substances.

        3932. To date, Johnson Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3933. According to Chemetco Site records, Defendant Johnson Scrap (“Johnson Scrap”)

 contributed at least 10,950 lbs. of materials to the Chemetco Site. These materials were

 generated by Johnson Scrap and contained hazardous substances.

        3934. To date, Johnson Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3935. According to Chemetco Site records, Defendant Johnson’s Metal Recyclers, Inc.

 (“Johnson’s Metal”) contributed at least 187,981 lbs. of materials to the Chemetco Site. These

 materials were generated by Johnson’s Metal and contained hazardous substances.

        3936. To date, Johnson’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3937. According to Chemetco Site records, Defendant Jone’s Steel Inc. (“Jone’s Steel”)

 contributed at least 15,229 lbs. of materials to the Chemetco Site. These materials were

 generated by Jone’s Steel and contained hazardous substances.




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        3938. To date, Jone’s Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3939. According to Chemetco Site records, Defendant Jordan Research (“Jordan

 Research”) contributed at least 606 lbs. of materials to the Chemetco Site. These materials were

 generated by Jordan Research and contained hazardous substances.

        3940. To date, Jordan Research has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3941. According to Chemetco Site records, Defendant Jordan Scrap (“Jordan Scrap”)

 contributed at least 57,421 lbs. of materials to the Chemetco Site. These materials were

 generated by Jordan Scrap and contained hazardous substances.

        3942. To date, Jordan Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3943. According to Chemetco Site records, Defendant Joseph & Co. Inc. (“Joseph &

 Co.”) contributed at least 3,740 lbs. of materials to the Chemetco Site. These materials were

 generated by Joseph & Co. and contained hazardous substances.

        3944. To date, Joseph & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3945. According to Chemetco Site records, Defendant Joseph Freedman Co.

 (“Freedman”) contributed at least 260,788 lbs. of materials to the Chemetco Site. These materials

 were generated by Freedman and contained hazardous substances.

        3946. To date, Freedman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3947. According to Chemetco Site records, Defendant Joseph Krash Metal Company,

 LLC (“Krash Metal”) contributed at least 34,300 lbs. of materials to the Chemetco Site. These

 materials were generated by Krash Metal and contained hazardous substances.

        3948. To date, Krash Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3949. According to Chemetco Site records, Defendant Joseph Levin & Sons (“Levin &

 Sons”) contributed at least 323,511 lbs. of materials to the Chemetco Site. These materials were

 generated by Levin & Sons and contained hazardous substances.

        3950. To date, Levin & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3951. According to Chemetco Site records, Defendant Joseph Robertson Foundries Ltd.

 (“Robertson Foundries”) contributed at least 185,839 lbs. of materials to the Chemetco Site.

 These materials were generated by Robertson Foundries and contained hazardous substances.

        3952. To date, Robertson Foundries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3953. According to Chemetco Site records, Defendant Joseph T. Ryerson & Son, Inc.

 doing business as Vincent Metal Goods (“Ryerson & Son”) contributed at least 407 lbs. of

 materials to the Chemetco Site. These materials were generated by Ryerson & Son and contained

 hazardous substances.

        3954. To date, Ryerson & Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        3955. According to Chemetco Site records, Defendant Josh Steel Co. (“Josh Steel”)

 contributed at least 23,440 lbs. of materials to the Chemetco Site. These materials were

 generated by Josh Steel and contained hazardous substances.

        3956. To date, Josh Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3957. According to Chemetco Site records, Defendant Joshua Freedland Co.

 (“Freedland”) contributed at least 747 lbs. of materials to the Chemetco Site. These materials

 were generated by Freedland and contained hazardous substances.

        3958. To date, Freedland has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3959. According to Chemetco Site records, Defendant JSJ Corporation doing business

 as Drake Couplings (“JSJ”) contributed at least 148,096 lbs. of materials to the Chemetco Site.

 These materials were generated by JSJ and contained hazardous substances.

        3960. To date, JSJ has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3961. According to Chemetco Site records, Defendant JSL Metals Inc. (“JSL”)

 contributed at least 48,207 lbs. of materials to the Chemetco Site. These materials were

 generated by JSL and contained hazardous substances.

        3962. To date, JSL has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        3963. Defendant JT’s Salvage Co. (“JT’s Salvage”) is responsible for the waste

 attributable to J&C Salvage Co. (“J&C Salvage”).




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        3964. According to Chemetco Site records, J&C Salvage contributed at least 14,532 lbs.

 of materials to the Chemetco Site. These materials were generated by J&C Salvage and

 contained hazardous substances.

        3965. To date, JT’s Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3966. According to Chemetco Site records, Defendant Julius Louis Deitch Interests Inc.

 doing business as Julius Metals (“Deitch Interests”) contributed at least 99,127 lbs. of materials

 to the Chemetco Site. These materials were generated by Deitch Interests and contained

 hazardous substances.

        3967. To date, Deitch Interests has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3968. According to Chemetco Site records, Defendant Junction-Mcgregor Paper &

 Metal Recycle Center, Inc. (“Junction-Mcgregor”) contributed at least 145 lbs. of materials to the

 Chemetco Site. These materials were generated by Junction-Mcgregor and contained hazardous

 substances.

        3969. To date, Junction-Mcgregor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3970. According to Chemetco Site records, Defendant Just Parts, Inc. (“Just Parts”)

 contributed materials to the Chemetco Site. These materials were generated by Just Parts and

 contained hazardous substances.

        3971. To date, Just Parts has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3972. According to Chemetco Site records, Defendant Justice 98 Inc. (“Justice 98”)

 contributed at least 25,569 lbs. of materials to the Chemetco Site. These materials were

 generated by Justice 98 and contained hazardous substances.

        3973. To date, Justice 98 has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3974. Defendant JYD Industries, Inc. doing business as Aaron Industrial Recycling

 (“JYD Industries”) is responsible for the waste attributable to Metal Etc., Inc. (“Metal Etc.”).

        3975. According to Chemetco Site records, Metal Etc. contributed at least 24,952 lbs. of

 materials to the Chemetco Site. These materials were generated by Metal Etc. and contained

 hazardous substances.

        3976. To date, JYD Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3977. According to Chemetco Site records, Defendant K.C. Iron & Metal, Inc. (“K.C.

 Iron”) contributed at least 451,369 lbs. of materials to the Chemetco Site. These materials were

 generated by K.C. Iron and contained hazardous substances.

        3978. To date, K.C. Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3979. According to Chemetco Site records, Defendant K.W. Utility Construction Inc.

 (“K.W. Utility”) contributed at least 4,671 lbs. of materials to the Chemetco Site. These

 materials were generated by K.W. Utility and contained hazardous substances.

        3980. To date, K.W. Utility has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        3981. According to Chemetco Site records, Defendant K&G Auto Wrecking (“K&G

 Auto”) contributed at least 3,356 lbs. of materials to the Chemetco Site. These materials were

 generated by K&G Auto and contained hazardous substances.

        3982. To date, K&G Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3983. According to Chemetco Site records, Defendant K&K Enterprise (“K&K

 Enterprise”) contributed at least 1,264 lbs. of materials to the Chemetco Site. These materials

 were generated by K&K Enterprise and contained hazardous substances.

        3984. To date, K&K Enterprise has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3985. Defendant K&K Metal Recycling, LLC (“K&K Recycling”) is responsible for the

 waste attributable to Kirschbaum-Krupp Metals Co. (“Kirschbaum Co.”).

        3986. On or about December 12, 1980, Kirschbaum Co. was incorporated with the

 Minnesota Secretary of State.

        3987. On or about February 7, 2006, Kirschbaum-Krupp Metal Recycling, LLC

 (“Kirschbaum LLC”) was incorporated with the Minnesota Secretary of State.

        3988. On or about April 21, 2006, Kirschbaum Co. was sold to Kirschbaum LLC.

        3989. On or about January 9, 2008, Kirschbaum Co. was administratively dissolved.

        3990. On or about January 20, 2012, Kirschbaum LLC amended its name to K&K

 Recycling.

        3991. According to Chemetco Site records, Kirschbaum Co. contributed at least 424,035

 lbs. of materials to the Chemetco Site. These materials were generated by Kirschbaum Co. and

 contained hazardous substances.




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        3992. To date, K&K Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3993. According to Chemetco Site records, Defendant K&K Metals (“K&K Metals”)

 contributed at least 1,123,698 lbs. of materials to the Chemetco Site. These materials were

 generated by K&K Metals and contained hazardous substances.

        3994. To date, K&K Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        3995. According to Chemetco Site records, Defendant Kaichen’s Metal Mart, Inc.

 (“Kaichen’s Metal”) contributed at least 109,468 lbs. of materials to the Chemetco Site. These

 materials were generated by Kaichen’s Metal and contained hazardous substances.

        3996. To date, Kaichen’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3997. According to Chemetco Site records, Defendant Kalman W. Abrams Metals, Inc.

 (“Kalman Metals”) contributed at least 57,108 lbs. of materials to the Chemetco Site. These

 materials were generated by Kalman Metals and contained hazardous substances.

        3998. To date, Kalman Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        3999. According to Chemetco Site records, Defendant Kamen Iron (“Kamen Iron”)

 contributed at least 113,409 lbs. of materials to the Chemetco Site. These materials were

 generated by Kamen Iron and contained hazardous substances.

        4000. To date, Kamen Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4001. According to Chemetco Site records, Defendant Kamen, Inc. (“Kamen”)

 contributed at least 193,910 lbs. of materials to the Chemetco Site. These materials were

 generated by Kamen and contained hazardous substances.

        4002. To date, Kamen has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4003. According to Chemetco Site records, Defendant Kane Scrap Iron (“Kane Scrap”)

 contributed at least 185,743 lbs. of materials to the Chemetco Site. These materials were

 generated by Kane Scrap and contained hazardous substances.

        4004. To date, Kane Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4005. According to Chemetco Site records, Defendant Kang’s Core (“Kang’s Core”)

 contributed at least 43,934 lbs. of materials to the Chemetco Site. These materials were

 generated by Kang’s Core and contained hazardous substances.

        4006. To date, Kang’s Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4007. According to Chemetco Site records, Defendant Kankakee Scrap Corp.

 (“Kankakee Scrap”) contributed at least 1,517,588 lbs. of materials to the Chemetco Site. These

 materials were generated by Kankakee Scrap and contained hazardous substances.

        4008. To date, Kankakee Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4009. According to Chemetco Site records, Defendant Kaplan Co. Inc. (“Kaplan”)

 contributed at least 778 lbs. of materials to the Chemetco Site. These materials were generated

 by Kaplan and contained hazardous substances.




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        4010. To date, Kaplan has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4011. Defendant Kaplan Computers, LLC (“Kaplan Computers”) is responsible for the

 waste attributable to PC Worldwide, LLC (“PC Worldwide”).

        4012. According to Chemetco Site records, PC Worldwide contributed at least 426 lbs.

 of materials to the Chemetco Site. These materials were generated by PC Worldwide and

 contained hazardous substances.

        4013. To date, Kaplan Computers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4014. According to Chemetco Site records, Defendant Karr Parts (“Karr Parts”)

 contributed at least 789 lbs. of materials to the Chemetco Site. These materials were generated

 by Karr Parts and contained hazardous substances.

        4015. To date, Karr Parts has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4016. According to Chemetco Site records, Defendant Kasle Recycling Resource Corp.

 (“Kasle Recycling”) contributed at least 13,715 lbs. of materials to the Chemetco Site. These

 materials were generated by Kasle Recycling and contained hazardous substances.

        4017. To date, Kasle Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4018. According to Chemetco Site records, Defendant Kasmar Metals (“Kasmar

 Metals”) contributed at least 255,180 lbs. of materials to the Chemetco Site. These materials

 were generated by Kasmar Metals and contained hazardous substances.




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        4019. To date, Kasmar Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4020. According to Chemetco Site records, Defendant Kasper Brothers (“Kasper

 Brothers”) contributed at least 632 lbs. of materials to the Chemetco Site. These materials were

 generated by Kasper Brothers and contained hazardous substances.

        4021. To date, Kasper Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4022. According to Chemetco Site records, Defendant Kassab Brothers (“Kassab

 Brothers”) contributed at least 455 lbs. of materials to the Chemetco Site. These materials were

 generated by Kassab Brothers and contained hazardous substances.

        4023. To date, Kassab Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4024. According to Chemetco Site records, Defendant Kataman Metals (“Kataman

 Metals”) contributed at least 86,383 lbs. of materials to the Chemetco Site. These materials were

 generated by Kataman Metals and contained hazardous substances.

        4025. To date, Kataman Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4026. According to Chemetco Site records, Defendant Kavanaugh Salvage

 (“Kavanaugh Salvage”) contributed at least 13,603 lbs. of materials to the Chemetco Site. These

 materials were generated by Kavanaugh Salvage and contained hazardous substances.

        4027. To date, Kavanaugh Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4028. According to Chemetco Site records, Defendant Kaw River Shredding (“Kaw

 Shredding”) contributed at least 890,320 lbs. of materials to the Chemetco Site. These materials

 were generated by Kaw Shredding and contained hazardous substances.

        4029. To date, Kaw Shredding has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4030. According to Chemetco Site records, Defendant Kawabata American

 Incorporated (“Kawabata”) contributed at least 42,281 lbs. of materials to the Chemetco Site.

 These materials were generated by Kawabata and contained hazardous substances.

        4031. To date, Kawabata has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4032. According to Chemetco Site records, Defendant Kearney Pattern Works and

 Foundry Inc. (“Kearney Foundry”) contributed at least 12,325 lbs. of materials to the Chemetco

 Site. These materials were generated by Kearney Foundry and contained hazardous substances.

        4033. To date, Kearney Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4034. According to Chemetco Site records, Defendant Kearny Scrap Metal Co.

 (“Kearny Scrap”) contributed at least 352,319 lbs. of materials to the Chemetco Site. These

 materials were generated by Kearny Scrap and contained hazardous substances.

        4035. To date, Kearny Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4036. According to Chemetco Site records, Defendant Kearny Smelting & Refining

 Company (“Kearny Smelting”) contributed at least 262,026 lbs. of materials to the Chemetco

 Site. These materials were generated by Kearny Smelting and contained hazardous substances.




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        4037. To date, Kearny Smelting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4038. According to Chemetco Site records, Defendant Keck’s Plumbing (“Keck’s

 Plumbing”) contributed at least 1,914 lbs. of materials to the Chemetco Site. These materials

 were generated by Keck’s Plumbing and contained hazardous substances.

        4039. To date, Keck’s Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4040. According to Chemetco Site records, Defendant Kelley Foundry & Machine

 Company (“Kelley Foundry”) contributed at least 121,837 lbs. of materials to the Chemetco Site.

 These materials were generated by Kelley Foundry and contained hazardous substances.

        4041. To date, Kelley Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4042. According to Chemetco Site records, Defendant Kelley’s Salvage (“Kelley’s

 Salvage”) contributed at least 165 lbs. of materials to the Chemetco Site. These materials were

 generated by Kelley’s Salvage and contained hazardous substances.

        4043. To date, Kelley’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4044. According to Chemetco Site records, Defendant Kelly Trucking (“Kelly

 Trucking”) contributed at least 461,189 lbs. of materials to the Chemetco Site. These materials

 were generated by Kelly Trucking and contained hazardous substances.

        4045. To date, Kelly Trucking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4046. According to Chemetco Site records, Defendant Kelly’s Salvage (“Kelly’s

 Salvage”) contributed at least 9,596 lbs. of materials to the Chemetco Site. These materials were

 generated by Kelly’s Salvage and contained hazardous substances.

        4047. To date, Kelly’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4048. According to Chemetco Site records, Defendant Ken Sydell Enterprises, Inc.

 (“Sydell Enterprises”) contributed at least 448 lbs. of materials to the Chemetco Site. These

 materials were generated by Sydell Enterprises and contained hazardous substances.

        4049. To date, Sydell Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4050. According to Chemetco Site records, Defendant Ken W. Zion Automotive

 Enterprises Inc. (“Zion Automotive”) contributed at least 6,463 lbs. of materials to the Chemetco

 Site. These materials were generated by Zion Automotive and contained hazardous substances.

        4051. To date, Zion Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4052. According to Chemetco Site records, Defendant Kendall’s Towing (“Kendall’s

 Towing”) contributed at least 1,144 lbs. of materials to the Chemetco Site. These materials were

 generated by Kendall’s Towing and contained hazardous substances.

        4053. To date, Kendall’s Towing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4054. According to Chemetco Site records, Defendant Kenemer Scrap (“Kenemer

 Scrap”) contributed at least 35,955 lbs. of materials to the Chemetco Site. These materials were

 generated by Kenemer Scrap and contained hazardous substances.




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        4055. To date, Kenemer Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4056. According to Chemetco Site records, Defendant Kennametal Inc. (“Kennametal”)

 contributed at least 69,405 lbs. of materials to the Chemetco Site. These materials were

 generated by Kennametal and contained hazardous substances.

        4057. To date, Kennametal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4058. According to Chemetco Site records, Defendant Kennecott Utah Copper

 Corporation (“Kennecott Utah Copper”) contributed at least 8,253,769 lbs. of materials to the

 Chemetco Site. These materials were generated by Kennecott Utah Copper and contained

 hazardous substances.

        4059. To date, Kennecott Utah Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4060. According to Chemetco Site records, Defendant Kenny’s Metals (“Kenny’s

 Metals”) contributed at least 904 lbs. of materials to the Chemetco Site. These materials were

 generated by Kenny’s Metals and contained hazardous substances.

        4061. To date, Kenny’s Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4062. According to Chemetco Site records, Defendant Key Services, Inc. (“Key

 Services”) contributed at least 35,278 lbs. of materials to the Chemetco Site. These materials

 were generated by Key Services and contained hazardous substances.

        4063. To date, Key Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4064. According to Chemetco Site records, Defendant Key Tronic Corporation (“Key

 Tronic”) contributed at least 67,596 lbs. of materials to the Chemetco Site. These materials were

 generated by Key Tronic and contained hazardous substances.

        4065. Additionally, Key Tronic is responsible for the waste attributable to CDR

 Manufacturing, Inc. doing business as Ayrshire Electronics (“Ayrshire”).

        4066. In or about September 2014, Key Tronic acquired Ayrshire.

        4067. According to Chemetco Site records, Ayrshire contributed at least 7,202 lbs. of

 materials to the Chemetco Site. These materials were generated by Ayrshire and contained

 hazardous substances.

        4068. To date, Key Tronic has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4069. According to Chemetco Site records, Defendant Keystone Foundry (“Keystone

 Foundry”) contributed at least 954,604 lbs. of materials to the Chemetco Site. These materials

 were generated by Keystone Foundry and contained hazardous substances.

        4070. To date, Keystone Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4071. According to Chemetco Site records, Defendant Keywell Corporation

 (“Keywell”) contributed at least 708 lbs. of materials to the Chemetco Site. These materials were

 generated by Keywell and contained hazardous substances.

        4072. To date, Keywell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4073. According to Chemetco Site records, Defendant Kienbaum Iron (“Kienbaum”)

 contributed at least 34,017 lbs. of materials to the Chemetco Site. These materials were

 generated by Kienbaum and contained hazardous substances.

        4074. To date, Kienbaum has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4075. According to Chemetco Site records, Defendant Kim-Kool, Inc. (“Kim-Kool”)

 contributed at least 2,022 lbs. of materials to the Chemetco Site. These materials were generated

 by Kim-Kool and contained hazardous substances.

        4076. To date, Kim-Kool has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4077. According to Chemetco Site records, Defendant Kim’s Radiator and

 Manufacturing Co., Inc. (“Kim’s Radiator”) contributed at least 43,300 lbs. of materials to the

 Chemetco Site. These materials were generated by Kim’s Radiator and contained hazardous

 substances.

        4078. To date, Kim’s Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4079. According to Chemetco Site records, Defendant Kimball Electronics, Inc.

 (“Kimball Electronics”) contributed at least 66,947 lbs. of materials to the Chemetco Site. These

 materials were generated by Kimball Electronics and contained hazardous substances.

        4080. To date, Kimball Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4081. According to Chemetco Site records, Defendant Kimble Electric (“Kimble

 Electric”) contributed at least 1,358 lbs. of materials to the Chemetco Site. These materials were

 generated by Kimble Electric and contained hazardous substances.

        4082. To date, Kimble Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4083. According to Chemetco Site records, Defendant Kimmel Scrap Iron & Metal Co.

 (“Kimmel Scrap”) contributed at least 120,124 lbs. of materials to the Chemetco Site. These

 materials were generated by Kimmel Scrap and contained hazardous substances.

        4084. To date, Kimmel Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4085. According to Chemetco Site records, Defendant King Core (“King Core”)

 contributed at least 1,630 lbs. of materials to the Chemetco Site. These materials were generated

 by King Core and contained hazardous substances.

        4086. To date, King Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4087. According to Chemetco Site records, Defendant King Salvage (“King Salvage”)

 contributed at least 135 lbs. of materials to the Chemetco Site. These materials were generated

 by King Salvage and contained hazardous substances.

        4088. To date, King Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4089. According to Chemetco Site records, Defendant Kinsbursky Metal (“Kinsbursky

 Metal”) contributed at least 3,935 lbs. of materials to the Chemetco Site. These materials were

 generated by Kinsbursky Metal and contained hazardous substances.




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         4090. To date, Kinsbursky Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         4091. According to Chemetco Site records, Defendant Kinter (“Kinter”) contributed at

 least 4,087 lbs. of materials to the Chemetco Site. These materials were generated by Kinter and

 contained hazardous substances.

         4092. To date, Kinter has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

         4093. According to Chemetco Site records, Defendant Kirkendall Iron (“Kirkendall

 Iron”) contributed at least 7,405 lbs. of materials to the Chemetco Site. These materials were

 generated by Kirkendall Iron and contained hazardous substances.

         4094. To date, Kirkendall Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         4095. Defendant Kirkwood Holding, Inc. (“Kirkwood Holding”) is responsible for the

 waste attributable to Dayton Precision Company (“Dayton Precision”).

         4096. In or about 1987, Dayton Precision was formed as a division of Kirkwood

 Industries, Inc.

         4097. In or about 2004, Dayton Precision was spun off to form Kirkwood Holding, an

 Ohio corporation for profit.

         4098. According to Chemetco Site records, Dayton Precision contributed at least

 156,243 lbs. of materials to the Chemetco Site. These materials were generated by Dayton

 Precision and contained hazardous substances.

         4099. To date, Kirkwood Holding has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4100. According to Chemetco Site records, Defendant Kissel Iron (“Kissel Iron”)

 contributed at least 1,652 lbs. of materials to the Chemetco Site. These materials were generated

 by Kissel Iron and contained hazardous substances.

        4101. To date, Kissel Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4102. Defendant KKSP Precision Machining, LLC (“KKSP Precision”) is responsible

 for the waste attributable to K&K Screw Products, LLC (“K&K Screw”).

        4103. In or about May 2012, KKSP Precision acquired K&K Screw.

        4104. According to Chemetco Site records, K&K Screw contributed at least 85,534 lbs.

 of materials to the Chemetco Site. These materials were generated by K&K Screw and contained

 hazardous substances.

        4105. To date, KKSP Precision has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4106. According to Chemetco Site records, Defendant Klean Services (“Klean

 Services”) contributed at least 81,688 lbs. of materials to the Chemetco Site. These materials

 were generated by Klean Services and contained hazardous substances.

        4107. To date, Klean Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4108. According to Chemetco Site records, Defendant Klein Metals (“Klein Metals”)

 contributed at least 743,183 lbs. of materials to the Chemetco Site. These materials were

 generated by Klein Metals and contained hazardous substances.

        4109. To date, Klein Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4110. According to Chemetco Site records, Defendant Klein’s Auto Salvage (“Klein’s

 Auto”) contributed at least 3,550 lbs. of materials to the Chemetco Site. These materials were

 generated by Klein’s Auto and contained hazardous substances.

        4111. To date, Klein’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4112. According to Chemetco Site records, Defendant Kleinhan’s Scrap Metal Dealers

 (“Kleinhan’s Metal Dealers”) contributed materials to the Chemetco Site. These materials were

 generated by Kleinhan’s Metal Dealers and contained hazardous substances.

        4113. To date, Kleinhan’s Metal Dealers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4114. According to Chemetco Site records, Defendant Kleinhan’s Scrap/Frederick

 Kleinhans (“Kleinhan’s Scrap”) contributed at least 485,124 lbs. of materials to the Chemetco

 Site. These materials were generated by Kleinhan’s Scrap and contained hazardous substances.

        4115. To date, Kleinhan’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4116. According to Chemetco Site records, Defendant Kohne Salvage (“Kohne

 Salvage”) contributed at least 2,542 lbs. of materials to the Chemetco Site. These materials were

 generated by Kohne Salvage and contained hazardous substances.

        4117. To date, Kohne Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4118. According to Chemetco Site records, Defendant Kollmorgen Corporation

 (“Kollmorgen”) contributed at least 20,817 lbs. of materials to the Chemetco Site. These

 materials were generated by Kollmorgen and contained hazardous substances.




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        4119. To date, Kollmorgen has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4120. According to Chemetco Site records, Defendant Koppe Metals (“Koppe Metals”)

 contributed at least 96,248 lbs. of materials to the Chemetco Site. These materials were

 generated by Koppe Metals and contained hazardous substances.

        4121. To date, Koppe Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4122. According to Chemetco Site records, Defendant Kotz Metal (“Kotz Metal”)

 contributed at least 3,637 lbs. of materials to the Chemetco Site. These materials were generated

 by Kotz Metal and contained hazardous substances.

        4123. To date, Kotz Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4124. According to Chemetco Site records, Defendant Kovalchick Salvage Co.

 (“Kovalchick Salvage”) contributed at least 92,886 lbs. of materials to the Chemetco Site. These

 materials were generated by Kovalchick Salvage and contained hazardous substances.

        4125. To date, Kovalchick Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4126. According to Chemetco Site records, Defendant Kral Scrap Metal (“Kral Scrap”)

 contributed at least 109 lbs. of materials to the Chemetco Site. These materials were generated

 by Kral Scrap and contained hazardous substances.

        4127. To date, Kral Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4128. According to Chemetco Site records, Defendant Kramar’s Iron and Metal, Inc.

 (“Kramar’s Iron”) contributed at least 136,581 lbs. of materials to the Chemetco Site. These

 materials were generated by Kramar’s Iron and contained hazardous substances.

        4129. To date, Kramar’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4130. According to Chemetco Site records, Defendant Kramer Scrap (“Kramer Scrap”)

 contributed at least 2,597 lbs. of materials to the Chemetco Site. These materials were generated

 by Kramer Scrap and contained hazardous substances.

        4131. To date, Kramer Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4132. According to Chemetco Site records, Defendant Krieger Waste Paper Company,

 Inc. (“Krieger Waste”) contributed at least 571,042 lbs. of materials to the Chemetco Site. These

 materials were generated by Krieger Waste and contained hazardous substances.

        4133. To date, Krieger Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4134. According to Chemetco Site records, Defendant Kronick Industries, Inc.

 (“Kronick Industries”) contributed at least 368,944 lbs. of materials to the Chemetco Site. These

 materials were generated by Kronick Industries and contained hazardous substances.

        4135. To date, Kronick Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4136. According to Chemetco Site records, Defendant The Kroot Corporation (“Kroot”)

 contributed at least 377,155 lbs. of materials to the Chemetco Site. These materials were

 generated by Kroot and contained hazardous substances.




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        4137. To date, Kroot has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4138. According to Chemetco Site records, Defendant Krueger Company (“Krueger”)

 contributed at least 1,772 lbs. of materials to the Chemetco Site. These materials were generated

 by Krueger and contained hazardous substances.

        4139. To date, Krueger has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4140. According to Chemetco Site records, Defendant Kunkle Foundry (“Kunkle

 Foundry”) contributed at least 1,192,193 lbs. of materials to the Chemetco Site. These materials

 were generated by Kunkle Foundry and contained hazardous substances.

        4141. To date, Kunkle Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4142. According to Chemetco Site records, Defendant Kurt Iron (“Kurt Iron”)

 contributed at least 3,179 lbs. of materials to the Chemetco Site. These materials were generated

 by Kurt Iron and contained hazardous substances.

        4143. To date, Kurt Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4144. According to Chemetco Site records, Defendant L Bloom & Son Ogden LLC

 (“Bloom & Son”) contributed at least 448,022 lbs. of materials to the Chemetco Site. These

 materials were generated by Bloom & Son and contained hazardous substances.

        4145. To date, Bloom & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4146. According to Chemetco Site records, Defendant L. Belanger M. (“Belanger”)

 contributed at least 1,777 lbs. of materials to the Chemetco Site. These materials were generated

 by Belanger and contained hazardous substances.

        4147. To date, Belanger has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4148. According to Chemetco Site records, Defendant L. Chenman, Inc. (“Chenman”)

 contributed at least 278,466 lbs. of materials to the Chemetco Site. These materials were

 generated by Chenman and contained hazardous substances.

        4149. To date, Chenman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4150. According to Chemetco Site records, Defendant L. Cohen & Sons (“Cohen &

 Sons”) contributed at least 48,814 lbs. of materials to the Chemetco Site. These materials were

 generated by Cohen & Sons and contained hazardous substances.

        4151. To date, Cohen & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4152. According to Chemetco Site records, Defendant L. Decker, Inc. (“Decker”)

 contributed at least 3,145 lbs. of materials to the Chemetco Site. These materials were generated

 by Decker and contained hazardous substances.

        4153. To date, Decker has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4154. According to Chemetco Site records, Defendant L.A. Industries (“L.A.

 Industries”) contributed at least 736 lbs. of materials to the Chemetco Site. These materials were

 generated by L.A. Industries and contained hazardous substances.




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        4155. To date, L.A. Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4156. According to Chemetco Site records, Defendant L.C. Aviation (“L.C. Aviation”)

 contributed at least 281,981 lbs. of materials to the Chemetco Site. These materials were

 generated by L.C. Aviation and contained hazardous substances.

        4157. To date, L.C. Aviation has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4158. According to Chemetco Site records, Defendant L.C. Metals (“L.C. Metals”)

 contributed at least 16,419 lbs. of materials to the Chemetco Site. These materials were

 generated by L.C. Metals and contained hazardous substances.

        4159. To date, L.C. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4160. According to Chemetco Site records, Defendant L.C. Metals, Inc. (“LCM”)

 contributed materials to the Chemetco Site. These materials were generated by LCM and

 contained hazardous substances.

        4161. To date, LCM has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4162. According to Chemetco Site records, Defendant L.H. Industries Corp. (“L.H.

 Industries”) contributed at least 39,155 lbs. of materials to the Chemetco Site. These materials

 were generated by L.H. Industries and contained hazardous substances.

        4163. To date, L.H. Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4164. Defendant L.J.W. Holdings, Inc. (“L.J.W.”) is responsible for the waste

 attributable to Waddell’s Metal Recycling (“Waddell’s Metal”).

        4165. On or about December 22, 1995, Waddell’s Metal amended its name to L.J.W.

        4166. According to Chemetco Site records, Waddell’s Metal contributed at least 40,010

 lbs. of materials to the Chemetco Site. These materials were generated by Waddell’s Metal and

 contained hazardous substances.

        4167. To date, L.J.W. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4168. According to Chemetco Site records, Defendant L.L. Enterprise (“L.L.

 Enterprise”) contributed at least 126 lbs. of materials to the Chemetco Site. These materials were

 generated by L.L. Enterprise and contained hazardous substances.

        4169. To date, L.L. Enterprise has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4170. According to Chemetco Site records, Defendant L.S. Sadler Inc. (“L.S. Sadler”)

 contributed at least 38,452 lbs. of materials to the Chemetco Site. These materials were

 generated by L.S. Sadler and contained hazardous substances.

        4171. To date, L.S. Sadler has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4172. According to Chemetco Site records, Defendant L&K Iron and Scrap Metal, LLC

 (“L&K Iron”) contributed at least 348,507 lbs. of materials to the Chemetco Site. These

 materials were generated by L&K Iron and contained hazardous substances.

        4173. To date, L&K Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4174. According to Chemetco Site records, Defendant L&L Enterprises (“L&L

 Enterprises”) contributed at least 19,146 lbs. of materials to the Chemetco Site. These materials

 were generated by L&L Enterprises and contained hazardous substances.

        4175. To date, L&L Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4176. According to Chemetco Site records, Defendant L&L Metals (“L&L Metals”)

 contributed at least 6,023 lbs. of materials to the Chemetco Site. These materials were generated

 by L&L Metals and contained hazardous substances.

        4177. To date, L&L Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4178. According to Chemetco Site records, Defendant L&M Aluminum (“L&M

 Aluminum”) contributed at least 7,298 lbs. of materials to the Chemetco Site. These materials

 were generated by L&M Aluminum and contained hazardous substances.

        4179. To date, L&M Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4180. According to Chemetco Site records, Defendant L&M Scrap Metal (“L&M

 Scrap”) contributed at least 26,241 lbs. of materials to the Chemetco Site. These materials were

 generated by L&M Scrap and contained hazardous substances.

        4181. To date, L&M Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4182. According to Chemetco Site records, Defendant L&S Metals (“L&S Metals”)

 contributed at least 22,744 lbs. of materials to the Chemetco Site. These materials were

 generated by L&S Metals and contained hazardous substances.




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        4183. To date, L&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4184. According to Chemetco Site records, Defendant L&Y Scrap (“L&Y Scrap”)

 contributed at least 16,014 lbs. of materials to the Chemetco Site. These materials were

 generated by L&Y Scrap and contained hazardous substances.

        4185. To date, L&Y Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4186. Defendant L3 Technologies, Inc. (“L3 Technologies”) is responsible for the waste

 attributable to Pulse Engineering, Inc. (“Pulse Engineering”).

        4187. In or about 1987, Pulse Engineering was formed as a Delaware corporation.

        4188. In or about 2000, Pulse Engineering was merged with and into The Titan

 Corporation (“Titan Corp.”).

        4189. In or about 2011, L3 Technologies acquired Titan Corp.

        4190. Titan Corp.’s last known president is Michael Dunn, an L3 Technologies

 employee.

        4191. According to Chemetco Site records, Pulse Engineering contributed at least 132

 lbs. of materials to the Chemetco Site. These materials were generated by Pulse Engineering and

 contained hazardous substances.

        4192. To date, L3 Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4193. According to Chemetco Site records, Defendant La Caridad Junk Yard, Inc. (“La

 Caridad”) contributed at least 215 lbs. of materials to the Chemetco Site. These materials were

 generated by La Caridad and contained hazardous substances.




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        4194. To date, La Caridad has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4195. According to Chemetco Site records, Defendant Lafayette Processing Inc.

 (“Lafayette Processing”) contributed at least 3,311,183 lbs. of materials to the Chemetco Site.

 These materials were generated by Lafayette Processing and contained hazardous substances.

        4196. To date, Lafayette Processing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4197. According to Chemetco Site records, Defendant Lajeunesse M. (“Lajeunesse”)

 contributed at least 7,768 lbs. of materials to the Chemetco Site. These materials were generated

 by Lajeunesse and contained hazardous substances.

        4198. To date, Lajeunesse has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4199. According to Chemetco Site records, Defendant Lake City Electric (“Lake City

 Electric”) contributed at least 2,465 lbs. of materials to the Chemetco Site. These materials were

 generated by Lake City Electric and contained hazardous substances.

        4200. To date, Lake City Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4201. According to Chemetco Site records, Defendant Lake City Metal (“Lake City

 Metal”) contributed at least 5,426 lbs. of materials to the Chemetco Site. These materials were

 generated by Lake City Metal and contained hazardous substances.

        4202. To date, Lake City Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4203. According to Chemetco Site records, Defendant Lake Iron and Metal Company

 Inc. (“Lake Metal”) contributed at least 305,643 lbs. of materials to the Chemetco Site. These

 materials were generated by Lake Metal and contained hazardous substances.

        4204. To date, Lake Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4205. According to Chemetco Site records, Defendant Lakeside Non-Ferrous Metals,

 Inc. (“Lakeside Metals”) contributed at least 498,683 lbs. of materials to the Chemetco Site.

 These materials were generated by Lakeside Metals and contained hazardous substances.

        4206. To date, Lakeside Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4207. According to Chemetco Site records, Defendant Lakeside Scrap Metals, Inc.

 (“Lakeside Scrap”) contributed at least 54,092 lbs. of materials to the Chemetco Site. These

 materials were generated by Lakeside Scrap and contained hazardous substances.

        4208. To date, Lakeside Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4209. According to Chemetco Site records, Defendant LAKO Enterprises (“LAKO

 Enterprises”) contributed at least 581,384 lbs. of materials to the Chemetco Site. These materials

 were generated by LAKO Enterprises and contained hazardous substances.

        4210. To date, LAKO Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4211. According to Chemetco Site records, Defendant Lance Recycling (“Lance

 Recycling”) contributed at least 60 lbs. of materials to the Chemetco Site. These materials were

 generated by Lance Recycling and contained hazardous substances.




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        4212. To date, Lance Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4213. According to Chemetco Site records, Defendant Landie Iron (“Landie Iron”)

 contributed at least 98,531 lbs. of materials to the Chemetco Site. These materials were

 generated by Landie Iron and contained hazardous substances.

        4214. To date, Landie Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4215. According to Chemetco Site records, Defendant Lange Electric, Inc. (“Lange

 Electric”) contributed at least 2,592 lbs. of materials to the Chemetco Site. These materials were

 generated by Lange Electric and contained hazardous substances.

        4216. To date, Lange Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4217. According to Chemetco Site records, Defendant LaPollo’s Auto Parts (“LaPollo’s

 Auto”) contributed at least 41,278 lbs. of materials to the Chemetco Site. These materials were

 generated by LaPollo’s Auto and contained hazardous substances.

        4218. To date, LaPollo’s Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4219. According to Chemetco Site records, Defendant Larami Metal Co. (“Larami

 Metal”) contributed at least 36,008 lbs. of materials to the Chemetco Site. These materials were

 generated by Larami Metal and contained hazardous substances.

        4220. To date, Larami Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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           4221. Defendant Larry Dero East Valley Core Company, Inc. (“Dero Valley Core”) is

 responsible for the waste attributable to Larry Dero East Valley Core Company (“East Valley

 Core”).

           4222. According to Chemetco Site records, East Valley Core contributed at least

 219,784 lbs. of materials to the Chemetco Site. These materials were generated by East Valley

 Core and contained hazardous substances.

           4223. To date, Dero Valley Core has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

           4224. According to Chemetco Site records, Defendant Larry’s Salvage (“Larry’s

 Salvage”) contributed at least 6,196 lbs. of materials to the Chemetco Site. These materials were

 generated by Larry’s Salvage and contained hazardous substances.

           4225. To date, Larry’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

           4226. According to Chemetco Site records, Defendant Las Vegas Pick a Part Inc. (“LV

 Pick a Part”) contributed at least 766 lbs. of materials to the Chemetco Site. These materials were

 generated by LV Pick a Part and contained hazardous substances.

           4227. To date, LV Pick a Part has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

           4228. According to Chemetco Site records, Defendant Las Vegas Valley Water District

 (“LVVWD”) contributed at least 124,480 lbs. of materials to the Chemetco Site. These materials

 were generated by LVVWD and contained hazardous substances.

           4229. To date, LVVWD has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4230. According to Chemetco Site records, Defendant Latinoamericana De Metals-Law

 (“Latinoamericana Metals”) contributed at least 12,279,454 lbs. of materials to the Chemetco

 Site. These materials were generated by Latinoamericana Metals and contained hazardous

 substances.

        4231. To date, Latinoamericana Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4232. According to Chemetco Site records, Defendant Laurel Paper & Metal (“Laurel

 Paper”) contributed at least 950 lbs. of materials to the Chemetco Site. These materials were

 generated by Laurel Paper and contained hazardous substances.

        4233. To date, Laurel Paper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4234. According to Chemetco Site records, Defendant Laurel Street Recyclers (“Laurel

 Street”) contributed at least 2,501 lbs. of materials to the Chemetco Site. These materials were

 generated by Laurel Street and contained hazardous substances.

        4235. To date, Laurel Street has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4236. According to Chemetco Site records, Defendant Laviage Comm. (“Laviage”)

 contributed at least 182 lbs. of materials to the Chemetco Site. These materials were generated

 by Laviage and contained hazardous substances.

        4237. To date, Laviage has not paid any response costs incurred by the Chemetco Group

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        4238. According to Chemetco Site records, Defendant Lawent Iron (“Lawent Iron”)

 contributed at least 103,709 lbs. of materials to the Chemetco Site. These materials were

 generated by Lawent Iron and contained hazardous substances.

        4239. To date, Lawent Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4240. According to Chemetco Site records, Defendant Lawrence B. Malis Supply Co.

 doing business as Chicago Heights Iron and Supply Co. (“Malis Supply”) contributed at least

 19,412 lbs. of materials to the Chemetco Site. These materials were generated by Malis Supply

 and contained hazardous substances.

        4241. To date, Malis Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4242. According to Chemetco Site records, Defendant Lawrence Metals (“Lawrence

 Metals”) contributed at least 50,209 lbs. of materials to the Chemetco Site. These materials were

 generated by Lawrence Metals and contained hazardous substances.

        4243. To date, Lawrence Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4244. According to Chemetco Site records, Defendant Lazorov Bros. (“Lazorov Bros.”)

 contributed at least 1,725 lbs. of materials to the Chemetco Site. These materials were generated

 by Lazorov Bros. and contained hazardous substances.

        4245. To date, Lazorov Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4246. According to Chemetco Site records, Defendant LBC Acquisitions, LLC doing

 business as Lee Brass Company, Inc. (“LBC”) contributed at least 36,422 lbs. of materials to the

 Chemetco Site. These materials were generated by LBC and contained hazardous substances.

        4247. To date, LBC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4248. According to Chemetco Site records, Defendant LBT Enterprises, Inc. doing

 business as Great Northwest Recycling (“LBT”) contributed at least 514,415 lbs. of materials to

 the Chemetco Site. These materials were generated by LBT and contained hazardous substances.

        4249. To date, LBT has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4250. According to Chemetco Site records, Defendant LCM Enterprise (“LCM

 Enterprise”) contributed at least 7,087 lbs. of materials to the Chemetco Site. These materials

 were generated by LCM Enterprise and contained hazardous substances.

        4251. To date, LCM Enterprise has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4252. According to Chemetco Site records, Defendant Lead Products Company, Inc.

 (“Lead Products”) contributed at least 417,785 lbs. of materials to the Chemetco Site. These

 materials were generated by Lead Products and contained hazardous substances.

        4253. To date, Lead Products has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4254. According to Chemetco Site records, Defendant Leaf Sales Inc. (“Leaf Sales”)

 contributed at least 42,038 lbs. of materials to the Chemetco Site. These materials were

 generated by Leaf Sales and contained hazardous substances.




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        4255. To date, Leaf Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4256. According to Chemetco Site records, Defendant Leavitt Inc. (“Leavitt”)

 contributed at least 502,914 lbs. of materials to the Chemetco Site. These materials were

 generated by Leavitt and contained hazardous substances.

        4257. To date, Leavitt has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4258. According to Chemetco Site records, Defendant Lebanon Rack (“Lebanon Rack”)

 contributed at least 402 lbs. of materials to the Chemetco Site. These materials were generated

 by Lebanon Rack and contained hazardous substances.

        4259. To date, Lebanon Rack has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4260. According to Chemetco Site records, Defendant Lebanon Scrap (“Lebanon

 Scrap”) contributed at least 747 lbs. of materials to the Chemetco Site. These materials were

 generated by Lebanon Scrap and contained hazardous substances.

        4261. To date, Lebanon Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4262. According to Chemetco Site records, Defendant Leclerc et Fils (“Leclerc”)

 contributed at least 120 lbs. of materials to the Chemetco Site. These materials were generated

 by Leclerc and contained hazardous substances.

        4263. To date, Leclerc has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        4264. According to Chemetco Site records, Defendant Leder Brothers Company (“Leder

 Brothers”) contributed at least 40,083 lbs. of materials to the Chemetco Site. These materials

 were generated by Leder Brothers and contained hazardous substances.

        4265. To date, Leder Brothers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4266. According to Chemetco Site records, Defendant Lee Brass Company (“Lee

 Brass”) contributed at least 6,928,401 lbs. of materials to the Chemetco Site. These materials

 were generated by Lee Brass and contained hazardous substances.

        4267. To date, Lee Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4268. According to Chemetco Site records, Defendant Lee County Board of County

 Commissioners (“BOCC - Lee County”) contributed at least 18,457 lbs. of materials to the

 Chemetco Site. These materials were generated by BOCC - Lee County and contained hazardous

 substances.

        4269. To date, BOCC - Lee County has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4270. According to Chemetco Site records, Defendant Lee County Electric Cooperative

 Inc. (“LCEC”) contributed at least 136 lbs. of materials to the Chemetco Site. These materials

 were generated by LCEC and contained hazardous substances.

        4271. To date, LCEC has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        4272. According to Chemetco Site records, Defendant Lee Iron and Metal Company,

 Inc. (“Lee Iron”) contributed at least 154,552 lbs. of materials to the Chemetco Site. These

 materials were generated by Lee Iron and contained hazardous substances.

        4273. To date, Lee Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4274. According to Chemetco Site records, Defendant Lee Precision Machine Shop,

 Inc. (“Lee Precision”) contributed at least 1,246 lbs. of materials to the Chemetco Site. These

 materials were generated by Lee Precision and contained hazardous substances.

        4275. To date, Lee Precision has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4276. According to Chemetco Site records, Defendant Lee’s Auto Parts (“Lee’s Auto”)

 contributed at least 21,916 lbs. of materials to the Chemetco Site. These materials were

 generated by Lee’s Auto and contained hazardous substances.

        4277. To date, Lee’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4278. According to Chemetco Site records, Defendant Lee’s Iron & Metal (“Lee’s

 Iron”) contributed at least 313 lbs. of materials to the Chemetco Site. These materials were

 generated by Lee’s Iron and contained hazardous substances.

        4279. To date, Lee’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4280. According to Chemetco Site records, Defendant Leeco International (“Leeco”)

 contributed at least 598,688 lbs. of materials to the Chemetco Site. These materials were

 generated by Leeco and contained hazardous substances.




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        4281. To date, Leeco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4282. According to Chemetco Site records, Defendant Leelanau Industries, Inc.

 (“Leelanau Industries”) contributed at least 3,449,017 lbs. of materials to the Chemetco Site.

 These materials were generated by Leelanau Industries and contained hazardous substances.

        4283. To date, Leelanau Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4284. According to Chemetco Site records, Defendant Lefler Ken Auto (“Lefler Auto”)

 contributed at least 74,961 lbs. of materials to the Chemetco Site. These materials were

 generated by Lefler Auto and contained hazardous substances.

        4285. To date, Lefler Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4286. According to Chemetco Site records, Defendant Legend Smelting and Recycling,

 Inc. (“Legend Smelting”) contributed at least 24,315 lbs. of materials to the Chemetco Site.

 These materials were generated by Legend Smelting and contained hazardous substances.

        4287. To date, Legend Smelting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4288. According to Chemetco Site records, Defendant Lehigh Metals Corporation

 (“Lehigh Metals”) contributed at least 129,583 lbs. of materials to the Chemetco Site. These

 materials were generated by Lehigh Metals and contained hazardous substances.

        4289. To date, Lehigh Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4290. Defendant LEI, Inc. (“LEI”) is responsible for the waste attributable to Lamp

 Recyclers of Louisiana, Inc. (“Lamp Recyclers”).

        4291. On or about March 25, 2014, Lamp Recyclers amended its name to LEI.

        4292. According to Chemetco Site records, Lamp Recyclers contributed at least 23,462

 lbs. of materials to the Chemetco Site. These materials were generated by Lamp Recyclers and

 contained hazardous substances.

        4293. To date, LEI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4294. According to Chemetco Site records, Defendant Lenmore, Inc. doing business as

 Wimco Metals (“Lenmore”) contributed at least 47,820 lbs. of materials to the Chemetco Site.

 These materials were generated by Lenmore and contained hazardous substances.

        4295. To date, Lenmore has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4296. According to Chemetco Site records, Defendant Lenox Junk Co. (“Lenox Junk”)

 contributed at least 400 lbs. of materials to the Chemetco Site. These materials were generated

 by Lenox Junk and contained hazardous substances.

        4297. To date, Lenox Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4298. Defendant Lenox Metals, LLC (“Lenox Metals”) is responsible for the waste

 attributable to Lenox Resources, Inc. (“Lenox Resources”).

        4299. On or about December 23, 1992, Lenox Resources was established as a Hawaii

 corporation.

        4300. Alan Hornstein was a member of Lenox Resources.




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        4301. Lenox Resources was located at 91-185 Kalaeloa Boulevard, Kapolei, Hawaii

 96707 (the “Kapolei address”).

        4302. On or about September 24, 2002, Lenox Metals was established as a Hawaii

 corporation and was located at the Kapolei address.

        4303. Alan Hornstein is a member of Lenox Metals.

        4304. According to Chemetco Site records, Lenox Resources contributed at least 51,911

 lbs. of materials to the Chemetco Site. These materials were generated by Lenox Resources and

 contained hazardous substances.

        4305. To date, Lenox Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4306. According to Chemetco Site records, Defendant Les Entreprises (“Les

 Entreprises”) contributed at least 1,394 lbs. of materials to the Chemetco Site. These materials

 were generated by Les Entreprises and contained hazardous substances.

        4307. To date, Les Entreprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4308. According to Chemetco Site records, Defendant Les Newsome (“Les Newsome”)

 contributed at least 213,679 lbs. of materials to the Chemetco Site. These materials were

 generated by Les Newsome and contained hazardous substances.

        4309. To date, Les Newsome has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4310. According to Chemetco Site records, Defendant Les’s Scrap Metal (“Les’s Scrap

 Metal”) contributed at least 433 lbs. of materials to the Chemetco Site. These materials were

 generated by Les’s Scrap Metal and contained hazardous substances.




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        4311. To date, Les’s Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4312. According to Chemetco Site records, Defendant Lesa U.S., Inc. (“Lesa US”)

 contributed materials to the Chemetco Site. These materials were generated by Lesa US and

 contained hazardous substances.

        4313. To date, Lesa US has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4314. According to Chemetco Site records, Defendant Leth & Son Salvage (“Leth &

 Son”) contributed at least 524 lbs. of materials to the Chemetco Site. These materials were

 generated by Leth & Son and contained hazardous substances.

        4315. To date, Leth & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4316. According to Chemetco Site records, Defendant Levand Steel & Supply

 Corporation (“Levand Steel”) contributed at least 32,159 lbs. of materials to the Chemetco Site.

 These materials were generated by Levand Steel and contained hazardous substances.

        4317. To date, Levand Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4318. According to Chemetco Site records, Defendant Levi’s Iron & Metal (“Levi’s

 Iron”) contributed at least 103,178 lbs. of materials to the Chemetco Site. These materials were

 generated by Levi’s Iron and contained hazardous substances.

        4319. To date, Levi’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4320. According to Chemetco Site records, Defendant Lewinsky Iron (“Lewinsky Iron”)

 contributed at least 21,651 lbs. of materials to the Chemetco Site. These materials were

 generated by Lewinsky Iron and contained hazardous substances.

        4321. To date, Lewinsky Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4322. According to Chemetco Site records, Defendant Lewis & Clark (“Lewis &

 Clark”) contributed at least 103 lbs. of materials to the Chemetco Site. These materials were

 generated by Lewis & Clark and contained hazardous substances.

        4323. To date, Lewis & Clark has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4324. According to Chemetco Site records, Defendant Lewis Metals (“Lewis Metals”)

 contributed at least 544 lbs. of materials to the Chemetco Site. These materials were generated

 by Lewis Metals and contained hazardous substances.

        4325. To date, Lewis Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4326. According to Chemetco Site records, Defendant Lewis Supply (“Lewis Supply”)

 contributed at least 200 lbs. of materials to the Chemetco Site. These materials were generated

 by Lewis Supply and contained hazardous substances.

        4327. To date, Lewis Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4328. According to Chemetco Site records, Defendant Libby Owens Ford (“Owens

 Ford”) contributed at least 56,480 lbs. of materials to the Chemetco Site. These materials were

 generated by Owens Ford and contained hazardous substances.




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        4329. To date, Owens Ford has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4330. According to Chemetco Site records, Defendant Liberal Iron (“Liberal Iron”)

 contributed at least 88 lbs. of materials to the Chemetco Site. These materials were generated by

 Liberal Iron and contained hazardous substances.

        4331. To date, Liberal Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4332. Defendant Liberty Manufacturing, Inc. (“Liberty Manufacturing”) is responsible

 for the waste attributable to Liberty Metal Co. (“Liberty Metal”).

        4333. According to Chemetco Site records, Liberty Metal contributed at least 293,017

 lbs. of materials to the Chemetco Site. These materials were generated by Liberty Metal and

 contained hazardous substances.

        4334. To date, Liberty Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4335. According to Chemetco Site records, Defendant Liberty Metal (“Liberty Metal”)

 contributed at least 2,559 lbs. of materials to the Chemetco Site. These materials were generated

 by Liberty Metal and contained hazardous substances.

        4336. To date, Liberty Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4337. Defendant Lighting Holdings International LLC (“Lighting Holdings”) is

 responsible for the waste attributable to Valmont Electric, Inc. (“Valmont Electric”).

        4338. In or about 1997, Valmont Electric was acquired by Chicago Miniature Lamp,

 Inc. (“Chicago Lamp”).




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        4339. In or about 1998, Chicago Lamp amended its name to SLI, Inc. (“SLI”), which

 later became SLI Holdings International, LLC (“SLI Holdings”).

        4340. In or about 2013, SLI Holdings amended its name to Lighting Holdings.

        4341. According to Chemetco Site records, Valmont Electric contributed at least

 938,796 lbs. of materials to the Chemetco Site. These materials were generated by Valmont

 Electric and contained hazardous substances.

        4342. To date, Lighting Holdings has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4343. According to Chemetco Site records, Defendant Lighting Resources LLC

 (“Lighting Resources”) contributed at least 8,784 lbs. of materials to the Chemetco Site. These

 materials were generated by Lighting Resources and contained hazardous substances.

        4344. To date, Lighting Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4345. According to Chemetco Site records, Defendant Lincoln Metal (“Lincoln Metal”)

 contributed at least 299,148 lbs. of materials to the Chemetco Site. These materials were

 generated by Lincoln Metal and contained hazardous substances.

        4346. To date, Lincoln Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4347. Defendant Lincoln Recycling, Inc. (“Lincoln Recycling”) is responsible for the

 waste attributable to Lincoln Metal Processing Co., Inc. (“Lincoln Processing”).

        4348. Lincoln Processing is a former name of Lincoln Recycling.




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        4349. According to Chemetco Site records, Lincoln Processing contributed at least

 69,654 lbs. of materials to the Chemetco Site. These materials were generated by Lincoln

 Processing and contained hazardous substances.

        4350. To date, Lincoln Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4351. According to Chemetco Site records, Defendant Lion Metals Inc. (“Lion Metals”)

 contributed at least 77 lbs. of materials to the Chemetco Site. These materials were generated by

 Lion Metals and contained hazardous substances.

        4352. To date, Lion Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4353. According to Chemetco Site records, Defendant Litton Computers (“Litton”)

 contributed at least 18,427 lbs. of materials to the Chemetco Site. These materials were

 generated by Litton and contained hazardous substances.

        4354. To date, Litton has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4355. According to Chemetco Site records, Defendant Livingston Pecan and Metal

 Company, Inc. (“Livingston Metal”) contributed at least 84,694 lbs. of materials to the Chemetco

 Site. These materials were generated by Livingston Metal and contained hazardous substances.

        4356. To date, Livingston Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4357. According to Chemetco Site records, Defendant Lloyds International (“Lloyds”)

 contributed at least 2,820,248 lbs. of materials to the Chemetco Site. These materials were

 generated by Lloyds and contained hazardous substances.




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        4358. To date, Lloyds has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4359. According to Chemetco Site records, Defendant LML Car Crush (“LML Car”)

 contributed at least 84 lbs. of materials to the Chemetco Site. These materials were generated by

 LML Car and contained hazardous substances.

        4360. To date, LML Car has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4361. According to Chemetco Site records, Defendant LNR Recycling (“LNR

 Recycling”) contributed at least 7,701 lbs. of materials to the Chemetco Site. These materials

 were generated by LNR Recycling and contained hazardous substances.

        4362. To date, LNR Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4363. According to Chemetco Site records, Defendant Local Truck (“Local Truck”)

 contributed at least 224,078 lbs. of materials to the Chemetco Site. These materials were

 generated by Local Truck and contained hazardous substances.

        4364. To date, Local Truck has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4365. According to Chemetco Site records, Defendant Loeb Metal Recycling Co.

 (“Loeb Metal”) contributed materials to the Chemetco Site. These materials were generated by

 Loeb Metal and contained hazardous substances.

        4366. To date, Loeb Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4367. According to Chemetco Site records, Defendant Loef Co., Inc (“Loef”)

 contributed at least 177,581 lbs. of materials to the Chemetco Site. These materials were

 generated by Loef and contained hazardous substances.

        4368. To date, Loef has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4369. According to Chemetco Site records, Defendant Lolly Metalscrap (“Lolly

 Metalscrap”) contributed at least 256,117 lbs. of materials to the Chemetco Site. These materials

 were generated by Lolly Metalscrap and contained hazardous substances.

        4370. To date, Lolly Metalscrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4371. According to Chemetco Site records, Defendant London Iron and Metal Co. Inc.

 (“London Iron”) contributed at least 29,913 lbs. of materials to the Chemetco Site. These

 materials were generated by London Iron and contained hazardous substances.

        4372. To date, London Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4373. According to Chemetco Site records, Defendant London Salvage & Trading Co.

 Ltd. (“London Trading”) contributed at least 54,760 lbs. of materials to the Chemetco Site. These

 materials were generated by London Trading and contained hazardous substances.

        4374. To date, London Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4375. According to Chemetco Site records, Defendant London Shredding Division, Inc.

 (“London Shredding”) contributed at least 80,640 lbs. of materials to the Chemetco Site. These

 materials were generated by London Shredding and contained hazardous substances.




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        4376. To date, London Shredding has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4377. According to Chemetco Site records, Defendant Lone Star Iron (“Lone Star Iron”)

 contributed at least 278 lbs. of materials to the Chemetco Site. These materials were generated

 by Lone Star Iron and contained hazardous substances.

        4378. To date, Lone Star Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4379. According to Chemetco Site records, Defendant Lone Star Metals (“Lone Star

 Metals”) contributed at least 2,763 lbs. of materials to the Chemetco Site. These materials were

 generated by Lone Star Metals and contained hazardous substances.

        4380. To date, Lone Star Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4381. According to Chemetco Site records, Defendant Lone Star Metals Co. (“Lone Star

 Metals II”) contributed at least 363,289 lbs. of materials to the Chemetco Site. These materials

 were generated by Lone Star Metals II and contained hazardous substances.

        4382. To date, Lone Star Metals II has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4383. According to Chemetco Site records, Defendant Lone Star Radiator Co., Inc.

 (“Lone Star Radiator”) contributed at least 29,549 lbs. of materials to the Chemetco Site. These

 materials were generated by Lone Star Radiator and contained hazardous substances.

        4384. To date, Lone Star Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4385. Defendant Longhorn Recycling, L.P. (“Longhorn Recycling”) is responsible for

 the waste attributable to Longhorn Metal Co. (“Longhorn Metal”).

        4386. On or about February 2, 2002, Longhorn Metal amended its name to Longhorn

 Recycling.

        4387. According to Chemetco Site records, Longhorn Metal contributed at least 38,430

 lbs. of materials to the Chemetco Site. These materials were generated by Longhorn Metal and

 contained hazardous substances.

        4388. To date, Longhorn Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4389. According to Chemetco Site records, Defendant Longview Metal, Inc.

 (“Longview Metal”) contributed at least 173,075 lbs. of materials to the Chemetco Site. These

 materials were generated by Longview Metal and contained hazardous substances.

        4390. To date, Longview Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4391. According to Chemetco Site records, Defendant Loop Recycling (“Loop

 Recycling”) contributed at least 1,595 lbs. of materials to the Chemetco Site. These materials

 were generated by Loop Recycling and contained hazardous substances.

        4392. To date, Loop Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4393. According to Chemetco Site records, Defendant Lorbec Metals USA Ltd.

 (“Lorbec Metals”) contributed at least 262,081 lbs. of materials to the Chemetco Site. These

 materials were generated by Lorbec Metals and contained hazardous substances.




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        4394. To date, Lorbec Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4395. Defendant Lorene Import & Export USA, LLC (“Lorene Import”) is responsible

 for the waste attributable to Lorene Import & Export USA, LLC (“Lorene Import/Export”).

        4396. According to Chemetco Site records, Lorene Import/Export contributed at least

 295,185 lbs. of materials to the Chemetco Site. These materials were generated by Lorene

 Import/Export and contained hazardous substances.

        4397. To date, Lorene Import has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4398. According to Chemetco Site records, Defendant Lorman Iron & Metal Co. Inc.

 (“Lorman Iron”) contributed at least 439,405 lbs. of materials to the Chemetco Site. These

 materials were generated by Lorman Iron and contained hazardous substances.

        4399. To date, Lorman Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4400. According to Chemetco Site records, Defendant Lornat Metals (“Lornat Metals”)

 contributed at least 10,026 lbs. of materials to the Chemetco Site. These materials were

 generated by Lornat Metals and contained hazardous substances.

        4401. To date, Lornat Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4402. According to Chemetco Site records, Defendant Los Angeles Department of

 Water and Power (“LADWP”) contributed at least 1,079,220 lbs. of materials to the Chemetco

 Site. These materials were generated by LADWP and contained hazardous substances.




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        4403. To date, LADWP has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4404. According to Chemetco Site records, Defendant Los Angeles Pump and Valve

 Products, Inc. (“LAPV”) contributed at least 441,010 lbs. of materials to the Chemetco Site.

 These materials were generated by LAPV and contained hazardous substances.

        4405. To date, LAPV has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4406. According to Chemetco Site records, Defendant Los Angeles Scrap Iron & Metal

 Corp. (“LA Scrap”) contributed at least 624,826 lbs. of materials to the Chemetco Site. These

 materials were generated by LA Scrap and contained hazardous substances.

        4407. To date, LA Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4408. According to Chemetco Site records, Defendant Lottie Recycling (“Lottie

 Recycling”) contributed at least 262 lbs. of materials to the Chemetco Site. These materials were

 generated by Lottie Recycling and contained hazardous substances.

        4409. To date, Lottie Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4410. According to Chemetco Site records, Defendant Lou’s Metals (“Lou’s Metals”)

 contributed at least 276,594 lbs. of materials to the Chemetco Site. These materials were

 generated by Lou’s Metals and contained hazardous substances.

        4411. To date, Lou’s Metals has not paid any response costs incurred by the Chemetco

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        4412. According to Chemetco Site records, Defendant The Louis Berkman LLC West

 Virginia doing business as Follansbee Steel (“Berkman WV”) contributed materials to the

 Chemetco Site. These materials were generated by Berkman WV and contained hazardous

 substances.

        4413. To date, Berkman WV has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4414. Defendant Louis Padnos Iron and Metal Company (“Padnos Iron”) is responsible

 for the waste attributable to Fisher Steel and Supply Company (“Fisher Steel”).

        4415. In or about 1999, Padnos Iron acquired Fisher Steel.

        4416. According to Chemetco Site records, Fisher Steel contributed at least 40,040 lbs.

 of materials to the Chemetco Site. These materials were generated by Fisher Steel and contained

 hazardous substances.

        4417. To date, Padnos Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4418. According to Chemetco Site records, Defendant Louis Perlman & Sons, Inc.

 (“Perlman & Sons”) contributed at least 808 lbs. of materials to the Chemetco Site. These

 materials were generated by Perlman & Sons and contained hazardous substances.

        4419. To date, Perlman & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4420. According to Chemetco Site records, Defendant Louisiana Pin (“Louisiana Pin”)

 contributed at least 4,682 lbs. of materials to the Chemetco Site. These materials were generated

 by Louisiana Pin and contained hazardous substances.




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          4421. To date, Louisiana Pin has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          4422. Defendant Louisiana Scrap Metal Recycling Lafayette, Inc. (“Louisiana Scrap”)

 is responsible for the waste attributable to Aluminum Recycling Center of Lafayette, Inc.

 (“Aluminum Recycling”).

          4423. In or about April 2017, Aluminum Recycling amended its name to Louisiana

 Scrap.

          4424. According to Chemetco Site records, Aluminum Recycling contributed at least

 62,532 lbs. of materials to the Chemetco Site. These materials were generated by Aluminum

 Recycling and contained hazardous substances.

          4425. To date, Louisiana Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

          4426. According to Chemetco Site records, Defendant Louisville Scrap (“Louisville

 Scrap”) contributed at least 18 lbs. of materials to the Chemetco Site. These materials were

 generated by Louisville Scrap and contained hazardous substances.

          4427. To date, Louisville Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

          4428. According to Chemetco Site records, Defendant Lowell Scrap (“Lowell Scrap”)

 contributed at least 2,264 lbs. of materials to the Chemetco Site. These materials were generated

 by Lowell Scrap and contained hazardous substances.

          4429. To date, Lowell Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4430. According to Chemetco Site records, Defendant Lowenstein Inc. (“Lowenstein”)

 contributed at least 141 lbs. of materials to the Chemetco Site. These materials were generated

 by Lowenstein and contained hazardous substances.

        4431. To date, Lowenstein has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4432. According to Chemetco Site records, Defendant Lu-Mar Industrial Metals

 Company, Ltd. (“Lu-Mar Metals”) contributed at least 146,749 lbs. of materials to the Chemetco

 Site. These materials were generated by Lu-Mar Metals and contained hazardous substances.

        4433. To date, Lu-Mar Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4434. According to Chemetco Site records, Defendant Lubbock American Iron & Metal

 (“Lubbock Iron”) contributed at least 1,583,238 lbs. of materials to the Chemetco Site. These

 materials were generated by Lubbock Iron and contained hazardous substances.

        4435. To date, Lubbock Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4436. According to Chemetco Site records, Defendant Lucas-Milhaupt, Inc. (“Lucas-

 Milhaupt”) contributed at least 12,276 lbs. of materials to the Chemetco Site. These materials

 were generated by Lucas-Milhaupt and contained hazardous substances.

        4437. To date, Lucas-Milhaupt has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4438. Defendant Lucky Mountain Trading, Inc. (“Lucky Mountain Trading”) is

 responsible for the waste attributable to Lucky Copper Mountain Metals Inc. (“Copper Mountain

 Metals”).




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        4439. On or about June 30, 1989, Copper Mountain Metals was formed as a California

 corporation, which had its principal place of business at 8335 Beech Avenue, Fontana, California

 92335 (the “Fontana address”).

        4440. On or about February 2, 2001, Copper Mountain Metals filed an Election to

 Dissolve with the California Secretary of State.

        4441. On or about February 9, 2001, “Lucky Mountain Trading, Inc.” (the “first Lucky

 Trading”) was formed as a California corporation, with Simon Hsieh as its president, and had its

 principal place of business at the Fontana address.

        4442. On or about July 28, 2005, the first Lucky Trading was dissolved by the

 California Secretary of State.

        4443. On or about September 6, 2006, Lucky Mountain Trading was formed, with

 Simon Hsieh as its president, and with its principal place of business at the Fontana address.

        4444. According to Chemetco Site records, Copper Mountain Metals contributed at least

 741,653 lbs. of materials to the Chemetco Site. These materials were generated by Copper

 Mountain Metals and contained hazardous substances.

        4445. To date, Lucky Mountain Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4446. According to Chemetco Site records, Defendant Lund’s Truck (“Lund’s Truck”)

 contributed at least 453 lbs. of materials to the Chemetco Site. These materials were generated

 by Lund’s Truck and contained hazardous substances.

        4447. To date, Lund’s Truck has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4448. According to Chemetco Site records, Defendant Luntz. Corp. (“Luntz”)

 contributed at least 311,533 lbs. of materials to the Chemetco Site. These materials were

 generated by Luntz and contained hazardous substances.

        4449. To date, Luntz has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4450. According to Chemetco Site records, Defendant Lussier Centre du Camion

 (“Lussier”) contributed at least 24 lbs. of materials to the Chemetco Site. These materials were

 generated by Lussier and contained hazardous substances.

        4451. To date, Lussier has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4452. Defendant LV Ventures, Inc. (“LV Ventures”) is responsible for the waste

 attributable to Magnus-Farley Inc. (“Magnus-Farley”).

        4453. According to Chemetco Site records, Magnus-Farley contributed at least 902,181

 lbs. of materials to the Chemetco Site. These materials were generated by Magnus-Farley and

 contained hazardous substances.

        4454. To date, LV Ventures has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4455. According to Chemetco Site records, Defendant Lynn’s Waste (“Lynn’s Waste”)

 contributed at least 111,150 lbs. of materials to the Chemetco Site. These materials were

 generated by Lynn’s Waste and contained hazardous substances.

        4456. To date, Lynn’s Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4457. According to Chemetco Site records, Defendant Lynswell Technologies Inc.

 (“Lynswell”) contributed at least 8,865 lbs. of materials to the Chemetco Site. These materials

 were generated by Lynswell and contained hazardous substances.

        4458. To date, Lynswell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4459. According to Chemetco Site records, Defendant Lyons Salvage (“Lyons

 Salvage”) contributed at least 1,177 lbs. of materials to the Chemetco Site. These materials were

 generated by Lyons Salvage and contained hazardous substances.

        4460. To date, Lyons Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4461. According to Chemetco Site records, Defendant M Bloch & Co., Inc. doing

 business as Bloch Steel Industries (“Bloch”) contributed at least 67,567 lbs. of materials to the

 Chemetco Site. These materials were generated by Bloch and contained hazardous substances.

        4462. To date, Bloch has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4463. According to Chemetco Site records, Defendant M Kaplan Inc. (“M Kaplan”)

 contributed at least 3,618 lbs. of materials to the Chemetco Site. These materials were generated

 by M Kaplan and contained hazardous substances.

        4464. To date, M Kaplan has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4465. According to Chemetco Site records, Defendant M. Gervich & Sons, Inc.

 (“Gervich”) contributed at least 80,202 lbs. of materials to the Chemetco Site. These materials

 were generated by Gervich and contained hazardous substances.




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        4466. To date, Gervich has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4467. According to Chemetco Site records, Defendant M. Glosser & Sons, Inc.

 (“Glosser”) contributed at least 19,883 lbs. of materials to the Chemetco Site. These materials

 were generated by Glosser and contained hazardous substances.

        4468. To date, Glosser has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4469. According to Chemetco Site records, Defendant M. J. Metals, Inc. (“M. J.

 Metals”) contributed at least 127,042 lbs. of materials to the Chemetco Site. These materials

 were generated by M. J. Metals and contained hazardous substances.

        4470. To date, M. J. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4471. According to Chemetco Site records, Defendant M. Lipsitz and Company, Ltd.

 (“Lipsitz”) contributed at least 594,842 lbs. of materials to the Chemetco Site. These materials

 were generated by Lipsitz and contained hazardous substances.

        4472. To date, Lipsitz has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4473. According to Chemetco Site records, Defendant M. Metal Comp. (“M. Metal”)

 contributed at least 12,335 lbs. of materials to the Chemetco Site. These materials were

 generated by M. Metal and contained hazardous substances.

        4474. To date, M. Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4475. According to Chemetco Site records, Defendant M.&A. Trading, Inc. doing

 business as Rastro El Sol (“M.&A. Trading”) contributed at least 10,780 lbs. of materials to the

 Chemetco Site. These materials were generated by M.&A. Trading and contained hazardous

 substances.

        4476. To date, M.&A. Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4477. According to Chemetco Site records, Defendant M.A. Viener Co. (“M.A.

 Viener”) contributed at least 866,129 lbs. of materials to the Chemetco Site. These materials

 were generated by M.A. Viener and contained hazardous substances.

        4478. To date, M.A. Viener has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4479. According to Chemetco Site records, Defendant M.C. Davis Company, LLC

 (“M.C. Davis”) contributed at least 6,428 lbs. of materials to the Chemetco Site. These materials

 were generated by M.C. Davis and contained hazardous substances.

        4480. To date, M.C. Davis has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4481. According to Chemetco Site records, Defendant M.H. Metals (“M.H. Metals”)

 contributed at least 26,314 lbs. of materials to the Chemetco Site. These materials were

 generated by M.H. Metals and contained hazardous substances.

        4482. To date, M.H. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4483. According to Chemetco Site records, Defendant M.J.N. Supply (“M.J.N.”)

 contributed at least 1,656,729 lbs. of materials to the Chemetco Site. These materials were

 generated by M.J.N. and contained hazardous substances.

        4484. To date, M.J.N. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4485. According to Chemetco Site records, Defendant M.L. Associates (“M.L.

 Associates”) contributed at least 35,482 lbs. of materials to the Chemetco Site. These materials

 were generated by M.L. Associates and contained hazardous substances.

        4486. To date, M.L. Associates has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4487. According to Chemetco Site records, Defendant M.L.C. Recycling (“M.L.C.

 Recycling”) contributed at least 76,623 lbs. of materials to the Chemetco Site. These materials

 were generated by M.L.C. Recycling and contained hazardous substances.

        4488. To date, M.L.C. Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4489. According to Chemetco Site records, Defendant M.R. Trading (“M.R. Trading”)

 contributed at least 72,760 lbs. of materials to the Chemetco Site. These materials were

 generated by M.R. Trading and contained hazardous substances.

        4490. To date, M.R. Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4491. According to Chemetco Site records, Defendant M.R.I. (“M.R.I.”) contributed at

 least 6,648 lbs. of materials to the Chemetco Site. These materials were generated by M.R.I. and

 contained hazardous substances.




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        4492. To date, M.R.I. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4493. According to Chemetco Site records, Defendant M.S.R. Incorporated (“M.S.R.”)

 contributed at least 9,574 lbs. of materials to the Chemetco Site. These materials were generated

 by M.S.R. and contained hazardous substances.

        4494. To date, M.S.R. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4495. According to Chemetco Site records, Defendant M.W. Platt, Inc. (“MW Platt”)

 contributed at least 3,584 lbs. of materials to the Chemetco Site. These materials were generated

 by MW Platt and contained hazardous substances.

        4496. To date, MW Platt has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4497. According to Chemetco Site records, Defendant M&A Scrap Metal Co. (“M&A

 Scrap”) contributed at least 126,728 lbs. of materials to the Chemetco Site. These materials were

 generated by M&A Scrap and contained hazardous substances.

        4498. To date, M&A Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4499. According to Chemetco Site records, Defendant M&G Auto (“M&G Auto”)

 contributed at least 11,677 lbs. of materials to the Chemetco Site. These materials were

 generated by M&G Auto and contained hazardous substances.

        4500. To date, M&G Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4501. According to Chemetco Site records, Defendant M&H Valve (“M&H Valve”)

 contributed at least 869,383 lbs. of materials to the Chemetco Site. These materials were

 generated by M&H Valve and contained hazardous substances.

        4502. To date, M&H Valve has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4503. According to Chemetco Site records, Defendant M&M Auto Brokers (“M&M

 Auto”) contributed at least 948 lbs. of materials to the Chemetco Site. These materials were

 generated by M&M Auto and contained hazardous substances.

        4504. To date, M&M Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4505. According to Chemetco Site records, Defendant M&M Salvage (“M&M

 Salvage”) contributed at least 122,053 lbs. of materials to the Chemetco Site. These materials

 were generated by M&M Salvage and contained hazardous substances.

        4506. To date, M&M Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4507. According to Chemetco Site records, Defendant M&M Scrap Metals, Inc. doing

 business as M&M Scrap Metals of New Jersey, Inc. (“M&M Scrap Metals”) contributed at least

 934,070 lbs. of materials to the Chemetco Site. These materials were generated by M&M Scrap

 Metals and contained hazardous substances.

        4508. To date, M&M Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4509. According to Chemetco Site records, Defendant M&M Services (“M&M

 Services”) contributed at least 10,158 lbs. of materials to the Chemetco Site. These materials

 were generated by M&M Services and contained hazardous substances.

        4510. To date, M&M Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4511. According to Chemetco Site records, Defendant M&W Metals (“M&W Metals”)

 contributed at least 26,667 lbs. of materials to the Chemetco Site. These materials were

 generated by M&W Metals and contained hazardous substances.

        4512. To date, M&W Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4513. According to Chemetco Site records, Defendant MA Kettle (“MA Kettle”)

 contributed at least 152,051 lbs. of materials to the Chemetco Site. These materials were

 generated by MA Kettle and contained hazardous substances.

        4514. To date, MA Kettle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4515. According to Chemetco Site records, Defendant Maass Midwest, Inc. (“Maass

 Midwest”) contributed at least 472,789 lbs. of materials to the Chemetco Site. These materials

 were generated by Maass Midwest and contained hazardous substances.

        4516. To date, Maass Midwest has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4517. According to Chemetco Site records, Defendant Mac Reclaim Division (“Mac

 Reclaim Division”) contributed at least 10,312 lbs. of materials to the Chemetco Site. These

 materials were generated by Mac Reclaim Division and contained hazardous substances.




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        4518. To date, Mac Reclaim Division has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4519. According to Chemetco Site records, Defendant Machinery Salvage (“Machinery

 Salvage”) contributed at least 2,832 lbs. of materials to the Chemetco Site. These materials were

 generated by Machinery Salvage and contained hazardous substances.

        4520. To date, Machinery Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4521. According to Chemetco Site records, Defendant Mack Iron & Metal (“Mack

 Iron”) contributed at least 32 lbs. of materials to the Chemetco Site. These materials were

 generated by Mack Iron and contained hazardous substances.

        4522. To date, Mack Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4523. According to Chemetco Site records, Defendant Mack’s Twin City Recycling,

 Inc. (“Mack’s Recycling”) contributed at least 5,320 lbs. of materials to the Chemetco Site.

 These materials were generated by Mack’s Recycling and contained hazardous substances.

        4524. To date, Mack’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4525. According to Chemetco Site records, Defendant Maclens Auto (“Maclens Auto”)

 contributed at least 115 lbs. of materials to the Chemetco Site. These materials were generated

 by Maclens Auto and contained hazardous substances.

        4526. To date, Maclens Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4527. According to Chemetco Site records, Defendant Macleod Metals Co. (“Macleod

 Metals”) contributed at least 16,725 lbs. of materials to the Chemetco Site. These materials were

 generated by Macleod Metals and contained hazardous substances.

        4528. To date, Macleod Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4529. According to Chemetco Site records, Defendant Macomb Scrap Metal Recycling,

 Inc. (“Macomb Recycling”) contributed at least 57,177 lbs. of materials to the Chemetco Site.

 These materials were generated by Macomb Recycling and contained hazardous substances.

        4530. To date, Macomb Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4531. According to Chemetco Site records, Defendant Madden Trading Company, Inc.

 (“Madden Trading”) contributed at least 233,949 lbs. of materials to the Chemetco Site. These

 materials were generated by Madden Trading and contained hazardous substances.

        4532. To date, Madden Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4533. According to Chemetco Site records, Defendant Maddenaire, Inc. (“Maddenaire”)

 contributed at least 1,053 lbs. of materials to the Chemetco Site. These materials were generated

 by Maddenaire and contained hazardous substances.

        4534. To date, Maddenaire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4535. According to Chemetco Site records, Defendant Madeira Enterprises Ltd.

 (“Maderia Enterprises”) contributed materials to the Chemetco Site. These materials were

 generated by Maderia Enterprises and contained hazardous substances.




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        4536. To date, Maderia Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4537. According to Chemetco Site records, Defendant Madewell Metal (“Madewell”)

 contributed at least 3,035 lbs. of materials to the Chemetco Site. These materials were generated

 by Madewell and contained hazardous substances.

        4538. To date, Madewell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4539. According to Chemetco Site records, Defendant Madison Iron (“Madison Iron”)

 contributed at least 3,237 lbs. of materials to the Chemetco Site. These materials were generated

 by Madison Iron and contained hazardous substances.

        4540. To date, Madison Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4541. According to Chemetco Site records, Defendant Madison Metals (“Madison

 Metals”) contributed at least 302 lbs. of materials to the Chemetco Site. These materials were

 generated by Madison Metals and contained hazardous substances.

        4542. To date, Madison Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4543. According to Chemetco Site records, Defendant Magic Metal Mfg. Corp. (“Magic

 Metal”) contributed at least 53,855 lbs. of materials to the Chemetco Site. These materials were

 generated by Magic Metal and contained hazardous substances.

        4544. To date, Magic Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4545. According to Chemetco Site records, Defendant Magnetic Metals Corporation

 (“Magnetic Metals”) contributed at least 13,285 lbs. of materials to the Chemetco Site. These

 materials were generated by Magnetic Metals and contained hazardous substances.

        4546. To date, Magnetic Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4547. According to Chemetco Site records, Defendant Magnolia Metal Corporation

 (“Magnolia Metal”) contributed at least 83,193 lbs. of materials to the Chemetco Site. These

 materials were generated by Magnolia Metal and contained hazardous substances.

        4548. To date, Magnolia Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4549. According to Chemetco Site records, Defendant Magnus (“Magnus”) contributed

 at least 1,009,180 lbs. of materials to the Chemetco Site. These materials were generated by

 Magnus and contained hazardous substances.

        4550. To date, Magnus has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4551. According to Chemetco Site records, Defendant Mahle Inc. (“Mahle”) contributed

 at least 18,500 lbs. of materials to the Chemetco Site. These materials were generated by Mahle

 and contained hazardous substances.

        4552. To date, Mahle has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4553. According to Chemetco Site records, Defendant Mahzel Metals (“Mahzel”)

 contributed at least 52,804 lbs. of materials to the Chemetco Site. These materials were

 generated by Mahzel and contained hazardous substances.




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        4554. To date, Mahzel has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4555. According to Chemetco Site records, Defendant Main Recycling (“Main

 Recycling”) contributed at least 6,892 lbs. of materials to the Chemetco Site. These materials

 were generated by Main Recycling and contained hazardous substances.

        4556. To date, Main Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4557. According to Chemetco Site records, Defendant Main Street Fibers, Inc. doing

 business as Main Street Recycling (“Main St. Fibers”) contributed at least 63,101 lbs. of

 materials to the Chemetco Site. These materials were generated by Main St. Fibers and contained

 hazardous substances.

        4558. To date, Main St. Fibers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4559. According to Chemetco Site records, Defendant Mainline Metal (“Mainline

 Metal”) contributed at least 4,597 lbs. of materials to the Chemetco Site. These materials were

 generated by Mainline Metal and contained hazardous substances.

        4560. To date, Mainline Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4561. According to Chemetco Site records, Defendant Major Brass Foundry

 Corporation (“Major Brass”) contributed at least 618,277 lbs. of materials to the Chemetco Site.

 These materials were generated by Major Brass and contained hazardous substances.

        4562. To date, Major Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4563. According to Chemetco Site records, Defendant Major Iron & Metal (“Major

 Iron”) contributed at least 873 lbs. of materials to the Chemetco Site. These materials were

 generated by Major Iron and contained hazardous substances.

        4564. To date, Major Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4565. According to Chemetco Site records, Defendant Major Metals Corp. doing

 business as Equitable Metals Company (“Major Metals”) contributed at least 10,772 lbs. of

 materials to the Chemetco Site. These materials were generated by Major Metals and contained

 hazardous substances.

        4566. Additionally, Major Metals is responsible for the waste attributable to Equitable

 Metals Corporation #1 doing business as Equitable Metals Corporation (“Equitable Metals”).

        4567. According to Chemetco Site records, Equitable Metals contributed at least 10,160

 lbs. of materials to the Chemetco Site. These materials were generated by Equitable Metals and

 contained hazardous substances.

        4568. To date, Major Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4569. According to Chemetco Site records, Defendant Mak Metal Corp. (“Mak Metal”)

 contributed at least 65,371 lbs. of materials to the Chemetco Site. These materials were

 generated by Mak Metal and contained hazardous substances.

        4570. To date, Mak Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4571. According to Chemetco Site records, Defendant Manchester Recycling

 (“Manchester Recycling”) contributed at least 1,318 lbs. of materials to the Chemetco Site.

 These materials were generated by Manchester Recycling and contained hazardous substances.

        4572. To date, Manchester Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4573. According to Chemetco Site records, Defendant Mandel Metals, Inc. doing

 business as U.S. Standard Sign Company (“Mandel Metals”) contributed at least 95,798 lbs. of

 materials to the Chemetco Site. These materials were generated by Mandel Metals and contained

 hazardous substances.

        4574. To date, Mandel Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4575. According to Chemetco Site records, Defendant Mankato Iron & Metal, Inc.

 (“Mankato Iron”) contributed at least 149,953 lbs. of materials to the Chemetco Site. These

 materials were generated by Mankato Iron and contained hazardous substances.

        4576. To date, Mankato Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4577. According to Chemetco Site records, Defendant Mann Metals Corp. (“Mann

 Metals”) contributed at least 2,347,550 lbs. of materials to the Chemetco Site. These materials

 were generated by Mann Metals and contained hazardous substances.

        4578. To date, Mann Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4579. According to Chemetco Site records, Defendant Mansbach Metal (“Mansbach

 Metal”) contributed at least 68,764 lbs. of materials to the Chemetco Site. These materials were

 generated by Mansbach Metal and contained hazardous substances.

        4580. To date, Mansbach Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4581. According to Chemetco Site records, Defendant Mansfield Plumbing Products

 LLC (“Mansfield Plumbing”) contributed at least 428,064 lbs. of materials to the Chemetco Site.

 These materials were generated by Mansfield Plumbing and contained hazardous substances.

        4582. To date, Mansfield Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4583. According to Chemetco Site records, Defendant Manucy Electric Company

 (“Manucy Elecric”) contributed at least 974 lbs. of materials to the Chemetco Site. These

 materials were generated by Manucy Elecric and contained hazardous substances.

        4584. To date, Manucy Elecric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4585. According to Chemetco Site records, Defendant Manufacturer’s Brass and

 Aluminum Foundry, Inc. (“Manufacturer’s Foundry”) contributed at least 14,200 lbs. of

 materials to the Chemetco Site. These materials were generated by Manufacturer’s Foundry and

 contained hazardous substances.

        4586. To date, Manufacturer’s Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4587. According to Chemetco Site records, Defendant Marathon Electric Co.

 (“Marathon Electric”) contributed at least 6,819 lbs. of materials to the Chemetco Site. These

 materials were generated by Marathon Electric and contained hazardous substances.

        4588. To date, Marathon Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4589. According to Chemetco Site records, Defendant Marble Metal Recycling

 (“Marble Recycling”) contributed at least 14,245 lbs. of materials to the Chemetco Site. These

 materials were generated by Marble Recycling and contained hazardous substances.

        4590. To date, Marble Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4591. According to Chemetco Site records, Defendant Marceline Salvage Co.

 (“Marceline Salvage”) contributed at least 1,374 lbs. of materials to the Chemetco Site. These

 materials were generated by Marceline Salvage and contained hazardous substances.

        4592. To date, Marceline Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4593. According to Chemetco Site records, Defendant MARCK Industries, Inc.

 (“MARCK Industries”) contributed at least 28,430 lbs. of materials to the Chemetco Site. These

 materials were generated by MARCK Industries and contained hazardous substances.

        4594. To date, MARCK Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4595. According to Chemetco Site records, Defendant Marco International Corporation

 (“Marco International”) contributed at least 125,354 lbs. of materials to the Chemetco Site.

 These materials were generated by Marco International and contained hazardous substances.




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        4596. To date, Marco International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4597. According to Chemetco Site records, Defendant Marco Steel S. (“Marco Steel”)

 contributed at least 4,682,572 lbs. of materials to the Chemetco Site. These materials were

 generated by Marco Steel and contained hazardous substances.

        4598. To date, Marco Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4599. According to Chemetco Site records, Defendant Marcu (“Marcu”) contributed at

 least 28,627 lbs. of materials to the Chemetco Site. These materials were generated by Marcu

 and contained hazardous substances.

        4600. To date, Marcu has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4601. According to Chemetco Site records, Defendant Marfay Metal Company

 (“Marfay Metal”) contributed at least 571 lbs. of materials to the Chemetco Site. These materials

 were generated by Marfay Metal and contained hazardous substances.

        4602. To date, Marfay Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4603. According to Chemetco Site records, Defendant Marietta Radiator Services

 (“Marietta Radiator”) contributed at least 175,094 lbs. of materials to the Chemetco Site. These

 materials were generated by Marietta Radiator and contained hazardous substances.

        4604. To date, Marietta Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4605. According to Chemetco Site records, Defendant Marine Recycling (“Marine

 Recycling”) contributed at least 110 lbs. of materials to the Chemetco Site. These materials were

 generated by Marine Recycling and contained hazardous substances.

        4606. To date, Marine Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4607. According to Chemetco Site records, Defendant Marion Iron Co. (“Marion Iron”)

 contributed at least 34,296 lbs. of materials to the Chemetco Site. These materials were

 generated by Marion Iron and contained hazardous substances.

        4608. To date, Marion Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4609. According to Chemetco Site records, Defendant Marion Radiator (“Marion

 Radiator”) contributed at least 947 lbs. of materials to the Chemetco Site. These materials were

 generated by Marion Radiator and contained hazardous substances.

        4610. To date, Marion Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4611. According to Chemetco Site records, Defendant Marion Steel (“Marion Steel”)

 contributed at least 176 lbs. of materials to the Chemetco Site. These materials were generated

 by Marion Steel and contained hazardous substances.

        4612. To date, Marion Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4613. According to Chemetco Site records, Defendant Mark Baker Core Supply (“MB

 Core”) contributed at least 5,782 lbs. of materials to the Chemetco Site. These materials were

 generated by MB Core and contained hazardous substances.




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        4614. To date, MB Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4615. According to Chemetco Site records, Defendant Mark’s Radiator Service

 (“Mark’s Radiator”) contributed at least 4,039 lbs. of materials to the Chemetco Site. These

 materials were generated by Mark’s Radiator and contained hazardous substances.

        4616. To date, Mark’s Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4617. According to Chemetco Site records, Defendant Marker Metal III, LLC (“Marker

 Metal”) contributed at least 15,545 lbs. of materials to the Chemetco Site. These materials were

 generated by Marker Metal and contained hazardous substances.

        4618. To date, Marker Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4619. According to Chemetco Site records, Defendant Market Fixture (“Market

 Fixture”) contributed at least 290 lbs. of materials to the Chemetco Site. These materials were

 generated by Market Fixture and contained hazardous substances.

        4620. To date, Market Fixture has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4621. According to Chemetco Site records, Defendant Market Street Recycling, Ltd.

 (“Market Street Recycling”) contributed at least 117,569 lbs. of materials to the Chemetco Site.

 These materials were generated by Market Street Recycling and contained hazardous substances.

        4622. To date, Market Street Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4623. According to Chemetco Site records, Defendant Marko Metals, Inc. (“Marko

 Metals”) contributed at least 19,050 lbs. of materials to the Chemetco Site. These materials were

 generated by Marko Metals and contained hazardous substances.

        4624. To date, Marko Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4625. According to Chemetco Site records, Defendant Markovits & Fox (“Markovits”)

 contributed at least 212,426 lbs. of materials to the Chemetco Site. These materials were

 generated by Markovits and contained hazardous substances.

        4626. To date, Markovits has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4627. According to Chemetco Site records, Defendant Mars Industries, Inc. (“Mars

 Industries”) contributed at least 358,616 lbs. of materials to the Chemetco Site. These materials

 were generated by Mars Industries and contained hazardous substances.

        4628. To date, Mars Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4629. Defendant Marsh Bellofram Corporation doing business as The Marsh Bellofram

 Group of Companies (“Marsh Bellofram”) is responsible for the waste attributable to Marsh

 Instrument Company (“Marsh Instrument”).

        4630. In or about January 1995, Marsh Instrument and Bellofram Corporation were

 combined to form Marsh Bellofram.

        4631. According to Chemetco Site records, Marsh Instrument contributed at least

 12,486 lbs. of materials to the Chemetco Site. These materials were generated by Marsh

 Instrument and contained hazardous substances.




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        4632. To date, Marsh Bellofram has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4633. According to Chemetco Site records, Defendant Marshall Iron and Metal

 (“Marshall Iron”) contributed at least 19,904 lbs. of materials to the Chemetco Site. These

 materials were generated by Marshall Iron and contained hazardous substances.

        4634. To date, Marshall Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4635. According to Chemetco Site records, Defendant Mart-Es Recycling (“Mart-Es”)

 contributed at least 373 lbs. of materials to the Chemetco Site. These materials were generated

 by Mart-Es and contained hazardous substances.

        4636. To date, Mart-Es has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4637. According to Chemetco Site records, Defendant Martin Brass Company (“Martin

 Brass”) contributed at least 8,260,208 lbs. of materials to the Chemetco Site. These materials

 were generated by Martin Brass and contained hazardous substances.

        4638. To date, Martin Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4639. According to Chemetco Site records, Defendant Marty’s Auto (“Marty’s Auto”)

 contributed at least 68,627 lbs. of materials to the Chemetco Site. These materials were

 generated by Marty’s Auto and contained hazardous substances.

        4640. To date, Marty’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4641. According to Chemetco Site records, Defendant Marubeni America (“Marubeni”)

 contributed at least 121 lbs. of materials to the Chemetco Site. These materials were generated

 by Marubeni and contained hazardous substances.

        4642. To date, Marubeni has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4643. According to Chemetco Site records, Defendant Mascot Inc. (“Mascot”)

 contributed at least 896 lbs. of materials to the Chemetco Site. These materials were generated

 by Mascot and contained hazardous substances.

        4644. To date, Mascot has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4645. According to Chemetco Site records, Defendant Mascot, Inc. (“Mascot, Inc.”)

 contributed at least 847,865 lbs. of materials to the Chemetco Site. These materials were

 generated by Mascot, Inc. and contained hazardous substances.

        4646. To date, Mascot, Inc. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4647. According to Chemetco Site records, Defendant Mat’s Recycling (“Mat’s

 Recycling”) contributed at least 112 lbs. of materials to the Chemetco Site. These materials were

 generated by Mat’s Recycling and contained hazardous substances.

        4648. To date, Mat’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4649. According to Chemetco Site records, Defendant Materials Recovery Company

 (“Materials Recovery”) contributed at least 350,561 lbs. of materials to the Chemetco Site. These

 materials were generated by Materials Recovery and contained hazardous substances.




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        4650. To date, Materials Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4651. According to Chemetco Site records, Defendant Materials Recycling Inc.

 (“Materials Recycling”) contributed at least 20,613 lbs. of materials to the Chemetco Site. These

 materials were generated by Materials Recycling and contained hazardous substances.

        4652. To date, Materials Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4653. Defendant Materion Brush Inc. (“Materion Brush”) is responsible for the waste

 attributable to Brush Wellman Inc. (“Brush Wellman”).

        4654. In or about 2011, Brush Wellman amended its name to Materion Brush.

        4655. According to Chemetco Site records, Brush Wellman contributed at least 98,386

 lbs. of materials to the Chemetco Site. These materials were generated by Brush Wellman and

 contained hazardous substances.

        4656. To date, Materion Brush has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4657. According to Chemetco Site records, Defendant Matonis Scrap Metals Co.

 (“Matonis Scrap”) contributed at least 9,422 lbs. of materials to the Chemetco Site. These

 materials were generated by Matonis Scrap and contained hazardous substances.

        4658. To date, Matonis Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4659. According to Chemetco Site records, Defendant Matrix Scrap (“Matrix Scrap”)

 contributed at least 4,064 lbs. of materials to the Chemetco Site. These materials were generated

 by Matrix Scrap and contained hazardous substances.




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        4660. To date, Matrix Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4661. According to Chemetco Site records, Defendant Matthews International

 Corporation (“Matthews International”) contributed at least 218,634 lbs. of materials to the

 Chemetco Site. These materials were generated by Matthews International and contained

 hazardous substances.

        4662. Additionally, Matthews International is responsible for the waste attributable to

 York Bronze Company (“York Bronze”).

        4663. In or about 2001, Matthews International acquired York Bronze.

        4664. According to Chemetco Site records, York Bronze contributed at least 109,208

 lbs. of materials to the Chemetco Site. These materials were generated by York Bronze and

 contained hazardous substances.

        4665. To date, Matthews International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4666. According to Chemetco Site records, Defendant Max Brock Co. (“Max Brock”)

 contributed at least 267,720 lbs. of materials to the Chemetco Site. These materials were

 generated by Max Brock and contained hazardous substances.

        4667. To date, Max Brock has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4668. According to Chemetco Site records, Defendant Max Levine & Co. (“Max

 Levine”) contributed at least 2,232 lbs. of materials to the Chemetco Site. These materials were

 generated by Max Levine and contained hazardous substances.




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        4669. To date, Max Levine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4670. According to Chemetco Site records, Defendant Max Scrap Metals, Inc. (“Max

 Scrap Metals”) contributed at least 117,924 lbs. of materials to the Chemetco Site. These

 materials were generated by Max Scrap Metals and contained hazardous substances.

        4671. To date, Max Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4672. According to Chemetco Site records, Defendant May Philip Co. (“May Philip”)

 contributed at least 6,407 lbs. of materials to the Chemetco Site. These materials were generated

 by May Philip and contained hazardous substances.

        4673. To date, May Philip has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4674. According to Chemetco Site records, Defendant Mayer Alloys Corporation

 (“Mayer Alloys”) contributed at least 105,850 lbs. of materials to the Chemetco Site. These

 materials were generated by Mayer Alloys and contained hazardous substances.

        4675. To date, Mayer Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4676. According to Chemetco Site records, Defendant Mayerson Iron (“Mayerson

 Iron”) contributed at least 2,020 lbs. of materials to the Chemetco Site. These materials were

 generated by Mayerson Iron and contained hazardous substances.

        4677. To date, Mayerson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4678. According to Chemetco Site records, Defendant Mayfield Manufacturing

 (“Mayfield Mfg.”) contributed at least 48,360 lbs. of materials to the Chemetco Site. These

 materials were generated by Mayfield Mfg. and contained hazardous substances.

        4679. To date, Mayfield Mfg. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4680. According to Chemetco Site records, Defendant Mayo Clinic (“Mayo Clinic”)

 contributed at least 1,206 lbs. of materials to the Chemetco Site. These materials were generated

 by Mayo Clinic and contained hazardous substances.

        4681. To date, Mayo Clinic has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4682. Defendant Mazza Recycling Services LTD (“Mazza Recycling”) is responsible

 for the waste attributable to Neptune Iron & Metal Recycling (“Neptune Iron”).

        4683. According to Chemetco Site records, Neptune Iron contributed at least 18,954 lbs.

 of materials to the Chemetco Site. These materials were generated by Neptune Iron and

 contained hazardous substances.

        4684. To date, Mazza Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4685. According to Chemetco Site records, Defendant MBC Computer Service, Inc.

 (“MBC Computer”) contributed at least 1,011 lbs. of materials to the Chemetco Site. These

 materials were generated by MBC Computer and contained hazardous substances.

        4686. To date, MBC Computer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4687. According to Chemetco Site records, Defendant MCA Fabrication (“MCA”)

 contributed at least 174,720 lbs. of materials to the Chemetco Site. These materials were

 generated by MCA and contained hazardous substances.

        4688. To date, MCA has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        4689. According to Chemetco Site records, Defendant McCabe Scrap Iron & Materials

 Co (“McCabe Scrap”) contributed at least 7,336 lbs. of materials to the Chemetco Site. These

 materials were generated by McCabe Scrap and contained hazardous substances.

        4690. To date, McCabe Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4691. According to Chemetco Site records, Defendant McCalip Ernest L. & Son Gravel

 Co. (“McCalip Gravel”) contributed at least 32,929 lbs. of materials to the Chemetco Site. These

 materials were generated by McCalip Gravel and contained hazardous substances.

        4692. To date, McCalip Gravel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4693. According to Chemetco Site records, Defendant McCloud Metal (“McCloud

 Metal”) contributed at least 884 lbs. of materials to the Chemetco Site. These materials were

 generated by McCloud Metal and contained hazardous substances.

        4694. To date, McCloud Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4695. According to Chemetco Site records, Defendant McCoy Iron & Metal, Inc.

 (“McCoy Iron”) contributed at least 95,525 lbs. of materials to the Chemetco Site. These

 materials were generated by McCoy Iron and contained hazardous substances.




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        4696. To date, McCoy Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4697. According to Chemetco Site records, Defendant McCoy Salvage Company,

 L.L.C. (“McCoy Salvage”) contributed at least 433,089 lbs. of materials to the Chemetco Site.

 These materials were generated by McCoy Salvage and contained hazardous substances.

        4698. To date, McCoy Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4699. According to Chemetco Site records, Defendant McCoy’s Scrap Processing Co.

 (“McCoy’s Scrap”) contributed at least 320,701 lbs. of materials to the Chemetco Site. These

 materials were generated by McCoy’s Scrap and contained hazardous substances.

        4700. To date, McCoy’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4701. According to Chemetco Site records, Defendant McDonald & Sons (“McDonald

 & Sons”) contributed at least 25,638 lbs. of materials to the Chemetco Site. These materials were

 generated by McDonald & Sons and contained hazardous substances.

        4702. To date, McDonald & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4703. Defendant McDowell Recycling, Inc. (“McDowell Recycling”) is responsible for

 the waste attributable to McDowell Scrap Metal, Inc. (“McDowell Scrap”).

        4704. In or about 1994, McDowell Scrap amended its name to McDowell Recycling.

        4705. According to Chemetco Site records, McDowell Scrap contributed at least

 632,373 lbs. of materials to the Chemetco Site. These materials were generated by McDowell

 Scrap and contained hazardous substances.




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        4706. To date, McDowell Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4707. According to Chemetco Site records, Defendant McGraws Auto (“McGraws

 Auto”) contributed at least 22,527 lbs. of materials to the Chemetco Site. These materials were

 generated by McGraws Auto and contained hazardous substances.

        4708. To date, McGraws Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4709. According to Chemetco Site records, Defendant McGuire’s Scrap (“McGuire’s

 Scrap”) contributed at least 8 lbs. of materials to the Chemetco Site. These materials were

 generated by McGuire’s Scrap and contained hazardous substances.

        4710. To date, McGuire’s Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4711. According to Chemetco Site records, Defendant McHenry Brass, Inc. (“McHenry

 Brass”) contributed at least 193,762 lbs. of materials to the Chemetco Site. These materials were

 generated by McHenry Brass and contained hazardous substances.

        4712. To date, McHenry Brass has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4713. According to Chemetco Site records, Defendant MCI (“MCI”) contributed at least

 590 lbs. of materials to the Chemetco Site. These materials were generated by MCI and

 contained hazardous substances.

        4714. To date, MCI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        4715. According to Chemetco Site records, Defendant McKenzie Bros. (“McKenzie

 Bros.”) contributed at least 792 lbs. of materials to the Chemetco Site. These materials were

 generated by McKenzie Bros. and contained hazardous substances.

        4716. To date, McKenzie Bros. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4717. According to Chemetco Site records, Defendant McKinney Junk (“McKinney

 Junk”) contributed at least 208,704 lbs. of materials to the Chemetco Site. These materials were

 generated by McKinney Junk and contained hazardous substances.

        4718. To date, McKinney Junk has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4719. According to Chemetco Site records, Defendant McLaughlin Metal (“McLaughlin

 Metal”) contributed at least 19,787 lbs. of materials to the Chemetco Site. These materials were

 generated by McLaughlin Metal and contained hazardous substances.

        4720. To date, Mclaughlin Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4721. According to Chemetco Site records, Defendant McNew Salvage (“McNew

 Salvage”) contributed at least 2,269 lbs. of materials to the Chemetco Site. These materials were

 generated by McNew Salvage and contained hazardous substances.

        4722. To date, McNew Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4723. According to Chemetco Site records, Defendant Medders Auto Core Supply Inc.

 (“Medders Auto”) contributed at least 708 lbs. of materials to the Chemetco Site. These materials

 were generated by Medders Auto and contained hazardous substances.




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        4724. To date, Medders Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4725. According to Chemetco Site records, Defendant Medford Auto (“Medford Auto”)

 contributed at least 35,588 lbs. of materials to the Chemetco Site. These materials were

 generated by Medford Auto and contained hazardous substances.

        4726. To date, Medford Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4727. According to Chemetco Site records, Defendant Medical Recycling (“Medical

 Recycling”) contributed at least 259 lbs. of materials to the Chemetco Site. These materials were

 generated by Medical Recycling and contained hazardous substances.

        4728. To date, Medical Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4729. Defendant Meeker Sales Corp. (“Meeker Sales”) is responsible for the waste

 attributable to Non Ferrous Processing Corp. (“Non Ferrous Processing”).

        4730. In or about 2001, Meeker Sales was formed as a New York corporation.

        4731. Thereafter, Non Ferrous Processing was merged with and into Meeker Sales.

        4732. According to Chemetco Site records, Non Ferrous Processing contributed at least

 118,251 lbs. of materials to the Chemetco Site. These materials were generated by Non Ferrous

 Processing and contained hazardous substances.

        4733. To date, Meeker Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4734. According to Chemetco Site records, Defendant Memphis Auto Parts (“Memphis

 Auto”) contributed at least 3,874 lbs. of materials to the Chemetco Site. These materials were

 generated by Memphis Auto and contained hazardous substances.

        4735. To date, Memphis Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4736. According to Chemetco Site records, Defendant Menzock Scrap, Inc. (“Menzock

 Scrap”) contributed at least 1,525,892 lbs. of materials to the Chemetco Site. These materials

 were generated by Menzock Scrap and contained hazardous substances.

        4737. To date, Menzock Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4738. According to Chemetco Site records, Defendant Mercer Company (“Mercer

 Company”) contributed at least 24,274 lbs. of materials to the Chemetco Site. These materials

 were generated by Mercer Company and contained hazardous substances.

        4739. To date, Mercer Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4740. Defendant Mercer Group International of New Jersey, Inc. (“Mercer Group”) is

 responsible for the waste attributable to Camden Recycling, Inc. (“Camden Recycling”).

        4741. According to Chemetco Site records, Camden Recycling contributed at least

 107,956 lbs. of materials to the Chemetco Site. These materials were generated by Camden

 Recycling and contained hazardous substances.

        4742. To date, Mercer Group has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4743. According to Chemetco Site records, Defendant Mercer Wrecking Recycling

 (“Mercer Wrecking”) contributed at least 3,285 lbs. of materials to the Chemetco Site. These

 materials were generated by Mercer Wrecking and contained hazardous substances.

        4744. To date, Mercer Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4745. According to Chemetco Site records, Defendant Merchant Data Systems, Inc.

 (“Merchant Data”) contributed at least 3,371 lbs. of materials to the Chemetco Site. These

 materials were generated by Merchant Data and contained hazardous substances.

        4746. To date, Merchant Data has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4747. According to Chemetco Site records, Mercury Marine (“Mercury Marine”)

 contributed at least 17,838 lbs. of materials to the Chemetco Site. These materials were

 generated by Mercury Marine and contained hazardous substances.

        4748. To date, Mercury Marine has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4749. According to Chemetco Site records, Defendant Meredith & Be. (“Meredith”)

 contributed at least 132,085 lbs. of materials to the Chemetco Site. These materials were

 generated by Meredith and contained hazardous substances.

        4750. To date, Meredith has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4751. According to Chemetco Site records, Defendant Merrill Lynch (“Merrill Lynch”)

 contributed at least 580,559 lbs. of materials to the Chemetco Site. These materials were

 generated by Merrill Lynch and contained hazardous substances.




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        4752. To date, Merrill Lynch has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4753. According to Chemetco Site records, Defendant Mervis & Sons Inc. (“Mervis &

 Sons”) contributed at least 937,006 lbs. of materials to the Chemetco Site. These materials were

 generated by Mervis & Sons and contained hazardous substances.

        4754. To date, Mervis & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4755. According to Chemetco Site records, Defendant Mervis Industries Inc. doing

 business as Mervis & Sons (“Mervis Industries”) contributed at least 26,724 lbs. of materials to

 the Chemetco Site. These materials were generated by Mervis Industries and contained

 hazardous substances.

        4756. To date, Mervis Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4757. According to Chemetco Site records, Defendant Metabel (“Metabel”) contributed

 at least 161,320 lbs. of materials to the Chemetco Site. These materials were generated by

 Metabel and contained hazardous substances.

        4758. To date, Metabel has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4759. According to Chemetco Site records, Defendant Metal Commodities Inc. (“Metal

 Commodities”) contributed at least 565,670 lbs. of materials to the Chemetco Site. These

 materials were generated by Metal Commodities and contained hazardous substances.

        4760. To date, Metal Commodities has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4761. According to Chemetco Site records, Defendant The Metal House Inc. (“Metal

 House”) contributed at least 1,529,930 lbs. of materials to the Chemetco Site. These materials

 were generated by Metal House and contained hazardous substances.

        4762. To date, Metal House has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4763. According to Chemetco Site records, Defendant Metal Prep Company, Inc.

 (“Metal Prep”) contributed at least 52,786 lbs. of materials to the Chemetco Site. These materials

 were generated by Metal Prep and contained hazardous substances.

        4764. To date, Metal Prep has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4765. According to Chemetco Site records, Defendant Metal Reclaimers (“Metal

 Reclaimers”) contributed at least 328,852 lbs. of materials to the Chemetco Site. These materials

 were generated by Metal Reclaimers and contained hazardous substances.

        4766. To date, Metal Reclaimers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4767. According to Chemetco Site records, Defendant Metal Recycle (“Metal Recycle”)

 contributed at least 12,940 lbs. of materials to the Chemetco Site. These materials were

 generated by Metal Recycle and contained hazardous substances.

        4768. To date, Metal Recycle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4769. According to Chemetco Site records, Defendant Metal Recycling (“Metal

 Recycling”) contributed at least 194 lbs. of materials to the Chemetco Site. These materials were

 generated by Metal Recycling and contained hazardous substances.




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        4770. To date, Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4771. According to Chemetco Site records, Defendant Metal Recycling Corporation

 (“Metal Recycling Corp.”) contributed at least 317,352 lbs. of materials to the Chemetco Site.

 These materials were generated by Metal Recycling Corp. and contained hazardous substances.

        4772. To date, Metal Recycling Corp. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4773. According to Chemetco Site records, Defendant Metal Recycling Services LLC

 (“Metal Recycling Services”) contributed at least 48,771 lbs. of materials to the Chemetco Site.

 These materials were generated by Metal Recycling and contained hazardous substances.

        4774. To date, Metal Recycling Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4775. According to Chemetco Site records, Defendant Metal Recycling Systems, Inc.

 (“Metal Recycling Systems”) contributed at least 7,847,682 lbs. of materials to the Chemetco

 Site. These materials were generated by Metal Recycling Systems and contained hazardous

 substances.

        4776. To date, Metal Recycling Systems has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4777. According to Chemetco Site records, Defendant Metal S. M. Enr. (“Metal SM”)

 contributed at least 1,144 lbs. of materials to the Chemetco Site. These materials were generated

 by Metal SM and contained hazardous substances.

        4778. To date, Metal SM has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4779. According to Chemetco Site records, Defendant Metal Shredders (“Metal

 Shredders”) contributed at least 597,160 lbs. of materials to the Chemetco Site. These materials

 were generated by Metal Shredders and contained hazardous substances.

        4780. To date, Metal Shredders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4781. According to Chemetco Site records, Defendant Metal Traders (“Metal Traders”)

 contributed at least 1,825 lbs. of materials to the Chemetco Site. These materials were generated

 by Metal Traders and contained hazardous substances.

        4782. To date, Metal Traders has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4783. According to Chemetco Site records, Defendant Metal Ventures, Inc. (“Metal

 Ventures”) contributed materials to the Chemetco Site. These materials were generated by Metal

 Ventures and contained hazardous substances.

        4784. To date, Metal Ventures has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4785. According to Chemetco Site records, Defendant Metalco Enr. (“Metalco”)

 contributed at least 408 lbs. of materials to the Chemetco Site. These materials were generated

 by Metalco and contained hazardous substances.

        4786. To date, Metalco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4787. Defendant Metalico Buffalo, Inc. (“Metalico Buffalo”) is responsible for the

 waste attributable to Lake Erie Smelting Co. Inc. (“Erie Smelting”).

        4788. On or about July 6, 1977, Erie Smelting was incorporated in New York.




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        4789. On or about July 12, 1989, Erie Smelting amended its name to Lake Erie

 Recycling Corp. (“Erie Recycling”).

        4790. On or about March 23, 2006, Erie Recycling amended its name to Metalico

 Buffalo.

        4791. According to Chemetco Site records, Erie Smelting contributed at least 122,388

 lbs. of materials to the Chemetco Site. These materials were generated by Erie Smelting and

 contained hazardous substances.

        4792. To date, Metalico Buffalo has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4793. According to Chemetco Site records, Defendant Metalico Inc. (“Metalico”)

 contributed at least 35,822 lbs. of materials to the Chemetco Site. These materials were

 generated by Metalico and contained hazardous substances.

        4794. To date, Metalico has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4795. According to Chemetco Site records, Defendant Metallic Recovery Group, Inc.

 (“Metallic Recovery”) contributed at least 1,751,101 lbs. of materials to the Chemetco Site.

 These materials were generated by Metallic Recovery and contained hazardous substances.

        4796. To date, Metallic Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4797. According to Chemetco Site records, Defendant Metallic, Inc. (“Metallic”)

 contributed at least 27,492 lbs. of materials to the Chemetco Site. These materials were

 generated by Metallic and contained hazardous substances.




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        4798. To date, Metallic has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4799. According to Chemetco Site records, Defendant Metallurgical Products Company

 (“Metallurgical Products”) contributed at least 3,564,958 lbs. of materials to the Chemetco Site.

 These materials were generated by Metallurgical Products and contained hazardous substances.

        4800. To date, Metallurgical Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4801. According to Chemetco Site records, Defendant Metals Fabrication Company,

 Inc. (“Metals Fabrication”) contributed at least 109,750 lbs. of materials to the Chemetco Site.

 These materials were generated by Metals Fabrication and contained hazardous substances.

        4802. To date, Metals Fabrication has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4803. According to Chemetco Site records, Defendant Metals Plus (“Metals Plus”)

 contributed at least 67,293 lbs. of materials to the Chemetco Site. These materials were

 generated by Metals Plus and contained hazardous substances.

        4804. To date, Metals Plus has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4805. According to Chemetco Site records, Defendant Metals Plus International Corp.

 (“Metals Plus International”) contributed materials to the Chemetco Site. These materials were

 generated by Metals Plus International and contained hazardous substances.

        4806. To date, Metals Plus International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4807. According to Chemetco Site records, Defendant Metals Quality (“Metals

 Quality”) contributed at least 37,550 lbs. of materials to the Chemetco Site. These materials were

 generated by Metals Quality and contained hazardous substances.

        4808. To date, Metals Quality has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4809. According to Chemetco Site records, Defendant Metals Recycling L.L.C.

 (“Metals Recycling”) contributed at least 3,207,616 lbs. of materials to the Chemetco Site. These

 materials were generated by Metals Recycling and contained hazardous substances.

        4810. To date, Metals Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4811. According to Chemetco Site records, Defendant Metalsco Inc. (“Metalsco”)

 contributed at least 4,439 lbs. of materials to the Chemetco Site. These materials were generated

 by Metalsco and contained hazardous substances.

        4812. To date, Metalsco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4813. According to Chemetco Site records, Defendant Metaltech (“Metaltech”)

 contributed at least 688,628 lbs. of materials to the Chemetco Site. These materials were

 generated by Metaltech and contained hazardous substances.

        4814. To date, Metaltech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4815. According to Chemetco Site records, Defendant Metaltek International, Inc.

 (“Metaltek”) contributed at least 856,792 lbs. of materials to the Chemetco Site. These materials

 were generated by Metaltek International and contained hazardous substances.




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        4816. Additionally, Metaltek is responsible for the waste attributable to Sandusky

 International, Inc. (“Sandusky”).

        4817. In or about 2010, Sandusky was merged with and into Metaltek.

        4818. According to Chemetco Site records, Sandusky contributed at least 59,500 lbs. of

 materials to the Chemetco Site. These materials were generated by Sandusky and contained

 hazardous substances.

        4819. To date, Metaltek has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4820. According to Chemetco Site records, Defendant Metatrade (“Metatrade”)

 contributed at least 397,825 lbs. of materials to the Chemetco Site. These materials were

 generated by Metatrade and contained hazardous substances.

        4821. To date, Metatrade has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4822. According to Chemetco Site records, Defendant Metaux L.M. (“Metaux L.M.”)

 contributed at least 20 lbs. of materials to the Chemetco Site. These materials were generated by

 Metaux L.M. and contained hazardous substances.

        4823. To date, Metaux L.M. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4824. According to Chemetco Site records, Defendant Metcast (“Metcast”) contributed

 at least 4,222 lbs. of materials to the Chemetco Site. These materials were generated by Metcast

 and contained hazardous substances.

        4825. To date, Metcast has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        4826. According to Chemetco Site records, Defendant Meter Technologies (“Meter

 Technologies”) contributed at least 19,767 lbs. of materials to the Chemetco Site. These

 materials were generated by Meter Technologies and contained hazardous substances.

        4827. To date, Meter Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4828. According to Chemetco Site records, Defendant Metering Services Inc.

 (“Metering Services”) contributed at least 15,231 lbs. of materials to the Chemetco Site. These

 materials were generated by Metering Services and contained hazardous substances.

        4829. To date, Metering Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4830. According to Chemetco Site records, Defendant Methode Electronics, Inc.

 (“Methode Electronics”) contributed at least 120,083 lbs. of materials to the Chemetco Site.

 These materials were generated by Methode Electronics and contained hazardous substances.

        4831. To date, Methode Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4832. According to Chemetco Site records, Defendant Metramet International

 (“Metramet”) contributed at least 18,171 lbs. of materials to the Chemetco Site. These materials

 were generated by Metramet and contained hazardous substances.

        4833. To date, Metramet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4834. According to Chemetco Site records, Defendant Metro Alloys Inc. (“Metro

 Alloys”) contributed at least 18,213 lbs. of materials to the Chemetco Site. These materials were

 generated by Metro Alloys and contained hazardous substances.




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        4835. To date, Metro Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4836. According to Chemetco Site records, Defendant Metro Metal Recyclers, Inc.

 (“Metro Metal”) contributed at least 10,860 lbs. of materials to the Chemetco Site. These

 materials were generated by Metro Metal and contained hazardous substances.

        4837. To date, Metro Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4838. According to Chemetco Site records, Defendant Metro Metals, Inc. (“Metro

 Metals”) contributed at least 263,354 lbs. of materials to the Chemetco Site. These materials

 were generated by Metro Metals and contained hazardous substances.

        4839. To date, Metro Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4840. Alternatively, Defendant Mid-Atlantic Metals, Inc. (“Mid-Atlantic Metals”) is

 responsible for the waste attributable to Metro Metals, as alleged in paragraph no. 4838 above.

        4841. To date, Mid-Atlantic Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4842. According to Chemetco Site records, Defendant Metro Salvage (“Metro Salvage”)

 contributed at least 32,759 lbs. of materials to the Chemetco Site. These materials were

 generated by Metro Salvage and contained hazardous substances.

        4843. To date, Metro Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4844. According to Chemetco Site records, Defendant Metro Scrap (“Metro Scrap”)

 contributed at least 217,526 lbs. of materials to the Chemetco Site. These materials were

 generated by Metro Scrap and contained hazardous substances.

        4845. To date, Metro Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4846. According to Chemetco Site records, Defendant Metro Water Services (“Metro

 Water”) contributed at least 17,180 lbs. of materials to the Chemetco Site. These materials were

 generated by Metro Water and contained hazardous substances.

        4847. To date, Metro Water has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4848. According to Chemetco Site records, Defendant Metronix (“Metronix”)

 contributed at least 477,516 lbs. of materials to the Chemetco Site. These materials were

 generated by Metronix and contained hazardous substances.

        4849. To date, Metronix has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4850. According to Chemetco Site records, Defendant Metropolitan Domestic Water

 Improvement District (“Metro Water District”) contributed at least 8,275 lbs. of materials to the

 Chemetco Site. These materials were generated by Metro Water District and contained

 hazardous substances.

        4851. To date, Metro Water District has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4852. According to Chemetco Site records, Defendant Meyer-Saba Metal (“Meyer-

 Saba”) contributed at least 34,432 lbs. of materials to the Chemetco Site. These materials were

 generated by Meyer-Saba and contained hazardous substances.

        4853. To date, Meyer-Saba has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4854. According to Chemetco Site records, Defendant Miami Industrial Motor, Inc.

 (“Miami Motor”) contributed at least 4,807 lbs. of materials to the Chemetco Site. These

 materials were generated by Miami Motor and contained hazardous substances.

        4855. To date, Miami Motor has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4856. According to Chemetco Site records, Defendant Miami Recycling Inc. (“Miami

 Recycling”) contributed at least 261,470 lbs. of materials to the Chemetco Site. These materials

 were generated by Miami Recycling and contained hazardous substances.

        4857. To date, Miami Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4858. Defendant Michael Healy Designs, Inc. doing business as Healy Plaques (“Healy

 Designs”) is responsible for the waste attributable to Healy Brothers Corporation (“Healy

 Brothers”).

        4859. In or about 2008, Healy Brothers amended its name to Healy Designs.

        4860. According to Chemetco Site records, Healy Brothers contributed at least 43,138

 lbs. of materials to the Chemetco Site. These materials were generated by Healy Brothers and

 contained hazardous substances.




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        4861. To date, Healy Designs has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4862. According to Chemetco Site records, Defendant Michael’s Maintenance and

 Appliance Service, Inc. (“Michael’s Maintenance”) contributed at least 1,471 lbs. of materials to

 the Chemetco Site. These materials were generated by Michael’s Maintenance and contained

 hazardous substances.

        4863. To date, Michael’s Maintenance has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4864. According to Chemetco Site records, Defendant Michigan Scrap Metal Co.

 (“Michigan Scrap”) contributed at least 4,345 lbs. of materials to the Chemetco Site. These

 materials were generated by Michigan Scrap and contained hazardous substances.

        4865. To date, Michigan Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4866. According to Chemetco Site records, Defendant Micro Metals, Inc. (“Micro

 Metals”) contributed at least 32,608 lbs. of materials to the Chemetco Site. These materials were

 generated by Micro Metals and contained hazardous substances.

        4867. To date, Micro Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4868. According to Chemetco Site records, Defendant Micron Industries Corporation

 (“Micron”) contributed at least 230,547 lbs. of materials to the Chemetco Site. These materials

 were generated by Micron and contained hazardous substances.

        4869. To date, Micron has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        4870. According to Chemetco Site records, Defendant Microsemi Corporation

 (“Microsemi”) contributed at least 8,840 lbs. of materials to the Chemetco Site. These materials

 were generated by Microsemi and contained hazardous substances.

        4871. To date, Microsemi has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4872. According to Chemetco Site records, Defendant Microsource Inc.

 (“Microsource”) contributed at least 1,368 lbs. of materials to the Chemetco Site. These

 materials were generated by Microsource and contained hazardous substances.

        4873. To date, Microsource has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4874. According to Chemetco Site records, Defendant Mid Missouri (“Mid Missouri”)

 contributed at least 30,805 lbs. of materials to the Chemetco Site. These materials were

 generated by Mid Missouri and contained hazardous substances.

        4875. To date, Mid Missouri has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4876. According to Chemetco Site records, Defendant Mid Star, Inc. (“Mid Star”)

 contributed at least 685 lbs. of materials to the Chemetco Site. These materials were generated

 by Mid Star and contained hazardous substances.

        4877. To date, Mid Star has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4878. According to Chemetco Site records, Defendant Mid-America Paper Recycling

 Co., Inc. (“Mid-America Paper Recycling”) contributed at least 40,712 lbs. of materials to the




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 Chemetco Site. These materials were generated by Mid-America Paper Recycling and contained

 hazardous substances.

        4879. To date, Mid-America Paper Recycling has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        4880. According to Chemetco Site records, Defendant Mid-Cal Metal (“Mid-Cal

 Metal”) contributed at least 95,941 lbs. of materials to the Chemetco Site. These materials were

 generated by Mid-Cal Metal and contained hazardous substances.

        4881. To date, Mid-Cal Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4882. According to Chemetco Site records, Defendant Mid-South Metals, Inc. (“Mid-

 South”) contributed materials to the Chemetco Site. These materials were generated by Mid-

 South and contained hazardous substances.

        4883. To date, Mid-South has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4884. According to Chemetco Site records, Defendant Mid-State Automotive Parts

 Rebuilders, Incorporated (“Mid-State Auto”) contributed at least 73,803 lbs. of materials to the

 Chemetco Site. These materials were generated by Mid-State Auto and contained hazardous

 substances.

        4885. To date, Mid-State Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4886. According to Chemetco Site records, Defendant Mid-Town Iron (“Mid-Town

 Iron”) contributed at least 58,514 lbs. of materials to the Chemetco Site. These materials were

 generated by Mid-Town Iron and contained hazardous substances.




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        4887. To date, Mid-Town Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4888. According to Chemetco Site records, Defendant Mid-West Fabricating Co.

 (“Mid-West Fabricating”) contributed at least 6,244 lbs. of materials to the Chemetco Site. These

 materials were generated by Mid-West Fabricating and contained hazardous substances.

        4889. To date, Mid-West Fabricating has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4890. According to Chemetco Site records, Defendant Midas Metal Recycling Inc.

 (“Midas Metal”) contributed at least 115,634 lbs. of materials to the Chemetco Site. These

 materials were generated by Midas Metal and contained hazardous substances.

        4891. To date, Midas Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4892. According to Chemetco Site records, Defendant Midas Muffler (“Midas Muffler”)

 contributed at least 6,034 lbs. of materials to the Chemetco Site. These materials were generated

 by Midas Muffler and contained hazardous substances.

        4893. To date, Midas Muffler has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4894. According to Chemetco Site records, Defendant Middleboro Recycling, Inc.

 (“Middleboro Recycling”) contributed materials to the Chemetco Site. These materials were

 generated by Middleboro Recycling and contained hazardous substances.

        4895. To date, Middleboro Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4896. According to Chemetco Site records, Defendant Midlane Salvage (“Midlane

 Salvage”) contributed at least 924,394 lbs. of materials to the Chemetco Site. These materials

 were generated by Midlane Salvage and contained hazardous substances.

        4897. To date, Midlane Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4898. According to Chemetco Site records, Defendant Midway Iron & Metal, Inc.

 (“Midway Iron”) contributed at least 7,623 lbs. of materials to the Chemetco Site. These

 materials were generated by Midway Iron and contained hazardous substances.

        4899. To date, Midway Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4900. According to Chemetco Site records, Defendant Midwest Babbi (“Midwest

 Babbi”) contributed at least 10,702 lbs. of materials to the Chemetco Site. These materials were

 generated by Midwest Babbi and contained hazardous substances.

        4901. To date, Midwest Babbi has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4902. According to Chemetco Site records, Defendant Midwest Computer Brokers, Inc.

 (“Midwest Computer”) contributed at least 3,064 lbs. of materials to the Chemetco Site. These

 materials were generated by Midwest Computer and contained hazardous substances.

        4903. To date, Midwest Computer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4904. According to Chemetco Site records, Defendant Midwest Iron & Metal Co., Inc.

 (“Midwest Iron & Metal”) contributed at least 78,379 lbs. of materials to the Chemetco Site.

 These materials were generated by Midwest Iron & Metal and contained hazardous substances.




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        4905. To date, Midwest Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4906. According to Chemetco Site records, Defendant Midwest Iron & Metal Inc.

 (“Midwest Iron”) contributed at least 3,376,710 lbs. of materials to the Chemetco Site. These

 materials were generated by Midwest Iron and contained hazardous substances.

        4907. To date, Midwest Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4908. According to Chemetco Site records, Defendant Midwest Iron Co. (“Midwest Iron

 Co.”) contributed at least 1,074 lbs. of materials to the Chemetco Site. These materials were

 generated by Midwest Iron Co. and contained hazardous substances.

        4909. To date, Midwest Iron Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4910. According to Chemetco Site records, Defendant Midwest Market (“Midwest

 Market”) contributed at least 11,429 lbs. of materials to the Chemetco Site. These materials were

 generated by Midwest Market and contained hazardous substances.

        4911. To date, Midwest Market has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4912. According to Chemetco Site records, Defendant Midwest Metal (“Midwest

 Metal”) contributed at least 24,510 lbs. of materials to the Chemetco Site. These materials were

 generated by Midwest Metal and contained hazardous substances.

        4913. To date, Midwest Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4914. According to Chemetco Site records, Defendant Midwest Metal Works Inc.

 (“Midwest Metal Works”) contributed at least 80,888 lbs. of materials to the Chemetco Site.

 These materials were generated by Midwest Metal Works and contained hazardous substances.

        4915. To date, Midwest Metal Works has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4916. According to Chemetco Site records, Defendant Midwest Metallics L.P.

 (“Midwest Metallics”) contributed at least 638,790 lbs. of materials to the Chemetco Site. These

 materials were generated by Midwest Metallics and contained hazardous substances.

        4917. To date, Midwest Metallics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4918. According to Chemetco Site records, Defendant Midwest Paper Stock Co.

 (“Midwest Paper”) contributed at least 184,526 lbs. of materials to the Chemetco Site. These

 materials were generated by Midwest Paper and contained hazardous substances.

        4919. To date, Midwest Paper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4920. According to Chemetco Site records, Defendant Midwest Parts & Equipment Co.

 doing business as Midwest Systems (“Midwest Parts”) contributed at least 2,436 lbs. of materials

 to the Chemetco Site. These materials were generated by Midwest Parts and contained hazardous

 substances.

        4921. Additionally, Midwest Parts is responsible for the waste attributable to Cardinal

 Recycling Services Inc. (“Cardinal Recycling”).

        4922. In or about 1997, Cardinal Recycling was merged with and into Midwest Parts.




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        4923. According to Chemetco Site records, Cardinal Recycling contributed at least

 464,404 lbs. of materials to the Chemetco Site. These materials were generated by Cardinal

 Recycling and contained hazardous substances.

        4924. To date, Midwest Parts has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4925. According to Chemetco Site records, Defendant Midwest Recyclers (“Midwest

 Recyclers”) contributed at least 432,125 lbs. of materials to the Chemetco Site. These materials

 were generated by Midwest Recyclers and contained hazardous substances.

        4926. To date, Midwest Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4927. According to Chemetco Site records, Defendant Midwest Sales (“Midwest Sales”)

 contributed at least 2,950 lbs. of materials to the Chemetco Site. These materials were generated

 by Midwest Sales and contained hazardous substances.

        4928. To date, Midwest Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4929. According to Chemetco Site records, Defendant Midwest Scrap (“Midwest

 Scrap”) contributed at least 5,648 lbs. of materials to the Chemetco Site. These materials were

 generated by Midwest Scrap and contained hazardous substances.

        4930. To date, Midwest Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4931. According to Chemetco Site records, Defendant Mike’s Auto Parts (“Mike’s

 Auto”) contributed at least 1,062 lbs. of materials to the Chemetco Site. These materials were

 generated by Mike’s Auto and contained hazardous substances.




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        4932. To date, Mike’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4933. According to Chemetco Site records, Defendant Mike’s Metals Inc. (“Mike’s

 Metals”) contributed at least 1,679,831 lbs. of materials to the Chemetco Site. These materials

 were generated by Mike’s Metals and contained hazardous substances.

        4934. To date, Mike’s Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4935. According to Chemetco Site records, Defendant Miles Alloy, Inc. (“Miles Alloy”)

 contributed at least 10,307 lbs. of materials to the Chemetco Site. These materials were

 generated by Miles Alloy and contained hazardous substances.

        4936. To date, Miles Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4937. According to Chemetco Site records, Defendant Milford Automatic (“Milford

 Automatic”) contributed at least 811,469 lbs. of materials to the Chemetco Site. These materials

 were generated by Milford Automatic and contained hazardous substances.

        4938. To date, Milford Automatic has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4939. According to Chemetco Site records, Defendant Mill Services and Manufacturing,

 Inc. (“Mill Services”) contributed at least 26,584 lbs. of materials to the Chemetco Site. These

 materials were generated by Mill Services and contained hazardous substances.

        4940. To date, Mill Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4941. According to Chemetco Site records, Defendant Mill Valley R. (“Mill Valley”)

 contributed at least 2,219 lbs. of materials to the Chemetco Site. These materials were generated

 by Mill Valley and contained hazardous substances.

        4942. To date, Mill Valley has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4943. According to Chemetco Site records, Defendant Millennium Metals Recycling,

 Inc. (“Millennium Metals Recycling”) contributed at least 14,162 lbs. of materials to the

 Chemetco Site. These materials were generated by Millennium Metals Recycling and contained

 hazardous substances.

        4944. To date, Millennium Metals Recycling has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        4945. Defendant Millennium Recycling LLP (“Millennium Recycling”) is responsible

 for the waste attributable to American Recycling (“American Recycling”).

        4946. According to Chemetco Site records, American Recycling contributed at least

 68,382 lbs. of materials to the Chemetco Site. These materials were generated by American

 Recycling and contained hazardous substances.

        4947. To date, Millennium Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4948. According to Chemetco Site records, Defendant Miller Bros. Iron & Metal Co.

 (“Miller Iron”) contributed at least 78,875 lbs. of materials to the Chemetco Site. These materials

 were generated by Miller Iron and contained hazardous substances.

        4949. To date, Miller Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        4950. According to Chemetco Site records, Defendant Miller Company (“Miller”)

 contributed at least 17,326 lbs. of materials to the Chemetco Site. These materials were

 generated by Miller and contained hazardous substances.

        4951. To date, Miller has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4952. According to Chemetco Site records, Defendant Miller Compressing Co. (“Miller

 Compressing”) contributed at least 681,228 lbs. of materials to the Chemetco Site. These

 materials were generated by Miller Compressing and contained hazardous substances.

        4953. To date, Miller Compressing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4954. According to Chemetco Site records, Defendant Miller Metals (“Miller Metals”)

 contributed at least 30,822 lbs. of materials to the Chemetco Site. These materials were

 generated by Miller Metals and contained hazardous substances.

        4955. To date, Miller Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4956. According to Chemetco Site records, Defendant Miller Recycling Corporation

 (“Miller Recycling”) contributed at least 21,528 lbs. of materials to the Chemetco Site. These

 materials were generated by Miller Recycling and contained hazardous substances.

        4957. To date, Miller Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4958. According to Chemetco Site records, Defendant Millis Used Auto Parts, Inc.

 (“Millis Auto”) contributed at least 243,488 lbs. of materials to the Chemetco Site. These

 materials were generated by Millis Auto and contained hazardous substances.




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        4959. To date, Millis Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4960. According to Chemetco Site records, Defendant Milward Alloys, Inc. (“Milward

 Alloys”) contributed at least 166,918 lbs. of materials to the Chemetco Site. These materials

 were generated by Milward Alloys and contained hazardous substances.

        4961. To date, Milward Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4962. According to Chemetco Site records, Defendant Milwaukee Electric Tool

 Corporation (“Milwaukee Tool”) contributed at least 740,175 lbs. of materials to the Chemetco

 Site. These materials were generated by Milwaukee Tool and contained hazardous substances.

        4963. To date, Milwaukee Tool has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4964. Defendant MIMCO Holdings, Inc. (“MIMCO Holdings”) is responsible for the

 waste attributable to Midwest Iron & Metal Co., Inc. (“Midwest Iron”).

        4965. On or about December 27, 2011, Midwest Iron amended its name to MIMCO

 Holdings.

        4966. According to Chemetco Site records, Midwest Iron contributed at least 99,510 lbs.

 of materials to the Chemetco Site. These materials were generated by Midwest Iron and

 contained hazardous substances.

        4967. To date, MIMCO Holdings has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4968. According to Chemetco Site records, Defendant Mimco Incorporated (“Mimco”)

 contributed at least 58,986 lbs. of materials to the Chemetco Site. These materials were

 generated by Mimco and contained hazardous substances.

        4969. To date, Mimco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4970. According to Chemetco Site records, Defendant Minalco (“Minalco”) contributed

 at least 30,689 lbs. of materials to the Chemetco Site. These materials were generated by

 Minalco and contained hazardous substances.

        4971. To date, Minalco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4972. According to Chemetco Site records, Defendant Mindis Metals (“Mindis Metals”)

 contributed at least 375,210 lbs. of materials to the Chemetco Site. These materials were

 generated by Mindis Metals and contained hazardous substances.

        4973. To date, Mindis Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4974. According to Chemetco Site records, Defendant Minichiello Bros., Inc. doing

 business as Scrapit (“Minichiello Bros.”) contributed at least 16,079 lbs. of materials to the

 Chemetco Site. These materials were generated by Minichiello Bros. and contained hazardous

 substances.

        4975. To date, Minichiello Bros. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        4976. According to Chemetco Site records, Defendant Minkin Chandler Corp. (“Minkin

 Chandler”) contributed at least 408,832 lbs. of materials to the Chemetco Site. These materials

 were generated by Minkin Chandler and contained hazardous substances.

        4977. To date, Minkin Chandler has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4978. According to Chemetco Site records, Defendant Minnkota Iron (“Minnkota Iron”)

 contributed at least 11,733 lbs. of materials to the Chemetco Site. These materials were

 generated by Minnkota Iron and contained hazardous substances.

        4979. To date, Minnkota Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4980. According to Chemetco Site records, Defendant Mir Mar Recycling (“Mir Mar

 Recycling”) contributed at least 29,962 lbs. of materials to the Chemetco Site. These materials

 were generated by Mir Mar Recycling and contained hazardous substances.

        4981. To date, Mir Mar Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4982. According to Chemetco Site records, Defendant Mississippi Power & Light

 (“MP&L”) contributed at least 49,925 lbs. of materials to the Chemetco Site. These materials

 were generated by MP&L and contained hazardous substances.

        4983. To date, MP&L has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        4984. According to Chemetco Site records, Defendant Missouri Metal Recycling

 (“Missouri Metal”) contributed at least 40,258 lbs. of materials to the Chemetco Site. These

 materials were generated by Missouri Metal and contained hazardous substances.




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        4985. To date, Missouri Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4986. According to Chemetco Site records, Defendant Missouri Sand (“Missouri Sand”)

 contributed at least 241 lbs. of materials to the Chemetco Site. These materials were generated

 by Missouri Sand and contained hazardous substances.

        4987. To date, Missouri Sand has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4988. According to Chemetco Site records, Defendant Mitauer Metal (“Mitauer Metal”)

 contributed at least 67,663 lbs. of materials to the Chemetco Site. These materials were

 generated by Mitauer Metal and contained hazardous substances.

        4989. To date, Mitauer Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4990. Defendant Mitchell Industries, Inc. (“Mitchell Industries”) is responsible for the

 waste attributable to Indiana Steel & Wire Co. (“Indiana Steel”).

        4991. In or about 1990, Indiana Steel was formed as a Delaware corporation.

        4992. In or about 1993, Indiana Steel was filed as a foreign for-profit corporation with

 the Indiana Secretary of State.

        4993. The last filing for Indiana Steel on the Indiana Secretary of State was in 2004, and

 the last president of record was A. Randy Nahvi.

        4994. In or about 2005, Mitchell Industries was formed as an Indiana domestic for-

 profit corporation, by incorporator and president A. Randy Nahvi.




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        4995. According to Chemetco Site records, Indiana Steel contributed at least 87,153 lbs.

 of materials to the Chemetco Site. These materials were generated by Indiana Steel and

 contained hazardous substances.

        4996. To date, Mitchell Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        4997. According to Chemetco Site records, Defendant Mitchell Public Water District

 (“Mitchell”) contributed at least 962 lbs. of materials to the Chemetco Site. These materials were

 generated by Mitchell and contained hazardous substances.

        4998. To date, Mitchell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        4999. According to Chemetco Site records, Defendant Mitchell’s (“Mitchell’s”)

 contributed at least 2,988 lbs. of materials to the Chemetco Site. These materials were generated

 by Mitchell’s and contained hazardous substances.

        5000. To date, Mitchell’s has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5001. According to Chemetco Site records, Defendant MMI International (“MMI”)

 contributed at least 13,630 lbs. of materials to the Chemetco Site. These materials were

 generated by MMI and contained hazardous substances.

        5002. To date, MMI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5003. According to Chemetco Site records, Defendant MMSCO Iron (“MMSCO”)

 contributed at least 714 lbs. of materials to the Chemetco Site. These materials were generated

 by MMSCO and contained hazardous substances.




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        5004. To date, MMSCO has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5005. According to Chemetco Site records, Defendant MMSCOIR (“MMSCOIR”)

 contributed at least 714 lbs. of materials to the Chemetco Site. These materials were generated

 by MMSCOIR and contained hazardous substances.

        5006. To date, MMSCOIR has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5007. According to Chemetco Site records, Defendant Modesto Junk Company, Inc.

 (“Modesto Junk”) contributed at least 577,294 lbs. of materials to the Chemetco Site. These

 materials were generated by Modesto Junk and contained hazardous substances.

        5008. To date, Modesto Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5009. According to Chemetco Site records, Defendant Moeller Manufacturing Co., Inc.

 (“Moeller Manufacturing”) contributed at least 13,580 lbs. of materials to the Chemetco Site.

 These materials were generated by Moeller Manufacturing and contained hazardous substances.

        5010. To date, Moeller Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5011. According to Chemetco Site records, Defendant Moeller Products Company, Inc.

 (“Moeller Products”) contributed at least 51,301 lbs. of materials to the Chemetco Site. These

 materials were generated by Moeller Products and contained hazardous substances.

        5012. To date, Moeller Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5013. According to Chemetco Site records, Defendant Mohave Recycling (“Mohave

 Recycling”) contributed at least 864 lbs. of materials to the Chemetco Site. These materials were

 generated by Mohave Recycling and contained hazardous substances.

        5014. To date, Mohave Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5015. According to Chemetco Site records, Defendant Mon-Valley Recycling Center

 (“Mon-Valley Recycling”) contributed at least 524,895 lbs. of materials to the Chemetco Site.

 These materials were generated by Mon-Valley Recycling and contained hazardous substances.

        5016. To date, Mon-Valley Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5017. According to Chemetco Site records, Defendant Monett Steel Castings (“Monett

 Steel”) contributed at least 127,922 lbs. of materials to the Chemetco Site. These materials were

 generated by Monett Steel and contained hazardous substances.

        5018. To date, Monett Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5019. According to Chemetco Site records, Defendant Monge Metals (“Monge Metals”)

 contributed at least 308 lbs. of materials to the Chemetco Site. These materials were generated

 by Monge Metals and contained hazardous substances.

        5020. To date, Monge Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5021. Defendant Monico Alloys, Inc. (“Monico Alloys”) is responsible for the waste

 attributable to G. Harris International (“G. Harris”).




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        5022. According to Chemetco Site records, G. Harris contributed at least 307,780 lbs. of

 materials to the Chemetco Site. These materials were generated by G. Harris and contained

 hazardous substances.

        5023. To date, Monico Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5024. According to Chemetco Site records, Defendant Monmouth Wire and Computer

 Recycling, Inc. (“Monmouth Wire”) contributed at least 8,695 lbs. of materials to the Chemetco

 Site. These materials were generated by Monmouth Wire and contained hazardous substances.

        5025. To date, Monmouth Wire has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5026. According to Chemetco Site records, Defendant Monroe Iron & Metal Company,

 Inc. doing business as Auto Shred of Louisiana (“Monroe Iron”) contributed materials to the

 Chemetco Site. These materials were generated by Monroe Iron and contained hazardous

 substances.

        5027. To date, Monroe Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5028. According to Chemetco Site records, Defendant Montclair Bronze, Inc.

 (“Montclair Bronze”) contributed at least 102,591 lbs. of materials to the Chemetco Site. These

 materials were generated by Montclair Bronze and contained hazardous substances.

        5029. To date, Montclair Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5030. According to Chemetco Site records, Defendant Monterey Iron (“Monterey Iron”)

 contributed at least 114,692 lbs. of materials to the Chemetco Site. These materials were

 generated by Monterey Iron and contained hazardous substances.

        5031. To date, Monterey Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5032. According to Chemetco Site records, Defendant Montes De Oca Modesta

 (“Montes”) contributed at least 73,473 lbs. of materials to the Chemetco Site. These materials

 were generated by Montes and contained hazardous substances.

        5033. To date, Montes has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5034. According to Chemetco Site records, Defendant Montgomery Iron (“Montgomery

 Iron”) contributed at least 19,762 lbs. of materials to the Chemetco Site. These materials were

 generated by Montgomery Iron and contained hazardous substances.

        5035. To date, Montgomery Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5036. According to Chemetco Site records, Defendant Montgomery Radiator Co., Inc.

 (“Montgomery Radiator”) contributed at least 10,716 lbs. of materials to the Chemetco Site.

 These materials were generated by Montgomery Radiator and contained hazardous substances.

        5037. To date, Montgomery Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5038. According to Chemetco Site records, Defendant Montgomery Scrap Corp.

 (“Montgomery Scrap”) contributed at least 446,836 lbs. of materials to the Chemetco Site. These

 materials were generated by Montgomery Scrap and contained hazardous substances.




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        5039. To date, Montgomery Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5040. According to Chemetco Site records, Defendant Montgomery Tractor Salvage

 Inc. (“Montgomery Tractor”) contributed at least 528 lbs. of materials to the Chemetco Site.

 These materials were generated by Montgomery Tractor and contained hazardous substances.

        5041. To date, Montgomery Tractor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5042. According to Chemetco Site records, Defendant Montreal Scrap (“Montreal

 Scrap”) contributed at least 343,690 lbs. of materials to the Chemetco Site. These materials were

 generated by Montreal Scrap and contained hazardous substances.

        5043. To date, Montreal Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5044. According to Chemetco Site records, Defendant Monty Ray Yocom (“Monty Ray

 Yocom”) contributed at least 5,391 lbs. of materials to the Chemetco Site. These materials were

 generated by Monty Ray Yocom and contained hazardous substances.

        5045. To date, Monty Ray Yocom has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5046. According to Chemetco Site records, Defendant MOP Inc. (“MOP”) contributed

 at least 10,309 lbs. of materials to the Chemetco Site. These materials were generated by MOP

 and contained hazardous substances.

        5047. To date, MOP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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          5048. Defendant More Power Electric, LLC (“More Power”) is responsible for the

 waste attributable to Ketring Enterprises, Inc. doing business as Ketring Electric (“Ketring

 Enterprises”).

          5049. In or about 1995, Ketring Enterprises was formed as an Arizona corporation.

          5050. In or about 2010, Ketring Enterprises was dissolved.

          5051. In or about 2010, More Power was formed as an Arizona corporation.

          5052. Both Ketring Enterprises and More Power were headquartered at 8816 North 67th

 Drive, Peoria, Arizona 85345.

          5053. Gerald E. Garcia, Jr. was the president for both Ketring Enterprises and More

 Power.

          5054. According to Chemetco Site records, Ketring Enterprises contributed at least 99

 lbs. of materials to the Chemetco Site. These materials were generated by Ketring Enterprises

 and contained hazardous substances.

          5055. To date, More Power has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          5056. According to Chemetco Site records, Defendant Morgan Bronze Products, Inc.

 (“Morgan Bronze”) contributed at least 162,730 lbs. of materials to the Chemetco Site. These

 materials were generated by Morgan Bronze and contained hazardous substances.

          5057. To date, Morgan Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

          5058. According to Chemetco Site records, Defendant Morris Junkyard (“Morris Junk”)

 contributed at least 9,026 lbs. of materials to the Chemetco Site. These materials were generated

 by Morris Junk and contained hazardous substances.




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        5059. To date, Morris Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5060. According to Chemetco Site records, Defendant Morris Metal (“Morris Metal”)

 contributed at least 12,167 lbs. of materials to the Chemetco Site. These materials were

 generated by Morris Metal and contained hazardous substances.

        5061. To date, Morris Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5062. According to Chemetco Site records, Defendant Morris Salvage, Inc. (“Morris

 Salvage”) contributed at least 68,268 lbs. of materials to the Chemetco Site. These materials

 were generated by Morris Salvage and contained hazardous substances.

        5063. To date, Morris Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5064. According to Chemetco Site records, Defendant Morris Scrap (“Morris Scrap”)

 contributed at least 890,224 lbs. of materials to the Chemetco Site. These materials were

 generated by Morris Scrap and contained hazardous substances.

        5065. To date, Morris Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5066. According to Chemetco Site records, Defendant Morris Scrap Metal Company

 (“Morris Scrap Metal”) contributed at least 869,323 lbs. of materials to the Chemetco Site. These

 materials were generated by Morris Scrap Metal and contained hazardous substances.

        5067. To date, Morris Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5068. According to Chemetco Site records, Defendant Morris Scrap Metals (“Morris

 Metals”) contributed at least 1,461,999 lbs. of materials to the Chemetco Site. These materials

 were generated by Morris Metals and contained hazardous substances.

        5069. To date, Morris Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5070. Defendant Moses B. Glick, LLC (“Glick”) is responsible for the waste

 attributable to LB Metals, Inc. (“LB Metals”).

        5071. In or about 2007, Glick acquired LB Metals.

        5072. According to Chemetco Site records, LB Metals contributed at least 54,215 lbs. of

 materials to the Chemetco Site. These materials were generated by LB Metals and contained

 hazardous substances.

        5073. To date, Glick has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5074. According to Chemetco Site records, Defendant Moskowitz Bros., Inc.

 (“Moskowitz”) contributed at least 147,443 lbs. of materials to the Chemetco Site. These

 materials were generated by Moskowitz and contained hazardous substances.

        5075. To date, Moskowitz has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5076. According to Chemetco Site records, Defendant Motan-Colortronic GMBH

 (“Motan-Colortronic”) contributed at least 37,344 lbs. of materials to the Chemetco Site. These

 materials were generated by Motan-Colortronic and contained hazardous substances.

        5077. To date, Motan-Colortronic has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5078. Defendant The Motor Control Center, LLC (“Motor Control”) is responsible for

 the waste attributable to Aaron Iron & Steel Co. (“Aaron Iron”).

        5079. In or about 2003, Aaron Iron & Steel amended its name to Motor Control.

        5080. According to Chemetco Site records, Aaron Iron contributed at least 22,767 lbs.

 of materials to the Chemetco Site. These materials were generated by Aaron Iron and contained

 hazardous substances.

        5081. To date, Motor Control has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5082. According to Chemetco Site records, Defendant Motorola SSTG (“Motorola”)

 contributed at least 315 lbs. of materials to the Chemetco Site. These materials were generated

 by Motorola and contained hazardous substances.

        5083. To date, Motorola has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5084. According to Chemetco Site records, Defendant Mount Carmel (“Mount Carmel”)

 contributed at least 45,821 lbs. of materials to the Chemetco Site. These materials were

 generated by Mount Carmel and contained hazardous substances.

        5085. To date, Mount Carmel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5086. According to Chemetco Site records, Defendant Mountain Metal Co., Inc.

 (“Mountain Metal”) contributed at least 563,324 lbs. of materials to the Chemetco Site. These

 materials were generated by Mountain Metal and contained hazardous substances.




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         5087. Mountain Metal used to be a Chemetco Group member, but withdrew from the

 Chemetco Group and has not agreed to pay its equitable share of response costs at the Chemetco

 Site.

         5088. According to Chemetco Site records, Defendant Mountaineer Recycling Inc.

 (“Mountaineer Recycling”) contributed at least 4,311 lbs. of materials to the Chemetco Site.

 These materials were generated by Mountaineer Recycling and contained hazardous substances.

         5089. To date, Mountaineer Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         5090. According to Chemetco Site records, Defendant MPW & Associates (“MPW &

 Associates”) contributed at least 3,197 lbs. of materials to the Chemetco Site. These materials

 were generated by MPW & Associates and contained hazardous substances.

         5091. To date, MPW & Associates has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         5092. Defendant MR Stratford Baling, LLC (“MR Stratford”) is responsible for the

 waste attributable to Stratford Baling Corporation (“Stratford Baling”).

         5093. In or about 1979, Stratford Baling was formed as a Connecticut corporation.

         5094. In or about August 2008, MR Statford Baling Acquisition, LLC (“Stratford

 Acquisition”) was formed as a Connecticut limited liability company.

         5095. In or about September 2008, Stratford Baling amended its name to SBC

 Liquidating Company (“SBC”).

         5096. Additionally, in or about September 2008, Stratford Acquisition amended its

 name to MR Stratford.

         5097. In or about December 2009, SBC was dissolved.




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        5098. According to Chemetco Site records, Stratford Baling contributed at least 21,749

 lbs. of materials to the Chemetco Site. These materials were generated by Stratford Baling and

 contained hazardous substances.

        5099. To date, MR Stratford has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5100. According to Chemetco Site records, Defendant Mr. Can Man (“Mr. Can Man”)

 contributed at least 39,772 lbs. of materials to the Chemetco Site. These materials were

 generated by Mr. Can Man and contained hazardous substances.

        5101. To date, Mr. Can Man has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5102. According to Chemetco Site records, Defendant Mr. Services Co. doing business

 as Texas Alloy (“Mr. Services”) contributed at least 1,205 lbs. of materials to the Chemetco Site.

 These materials were generated by Mr. Services and contained hazardous substances.

        5103. To date, Mr. Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5104. According to Chemetco Site records, Defendant MRK Group, Ltd. (“MRK

 Group”) contributed at least 1,105 lbs. of materials to the Chemetco Site. These materials were

 generated by MRK Group and contained hazardous substances.

        5105. To date, MRK Group has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5106. According to Chemetco Site records, Defendant MRP Co., Inc. (Metal Recycling

 & Processing) (“MRP”) contributed materials to the Chemetco Site. These materials were

 generated by MRP and contained hazardous substances.




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        5107. To date, MRP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5108. According to Chemetco Site records, Defendant Mt. Hood Metals (“Mt. Hood

 Metals”) contributed at least 828,480 lbs. of materials to the Chemetco Site. These materials

 were generated by Mt. Hood Metals and contained hazardous substances.

        5109. To date, Mt. Hood Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5110. According to Chemetco Site records, Defendant Mt. Pleasant (“Mt. Pleasant”)

 contributed at least 57 lbs. of materials to the Chemetco Site. These materials were generated by

 Mt. Pleasant and contained hazardous substances.

        5111. To date, Mt. Pleasant has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5112. According to Chemetco Site records, Defendant Mt. Vernon Metal (“Mt. Vernon

 Metal”) contributed at least 10,421 lbs. of materials to the Chemetco Site. These materials were

 generated by Mt. Vernon Metal and contained hazardous substances.

        5113. To date, Mt. Vernon Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5114. According to Chemetco Site records, Defendant MTM Salvage (“MTM Salvage”)

 contributed at least 5,401 lbs. of materials to the Chemetco Site. These materials were generated

 by MTM Salvage and contained hazardous substances.

        5115. To date, MTM Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5116. According to Chemetco Site records, Defendant Mueller Brass Company

 (“Mueller Brass”) contributed at least 36,509 lbs. of materials to the Chemetco Site. These

 materials were generated by Mueller Brass and contained hazardous substances.

        5117. To date, Mueller Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5118. Defendant Mueller Die Cut Solutions, Inc. (“Mueller Solutions”) is responsible

 for the waste attributable to Mueller Belting and Specialty Co., Inc. (“Mueller Belting”).

        5119. On or about September 24, 2004, Mueller Belting amended its name to Mueller

 Solutions.

        5120. According to Chemetco Site records, Mueller Belting contributed at least 3,317

 lbs. of materials to the Chemetco Site. These materials were generated by Mueller Belting and

 contained hazardous substances.

        5121. To date, Mueller Solutions has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5122. Defendant Mueller Systems, LLC (“Mueller Systems”) is responsible for the

 waste attributable to Hersey Meters Co., LLC also known as Hersey Products (“Hersey”).

        5123. In or about 2009, Mueller Water Products, Inc. created Mueller Systems by

 combining Arkion Systems and Hersey.

        5124. According to Chemetco Site records, Hersey contributed at least 216,726 lbs. of

 materials to the Chemetco Site. These materials were generated by Hersey and contained

 hazardous substances.

        5125. To date, Mueller Systems has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5126. According to Chemetco Site records, Defendant Multi Metal Recycling Inc.

 (“Multi Metal Recycling”) contributed at least 43,803 lbs. of materials to the Chemetco Site.

 These materials were generated by Multi Metal Recycling and contained hazardous substances.

        5127. To date, Multi Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5128. According to Chemetco Site records, Defendant Multicore Solders, Inc.

 (“Multicore Solders”) contributed at least 22,334 lbs. of materials to the Chemetco Site. These

 materials were generated by Multicore Solders and contained hazardous substances.

        5129. To date, Multicore Solders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5130. According to Chemetco Site records, Defendant Multimetco Dearborn

 (“Multimetco Dearborn”) contributed at least 1,047 lbs. of materials to the Chemetco Site. These

 materials were generated by Multimetco Dearborn and contained hazardous substances.

        5131. To date, Multimetco Dearborn has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5132. According to Chemetco Site records, Defendant Multimetco Los Angeles

 (“Multimetco LA”) contributed at least 154 lbs. of materials to the Chemetco Site. These

 materials were generated by Multimetco LA and contained hazardous substances.

        5133. To date, Multimetco LA has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5134. According to Chemetco Site records, Defendant Multimetco Tampa (“Multimetco

 Tampa”) contributed at least 10,076 lbs. of materials to the Chemetco Site. These materials were

 generated by Multimetco Tampa and contained hazardous substances.




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        5135. To date, Multimetco Tampa has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5136. According to Chemetco Site records, Defendant Multimetco, Inc. (“Multimetco”)

 contributed at least 129,979 lbs. of materials to the Chemetco Site. These materials were

 generated by Multimetco and contained hazardous substances.

        5137. To date, Multimetco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5138. According to Chemetco Site records, Defendant Murphy’s Spec (“Murphy’s

 Spec”) contributed at least 5,878 lbs. of materials to the Chemetco Site. These materials were

 generated by Murphy’s Spec and contained hazardous substances.

        5139. To date, Murphy’s Spec has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5140. Defendant Mursix Corp. (“Mursix”) is responsible for the waste attributable to

 Twoson Tool Co. (“Twoson Tool”).

        5141. According to Chemetco Site records, Twoson Tool contributed at least 122,461

 lbs. of materials to the Chemetco Site. These materials were generated by Twoson Tool and

 contained hazardous substances.

        5142. To date, Mursix has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5143. According to Chemetco Site records, Defendant Muse Cores Supply Co. (“Muse

 Cores”) contributed at least 14,734 lbs. of materials to the Chemetco Site. These materials were

 generated by Muse Cores and contained hazardous substances.




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        5144. To date, Muse Cores has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5145. According to Chemetco Site records, Defendant Muskegon Rag & Metal Co.

 (“Muskegon Rag”) contributed at least 33,240 lbs. of materials to the Chemetco Site. These

 materials were generated by Muskegon Rag and contained hazardous substances.

        5146. To date, Muskegon Rag has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5147. According to Chemetco Site records, Defendant Mustang Metal (“Mustang

 Metal”) contributed at least 4,780 lbs. of materials to the Chemetco Site. These materials were

 generated by Mustang Metal and contained hazardous substances.

        5148. To date, Mustang Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5149. According to Chemetco Site records, Defendant Myers Bros. Gin, Inc. (“Myers

 Bros.”) contributed at least 27,551 lbs. of materials to the Chemetco Site. These materials were

 generated by Myers Bros. and contained hazardous substances.

        5150. To date, Myers Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5151. According to Chemetco Site records, Defendant Myrtle Beach (“Myrtle Beach”)

 contributed at least 42,187 lbs. of materials to the Chemetco Site. These materials were

 generated by Myrtle Beach and contained hazardous substances.

        5152. To date, Myrtle Beach has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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           5153. According to Chemetco Site records, Defendant Myrtle Beach Scrap Metal

 (“Myrtle Beach Scrap”) contributed at least 16,783 lbs. of materials to the Chemetco Site. These

 materials were generated by Myrtle Beach Scrap and contained hazardous substances.

           5154. To date, Myrtle Beach Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

           5155. Defendant Nacho’s Auto Repair ("Nacho’s Auto Repair") is responsible for the

 waste attributable to Nacho’s Auto, Inc. (“Nachos’ Auto”).

           5156. In or about 1986, Nacho’s Auto was formed as a California corporation, and was

 thereafter "suspended" by the California Secretary of State.

           5157. In or about 2007, Nacho’s Auto Repair was formed as a California corporation.

           5158. Both Nacho’s Auto and Nacho’s Auto Repair’s president was and is Ignacio

 Lopez.

           5159. According to Chemetco Site records, Nachos’ Auto contributed at least 7,984 lbs.

 of materials to the Chemetco Site. These materials were generated by Nachos’ Auto and

 contained hazardous substances.

           5160. To date, Nacho’s Auto Repair has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

           5161. Defendant Napuck Salvage and Supply, LLC ("Napuck Salvage LLC") is

 responsible for the waste attributable to Napuck Salvage and Supply, Inc. (“Napuck Salvage

 Inc.”).

           5162. In or about 2011, Napuck Salvage Inc. was merged with and into Napuck Salvage

 LLC.




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        5163. According to Chemetco Site records, Napuck Salvage Inc. contributed at least

 135,522 lbs. of materials to the Chemetco Site. These materials were generated by Napuck

 Salvage Inc. and contained hazardous substances.

        5164. To date, Napuck Salvage LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5165. According to Chemetco Site records, Defendant Nation Salvage (“Nation

 Salvage”) contributed at least 1,064 lbs. of materials to the Chemetco Site. These materials were

 generated by Nation Salvage and contained hazardous substances.

        5166. To date, Nation Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5167. According to Chemetco Site records, Defendant National Aeronautics and Space

 Administration (“NASA”) contributed at least 40,340 lbs. of materials to the Chemetco Site.

 These materials were generated by NASA and contained hazardous substances.

        5168. To date, NASA has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5169. According to Chemetco Site records, Defendant National Brass Company

 (“National Brass”) contributed at least 2,367 lbs. of materials to the Chemetco Site. These

 materials were generated by National Brass and contained hazardous substances.

        5170. To date, National Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5171. According to Chemetco Site records, Defendant National Electrical Carbon

 Products, Inc. (“National Electrical Carbon”) contributed at least 770,354 lbs. of materials to the




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 Chemetco Site. These materials were generated by National Electrical Carbon and contained

 hazardous substances.

        5172. To date, National Electrical Carbon has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        5173. According to Chemetco Site records, Defendant National Exchange (“National

 Exchange”) contributed at least 279,854 lbs. of materials to the Chemetco Site. These materials

 were generated by National Exchange and contained hazardous substances.

        5174. To date, National Exchange has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5175. According to Chemetco Site records, Defendant National Metal (“National

 Metal”) contributed at least 17,116 lbs. of materials to the Chemetco Site. These materials were

 generated by National Metal and contained hazardous substances.

        5176. To date, National Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5177. According to Chemetco Site records, Defendant National Metals Company

 (“National Metals”) contributed at least 2,242,054 lbs. of materials to the Chemetco Site. These

 materials were generated by National Metals and contained hazardous substances.

        5178. To date, National Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5179. According to Chemetco Site records, Defendant National Steel (“National Steel”)

 contributed at least 7,189 lbs. of materials to the Chemetco Site. These materials were generated

 by National Steel and contained hazardous substances.




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        5180. To date, National Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5181. According to Chemetco Site records, Defendant National Waste Co. (“National

 Waste”) contributed at least 117,390 lbs. of materials to the Chemetco Site. These materials were

 generated by National Waste and contained hazardous substances.

        5182. To date, National Waste has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5183. According to Chemetco Site records, Defendant National Wire Products of MD

 (“National Wire”) contributed at least 21,199 lbs. of materials to the Chemetco Site. These

 materials were generated by National Wire and contained hazardous substances.

        5184. To date, National Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5185. According to Chemetco Site records, Defendant National Wrecking Company

 (“National Wrecking”) contributed at least 181,890 lbs. of materials to the Chemetco Site. These

 materials were generated by National Wrecking and contained hazardous substances.

        5186. To date, National Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5187. According to Chemetco Site records, Defendant Natrona Slag Co., Inc. doing

 business as Bednar Metal (“Natrona Slag”) contributed at least 27,867 lbs. of materials to the

 Chemetco Site. These materials were generated by Natrona Slag and contained hazardous

 substances.

        5188. To date, Natrona Slag has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5189. According to Chemetco Site records, Defendant Nay Scrap Metal (“Nay Scrap

 Metal”) contributed at least 3,305 lbs. of materials to the Chemetco Site. These materials were

 generated by Nay Scrap and contained hazardous substances.

        5190. To date, Nay Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5191. According to Chemetco Site records, Defendant NCR (“NCR”) contributed at

 least 135,581 lbs. of materials to the Chemetco Site. These materials were generated by NCR and

 contained hazardous substances.

        5192. To date, NCR has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5193. According to Chemetco Site records, Defendant Neal Scrap (“Neal Scrap”)

 contributed at least 31,027 lbs. of materials to the Chemetco Site. These materials were

 generated by Neal Scrap and contained hazardous substances.

        5194. To date, Neal Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5195. According to Chemetco Site records, Defendant Nebb’s Recycling, LLC (“Nebb’s

 Recycling”) contributed at least 861 lbs. of materials to the Chemetco Site. These materials were

 generated by Nebb’s Recycling and contained hazardous substances.

        5196. To date, Nebb’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5197. According to Chemetco Site records, Defendant Nebraska Public Power District

 (“NPPD”) contributed at least 14,025 lbs. of materials to the Chemetco Site. These materials

 were generated by NPPD and contained hazardous substances.




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        5198. To date, NPPD has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5199. According to Chemetco Site records, Defendant Neiman Industries (“Neiman

 Industries”) contributed at least 1,461 lbs. of materials to the Chemetco Site. These materials

 were generated by Neiman Industries and contained hazardous substances.

        5200. To date, Neiman Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5201. Defendant Nelson Refining, LLC ("Nelson Refining") is responsible for the waste

 attributable to Pioneer Refining Systems (“Pioneer Refining”).

        5202. In or about 2011, Nelson Refining filed Pioneer Refining as a trade name with the

 Utah Secretary of State, which expired in or about 2014.

        5203. According to Chemetco Site records, Pioneer Refining contributed at least 42,00

 lbs. of materials to the Chemetco Site. These materials were generated by Pioneer Refining and

 contained hazardous substances.

        5204. To date, Nelson Refining has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5205. According to Chemetco Site records, Defendant Nelson’s Iron & Metal

 (“Nelson’s Iron”) contributed at least 1,643 lbs. of materials to the Chemetco Site. These

 materials were generated by Nelson’s Iron and contained hazardous substances.

        5206. To date, Nelson’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5207. According to Chemetco Site records, Defendant Neosha Custom (“Neosha

 Custom”) contributed at least 4,504 lbs. of materials to the Chemetco Site. These materials were

 generated by Neosha Custom and contained hazardous substances.

        5208. To date, Neosha Custom has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5209. According to Chemetco Site records, Defendant NetVia Group, LLC doing

 business as W-Tek (“NetVia”) contributed at least 42,690 lbs. of materials to the Chemetco Site.

 These materials were generated by NetVia and contained hazardous substances.

        5210. To date, NetVia has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5211. According to Chemetco Site records, Defendant Network Adjusters Incorporated

 (“Network Adjusters”) contributed at least 8,435 lbs. of materials to the Chemetco Site. These

 materials were generated by Network Adjusters and contained hazardous substances.

        5212. To date, Network Adjusters has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5213. Defendant Neu Brothers Holdings, Inc. ("Neu Brothers") is responsible for the

 waste attributable to and/or is doing business as Hugo Neu Corporation (“Hugo Neu”).

        5214. On or about January 2, 1947, "Hugo Neu Corporation" was established as a New

 York corporation.

        5215. On or about January 10, 1972, "Hugo Neu Corporation" amended its name to

 Hugo Neu & Sons, Inc.

        5216. On or about May 23, 1994, Hugo Neu & Sons, Inc. amended its name to Hugo

 Neu Corporation.




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        5217. On or about January 3, 2013, Hugo Neu Corporation amended its name to Neu

 Brothers.

        5218. According to Chemetco Site records, Hugo Neu contributed at least 131,939 lbs.

 of materials to the Chemetco Site. These materials were generated by Hugo Neu and contained

 hazardous substances.

        5219. To date, Neu Brothers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5220. According to Chemetco Site records, Defendant Nevada Recycling Corp.

 (“Nevada Recycling”) contributed at least 371,343 lbs. of materials to the Chemetco Site. These

 materials were generated by Nevada Recycling and contained hazardous substances.

        5221. To date, Nevada Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5222. According to Chemetco Site records, Defendant Nevco, Inc. (“Nevco”)

 contributed at least 1,292 lbs. of materials to the Chemetco Site. These materials were generated

 by Nevco and contained hazardous substances.

        5223. To date, Nevco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5224. According to Chemetco Site records, Defendant New Castle Junkyard (“New

 Castle Junkyard”) contributed at least 104 lbs. of materials to the Chemetco Site. These materials

 were generated by New Castle Junkyard and contained hazardous substances.

        5225. To date, New Castle Junkyard has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5226. Defendant New Castle Metals Co., Ltd. ("New Castle") is responsible for the

 waste attributable to Ruby Metals, Inc. (“Ruby Metals”).

        5227. According to Chemetco Site records, Ruby Metals contributed at least 1,677,296

 lbs. of materials to the Chemetco Site. These materials were generated by Ruby Metals and

 contained hazardous substances.

        5228. To date, New Castle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5229. According to Chemetco Site records, Defendant New England Electric Wire

 Corporation (“New England Electric”) contributed at least 81,211 lbs. of materials to the

 Chemetco Site. These materials were generated by New England Electric and contained

 hazardous substances.

        5230. To date, New England Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5231. According to Chemetco Site records, Defendant New Jersey-American Water

 Company, Inc. (“NJAW”) contributed at least 5,934 lbs. of materials to the Chemetco Site.

 These materials were generated by NJAW and contained hazardous substances.

        5232. To date, NJAW has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5233. According to Chemetco Site records, Defendant New Mexico Recycling (“New

 Mexico Recycling”) contributed at least 32,819 lbs. of materials to the Chemetco Site. These

 materials were generated by New Mexico Recycling and contained hazardous substances.

        5234. To date, New Mexico Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5235. According to Chemetco Site records, Defendant New Phoenix Group, Inc. (“New

 Phoenix”) contributed at least 3,101 lbs. of materials to the Chemetco Site. These materials were

 generated by New Phoenix and contained hazardous substances.

        5236. To date, New Phoenix has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5237. According to Chemetco Site records, Defendant New Point Scrap (“New Point”)

 contributed at least 31,428 lbs. of materials to the Chemetco Site. These materials were

 generated by New Point and contained hazardous substances.

        5238. To date, New Point has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5239. According to Chemetco Site records, Defendant New York Metals (“New York

 Metals”) contributed at least 12,602 lbs. of materials to the Chemetco Site. These materials were

 generated by New York Metals and contained hazardous substances.

        5240. To date, New York Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5241. According to Chemetco Site records, Defendant Newco Metals Inc. (“Newco

 Metals”) contributed at least 72,885 lbs. of materials to the Chemetco Site. These materials were

 generated by Newco Metals and contained hazardous substances.

        5242. To date, Newco Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5243. According to Chemetco Site records, Defendant Newell Enterprises (“Newell

 Enterprises”) contributed at least 274,720 lbs. of materials to the Chemetco Site. These materials

 were generated by Newell Enterprises and contained hazardous substances.




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        5244. To date, Newell Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5245. Defendant Newell Recycling Southeast, LLC ("Newell Southeast") is responsible

 for the waste attributable to Blaze Recycling & Metals Inc. (“Blaze Recycling”).

        5246. In or about 2014, Newell Recycling of Georgia LLC ("Newell Georgia") acquired

 Blaze Recycling.

        5247. In or about March 2017, Newell Georgia was merged with and into Newell

 Southeast.

        5248. According to Chemetco Site records, Blaze Recycling contributed at least 63,368

 lbs. of materials to the Chemetco Site. These materials were generated by Blaze Recycling and

 contained hazardous substances.

        5249. To date, Newell Southeast has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5250. According to Chemetco Site records, Defendant Newhall Junk & Salvage

 (“Newhall Junk”) contributed at least 1,053 lbs. of materials to the Chemetco Site. These

 materials were generated by Newhall Junk and contained hazardous substances.

        5251. To date, Newhall Junk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5252. According to Chemetco Site records, Defendant Nexans Energy USA, Inc.

 (“Nexans Energy”) contributed at least 83,256 lbs. of materials to the Chemetco Site. These

 materials were generated by Nexans Energy and contained hazardous substances.

        5253. To date, Nexans Energy has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5254. According to Chemetco Site records, Defendant Nexans Magnet Wire USA Inc.

 (“Nexans Magnet”) contributed at least 6500 lbs. of materials to the Chemetco Site. These

 materials were generated by Nexans Magnet and contained hazardous substances.

        5255. To date, Nexans Magnet has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5256. According to Chemetco Site records, Defendant Ney Industries (“Ney Industries”)

 contributed at least 49,716 lbs. of materials to the Chemetco Site. These materials were

 generated by Ney Industries and contained hazardous substances.

        5257. To date, Ney Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5258. According to Chemetco Site records, Defendant NHR Partners, Inc. (“NHR

 Partners”) contributed materials to the Chemetco Site. These materials were generated by NHR

 Partners and contained hazardous substances.

        5259. To date, NHR Partners has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5260. Defendant Niche Trucking LLC doing business as Contractor and Tradesman

 Scrap ("Niche Trucking") is responsible for the waste attributable to Rob Ryan Inc. doing

 business as Rob-Ryan Inc. Metal Processing (“Rob-Ryan”).

        5261. In or about 2013, Rob-Ryan was merged with and into Niche Trucking.

        5262. According to Chemetco Site records, Rob-Ryan contributed at least 196,482 lbs.

 of materials to the Chemetco Site. These materials were generated by Rob-Ryan and contained

 hazardous substances.




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        5263. To date, Niche Trucking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5264. According to Chemetco Site records, Defendant Nickelson Industrial Service, Inc.

 (“Nickelson Industrial”) contributed at least 1,341,796 lbs. of materials to the Chemetco Site.

 These materials were generated by Nickelson Industrial and contained hazardous substances.

        5265. To date, Nickelson Industrial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5266. According to Chemetco Site records, Defendant Niles Iron & Metal (“Niles Iron”)

 contributed at least 15,018 lbs. of materials to the Chemetco Site. These materials were

 generated by Niles Iron and contained hazardous substances.

        5267. To date, Niles Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5268. According to Chemetco Site records, Defendant Nixalite of America, Inc.

 (“Nixalite”) contributed at least 466 lbs. of materials to the Chemetco Site. These materials were

 generated by Nixalite and contained hazardous substances.

        5269. To date, Nixalite has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5270. According to Chemetco Site records, Defendant Nixon Power Services (“Nixon

 Power”) contributed at least 6,148 lbs. of materials to the Chemetco Site. These materials were

 generated by Nixon Power and contained hazardous substances.

        5271. To date, Nixon Power has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5272. According to Chemetco Site records, Defendant NLC, Inc. (“NLC”) contributed

 at least 258,953 lbs. of materials to the Chemetco Site. These materials were generated by NLC

 and contained hazardous substances.

        5273. To date, NLC has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5274. According to Chemetco Site records, Defendant Noble Metal Co. (“Noble Metal”)

 contributed at least 5,244 lbs. of materials to the Chemetco Site. These materials were generated

 by Noble Metal and contained hazardous substances.

        5275. To date, Noble Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5276. Defendant Nokia Solutions and Networks US LLC ("Nokia Solutions") is

 responsible for the waste attributable to Nokia Mobile Phones, Inc. (“Nokia Mobile Phones”).

        5277. According to Chemetco Site records, Nokia Mobile Phones contributed at least

 7,694 lbs. of materials to the Chemetco Site. These materials were generated by Nokia Mobile

 Phones and contained hazardous substances.

        5278. To date, Nokia Solutions has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5279. According to Chemetco Site records, Defendant Noma A&E (“Noma A&E”)

 contributed at least 427 lbs. of materials to the Chemetco Site. These materials were generated

 by Noma A&E and contained hazardous substances.

        5280. To date, Noma A&E has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5281. According to Chemetco Site records, Defendant Noralco Corp. (“Noralco”)

 contributed at least 30,446 lbs. of materials to the Chemetco Site. These materials were

 generated by Noralco and contained hazardous substances.

        5282. To date, Noralco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5283. According to Chemetco Site records, Defendant Noranda Mines (“Noranda

 Mines”) contributed at least 1,596 lbs. of materials to the Chemetco Site. These materials were

 generated by Noranda Mines and contained hazardous substances.

        5284. To date, Noranda Mines has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5285. According to Chemetco Site records, Defendant Norco Feed and Recycling

 (“Norco Feed”) contributed at least 11,794 lbs. of materials to the Chemetco Site. These

 materials were generated by Norco Feed and contained hazardous substances.

        5286. To date, Norco Feed has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5287. According to Chemetco Site records, Defendant Norddeutsche (“Norddeutsche”)

 contributed at least 4,021,646 lbs. of materials to the Chemetco Site. These materials were

 generated by Norddeutsche and contained hazardous substances.

        5288. To date, Norddeutsche has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5289. According to Chemetco Site records, Defendant Nordyne Inc. (“Nordyne”)

 contributed at least 94,016 lbs. of materials to the Chemetco Site. These materials were

 generated by Nordyne and contained hazardous substances.




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        5290. To date, Nordyne has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5291. According to Chemetco Site records, Defendant Norell Foundry & Machine, Inc.

 (“Norell Foundry”) contributed at least 45,709 lbs. of materials to the Chemetco Site. These

 materials were generated by Norell Foundry and contained hazardous substances.

        5292. To date, Norell Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5293. According to Chemetco Site records, Defendant Norfolk Iron (“Norfolk Iron”)

 contributed at least 85,711 lbs. of materials to the Chemetco Site. These materials were

 generated by Norfolk Iron and contained hazardous substances.

        5294. To date, Norfolk Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5295. According to Chemetco Site records, Defendant Norris Iron & Metal, Inc.

 (“Norris Iron”) contributed at least 79,094 lbs. of materials to the Chemetco Site. These materials

 were generated by Norris Iron and contained hazardous substances.

        5296. To date, Norris Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5297. According to Chemetco Site records, Defendant North 19th Auto Salvage (“North

 19th”) contributed at least 3,872 lbs. of materials to the Chemetco Site. These materials were

 generated by North 19th and contained hazardous substances.

        5298. To date, North 19th has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5299. Defendant North American Iron & Metal, LLC ("North American Iron") is

 responsible for the waste attributable to R&F Metals Co., Inc. (“R&F Metals”).

        5300. According to Chemetco Site records, R&F Metals contributed at least 177,058

 lbs. of materials to the Chemetco Site. These materials were generated by R&F Metals and

 contained hazardous substances.

        5301. To date, North American Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5302. According to Chemetco Site records, Defendant North Bay Auto (“North Bay

 Auto”) contributed at least 6,402 lbs. of materials to the Chemetco Site. These materials were

 generated by North Bay Auto and contained hazardous substances.

        5303. To date, North Bay Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5304. According to Chemetco Site records, Defendant North County (“North County”)

 contributed at least 4,164 lbs. of materials to the Chemetco Site. These materials were generated

 by North County and contained hazardous substances.

        5305. To date, North County has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5306. According to Chemetco Site records, Defendant North Kansas City Iron & Metal,

 L.L.C. (“Kansas City Iron”) contributed at least 34,864 lbs. of materials to the Chemetco Site.

 These materials were generated by Kansas City Iron and contained hazardous substances.

        5307. To date, Kansas City Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5308. According to Chemetco Site records, Defendant North Lapeer Recycling, Inc.

 (“Lapeer Recycling”) contributed at least 837,758 lbs. of materials to the Chemetco Site. These

 materials were generated by Lapeer Recycling and contained hazardous substances.

        5309. To date, Lapeer Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5310. According to Chemetco Site records, Defendant North Shore Core (“North Shore

 Core”) contributed at least 1,673,203 lbs. of materials to the Chemetco Site. These materials

 were generated by North Shore Core and contained hazardous substances.

        5311. To date, North Shore Core has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5312. According to Chemetco Site records, Defendant North Shore Steel (“North Shore

 Steel”) contributed at least 8,542 lbs. of materials to the Chemetco Site. These materials were

 generated by North Shore Steel and contained hazardous substances.

        5313. To date, North Shore Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5314. According to Chemetco Site records, Defendant North Shore Supply Company,

 Inc. (“North Shore Supply”) contributed at least 17,983 lbs. of materials to the Chemetco Site.

 These materials were generated by North Shore Supply and contained hazardous substances.

        5315. To date, North Shore Supply has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5316. According to Chemetco Site records, Defendant North Tampa Recycling (“North

 Tampa Recycling”) contributed at least 5,552 lbs. of materials to the Chemetco Site. These

 materials were generated by North Tampa Recycling and contained hazardous substances.




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        5317. To date, North Tampa Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5318. According to Chemetco Site records, Defendant North Versailles (“North

 Versailles”) contributed at least 2,033 lbs. of materials to the Chemetco Site. These materials

 were generated by North Versailles and contained hazardous substances.

        5319. To date, North Versailles has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5320. According to Chemetco Site records, Defendant Northeast Con. (“Northeast

 Con.”) contributed at least 3,802 lbs. of materials to the Chemetco Site. These materials were

 generated by Northeast Con. and contained hazardous substances.

        5321. To date, Northeast Con. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5322. According to Chemetco Site records, Defendant Northeast Metal (“Northeast

 Metal”) contributed at least 18,111 lbs. of materials to the Chemetco Site. These materials were

 generated by Northeast Metal and contained hazardous substances.

        5323. To date, Northeast Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5324. According to Chemetco Site records, Defendant Northern Minnesota Services,

 Inc. doing business as Gilbert Iron & Metal (“Gilbert Iron”) contributed at least 55,265 lbs. of

 materials to the Chemetco Site. These materials were generated by Gilbert Iron and contained

 hazardous substances.

        5325. To date, Gilbert Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5326. According to Chemetco Site records, Defendant Northern Mountain State Metals,

 Inc. (“Northern Mountain Metals”) contributed at least 87,802 lbs. of materials to the Chemetco

 Site. These materials were generated by Northern Mountain Metals and contained hazardous

 substances.

        5327. To date, Northern Mountain Metals has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        5328. According to Chemetco Site records, Defendant Northern Tele. (“Northern

 Tele.”) contributed at least 1,566.0 lbs. of materials to the Chemetco Site. These materials were

 generated by Northern Tele. and contained hazardous substances.

        5329. To date, Northern Tele. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5330. According to Chemetco Site records, Defendant Northland Recycling (“Northland

 Recycling”) contributed at least 744 lbs. of materials to the Chemetco Site. These materials were

 generated by Northland Recycling and contained hazardous substances.

        5331. To date, Northland Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5332. According to Chemetco Site records, Defendant Northside Rec. (“Northside

 Rec.”) contributed at least 51,537 lbs. of materials to the Chemetco Site. These materials were

 generated by Northside Rec. and contained hazardous substances.

        5333. To date, Northside Rec. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5334. Defendant Northside Scrap Metals, Inc. ("Northside Scrap") is responsible for the

 waste attributable to Paul Warhola Scrap Metals, Inc. (“Warhola Scrap Metals”).




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        5335. According to Chemetco Site records, Warhola Scrap Metals contributed at least

 481,665 lbs. of materials to the Chemetco Site. These materials were generated by Warhola

 Scrap Metals and contained hazardous substances.

        5336. To date, Northside Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5337. According to Chemetco Site records, Defendant Northstar Recycling (“Northstar

 Recycling”) contributed at least 262,060 lbs. of materials to the Chemetco Site. These materials

 were generated by Northstar Recycling and contained hazardous substances.

        5338. To date, Northstar Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5339. Defendant Northstate Recycling ("Northstate Recycling") is responsible for the

 waste attributable to Short’s Scrap Iron & Metal Inc. (“Short’s Metal”).

        5340. According to Chemetco Site records, Short’s Metal contributed at least 552,227

 lbs. of materials to the Chemetco Site. These materials were generated by Short’s Metal and

 contained hazardous substances.

        5341. To date, Northstate Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5342. According to Chemetco Site records, Defendant Northwest Company (“Northwest

 Company”) contributed at least 2,428,701 lbs. of materials to the Chemetco Site. These materials

 were generated by Northwest Company and contained hazardous substances.

        5343. To date, Northwest Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5344. According to Chemetco Site records, Defendant Northwest Recycling, Inc.

 (“NWR”) contributed at least 334,279 lbs. of materials to the Chemetco Site. These materials

 were generated by NWR and contained hazardous substances.

        5345. To date, NWR has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5346. According to Chemetco Site records, Defendant Northwestern Metal Co.

 (“Northwestern Metal”) contributed at least 25,088 lbs. of materials to the Chemetco Site. These

 materials were generated by Northwestern Metal and contained hazardous substances.

        5347. To date, Northwestern Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5348. According to Chemetco Site records, Defendant Nova PB (“Nova PB”)

 contributed at least 24,324 lbs. of materials to the Chemetco Site. These materials were

 generated by Nova PB and contained hazardous substances.

        5349. To date, Nova PB has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5350. According to Chemetco Site records, Defendant NOVA Scientific, Inc. (“NOVA

 Scientific”) contributed at least 8,540 lbs. of materials to the Chemetco Site. These materials

 were generated by NOVA Scientific and contained hazardous substances.

        5351. To date, NOVA Scientific has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5352. According to Chemetco Site records, Defendant Novak Auto Corp. (“Novak

 Auto”) contributed at least 9,594 lbs. of materials to the Chemetco Site. These materials were

 generated by Novak Auto and contained hazardous substances.




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        5353. To date, Novak Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5354. According to Chemetco Site records, Defendant Novick Iron & Metal (“Novick

 Iron”) contributed at least 61,180 lbs. of materials to the Chemetco Site. These materials were

 generated by Novick Iron and contained hazardous substances.

        5355. To date, Novick Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5356. According to Chemetco Site records, Defendant NSM (“NSM”) contributed at

 least 3,749 lbs. of materials to the Chemetco Site. These materials were generated by NSM and

 contained hazardous substances.

        5357. To date, NSM has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5358. According to Chemetco Site records, Defendant Nu-Cor (“Nu-Cor”) contributed

 at least 79,625 lbs. of materials to the Chemetco Site. These materials were generated by Nu-Cor

 and contained hazardous substances.

        5359. To date, Nu-Cor has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5360. According to Chemetco Site records, Defendant Number 1 Recycling Inc.

 (“Number 1 Recycling”) contributed at least 152,007 lbs. of materials to the Chemetco Site.

 These materials were generated by Number 1 Recycling and contained hazardous substances.

        5361. To date, Number 1 Recycling has not paid any response costs incurred by the

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        5362. According to Chemetco Site records, Defendant Nytex Automatic Products, Inc.

 (“Nytex Automatic”) contributed at least 12,020 lbs. of materials to the Chemetco Site. These

 materials were generated by Nytex Automatic and contained hazardous substances.

        5363. To date, Nytex Automatic has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5364. According to Chemetco Site records, Defendant O’Brien Recycling Corp.

 (“O’Brien Recycling”) contributed at least 24,082 lbs. of materials to the Chemetco Site. These

 materials were generated by O’Brien Recycling and contained hazardous substances.

        5365. To date, O’Brien Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5366. According to Chemetco Site records, Defendant O’Dells Iron & Metal (“O’Dells

 Iron”) contributed at least 85,720 lbs. of materials to the Chemetco Site. These materials were

 generated by O’Dells Iron and contained hazardous substances.

        5367. To date, O’Dells Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5368. According to Chemetco Site records, Defendant O&W Steel & Metal Products

 (“O&W Steel”) contributed at least 8,058 lbs. of materials to the Chemetco Site. These materials

 were generated by O&W Steel and contained hazardous substances.

        5369. To date, O&W Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5370. According to Chemetco Site records, Defendant Oakes Foundry, Inc. (“Oakes

 Foundry”) contributed at least 582,069 lbs. of materials to the Chemetco Site. These materials

 were generated by Oakes Foundry and contained hazardous substances.




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        5371. To date, Oakes Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5372. According to Chemetco Site records, Defendant OBRON Atlantic Corporation

 (“OBRON Atlantic”) contributed at least 10,510 lbs. of materials to the Chemetco Site. These

 materials were generated by OBRON Atlantic and contained hazardous substances.

        5373. To date, OBRON Atlantic has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5374. According to Chemetco Site records, Defendant Ocala Recycling, Inc. (“Ocala

 Recycling”) contributed at least 38,200 lbs. of materials to the Chemetco Site. These materials

 were generated by Ocala Recycling and contained hazardous substances.

        5375. To date, Ocala Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5376. According to Chemetco Site records, Defendant Ocean State Metals, Inc. (“Ocean

 Metals”) contributed at least 151,612 lbs. of materials to the Chemetco Site. These materials

 were generated by Ocean Metals and contained hazardous substances.

        5377. To date, Ocean Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5378. According to Chemetco Site records, Defendant Oetterer Salvage, LLC (“Oetterer

 Salvage”) contributed at least 16,578 lbs. of materials to the Chemetco Site. These materials

 were generated by Oetterer Salvage and contained hazardous substances.

        5379. To date, Oetterer Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5380. According to Chemetco Site records, Defendant Ohio Recycling, Inc. (“Ohio

 Recycling”) contributed at least 28,692 lbs. of materials to the Chemetco Site. These materials

 were generated by Ohio Recycling and contained hazardous substances.

        5381. To date, Ohio Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5382. According to Chemetco Site records, Defendant OK Radiator Shop (“OK

 Radiator”) contributed at least 1,819 lbs. of materials to the Chemetco Site. These materials were

 generated by OK Radiator and contained hazardous substances.

        5383. To date, OK Radiator has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5384. According to Chemetco Site records, Defendant Okmulgee Pipe (“Okmulgee

 Pipe”) contributed at least 125 lbs. of materials to the Chemetco Site. These materials were

 generated by Okmulgee Pipe and contained hazardous substances.

        5385. To date, Okmulgee Pipe has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5386. According to Chemetco Site records, Defendant Okon Metals Inc. (“Okon

 Metals”) contributed at least 132,998 lbs. of materials to the Chemetco Site. These materials

 were generated by Okon Metals and contained hazardous substances.

        5387. To date, Okon Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5388. According to Chemetco Site records, Defendant The Okonite Company, Inc.

 (“Okonite”) contributed at least 20,935 lbs. of materials to the Chemetco Site. These materials

 were generated by Okonite and contained hazardous substances.




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        5389. To date, Okonite has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5390. According to Chemetco Site records, Defendant The Old Mill Recycling (“Old

 Mill Recycling”) contributed at least 404 lbs. of materials to the Chemetco Site. These materials

 were generated by Old Mill Recycling and contained hazardous substances.

        5391. To date, Old Mill Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5392. According to Chemetco Site records, Defendant Ollie’s Salvage (“Ollie’s

 Salvage”) contributed at least 27,584 lbs. of materials to the Chemetco Site. These materials

 were generated by Ollie’s Salvage and contained hazardous substances.

        5393. To date, Ollie’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5394. Defendant Olson’s Unlimited Inc. ("Olson’s Unlimited") is responsible for the

 waste attributable to Olson Auto Parts, Inc. (“Olson Auto”).

        5395. On or about April 5th, 2000, Olsen Auto amended its name to Olson’s Unlimited.

        5396. According to Chemetco Site records, Olson Auto contributed at least 2,968 lbs. of

 materials to the Chemetco Site. These materials were generated by Olson Auto and contained

 hazardous substances.

        5397. To date, Olson’s Unlimited has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5398. According to Chemetco Site records, Defendant Olympic Metals Services

 (“Olympic Metals Services”) contributed at least 42,597 lbs. of materials to the Chemetco Site.




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 These materials were generated by Olympic Metals Services and contained hazardous

 substances.

        5399. To date, Olympic Metals Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5400. According to Chemetco Site records, Defendant Omco Cast Metals, Inc. (“Omco

 Cast Metals”) contributed at least 318,426 lbs. of materials to the Chemetco Site. These materials

 were generated by Omco Cast Metals and contained hazardous substances.

        5401. To date, Omco Cast Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5402. According to Chemetco Site records, Defendant Omega Metals Company, Inc.

 (“Omega Metals”) contributed at least 44,460 lbs. of materials to the Chemetco Site. These

 materials were generated by Omega Metals and contained hazardous substances.

        5403. To date, Omega Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5404. According to Chemetco Site records, Defendant OMT Recycling (“OMT

 Recycling”) contributed at least 106,895 lbs. of materials to the Chemetco Site. These materials

 were generated by OMT Recycling and contained hazardous substances.

        5405. To date, OMT Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5406. According to Chemetco Site records, Defendant One Earth Recycling, Inc. doing

 business as California Metals (“One Earth Recycling”) contributed at least 19,476 lbs. of

 materials to the Chemetco Site. These materials were generated by One Earth Recycling and

 contained hazardous substances.




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        5407. To date, One Earth Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5408. According to Chemetco Site records, Defendant Onstate Recycling, Inc.

 (“Onstate”) contributed at least 34,575 lbs. of materials to the Chemetco Site. These materials

 were generated by Onstate and contained hazardous substances.

        5409. To date, Onstate has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5410. According to Chemetco Site records, Defendant Ontario Scrap (“Ontario Scrap”)

 contributed at least 68,935 lbs. of materials to the Chemetco Site. These materials were

 generated by Ontario Scrap and contained hazardous substances.

        5411. To date, Ontario Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5412. According to Chemetco Site records, Defendant Orange County, California

 (“Orange County”) contributed at least 12,888 lbs. of materials to the Chemetco Site. These

 materials were generated by Orange County and contained hazardous substances.

        5413. To date, Orange County has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5414. According to Chemetco Site records, Defendant Orangeburg Recycling

 (“Orangeburg Recycling”) contributed at least 386,718 lbs. of materials to the Chemetco Site.

 These materials were generated by Orangeburg Recycling and contained hazardous substances.

        5415. To date, Orangeburg Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5416. According to Chemetco Site records, Defendant Orbie (“Orbie”) contributed at

 least 1,548,769 lbs. of materials to the Chemetco Site. These materials were generated by Orbie

 and contained hazardous substances.

        5417. To date, Orbie has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5418. According to Chemetco Site records, Defendant Orbit Aluminum Industries

 (“Orbit Aluminum”) contributed at least 198 lbs. of materials to the Chemetco Site. These

 materials were generated by Orbit Aluminum and contained hazardous substances.

        5419. To date, Orbit Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5420. According to Chemetco Site records, Defendant Orlando Waste Paper Co.

 (“Orlando Waste”) contributed at least 55 lbs. of materials to the Chemetco Site. These materials

 were generated by Orlando Waste and contained hazardous substances.

        5421. To date, Orlando Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5422. According to Chemetco Site records, Defendant Orthodox Auto Company Inc.

 (“Orthodox Auto”) contributed at least 2,703 lbs. of materials to the Chemetco Site. These

 materials were generated by Orthodox Auto and contained hazardous substances.

        5423. To date, Orthodox Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5424. According to Chemetco Site records, Defendant Osage Metals (“Osage Metals”)

 contributed at least 163 lbs. of materials to the Chemetco Site. These materials were generated

 by Osage Metals and contained hazardous substances.




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        5425. To date, Osage Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5426. According to Chemetco Site records, Defendant OSRAM SYLVANIA Inc.

 (“OSRAM SYLVANIA”) contributed at least 233,780 lbs. of materials to the Chemetco Site.

 These materials were generated by OSRAM SYLVANIA and contained hazardous substances.

        5427. To date, OSRAM SYLVANIA has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5428. According to Chemetco Site records, Defendant Oster Alloys (“Oster Alloys”)

 contributed at least 15,764 lbs. of materials to the Chemetco Site. These materials were

 generated by Oster Alloys and contained hazardous substances.

        5429. To date, Oster Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5430. According to Chemetco Site records, Defendant Ostrom’s Auto Parts (“Ostrom’s

 Auto”) contributed at least 26,010 lbs. of materials to the Chemetco Site. These materials were

 generated by Ostrom’s Auto and contained hazardous substances.

        5431. To date, Ostrom’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5432. According to Chemetco Site records, Defendant Outokumpu Copper Kenosha,

 Inc. (“Outokumpu Copper”) contributed at least 3,579,423 lbs. of materials to the Chemetco Site.

 These materials were generated by Outokumpu Copper and contained hazardous substances.

        5433. To date, Outokumpu Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5434. According to Chemetco Site records, Defendant Owl Metals Inc. (“Owl Metals”)

 contributed at least 23,490 lbs. of materials to the Chemetco Site. These materials were

 generated by Owl Metals and contained hazardous substances.

        5435. To date, Owl Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5436. According to Chemetco Site records, Defendant Owl Wire & Cable Corp. (“Owl

 Wire”) contributed at least 42,668 lbs. of materials to the Chemetco Site. These materials were

 generated by Owl Wire and contained hazardous substances.

        5437. To date, Owl Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5438. According to Chemetco Site records, Defendant Ownesdale Recycling

 (“Ownesdale Recycling”) contributed at least 1,775 lbs. of materials to the Chemetco Site. These

 materials were generated by Ownesdale Recycling and contained hazardous substances.

        5439. To date, Ownesdale Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5440. According to Chemetco Site records, Defendant Oxford Alloys, Inc. (“Oxford

 Alloys”) contributed at least 3,577 lbs. of materials to the Chemetco Site. These materials were

 generated by Oxford Alloys and contained hazardous substances.

        5441. To date, Oxford Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5442. According to Chemetco Site records, Defendant Oxnard Auto R. (“Oxnard Auto”)

 contributed at least 1,323 lbs. of materials to the Chemetco Site. These materials were generated

 by Oxnard Auto and contained hazardous substances.




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        5443. To date, Oxnard Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5444. According to Chemetco Site records, Defendant Ozark Recycling Enterprise, Inc.

 (“Ozark Recycling”) contributed at least 39,600 lbs. of materials to the Chemetco Site. These

 materials were generated by Ozark Recycling and contained hazardous substances.

        5445. To date, Ozark Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5446. According to Chemetco Site records, Defendant P. Kay Metal, Inc. (“P. Kay

 Metal”) contributed at least 415,602 lbs. of materials to the Chemetco Site. These materials were

 generated by P. Kay Metal and contained hazardous substances.

        5447. To date, P. Kay Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5448. According to Chemetco Site records, Defendant P. Mcavoy Corporation, Inc. (“P.

 McAvoy”) contributed materials to the Chemetco Site. These materials were generated by P.

 McAvoy and contained hazardous substances.

        5449. To date, P. McAvoy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5450. Defendant P&C Development LLC doing business as Arizona Auto Donors

 ("P&C Development") is responsible for the waste attributable to Self Service Salvage, Inc.

 doing businesses as U-Pull-It-Full (“Self Service Salvage”).

        5451. According to Chemetco Site records, Self Service Salvage contributed at least

 19,196 lbs. of materials to the Chemetco Site. These materials were generated by Self Service

 Salvage and contained hazardous substances.




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         5452. To date, P&C Development has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         5453. According to Chemetco Site records, Defendant P&H Company (“P&H

 Company”) contributed at least 96,357 lbs. of materials to the Chemetco Site. These materials

 were generated by P&H Company and contained hazardous substances.

         5454. To date, P&H Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         5455. According to Chemetco Site records, Defendant P&S Auto Salvage (“P&S Auto”)

 contributed at least 3,039 lbs. of materials to the Chemetco Site. These materials were generated

 by P&S Auto and contained hazardous substances.

         5456. To date, P&S Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         5457. According to Chemetco Site records, Defendant Pace Recycling, Inc. (“Pace

 Recycling”) contributed at least 186,023 lbs. of materials to the Chemetco Site. These materials

 were generated by Pace Recycling and contained hazardous substances.

         5458. To date, Pace Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         5459. According to Chemetco Site records, Defendant Pacific Hide & Fur Depot

 (“Pacific Hide”) contributed at least 2,698,402 lbs. of materials to the Chemetco Site. These

 materials were generated by Pacific Hide and contained hazardous substances.

         5460. Pacific Hide used to be a Chemetco Group member, but withdrew from the

 Chemetco Group and has not agreed to pay its equitable share of response costs at the Chemetco

 Site.




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        5461. According to Chemetco Site records, Defendant Pacific Metal Co. (“Pacific

 Metal”) contributed at least 170,468 lbs. of materials to the Chemetco Site. These materials were

 generated by Pacific Metal and contained hazardous substances.

        5462. To date, Pacific Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5463. According to Chemetco Site records, Defendant Pacific Non-Ferrous (“Pacific

 Non-Ferrous”) contributed at least 114,383 lbs. of materials to the Chemetco Site. These

 materials were generated by Pacific Non-Ferrous and contained hazardous substances.

        5464. To date, Pacific Non-Ferrous has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5465. According to Chemetco Site records, Defendant Pacific Steel (“Pacific Steel”)

 contributed at least 4,471 lbs. of materials to the Chemetco Site. These materials were generated

 by Pacific Steel and contained hazardous substances.

        5466. To date, Pacific Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5467. According to Chemetco Site records, Defendant Pacific Waste (“Pacific Waste”)

 contributed at least 41,694 lbs. of materials to the Chemetco Site. These materials were

 generated by Pacific Waste and contained hazardous substances.

        5468. To date, Pacific Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5469. According to Chemetco Site records, Defendant Packard Electric (“Packard

 Electric”) contributed at least 66,693 lbs. of materials to the Chemetco Site. These materials

 were generated by Packard Electric and contained hazardous substances.




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        5470. To date, Packard Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5471. Defendant Padnos Retail, Inc. (“Padnos Retail”) is responsible for the waste

 attributable to Alma Iron & Metal Co., Inc. (“Alma Iron”).

        5472. In or about 2010, Padnos Retail acquired Alma Iron.

        5473. According to Chemetco Site records, Alma Iron contributed at least 41,868 lbs. of

 materials to the Chemetco Site. These materials were generated by Alma Iron and contained

 hazardous substances.

        5474. Additionally, Padnos Retail is responsible for the waste attributable to Franklin &

 Son, Inc. (“Franklin & Son”).

        5475. In or about 2012, Padnos Retail acquired Franklin & Son.

        5476. According to Chemetco Site records, Franklin & Son contributed at least 274,587

 lbs. of materials to the Chemetco Site. These materials were generated by Franklin & Son and

 contained hazardous substances.

        5477. To date, Padnos Retail has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5478. According to Chemetco Site records, Defendant Painsville Recycling (“Painsville

 Recycling”) contributed at least 596,088 lbs. of materials to the Chemetco Site. These materials

 were generated by Painsville Recycling and contained hazardous substances.

        5479. To date, Painsville Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5480. According to Chemetco Site records, Defendant Palm Springs Recycling Center,

 Inc. (“Springs Recycling”) contributed at least 57,738 lbs. of materials to the Chemetco Site.

 These materials were generated by Springs Recycling and contained hazardous substances.

        5481. To date, Springs Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5482. According to Chemetco Site records, Defendant Pan Metal Corp. (“Pan Metal”)

 contributed at least 26,946 lbs. of materials to the Chemetco Site. These materials were

 generated by Pan Metal and contained hazardous substances.

        5483. To date, Pan Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5484. Defendant Panasonic Corporation of North America ("Panasonic") is responsible

 for the waste attributable to Matsushita Electric Corporation of North America (“Matsushita

 Electric”).

        5485. In or about 2005, Matsushita Electric amended its name to Panasonic.

        5486. According to Chemetco Site records, Matsushita Electric contributed at least

 41,099 lbs. of materials to the Chemetco Site. These materials were generated by Matsushita

 Electric and contained hazardous substances.

        5487. To date, Panasonic has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5488. According to Chemetco Site records, Defendant Panduit Corp. (“Panduit”)

 contributed at least 50,527 lbs. of materials to the Chemetco Site. These materials were

 generated by Panduit and contained hazardous substances.




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        5489. To date, Panduit has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5490. According to Chemetco Site records, Defendant Paris Iron & Metal Co., Inc.

 (“Paris Iron”) contributed at least 84,703 lbs. of materials to the Chemetco Site. These materials

 were generated by Paris Iron and contained hazardous substances.

        5491. To date, Paris Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5492. According to Chemetco Site records, Defendant Park Stein Inc. (“Park Stein”)

 contributed at least 235,575 lbs. of materials to the Chemetco Site. These materials were

 generated by Park Stein and contained hazardous substances.

        5493. To date, Park Stein has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5494. According to Chemetco Site records, Defendant Park Welding (“Park Welding”)

 contributed at least 66 lbs. of materials to the Chemetco Site. These materials were generated by

 Park Welding and contained hazardous substances.

        5495. To date, Park Welding has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5496. According to Chemetco Site records, Defendant Parks-Pioneer Corporation

 (“Parks-Pioneer”) contributed at least 495,109 lbs. of materials to the Chemetco Site. These

 materials were generated by Parks-Pioneer and contained hazardous substances.

        5497. To date, Parks-Pioneer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5498. According to Chemetco Site records, Defendant Parkway Iron & Metal and Park

 Stein Inc. doing business as Parkway Iron & Metal Co. Inc. (“Parkway Iron”) contributed at least

 12,184 lbs. of materials to the Chemetco Site. These materials were generated by Parkway Iron

 and contained hazardous substances.

        5499. To date, Parkway Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5500. According to Chemetco Site records, Defendant Parts Expediting and Distribution

 Company (“Parts Expediting”) contributed at least 2,159 lbs. of materials to the Chemetco Site.

 These materials were generated by Parts Expediting and contained hazardous substances.

        5501. To date, Parts Expediting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5502. According to Chemetco Site records, Defendant Pascap Company (“Pascap”)

 contributed at least 1,986,111 lbs. of materials to the Chemetco Site. These materials were

 generated by Pascap and contained hazardous substances.

        5503. To date, Pascap has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5504. According to Chemetco Site records, Defendant Patin’s Scrap (“Patin’s Scrap”)

 contributed at least 14 lbs. of materials to the Chemetco Site. These materials were generated by

 Patin’s Scrap and contained hazardous substances.

        5505. To date, Patin’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5506. According to Chemetco Site records, Defendant Patin’s Scrap Material (“Patin’s

 Scrap Material”) contributed at least 107,446 lbs. of materials to the Chemetco Site. These

 materials were generated by Patin’s Scrap Material and contained hazardous substances.

        5507. To date, Patin’s Scrap Material has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5508. According to Chemetco Site records, Defendant Patrick’s Garage & Salvage

 (“Patrick’s Garage”) contributed at least 769 lbs. of materials to the Chemetco Site. These

 materials were generated by Patrick’s Garage and contained hazardous substances.

        5509. To date, Patrick’s Garage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5510. According to Chemetco Site records, Defendant Patterson Iron (“Patterson Iron”)

 contributed at least 6,769 lbs. of materials to the Chemetco Site. These materials were generated

 by Patterson Iron and contained hazardous substances.

        5511. To date, Patterson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5512. According to Chemetco Site records, Defendant Patterson Scrap Metal

 (“Patterson Scrap”) contributed at least 19 lbs. of materials to the Chemetco Site. These materials

 were generated by Patterson Scrap and contained hazardous substances.

        5513. To date, Patterson Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5514. According to Chemetco Site records, Defendant Paul Brown Southbay Recycling

 (“Southbay Recycling”) contributed at least 2,338 lbs. of materials to the Chemetco Site. These

 materials were generated by Southbay Recycling and contained hazardous substances.




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        5515. To date, Southbay Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5516. According to Chemetco Site records, Defendant Paul Rich Roofing &

 Construction Inc. (“Rich Roofing”) contributed at least 3,192 lbs. of materials to the Chemetco

 Site. These materials were generated by Rich Roofing and contained hazardous substances.

        5517. To date, Rich Roofing has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5518. According to Chemetco Site records, Defendant Paul Snowden Enterprises

 (“Snowden Enterprises”) contributed at least 21,829 lbs. of materials to the Chemetco Site.

 These materials were generated by Snowden Enterprises and contained hazardous substances.

        5519. To date, Snowden Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5520. According to Chemetco Site records, Defendant Paul W. Zimmerman Foundries

 Company (“Zimmerman Foundries”) contributed at least 17,789 lbs. of materials to the

 Chemetco Site. These materials were generated by Zimmerman Foundries and contained

 hazardous substances.

        5521. To date, Zimmerman Foundries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5522. According to Chemetco Site records, Defendant Paul’s Inc. (“Paul’s”) contributed

 at least 213,212 lbs. of materials to the Chemetco Site. These materials were generated by Paul’s

 and contained hazardous substances.

        5523. To date, Paul’s has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        5524. According to Chemetco Site records, Defendant Paul’s Radiators (“Paul’s

 Radiators”) contributed at least 2,002 lbs. of materials to the Chemetco Site. These materials

 were generated by Paul’s Radiators and contained hazardous substances.

        5525. To date, Paul’s Radiators has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5526. According to Chemetco Site records, Defendant Paul’s Rubber (“Paul’s Rubber”)

 contributed at least 12,903 lbs. of materials to the Chemetco Site. These materials were

 generated by Paul’s Rubber and contained hazardous substances.

        5527. To date, Paul’s Rubber has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5528. According to Chemetco Site records, Defendant Payne Auto Parts (“Payne Auto”)

 contributed at least 213 lbs. of materials to the Chemetco Site. These materials were generated

 by Payne Auto and contained hazardous substances.

        5529. To date, Payne Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5530. According to Chemetco Site records, Defendant PCI (“PCI”) contributed at least

 1,448 lbs. of materials to the Chemetco Site. These materials were generated by PCI and

 contained hazardous substances.

        5531. To date, PCI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5532. According to Chemetco Site records, Defendant Pearland Radiator Service

 (“Pearland Radiator”) contributed at least 17,798 lbs. of materials to the Chemetco Site. These

 materials were generated by Pearland Radiator and contained hazardous substances.




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        5533. To date, Pearland Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5534. According to Chemetco Site records, Defendant Pearson Scrap (“Pearson Scrap”)

 contributed at least 321,409 lbs. of materials to the Chemetco Site. These materials were

 generated by Pearson Scrap and contained hazardous substances.

        5535. To date, Pearson Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5536. According to Chemetco Site records, Defendant Pechiney World Trade

 (“Pechiney”) contributed at least 3,043 lbs. of materials to the Chemetco Site. These materials

 were generated by Pechiney and contained hazardous substances.

        5537. To date, Pechiney has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5538. According to Chemetco Site records, Defendant Pelco Systems (“Pelco Systems”)

 contributed at least 132,760 lbs. of materials to the Chemetco Site. These materials were

 generated by Pelco Systems and contained hazardous substances.

        5539. To date, Pelco Systems has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5540. According to Chemetco Site records, Defendant Pelham Auto (“Pelham Auto”)

 contributed at least 12,319 lbs. of materials to the Chemetco Site. These materials were

 generated by Pelham Auto and contained hazardous substances.

        5541. To date, Pelham Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5542. According to Chemetco Site records, Defendant Penn Metal Stamping, Inc.

 (“Penn Metal Stamping”) contributed at least 5,345 lbs. of materials to the Chemetco Site. These

 materials were generated by Penn Metal Stamping and contained hazardous substances.

        5543. To date, Penn Metal Stamping has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5544. According to Chemetco Site records, Defendant Penn Recycling (“Penn

 Recycling”) contributed materials to the Chemetco Site. These materials were generated by Penn

 Recycling and contained hazardous substances.

        5545. To date, Penn Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5546. According to Chemetco Site records, Defendant Pensacola Scrap (“Pensacola

 Scrap”) contributed at least 894 lbs. of materials to the Chemetco Site. These materials were

 generated by Pensacola Scrap and contained hazardous substances.

        5547. To date, Pensacola Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5548. According to Chemetco Site records, Defendant Perma-Finish, Inc. (“Perma-

 Finish”) contributed at least 188 lbs. of materials to the Chemetco Site. These materials were

 generated by Perma-Finish and contained hazardous substances.

        5549. To date, Perma-Finish has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5550. According to Chemetco Site records, Defendant Perry Iron & Metal (“Perry

 Iron”) contributed at least 12,584 lbs. of materials to the Chemetco Site. These materials were

 generated by Perry Iron and contained hazardous substances.




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        5551. To date, Perry Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5552. According to Chemetco Site records, Defendant Perry’s Scrap (“Perry’s Scrap”)

 contributed at least 143,728 lbs. of materials to the Chemetco Site. These materials were

 generated by Perry’s Scrap and contained hazardous substances.

        5553. To date, Perry’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5554. According to Chemetco Site records, Defendant Persee Chemical (“Persee

 Chemical”) contributed at least 772,436 lbs. of materials to the Chemetco Site. These materials

 were generated by Persee Chemical and contained hazardous substances.

        5555. To date, Persee Chemical has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5556. According to Chemetco Site records, Defendant Perth Amboy Spring Works, Inc.

 (“Perth Amboy”) contributed at least 17,310 lbs. of materials to the Chemetco Site. These

 materials were generated by Perth Amboy and contained hazardous substances.

        5557. To date, Perth Amboy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5558. According to Chemetco Site records, Defendant Pesses Iron & Metal (“Pesses

 Iron”) contributed at least 613 lbs. of materials to the Chemetco Site. These materials were

 generated by Pesses Iron and contained hazardous substances.

        5559. To date, Pesses Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5560. According to Chemetco Site records, Defendant Petaluma Lunk (“Petaluma

 Lunk”) contributed at least 608 lbs. of materials to the Chemetco Site. These materials were

 generated by Petaluma Lunk and contained hazardous substances.

        5561. To date, Petaluma Lunk has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5562. According to Chemetco Site records, Defendant Peter’s Scrap (“Peter’s Scrap”)

 contributed at least 2,129 lbs. of materials to the Chemetco Site. These materials were generated

 by Peter’s Scrap and contained hazardous substances.

        5563. To date, Peter’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5564. According to Chemetco Site records, Defendant Pettit’s Auto Parts & Recycling,

 Inc. (“Pettit’s Recycling”) contributed at least 41,377 lbs. of materials to the Chemetco Site.

 These materials were generated by Pettit’s Recycling and contained hazardous substances.

        5565. To date, Pettit’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5566. According to Chemetco Site records, Defendant Pfeifer Recycling, Inc. (“Pfeifer

 Recycling”) contributed at least 260,444 lbs. of materials to the Chemetco Site. These materials

 were generated by Pfeifer Recycling and contained hazardous substances.

        5567. To date, Pfeifer Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5568. Defendant Pfeiffer & Son, Ltd. ("Pfeiffer & Son") is responsible for the waste

 attributable to Pfeiffer Electric Company (“Pfeiffer Electric”).




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        5569. According to Chemetco Site records, Pfeiffer Electric contributed at least 1,073

 lbs. of materials to the Chemetco Site. These materials were generated by Pfeiffer Electric and

 contained hazardous substances.

        5570. To date, Pfeiffer & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5571. According to Chemetco Site records, Defendant Philip Brothers (“Philip

 Brothers”) contributed at least 77,812 lbs. of materials to the Chemetco Site. These materials

 were generated by Philip Brothers and contained hazardous substances.

        5572. To date, Philip Brothers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5573. According to Chemetco Site records, Defendant Philip Dubrinsky Enterprises,

 Inc. (“Phillip Dubrinsky”) contributed at least 2,770,258 lbs. of materials to the Chemetco Site.

 These materials were generated by Phillip Dubrinsky and contained hazardous substances.

        5574. To date, Phillip Dubrinsky has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5575. According to Chemetco Site records, Defendant Philip Metals - Luria Bros.

 (“Philip Metals- Luria”) contributed at least 78,260 lbs. of materials to the Chemetco Site. These

 materials were generated by Philip Metals- Luria and contained hazardous substances.

        5576. To date, Philip Metals- Luria has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5577. According to Chemetco Site records, Defendant Philip Trading Int’l Inc. (“Philip

 Trading”) contributed at least 2,160,943 lbs. of materials to the Chemetco Site. These materials

 were generated by Philip Trading and contained hazardous substances.




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        5578. To date, Philip Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5579. Defendant Philips Electronics North America Corporation (“Philips”) is

 responsible for the waste attributable to Advance Transformer Co. (“Advance Transformer”).

        5580. Advance Transformer is a former division of Philips.

        5581. According to Chemetco Site records, Advance Transformer contributed at least

 501,750 lbs. of materials to the Chemetco Site. These materials were generated by Advance

 Transformer and contained hazardous substances.

        5582. Additionally, Philips is responsible for the waste attributable to Philips Display

 Components Co. (“Philips Display”).

        5583. Philips Display is a former division of Philips.

        5584. According to Chemetco Site records, Philips Display contributed at least 67,892

 lbs. of materials to the Chemetco Site. These materials were generated by Philips Display and

 contained hazardous substances.

        5585. Additionally, Philips is responsible for the waste attributable to Philips Lighting

 Company (“Philips Lighting”).

        5586. Philips Lighting is a former division of Philips.

        5587. According to Chemetco Site records, Philips Lighting contributed at least 29,240

 lbs. of materials to the Chemetco Site. These materials were generated by Philips Lighting and

 contained hazardous substances.

        5588. To date, Philips has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        5589. According to Chemetco Site records, Defendant Philips Fur (“Philips Fur”)

 contributed at least 2,528 lbs. of materials to the Chemetco Site. These materials were generated

 by Philips Fur and contained hazardous substances.

        5590. To date, Philips Fur has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5591. According to Chemetco Site records, Defendant Philips Iron (“Philips Iron”)

 contributed at least 169,466 lbs. of materials to the Chemetco Site. These materials were

 generated by Philips Iron and contained hazardous substances.

        5592. To date, Philips Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5593. According to Chemetco Site records, Defendant Phillips Industries (“Phillips

 Industries”) contributed at least 1,790 lbs. of materials to the Chemetco Site. These materials

 were generated by Phillips Industries and contained hazardous substances.

        5594. To date, Phillips Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5595. According to Chemetco Site records, Defendant Phillips Iron & Metal Inc.

 (“Phillips Iron & Metal”) contributed at least 43,322 lbs. of materials to the Chemetco Site.

 These materials were generated by Phillips Iron & Metal and contained hazardous substances.

        5596. To date, Phillips Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5597. According to Chemetco Site records, Defendant Phoenix Lock Company

 (“Phoenix Lock”) contributed at least 65,618 lbs. of materials to the Chemetco Site. These

 materials were generated by Phoenix Lock and contained hazardous substances.




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        5598. To date, Phoenix Lock has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5599. According to Chemetco Site records, Defendant Pick A Part Auto Wrecking, L.P.

 (“Pick A Part”) contributed at least 586,365 lbs. of materials to the Chemetco Site. These

 materials were generated by Pick A Part and contained hazardous substances.

        5600. To date, Pick A Part has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5601. According to Chemetco Site records, Defendant Pick and Pull (“Pick and Pull”)

 contributed at least 29,906 lbs. of materials to the Chemetco Site. These materials were

 generated by Pick and Pull and contained hazardous substances.

        5602. To date, Pick and Pull has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5603. According to Chemetco Site records, Defendant Pick Your Part (“Pick Your

 Part”) contributed at least 19 lbs. of materials to the Chemetco Site. These materials were

 generated by Pick Your Part and contained hazardous substances.

        5604. To date, Pick Your Part has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5605. According to Chemetco Site records, Defendant Pick-A-Part (“Pick-A-Part”)

 contributed at least 19,340 lbs. of materials to the Chemetco Site. These materials were

 generated by Pick-A-Part and contained hazardous substances.

        5606. To date, Pick-A-Part has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5607. According to Chemetco Site records, Defendant Pielet Bros. Trading, Inc. doing

 business as St. Louis Auto Shredding (“Pielet”) contributed at least 463,500 lbs. of materials to

 the Chemetco Site. These materials were generated by Pielet and contained hazardous

 substances.

        5608. To date, Pielet has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5609. According to Chemetco Site records, Defendant Pilgrim Auto Electric, Inc.

 (“Pilgram Auto”) contributed at least 1,357,016 lbs. of materials to the Chemetco Site. These

 materials were generated by Pilgram Auto and contained hazardous substances.

        5610. To date, Pilgram Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5611. According to Chemetco Site records, Defendant Pima Valve, LLC (“Pima

 Valve”) contributed at least 43,732 lbs. of materials to the Chemetco Site. These materials were

 generated by Pima Valve and contained hazardous substances.

        5612. To date, Pima Valve has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5613. According to Chemetco Site records, Defendant Pine Street Salvage Co. doing

 business as Scrap Processing Co. (“Pine Street Salvage”) contributed at least 548,419 lbs. of

 materials to the Chemetco Site. These materials were generated by Pine Street Salvage and

 contained hazardous substances.

        5614. To date, Pine Street Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5615. According to Chemetco Site records, Defendant Pinellas Comm. (“Pinellas”)

 contributed at least 639 lbs. of materials to the Chemetco Site. These materials were generated

 by Pinellas and contained hazardous substances.

        5616. To date, Pinellas has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5617. According to Chemetco Site records, Defendant Pingel Exchanger Service, Inc.

 (“Pingel Exchanger”) contributed at least 27,213 lbs. of materials to the Chemetco Site. These

 materials were generated by Pingel Exchanger and contained hazardous substances.

        5618. To date, Pingel Exchanger has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5619. According to Chemetco Site records, Defendant Pino’s Scrap (“Pino’s Scrap”)

 contributed at least 760 lbs. of materials to the Chemetco Site. These materials were generated

 by Pino’s Scrap and contained hazardous substances.

        5620. To date, Pino’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5621. According to Chemetco Site records, Defendant Pioneer Industries (“Pioneer”)

 contributed at least 114 lbs. of materials to the Chemetco Site. These materials were generated

 by Pioneer and contained hazardous substances.

        5622. To date, Pioneer has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5623. Defendant Pioneer Industries, Inc. ("Pioneer Industries") is responsible for the

 waste attributable to Central Brass Co. (“Central Brass”).

        5624. In or about 2006, Pioneer Industries acquired Central Brass.




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        5625. According to Chemetco Site records, Central Brass contributed at least 71,512 lbs.

 of materials to the Chemetco Site. These materials were generated by Central Brass and

 contained hazardous substances.

        5626. To date, Pioneer Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5627. According to Chemetco Site records, Defendant Pioneer Metal (“Pioneer Metal”)

 contributed at least 2,045,809 lbs. of materials to the Chemetco Site. These materials were

 generated by Pioneer Metal and contained hazardous substances.

        5628. To date, Pioneer Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5629. According to Chemetco Site records, Defendant Pirkle, Inc. (“Pirkle”) contributed

 at least 5,791 lbs. of materials to the Chemetco Site. These materials were generated by Pirkle

 and contained hazardous substances.

        5630. To date, Pirkle has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5631. According to Chemetco Site records, Defendant PJ Greco Sons, Inc. (“PJ Greco”)

 contributed at least 206,535 lbs. of materials to the Chemetco Site. These materials were

 generated by PJ Greco and contained hazardous substances.

        5632. To date, PJ Greco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5633. According to Chemetco Site records, Defendant Plant Reclamation (“Plant

 Reclamation”) contributed at least 253 lbs. of materials to the Chemetco Site. These materials

 were generated by Plant Reclamation and contained hazardous substances.




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        5634. To date, Plant Reclamation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5635. According to Chemetco Site records, Defendant Plumb Master (“Plumb Master”)

 contributed at least 11,231 lbs. of materials to the Chemetco Site. These materials were

 generated by Plumb Master and contained hazardous substances.

        5636. To date, Plumb Master has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5637. According to Chemetco Site records, Defendant Plymouth Iron (“Plymouth Iron”)

 contributed at least 3,962 lbs. of materials to the Chemetco Site. These materials were generated

 by Plymouth Iron and contained hazardous substances.

        5638. To date, Plymouth Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5639. According to Chemetco Site records, Defendant Polk Scrap Iron, Inc. (“Polk

 Scrap”) contributed at least 148,698 lbs. of materials to the Chemetco Site. These materials were

 generated by Polk Scrap and contained hazardous substances.

        5640. To date, Polk Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5641. According to Chemetco Site records, Defendant Pollack-Reading Inc. (“Pollack-

 Reading”) contributed at least 5,501 lbs. of materials to the Chemetco Site. These materials were

 generated by Pollack-Reading and contained hazardous substances.

        5642. To date, Pollack-Reading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5643. According to Chemetco Site records, Defendant Polymer Plastic Products

 (“Polymer Plastic Products”) contributed at least 160,981 lbs. of materials to the Chemetco Site.

 These materials were generated by Polymer Plastic Products and contained hazardous

 substances.

        5644. To date, Polymer Plastic Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5645. According to Chemetco Site records, Defendant Ponca Iron & Metal Co.

 (“Ponca”) contributed at least 44,952 lbs. of materials to the Chemetco Site. These materials

 were generated by Ponca and contained hazardous substances.

        5646. To date, Ponca has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5647. According to Chemetco Site records, Defendant Pontiac Coil, Inc. (“Pontiac

 Coil”) contributed at least 9,646 lbs. of materials to the Chemetco Site. These materials were

 generated by Pontiac Coil and contained hazardous substances.

        5648. To date, Pontiac Coil has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5649. According to Chemetco Site records, Defendant Poor Boy Auto Salvage (“Poor

 Boy Auto”) contributed at least 632 lbs. of materials to the Chemetco Site. These materials were

 generated by Poor Boy Auto and contained hazardous substances.

        5650. To date, Poor Boy Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5651. According to Chemetco Site records, Defendant Poor Boy Salvage (“Poor Boy

 Salvage”) contributed at least 433 lbs. of materials to the Chemetco Site. These materials were

 generated by Poor Boy Salvage and contained hazardous substances.

        5652. To date, Poor Boy Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5653. According to Chemetco Site records, Defendant Poplar Street (“Poplar Street”)

 contributed at least 3,572 lbs. of materials to the Chemetco Site. These materials were generated

 by Poplar Street and contained hazardous substances.

        5654. To date, Poplar Street has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5655. According to Chemetco Site records, Defendant Porter Auto Inc. (“Porter Auto”)

 contributed at least 1,272 lbs. of materials to the Chemetco Site. These materials were generated

 by Porter Auto and contained hazardous substances.

        5656. To date, Porter Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5657. According to Chemetco Site records, Defendant Porter Company (“Porter

 Company”) contributed at least 163 lbs. of materials to the Chemetco Site. These materials were

 generated by Porter Company and contained hazardous substances.

        5658. To date, Porter Company has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5659. Defendant Porter County Iron & Metal Recycling LLC ("Porter County Iron") is

 responsible for the waste attributable to Porter County Iron & Metal Recycling, Inc. (“Porter

 County Recycling”).




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        5660. In or about 1988, Porter County Recycling was formed as an Indiana corporation.

        5661. In or about 2013, Oscar Winksi Company acquired Porter County Recycling.

        5662. In or about 2013, Porter County Recycling was dissolved and Porter County Iron

 was formed as an Indiana limited liability company.

        5663. According to Chemetco Site records, Porter County Recycling contributed at least

 194,488 lbs. of materials to the Chemetco Site. These materials were generated by Porter County

 Recycling and contained hazardous substances.

        5664. To date, Porter County Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5665. According to Chemetco Site records, Defendant Porterville M. (“Porterville M.”)

 contributed at least 1,494 lbs. of materials to the Chemetco Site. These materials were generated

 by Porterville M. and contained hazardous substances.

        5666. To date, Porterville M. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5667. According to Chemetco Site records, Defendant Portland Iron and Metal, Inc.

 (“Portland Iron”) contributed at least 474,559 lbs. of materials to the Chemetco Site. These

 materials were generated by Portland Iron and contained hazardous substances.

        5668. To date, Portland Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5669. According to Chemetco Site records, Defendant Portland Recycling (“Portland

 Recycling”) contributed at least 28,951 lbs. of materials to the Chemetco Site. These materials

 were generated by Portland Recycling and contained hazardous substances.




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        5670. To date, Portland Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5671. According to Chemetco Site records, Defendant Posner Metal Ltd. (“Posner

 Metal”) contributed at least 89,882 lbs. of materials to the Chemetco Site. These materials were

 generated by Posner Metal and contained hazardous substances.

        5672. To date, Posner Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5673. According to Chemetco Site records, Defendant Possehl Monta (“Possehl

 Monta”) contributed at least 307,421 lbs. of materials to the Chemetco Site. These materials

 were generated by Possehl Monta and contained hazardous substances.

        5674. To date, Possehl Monta has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5675. According to Chemetco Site records, Defendant Potter & Brumfield (“Potter &

 Brumfield”) contributed at least 1,130 lbs. of materials to the Chemetco Site. These materials

 were generated by Potter & Brumfield and contained hazardous substances.

        5676. To date, Potter & Brumfield has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5677. According to Chemetco Site records, Defendant Power Magnetics, Inc. (“Power

 Magnetics”) contributed at least 103,458 lbs. of materials to the Chemetco Site. These materials

 were generated by Power Magnetics and contained hazardous substances.

        5678. To date, Power Magnetics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5679. According to Chemetco Site records, Defendant Power Mount (“Power Mount”)

 contributed at least 6,827 lbs. of materials to the Chemetco Site. These materials were generated

 by Power Mount and contained hazardous substances.

        5680. To date, Power Mount has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5681. According to Chemetco Site records, Defendant Powercom Services

 (“Powercom”) contributed at least 38,326 lbs. of materials to the Chemetco Site. These materials

 were generated by Powercom and contained hazardous substances.

        5682. To date, Powercom has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5683. According to Chemetco Site records, Defendant Powerline Scrap Metal, Inc.

 (“Powerline Scrap”) contributed at least 60,614 lbs. of materials to the Chemetco Site. These

 materials were generated by Powerline Scrap and contained hazardous substances.

        5684. To date, Powerline Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5685. Defendant PPMC, Inc. ("PPMC") is responsible for the waste attributable to

 Piping Plumbing Mechanical Contractors, Inc. (“Piping Contractors”).

        5686. In or about 1983, Piping Contractors was formed as a North Carolina corporation

 with its principal office at 7400 Millbrook Road, Harrisburg, North Carolina 28075 (the

 "Harrisburg address").

        5687. In or about 2010, PPMC was formed as a North Carolina corporation.

        5688. PPMC’s principal location of business is at the Harrisburg address.

        5689. On or about December 14, 2015, Piping Contractors was dissolved.




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        5690. According to Chemetco Site records, Piping Contractors contributed at least

 97,827 lbs. of materials to the Chemetco Site. These materials were generated by Piping

 Contractors and contained hazardous substances.

        5691. To date, PPMC has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5692. According to Chemetco Site records, Defendant Prairie State (“Prairie State”)

 contributed at least 422 lbs. of materials to the Chemetco Site. These materials were generated

 by Prairie State and contained hazardous substances.

        5693. To date, Prairie State has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5694. According to Chemetco Site records, Defendant Precise Alloys Corporation

 (“Precise Alloys”) contributed at least 67,397 lbs. of materials to the Chemetco Site. These

 materials were generated by Precise Alloys and contained hazardous substances.

        5695. To date, Precise Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5696. According to Chemetco Site records, Defendant Precise Metal Products Company

 (“Precise Metal”) contributed at least 123 lbs. of materials to the Chemetco Site. These materials

 were generated by Precise Metal and contained hazardous substances.

        5697. To date, Precise Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5698. According to Chemetco Site records, Defendant Premises Metals & Recycling,

 Inc. (“Premises Metals”) contributed at least 196,851 lbs. of materials to the Chemetco Site.

 These materials were generated by Premises Metals and contained hazardous substances.




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        5699. To date, Premises Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5700. According to Chemetco Site records, Defendant Prengler Iron & Metal,

 Incorporated (“Prengler Iron”) contributed at least 20,606 lbs. of materials to the Chemetco Site.

 These materials were generated by Prengler Iron and contained hazardous substances.

        5701. To date, Prengler Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5702. According to Chemetco Site records, Defendant Prescott Metals (“Prescott

 Metals”) contributed at least 154,214 lbs. of materials to the Chemetco Site. These materials

 were generated by Prescott Metals and contained hazardous substances.

        5703. To date, Prescott Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5704. According to Chemetco Site records, Defendant Prescott Recycling (“Prescott

 Recycling”) contributed at least 9,129 lbs. of materials to the Chemetco Site. These materials

 were generated by Prescott Recycling and contained hazardous substances.

        5705. To date, Prescott Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5706. According to Chemetco Site records, Defendant Prestolite Wire (“Prestolite

 Wire”) contributed at least 1,763 lbs. of materials to the Chemetco Site. These materials were

 generated by Prestolite Wire and contained hazardous substances.

        5707. To date, Prestolite Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5708. According to Chemetco Site records, Defendant Preston Recycling Inc. (“Preston

 Recycling”) contributed at least 10,992 lbs. of materials to the Chemetco Site. These materials

 were generated by Preston Recycling and contained hazardous substances.

        5709. To date, Preston Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5710. According to Chemetco Site records, Defendant Price Pfister (“Price Pfister”)

 contributed at least 2,716,245 lbs. of materials to the Chemetco Site. These materials were

 generated by Price Pfister and contained hazardous substances.

        5711. To date, Price Pfister has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5712. According to Chemetco Site records, Defendant Prime Metal Supply LLC

 (“Prime Metal”) contributed at least 19,631 lbs. of materials to the Chemetco Site. These

 materials were generated by Prime Metal and contained hazardous substances.

        5713. To date, Prime Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5714. According to Chemetco Site records, Defendant Prism Recycling (“Prism

 Recycling”) contributed at least 142,010 lbs. of materials to the Chemetco Site. These materials

 were generated by Prism Recycling and contained hazardous substances.

        5715. To date, Prism Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5716. According to Chemetco Site records, Defendant Pro-Cal (“Pro-Cal”) contributed

 at least 939 lbs. of materials to the Chemetco Site. These materials were generated by Pro-Cal

 and contained hazardous substances.




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        5717. To date, Pro-Cal has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5718. According to Chemetco Site records, Defendant Professional Plumbing Corp.

 (“Professional Plumbing”) contributed at least 3,104 lbs. of materials to the Chemetco Site.

 These materials were generated by Professional Plumbing and contained hazardous substances.

        5719. To date, Professional Plumbing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5720. According to Chemetco Site records, Defendant Progress Rail Services (“Progress

 Rail”) contributed at least 42,046 lbs. of materials to the Chemetco Site. These materials were

 generated by Progress Rail and contained hazardous substances.

        5721. To date, Progress Rail has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5722. According to Chemetco Site records, Defendant Proler International Corp.

 (“Proler International”) contributed at least 547,225 lbs. of materials to the Chemetco Site. These

 materials were generated by Proler International and contained hazardous substances.

        5723. To date, Proler International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5724. According to Chemetco Site records, Defendant Proler Southwest Corporation

 (“Proler SW”) contributed at least 447,416 lbs. of materials to the Chemetco Site. These

 materials were generated by Proler SW and contained hazardous substances.

        5725. To date, Proler SW has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5726. According to Chemetco Site records, Defendant Proler Steel Corporation (“Proler

 Steel”) contributed at least 279,597 lbs. of materials to the Chemetco Site. These materials were

 generated by Proler Steel and contained hazardous substances.

        5727. To date, Proler Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5728. According to Chemetco Site records, Defendant Prolerized Schiabo Neu Co.

 (“Prolerized Schiabo”) contributed at least 88,034 lbs. of materials to the Chemetco Site. These

 materials were generated by Prolerized Schiabo and contained hazardous substances.

        5729. To date, Prolerized Schiabo has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5730. According to Chemetco Site records, Defendant Propiedades E. (“Propiedades”)

 contributed at least 1,341,332 lbs. of materials to the Chemetco Site. These materials were

 generated by Propiedades and contained hazardous substances.

        5731. To date, Propiedades has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5732. According to Chemetco Site records, Defendant Propiedades Esmeralda, S.A.

 C.V. (“Propiedades Esmeralda”) contributed at least 29,593,000 lbs. of materials to the

 Chemetco Site. These materials were generated by Propiedades Esmeralda and contained

 hazardous substances.

        5733. To date, Propiedades Esmeralda has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5734. According to Chemetco Site records, Defendant Providence Technologies, Inc.

 (“Providence Technologies”) contributed at least 28,582 lbs. of materials to the Chemetco Site.




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 These materials were generated by Providence Technologies and contained hazardous

 substances.

        5735. To date, Providence Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5736. According to Chemetco Site records, Defendant Pruitt Iron and Metal (“Pruitt

 Iron”) contributed at least 14,974 lbs. of materials to the Chemetco Site. These materials were

 generated by Pruitt Iron and contained hazardous substances.

        5737. To date, Pruitt Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5738. Defendant PSC Metals, Inc. (“PSC Metals”) is responsible for the waste

 attributable to Waxman Resources, Inc. (“Waxman Resources”).

        5739. In or about 1993, Philip Environmental Services Corporation acquired Waxman

 Resources, which thereafter became part of Waxman Resources (USA) Inc. (“Waxman

 Resources (USA)”).

        5740. In or about 1996, Waxman Resources (USA) amended its name to Philip Metals

 Recovery (USA) Inc. (“Philip Metals Recovery”).

        5741. In or about 2002, Philip Metals Recovery was merged with and into PSC Metals.

        5742. According to Chemetco Site records, Waxman Resources contributed at least

 45,900 lbs. of materials to the Chemetco Site. These materials were generated by Waxman

 Resources and contained hazardous substances.

        5743. Additionally, PSC Metals is responsible for the waste attributable to Philip Metals

 Inc. (“Philip Metals”).

        5744. In or about 2000, Philip Metals amended its name to PSC Metals.




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        5745. According to Chemetco Site records, Philip Metals contributed at least 5,639,068

 lbs. of materials to the Chemetco Site. These materials were generated by Philip Metals and

 contained hazardous substances.

        5746. To date, PSC Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5747. According to Chemetco Site records, Defendant Public Utility District No. 1 of

 Clark County (“CCPUD”) contributed at least 13,150 lbs. of materials to the Chemetco Site.

 These materials were generated by CCPUD and contained hazardous substances.

        5748. To date, CCPUD has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5749. According to Chemetco Site records, Defendant Pull & Save Auto Parts Inc.

 (“Pull & Save”) contributed at least 78,980 lbs. of materials to the Chemetco Site. These

 materials were generated by Pull & Save and contained hazardous substances.

        5750. To date, Pull & Save has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5751. Alternatively, Defendant Spaldings Inc. doing business as Pull & Save Auto Parts

 (“Spaldings”) is responsible for the waste attributable to Pull & Save, as alleged in paragraph no.

 5749 above.

        5752. To date, Spaldings has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5753. According to Chemetco Site records, Defendant Purcell Metal (“Purcell Metal”)

 contributed at least 113,902 lbs. of materials to the Chemetco Site. These materials were

 generated by Purcell Metal and contained hazardous substances.




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        5754. To date, Purcell Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5755. According to Chemetco Site records, Defendant Putnam Plastics Corporation

 (“Putnam”) contributed at least 17,594 lbs. of materials to the Chemetco Site. These materials

 were generated by Putnam and contained hazardous substances.

        5756. To date, Putnam has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5757. Defendant PVS Nolwood, Inc. ("PVS Nolwood") is responsible for the waste

 attributable to Sagar Enterprises, Inc. (“Sagar Enterprises”).

        5758. In or about July 2015, PVS Nolwood acquired the assets of Sagar Enterprises.

        5759. According to Chemetco Site records, Sagar Enterprises contributed at least 31,995

 lbs. of materials to the Chemetco Site. These materials were generated by Sagar Enterprises and

 contained hazardous substances.

        5760. To date, PVS Nolwood has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5761. According to Chemetco Site records, Defendant Pyropure, Inc. (“Pyropure”)

 contributed materials to the Chemetco Site. These materials were generated by Pyropure and

 contained hazardous substances.

        5762. To date, Pyropure has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5763. According to Chemetco Site records, Defendant Qnet (“Qnet”) contributed at

 least 342 lbs. of materials to the Chemetco Site. These materials were generated by Qnet and

 contained hazardous substances.




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        5764. To date, Qnet has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5765. According to Chemetco Site records, Defendant QRS, Inc. doing business as

 Southside Recycling (“QRS”) contributed at least 148,482 lbs. of materials to the Chemetco Site.

 These materials were generated by QRS and contained hazardous substances.

        5766. Additionally, QRS is responsible for the waste attributable to Riverside

 Recycling, Inc. (“Riverside Recycling”).

        5767. On or about February 9, 1981, Riverside Recycling amended its name to QRS.

        5768. According to Chemetco Site records, Riverside Recycling contributed at least

 69,719 lbs. of materials to the Chemetco Site. These materials were generated by Riverside

 Recycling and contained hazardous substances.

        5769. To date, QRS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5770. According to Chemetco Site records, Defendant Quality Metal (“Quality Metal”)

 contributed at least 41,994 lbs. of materials to the Chemetco Site. These materials were

 generated by Quality Metal and contained hazardous substances.

        5771. To date, Quality Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5772. According to Chemetco Site records, Defendant Quality Metals, Inc. (“Quality

 Metals”) contributed at least 97,642 lbs. of materials to the Chemetco Site. These materials were

 generated by Quality Metals and contained hazardous substances.

        5773. To date, Quality Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5774. According to Chemetco Site records, Defendant Quality Meter Repair & Supply

 Inc. (“Quality Meter”) contributed at least 11,833 lbs. of materials to the Chemetco Site. These

 materials were generated by Quality Meter and contained hazardous substances.

        5775. To date, Quality Meter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5776. Defendant Quality Parts Supply, Ltd. (“Quality Supply”) is responsible for the

 waste attributable to Quality Core Company, Ltd. (“Quality Core”).

        5777. In or about 2000, Quality Core was registered with the Texas Secretary of State,

 with President Billy Hoover at 15844 S. Interstate 35, Bruceville, Texas.

        5778. Quality Core is currently inactive with the Texas Secretary of State.

        5779. In or about 2002, Quality Supply was registered with the Texas Secretary of State,

 with President Billy Hoover at 15844 S. Interstate 35, Bruceville, Texas.

        5780. Quality Supply is currently active with the Texas Secretary of State.

        5781. According to Chemetco Site records, Quality Core contributed at least 315,247

 lbs. of materials to the Chemetco Site. These materials were generated by Quality Core and

 contained hazardous substances.

        5782. To date, Quality Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5783. According to Chemetco Site records, Defendant Quantum Resource Recovery,

 Inc. (“Quantum Recovery”) contributed materials to the Chemetco Site. These materials were

 generated by Quantum Recovery and contained hazardous substances.

        5784. To date, Quantum Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5785. According to Chemetco Site records, Defendant Quantum Resources Inc.

 (“Quantum Resources”) contributed at least 2,077,597 lbs. of materials to the Chemetco Site.

 These materials were generated by Quantum Resources and contained hazardous substances.

        5786. To date, Quantum Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5787. According to Chemetco Site records, Defendant Quimet (“Quimet”) contributed

 at least 81,553 lbs. of materials to the Chemetco Site. These materials were generated by Quimet

 and contained hazardous substances.

        5788. To date, Quimet has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5789. According to Chemetco Site records, Defendant RS Scrap Metal, Inc. (“RS

 Scrap”) contributed materials to the Chemetco Site. These materials were generated by RS Scrap

 and contained hazardous substances.

        5790. To date, RS Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5791. Defendant R. Isaac Real Estate and Development, LLC (“Isaac Real Estate”) is

 responsible for the waste attributable to AMR Industries, Inc. (“AMR Industries”).

        5792. According to Chemetco Site records, AMR Industries contributed at least 170,329

 lbs. of materials to the Chemetco Site. These materials were generated by AMR Industries and

 contained hazardous substances.

        5793. To date, Isaac Real Estate has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5794. According to Chemetco Site records, Defendant R. Staten Metal (“Staten Metal”)

 contributed at least 16,240 lbs. of materials to the Chemetco Site. These materials were

 generated by Staten Metal and contained hazardous substances.

        5795. To date, Staten Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5796. According to Chemetco Site records, Defendant R. Trezza & Son, Inc. (“Trezza &

 Son”) contributed at least 1,985,907 lbs. of materials to the Chemetco Site. These materials were

 generated by Trezza & Son and contained hazardous substances.

        5797. To date, Trezza & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5798. According to Chemetco Site records, Defendant R.E. Crash (“RE Crash”)

 contributed at least 74,004 lbs. of materials to the Chemetco Site. These materials were

 generated by RE Crash and contained hazardous substances.

        5799. To date, RE Crash has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5800. According to Chemetco Site records, Defendant R’s Recycling LLC (“R’s

 Recycling”) contributed at least 178,050 lbs. of materials to the Chemetco Site. These materials

 were generated by R’s Recycling and contained hazardous substances.

        5801. To date, R’s Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5802. According to Chemetco Site records, Defendant R&D Recycling (“R&D

 Recycling”) contributed at least 1,366 lbs. of materials to the Chemetco Site. These materials

 were generated by R&D Recycling and contained hazardous substances.




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        5803. To date, R&D Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5804. According to Chemetco Site records, Defendant R&H Recycling (“R&H

 Recycling”) contributed at least 276,295 lbs. of materials to the Chemetco Site. These materials

 were generated by R&H Recycling and contained hazardous substances.

        5805. To date, R&H Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5806. According to Chemetco Site records, Defendant R&L Metals, Inc. (“R&L

 Metals”) contributed at least 524,844 lbs. of materials to the Chemetco Site. These materials

 were generated by R&L Metals and contained hazardous substances.

        5807. To date, R&L Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5808. According to Chemetco Site records, Defendant R&L Recycling (“R&L

 Recycling”) contributed at least 8,636 lbs. of materials to the Chemetco Site. These materials

 were generated by R&L Recycling and contained hazardous substances.

        5809. To date, R&L Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5810. According to Chemetco Site records, Defendant R&L Scrap (“R&L Scrap”)

 contributed at least 16,076 lbs. of materials to the Chemetco Site. These materials were

 generated by R&L Scrap and contained hazardous substances.

        5811. To date, R&L Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5812. According to Chemetco Site records, Defendant R&L Sheet Metal Co. (“R&L

 Sheet”) contributed at least 1,658 lbs. of materials to the Chemetco Site. These materials were

 generated by R&L Sheet and contained hazardous substances.

        5813. To date, R&L Sheet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5814. According to Chemetco Site records, Defendant R&M Metals, Inc. (“R&M

 Metals”) contributed at least 379,841 lbs. of materials to the Chemetco Site. These materials

 were generated by R&M Metals and contained hazardous substances.

        5815. To date, R&M Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5816. According to Chemetco Site records, Defendant R&M Midwest (“R&M

 Midwest”) contributed at least 46,370 lbs. of materials to the Chemetco Site. These materials

 were generated by R&M Midwest and contained hazardous substances.

        5817. To date, R&M Midwest has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5818. According to Chemetco Site records, Defendant R&M Salvage (“R&M Salvage”)

 contributed at least 2,730 lbs. of materials to the Chemetco Site. These materials were generated

 by R&M Salvage and contained hazardous substances.

        5819. To date, R&M Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5820. According to Chemetco Site records, Defendant R&R Auto Parts (“R&R Auto”)

 contributed at least 19 lbs. of materials to the Chemetco Site. These materials were generated by

 R&R Auto and contained hazardous substances.




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        5821. To date, R&R Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5822. According to Chemetco Site records, Defendant R&R Industries, Inc. (“R&R

 Industries”) contributed at least 10,449 lbs. of materials to the Chemetco Site. These materials

 were generated by R&R Industries and contained hazardous substances.

        5823. To date, R&R Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5824. According to Chemetco Site records, Defendant R&R Metal Co., Inc. (“R&R

 Metal”) contributed at least 41,345 lbs. of materials to the Chemetco Site. These materials were

 generated by R&R Metal and contained hazardous substances.

        5825. To date, R&R Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5826. According to Chemetco Site records, Defendant R&R Metals Recycling Inc.

 (“R&R Recycling”) contributed at least 151,256 lbs. of materials to the Chemetco Site. These

 materials were generated by R&R Recycling and contained hazardous substances.

        5827. To date, R&R Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5828. According to Chemetco Site records, Defendant R&R Scrap Metals (“R&R

 Metals”) contributed at least 176,676 lbs. of materials to the Chemetco Site. These materials

 were generated by R&R Metals and contained hazardous substances.

        5829. To date, R&R Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5830. According to Chemetco Site records, Defendant R&Z Metal Recycling Corp.

 (“R&Z Metal”) contributed at least 425,507 lbs. of materials to the Chemetco Site. These

 materials were generated by R&Z Metal and contained hazardous substances.

        5831. To date, R&Z Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5832. According to Chemetco Site records, Defendant RAC Materials, LLC (“RAC

 Materials”) contributed at least 5,688 lbs. of materials to the Chemetco Site. These materials

 were generated by RAC Materials and contained hazardous substances.

        5833. To date, RAC Materials has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5834. According to Chemetco Site records, Defendant Racine Salvage (“Racine

 Salvage”) contributed at least 674 lbs. of materials to the Chemetco Site. These materials were

 generated by Racine Salvage and contained hazardous substances.

        5835. To date, Racine Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5836. Defendant Radiation Protection Products, Inc. (“Radiation Protection”) is

 responsible for the waste attributable to Norval Industries, Inc. (“Norval Industries”).

        5837. According to Chemetco Site records, Norval Industries contributed at least

 1,373,367 lbs. of materials to the Chemetco Site. These materials were generated by Norval

 Industries and contained hazardous substances.

        5838. To date, Radiation Protection has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5839. According to Chemetco Site records, Defendant Raff’s Recycling (“Raff’s

 Recycling”) contributed at least 1,018 lbs. of materials to the Chemetco Site. These materials

 were generated by Raff’s Recycling and contained hazardous substances.

        5840. To date, Raff’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5841. According to Chemetco Site records, Defendant Rageis and Son (“Rageis and

 Son”) contributed at least 10,394 lbs. of materials to the Chemetco Site. These materials were

 generated by Rageis and Son and contained hazardous substances.

        5842. To date, Rageis and Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5843. According to Chemetco Site records, Defendant Railway & Industrial Services

 Inc. (“Railway Services”) contributed at least 13,815 lbs. of materials to the Chemetco Site.

 These materials were generated by Railway Services and contained hazardous substances.

        5844. To date, Railway Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5845. According to Chemetco Site records, Defendant Rainbow Recycling (“Rainbow

 Recycling”) contributed at least 279,709 lbs. of materials to the Chemetco Site. These materials

 were generated by Rainbow Recycling and contained hazardous substances.

        5846. To date, Rainbow Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5847. Defendant Rake, Inc. (“Rake”) is responsible for the waste attributable to Phillips

 Recycling Systems, Inc. (“Phillips Recycling”).

        5848. In or about 2007, Phillips Recycling amended its name to Rake.




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        5849. According to Chemetco Site records, Phillips Recycling contributed at least

 266,340 lbs. of materials to the Chemetco Site. These materials were generated by Phillips

 Recycling and contained hazardous substances.

        5850. To date, Rake has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5851. According to Chemetco Site records, Defendant RAKI Computer Recycling

 (“RAKI Computer”) contributed at least 953,074 lbs. of materials to the Chemetco Site. These

 materials were generated by RAKI Computer and contained hazardous substances.

        5852. To date, RAKI Computer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5853. According to Chemetco Site records, Defendant Rams Metal (“Rams Metal”)

 contributed at least 2,503 lbs. of materials to the Chemetco Site. These materials were generated

 by Rams Metal and contained hazardous substances.

        5854. To date, Rams Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5855. According to Chemetco Site records, Defendant Randall Textra (“Randall

 Textra”) contributed at least 88,009 lbs. of materials to the Chemetco Site. These materials were

 generated by Randall Textra and contained hazardous substances.

        5856. To date, Randall Textra has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5857. According to Chemetco Site records, Defendant Ransdall Recycling (“Ransdall

 Recycling”) contributed at least 15,892 lbs. of materials to the Chemetco Site. These materials

 were generated by Ransdall Recycling and contained hazardous substances.




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        5858. To date, Ransdall Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5859. According to Chemetco Site records, Defendant Rapco (“Rapco”) contributed at

 least 4,592 lbs. of materials to the Chemetco Site. These materials were generated by Rapco and

 contained hazardous substances.

        5860. To date, Rapco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5861. According to Chemetco Site records, Defendant RAS, Inc. (“RAS”) contributed at

 least 97,170 lbs. of materials to the Chemetco Site. These materials were generated by RAS and

 contained hazardous substances.

        5862. To date, RAS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5863. According to Chemetco Site records, Defendant Raven Wire Co. (“Raven Wire”)

 contributed at least 11,781 lbs. of materials to the Chemetco Site. These materials were

 generated by Raven Wire and contained hazardous substances.

        5864. To date, Raven Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5865. According to Chemetco Site records, Defendant Ray-Mar Steel (“Ray-Mar”)

 contributed at least 1,504 lbs. of materials to the Chemetco Site. These materials were generated

 by Ray-Mar and contained hazardous substances.

        5866. To date, Ray-Mar has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5867. According to Chemetco Site records, Defendant Raycar Distribution Co. (“Raycar

 Distribution”) contributed at least 76,285 lbs. of materials to the Chemetco Site. These materials

 were generated by Raycar Distribution and contained hazardous substances.

        5868. To date, Raycar Distribution has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5869. According to Chemetco Site records, Defendant Rayloc Division (“Rayloc”)

 contributed at least 132 lbs. of materials to the Chemetco Site. These materials were generated

 by Rayloc and contained hazardous substances.

        5870. To date, Rayloc has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5871. According to Chemetco Site records, Defendant Raymer Metals (“Raymer

 Metals”) contributed at least 263,803 lbs. of materials to the Chemetco Site. These materials

 were generated by Raymer Metals and contained hazardous substances.

        5872. To date, Raymer Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5873. According to Chemetco Site records, Defendant RD Screw Machine Products,

 Inc. (“RD Machine Products”) contributed at least 10,251 lbs. of materials to the Chemetco Site.

 These materials were generated by RD Machine Products and contained hazardous substances.

        5874. To date, RD Machine Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5875. According to Chemetco Site records, Defendant Rea Magnet Wire Company, Inc.

 (“Rea Magnet”) contributed at least 142,285 lbs. of materials to the Chemetco Site. These

 materials were generated by Rea Magnet and contained hazardous substances.




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        5876. To date, Rea Magnet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5877. According to Chemetco Site records, Defendant Reading Anthracite Company

 (“Reading Anthracite”) contributed at least 43,240 lbs. of materials to the Chemetco Site. These

 materials were generated by Reading Anthracite and contained hazardous substances.

        5878. To date, Reading Anthracite has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5879. According to Chemetco Site records, Defendant Reading Tube (“Reading Tube”)

 contributed at least 1,076,115 lbs. of materials to the Chemetco Site. These materials were

 generated by Reading Tube and contained hazardous substances.

        5880. To date, Reading Tube has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5881. According to Chemetco Site records, Defendant Real Beaudoin (“Real

 Beaudoin”) contributed at least 104,653 lbs. of materials to the Chemetco Site. These materials

 were generated by Real Beaudoin and contained hazardous substances.

        5882. To date, Real Beaudoin has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5883. According to Chemetco Site records, Defendant Recicladora (“Recicladora”)

 contributed at least 107,058 lbs. of materials to the Chemetco Site. These materials were

 generated by Recicladora and contained hazardous substances.

        5884. To date, Recicladora has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5885. According to Chemetco Site records, Defendant Recicladora de Metals

 (“Recicladora de Metals”) contributed at least 177,064 lbs. of materials to the Chemetco Site.

 These materials were generated by Recicladora de Metals and contained hazardous substances.

        5886. To date, Recicladora de Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5887. According to Chemetco Site records, Defendant Reciclajes del Isimo, S.A.

 (“Reciclajes del Isimo”) contributed at least 307,181 lbs. of materials to the Chemetco Site.

 These materials were generated by Reciclajes del Isimo and contained hazardous substances.

        5888. To date, Reciclajes del Isimo has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5889. According to Chemetco Site records, Defendant Recla Metals, L.L.L.P. (“Recla

 Metals”) contributed at least 26,289 lbs. of materials to the Chemetco Site. These materials were

 generated by Recla Metals and contained hazardous substances.

        5890. To date, Recla Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5891. According to Chemetco Site records, Defendant Recovery Options, Inc. of

 Colorado (“Recovery Options”) contributed materials to the Chemetco Site. These materials

 were generated by Recovery Options and contained hazardous substances.

        5892. To date, Recovery Options has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5893. According to Chemetco Site records, Defendant Recyclage Mil. (“Recyclage”)

 contributed at least 159 lbs. of materials to the Chemetco Site. These materials were generated

 by Recyclage and contained hazardous substances.




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        5894. To date, Recyclage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5895. According to Chemetco Site records, Defendant Recycle America (“Recycle

 America”) contributed at least 1,429 lbs. of materials to the Chemetco Site. These materials were

 generated by Recycle America and contained hazardous substances.

        5896. To date, Recycle America has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5897. According to Chemetco Site records, Defendant Recycle World (“Recycle

 World”) contributed at least 90,907 lbs. of materials to the Chemetco Site. These materials were

 generated by Recycle World and contained hazardous substances.

        5898. To date, Recycle World has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5899. According to Chemetco Site records, Defendant Recycleable Inc. (“Recycleable”)

 contributed at least 275 lbs. of materials to the Chemetco Site. These materials were generated

 by Recycleable and contained hazardous substances.

        5900. To date, Recycleable has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5901. According to Chemetco Site records, Defendant Recyclers -R- Resources, Inc.

 (“Recyclers Resources”) contributed at least 7,427 lbs. of materials to the Chemetco Site. These

 materials were generated by Recyclers Resources and contained hazardous substances.

        5902. To date, Recyclers Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5903. According to Chemetco Site records, Defendant Recyclers of Oklahoma, Inc.

 (“Recyclers of OK”) contributed at least 284,727 lbs. of materials to the Chemetco Site. These

 materials were generated by Recyclers of OK and contained hazardous substances.

        5904. To date, Recyclers of OK has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5905. According to Chemetco Site records, Defendant The Recycling Center

 (“Recycling Center”) contributed at least 54 lbs. of materials to the Chemetco Site. These

 materials were generated by Recycling Center and contained hazardous substances.

        5906. To date, Recycling Center has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5907. According to Chemetco Site records, Defendant Recycling Concepts, Inc.

 (“Recycling Concepts”) contributed materials to the Chemetco Site. These materials were

 generated by Recycling Concepts and contained hazardous substances.

        5908. To date, Recycling Concepts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5909. Defendant Recycling Coordinators, Inc. (“Recycling Coordinators”) is

 responsible for the waste attributable to Recycled Plastic Technology, Inc. (“Recycled Plastic”).

        5910. According to Chemetco Site records, Recycled Plastic contributed at least 40,580

 lbs. of materials to the Chemetco Site. These materials were generated by Recycled Plastic and

 contained hazardous substances.

        5911. To date, Recycling Coordinators has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5912. According to Chemetco Site records, Defendant The Recycling Depot, Inc.

 (“Recycling Depot”) contributed at least 30,026 lbs. of materials to the Chemetco Site. These

 materials were generated by Recycling Depot and contained hazardous substances.

        5913. To date, Recycling Depot has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5914. According to Chemetco Site records, Defendant Recycling Industries of Tyler,

 Inc. (“Recycling Industries of Tyler”) contributed at least 333,599 lbs. of materials to the

 Chemetco Site. These materials were generated by Recycling Industries of Tyler and contained

 hazardous substances.

        5915. To date, Recycling Industries of Tyler has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        5916. According to Chemetco Site records, Defendant Recycling Industries of

 Wisconsin (“Recycling Industries WI”) contributed at least 731,549 lbs. of materials to the

 Chemetco Site. These materials were generated by Recycling Industries WI and contained

 hazardous substances.

        5917. To date, Recycling Industries WI has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5918. According to Chemetco Site records, Defendant Recycling Service Centers

 (“Recycling Service Centers”) contributed at least 990 lbs. of materials to the Chemetco Site.

 These materials were generated by Recycling Service Centers and contained hazardous

 substances.

        5919. To date, Recycling Service Centers has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.




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        5920. According to Chemetco Site records, Defendant Recycling Unlimited Corporation

 (“Recycling Unlimited”) contributed at least 106 lbs. of materials to the Chemetco Site. These

 materials were generated by Recycling Unlimited and contained hazardous substances.

        5921. To date, Recycling Unlimited has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5922. According to Chemetco Site records, Defendant Recyco, Inc. doing business as

 Mariposa Recycling (“Recyco”) contributed at least 24,234 lbs. of materials to the Chemetco

 Site. These materials were generated by Recyco and contained hazardous substances.

        5923. To date, Recyco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5924. According to Chemetco Site records, Defendant Reding Recycling (“Reding

 Recycling”) contributed at least 1,609 lbs. of materials to the Chemetco Site. These materials

 were generated by Reding Recycling and contained hazardous substances.

        5925. To date, Reding Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5926. According to Chemetco Site records, Defendant Reflective Recycling, Inc.

 (“Reflective Recycing”) contributed materials to the Chemetco Site. These materials were

 generated by Reflective Recycing and contained hazardous substances.

        5927. To date, Reflective Recycing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5928. According to Chemetco Site records, Defendant Regal Finance, Inc. (“Regal

 Finance”) contributed at least 2,141 lbs. of materials to the Chemetco Site. These materials were

 generated by Regal Finance and contained hazardous substances.




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        5929. To date, Regal Finance has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5930. According to Chemetco Site records, Defendant Regal Recycling, Inc. (“Regal

 Recycling”) contributed at least 159,957 lbs. of materials to the Chemetco Site. These materials

 were generated by Regal Recycling and contained hazardous substances.

        5931. To date, Regal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5932. According to Chemetco Site records, Defendant Regional Recycling, LLC

 (“Regional Recycling”) contributed at least 320,537 lbs. of materials to the Chemetco Site. These

 materials were generated by Regional Recycling and contained hazardous substances.

        5933. To date, Regional Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5934. According to Chemetco Site records, Defendant Reman, Inc. (“Reman”)

 contributed at least 1,633,132 lbs. of materials to the Chemetco Site. These materials were

 generated by Reman and contained hazardous substances.

        5935. To date, Reman has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5936. According to Chemetco Site records, Defendant Remelt Industries (“Remelt

 Industries”) contributed at least 16,237 lbs. of materials to the Chemetco Site. These materials

 were generated by Remelt Industries and contained hazardous substances.

        5937. To date, Remelt Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5938. According to Chemetco Site records, Defendant Reno Salvage (“Reno Slavage”)

 contributed at least 689 lbs. of materials to the Chemetco Site. These materials were generated

 by Reno Slavage and contained hazardous substances.

        5939. To date, Reno Slavage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5940. According to Chemetco Site records, Defendant Renu Recycling, Inc. doing

 business as L&L Recycling Co. (“Renu Recycling”) contributed at least 166,672 lbs. of materials

 to the Chemetco Site. These materials were generated by Renu Recycling and contained

 hazardous substances.

        5941. To date, Renu Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5942. Defendant Republic Crane and Equipment Company (“Republic Crane”) is

 responsible for the waste attributable to Republic Alloys Inc. (“Republic Alloys”).

        5943. In or about 1998, Republic Alloys amended its name to Republic Crane.

        5944. According to Chemetco Site records, Republic Alloys contributed at least 130,190

 lbs. of materials to the Chemetco Site. These materials were generated by Republic Alloys and

 contained hazardous substances.

        5945. To date, Republic Crane has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5946. According to Chemetco Site records, Defendant Republic Metals Corporation

 (“Republic Metals”) contributed at least 108,873 lbs. of materials to the Chemetco Site. These

 materials were generated by Republic Metals and contained hazardous substances.




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        5947. To date, Republic Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5948. According to Chemetco Site records, Defendant Reserve Iron (“Reserve Iron”)

 contributed at least 251 lbs. of materials to the Chemetco Site. These materials were generated

 by Reserve Iron and contained hazardous substances.

        5949. To date, Reserve Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5950. According to Chemetco Site records, Defendant Reserve Metals (“Reserve

 Metals”) contributed at least 21,215 lbs. of materials to the Chemetco Site. These materials were

 generated by Reserve Metals and contained hazardous substances.

        5951. To date, Reserve Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5952. According to Chemetco Site records, Defendant Reserve Trading Inc. (“Reserve

 Trading”) contributed at least 838,639 lbs. of materials to the Chemetco Site. These materials

 were generated by Reserve Trading and contained hazardous substances.

        5953. To date, Reserve Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5954. According to Chemetco Site records, Defendant Resno Trading (“Resno

 Trading”) contributed at least 2,973 lbs. of materials to the Chemetco Site. These materials were

 generated by Resno Trading and contained hazardous substances.

        5955. To date, Resno Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5956. According to Chemetco Site records, Defendant Resource Management

 Enterprises, Inc. doing business as Resource Management Companies (“Resource Management”)

 contributed at least 85,960 lbs. of materials to the Chemetco Site. These materials were

 generated by Resource Management and contained hazardous substances.

        5957. To date, Resource Management has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5958. According to Chemetco Site records, Defendant Resource Recovery (“Resource

 Recovery”) contributed at least 480 lbs. of materials to the Chemetco Site. These materials were

 generated by Resource Recovery and contained hazardous substances.

        5959. To date, Resource Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5960. According to Chemetco Site records, Defendant Resource Recycling

 International, Inc. (“Resource Recycling International”) contributed at least 1,421 lbs. of

 materials to the Chemetco Site. These materials were generated by Resource Recycling

 International and contained hazardous substances.

        5961. To date, Resource Recycling International has not paid any response costs

 incurred by the Chemetco Group at the Chemetco Site.

        5962. According to Chemetco Site records, Defendant Resources Alloys and Metals,

 Inc. (“Resources Alloys”) contributed at least 115,932 lbs. of materials to the Chemetco Site.

 These materials were generated by Resources Alloys and contained hazardous substances.

        5963. To date, Resources Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5964. According to Chemetco Site records, Defendant The Retrofit Companies

 (“Retrofit”) contributed at least 48,768 lbs. of materials to the Chemetco Site. These materials

 were generated by Retrofit and contained hazardous substances.

        5965. To date, Retrofit has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5966. According to Chemetco Site records, Defendant Reuters (“Reuters”) contributed

 at least 604 lbs. of materials to the Chemetco Site. These materials were generated by Reuters

 and contained hazardous substances.

        5967. To date, Reuters has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        5968. According to Chemetco Site records, Defendant Revere Copper Products

 (“Revere Copper”) contributed at least 6,465,594 lbs. of materials to the Chemetco Site. These

 materials were generated by Revere Copper and contained hazardous substances.

        5969. To date, Revere Copper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5970. Defendant Rexnord Corporation (“Rexnord”) is responsible for the waste

 attributable to Link-Belt Bearing Division (“Link-Belt Bearing”).

        5971. According to Chemetco Site records, Link-Belt Bearing contributed at least

 32,160 lbs. of materials to the Chemetco Site. These materials were generated by Link-Belt

 Bearing and contained hazardous substances.

        5972. To date, Rexnord has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        5973. According to Chemetco Site records, Defendant Reynolds Aluminum (“Reynolds

 Aluminum”) contributed at least 134,302 lbs. of materials to the Chemetco Site. These materials

 were generated by Reynolds Aluminum and contained hazardous substances.

        5974. To date, Reynolds Aluminum has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5975. According to Chemetco Site records, Defendant RGV Recycling, LLC (“RGV

 Recycling”) contributed at least 235,130 lbs. of materials to the Chemetco Site. These materials

 were generated by RGV Recycling and contained hazardous substances.

        5976. To date, RGV Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5977. According to Chemetco Site records, Defendant RHiMCO Industries, Inc.

 (“RHiMCO”) contributed at least 38,433 lbs. of materials to the Chemetco Site. These materials

 were generated by RHiMCO and contained hazardous substances.

        5978. To date, RHiMCO has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5979. According to Chemetco Site records, Defendant Rhodes Auto (“Rhodes Auto”)

 contributed at least 4,047 lbs. of materials to the Chemetco Site. These materials were generated

 by Rhodes Auto and contained hazardous substances.

        5980. To date, Rhodes Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5981. According to Chemetco Site records, Defendant Rice (“Rice”) contributed at least

 3,263 lbs. of materials to the Chemetco Site. These materials were generated by Rice and

 contained hazardous substances.




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        5982. To date, Rice has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        5983. According to Chemetco Site records, Defendant Rice Iron (“Rice Iron”)

 contributed at least 141,499 lbs. of materials to the Chemetco Site. These materials were

 generated by Rice Iron and contained hazardous substances.

        5984. To date, Rice Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5985. According to Chemetco Site records, Defendant Rich Metals Co. (“Rich Metals”)

 contributed at least 66,948 lbs. of materials to the Chemetco Site. These materials were

 generated by Rich Metals and contained hazardous substances.

        5986. To date, Rich Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        5987. According to Chemetco Site records, Defendant Richard Williams & Associates,

 Inc. (“Williams & Associates”) contributed at least 20 lbs. of materials to the Chemetco Site.

 These materials were generated by Williams & Associates and contained hazardous substances.

        5988. To date, Williams & Associates has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5989. According to Chemetco Site records, Defendant Richard’s Manufacturing

 (“Richard’s Manufacturing”) contributed at least 21 lbs. of materials to the Chemetco Site. These

 materials were generated by Richard’s Manufacturing and contained hazardous substances.

        5990. To date, Richard’s Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        5991. According to Chemetco Site records, Defendant Richker Metals Inc. (“Richker

 Metals”) contributed at least 44,492 lbs. of materials to the Chemetco Site. These materials were

 generated by Richker Metals and contained hazardous substances.

        5992. To date, Richker Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5993. According to Chemetco Site records, Defendant Richmond Brothers (“Richmond

 Brothers”) contributed at least 153 lbs. of materials to the Chemetco Site. These materials were

 generated by Richmond Brothers and contained hazardous substances.

        5994. To date, Richmond Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5995. According to Chemetco Site records, Defendant Richmond Industries, Inc.

 (“Richmond Industries”) contributed at least 295,916 lbs. of materials to the Chemetco Site.

 These materials were generated by Richmond Industries and contained hazardous substances.

        5996. To date, Richmond Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        5997. According to Chemetco Site records, Defendant Rifkin Scrap Iron & Metal

 Company (“Rifkin”) contributed at least 43,541 lbs. of materials to the Chemetco Site. These

 materials were generated by Rifkin and contained hazardous substances.

        5998. Additionally, Rifkin is responsible for the waste attributable to Integrity Iron &

 Metal, Incorporated (“Integrity Iron”).

        5999. In or about 2006, Rifkin acquired Integrity Iron.




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        6000. According to Chemetco Site records, Integrity Iron contributed at least 363,819

 lbs. of materials to the Chemetco Site. These materials were generated by Integrity Iron and

 contained hazardous substances.

        6001. To date, Rifkin has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6002. According to Chemetco Site records, Defendant Riley Recycling (“Riley

 Recycling”) contributed at least 9,045 lbs. of materials to the Chemetco Site. These materials

 were generated by Riley Recycling and contained hazardous substances.

        6003. To date, Riley Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6004. According to Chemetco Site records, Defendant Rimco Inc. (“Rimco”)

 contributed at least 25,295 lbs. of materials to the Chemetco Site. These materials were

 generated by Rimco and contained hazardous substances.

        6005. To date, Rimco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6006. According to Chemetco Site records, Defendant Rine Recycling (“Rine

 Recycling”) contributed at least 400,835 lbs. of materials to the Chemetco Site. These materials

 were generated by Rine Recycling and contained hazardous substances.

        6007. To date, Rine Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6008. According to Chemetco Site records, Defendant Rittman Scrap (“Rittman Scrap”)

 contributed at least 3,651,540 lbs. of materials to the Chemetco Site. These materials were

 generated by Rittman Scrap and contained hazardous substances.




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        6009. To date, Rittman Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6010. According to Chemetco Site records, Defendant Riva Services, Inc. (“Riva

 Services”) contributed at least 125,304 lbs. of materials to the Chemetco Site. These materials

 were generated by Riva Services and contained hazardous substances.

        6011. To date, Riva Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6012. According to Chemetco Site records, Defendant River City Iron & Metal Inc.

 (“River City Iron”) contributed at least 42,853 lbs. of materials to the Chemetco Site. These

 materials were generated by River City Iron and contained hazardous substances.

        6013. To date, River City Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6014. According to Chemetco Site records, Defendant River Road Recycling, Inc.

 (“River Road Recycling”) contributed at least 31,749 lbs. of materials to the Chemetco Site.

 These materials were generated by River Road Recycling and contained hazardous substances.

        6015. To date, River Road Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6016. According to Chemetco Site records, Defendant The River Smelting & Refining

 Mfg. Co. (“River Refining”) contributed at least 1,176,180 lbs. of materials to the Chemetco

 Site. These materials were generated by River Refining and contained hazardous substances.

        6017. To date, River Refining has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6018. According to Chemetco Site records, Defendant River Trading (“River Trading”)

 contributed at least 101 lbs. of materials to the Chemetco Site. These materials were generated

 by River Trading and contained hazardous substances.

        6019. To date, River Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6020. According to Chemetco Site records, Defendant Rivera Auto Parts (“Rivera

 Auto”) contributed at least 794 lbs. of materials to the Chemetco Site. These materials were

 generated by Rivera Auto and contained hazardous substances.

        6021. To date, Rivera Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6022. According to Chemetco Site records, Defendant Riverside Scrap (“Riverside

 Scrap”) contributed at least 3,672 lbs. of materials to the Chemetco Site. These materials were

 generated by Riverside Scrap and contained hazardous substances.

        6023. To date, Riverside Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6024. According to Chemetco Site records, Defendant Riverside Scrap Iron & Metal

 (“Riverside Scrap Iron”) contributed at least 887,301 lbs. of materials to the Chemetco Site.

 These materials were generated by Riverside Scrap Iron and contained hazardous substances.

        6025. To date, Riverside Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6026. According to Chemetco Site records, Defendant Riverview Properties, Inc.

 (“Riverview Properties”) contributed materials to the Chemetco Site. These materials were

 generated by Riverview Properties and contained hazardous substances.




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        6027. To date, Riverview Properties has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6028. According to Chemetco Site records, Defendant RJG Inc. (“RJG”) contributed at

 least 11 lbs. of materials to the Chemetco Site. These materials were generated by RJG and

 contained hazardous substances.

        6029. To date, RJG has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6030. According to Chemetco Site records, Defendant RMR Corporation (“RMR”)

 contributed at least 4,060 lbs. of materials to the Chemetco Site. These materials were generated

 by RMR and contained hazardous substances.

        6031. To date, RMR has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6032. Defendant RMS Communications Group, Inc. (“RMS Communications”) is

 responsible for the waste attributable to Resource Concepts Wireless Inc. (“Resource

 Concepts”).

        6033. In or about 2003, Resource Concepts was acquired by RMS Logistics, Inc.

        6034. According to Chemetco Site records, Resource Concepts contributed at least

 292,811 lbs. of materials to the Chemetco Site. These materials were generated by Resource

 Concepts and contained hazardous substances.

        6035. To date, RMS Communications has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6036. According to Chemetco Site records, Defendant Roadway Metal Company

 (“Roadway Metal”) contributed at least 2,447,926 lbs. of materials to the Chemetco Site. These

 materials were generated by Roadway Metal and contained hazardous substances.

        6037. To date, Roadway Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6038. According to Chemetco Site records, Defendant Robert’s Scrap (“Robert’s

 Scrap”) contributed at least 992 lbs. of materials to the Chemetco Site. These materials were

 generated by Robert’s Scrap and contained hazardous substances.

        6039. To date, Robert’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6040. According to Chemetco Site records, Defendant Robertson Transformer Co.

 doing business as Robertson Worldwide (“Robertson Transformer”) contributed at least 2,354

 lbs. of materials to the Chemetco Site. These materials were generated by Robertson

 Transformer and contained hazardous substances.

        6041. To date, Robertson Transformer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6042. According to Chemetco Site records, Defendant Robinson Iron (“Robinson Iron”)

 contributed at least 2,626 lbs. of materials to the Chemetco Site. These materials were generated

 by Robinson Iron and contained hazardous substances.

        6043. To date, Robinson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6044. According to Chemetco Site records, Defendant Rochester Iron (“Rochester

 Iron”) contributed at least 6,714 lbs. of materials to the Chemetco Site. These materials were

 generated by Rochester Iron and contained hazardous substances.

        6045. To date, Rochester Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6046. According to Chemetco Site records, Defendant Rockingham Scrap

 (“Rockingham Scrap”) contributed at least 2,280 lbs. of materials to the Chemetco Site. These

 materials were generated by Rockingham Scrap and contained hazardous substances.

        6047. To date, Rockingham Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6048. According to Chemetco Site records, Defendant Rockmaker Scrap (“Rockmaker

 Scrap”) contributed at least 26 lbs. of materials to the Chemetco Site. These materials were

 generated by Rockmaker Scrap and contained hazardous substances.

        6049. To date, Rockmaker Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6050. According to Chemetco Site records, Defendant Rockwool Industries

 (“Rockwool”) contributed at least 234,705 lbs. of materials to the Chemetco Site. These

 materials were generated by Rockwool and contained hazardous substances.

        6051. To date, Rockwool has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6052. According to Chemetco Site records, Defendant Rocky Mount Recycling (“Rocky

 Mount Recycling”) contributed at least 597 lbs. of materials to the Chemetco Site. These

 materials were generated by Rocky Mount Recycling and contained hazardous substances.




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        6053. To date, Rocky Mount Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6054. According to Chemetco Site records, Defendant Rocky Mountain Recycling, Inc.

 doing business as Gahagen Iron & Metal Co. (“RMR”) contributed at least 461,432 lbs. of

 materials to the Chemetco Site. These materials were generated by RMR and contained

 hazardous substances.

        6055. To date, RMR has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6056. Defendant Rocky Mountain Steel, Inc. (“Rocky Mountain Steel”) is responsible

 for the waste attributable to Rocky Mountain Recycling, Inc. (“Rocky Mountain Recycling”).

        6057. In or about December 2001, Rocky Mountain Recycling was merged with and

 into Rocky Mountain Steel.

        6058. According to Chemetco Site records, Rocky Mountain Recycling contributed at

 least 684,809 lbs. of materials to the Chemetco Site. These materials were generated by Rocky

 Mountain Recycling and contained hazardous substances.

        6059. To date, Rocky Mountain Steel has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6060. According to Chemetco Site records, Defendant Rody Truck Center of Miami,

 Inc. (“Rody Truck”) contributed at least 14,169 lbs. of materials to the Chemetco Site. These

 materials were generated by Rody Truck and contained hazardous substances.

        6061. To date, Rody Truck has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6062. According to Chemetco Site records, Defendant Roessing Bronze Company Inc.

 (“Roessing Bronze”) contributed at least 499,114 lbs. of materials to the Chemetco Site. These

 materials were generated by Roessing Bronze and contained hazardous substances.

        6063. To date, Roessing Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6064. According to Chemetco Site records, Defendant Roggentien and Sons

 (“Roggentien and Sons”) contributed at least 49,475 lbs. of materials to the Chemetco Site.

 These materials were generated by Roggentien and Sons and contained hazardous substances.

        6065. To date, Roggentien and Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6066. According to Chemetco Site records, Defendant Rohan Co. (“Rohan”) contributed

 at least 3,422 lbs. of materials to the Chemetco Site. These materials were generated by Rohan

 and contained hazardous substances.

        6067. To date, Rohan has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6068. According to Chemetco Site records, Defendant Rohanna Iron (“Rohanna Iron”)

 contributed at least 16,736 lbs. of materials to the Chemetco Site. These materials were

 generated by Rohanna Iron and contained hazardous substances.

        6069. To date, Rohanna Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6070. According to Chemetco Site records, Defendant Rola Metals Co. (“Rola Metals”)

 contributed at least 17,341 lbs. of materials to the Chemetco Site. These materials were

 generated by Rola Metals and contained hazardous substances.




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        6071. To date, Rola Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6072. Defendant Romac Industries, Inc. (“Romac”) is responsible for the waste

 attributable to Hays Fluid Controls Co. (“Hays Fluid Controls”).

        6073. According to Chemetco Site records, Hays Fluid Controls contributed at least

 505,775 lbs. of materials to the Chemetco Site. These materials were generated by Hays Fluid

 Controls and contained hazardous substances.

        6074. To date, Romac has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6075. According to Chemetco Site records, Defendant Romac Supply Co., Inc. (“Romac

 Supply”) contributed at least 257,255 lbs. of materials to the Chemetco Site. These materials

 were generated by Romac Supply and contained hazardous substances.

        6076. To date, Romac Supply has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6077. Defendant Romaine Electric Corporation (“Romaine Electric”) is responsible for

 the waste attributable to Lund & Flynn Inc. (“Lund & Flynn”).

        6078. In or about 2009, Romaine Electric acquired Lund & Flynn.

        6079. According to Chemetco Site records, Lund & Flynn contributed at least 581,024

 lbs. of materials to the Chemetco Site. These materials were generated by Lund & Flynn and

 contained hazardous substances.

        6080. To date, Romaine Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6081. Defendant Roman Manufacturing, Inc. (“Roman Manufacturing”) is responsible

 for the waste attributable to DAS Industries, Inc. (“DAS Industries”).

        6082. In or about 2009, DAS Industries was merged with and into Roman

 Manufacturing.

        6083. According to Chemetco Site records, DAS Industries contributed at least 4,194

 lbs. of materials to the Chemetco Site. These materials were generated by DAS Industries and

 contained hazardous substances.

        6084. To date, Roman Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6085. According to Chemetco Site records, Defendant Romin Iron & Metal Inc.

 (“Romin Metal”) contributed at least 69,946 lbs. of materials to the Chemetco Site. These

 materials were generated by Romin Metal and contained hazardous substances.

        6086. To date, Romin Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6087. According to Chemetco Site records, Defendant Ron Purdy Scrap (“Purdy

 Scrap”) contributed at least 21,673 lbs. of materials to the Chemetco Site. These materials were

 generated by Purdy Scrap and contained hazardous substances.

        6088. To date, Purdy Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6089. According to Chemetco Site records, Defendant Ron Singer Ltd. doing business

 as Flying Plumbers, Inc. (“Flying Plumbers”) contributed at least 4,588 lbs. of materials to the

 Chemetco Site. These materials were generated by Flying Plumbers and contained hazardous

 substances.




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         6090. To date, Flying Plumbers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         6091. According to Chemetco Site records, Defendant Ron’s Autowrecking (“Ron’s

 Autowrecking”) contributed at least 117 lbs. of materials to the Chemetco Site. These materials

 were generated by Ron’s Autowrecking and contained hazardous substances.

         6092. To date, Ron’s Autowrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

         6093. Defendant ROS Electrical Supply & Equipment Co., LLC (“ROS Electrical”) is

 responsible for the waste attributable to Rosen’s Electrical Equipment Co. (“Rosen’s

 Electrical”).

         6094. According to Chemetco Site records, Rosen’s Electrical contributed at least

 72,788 lbs. of materials to the Chemetco Site. These materials were generated by Rosen’s

 Electrical and contained hazardous substances.

         6095. To date, ROS Electrical has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

         6096. According to Chemetco Site records, Defendant Rose Co. (“Rose”) contributed at

 least 767 lbs. of materials to the Chemetco Site. These materials were generated by Rose and

 contained hazardous substances.

         6097. To date, Rose has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

         6098. According to Chemetco Site records, Defendant Rose Metal Processing (“Rose

 Metal”) contributed at least 1,478,059 lbs. of materials to the Chemetco Site. These materials

 were generated by Rose Metal and contained hazardous substances.




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        6099. To date, Rose Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6100. According to Chemetco Site records, Defendant Rose Scrap Metal (“Rose Scrap”)

 contributed at least 2,456 lbs. of materials to the Chemetco Site. These materials were generated

 by Rose Scrap and contained hazardous substances.

        6101. To date, Rose Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6102. According to Chemetco Site records, Defendant Ross Brothers Salvage Inc.

 (“Ross Brothers Salvage”) contributed at least 8,909 lbs. of materials to the Chemetco Site.

 These materials were generated by Ross Brothers Salvage and contained hazardous substances.

        6103. To date, Ross Brothers Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6104. According to Chemetco Site records, Defendant Ross Metal (“Ross Metal”)

 contributed at least 76 lbs. of materials to the Chemetco Site. These materials were generated by

 Ross Metal and contained hazardous substances.

        6105. To date, Ross Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6106. According to Chemetco Site records, Defendant Ross Recycling (“Ross

 Recycling”) contributed at least 5,551 lbs. of materials to the Chemetco Site. These materials

 were generated by Ross Recycling and contained hazardous substances.

        6107. To date, Ross Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6108. According to Chemetco Site records, Defendant RotoMetals, Inc. (“RotoMetals”)

 contributed at least 5,936 lbs. of materials to the Chemetco Site. These materials were generated

 by RotoMetals and contained hazardous substances.

        6109. To date, RotoMetals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6110. According to Chemetco Site records, Defendant Rountree, Inc. (“Rountree”)

 contributed at least 21,490 lbs. of materials to the Chemetco Site. These materials were

 generated by Rountree and contained hazardous substances.

        6111. To date, Rountree has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6112. According to Chemetco Site records, Defendant Rowe Industries Inc (“Rowe

 Industries”) contributed at least 346 lbs. of materials to the Chemetco Site. These materials were

 generated by Rowe Industries and contained hazardous substances.

        6113. To date, Rowe Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6114. According to Chemetco Site records, Defendant Roxbury Auto Wreckers Inc.

 (“Roxbury Auto”) contributed at least 255,259 lbs. of materials to the Chemetco Site. These

 materials were generated by Roxbury Auto and contained hazardous substances.

        6115. To date, Roxbury Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6116. According to Chemetco Site records, Defendant Roy Metal (“Roy Metal”)

 contributed at least 80,178 lbs. of materials to the Chemetco Site. These materials were

 generated by Roy Metal and contained hazardous substances.




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        6117. To date, Roy Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6118. According to Chemetco Site records, Defendant Royal Green (“Royal Green”)

 contributed at least 40,400 lbs. of materials to the Chemetco Site. These materials were

 generated by Royal Green and contained hazardous substances.

        6119. To date, Royal Green has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6120. According to Chemetco Site records, Defendant Royal Radiators (“Royal

 Radiators”) contributed at least 1,092 lbs. of materials to the Chemetco Site. These materials

 were generated by Royal Radiators and contained hazardous substances.

        6121. To date, Royal Radiators has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6122. According to Chemetco Site records, Defendant Royal Scrap Metal (“Royal

 Scrap”) contributed at least 165,872 lbs. of materials to the Chemetco Site. These materials were

 generated by Royal Scrap and contained hazardous substances.

        6123. To date, Royal Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6124. According to Chemetco Site records, Defendant Royal Truck (“Royal Truck”)

 contributed at least 317,940 lbs. of materials to the Chemetco Site. These materials were

 generated by Royal Truck and contained hazardous substances.

        6125. To date, Royal Truck has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6126. According to Chemetco Site records, Defendant Royal Western Computer, Inc.

 (“Royal Western”) contributed at least 3,699 lbs. of materials to the Chemetco Site. These

 materials were generated by Royal Western and contained hazardous substances.

        6127. To date, Royal Western has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6128. Defendant RT Precision Machinery, LP (“RT Precision”) is responsible for the

 waste attributable to Petroleum Science International, Inc. (“Petroleum Science”).

        6129. According to Chemetco Site records, Petroleum Science contributed at least

 176,535 lbs. of materials to the Chemetco Site. These materials were generated by Petroleum

 Science and contained hazardous substances.

        6130. To date, RT Precision has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6131. Defendant Rubicon Recycling, Inc. (“Rubicon Recycling”) is responsible for the

 waste attributable to Reding Recycling, Inc. doing business as Don’s Auto (“Reding

 Recycling”).

        6132. In or about 1981, Reding Recycling was formed as New York corporation.

        6133. In or about 1986, Reding Recycling amended its name to D.W.R. Recycling, Inc.

 (“D.W.R. Recycling”).

        6134. In or about 2012, Rubicon Recycling was formed as a New York corporation.

        6135. In or about 2013, D.W.R. Recycling was dissolved.

        6136. Both D.W.R. Recycling and Rubicon Recycling were owned and operated by the

 Destito Family at 7895 Tannery Road, Rome, New York 13440.




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        6137. According to Chemetco Site records, Reding Recycling contributed at least

 21,264 lbs. of materials to the Chemetco Site. These materials were generated by Reding

 Recycling and contained hazardous substances.

        6138. To date, Rubicon Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6139. According to Chemetco Site records, Defendant Rubino Brothers Inc. (“Rubino

 Brothers”) contributed at least 45,140 lbs. of materials to the Chemetco Site. These materials

 were generated by Rubino Brothers and contained hazardous substances.

        6140. To date, Rubino Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6141. According to Chemetco Site records, Defendant Rubtron Metal (“Rubtron Metal”)

 contributed at least 7,575 lbs. of materials to the Chemetco Site. These materials were generated

 by Rubtron Metal and contained hazardous substances.

        6142. To date, Rubtron Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6143. According to Chemetco Site records, Defendant Ruby Metals, Inc. (“Ruby

 Metals”) contributed materials to the Chemetco Site. These materials were generated by Ruby

 Metals and contained hazardous substances.

        6144. To date, Ruby Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6145. According to Chemetco Site records, Defendant Ruiz & Sons (“Ruiz & Sons”)

 contributed at least 12,919 lbs. of materials to the Chemetco Site. These materials were

 generated by Ruiz & Sons and contained hazardous substances.




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        6146. To date, Ruiz & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6147. According to Chemetco Site records, Defendant Rusk Metal Company, Inc.

 (“Rusk Metal”) contributed at least 169,601 lbs. of materials to the Chemetco Site. These

 materials were generated by Rusk Metal and contained hazardous substances.

        6148. To date, Rusk Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6149. Defendant Rvrr Enterprises, Inc. doing business as Saw Mill Auto Wreckers

 (“Rvrr Enterprises”) is responsible for the waste attributable to Saw Mill International Corp.

 (“Saw Mill International”).

        6150. According to Chemetco Site records, Saw Mill International contributed at least

 22,852 lbs. of materials to the Chemetco Site. These materials were generated by Saw Mill

 International and contained hazardous substances.

        6151. To date, Rvrr Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6152. According to Chemetco Site records, Defendant Rypac Aluminum Recycling Ltd.

 (“Rypac”) contributed at least 40,740 lbs. of materials to the Chemetco Site. These materials

 were generated by Rypac and contained hazardous substances.

        6153. To date, Rypac has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6154. Defendant S. Camerota & Sons, Inc. (“Camerota & Sons”) is responsible for the

 waste attributable to Camerota Scrap & Recycling Co. (“Camerota Recycling”).




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        6155. According to Chemetco Site records, Camerota Recycling contributed at least

 119,251 lbs. of materials to the Chemetco Site. These materials were generated by Camerota

 Recycling and contained hazardous substances.

        6156. To date, Camerota & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6157. According to Chemetco Site records, Defendant S. Johnson & Sons Inc.

 (“Johnson & Sons”) contributed at least 9,177 lbs. of materials to the Chemetco Site. These

 materials were generated by Johnson & Sons and contained hazardous substances.

        6158. To date, Johnson & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6159. According to Chemetco Site records, Defendant S. Kasowitz & Son, Inc

 (“Kasowitz & Son”) contributed at least 138,799 lbs. of materials to the Chemetco Site. These

 materials were generated by Kasowitz & Son and contained hazardous substances.

        6160. To date, Kasowitz & Son has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6161. According to Chemetco Site records, Defendant S. Mindlin & Son, Inc. (“Mindlin

 & Son”) contributed at least 24,673 lbs. of materials to the Chemetco Site. These materials were

 generated by Mindlin & Son and contained hazardous substances.

        6162. To date, Mindlin & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6163. According to Chemetco Site records, Defendant S.M.R.I Inc. (“SMRI”)

 contributed at least 27,944 lbs. of materials to the Chemetco Site. These materials were

 generated by SMRI and contained hazardous substances.




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        6164. To date, SMRI has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6165. According to Chemetco Site records, Defendant S.N.G. Alloys (“SNG Alloys”)

 contributed at least 24,279 lbs. of materials to the Chemetco Site. These materials were

 generated by SNG Alloys and contained hazardous substances.

        6166. To date, SNG Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6167. According to Chemetco Site records, Defendant S.S. Belcher Co. (“S.S. Belcher”)

 contributed at least 15,416 lbs. of materials to the Chemetco Site. These materials were

 generated by S.S. Belcher and contained hazardous substances.

        6168. To date, S.S. Belcher has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6169. According to Chemetco Site records, Defendant S.T.L. (“S.T.L.”) contributed at

 least 154 lbs. of materials to the Chemetco Site. These materials were generated by S.T.L. and

 contained hazardous substances.

        6170. To date, S.T.L. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6171. Defendant S&J Richman Corporation, Inc. (“S&J Richman”) is responsible for

 the waste attributable to I. Richman & Company Inc. (“I. Richman”).

        6172. In or about 2014, I. Richman was merged with and into S&J Richman.

        6173. According to Chemetco Site records, I. Richman contributed at least 137,380 lbs.

 of materials to the Chemetco Site. These materials were generated by I. Richman and contained

 hazardous substances.




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        6174. To date, S&J Richman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6175. According to Chemetco Site records, Defendant S&P Recycling (“S&P

 Recycling”) contributed at least 2,273 lbs. of materials to the Chemetco Site. These materials

 were generated by S&P Recycling and contained hazardous substances.

        6176. To date, S&P Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6177. According to Chemetco Site records, Defendant S&S Land De. (“S&S Land”)

 contributed at least 8,352 lbs. of materials to the Chemetco Site. These materials were generated

 by S&S Land and contained hazardous substances.

        6178. To date, S&S Land has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6179. According to Chemetco Site records, Defendant S&S Metal Recyclers (“S&S

 Metal”) contributed at least 1,169,309 lbs. of materials to the Chemetco Site. These materials

 were generated by S&S Metal and contained hazardous substances.

        6180. To date, S&S Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6181. According to Chemetco Site records, Defendant S&S Metals (“S&S Metals”)

 contributed at least 32 lbs. of materials to the Chemetco Site. These materials were generated by

 S&S Metals and contained hazardous substances.

        6182. To date, S&S Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6183. According to Chemetco Site records, Defendant S&S Railroad (“S&S Railroad”)

 contributed at least 9,680 lbs. of materials to the Chemetco Site. These materials were generated

 by S&S Railroad and contained hazardous substances.

        6184. To date, S&S Railroad has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6185. According to Chemetco Site records, Defendant S&S Services Corp. (“S&S

 Services”) contributed at least 32,585 lbs. of materials to the Chemetco Site. These materials

 were generated by S&S Services and contained hazardous substances.

        6186. To date, S&S Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6187. According to Chemetco Site records, Defendant S&W Atlas Iron & Metal Co.,

 Inc. (“S&W Atlas Iron”) contributed at least 3,854 lbs. of materials to the Chemetco Site. These

 materials were generated by S&W Atlas Iron and contained hazardous substances.

        6188. To date, S&W Atlas Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6189. According to Chemetco Site records, Defendant S&Z Mac, Inc. doing business as

 Coastal Metal Recycling (“S&Z Mac”) contributed at least 27,895 lbs. of materials to the

 Chemetco Site. These materials were generated by S&Z Mac and contained hazardous

 substances.

        6190. To date, S&Z Mac has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6191. Defendant SA Recycling LLC (“SA Recycling”) is responsible for the waste

 attributable to Abbies Recycling Center (“Abbies Recycling”).




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        6192. On or about May 22, 1997, Abbies Recycling was created as a Nevada

 corporation, with its principal place of business at 6351 Vegas Dr., Las Vegas, Nevada 89142

 (the “Las Vegas location”).

        6193. On or about December 6, 2001, Abbies Recycling was merged with and into

 Nevada Recycling Corp., which continued to do business as Abbies Recycling.

        6194. Thereafter, Abbies Recycling was acquired by and/or merged into SA Recycling

 and/or SA Recycling acquired the assets of Abbies Recycling.

        6195. SA Recycling continues to operate one of its many facilities at the Las Vegas

 location.

        6196. According to Chemetco Site records, Abbies Recycling contributed at least

 225,376 lbs. of materials to the Chemetco Site. These materials were generated by Abbies

 Recycling and contained hazardous substances.

        6197. Additionally, SA Recycling is responsible for the waste attributable to Arizona

 Recycling Corporation, Inc. (“Arizona Recycling”).

        6198. In or about 2014, SA Recycling acquired Arizona Recycling.

        6199. According to Chemetco Site records, Arizona Recycling contributed at least

 510,050 lbs. of materials to the Chemetco Site. These materials were generated by Arizona

 Recycling and contained hazardous substances.

        6200. Additionally, SA Recycling is responsible for the waste attributable to Central

 Valley Recycling (“Central Valley”).

        6201. According to Chemetco Site records, Central Valley contributed at least 124,144

 lbs. of materials to the Chemetco Site. These materials were generated by Central Valley and

 contained hazardous substances.




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        6202. Additionally, SA Recycling is responsible for the waste attributable to Hugo Neu-

 Proler Company (“Hugo Neu”).

        6203. In or about October 2005, Sims Group Ltd. (“Sims”) acquired Hugo Neu.

        6204. In or about June 2007, Sims was merged with Adams Steel LLC to create SA

 Recycling.

        6205. According to Chemetco Site records, Hugo Neu contributed at least 507,617 lbs.

 of materials to the Chemetco Site. These materials were generated by Hugo Neu and contained

 hazardous substances.

        6206. Additionally, SA Recycling is responsible for the waste attributable to Kornoff,

 Inc. also known as Recycling Management, Inc. (“Kornoff”).

        6207. According to Chemetco Site records, Kornoff contributed at least 26,463 lbs. of

 materials to the Chemetco Site. These materials were generated by Kornoff and contained

 hazardous substances.

        6208. Additionally, SA Recycling is responsible for the waste attributable to Pacific

 Coast Recycling, LLC (“Pacific Coast”).

        6209. In or about 2008, SA Recycling acquired Pacific Coast.

        6210. According to Chemetco Site records, Pacific Coast contributed at least 24,855 lbs.

 of materials to the Chemetco Site. These materials were generated by Pacific Coast and

 contained hazardous substances.

        6211. Additionally, SA Recycling is responsible for the waste attributable to Silver

 Dollar Recycling, Inc. (“Silver Dollar”).

        6212. In or about 2008, SA Recycling acquired Silver Dollar.




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        6213. According to Chemetco Site records, Silver Dollar contributed at least 313,017

 lbs. of materials to the Chemetco Site. These materials were generated by Silver Dollar and

 contained hazardous substances.

        6214. To date, SA Recycling has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6215. According to Chemetco Site records, Defendant Sabel Industries, Inc. (“Sabel

 Industries”) contributed at least 39,170 lbs. of materials to the Chemetco Site. These materials

 were generated by Sabel Industries and contained hazardous substances.

        6216. To date, Sabel Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6217. Defendant Saber Data, Ltd. (“Saber Data”) is responsible for the waste

 attributable to Saberdata, Inc. (“Saberdata”).

        6218. According to Chemetco Site records, Saberdata contributed at least 1,222 lbs. of

 materials to the Chemetco Site. These materials were generated by Saberdata and contained

 hazardous substances.

        6219. To date, Saber Data has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6220. According to Chemetco Site records, Defendant Sabot International (“Sabot”)

 contributed at least 20,179 lbs. of materials to the Chemetco Site. These materials were

 generated by Sabot and contained hazardous substances.

        6221. To date, Sabot has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        6222. According to Chemetco Site records, Defendant Sackin Metals, Inc. (“Sackin

 Metals”) contributed at least 989,978 lbs. of materials to the Chemetco Site. These materials

 were generated by Sackin Metals and contained hazardous substances.

        6223. To date, Sackin Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6224. According to Chemetco Site records, Defendant Sadoff Iron & Metal Co.

 (“Sadoff Iron & Metal”) contributed at least 647,460 lbs. of materials to the Chemetco Site.

 These materials were generated by Sadoff Iron & Metal and contained hazardous substances.

        6225. To date, Sadoff Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6226. According to Chemetco Site records, Defendant Safeway, Inc. (“Safeway”)

 contributed at least 1,014 lbs. of materials to the Chemetco Site. These materials were generated

 by Safeway and contained hazardous substances.

        6227. To date, Safeway has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6228. Defendant Saia-Burgess Automotive Actuators LLC doing business as Johnson

 Electric (“Saia-Burgess”) is responsible for the waste attributable to CEI Co., Ltd. (“CEI”).

        6229. In or about October 2005, Saia-Burgess AG acquired CEI.

        6230. On or about November 14, 2005, CEI amended its name to Saia-Burgess

 Automotive Actuators, Inc.

        6231. On or about March 31, 2014, Saia-Burgess Automotive Actuators, Inc. was

 converted to an LLC.




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        6232. According to Chemetco Site records, CEI contributed at least 6,377 lbs. of

 materials to the Chemetco Site. These materials were generated by CEI and contained hazardous

 substances.

        6233. To date, Saia-Burgess has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6234. According to Chemetco Site records, Defendant Salesco System (“Salesco”)

 contributed at least 1,159 lbs. of materials to the Chemetco Site. These materials were generated

 by Salesco and contained hazardous substances.

        6235. To date, Salesco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6236. According to Chemetco Site records, Defendant Salt River Project Agricultural

 Improvement and Power District (“SRP”) contributed at least 332,993 lbs. of materials to the

 Chemetco Site. These materials were generated by SRP and contained hazardous substances.

        6237. To date, SRP has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6238. According to Chemetco Site records, Defendant Salvage (“Salvage”) contributed

 at least 17,316 lbs. of materials to the Chemetco Site. These materials were generated by Salvage

 and contained hazardous substances.

        6239. To date, Salvage has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6240. According to Chemetco Site records, Defendant Salvage Service (“Salvage

 Service”) contributed at least 1,137,308 lbs. of materials to the Chemetco Site. These materials

 were generated by Salvage Service and contained hazardous substances.




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        6241. To date, Salvage Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6242. According to Chemetco Site records, Defendant Sam Adelstein & Co. Ltd. (“Sam

 Adelstein & Co.”) contributed at least 43,140 lbs. of materials to the Chemetco Site. These

 materials were generated by Sam Adelstein & Co. and contained hazardous substances.

        6243. To date, Sam Adelstein & Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6244. According to Chemetco Site records, Defendant Sam Winer & Co. Inc. (“Winer

 & Co.”) contributed at least 252,562 lbs. of materials to the Chemetco Site. These materials were

 generated by Winer & Co. and contained hazardous substances.

        6245. To date, Winer & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6246. According to Chemetco Site records, Defendant Sam’s Metal (“Sam’s Metal”)

 contributed at least 250,144 lbs. of materials to the Chemetco Site. These materials were

 generated by Sam’s Metal and contained hazardous substances.

        6247. To date, Sam’s Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6248. According to Chemetco Site records, Defendant Sampson Steel Corp. (“Sampson

 Steel”) contributed at least 43,946 lbs. of materials to the Chemetco Site. These materials were

 generated by Sampson Steel and contained hazardous substances.

        6249. To date, Sampson Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6250. According to Chemetco Site records, Defendant Samtec Inc. doing business as

 Samtec USA (“Samtec”) contributed at least 3,679 lbs. of materials to the Chemetco Site. These

 materials were generated by Samtec and contained hazardous substances.

        6251. To date, Samtec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6252. According to Chemetco Site records, Defendant Samuels Recycling (“Samuels

 Recycling”) contributed at least 65,176 lbs. of materials to the Chemetco Site. These materials

 were generated by Samuels Recycling and contained hazardous substances.

        6253. To date, Samuels Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6254. According to Chemetco Site records, Defendant Samuels Recycling Co.

 (“Samuels Recycling Co.”) contributed at least 2,608,846 lbs. of materials to the Chemetco Site.

 These materials were generated by Samuels Recycling Co. and contained hazardous substances.

        6255. To date, Samuels Recycling Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6256. According to Chemetco Site records, Defendant San Antonio M. (“San Antonio

 M.”) contributed at least 424 lbs. of materials to the Chemetco Site. These materials were

 generated by San Antonio M. and contained hazardous substances.

        6257. To date, San Antonio M. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6258. According to Chemetco Site records, Defendant San Antonio R. (“San Antonio

 R.”) contributed at least 94,618 lbs. of materials to the Chemetco Site. These materials were

 generated by San Antonio R. and contained hazardous substances.




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        6259. To date, San Antonio R. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6260. According to Chemetco Site records, Defendant San Antonio Water System

 (“SAWS”) contributed at least 267,999 lbs. of materials to the Chemetco Site. These materials

 were generated by SAWS and contained hazardous substances.

        6261. To date, SAWS has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6262. According to Chemetco Site records, Defendant San Fernando (“San Fernando”)

 contributed at least 2,846,500 lbs. of materials to the Chemetco Site. These materials were

 generated by San Fernando and contained hazardous substances.

        6263. To date, San Fernando has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6264. According to Chemetco Site records, Defendant San Fernando Recycling (“San

 Fernando Recycling”) contributed at least 252 lbs. of materials to the Chemetco Site. These

 materials were generated by San Fernando Recycling and contained hazardous substances.

        6265. To date, San Fernando Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6266. According to Chemetco Site records, Defendant San Francisco (“San Francisco”)

 contributed at least 116 lbs. of materials to the Chemetco Site. These materials were generated

 by San Francisco and contained hazardous substances.

        6267. To date, San Francisco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6268. According to Chemetco Site records, Defendant San Jose Metal (“San Jose

 Metal”) contributed at least 362 lbs. of materials to the Chemetco Site. These materials were

 generated by San Jose Metal and contained hazardous substances.

        6269. To date, San Jose Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6270. According to Chemetco Site records, Defendant Sand Springs (“Sand Springs”)

 contributed at least 1,476 lbs. of materials to the Chemetco Site. These materials were generated

 by Sand Springs and contained hazardous substances.

        6271. To date, Sand Springs has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6272. According to Chemetco Site records, Defendant Sanford Salvage (“Sanford

 Salvage”) contributed at least 18,785 lbs. of materials to the Chemetco Site. These materials

 were generated by Sanford Salvage and contained hazardous substances.

        6273. To date, Sanford Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6274. According to Chemetco Site records, Defendant Sanguaro Metal (“Sanguaro

 Metal”) contributed at least 30 lbs. of materials to the Chemetco Site. These materials were

 generated by Sanguaro Metal and contained hazardous substances.

        6275. To date, Sanguaro Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6276. According to Chemetco Site records, Defendant Sanitary Trashmoval Services

 Inc. (“Sanitary Trashmoval”) contributed at least 9,980 lbs. of materials to the Chemetco Site.

 These materials were generated by Sanitary Trashmoval and contained hazardous substances.




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        6277. To date, Sanitary Trashmoval has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6278. According to Chemetco Site records, Defendant Sanmina Corporation

 (“Sanmina”) contributed at least 17,113 lbs. of materials to the Chemetco Site. These materials

 were generated by Sanmina and contained hazardous substances.

        6279. To date, Sanmina has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6280. According to Chemetco Site records, Defendant Sapa Extrusions, Inc. (“Sapa

 Extrusions”) contributed at least 6,503,460 lbs. of materials to the Chemetco Site. These

 materials were generated by Sapa Extrusions and contained hazardous substances.

        6281. To date, Sapa Extrusions has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6282. According to Chemetco Site records, Defendant Saul ASSH Co. (“Saul Assh”)

 contributed at least 5,138 lbs. of materials to the Chemetco Site. These materials were generated

 by Saul Assh and contained hazardous substances.

        6283. To date, Saul Assh has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6284. According to Chemetco Site records, Defendant SB International, Inc. (“SB

 International”) contributed at least 74,314 lbs. of materials to the Chemetco Site. These materials

 were generated by SB International and contained hazardous substances.

        6285. To date, SB International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6286. According to Chemetco Site records, Defendant Schachter P. & Sons Ltd.

 (“Schachter & Sons”) contributed at least 589 lbs. of materials to the Chemetco Site. These

 materials were generated by Schachter & Sons and contained hazardous substances.

        6287. To date, Schachter & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6288. According to Chemetco Site records, Defendant Schafer Steel (“Schafer Steel”)

 contributed at least 165,419 lbs. of materials to the Chemetco Site. These materials were

 generated by Schafer Steel and contained hazardous substances.

        6289. To date, Schafer Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6290. According to Chemetco Site records, Defendant Schultz Metal (“Schultz Metal”)

 contributed at least 12,689 lbs. of materials to the Chemetco Site. These materials were

 generated by Schultz Metal and contained hazardous substances.

        6291. To date, Schultz Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6292. According to Chemetco Site records, Defendant Schupan & Sons Inc. (“Schupan

 & Sons”) contributed at least 200,122 lbs. of materials to the Chemetco Site. These materials

 were generated by Schupan & Sons and contained hazardous substances.

        6293. To date, Schupan & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6294. According to Chemetco Site records, Defendant Schuster Metals, LLC (“Schuster

 Metals”) contributed at least 345,236 lbs. of materials to the Chemetco Site. These materials

 were generated by Schuster Metals and contained hazardous substances.




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        6295. To date, Schuster Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6296. According to Chemetco Site records, Defendant Schwartz (“Schwartz”)

 contributed at least 1,080 lbs. of materials to the Chemetco Site. These materials were generated

 by Schwartz and contained hazardous substances.

        6297. To date, Schwartz has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6298. According to Chemetco Site records, Defendant Schwartz Metal (“Schwartz

 Metal”) contributed at least 360 lbs. of materials to the Chemetco Site. These materials were

 generated by Schwartz Metal and contained hazardous substances.

        6299. To date, Schwartz Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6300. According to Chemetco Site records, Defendant Schwartzman Company

 (“Schwartzman”) contributed at least 31,478 lbs. of materials to the Chemetco Site. These

 materials were generated by Schwartzman and contained hazardous substances.

        6301. To date, Schwartzman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6302. According to Chemetco Site records, Defendant Scioto Metals, Inc. (“Scioto

 Metals”) contributed at least 88,690 lbs. of materials to the Chemetco Site. These materials were

 generated by Scioto Metals and contained hazardous substances.

        6303. To date, Scioto Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6304. According to Chemetco Site records, Defendant Scoggins Metal (“Scoggins

 Metal”) contributed at least 4,120 lbs. of materials to the Chemetco Site. These materials were

 generated by Scoggins Metal and contained hazardous substances.

        6305. To date, Scoggins Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6306. According to Chemetco Site records, Defendant Scone Scrap (“Scone Scrap”)

 contributed at least 93,551 lbs. of materials to the Chemetco Site. These materials were

 generated by Scone Scrap and contained hazardous substances.

        6307. To date, Scone Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6308. According to Chemetco Site records, Defendant Scott Brass Inc. (“Scott Brass”)

 contributed at least 2,364,214 lbs. of materials to the Chemetco Site. These materials were

 generated by Scott Brass and contained hazardous substances.

        6309. To date, Scott Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6310. According to Chemetco Site records, Defendant Scott’s Auto Salvage (“Scott’s

 Auto”) contributed at least 2,273 lbs. of materials to the Chemetco Site. These materials were

 generated by Scott’s Auto and contained hazardous substances.

        6311. To date, Scott’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6312. According to Chemetco Site records, Defendant Scott’s Industr. (“Scott’s”)

 contributed at least 5,392 lbs. of materials to the Chemetco Site. These materials were generated

 by Scott’s and contained hazardous substances.




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        6313. To date, Scott’s has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6314. According to Chemetco Site records, Defendant Scottsbluff R.P. (“Scottsbluff”)

 contributed at least 1,105,371 lbs. of materials to the Chemetco Site. These materials were

 generated by Scottsbluff and contained hazardous substances.

        6315. To date, Scottsbluff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6316. According to Chemetco Site records, Defendant Scrap All Inc. (“Scrap All”)

 contributed at least 7,995 lbs. of materials to the Chemetco Site. These materials were generated

 by Scrap All and contained hazardous substances.

        6317. To date, Scrap All has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6318. According to Chemetco Site records, Defendant Scrap All Recycling (“Scrap All

 Recycling”) contributed at least 1,297 lbs. of materials to the Chemetco Site. These materials

 were generated by Scrap All Recycling and contained hazardous substances.

        6319. To date, Scrap All Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6320. According to Chemetco Site records, Defendant Scrap Corporation (“Scrap

 Corp.”) contributed at least 2,874 lbs. of materials to the Chemetco Site. These materials were

 generated by Scrap Corp. and contained hazardous substances.

        6321. To date, Scrap Corp. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6322. According to Chemetco Site records, Defendant Scrap Iron & Metal (“Scrap

 Iron”) contributed at least 8,347 lbs. of materials to the Chemetco Site. These materials were

 generated by Scrap Iron and contained hazardous substances.

        6323. To date, Scrap Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6324. According to Chemetco Site records, Defendant Scrap Metal Buyers of Tampa

 Inc. (“Scrap Metal Buyers”) contributed at least 6,788 lbs. of materials to the Chemetco Site.

 These materials were generated by Scrap Metal Buyers and contained hazardous substances.

        6325. To date, Scrap Metal Buyers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6326. According to Chemetco Site records, Defendant Scrap Metal Enterprises (“Scrap

 Metal Enterprises”) contributed at least 16 lbs. of materials to the Chemetco Site. These

 materials were generated by Scrap Metal Enterprises and contained hazardous substances.

        6327. To date, Scrap Metal Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6328. According to Chemetco Site records, Defendant Scrap Metal of Niagara (“Niagra

 Scrap Metal”) contributed at least 58,605 lbs. of materials to the Chemetco Site. These materials

 were generated by Niagra Scrap Metal and contained hazardous substances.

        6329. To date, Niagra Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6330. According to Chemetco Site records, Defendant Scrap Metal Processors, Inc.

 (“Scrap Metal Processors”) contributed at least 181,600 lbs. of materials to the Chemetco Site.

 These materials were generated by Scrap Metal Processors and contained hazardous substances.




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        6331. To date, Scrap Metal Processors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6332. According to Chemetco Site records, Defendant Scrap Processing Co. (“Scrap

 Processing”) contributed materials to the Chemetco Site. These materials were generated by

 Scrap Processing and contained hazardous substances.

        6333. To date, Scrap Processing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6334. According to Chemetco Site records, Defendant Scrapcom, Inc. (“Scrapcom”)

 contributed materials to the Chemetco Site. These materials were generated by Scrapcom and

 contained hazardous substances.

        6335. To date, Scrapcom has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6336. According to Chemetco Site records, Defendant Scrapo (“Scrapo”) contributed at

 least 304,731 lbs. of materials to the Chemetco Site. These materials were generated by Scrapo

 and contained hazardous substances.

        6337. To date, Scrapo has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6338. According to Chemetco Site records, Defendant SCS Group, L.C. (“SCS Group”)

 contributed at least 173,712 lbs. of materials to the Chemetco Site. These materials were

 generated by SCS Group and contained hazardous substances.

        6339. To date, SCS Group has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6340. Defendant Sea View Technologies, Inc. (“Sea View Technologies”) is responsible

 for the waste attributable to Sea View Electronics, Inc. (“Sea View Electronics”).

        6341. In or about 1998, Sea View Electronics amended its name to Sea View

 Technologies.

        6342. According to Chemetco Site records, Sea View Electronics contributed at least

 1,076 lbs. of materials to the Chemetco Site. These materials were generated by Sea View

 Electronics and contained hazardous substances.

        6343. To date, Sea View Technologies has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6344. According to Chemetco Site records, Defendant Seaforth Salvage (“Seaforth”)

 contributed at least 627,357 lbs. of materials to the Chemetco Site. These materials were

 generated by Seaforth and contained hazardous substances.

        6345. To date, Seaforth has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6346. According to Chemetco Site records, Defendant Season-All Industries, Inc.

 (“Season-All”) contributed at least 51,315 lbs. of materials to the Chemetco Site. These materials

 were generated by Season-All and contained hazardous substances.

        6347. To date, Season-All has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6348. According to Chemetco Site records, Defendant Seaton Iron & Metal (“Seaton

 Iron”) contributed at least 208,487 lbs. of materials to the Chemetco Site. These materials were

 generated by Seaton Iron and contained hazardous substances.




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        6349. To date, Seaton Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6350. According to Chemetco Site records, Defendant Seattle Iron & Metals

 Corporation (“Seattle Iron”) contributed at least 94,590 lbs. of materials to the Chemetco Site.

 These materials were generated by Seattle Iron and contained hazardous substances.

        6351. To date, Seattle Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6352. According to Chemetco Site records, Defendant Secondary Res. (“Secondary

 Res.”) contributed at least 954 lbs. of materials to the Chemetco Site. These materials were

 generated by Secondary Res. and contained hazardous substances.

        6353. To date, Secondary Res. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6354. According to Chemetco Site records, Defendant Segel and Son, Inc. (“Segel and

 Son”) contributed at least 214,113 lbs. of materials to the Chemetco Site. These materials were

 generated by Segel and Son and contained hazardous substances.

        6355. To date, Segel and Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6356. According to Chemetco Site records, Defendant Self Recycling, Inc. (“Self

 Recycling II”) contributed at least 6,078 lbs. of materials to the Chemetco Site. These materials

 were generated by Self Recycling II and contained hazardous substances.

        6357. To date, Self Recycling II has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6358. According to Chemetco Site records, Defendant Semco Inc. (“Semco”)

 contributed at least 1,131,666 lbs. of materials to the Chemetco Site. These materials were

 generated by Semco and contained hazardous substances.

        6359. To date, Semco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6360. Defendant Seminole Wire & Cable Co., Inc. (“Seminole Wire Products”) is

 responsible for the waste attributable to Jersey Specialty Co., Inc. (“JSC”).

        6361. In or about 2012, Seminole Wire Products acquired JSC.

        6362. According to Chemetco Site records, JSC contributed at least 2,049 lbs. of

 materials to the Chemetco Site. These materials were generated by JSC and contained hazardous

 substances.

        6363. To date, Seminole Wire Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6364. Defendant Sensus USA Inc. (“Sensus USA”) is responsible for the waste

 attributable to Sensus Technologies, Inc. (“Sensus Technologies”) and Invensys Metering

 Systems-North America Inc. (“Invensys Metering”).

        6365. In or about 1989, BTR Water Measurement, Inc. was formed as a Delaware

 corporation, which then amended its name to Sensus Technologies.

        6366. In or about 2002, Sensus Technologies amended its name to Invensys Metering.

        6367. In or about 2004, Invensys Metering amended its name to Sensus USA.

        6368. According to Chemetco Site records, Sensus Technologies contributed at least

 112,159 lbs. of materials to the Chemetco Site. These materials were generated by Sensus

 Technologies and contained hazardous substances.




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        6369. Additionally, according to Chemetco Site records, Invensys Metering contributed

 at least 158,285 lbs. of materials to the Chemetco Site. These materials were generated by

 Invensys Metering and contained hazardous substances.

        6370. To date, Sensus USA has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6371. According to Chemetco Site records, Defendant Serck Services, Inc. doing

 business as Industrial Radiator Service (“Serck Services”) contributed at least 53,271 lbs. of

 materials to the Chemetco Site. These materials were generated by Serck Services and contained

 hazardous substances.

        6372. To date, Serck Services has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6373. According to Chemetco Site records, Defendant Service All Radiator Inc.

 (“Service Radiator”) contributed at least 2,644 lbs. of materials to the Chemetco Site. These

 materials were generated by Service Radiator and contained hazardous substances.

        6374. To date, Service Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6375. According to Chemetco Site records, Defendant Service Brass Foundry, L.L.C.

 (“Service Brass”) contributed at least 534,088 lbs. of materials to the Chemetco Site. These

 materials were generated by Service Brass and contained hazardous substances.

        6376. Additionally, Service Brass is responsible for the waste attributable to Phoenix

 Metalloy, Inc. doing business as Service Brass Foundry (“Phoenix Metalloy”).

        6377. In or about 1994, Phoenix Metalloy was formed as an Arizona corporation.




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        6378. In or about 2001, Phoenix Metalloy was dissolved, with last president of record as

 Frank Hobden.

        6379. In or about 2002, Service Brass was formed as a Arizona limited liability

 company, with manager Frank Hobden.

        6380. According to Chemetco Site records, Phoenix Metalloy contributed at least

 566,407 lbs. of materials to the Chemetco Site. These materials were generated by Phoenix

 Metalloy and contained hazardous substances.

        6381. To date, Service Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6382. According to Chemetco Site records, Defendant Service Sanitation (“Service

 Sanitation”) contributed at least 1,829 lbs. of materials to the Chemetco Site. These materials

 were generated by Service Sanitation and contained hazardous substances.

        6383. To date, Service Sanitation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6384. According to Chemetco Site records, Defendant Seville Bronze (“Seville

 Bronze”) contributed at least 39,580 lbs. of materials to the Chemetco Site. These materials were

 generated by Seville Bronze and contained hazardous substances.

        6385. To date, Seville Bronze has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6386. According to Chemetco Site records, Defendant Sewerage and Water Board of

 New Orleans, Louisiana (“SWB”) contributed at least 129,920 lbs. of materials to the Chemetco

 Site. These materials were generated by SWB and contained hazardous substances.




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        6387. To date, SWB has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6388. According to Chemetco Site records, Defendant Seymore Wrecking (“Seymore

 Wrecking”) contributed at least 10,243 lbs. of materials to the Chemetco Site. These materials

 were generated by Seymore Wrecking and contained hazardous substances.

        6389. To date, Seymore Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6390. According to Chemetco Site records, Defendant Shank Metals (“Shank Metals”)

 contributed at least 62,736 lbs. of materials to the Chemetco Site. These materials were

 generated by Shank Metals and contained hazardous substances.

        6391. To date, Shank Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6392. According to Chemetco Site records, Defendant Shanke Metals (“Shanke

 Metals”) contributed at least 11,011 lbs. of materials to the Chemetco Site. These materials were

 generated by Shanke Metals and contained hazardous substances.

        6393. To date, Shanke Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6394. According to Chemetco Site records, Defendant Shapiro Bros. (“Shapiro Bros.”)

 contributed at least 62,460 lbs. of materials to the Chemetco Site. These materials were

 generated by Shapiro Bros. and contained hazardous substances.

        6395. To date, Shapiro Bros. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6396. According to Chemetco Site records, Defendant Shapiro Bros. of Illinois, Inc.

 doing business as Milano Metals and Recycling (“Shapiro”) contributed at least 214,945 lbs. of

 materials to the Chemetco Site. These materials were generated by Shapiro and contained

 hazardous substances.

        6397. To date, Shapiro has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6398. According to Chemetco Site records, Defendant Shapiro Metals Co. (“Shapiro

 Metals”) contributed at least 1,440,191 lbs. of materials to the Chemetco Site. These materials

 were generated by Shapiro Metals and contained hazardous substances.

        6399. To date, Shapiro Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6400. According to Chemetco Site records, Defendant Shearson-Lehm (“Shearson-

 Lehm”) contributed at least 299,256 lbs. of materials to the Chemetco Site. These materials were

 generated by Shearson-Lehm and contained hazardous substances.

        6401. To date, Shearson-Lehm has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6402. According to Chemetco Site records, Defendant Shedd-Brand (“Shedd-Brand”)

 contributed at least 537 lbs. of materials to the Chemetco Site. These materials were generated

 by Shedd-Brand and contained hazardous substances.

        6403. To date, Shedd-Brand has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6404. According to Chemetco Site records, Defendant Shelmet Corp. (“Shelmet”)

 contributed at least 1,987 lbs. of materials to the Chemetco Site. These materials were generated

 by Shelmet and contained hazardous substances.

        6405. To date, Shelmet has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6406. According to Chemetco Site records, Defendant Shenango Valley (“Shenango

 Valley”) contributed at least 14,520 lbs. of materials to the Chemetco Site. These materials were

 generated by Shenango Valley and contained hazardous substances.

        6407. To date, Shenango Valley has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6408. According to Chemetco Site records, Defendant Sherwin-Williams (“Sherwin-

 Williams”) contributed at least 20,286 lbs. of materials to the Chemetco Site. These materials

 were generated by Sherwin-Williams and contained hazardous substances.

        6409. To date, Sherwin-Williams has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6410. According to Chemetco Site records, Defendant Sherwood Valve, LLC

 (“Sherwood Valve”) contributed at least 227,416 lbs. of materials to the Chemetco Site. These

 materials were generated by Sherwood Valve and contained hazardous substances.

        6411. To date, Sherwood Valve has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6412. According to Chemetco Site records, Defendant Shiland Metal Brokerage Co.,

 Inc. (“Shiland Metal”) contributed at least 26,860 lbs. of materials to the Chemetco Site. These

 materials were generated by Shiland Metal and contained hazardous substances.




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        6413. To date, Shiland Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6414. According to Chemetco Site records, Defendant Shostak Iron & Metal Company,

 Inc. (“Shostak Iron”) contributed at least 39,320 lbs. of materials to the Chemetco Site. These

 materials were generated by Shostak Iron and contained hazardous substances.

        6415. To date, Shostak Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6416. Defendant Show and Tell Products (“Show and Tell”) is responsible for the waste

 attributable to OMC Industries, Inc. (“OMC Industries”).

        6417. According to Chemetco Site records, OMC Industries contributed at least 135,087

 lbs. of materials to the Chemetco Site. These materials were generated by OMC Industries and

 contained hazardous substances.

        6418. To date, Show and Tell has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6419. According to Chemetco Site records, Defendant Shred-A-Can (“Shred-A-Can”)

 contributed at least 980 lbs. of materials to the Chemetco Site. These materials were generated

 by Shred-A-Can and contained hazardous substances.

        6420. To date, Shred-A-Can has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6421. According to Chemetco Site records, Defendant Shreveport Recycling Services

 (“Shreveport Recycling”) contributed at least 1,141,856 lbs. of materials to the Chemetco Site.

 These materials were generated by Shreveport Recycling and contained hazardous substances.




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        6422. To date, Shreveport Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6423. According to Chemetco Site records, Defendant Shrine Brothers (“Shrine

 Brothers”) contributed at least 34,726 lbs. of materials to the Chemetco Site. These materials

 were generated by Shrine Brothers and contained hazardous substances.

        6424. To date, Shrine Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6425. According to Chemetco Site records, Defendant Shulimson Brothers Company,

 Inc. (“Shulimson Brothers”) contributed at least 3,369 lbs. of materials to the Chemetco Site.

 These materials were generated by Shulimson Brothers and contained hazardous substances.

        6426. To date, Shulimson Brothers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6427. Defendant Siemens Energy, Inc. (“Siemens Energy”) is responsible for the waste

 attributable to Siemens Westinghouse Power Corporation (“Siemens Westinghouse”).

        6428. In or about 2005, Siemens Westinghouse amended its name to Siemens Power

 Generation, Inc. (“Siemens Power Generation”).

        6429. In or about October 2008, Siemens Power Generation amended its name to

 Siemens Energy.

        6430. According to Chemetco Site records, Siemens Westinghouse contributed at least

 133,762 lbs. of materials to the Chemetco Site. These materials were generated by Siemens

 Westinghouse and contained hazardous substances.

        6431. Additionally, Siemens Energy is responsible for the waste attributable to Siemens

 Power Transmission & Distribution, Inc. (“Siemens Power Transmission”).




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        6432. In or about October 2008, Siemens Power Transmission was merged with and

 into Siemens Energy.

        6433. According to Chemetco Site records, Siemens Power Transmission contributed at

 least 1,159 lbs. of materials to the Chemetco Site. These materials were generated by Siemens

 Power Transmission and contained hazardous substances.

        6434. To date, Siemens Energy has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6435. According to Chemetco Site records, Defendant Siemens Furnas Controls

 (“Siemens Furnas”) contributed at least 650 lbs. of materials to the Chemetco Site. These

 materials were generated by Siemens Furnas and contained hazardous substances.

        6436. To date, Siemens Furnas has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6437. Defendant Siemens Industry, Inc. (“Siemens Industry”) is responsible for the

 waste attributable to Service Guide, Inc. (“Service Guide”).

        6438. In or about 2013, Service Guide was merged with and into Siemens Industry.

        6439. According to Chemetco Site records, Service Guide contributed at least 27,677

 lbs. of materials to the Chemetco Site. These materials were generated by Service Guide and

 contained hazardous substances.

        6440. To date, Siemens Industry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6441. According to Chemetco Site records, Defendant Siemens PT (“Siemens”)

 contributed at least 342,145 lbs. of materials to the Chemetco Site. These materials were

 generated by Siemens and contained hazardous substances.




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        6442. To date, Siemens has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6443. According to Chemetco Site records, Defendant Siemens ROLM (“Siemens

 ROLM”) contributed at least 57,182 lbs. of materials to the Chemetco Site. These materials were

 generated by Siemens ROLM and contained hazardous substances.

        6444. To date, Siemens ROLM has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6445. According to Chemetco Site records, Defendant Sierra Iron & Metal Co. (“Sierra

 Iron”) contributed at least 89,898 lbs. of materials to the Chemetco Site. These materials were

 generated by Sierra Iron and contained hazardous substances.

        6446. To date, Sierra Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6447. According to Chemetco Site records, Defendant Sikora Metals, Inc. (“Sikora

 Metals”) contributed at least 25,102 lbs. of materials to the Chemetco Site. These materials were

 generated by Sikora Metals and contained hazardous substances.

        6448. Additionally, Sikora Metals is responsible for the waste attributable to Warren

 Scrap (“Warren”).

        6449. According to Chemetco Site records, Warren contributed at least 1,310 lbs. of

 materials to the Chemetco Site. These materials were generated by Warren and contained

 hazardous substances.

        6450. To date, Sikora Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6451. Defendant Silrec Corporation (“Silrec”) is responsible for the waste attributable to

 Technalloy, Inc. (“Technalloy”).

        6452. In or about 2008, Technalloy was formed as a Kentucky corporation, with

 officer/director M. Allan Goldberg.

        6453. In or about September 2010, Technalloy was dissolved.

        6454. In or about September 2010, Technalloy was filed as an assumed name and/or

 trade name of Silrec with the Kentucky Secretary of State, signed by President M. Allan

 Goldberg.

        6455. According to Chemetco Site records, Technalloy contributed at least 87,060 lbs.

 of materials to the Chemetco Site. These materials were generated by Technalloy and contained

 hazardous substances.

        6456. To date, Silrec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6457. According to Chemetco Site records, Defendant Silver State (“Silver State”)

 contributed at least 99 lbs. of materials to the Chemetco Site. These materials were generated by

 Silver State and contained hazardous substances.

        6458. To date, Silver State has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6459. According to Chemetco Site records, Defendant Silver Steel (“Silver Steel”)

 contributed at least 3,592 lbs. of materials to the Chemetco Site. These materials were generated

 by Silver Steel and contained hazardous substances.

        6460. To date, Silver Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6461. According to Chemetco Site records, Defendant Silver’s Metal Company

 (“Silver’s Metal”) contributed at least 202,338 lbs. of materials to the Chemetco Site. These

 materials were generated by Silver’s Metal and contained hazardous substances.

        6462. To date, Silver’s Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6463. According to Chemetco Site records, Defendant Silvey Metalworks Inc. (“Silvey

 Metalworks”) contributed at least 54,663 lbs. of materials to the Chemetco Site. These materials

 were generated by Silvey Metalworks and contained hazardous substances.

        6464. To date, Silvey Metalworks has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6465. According to Chemetco Site records, Defendant Simco Recycling Corp., Inc.

 doing business as Interamerican Metal Trading (“Simco Recycling”) contributed at least 79,966

 lbs. of materials to the Chemetco Site. These materials were generated by Simco Recycling and

 contained hazardous substances.

        6466. To date, Simco Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6467. According to Chemetco Site records, Defendant Simflo Pumps, Inc. (“Simflo

 Pumps”) contributed at least 17,697 lbs. of materials to the Chemetco Site. These materials were

 generated by Simflo Pumps and contained hazardous substances.

        6468. To date, Simflo Pumps has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6469. According to Chemetco Site records, Defendant Simmons Manufacturing

 Company (“Simmons Manufacturing”) contributed at least 244,488 lbs. of materials to the




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 Chemetco Site. These materials were generated by Simmons Manufacturing and contained

 hazardous substances.

        6470. To date, Simmons Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6471. According to Chemetco Site records, Defendant Simon B. Scrap (“Simon Scrap”)

 contributed at least 7,187 lbs. of materials to the Chemetco Site. These materials were generated

 by Simon Scrap and contained hazardous substances.

        6472. To date, Simon Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6473. Defendant Simon Metals, LLC (“Simon Metals”) is responsible for the waste

 attributable to Joseph Simon & Sons, Inc. (“Simon & Sons”).

        6474. According to Chemetco Site records, Simon & Sons contributed at least 85,044

 lbs. of materials to the Chemetco Site. These materials were generated by Simon & Sons and

 contained hazardous substances.

        6475. To date, Simon Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6476. Defendant Simtax, Inc. (“Simtax”) is responsible for the waste attributable to

 Parkwood Iron & Metal, Inc. (“Parkwood Iron”).

        6477. In or about 1950, Parkwood Iron was formed as an Ohio corporation.

        6478. In or about 1993, Simtax was formed as an Ohio corporation.

        6479. In or about 2009, Parkwood Iron was dissolved.

        6480. Both Parkwood Iron and Simtax did business at 4917 Holyoke Avenue,

 Cleveland, Ohio 44104.




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        6481. Both Parkwood Iron and Simtax were and are owned by the Simms family.

        6482. According to Chemetco Site records, Parkwood Iron contributed at least 144,129

 lbs. of materials to the Chemetco Site. These materials were generated by Parkwood Iron and

 contained hazardous substances.

        6483. To date, Simtax has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6484. According to Chemetco Site records, Defendant Sioux City Compressed (“Sioux

 City Compressed”) contributed at least 510,511 lbs. of materials to the Chemetco Site. These

 materials were generated by Sioux City Compressed and contained hazardous substances.

        6485. To date, Sioux City Compressed has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6486. According to Chemetco Site records, Defendant Sipi Metals Corp. (“Sipi Metals”)

 contributed at least 1,506,354 lbs. of materials to the Chemetco Site. These materials were

 generated by Sipi Metals and contained hazardous substances.

        6487. To date, Sipi Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6488. According to Chemetco Site records, Defendant Siskin Steel (“Siskin Steel”)

 contributed at least 1,844,991 lbs. of materials to the Chemetco Site. These materials were

 generated by Siskin Steel and contained hazardous substances.

        6489. To date, Siskin Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6490. According to Chemetco Site records, Defendant Six-Pac Recycling Corp. (“Six-

 Pac Recycling”) contributed at least 284,327 lbs. of materials to the Chemetco Site. These

 materials were generated by Six-Pac Recycling and contained hazardous substances.

        6491. To date, Six-Pac Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6492. According to Chemetco Site records, Defendant Skaggs Auto Rebuilding

 (“Skaggs Auto”) contributed at least 15,378 lbs. of materials to the Chemetco Site. These

 materials were generated by Skaggs Auto and contained hazardous substances.

        6493. To date, Skaggs Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6494. According to Chemetco Site records, Defendant Skee’s Metals Inc. (“Skee’s

 Metals”) contributed at least 9,075 lbs. of materials to the Chemetco Site. These materials were

 generated by Skee’s Metals and contained hazardous substances.

        6495. To date, Skee’s Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6496. According to Chemetco Site records, Defendant Skeets Engine (“Skeets Engine”)

 contributed at least 73,641 lbs. of materials to the Chemetco Site. These materials were

 generated by Skeets Engine and contained hazardous substances.

        6497. To date, Skeets Engine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6498. According to Chemetco Site records, Defendant SKW Alloys (“SKW Alloys”)

 contributed at least 5,171 lbs. of materials to the Chemetco Site. These materials were generated

 by SKW Alloys and contained hazardous substances.




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        6499. To date, SKW Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6500. According to Chemetco Site records, Defendant SLC Acquisition, L.L.C. doing

 business as SLC Recycling Industries (“SLC Acquisition”) contributed at least 220,719 lbs. of

 materials to the Chemetco Site. These materials were generated by SLC Acquisition and

 contained hazardous substances.

        6501. To date, SLC Acquisition has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6502. According to Chemetco Site records, Defendant SLC Meter, LLC (“SLC Meter”)

 contributed at least 509,230 lbs. of materials to the Chemetco Site. These materials were

 generated by SLC Meter and contained hazardous substances.

        6503. To date, SLC Meter has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6504. According to Chemetco Site records, Defendant Slippery Rock Salvage

 (“Slippery Rock Salvage”) contributed materials to the Chemetco Site. These materials were

 generated by Slippery Rock Salvage and contained hazardous substances.

        6505. To date, Slippery Rock Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6506. According to Chemetco Site records, Defendant Slippery Rock Towing &

 Salvage doing business as Slippery Rock Salvage (“Slippery Rock Salvage”) contributed at least

 594,298 lbs. of materials to the Chemetco Site. These materials were generated by Slippery Rock

 Salvage and contained hazardous substances.




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        6507. To date, Slippery Rock Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6508. Defendant SMA Logistics, Inc. (“SMA Logistics”) is responsible for the waste

 attributable to Ruby Metal Traders Inc. (“Ruby Metal”).

        6509. In or about 1984, Ruby Metal was formed as a Texas corporation, and was

 thereafter dissolved.

        6510. In or about 2015, SMA Logistics was formed as a Texas corporation.

        6511. According to Texas state records, both Ruby Metal and SMA Logistics were

 located at 323 West Alkire Lake Drive, Sugar Land, Texas 77478.

        6512. According to Texas state records, the director for both Ruby Metal and SMA

 Logistics was and is Shekhar Agrawal.

        6513. According to Chemetco Site records, Ruby Metal contributed at least 763,244 lbs.

 of materials to the Chemetco Site. These materials were generated by Ruby Metal and contained

 hazardous substances.

        6514. To date, SMA Logistics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6515. According to Chemetco Site records, Defendant Smith Iron & Metal Co. Inc.

 (“Smith Metal”) contributed at least 563,296 lbs. of materials to the Chemetco Site. These

 materials were generated by Smith Metal and contained hazardous substances.

        6516. To date, Smith Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6517. According to Chemetco Site records, Defendant Smith’s Scrap (“Smith’s Scrap”)

 contributed at least 608 lbs. of materials to the Chemetco Site. These materials were generated

 by Smith’s Scrap and contained hazardous substances.

        6518. To date, Smith’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6519. According to Chemetco Site records, Defendant Smithey Recycling Company

 (“Smithey Recycling”) contributed at least 301,998 lbs. of materials to the Chemetco Site. These

 materials were generated by Smithey Recycling and contained hazardous substances.

        6520. To date, Smithey Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6521. According to Chemetco Site records, Defendant Smitty’s Salvage & Supply

 (“Smitty’s Salvage”) contributed at least 51,080 lbs. of materials to the Chemetco Site. These

 materials were generated by Smitty’s Salvage and contained hazardous substances.

        6522. To date, Smitty’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6523. According to Chemetco Site records, Defendant SMJ Recycling (“SMJ

 Recycling”) contributed at least 2,252 lbs. of materials to the Chemetco Site. These materials

 were generated by SMJ Recycling and contained hazardous substances.

        6524. To date, SMJ Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6525. According to Chemetco Site records, Defendant The Snow Co. (“Snow”)

 contributed at least 16,664 lbs. of materials to the Chemetco Site. These materials were

 generated by Snow and contained hazardous substances.




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        6526. To date, Snow has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6527. According to Chemetco Site records, Defendant Snowman Recycling, Inc.

 (“Snowman Recycling”) contributed at least 2,796,549 lbs. of materials to the Chemetco Site.

 These materials were generated by Snowman Recycling and contained hazardous substances.

        6528. To date, Snowman Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6529. According to Chemetco Site records, Defendant Sol Alman Co. Scrap Metals

 (“Alman Scrap Metals”) contributed at least 423,728 lbs. of materials to the Chemetco Site.

 These materials were generated by Alman Scrap Metals and contained hazardous substances.

        6530. To date, Alman Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6531. According to Chemetco Site records, Defendant Sol Walker & Co. (“Walker &

 Co.”) contributed at least 5,566 lbs. of materials to the Chemetco Site. These materials were

 generated by Walker & Co. and contained hazardous substances.

        6532. To date, Walker & Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6533. According to Chemetco Site records, Defendant Sola Optical USA, Inc. (“Sola

 Optical”) contributed at least 484,776 lbs. of materials to the Chemetco Site. These materials

 were generated by Sola Optical and contained hazardous substances.

        6534. To date, Sola Optical has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6535. According to Chemetco Site records, Defendant Solomon Corporation

 (“Solomon”) contributed at least 132,519 lbs. of materials to the Chemetco Site. These materials

 were generated by Solomon and contained hazardous substances.

        6536. To date, Solomon has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6537. According to Chemetco Site records, Defendant Sone Alloy, Inc. (“Sone Alloy”)

 contributed at least 807 lbs. of materials to the Chemetco Site. These materials were generated

 by Sone Alloy and contained hazardous substances.

        6538. To date, Sone Alloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6539. According to Chemetco Site records, Defendant Sone’ Alloys Inc. (“Sone’

 Alloys”) contributed at least 112,366 lbs. of materials to the Chemetco Site. These materials

 were generated by Sone’ Alloys and contained hazardous substances.

        6540. To date, Sone’ Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6541. According to Chemetco Site records, Defendant Sonny’s Metal (“Sonny’s Metal”)

 contributed at least 623 lbs. of materials to the Chemetco Site. These materials were generated

 by Sonny’s Metal and contained hazardous substances.

        6542. To date, Sonny’s Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6543. According to Chemetco Site records, Defendant Sooner Auto Parts (“Sooner

 Auto”) contributed at least 50,020 lbs. of materials to the Chemetco Site. These materials were

 generated by Sooner Auto and contained hazardous substances.




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        6544. To date, Sooner Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6545. According to Chemetco Site records, Defendant SOS Metals, Inc. (“SOS Metals”)

 contributed at least 849,000 lbs. of materials to the Chemetco Site. These materials were

 generated by SOS Metals and contained hazardous substances.

        6546. To date, SOS Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6547. According to Chemetco Site records, Defendant South Bay Metals, Inc. (“South

 Bay Metals”) contributed at least 51,472 lbs. of materials to the Chemetco Site. These materials

 were generated by South Bay Metals and contained hazardous substances.

        6548. To date, South Bay Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6549. According to Chemetco Site records, Defendant South Coast Recycling (“South

 Coast Recycling”) contributed at least 122 lbs. of materials to the Chemetco Site. These

 materials were generated by South Coast Recycling and contained hazardous substances.

        6550. To date, South Coast Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6551. According to Chemetco Site records, Defendant South Lamar Iron & Steel Co.

 (“South Lamar Iron”) contributed at least 42,916 lbs. of materials to the Chemetco Site. These

 materials were generated by South Lamar Iron and contained hazardous substances.

        6552. To date, South Lamar Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6553. According to Chemetco Site records, Defendant South Post Oak Recycling Center

 LLC (“SPORC”) contributed at least 118,300 lbs. of materials to the Chemetco Site. These

 materials were generated by SPORC and contained hazardous substances.

        6554. To date, SPORC has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6555. According to Chemetco Site records, Defendant South Texas R. (“South Texas”)

 contributed at least 65,515 lbs. of materials to the Chemetco Site. These materials were

 generated by South Texas and contained hazardous substances.

        6556. To date, South Texas has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6557. According to Chemetco Site records, Defendant Southbend Industrial, Inc.

 (“Southbend Industrial”) contributed at least 61,337 lbs. of materials to the Chemetco Site. These

 materials were generated by Southbend Industrial and contained hazardous substances.

        6558. To date, Southbend Industrial has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6559. According to Chemetco Site records, Defendant Southbridge Salvage, Inc.

 (“Southbridge Salvage”) contributed at least 25,853 lbs. of materials to the Chemetco Site. These

 materials were generated by Southbridge Salvage and contained hazardous substances.

        6560. To date, Southbridge Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6561. According to Chemetco Site records, Defendant Southern Brass (“Southern

 Brass”) contributed at least 17,753 lbs. of materials to the Chemetco Site. These materials were

 generated by Southern Brass and contained hazardous substances.




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        6562. To date, Southern Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6563. According to Chemetco Site records, Defendant Southern California Edison

 Company (“SCE”) contributed at least 215,922 lbs. of materials to the Chemetco Site. These

 materials were generated by SCE and contained hazardous substances.

        6564. To date, SCE has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6565. According to Chemetco Site records, Defendant Southern Core (“Southern Core”)

 contributed at least 66 lbs. of materials to the Chemetco Site. These materials were generated by

 Southern Core and contained hazardous substances.

        6566. To date, Southern Core has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6567. According to Chemetco Site records, Defendant Southern Electric Service

 Company, Inc. doing business as TEAMSESCO (“Southern Electric”) contributed at least

 154,961 lbs. of materials to the Chemetco Site. These materials were generated by Southern

 Electric and contained hazardous substances.

        6568. To date, Southern Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6569. According to Chemetco Site records, Defendant Southern Fasteners (“Southern

 Fasteners”) contributed at least 574,349 lbs. of materials to the Chemetco Site. These materials

 were generated by Southern Fasteners and contained hazardous substances.

        6570. To date, Southern Fasteners has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6571. According to Chemetco Site records, Defendant Southern Metal Processing

 (“Southern Metal Processing”) contributed at least 8,724 lbs. of materials to the Chemetco Site.

 These materials were generated by Southern Metal Processing and contained hazardous

 substances.

        6572. To date, Southern Metal Processing has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        6573. According to Chemetco Site records, Defendant Southern Metals Inc. (“Southern

 Metals”) contributed at least 4,835 lbs. of materials to the Chemetco Site. These materials were

 generated by Southern Metals and contained hazardous substances.

        6574. To date, Southern Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6575. According to Chemetco Site records, Defendant Southern Recycling (“Southern

 Recycling”) contributed at least 10,521 lbs. of materials to the Chemetco Site. These materials

 were generated by Southern Recycling and contained hazardous substances.

        6576. To date, Southern Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6577. According to Chemetco Site records, Defendant Southern Recycling, LLC

 (“Southern Recycling, LLC”) contributed at least 44,060 lbs. of materials to the Chemetco Site.

 These materials were generated by Southern Recycling, LLC and contained hazardous

 substances.

        6578. To date, Southern Recycling, LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6579. According to Chemetco Site records, Defendant Southern Resources (“Southern

 Resources”) contributed at least 1,523,430 lbs. of materials to the Chemetco Site. These

 materials were generated by Southern Resources and contained hazardous substances.

        6580. To date, Southern Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6581. According to Chemetco Site records, Defendant Southern Scrap (“Southern

 Scrap”) contributed at least 21,004 lbs. of materials to the Chemetco Site. These materials were

 generated by Southern Scrap and contained hazardous substances.

        6582. To date, Southern Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6583. According to Chemetco Site records, Defendant Southern Scrap Iron & Metal

 Company, Inc. (“Southern Scrap Iron”) contributed at least 511,735 lbs. of materials to the

 Chemetco Site. These materials were generated by Southern Scrap Iron and contained hazardous

 substances.

        6584. To date, Southern Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6585. According to Chemetco Site records, Defendant Southerwester (“Southerwester”)

 contributed at least 827 lbs. of materials to the Chemetco Site. These materials were generated

 by Southerwester and contained hazardous substances.

        6586. To date, Southerwester has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6587. According to Chemetco Site records, Defendant Southside Auto (“Southside

 Auto”) contributed at least 13,426 lbs. of materials to the Chemetco Site. These materials were

 generated by Southside Auto and contained hazardous substances.

        6588. To date, Southside Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6589. According to Chemetco Site records, Defendant Southside Rad. (“Southside

 Rad.”) contributed at least 14,385 lbs. of materials to the Chemetco Site. These materials were

 generated by Southside Rad. and contained hazardous substances.

        6590. To date, Southside Rad. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6591. According to Chemetco Site records, Defendant Southside Redevelopment

 (“Southside Redevelopment”) contributed at least 59,447 lbs. of materials to the Chemetco Site.

 These materials were generated by Southside Redevelopment and contained hazardous

 substances.

        6592. To date, Southside Redevelopment has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        6593. According to Chemetco Site records, Defendant Southside Salvage (“Southside

 Salvage”) contributed at least 7,807 lbs. of materials to the Chemetco Site. These materials were

 generated by Southside Salvage and contained hazardous substances.

        6594. To date, Southside Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6595. According to Chemetco Site records, Defendant Southwest Auto Salvage

 (“Southwest Auto”) contributed at least 2,292 lbs. of materials to the Chemetco Site. These

 materials were generated by Southwest Auto and contained hazardous substances.

        6596. To date, Southwest Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6597. According to Chemetco Site records, Defendant Southwest Com. (“Southwest

 Com.”) contributed at least 52,537 lbs. of materials to the Chemetco Site. These materials were

 generated by Southwest Com. and contained hazardous substances.

        6598. To date, Southwest Com. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6599. According to Chemetco Site records, Defendant Southwest Iron (“Southwest

 Iron”) contributed at least 309 lbs. of materials to the Chemetco Site. These materials were

 generated by Southwest Iron and contained hazardous substances.

        6600. To date, Southwest Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6601. According to Chemetco Site records, Defendant Southwest Metalsmiths, Inc.

 (“Southwest Metalsmiths”) contributed at least 39,172 lbs. of materials to the Chemetco Site.

 These materials were generated by Southwest Metalsmiths and contained hazardous substances.

        6602. To date, Southwest Metalsmiths has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6603. According to Chemetco Site records, Defendant Southwest Refining Corp.

 (“Southwest Refining”) contributed at least 520,180 lbs. of materials to the Chemetco Site. These

 materials were generated by Southwest Refining and contained hazardous substances.




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        6604. To date, Southwest Refining has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6605. According to Chemetco Site records, Defendant Southwest System Monitoring,

 Inc. (“Southwest System Monitoring”) contributed at least 1,519 lbs. of materials to the

 Chemetco Site. These materials were generated by Southwest System Monitoring and contained

 hazardous substances.

        6606. To date, Southwest System Monitoring has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        6607. Defendant Southwire Company, LLC (“Southwire LLC”) is responsible for the

 waste attributable to Coleman Cable Systems, Inc. (“Coleman Systems”).

        6608. In or about 1970, Coleman Systems was established as an Arkansas corporation.

        6609. In or about 2000, Coleman Systems was acquired by and/or merged with and into

 Coleman Cable, Inc. (“CCI”).

        6610. On or about February 11, 2014, CCI was merged with and into Southwire

 Company (“Southwire Co.”).

        6611. In or about April 2014, Southwire Co. amended its name to Southwire LLC.

        6612. According to Chemetco Site records, Coleman Systems contributed at least

 71,522 lbs. of materials to the Chemetco Site. These materials were generated by Coleman

 Systems and contained hazardous substances.

        6613. Additionally, Southwire LLC is responsible for the waste attributable to Ford

 Wire and Cable Corporation (“Ford Wire”).

        6614. In or about 2010, Southwire Co. acquired Ford Wire.




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        6615. According to Chemetco Site records, Ford Wire contributed at least 14,845 lbs. of

 materials to the Chemetco Site. These materials were generated by Ford Wire and contained

 hazardous substances.

        6616. Additionally, Southwire LLC is responsible for the waste attributable to Gaston

 Copper Recycling, LLC (“Gaston Copper”).

        6617. According to Chemetco Site records, Gaston Copper contributed at least 19,767

 lbs. of materials to the Chemetco Site. These materials were generated by Gaston Copper and

 contained hazardous substances.

        6618. Additionally, Southwire LLC is responsible for the waste attributable to Wyre

 Wynd, Inc. (“Wyre”).

        6619. Wyre is a division of Southwire LLC.

        6620. According to Chemetco Site records, Wyre contributed at least 131,616 lbs. of

 materials to the Chemetco Site. These materials were generated by Wyre and contained

 hazardous substances.

        6621. To date, Southwire LLC has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6622. Alternatively, Defendant Gaston Copper is responsible for the waste attributable

 to Gaston Copper, as alleged in paragraph no. 6617 above.

        6623. To date, Gaston Copper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6624. According to Chemetco Site records, Defendant Soward Scrap (“Soward”)

 contributed at least 10,187 lbs. of materials to the Chemetco Site. These materials were

 generated by Soward and contained hazardous substances.




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        6625. To date, Soward has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6626. According to Chemetco Site records, Defendant Space Age Metal (“Space Age

 Metal”) contributed at least 1,893 lbs. of materials to the Chemetco Site. These materials were

 generated by Space Age Metal and contained hazardous substances.

        6627. To date, Space Age Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6628. According to Chemetco Site records, Defendant Space Tech (“Space Tech”)

 contributed at least 38,384 lbs. of materials to the Chemetco Site. These materials were

 generated by Space Tech and contained hazardous substances.

        6629. To date, Space Tech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6630. According to Chemetco Site records, Defendant Spartan Metals, Inc. (“Spartan

 Metals”) contributed at least 172,598 lbs. of materials to the Chemetco Site. These materials

 were generated by Spartan Metals and contained hazardous substances.

        6631. To date, Spartan Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6632. According to Chemetco Site records, Defendant Specialloy Metals Company

 (“Specialloy Metals”) contributed at least 4,068,309 lbs. of materials to the Chemetco Site.

 These materials were generated by Specialloy Metals and contained hazardous substances.

        6633. To date, Specialloy Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6634. According to Chemetco Site records, Defendant Specialty Chemical Systems, Inc.

 (“Specialty Chemical”) contributed at least 12,888 lbs. of materials to the Chemetco Site. These

 materials were generated by Specialty Chemical and contained hazardous substances.

        6635. To date, Specialty Chemical has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6636. According to Chemetco Site records, Defendant Specialty Recycling Services,

 Inc. (“Speciality Recycling”) contributed materials to the Chemetco Site. These materials were

 generated by Speciality Recycling and contained hazardous substances.

        6637. To date, Speciality Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6638. According to Chemetco Site records, Defendant Specialty Salvage Ltd.

 (“Specialty Salvage”) contributed at least 9,499 lbs. of materials to the Chemetco Site. These

 materials were generated by Specialty Salvage and contained hazardous substances.

        6639. To date, Specialty Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6640. Defendant Specialty Underwater Services, LLC (“SUS”) is responsible for the

 waste attributable to AWS Remediation, LLC (“AWS Remediation”).

        6641. According to Chemetco Site records, AWS Remediation contributed at least 8,765

 lbs. of materials to the Chemetco Site. These materials were generated by AWS Remediation and

 contained hazardous substances.

        6642. To date, SUS has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.




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        6643. According to Chemetco Site records, Defendant Spectra Premium (USA) Corp.

 (“Spectra”) contributed at least 88,963 lbs. of materials to the Chemetco Site. These materials

 were generated by Spectra and contained hazardous substances.

        6644. To date, Spectra has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6645. According to Chemetco Site records, Defendant Spectrum Control Inc.

 (“Spectrum Control”) contributed at least 1,255 lbs. of materials to the Chemetco Site. These

 materials were generated by Spectrum Control and contained hazardous substances.

        6646. To date, Spectrum Control has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6647. According to Chemetco Site records, Defendant Speedweigh Recycling, Inc.

 (“Speedweigh Recycling”) contributed at least 328,331 lbs. of materials to the Chemetco Site.

 These materials were generated by Speedweigh Recycling and contained hazardous substances.

        6648. To date, Speedweigh Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6649. According to Chemetco Site records, Defendant Speedy Metals, Inc. doing

 business as Pacific Metal Cutting & Waterjet (“Speedy Metals”) contributed at least 5,145 lbs. of

 materials to the Chemetco Site. These materials were generated by Speedy Metals and contained

 hazardous substances.

        6650. To date, Speedy Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6651. According to Chemetco Site records, Defendant Spencer Road Public Utility

 (“Spencer PUD”) contributed at least 1,644 lbs. of materials to the Chemetco Site. These

 materials were generated by Spencer PUD and contained hazardous substances.

        6652. To date, Spencer PUD has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6653. Defendant Sprigg Lane Investment Corporation (“Sprigg Lane”) is responsible for

 the waste attributable to Virginia Metalcrafters, Inc. (“Virginia Metalcrafters”).

        6654. In or about 2008, Virginia Metalcrafters amended its name to Sprigg Lane.

        6655. According to Chemetco Site records, Virginia Metalcrafters contributed at least

 82,014 lbs. of materials to the Chemetco Site. These materials were generated by Virginia

 Metalcrafters and contained hazardous substances.

        6656. To date, Sprigg Lane has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6657. According to Chemetco Site records, Defendant Spring City Salvage Co. (“Spring

 City Salvage”) contributed at least 55,968 lbs. of materials to the Chemetco Site. These materials

 were generated by Spring City Salvage and contained hazardous substances.

        6658. To date, Spring City Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6659. According to Chemetco Site records, Defendant Springfield Metals (“Springfield

 Metals”) contributed at least 8,993 lbs. of materials to the Chemetco Site. These materials were

 generated by Springfield Metals and contained hazardous substances.

        6660. To date, Springfield Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6661. According to Chemetco Site records, Defendant Sprint (“Sprint”) contributed at

 least 237 lbs. of materials to the Chemetco Site. These materials were generated by Sprint and

 contained hazardous substances.

        6662. To date, Sprint has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6663. According to Chemetco Site records, Defendant Sprint Corporation (“Sprint

 Corp.”) contributed at least 388 lbs. of materials to the Chemetco Site. These materials were

 generated by Sprint Corp. and contained hazardous substances.

        6664. To date, Sprint Corp. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6665. Defendant SPX Transformer Solutions, Inc. (“SPX Transformer”) is responsible

 for the waste attributable to High Voltage Supply, Inc. (“High Voltage”).

        6666. High Voltage is a trademark and brand of SPX Transformer.

        6667. According to Chemetco Site records, High Voltage contributed at least 15,135 lbs.

 of materials to the Chemetco Site. These materials were generated by High Voltage and

 contained hazardous substances.

        6668. To date, SPX Transformer has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6669. According to Chemetco Site records, Defendant Square Deal Iron and Metal

 (“Square Deal Iron”) contributed at least 65,429 lbs. of materials to the Chemetco Site. These

 materials were generated by Square Deal Iron and contained hazardous substances.

        6670. To date, Square Deal Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6671. According to Chemetco Site records, Defendant St. Joe International (“St Joe

 International”) contributed at least 785,966 lbs. of materials to the Chemetco Site. These

 materials were generated by St Joe International and contained hazardous substances.

        6672. To date, St Joe International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6673. According to Chemetco Site records, Defendant St. Joe Lead (“St. Joe Lead”)

 contributed at least 830,234 lbs. of materials to the Chemetco Site. These materials were

 generated by St. Joe Lead and contained hazardous substances.

        6674. To date, St. Joe Lead has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6675. According to Chemetco Site records, Defendant St. Paul Foundry (“St. Paul

 Foundry”) contributed at least 906,028 lbs. of materials to the Chemetco Site. These materials

 were generated by St. Paul Foundry and contained hazardous substances.

        6676. To date, St. Paul Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6677. According to Chemetco Site records, Defendant St. Thomas Scrap (“St. Thomas

 Scrap”) contributed at least 519,702 lbs. of materials to the Chemetco Site. These materials were

 generated by St. Thomas Scrap and contained hazardous substances.

        6678. To date, St. Thomas Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6679. According to Chemetco Site records, Defendant Stainless & Alloy Processors,

 Inc. (“Stainless Processors”) contributed at least 201,112 lbs. of materials to the Chemetco Site.

 These materials were generated by Stainless Processors and contained hazardous substances.




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        6680. To date, Stainless Processors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6681. According to Chemetco Site records, Defendant Stajo (“Stajo”) contributed at

 least 16,396 lbs. of materials to the Chemetco Site. These materials were generated by Stajo and

 contained hazardous substances.

        6682. To date, Stajo has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6683. According to Chemetco Site records, Defendant Stalloy Metal (“Stalloy Metal”)

 contributed at least 4,776 lbs. of materials to the Chemetco Site. These materials were generated

 by Stalloy Metal and contained hazardous substances.

        6684. To date, Stalloy Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6685. According to Chemetco Site records, Defendant Standard Automotive Builders

 (“Standard Automotive Builders”) contributed at least 5,672 lbs. of materials to the Chemetco

 Site. These materials were generated by Standard Automotive Builders and contained hazardous

 substances.

        6686. To date, Standard Automotive Builders has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        6687. According to Chemetco Site records, Defendant Standard Electric (“Standard

 Electric”) contributed at least 12,003 lbs. of materials to the Chemetco Site. These materials

 were generated by Standard Electric and contained hazardous substances.

        6688. To date, Standard Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6689. According to Chemetco Site records, Defendant Standard Iron & Metals Co.

 (“Standard Iron”) contributed at least 301,062 lbs. of materials to the Chemetco Site. These

 materials were generated by Standard Iron and contained hazardous substances.

        6690. To date, Standard Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6691. According to Chemetco Site records, Defendant Standard Motor (“Standard

 Motor”) contributed at least 576,907 lbs. of materials to the Chemetco Site. These materials were

 generated by Standard Motor and contained hazardous substances.

        6692. To date, Standard Motor has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6693. According to Chemetco Site records, Defendant Standard Scrap Metal/Eigen

 Scrap Metal & Alloy Co. (“Standard Scrap Metal”) contributed at least 86,764 lbs. of materials

 to the Chemetco Site. These materials were generated by Standard Scrap Metal and contained

 hazardous substances.

        6694. To date, Standard Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6695. According to Chemetco Site records, Defendant Standex Electronics, Inc.

 (“Standex”) contributed at least 87,560 lbs. of materials to the Chemetco Site. These materials

 were generated by Standex and contained hazardous substances.

        6696. To date, Standex has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        6697. According to Chemetco Site records, Defendant Stanford (“Stanford”) contributed

 at least 74,222 lbs. of materials to the Chemetco Site. These materials were generated by

 Stanford and contained hazardous substances.

        6698. To date, Stanford has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6699. According to Chemetco Site records, Defendant Star Iron & Metal (“Star Iron”)

 contributed at least 13,830 lbs. of materials to the Chemetco Site. These materials were

 generated by Star Iron and contained hazardous substances.

        6700. To date, Star Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6701. According to Chemetco Site records, Defendant Star Scrap Metal Company, Inc.

 (“Star Scrap Metal”) contributed at least 1,605,935 lbs. of materials to the Chemetco Site. These

 materials were generated by Star Scrap Metal and contained hazardous substances.

        6702. To date, Star Scrap Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6703. According to Chemetco Site records, Defendant Startech.com USA LLP

 (“Startech”) contributed at least 12,022 lbs. of materials to the Chemetco Site. These materials

 were generated by Startech and contained hazardous substances.

        6704. To date, Startech has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6705. According to Chemetco Site records, Defendant Stateline Scrap Metal (“Stateline

 Scrap”) contributed at least 72,222 lbs. of materials to the Chemetco Site. These materials were

 generated by Stateline Scrap and contained hazardous substances.




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        6706. To date, Stateline Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6707. According to Chemetco Site records, Defendant State Iron & Metal Inc. (“State

 Iron”) contributed at least 543 lbs. of materials to the Chemetco Site. These materials were

 generated by State Iron and contained hazardous substances.

        6708. To date, State Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6709. According to Chemetco Site records, Defendant State Line Scrap Co. Inc. (“State

 Line Scrap”) contributed at least 9,760 lbs. of materials to the Chemetco Site. These materials

 were generated by State Line Scrap and contained hazardous substances.

        6710. To date, State Line Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6711. According to Chemetco Site records, Defendant State Metal Co. (“State Metal”)

 contributed at least 460,600 lbs. of materials to the Chemetco Site. These materials were

 generated by State Metal and contained hazardous substances.

        6712. To date, State Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6713. According to Chemetco Site records, Defendant State Metal Industries (“State

 Metal Industries”) contributed at least 1,315 lbs. of materials to the Chemetco Site. These

 materials were generated by State Metal Industries and contained hazardous substances.

        6714. To date, State Metal Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6715. According to Chemetco Site records, Defendant State of Illinois (“Illinois”)

 contributed at least 352,294 lbs. of materials to the Chemetco Site. These materials were

 generated by Illinois and contained hazardous substances.

        6716. To date, Illinois has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6717. According to Chemetco Site records, Defendant State Paper & Metal Co., Inc.

 (“State Paper”) contributed at least 41,419 lbs. of materials to the Chemetco Site. These

 materials were generated by State Paper and contained hazardous substances.

        6718. To date, State Paper has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6719. According to Chemetco Site records, Defendant State Pride Roofing of Florida,

 Inc. (“State Roofing”) contributed at least 331,578 lbs. of materials to the Chemetco Site. These

 materials were generated by State Roofing and contained hazardous substances.

        6720. To date, State Roofing has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6721. According to Chemetco Site records, Defendant State Sand & Gravel Co., Inc.

 doing business as State Iron & Metal (“State Sand”) contributed at least 123,445 lbs. of materials

 to the Chemetco Site. These materials were generated by State Sand and contained hazardous

 substances.

        6722. To date, State Sand has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6723. According to Chemetco Site records, Defendant State Steel Co. (“State Steel”)

 contributed at least 492 lbs. of materials to the Chemetco Site. These materials were generated

 by State Steel and contained hazardous substances.

        6724. To date, State Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6725. According to Chemetco Site records, Defendant Stateco Inc. (“Stateco”)

 contributed at least 158,890 lbs. of materials to the Chemetco Site. These materials were

 generated by Stateco and contained hazardous substances.

        6726. To date, Stateco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6727. According to Chemetco Site records, Defendant Steel City Iron (“Steel City”)

 contributed at least 12,696 lbs. of materials to the Chemetco Site. These materials were

 generated by Steel City and contained hazardous substances.

        6728. To date, Steel City has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6729. According to Chemetco Site records, Defendant Steel Mill (“Steel Mill”)

 contributed at least 185 lbs. of materials to the Chemetco Site. These materials were generated

 by Steel Mill and contained hazardous substances.

        6730. To date, Steel Mill has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6731. According to Chemetco Site records, Defendant Steffa Metals Co., Inc. (“Steffa

 Metals”) contributed at least 163,274 lbs. of materials to the Chemetco Site. These materials

 were generated by Steffa Metals and contained hazardous substances.




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        6732. To date, Steffa Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6733. According to Chemetco Site records, Defendant Stepen Enterprises (“Stepen

 Enterprises”) contributed at least 1,296,428 lbs. of materials to the Chemetco Site. These

 materials were generated by Stepen Enterprises and contained hazardous substances.

        6734. To date, Stepen Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6735. According to Chemetco Site records, Defendant Stephan’s Auto (“Stephan’s

 Auto”) contributed at least 40,300 lbs. of materials to the Chemetco Site. These materials were

 generated by Stephan’s Auto and contained hazardous substances.

        6736. To date, Stephan’s Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6737. According to Chemetco Site records, Defendant Sterling Faucet Co. (“Sterling

 Faucet”) contributed at least 412,487 lbs. of materials to the Chemetco Site. These materials

 were generated by Sterling Faucet and contained hazardous substances.

        6738. To date, Sterling Faucet has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6739. According to Chemetco Site records, Defendant Sterling Properties (“Sterling

 Properties”) contributed at least 423 lbs. of materials to the Chemetco Site. These materials were

 generated by Sterling Properties and contained hazardous substances.

        6740. To date, Sterling Properties has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6741. According to Chemetco Site records, Defendant Steven Wrecking (“Steven

 Wrecking”) contributed at least 2,892 lbs. of materials to the Chemetco Site. These materials

 were generated by Steven Wrecking and contained hazardous substances.

        6742. To date, Steven Wrecking has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6743. According to Chemetco Site records, Defendant Steven’s Auto Sales (“Steven’s

 Auto”) contributed at least 36,680 lbs. of materials to the Chemetco Site. These materials were

 generated by Steven’s Auto and contained hazardous substances.

        6744. To date, Steven’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6745. According to Chemetco Site records, Defendant Stevens Auto Salvage (“Stevens

 Auto Salvage”) contributed at least 10,518 lbs. of materials to the Chemetco Site. These

 materials were generated by Stevens Auto Salvage and contained hazardous substances.

        6746. To date, Stevens Auto Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6747. According to Chemetco Site records, Defendant Stevens Transport (“Stevens

 Transport”) contributed at least 4,674 lbs. of materials to the Chemetco Site. These materials

 were generated by Stevens Transport and contained hazardous substances.

        6748. To date, Stevens Transport has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6749. According to Chemetco Site records, Defendant Stewart Company doing business

 as Hawkes Radiator (“Stewart”) contributed at least 1,729 lbs. of materials to the Chemetco Site.

 These materials were generated by Stewart and contained hazardous substances.




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        6750. To date, Stewart has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6751. Defendant Stewart EFI, LLC (“Stewart EFI”) is responsible for the waste

 attributable to Stewart Stamping Corporation (“Stewart Stamping”).

        6752. In or about 1999, Stewart Stamping and Eyelets for Industry, Inc. merged to form

 Stewart EFI.

        6753. According to Chemetco Site records, Stewart Stamping contributed at least

 13,002 lbs. of materials to the Chemetco Site. These materials were generated by Stewart

 Stamping and contained hazardous substances.

        6754. To date, Stewart EFI has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6755. According to Chemetco Site records, Defendant Stimple & Ward Company

 (“Stimple & Ward”) contributed at least 38,623 lbs. of materials to the Chemetco Site. These

 materials were generated by Stimple & Ward and contained hazardous substances.

        6756. To date, Stimple & Ward has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6757. According to Chemetco Site records, Defendant Stinson Metal (“Stinson Metal”)

 contributed at least 2,018 lbs. of materials to the Chemetco Site. These materials were generated

 by Stinson Metal and contained hazardous substances.

        6758. To date, Stinson Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6759. According to Chemetco Site records, Defendant Stocton Recycling Center

 (“Stocton Recycling”) contributed at least 2,092 lbs. of materials to the Chemetco Site. These

 materials were generated by Stocton Recycling and contained hazardous substances.

        6760. To date, Stocton Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6761. According to Chemetco Site records, Defendant Stoltz Machine (“Stoltz

 Machine”) contributed at least 434 lbs. of materials to the Chemetco Site. These materials were

 generated by Stoltz Machine and contained hazardous substances.

        6762. To date, Stoltz Machine has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6763. Defendant Stoneridge, Inc. (“Stoneridge”) is responsible for the waste attributable

 to Joseph Pollak Corp. (“Pollak”).

        6764. In or about 1988, Stoneridge acquired Pollak.

        6765. According to Chemetco Site records, Pollak contributed at least 20,047 lbs. of

 materials to the Chemetco Site. These materials were generated by Pollak and contained

 hazardous substances.

        6766. To date, Stoneridge has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6767. According to Chemetco Site records, Defendant Storm Investments, Inc. (“Storm

 Investments”) contributed materials to the Chemetco Site. These materials were generated by

 Storm Investments and contained hazardous substances.

        6768. To date, Storm Investments has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6769. Defendant Storm Manufacturing Group, Inc. (“Storm”) is responsible for the

 waste attributable to Buckner by Storm, Inc. (“Buckner”).

        6770. In or about 2000, Storm acquired Buckner.

        6771. According to Chemetco Site records, Buckner contributed at least 29,921 lbs. of

 materials to the Chemetco Site. These materials were generated by Buckner and contained

 hazardous substances.

        6772. To date, Storm has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6773. According to Chemetco Site records, Defendant Storm Products (“Storm

 Products”) contributed at least 250 lbs. of materials to the Chemetco Site. These materials were

 generated by Storm Products and contained hazardous substances.

        6774. To date, Storm Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6775. According to Chemetco Site records, Defendant Stout & Son (“Stout & Son”)

 contributed at least 41,502 lbs. of materials to the Chemetco Site. These materials were

 generated by Stout & Son and contained hazardous substances.

        6776. To date, Stout & Son has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6777. According to Chemetco Site records, Defendant Stout & Sons (“Stout & Sons”)

 contributed at least 18,133 lbs. of materials to the Chemetco Site. These materials were

 generated by Stout & Sons and contained hazardous substances.

        6778. To date, Stout & Sons has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6779. According to Chemetco Site records, Defendant Stout Motor Co. (“Stout Motor”)

 contributed at least 17,086 lbs. of materials to the Chemetco Site. These materials were

 generated by Stout Motor and contained hazardous substances.

        6780. To date, Stout Motor has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6781. According to Chemetco Site records, Defendant Strategic Metals Corporation

 doing business as Robert K. Kurtz Company (“Strategic Metals”) contributed at least 198,241

 lbs. of materials to the Chemetco Site. These materials were generated by Strategic Metals and

 contained hazardous substances.

        6782. To date, Strategic Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6783. According to Chemetco Site records, Defendant Strategic Reclamation, Inc.

 (“Strategic Reclamation”) contributed at least 5,994 lbs. of materials to the Chemetco Site. These

 materials were generated by Strategic Reclamation and contained hazardous substances.

        6784. To date, Strategic Reclamation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6785. Defendant Strauss Industries, Inc. (“Strauss Industries”) is responsible for the

 waste attributable to Jeannette Recycling Co. (“Jeanette Recycling”).

        6786. According to Chemetco Site records, Jeanette Recycling contributed at least

 22,198 lbs. of materials to the Chemetco Site. These materials were generated by Jeanette

 Recycling and contained hazardous substances.

        6787. To date, Strauss Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6788. According to Chemetco Site records, Defendant Strone Investments, L.C. doing

 business as A-Line Iron & Metals (“Strone Investments”) contributed materials to the Chemetco

 Site. These materials were generated by Strone Investments and contained hazardous substances.

        6789. To date, Strone Investments has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6790. According to Chemetco Site records, Defendant Strunza Metals (“Strunza

 Metals”) contributed at least 1,727,052 lbs. of materials to the Chemetco Site. These materials

 were generated by Strunza Metals and contained hazardous substances.

        6791. To date, Strunza Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6792. Defendant Stubblefield Salvage and Recycling, LLC (“Stubblefield Salvage”) is

 responsible for the waste attributable to Emory Stubblefield Co. (“Emory Stubblefield”).

        6793. According to Chemetco Site records, Emory Stubblefield contributed at least

 339,661 lbs. of materials to the Chemetco Site. These materials were generated by Emory

 Stubblefield and contained hazardous substances.

        6794. To date, Stubblefield Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6795. According to Chemetco Site records, Defendant Studdard Scrap (“Studdard

 Scrap”) contributed at least 94 lbs. of materials to the Chemetco Site. These materials were

 generated by Studdard Scrap and contained hazardous substances.

        6796. To date, Studdard Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6797. According to Chemetco Site records, Defendant Sturgeon Bay (“Sturgeon Bay”)

 contributed at least 20,998 lbs. of materials to the Chemetco Site. These materials were

 generated by Sturgeon Bay and contained hazardous substances.

        6798. To date, Sturgeon Bay has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6799. According to Chemetco Site records, Defendant Sturgil & Boo (“Sturgil & Boo”)

 contributed at least 463 lbs. of materials to the Chemetco Site. These materials were generated

 by Sturgil & Boo and contained hazardous substances.

        6800. To date, Sturgil & Boo has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6801. According to Chemetco Site records, Defendant Sudbury Iron (“Sudbury Iron”)

 contributed at least 7,728 lbs. of materials to the Chemetco Site. These materials were generated

 by Sudbury Iron and contained hazardous substances.

        6802. To date, Sudbury Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6803. According to Chemetco Site records, Defendant Suffolk County Water Authority

 (“SCWA”) contributed at least 685,674 lbs. of materials to the Chemetco Site. These materials

 were generated by SCWA and contained hazardous substances.

        6804. To date, SCWA has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6805. According to Chemetco Site records, Defendant Suisman & Blumenthal Inc.

 (“Suisman & Blumenthal”) contributed at least 19,201 lbs. of materials to the Chemetco Site.

 These materials were generated by Suisman & Blumenthal and contained hazardous substances.




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        6806. To date, Suisman & Blumenthal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6807. According to Chemetco Site records, Defendant Sulphur Springs (“Sulphur

 Springs”) contributed at least 3 lbs. of materials to the Chemetco Site. These materials were

 generated by Sulphur Springs and contained hazardous substances.

        6808. To date, Sulphur Springs has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6809. According to Chemetco Site records, Defendant Summit Corporation of America

 (“Summit Corp.”) contributed at least 89,052 lbs. of materials to the Chemetco Site. These

 materials were generated by Summit Corp. and contained hazardous substances.

        6810. To date, Summit Corp. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6811. According to Chemetco Site records, Defendant Summit Metal (“Summit Metal”)

 contributed at least 426,590 lbs. of materials to the Chemetco Site. These materials were

 generated by Summit Metal and contained hazardous substances.

        6812. To date, Summit Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6813. According to Chemetco Site records, Defendant Summit Processors, Inc.

 (“Summit Processors”) contributed at least 1,507,547 lbs. of materials to the Chemetco Site.

 These materials were generated by Summit Processors and contained hazardous substances.

        6814. To date, Summit Processors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6815. Defendant Summit, Inc. (“Summit”) is responsible for the waste attributable to

 Western Scrap Corp. (“Western Scrap”).

        6816. According to Chemetco Site records, Western Scrap contributed at least 32,199

 lbs. of materials to the Chemetco Site. These materials were generated by Western Scrap and

 contained hazardous substances.

        6817. To date, Summit has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6818. According to Chemetco Site records, Defendant Sun City Radiators (“Sun City

 Radiators”) contributed at least 475 lbs. of materials to the Chemetco Site. These materials were

 generated by Sun City Radiators and contained hazardous substances.

        6819. To date, Sun City Radiators has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6820. According to Chemetco Site records, Defendant Sun Valley Recycling (“Sun

 Valley”) contributed at least 12 lbs. of materials to the Chemetco Site. These materials were

 generated by Sun Valley and contained hazardous substances.

        6821. To date, Sun Valley has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6822. According to Chemetco Site records, Defendant Sundstrand Heat Transfer

 (“Sundstrand”) contributed at least 88,864 lbs. of materials to the Chemetco Site. These materials

 were generated by Sundstrand and contained hazardous substances.

        6823. To date, Sundstrand has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6824. According to Chemetco Site records, Defendant Sunrise Metals doing business as

 Sunrise Metals (“Sunrise Metals”) contributed at least 35,528 lbs. of materials to the Chemetco

 Site. These materials were generated by Sunrise Metals and contained hazardous substances.

        6825. To date, Sunrise Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6826. Defendant Sunrise Recycling, LLC (“Sunrise Recycling”) is responsible for the

 waste attributable to Trinity Recycling (“Trinity Recycling”).

        6827. According to Chemetco Site records, Trinity Recycling contributed at least

 218,226 lbs. of materials to the Chemetco Site. These materials were generated by Trinity

 Recycling and contained hazardous substances.

        6828. To date, Sunrise Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6829. According to Chemetco Site records, Defendant Sunshine Metals (“Sunshine

 Metals”) contributed at least 30,602 lbs. of materials to the Chemetco Site. These materials were

 generated by Sunshine Metals and contained hazardous substances.

        6830. To date, Sunshine Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6831. According to Chemetco Site records, Defendant Sunwest Metals (“Sunwest

 Metals”) contributed at least 3,758 lbs. of materials to the Chemetco Site. These materials were

 generated by Sunwest Metals and contained hazardous substances.

        6832. To date, Sunwest Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6833. According to Chemetco Site records, Defendant Superior Bronze Corporation

 (“Superior Bronze”) contributed at least 129,598 lbs. of materials to the Chemetco Site. These

 materials were generated by Superior Bronze and contained hazardous substances.

        6834. To date, Superior Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6835. According to Chemetco Site records, Defendant Superior Essex Inc. (“Superior

 Essex”) contributed at least 94,243 lbs. of materials to the Chemetco Site. These materials were

 generated by Superior Essex and contained hazardous substances.

        6836. Additionally, Superior Essex is responsible for the waste attributable to Superior

 Cable Corporation (“Superior Cable”).

        6837. In or about 1954, Superior Cable was formed.

        6838. In or about 1993, The Alpine Group (“Alpine”) acquired Superior Cable.

        6839. In or about 1996, Superior TeleCom Inc. (“Superior TeleCom”) was formed as a

 wholly owned subsidiary of Alpine, and Superior Cable became Superior TeleCom.

        6840. In or about September 2003, Superior Essex acquired Superior TeleCom.

        6841. According to Chemetco Site records, Superior Cable contributed at least 300,965

 lbs. of materials to the Chemetco Site. These materials were generated by Superior Cable and

 contained hazardous substances.

        6842. To date, Superior Essex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6843. According to Chemetco Site records, Defendant Superior Metal Co. (“Superior

 Metal”) contributed at least 3,232 lbs. of materials to the Chemetco Site. These materials were

 generated by Superior Metal and contained hazardous substances.




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        6844. To date, Superior Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6845. According to Chemetco Site records, Defendant Suppliers International

 (“Suppliers International”) contributed at least 51,675 lbs. of materials to the Chemetco Site.

 These materials were generated by Suppliers International and contained hazardous substances.

        6846. To date, Suppliers International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6847. According to Chemetco Site records, Defendant Susanville Recycling Center

 (“Susanville Recycling”) contributed at least 1,663 lbs. of materials to the Chemetco Site. These

 materials were generated by Susanville Recycling and contained hazardous substances.

        6848. To date, Susanville Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6849. According to Chemetco Site records, Defendant Suwannee Auto Salvage, Inc.

 (“Suwannee Auto”) contributed at least 174 lbs. of materials to the Chemetco Site. These

 materials were generated by Suwannee Auto and contained hazardous substances.

        6850. To date, Suwannee Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6851. According to Chemetco Site records, Defendant SW Industries (“SW Industries”)

 contributed at least 245,796 lbs. of materials to the Chemetco Site. These materials were

 generated by SW Industries and contained hazardous substances.

        6852. To date, SW Industries has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6853. According to Chemetco Site records, Defendant Sweets Fur (“Sweets Fur”)

 contributed at least 32 lbs. of materials to the Chemetco Site. These materials were generated by

 Sweets Fur and contained hazardous substances.

        6854. To date, Sweets Fur has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6855. According to Chemetco Site records, Defendant Swenson Metal Salvage

 (“Swenson Metal”) contributed at least 822,258 lbs. of materials to the Chemetco Site. These

 materials were generated by Swenson Metal and contained hazardous substances.

        6856. To date, Swenson Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6857. According to Chemetco Site records, Defendant T&C Metal Co. (“T&C Metal”)

 contributed at least 611,963 lbs. of materials to the Chemetco Site. These materials were

 generated by T&C Metal and contained hazardous substances.

        6858. To date, T&C Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6859. According to Chemetco Site records, Defendant T&J Metal Co. (“T&J Metal”)

 contributed at least 2,532 lbs. of materials to the Chemetco Site. These materials were generated

 by T&J Metal and contained hazardous substances.

        6860. To date, T&J Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6861. According to Chemetco Site records, Defendant T&R Electric (“T&R Electric”)

 contributed at least 252,205 lbs. of materials to the Chemetco Site. These materials were

 generated by T&R Electric and contained hazardous substances.




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        6862. To date, T&R Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6863. According to Chemetco Site records, Defendant T&T Recycling Inc. (“T&T

 Recycling”) contributed at least 5,606 lbs. of materials to the Chemetco Site. These materials

 were generated by T&T Recycling and contained hazardous substances.

        6864. To date, T&T Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6865. According to Chemetco Site records, Defendant T&T Sales (“T&T Sales”)

 contributed at least 6,538 lbs. of materials to the Chemetco Site. These materials were generated

 by T&T Sales and contained hazardous substances.

        6866. To date, T&T Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6867. According to Chemetco Site records, Defendant Tacoma Metals, Inc. (“Tacoma

 Metals”) contributed at least 337,852 lbs. of materials to the Chemetco Site. These materials

 were generated by Tacoma Metals and contained hazardous substances.

        6868. To date, Tacoma Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6869. According to Chemetco Site records, Defendant Talbert Metal (“Talbert”)

 contributed at least 6,907 lbs. of materials to the Chemetco Site. These materials were generated

 by Talbert and contained hazardous substances.

        6870. To date, Talbert has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        6871. According to Chemetco Site records, Defendant Tampa Scrap Processors

 (“Tampa Scrap”) contributed at least 44,406 lbs. of materials to the Chemetco Site. These

 materials were generated by Tampa Scrap and contained hazardous substances.

        6872. To date, Tampa Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6873. According to Chemetco Site records, Defendant Tandy Wire & Cable (“Tandy

 Wire”) contributed at least 175,500 lbs. of materials to the Chemetco Site. These materials were

 generated by Tandy Wire and contained hazardous substances.

        6874. To date, Tandy Wire has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6875. According to Chemetco Site records, Defendant Taylor Auto Parts, Inc. (“Taylor

 Auto”) contributed at least 577,514 lbs. of materials to the Chemetco Site. These materials were

 generated by Taylor Auto and contained hazardous substances.

        6876. To date, Taylor Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6877. According to Chemetco Site records, Defendant TCI Incorporated (“TCI”)

 contributed at least 21,927 lbs. of materials to the Chemetco Site. These materials were

 generated by TCI and contained hazardous substances.

        6878. To date, TCI has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        6879. Defendant TDY Industries, LLC (“TDY LLC”) is responsible for the waste

 attributable to Teledyne Industries, Inc. (“Teledyne Industries”).

        6880. In or about 1964, Teledyne Industries was formed as a California corporation.




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        6881. In or about 1990, Teledyne Industries registered Teledyne Packaging as its

 fictitious name with the Pennsylvania Secretary of State.

        6882. In or about 2000, Teledyne Industries amended its name to TDY Industries, Inc.

 (“TDY Inc.”).

        6883. In or about 2012, TDY Inc. was converted into TDY LLC.

        6884. According to Chemetco Site records, Teledyne Industries contributed at least

 5,472 lbs. of materials to the Chemetco Site. These materials were generated by Teledyne

 Industries and contained hazardous substances.

        6885. To date, TDY LLC has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6886. According to Chemetco Site records, Defendant TE King Auto Salvage (“TE

 King Auto”) contributed at least 167 lbs. of materials to the Chemetco Site. These materials were

 generated by TE King Auto and contained hazardous substances.

        6887. To date, TE King Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6888. According to Chemetco Site records, Defendant TEAM Service Corporation

 (“TEAM Service”) contributed at least 1,556 lbs. of materials to the Chemetco Site. These

 materials were generated by TEAM Service and contained hazardous substances.

        6889. To date, TEAM Service has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6890. According to Chemetco Site records, Defendant Teccor Electronics (“Teccor

 Electronics”) contributed at least 1,211,981 lbs. of materials to the Chemetco Site. These

 materials were generated by Teccor Electronics and contained hazardous substances.




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        6891. To date, Teccor Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6892. According to Chemetco Site records, Defendant Tech Met Company (“Tech

 Met”) contributed at least 269,247 lbs. of materials to the Chemetco Site. These materials were

 generated by Tech Met and contained hazardous substances.

        6893. To date, Tech Met has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6894. According to Chemetco Site records, Defendant Technalloy, Inc. (“Technalloy”)

 contributed at least 99,146 lbs. of materials to the Chemetco Site. These materials were

 generated by Technalloy and contained hazardous substances.

        6895. To date, Technalloy has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6896. Defendant Tecnofil Chenango, SAC (“Tecnofil Chenango”) is responsible for the

 waste attributable to Sherburne Metal Products, Inc. (“Sherburne Products”).

        6897. In or about August 2011, Sherburne Products amended its name to Tecnofil

 Chenango.

        6898. According to Chemetco Site records, Sherburne Products contributed at least

 133,648 lbs. of materials to the Chemetco Site. These materials were generated by Sherburne

 Products and contained hazardous substances.

        6899. To date, Tecnofil Chenango has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6900. According to Chemetco Site records, Defendant Tel Trac (“Tel Trac”) contributed

 at least 1,840 lbs. of materials to the Chemetco Site. These materials were generated by Tel Trac

 and contained hazardous substances.

        6901. To date, Tel Trac has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6902. Defendant Teledyne Reynolds Inc. (“Teledyne Reynolds”) is responsible for the

 waste attributable to Teledyne Storm Products, Inc. (“Teledyne Storm Products”).

        6903. In or about 2012, Teledyne Storm Products merged with and into Teledyne

 Reynolds.

        6904. According to Chemetco Site records, Teledyne Storm Products contributed at

 least 44,402 lbs. of materials to the Chemetco Site. These materials were generated by Teledyne

 Storm Products and contained hazardous substances.

        6905. To date, Teledyne Reynolds has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6906. Defendant Teleplan Holdings USA Inc. (“Teleplan”) is responsible for the waste

 attributable to Teleplan Technology Services Division (“Teleplan Technology Services”).

        6907. According to Chemetco Site records, Teleplan Technology Services contributed at

 least 5,967 lbs. of materials to the Chemetco Site. These materials were generated by Teleplan

 Technology Services and contained hazardous substances.

        6908. To date, Teleplan has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6909. According to Chemetco Site records, Defendant TelExpress, Inc. (“TelExpress”)

 contributed at least 7,600 lbs. of materials to the Chemetco Site. These materials were generated

 by TelExpress and contained hazardous substances.

        6910. To date, TelExpress has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6911. According to Chemetco Site records, Defendant Telsco Industries, Inc. doing

 business as Weathermatic (“Telsco Industries”) contributed at least 97,062 lbs. of materials to

 the Chemetco Site. These materials were generated by Telsco Industries and contained hazardous

 substances.

        6912. To date, Telsco Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6913. According to Chemetco Site records, Defendant Temple Iron & Metal Co.

 (“Temple Iron”) contributed at least 856,032 lbs. of materials to the Chemetco Site. These

 materials were generated by Temple Iron and contained hazardous substances.

        6914. To date, Temple Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6915. According to Chemetco Site records, Defendant Temple Metal (“Temple Metal”)

 contributed at least 26,217 lbs. of materials to the Chemetco Site. These materials were

 generated by Temple Metal and contained hazardous substances.

        6916. To date, Temple Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        6917. According to Chemetco Site records, Defendant Tengs Enterprises (“Tengs

 Enterprises”) contributed at least 192,676 lbs. of materials to the Chemetco Site. These materials

 were generated by Tengs Enterprises and contained hazardous substances.

        6918. To date, Tengs Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6919. Defendant Tennessee Valley Recycling LLC (“Tennessee Recycling”) is

 responsible for the waste attributable to Denbo Iron & Metal Company, Inc. (“Denbo Iron”).

        6920. In or about February 2000, Tennessee Recycling was formed through the merger

 of Denbo Iron and several other related companies.

        6921. According to Chemetco Site records, Denbo Iron contributed at least 113,720 lbs.

 of materials to the Chemetco Site. These materials were generated by Denbo Iron and contained

 hazardous substances.

        6922. To date, Tennessee Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6923. According to Chemetco Site records, Defendant Tenney Rigging, Inc. (“Tenney

 Rigging”) contributed at least 18,931 lbs. of materials to the Chemetco Site. These materials

 were generated by Tenney Rigging and contained hazardous substances.

        6924. To date, Tenney Rigging has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6925. According to Chemetco Site records, Defendant Teplitz Ltd. (“Teplitz”)

 contributed at least 1,840 lbs. of materials to the Chemetco Site. These materials were generated

 by Teplitz and contained hazardous substances.




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        6926. To date, Teplitz has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6927. Defendant Testra Corporation (“Testra”) is responsible for the waste attributable

 to Hartronix, Inc. (“Hartronix”).

        6928. According to Chemetco Site records, Hartronix contributed at least 999 lbs. of

 materials to the Chemetco Site. These materials were generated by Hartronix and contained

 hazardous substances.

        6929. To date, Testra has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6930. According to Chemetco Site records, Defendant Tex X (“Tex X”) contributed at

 least 16,619 lbs. of materials to the Chemetco Site. These materials were generated by Tex X and

 contained hazardous substances.

        6931. To date, Tex X has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6932. According to Chemetco Site records, Defendant Tex-American Recycling, Inc.

 (“Tex-American Recycling”) contributed materials to the Chemetco Site. These materials were

 generated by Tex-American Recycling and contained hazardous substances.

        6933. To date, Tex-American Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6934. According to Chemetco Site records, Defendant Tex-Mex Forwarding (“Tex-

 Mex”) contributed at least 757 lbs. of materials to the Chemetco Site. These materials were

 generated by Tex-Mex and contained hazardous substances.




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        6935. To date, Tex-Mex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6936. According to Chemetco Site records, Defendant Texan Electric Co. Inc. (“Texan

 Electric”) contributed at least 284 lbs. of materials to the Chemetco Site. These materials were

 generated by Texan Electric and contained hazardous substances.

        6937. To date, Texan Electric has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6938. According to Chemetco Site records, Defendant Texas Alloys (“Texas Alloys”)

 contributed at least 2,907 lbs. of materials to the Chemetco Site. These materials were generated

 by Texas Alloys and contained hazardous substances.

        6939. To date, Texas Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6940. According to Chemetco Site records, Defendant Texas Hi Temp Alloy Processors

 & Brokers, L.P. (“Texas Processors”) contributed at least 8,622 lbs. of materials to the Chemetco

 Site. These materials were generated by Texas Processors and contained hazardous substances.

        6941. To date, Texas Processors has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6942. Defendant Texas Instruments Incorporated (“Texas Instruments”) is responsible

 for the waste attributable to Dyna-Craft, Inc. (“Dyna-Craft”).

        6943. In or about 2001, Dyna-Craft was merged with and into the National

 Semiconductor Corporation (“National Semiconductor”).

        6944. In or about 2011, National Semiconductor was merged with and into Texas

 Instruments.




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        6945. According to Chemetco Site records, Dyna-Craft contributed at least 20,398 lbs.

 of materials to the Chemetco Site. These materials were generated by Dyna-Craft and contained

 hazardous substances.

        6946. To date, Texas Instruments has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6947. According to Chemetco Site records, Defendant Texas Iron & Metal (“Texas

 Iron”) contributed at least 182,976 lbs. of materials to the Chemetco Site. These materials were

 generated by Texas Iron and contained hazardous substances.

        6948. To date, Texas Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6949. According to Chemetco Site records, Defendant Texas Metal Casting Co. (“Texas

 Metal”) contributed at least 183,918 lbs. of materials to the Chemetco Site. These materials were

 generated by Texas Metal and contained hazardous substances.

        6950. To date, Texas Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6951. According to Chemetco Site records, Defendant Texas Metal Scrap Recyclers

 (“Texas Metal Recyclers”) contributed at least 6,226 lbs. of materials to the Chemetco Site.

 These materials were generated by Texas Metal Recyclers and contained hazardous substances.

        6952. To date, Texas Metal Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6953. According to Chemetco Site records, Defendant Texas Salvage (“Texas Salvage”)

 contributed at least 19,842 lbs. of materials to the Chemetco Site. These materials were

 generated by Texas Salvage and contained hazardous substances.




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        6954. To date, Texas Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6955. According to Chemetco Site records, Defendant Texas Scrap & Salvage Co.

 (“Texas Scrap”) contributed at least 685,560 lbs. of materials to the Chemetco Site. These

 materials were generated by Texas Scrap and contained hazardous substances.

        6956. To date, Texas Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6957. According to Chemetco Site records, Defendant Texstar Recycling Inc.

 (“Texstar”) contributed at least 895,689 lbs. of materials to the Chemetco Site. These materials

 were generated by Texstar and contained hazardous substances.

        6958. To date, Texstar has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6959. According to Chemetco Site records, Defendant Textron Aerostructures

 (“Textron”) contributed at least 3,972 lbs. of materials to the Chemetco Site. These materials

 were generated by Textron and contained hazardous substances.

        6960. To date, Textron has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        6961. According to Chemetco Site records, Defendant TFI International (“TFI

 International”) contributed at least 132,125 lbs. of materials to the Chemetco Site. These

 materials were generated by TFI International and contained hazardous substances.

        6962. To date, TFI International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6963. According to Chemetco Site records, Defendant Thalheimer Brothers, LLC

 (“Thalheimer”) contributed at least 201,653 lbs. of materials to the Chemetco Site. These

 materials were generated by Thalheimer and contained hazardous substances.

        6964. To date, Thalheimer has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6965. According to Chemetco Site records, Defendant Thecyberyard.com, Inc.

 (“Thecyberyard”) contributed at least 24,620 lbs. of materials to the Chemetco Site. These

 materials were generated by Thecyberyard and contained hazardous substances.

        6966. To date, Thecyberyard has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6967. According to Chemetco Site records, Defendant Therbiault Gas (“Therbiault”)

 contributed at least 698 lbs. of materials to the Chemetco Site. These materials were generated

 by Therbiault and contained hazardous substances.

        6968. To date, Therbiault has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6969. According to Chemetco Site records, Defendant Thermal Industries, Inc.

 (“Thermal Industries”) contributed at least 9,442 lbs. of materials to the Chemetco Site. These

 materials were generated by Thermal Industries and contained hazardous substances.

        6970. To date, Thermal Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6971. According to Chemetco Site records, Defendant Thermax/CDT

 (“Thermax/CDT”) contributed at least 572 lbs. of materials to the Chemetco Site. These

 materials were generated by Thermax/CDT and contained hazardous substances.




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        6972. To date, Thermax/CDT has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6973. According to Chemetco Site records, Defendant Thirbaudeau Metals

 (“Thirbaudeau”) contributed at least 682 lbs. of materials to the Chemetco Site. These materials

 were generated by Thirbaudeau and contained hazardous substances.

        6974. To date, Thirbaudeau has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6975. According to Chemetco Site records, Defendant Thomas & Betts Corporation

 (“Thomas & Betts”) contributed at least 29,682 lbs. of materials to the Chemetco Site. These

 materials were generated by Thomas & Betts and contained hazardous substances.

        6976. To date, Thomas & Betts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6977. According to Chemetco Site records, Defendant Thomaston Recycling Inc.

 (“Thomaston Recycling”) contributed at least 11,196 lbs. of materials to the Chemetco Site.

 These materials were generated by Thomaston Recycling and contained hazardous substances.

        6978. To date, Thomaston Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6979. According to Chemetco Site records, Defendant Thompson Investment Casting

 (“Thompson Casting”) contributed at least 18,505 lbs. of materials to the Chemetco Site. These

 materials were generated by Thompson Casting and contained hazardous substances.

        6980. To date, Thompson Casting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        6981. According to Chemetco Site records, Defendant Thompson Metal Services, Inc.

 (“Thompson Services”) contributed at least 41,664 lbs. of materials to the Chemetco Site. These

 materials were generated by Thompson Services and contained hazardous substances.

        6982. To date, Thompson Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6983. According to Chemetco Site records, Defendant Thomson Recycling (“Thomson

 Recycling”) contributed at least 53,378 lbs. of materials to the Chemetco Site. These materials

 were generated by Thomson Recycling and contained hazardous substances.

        6984. To date, Thomson Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6985. According to Chemetco Site records, Defendant Thornton Salvage (“Thornton”)

 contributed at least 1,306 lbs. of materials to the Chemetco Site. These materials were generated

 by Thornton and contained hazardous substances.

        6986. To date, Thornton has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6987. According to Chemetco Site records, Defendant Thrashers Salvage (“Thrashers”)

 contributed at least 26,939 lbs. of materials to the Chemetco Site. These materials were

 generated by Thrashers and contained hazardous substances.

        6988. To date, Thrashers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6989. According to Chemetco Site records, Defendant Thunderbird Automotive of

 Peoria, Arizona (“Thunderbird Automotive”) contributed at least 6,248 lbs. of materials to the




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 Chemetco Site. These materials were generated by Thunderbird Automotive and contained

 hazardous substances.

        6990. To date, Thunderbird Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6991. According to Chemetco Site records, Defendant Thuro Metal Products, Inc.

 (“Thuro Metal”) contributed at least 29,663 lbs. of materials to the Chemetco Site. These

 materials were generated by Thuro Metal and contained hazardous substances.

        6992. To date, Thuro Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6993. According to Chemetco Site records, Defendant Tiger Automotive (“Tiger

 Automotive”) contributed at least 933 lbs. of materials to the Chemetco Site. These materials

 were generated by Tiger Automotive and contained hazardous substances.

        6994. To date, Tiger Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        6995. According to Chemetco Site records, Defendant Tiger Valve and Salvage (“Tiger

 Valve”) contributed at least 600 lbs. of materials to the Chemetco Site. These materials were

 generated by Tiger Valve and contained hazardous substances.

        6996. To date, Tiger Valve has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6997. According to Chemetco Site records, Defendant Tillman Metal (“Tillman Metal”)

 contributed at least 84 lbs. of materials to the Chemetco Site. These materials were generated by

 Tillman Metal and contained hazardous substances.




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        6998. To date, Tillman Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        6999. According to Chemetco Site records, Defendant Tillman Scrap (“Tillman Scrap”)

 contributed at least 2,310 lbs. of materials to the Chemetco Site. These materials were generated

 by Tillman Scrap and contained hazardous substances.

        7000. To date, Tillman Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7001. According to Chemetco Site records, Defendant Timco Scrap Iron (“Timco Scrap

 Iron”) contributed at least 1,096 lbs. of materials to the Chemetco Site. These materials were

 generated by Timco Scrap Iron and contained hazardous substances.

        7002. To date, Timco Scrap Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7003. According to Chemetco Site records, Defendant Timco Scrap Processing (“Timco

 Scrap”) contributed at least 98,349 lbs. of materials to the Chemetco Site. These materials were

 generated by Timco Scrap and contained hazardous substances.

        7004. To date, Timco Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7005. According to Chemetco Site records, Defendant Timco, Inc. (“Timco”)

 contributed at least 7,898 lbs. of materials to the Chemetco Site. These materials were generated

 by Timco and contained hazardous substances.

        7006. To date, Timco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7007. According to Chemetco Site records, Defendant Timpson Trading (“Timpson”)

 contributed at least 1,128 lbs. of materials to the Chemetco Site. These materials were generated

 by Timpson and contained hazardous substances.

        7008. To date, Timpson has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7009. According to Chemetco Site records, Defendant Tinton Enterprises (“Tinton”)

 contributed at least 846 lbs. of materials to the Chemetco Site. These materials were generated

 by Tinton and contained hazardous substances.

        7010. To date, Tinton has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7011. According to Chemetco Site records, Defendant Titan Recycling, Inc. (“Titan

 Recycling”) contributed at least 988,283 lbs. of materials to the Chemetco Site. These materials

 were generated by Titan Recycling and contained hazardous substances.

        7012. To date, Titan Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7013. According to Chemetco Site records, Defendant Titus Recycling Co. (“Titus

 Recycling”) contributed at least 68,047 lbs. of materials to the Chemetco Site. These materials

 were generated by Titus Recycling and contained hazardous substances.

        7014. To date, Titus Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7015. According to Chemetco Site records, Defendant TJN Enterprises, Inc. doing

 business as TJN Trading Company (“TJN”) contributed at least 525,468 lbs. of materials to the

 Chemetco Site. These materials were generated by TJN and contained hazardous substances.




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        7016. To date, TJN has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        7017. According to Chemetco Site records, Defendant TLK Industries, LLC (“TLK”)

 contributed at least 44,318 lbs. of materials to the Chemetco Site. These materials were

 generated by TLK and contained hazardous substances.

        7018. To date, TLK has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        7019. Defendant TMS International Corporation (“TMS International”) is responsible

 for the waste attributable to International Mill Service, Inc. (“International Mill Service”).

        7020. In or about 2004, International Mill Service merged with and into Tube City,

 LLC, with the surviving entity as Tube City IMS, LLC (“Tube City IMS”), which later amended

 its name to TMS International, LLC (“TMS LLC”).

        7021. In or about 2016, TMS LLC amended its name to TMS International.

        7022. According to Chemetco Site records, International Mill Service contributed at

 least 86,630 lbs. of materials to the Chemetco Site. These materials were generated by

 International Mill Service and contained hazardous substances.

        7023. To date, TMS International has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7024. Defendant TMW Enterprises Inc. (“TMW Enterprises”) is responsible for the

 waste attributable to Grand Traverse Stamping Company (“Grand Traverse”).

        7025. In or about 1994, Grand Traverse was merged with and into TMW Enterprises.




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        7026. According to Chemetco Site records, Grand Traverse contributed at least 109 lbs.

 of materials to the Chemetco Site. These materials were generated by Grand Traverse and

 contained hazardous substances.

        7027. To date, TMW Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7028. According to Chemetco Site records, Defendant Tobian Metals (“Tobian”)

 contributed at least 1,177 lbs. of materials to the Chemetco Site. These materials were generated

 by Tobian and contained hazardous substances.

        7029. To date, Tobian has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7030. According to Chemetco Site records, Defendant Todd Systems, Inc. (“Todd

 Systems”) contributed at least 3,829 lbs. of materials to the Chemetco Site. These materials were

 generated by Todd Systems and contained hazardous substances.

        7031. To date, Todd Systems has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7032. According to Chemetco Site records, Defendant Toko Trading Corporation

 (“Toko Trading”) contributed at least 997,261 lbs. of materials to the Chemetco Site. These

 materials were generated by Toko Trading and contained hazardous substances.

        7033. To date, Toko Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7034. According to Chemetco Site records, Defendant Toledo Commutator Company

 (“Toledo Commutator”) contributed at least 40,683 lbs. of materials to the Chemetco Site. These

 materials were generated by Toledo Commutator and contained hazardous substances.




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        7035. To date, Toledo Commutator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7036. According to Chemetco Site records, Defendant Tom & Jerry (“Tom & Jerry”)

 contributed at least 794 lbs. of materials to the Chemetco Site. These materials were generated

 by Tom & Jerry and contained hazardous substances.

        7037. To date, Tom & Jerry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7038. According to Chemetco Site records, Defendant Tomra Pacific, Inc. (“Tomra”)

 contributed at least 74,762 lbs. of materials to the Chemetco Site. These materials were

 generated by Tomra and contained hazardous substances.

        7039. To date, Tomra has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7040. Alternatively, Defendant rePlanet LLC (“rePlanet”) is responsible for the waste

 attributable to Tomra, as alleged in paragraph no. 7038 above.

        7041. On or about December 31, 2011, rePlanet acquired the assets for Tomra.

        7042. To date, rePlanet has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7043. According to Chemetco Site records, Defendant Tonolli Canada Ltd. (“Tonolli

 Canada”) contributed materials to the Chemetco Site. These materials were generated by Tonolli

 Canada and contained hazardous substances.

        7044. To date, Tonolli Canada has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7045. According to Chemetco Site records, Defendant Top Dollar (“Top Dollar”)

 contributed at least 86,986 lbs. of materials to the Chemetco Site. These materials were

 generated by Top Dollar and contained hazardous substances.

        7046. To date, Top Dollar has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7047. According to Chemetco Site records, Defendant Top Flight Automotive (“Top

 Flight”) contributed at least 66 lbs. of materials to the Chemetco Site. These materials were

 generated by Top Flight and contained hazardous substances.

        7048. To date, Top Flight has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7049. According to Chemetco Site records, Defendant Torres Salvage (“Torres

 Salvage”) contributed at least 75,310 lbs. of materials to the Chemetco Site. These materials

 were generated by Torres Salvage and contained hazardous substances.

        7050. To date, Torres Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7051. Defendant Total Scrap Management (“Total Scrap”) is responsible for the waste

 attributable to Remington Recycling Station (“Remington Recycling”).

        7052. According to Chemetco Site records, Remington Recycling contributed at least

 123,253 lbs. of materials to the Chemetco Site. These materials were generated by Remington

 Recycling and contained hazardous substances.

        7053. To date, Total Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7054. According to Chemetco Site records, Defendant Town of Gilbert, Arizona

 (“Town of Gilbert”) contributed at least 12,022 lbs. of materials to the Chemetco Site. These

 materials were generated by Town of Gilbert and contained hazardous substances.

        7055. To date, Town of Gilbert has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7056. According to Chemetco Site records, Defendant Town of Snowflake, Arizona

 (“Town of Snowflake”) contributed at least 3,652 lbs. of materials to the Chemetco Site. These

 materials were generated by Town of Snowflake and contained hazardous substances.

        7057. To date, Town of Snowflake has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7058. According to Chemetco Site records, Defendant Toyomenja (“Toyomenja”)

 contributed at least 16,805 lbs. of materials to the Chemetco Site. These materials were

 generated by Toyomenja and contained hazardous substances.

        7059. To date, Toyomenja has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7060. According to Chemetco Site records, Defendant Traders Metal (“Traders Metal”)

 contributed at least 49,499 lbs. of materials to the Chemetco Site. These materials were

 generated by Traders Metal and contained hazardous substances.

        7061. To date, Traders Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7062. According to Chemetco Site records, Defendant Trailer Train Company (“Trailer

 Train”) contributed at least 12,396 lbs. of materials to the Chemetco Site. These materials were

 generated by Trailer Train and contained hazardous substances.




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        7063. To date, Trailer Train has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7064. According to Chemetco Site records, Defendant Trane US Inc. (“Trane”)

 contributed at least 134,566 lbs. of materials to the Chemetco Site. These materials were

 generated by Trane and contained hazardous substances.

        7065. To date, Trane has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7066. According to Chemetco Site records, Defendant Transformer Disposal Specialist

 (“Transformer Disposal”) contributed at least 4,940,736 lbs. of materials to the Chemetco Site.

 These materials were generated by Transformer Disposal and contained hazardous substances.

        7067. To date, Transformer Disposal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7068. According to Chemetco Site records, Defendant Transpacific (“Transpacific”)

 contributed at least 1,170 lbs. of materials to the Chemetco Site. These materials were generated

 by Transpacific and contained hazardous substances.

        7069. To date, Transpacific has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7070. According to Chemetco Site records, Defendant Tranter Flexoplate (“Tranter

 Flexoplate”) contributed at least 6,419 lbs. of materials to the Chemetco Site. These materials

 were generated by Tranter Flexoplate and contained hazardous substances.

        7071. To date, Tranter Flexoplate has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7072. According to Chemetco Site records, Defendant Travis Pattern & Foundry

 (“Travis Pattern”) contributed at least 166,334 lbs. of materials to the Chemetco Site. These

 materials were generated by Travis Pattern and contained hazardous substances.

        7073. To date, Travis Pattern has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7074. According to Chemetco Site records, Defendant Treasure Coast Recycling

 (“Treasure Recycling”) contributed at least 95,070 lbs. of materials to the Chemetco Site. These

 materials were generated by Treasure Recycling and contained hazardous substances.

        7075. To date, Treasure Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7076. According to Chemetco Site records, Defendant Trent River (“Trent River”)

 contributed at least 451 lbs. of materials to the Chemetco Site. These materials were generated

 by Trent River and contained hazardous substances.

        7077. To date, Trent River has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7078. According to Chemetco Site records, Defendant Trenton Iron and Metal, Inc.

 (“Trenton Iron”) contributed at least 150,658 lbs. of materials to the Chemetco Site. These

 materials were generated by Trenton Iron and contained hazardous substances.

        7079. To date, Trenton Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7080. According to Chemetco Site records, Defendant Tri Alex (“Tri Alex”) contributed

 at least 67,028 lbs. of materials to the Chemetco Site. These materials were generated by Tri

 Alex and contained hazardous substances.




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        7081. To date, Tri Alex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7082. According to Chemetco Site records, Defendant Tri Auto (“Tri Auto”)

 contributed at least 709,762 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Auto and contained hazardous substances.

        7083. To date, Tri Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7084. According to Chemetco Site records, Defendant Tri Cities Recycling (“Tri

 Cities”) contributed at least 4,220 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Cities and contained hazardous substances.

        7085. To date, Tri Cities has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7086. According to Chemetco Site records, Defendant Tri County Salvage (“Tri County

 Salvage”) contributed at least 448 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri County Salvage and contained hazardous substances.

        7087. To date, Tri County Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7088. According to Chemetco Site records, Defendant Tri Fort (“Tri Fort”) contributed

 at least 1,125,450 lbs. of materials to the Chemetco Site. These materials were generated by Tri

 Fort and contained hazardous substances.

        7089. To date, Tri Fort has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7090. According to Chemetco Site records, Defendant Tri Hub (“Tri Hub”) contributed

 at least 453,792 lbs. of materials to the Chemetco Site. These materials were generated by Tri

 Hub and contained hazardous substances.

        7091. To date, Tri Hub has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7092. According to Chemetco Site records, Defendant Tri Iowa (“Tri Iowa”)

 contributed at least 1,874,720 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Iowa and contained hazardous substances.

        7093. To date, Tri Iowa has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7094. According to Chemetco Site records, Defendant Tri Macon (“Tri Macon”)

 contributed at least 137,805 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Macon and contained hazardous substances.

        7095. To date, Tri Macon has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7096. According to Chemetco Site records, Defendant Tri Metal Inc. (“Tri Metal”)

 contributed at least 7,727 lbs. of materials to the Chemetco Site. These materials were generated

 by Tri Metal and contained hazardous substances.

        7097. To date, Tri Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7098. According to Chemetco Site records, Defendant Tri OK (“Tri OK”) contributed at

 least 3,814 lbs. of materials to the Chemetco Site. These materials were generated by Tri OK and

 contained hazardous substances.




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        7099. To date, Tri OK has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7100. According to Chemetco Site records, Defendant Tri Ozark (“Tri Ozark”)

 contributed at least 6,117,222 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Ozark and contained hazardous substances.

        7101. To date, Tri Ozark has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7102. According to Chemetco Site records, Defendant Tri Quad (“Tri Quad”)

 contributed at least 172,065 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Quad and contained hazardous substances.

        7103. To date, Tri Quad has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7104. According to Chemetco Site records, Defendant Tri Rock (“Tri Rock”)

 contributed at least 1,515,485 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Rock and contained hazardous substances.

        7105. To date, Tri Rock has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7106. According to Chemetco Site records, Defendant Tri Sike (“Tri Sike”) contributed

 at least 2,281,114 lbs. of materials to the Chemetco Site. These materials were generated by Tri

 Sike and contained hazardous substances.

        7107. To date, Tri Sike has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7108. According to Chemetco Site records, Defendant Tri State Metal Company (“Tri

 State Metal”) contributed at least 58,842 lbs. of materials to the Chemetco Site. These materials

 were generated by Tri State Metal and contained hazardous substances.

        7109. To date, Tri State Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7110. According to Chemetco Site records, Defendant Tri Tiger (“Tri Tiger”)

 contributed at least 2,351,004 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri Tiger and contained hazardous substances.

        7111. To date, Tri Tiger has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7112. According to Chemetco Site records, Defendant Tri Valley Recycling Inc. (“Tri-

 Valley Recycling”) contributed at least 5,686 lbs. of materials to the Chemetco Site. These

 materials were generated by Tri-Valley Recycling and contained hazardous substances.

        7113. To date, Tri-Valley Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7114. According to Chemetco Site records, Defendant Tri Van (“Tri Van”) contributed

 at least 30,694 lbs. of materials to the Chemetco Site. These materials were generated by Tri Van

 and contained hazardous substances.

        7115. To date, Tri Van has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7116. According to Chemetco Site records, Defendant Tri-Ann Services (“Tri-Ann

 Services”) contributed at least 80,125 lbs. of materials to the Chemetco Site. These materials

 were generated by Tri-Ann Services and contained hazardous substances.




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        7117. To date, Tri-Ann Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7118. According to Chemetco Site records, Defendant Tri-At Service (“Tri-At”)

 contributed at least 492,767 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-At and contained hazardous substances.

        7119. To date, Tri-At has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7120. According to Chemetco Site records, Defendant Tri-Bay Services (“Tri-Bay”)

 contributed at least 7,388 lbs. of materials to the Chemetco Site. These materials were generated

 by Tri-Bay and contained hazardous substances.

        7121. To date, Tri-Bay has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7122. According to Chemetco Site records, Defendant Tri-Buff Services (“Tri-Buff”)

 contributed at least 3,750 lbs. of materials to the Chemetco Site. These materials were generated

 by Tri-Buff and contained hazardous substances.

        7123. To date, Tri-Buff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7124. According to Chemetco Site records, Defendant Tri-Cici (“Tri-Cici”) contributed

 at least 10,325 lbs. of materials to the Chemetco Site. These materials were generated by Tri-Cici

 and contained hazardous substances.

        7125. To date, Tri-Cici has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7126. According to Chemetco Site records, Defendant Tri-Cities Industrial Builders Inc.

 (“Tri-Cities Builders”) contributed at least 3,318 lbs. of materials to the Chemetco Site. These

 materials were generated by Tri-Cities Builders and contained hazardous substances.

        7127. To date, Tri-Cities Builders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7128. According to Chemetco Site records, Defendant Tri-Decatur L. (“Tri-Decatur L.”)

 contributed at least 1,816,275 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Decatur L. and contained hazardous substances.

        7129. To date, Tri-Decatur L. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7130. According to Chemetco Site records, Defendant Tri-Decatur M. (“Tri-Decatur

 M.”) contributed at least 172,064 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Decatur M. and contained hazardous substances.

        7131. To date, Tri-Decatur M. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7132. According to Chemetco Site records, Defendant Tri-Fort Services (“Tri-Fort”)

 contributed at least 283,551 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Fort and contained hazardous substances.

        7133. To date, Tri-Fort has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7134. According to Chemetco Site records, Defendant Tri-Hub (“Tri-Hub”) contributed

 at least 464 lbs. of materials to the Chemetco Site. These materials were generated by Tri-Hub

 and contained hazardous substances.




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        7135. To date, Tri-Hub has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7136. According to Chemetco Site records, Defendant Tri-KC (“Tri-KC”) contributed at

 least 6,624 lbs. of materials to the Chemetco Site. These materials were generated by Tri-KC and

 contained hazardous substances.

        7137. To date, Tri-KC has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7138. According to Chemetco Site records, Defendant Tri-Lincoln (“Tri-Lincoln”)

 contributed at least 6,853 lbs. of materials to the Chemetco Site. These materials were generated

 by Tri-Lincoln and contained hazardous substances.

        7139. To date, Tri-Lincoln has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7140. According to Chemetco Site records, Defendant Tri-Mil (“Tri-Mil”) contributed

 at least 101,320 lbs. of materials to the Chemetco Site. These materials were generated by Tri-

 Mil and contained hazardous substances.

        7141. To date, Tri-Mil has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7142. According to Chemetco Site records, Defendant Tri-Nash Services (“Tri-Nash”)

 contributed at least 40,040 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Nash and contained hazardous substances.

        7143. To date, Tri-Nash has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7144. According to Chemetco Site records, Defendant Tri-Nola Services (“Tri-Nola”)

 contributed at least 609,760 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Nola and contained hazardous substances.

        7145. To date, Tri-Nola has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7146. According to Chemetco Site records, Defendant Tri-OK Service (“Tri-OK

 Service”) contributed at least 16,592 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-OK Service and contained hazardous substances.

        7147. To date, Tri-OK Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7148. According to Chemetco Site records, Defendant Tri-Ozark (“Tri-Ozark”)

 contributed at least 429 lbs. of materials to the Chemetco Site. These materials were generated

 by Tri-Ozark and contained hazardous substances.

        7149. To date, Tri-Ozark has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7150. According to Chemetco Site records, Defendant Tri-Ozark Service (“Tri-Ozark

 Service”) contributed at least 940,963 lbs. of materials to the Chemetco Site. These materials

 were generated by Tri-Ozark Service and contained hazardous substances.

        7151. To date, Tri-Ozark Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7152. According to Chemetco Site records, Defendant Tri-Port Services (“Tri-Port”)

 contributed at least 2,338,982 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Port and contained hazardous substances.




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        7153. To date, Tri-Port has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7154. According to Chemetco Site records, Defendant Tri-Queen Services (“Tri-

 Queen”) contributed at least 180,971 lbs. of materials to the Chemetco Site. These materials

 were generated by Tri-Queen and contained hazardous substances.

        7155. To date, Tri-Queen has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7156. According to Chemetco Site records, Defendant Tri-Savannah (“Tri-Savannah”)

 contributed at least 788,744 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Savannah and contained hazardous substances.

        7157. To date, Tri-Savannah has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7158. According to Chemetco Site records, Defendant Tri-Sike Services (“Tri-Sike”)

 contributed at least 164,845 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Sike and contained hazardous substances.

        7159. To date, Tri-Sike has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7160. According to Chemetco Site records, Defendant Tri-Star Aluminum (“Tri-Star”)

 contributed at least 39,315 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Star and contained hazardous substances.

        7161. To date, Tri-Star has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7162. According to Chemetco Site records, Defendant Tri-State Iron (“Tri-State Iron”)

 contributed at least 377,552 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-State Iron and contained hazardous substances.

        7163. To date, Tri-State Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7164. Defendant Tri-State Scrap, LLC (“Tri-State Scrap”) is responsible for the waste

 attributable to American Metal Trading Company (“American Metal Trading”).

        7165. According to the Pennsylvania Secretary of State, American Scrap Company

 (“American Scrap”) did business as American Metal Trading.

        7166. In or about 2008, Tri-State Scrap was formed as a Pennsylvania corporation, and

 thereafter Tri-State Scrap acquired American Scrap.

        7167. According to Chemetco Site records, American Metal Trading contributed at least

 37,510 lbs. of materials to the Chemetco Site. These materials were generated by American

 Metal Trading and contained hazardous substances.

        7168. To date, Tri-State Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7169. According to Chemetco Site records, Defendant Tri-Sun Service (“Tri-Sun

 Service”) contributed at least 17,246 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Sun Service and contained hazardous substances.

        7170. To date, Tri-Sun Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7171. According to Chemetco Site records, Defendant Tri-Tiger (“Tri-Tiger”)

 contributed at least 1,270,267 lbs. of materials to the Chemetco Site. These materials were

 generated by Tri-Tiger and contained hazardous substances.

        7172. To date, Tri-Tiger has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7173. According to Chemetco Site records, Defendant Triangle (“Triangle”) contributed

 at least 47,867,963 lbs. of materials to the Chemetco Site. These materials were generated by

 Triangle and contained hazardous substances.

        7174. To date, Triangle has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7175. According to Chemetco Site records, Defendant Triangle Metals (“Triangle

 Metals”) contributed at least 24,882 lbs. of materials to the Chemetco Site. These materials were

 generated by Triangle Metals and contained hazardous substances.

        7176. To date, Triangle Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7177. According to Chemetco Site records, Defendant Triangle Recycling Services

 Anniston (“Triangle Recycling - Anniston”) contributed materials to the Chemetco Site. These

 materials were generated by Triangle Recycling - Anniston and contained hazardous substances.

        7178. To date, Triangle Recycling - Anniston has not paid any response costs incurred

 by the Chemetco Group at the Chemetco Site.

        7179. According to Chemetco Site records, Defendant Triangle Recycling Services

 Jackson (“Triangle Recycling - Jackson”) contributed at least 5,034,817 lbs. of materials to the




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 Chemetco Site. These materials were generated by Triangle Recycling - Jackson and contained

 hazardous substances.

        7180. To date, Triangle Recycling - Jackson has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        7181. According to Chemetco Site records, Defendant Triangle Scrap Metal, Inc.

 (“Triangle Scrap”) contributed at least 242,159 lbs. of materials to the Chemetco Site. These

 materials were generated by Triangle Scrap and contained hazardous substances.

        7182. To date, Triangle Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7183. According to Chemetco Site records, Defendant Trijan Industries (“Trijan”)

 contributed at least 2,651 lbs. of materials to the Chemetco Site. These materials were generated

 by Trijan and contained hazardous substances.

        7184. To date, Trijan has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7185. According to Chemetco Site records, Defendant Trinidad Recycling & Trading

 Co. Ltd. (“Trinidad Recycling”) contributed at least 28,584 lbs. of materials to the Chemetco

 Site. These materials were generated by Trinidad Recycling and contained hazardous substances.

        7186. To date, Trinidad Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7187. According to Chemetco Site records, Defendant Trinity Metals (“Trinity Metals”)

 contributed at least 51,240 lbs. of materials to the Chemetco Site. These materials were

 generated by Trinity Metals and contained hazardous substances.




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        7188. To date, Trinity Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7189. According to Chemetco Site records, Defendant Trio Foundry, Inc. (“Trio

 Foundry”) contributed at least 4,920 lbs. of materials to the Chemetco Site. These materials were

 generated by Trio Foundry and contained hazardous substances.

        7190. To date, Trio Foundry has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7191. According to Chemetco Site records, Defendant Triple J Metals (“Triple J”)

 contributed at least 259,740 lbs. of materials to the Chemetco Site. These materials were

 generated by Triple J and contained hazardous substances.

        7192. To date, Triple J has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7193. Defendant Trippe Manufacturing Company doing business as Tripp Lite (“Trippe

 Manufacturing”) is responsible for the waste attributable to S.L. Waber, Inc. (“S.L. Waber”).

        7194. In or about 2001, S.L. Waber was merged with and into Trippe Manufacturing.

        7195. According to Chemetco Site records, S.L. Waber contributed at least 7,535 lbs. of

 materials to the Chemetco Site. These materials were generated by S.L. Waber and contained

 hazardous substances.

        7196. To date, Trippe Manufacturing has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7197. According to Chemetco Site records, Defendant Triune Iron & Metal, Inc.

 (“Triune Iron”) contributed at least 210,185 lbs. of materials to the Chemetco Site. These

 materials were generated by Triune Iron and contained hazardous substances.




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        7198. To date, Triune Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7199. According to Chemetco Site records, Defendant Trojan Trading (“Trojan

 Trading”) contributed at least 5,382,768 lbs. of materials to the Chemetco Site. These materials

 were generated by Trojan Trading and contained hazardous substances.

        7200. To date, Trojan Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7201. According to Chemetco Site records, Defendant Troy Brass, Inc. (“Troy Brass”)

 contributed at least 61,183 lbs. of materials to the Chemetco Site. These materials were

 generated by Troy Brass and contained hazardous substances.

        7202. To date, Troy Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7203. According to Chemetco Site records, Defendant Trumball Recycling

 (“Trumball”) contributed at least 23,586 lbs. of materials to the Chemetco Site. These materials

 were generated by Trumball and contained hazardous substances.

        7204. To date, Trumball has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7205. According to Chemetco Site records, Defendant Trunnell Scrap Metals Inc.

 (“Trunnell Scrap”) contributed at least 36,186 lbs. of materials to the Chemetco Site. These

 materials were generated by Trunnell Scrap and contained hazardous substances.

        7206. To date, Trunnell Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7207. According to Chemetco Site records, Defendant Tsingine and Wauneka Group,

 L.L.C. (“Tsingine and Wauneka”) contributed at least 13 lbs. of materials to the Chemetco Site.

 These materials were generated by Tsingine and Wauneka and contained hazardous substances.

        7208. To date, Tsingine and Wauneka has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7209. Defendant TSK Partners, Inc. doing business as Erie Bronze Aluminum Co.

 (“TSK Partners”) is responsible for the waste attributable to Erie Bronze Aluminum Company

 (“Erie Bronze”).

        7210. In or about 2003, Erie Bronze was merged into TSK Partners.

        7211. According to Chemetco Site records, Erie Bronze contributed at least 167,366 lbs.

 of materials to the Chemetco Site. These materials were generated by Erie Bronze and contained

 hazardous substances.

        7212. To date, TSK Partners has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7213. According to Chemetco Site records, Defendant Tubbe and McCoy (“Tubbe”)

 contributed at least 56,096 lbs. of materials to the Chemetco Site. These materials were

 generated by Tubbe and contained hazardous substances.

        7214. To date, Tubbe has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7215. According to Chemetco Site records, Defendant Tucson Alternator Exchange

 (“Tucson Alternator”) contributed at least 1,252 lbs. of materials to the Chemetco Site. These

 materials were generated by Tucson Alternator and contained hazardous substances.




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        7216. To date, Tucson Alternator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7217. According to Chemetco Site records, Defendant Tucson Foundry (“Tucson

 Foundry”) contributed at least 294,780 lbs. of materials to the Chemetco Site. These materials

 were generated by Tucson Foundry and contained hazardous substances.

        7218. To date, Tucson Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7219. According to Chemetco Site records, Defendant Tucson Iron and Metal (“Tucson

 Iron”) contributed at least 11,611 lbs. of materials to the Chemetco Site. These materials were

 generated by Tucson Iron and contained hazardous substances.

        7220. To date, Tucson Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7221. According to Chemetco Site records, Defendant Tuffco Metals (“Tuffco Metals”)

 contributed at least 2,293 lbs. of materials to the Chemetco Site. These materials were generated

 by Tuffco Metals and contained hazardous substances.

        7222. To date, Tuffco Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7223. According to Chemetco Site records, Defendant Tullis Metals (“Tullis”)

 contributed at least 64,374 lbs. of materials to the Chemetco Site. These materials were

 generated by Tullis and contained hazardous substances.

        7224. To date, Tullis has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7225. According to Chemetco Site records, Defendant Tulsa Lead (“Tulsa Lead”)

 contributed at least 9,297 lbs. of materials to the Chemetco Site. These materials were generated

 by Tulsa Lead and contained hazardous substances.

        7226. To date, Tulsa Lead has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7227. According to Chemetco Site records, Defendant Tung Tai Trading (“Tung Tai”)

 contributed at least 13,134 lbs. of materials to the Chemetco Site. These materials were

 generated by Tung Tai and contained hazardous substances.

        7228. To date, Tung Tai has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7229. According to Chemetco Site records, Defendant Tuscaloosa Iron & Metal Co.,

 Inc. (“Tuscaloosa Iron”) contributed at least 169,676 lbs. of materials to the Chemetco Site.

 These materials were generated by Tuscaloosa Iron and contained hazardous substances.

        7230. To date, Tuscaloosa Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7231. According to Chemetco Site records, Defendant Tuttle Auto Parts (“Tuttle Auto”)

 contributed at least 22,014 lbs. of materials to the Chemetco Site. These materials were

 generated by Tuttle Auto and contained hazardous substances.

        7232. To date, Tuttle Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7233. Defendant Tuttle’s Salvage (“Tuttle’s Salvage”) is responsible for the waste

 attributable to R&S Metals (“R&S Metals”).




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        7234. According to Chemetco Site records, R&S Metals contributed at least 38,775 lbs.

 of materials to the Chemetco Site. These materials were generated by R&S Metals and contained

 hazardous substances.

        7235. To date, Tuttle’s Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7236. According to Chemetco Site records, Defendant Tweed Salvage (“Tweed”)

 contributed at least 938 lbs. of materials to the Chemetco Site. These materials were generated

 by Tweed and contained hazardous substances.

        7237. To date, Tweed has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7238. According to Chemetco Site records, Defendant 21st Century Environmental

 Management of Nevada, LLC (“21st Century”) contributed at least 21,327 lbs. of materials to the

 Chemetco Site. These materials were generated by 21st Century and contained hazardous

 substances.

        7239. To date, 21st Century has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7240. According to Chemetco Site records, Defendant Twin Village Recycling Co. Inc.

 (“Twin Village”) contributed at least 14,774 lbs. of materials to the Chemetco Site. These

 materials were generated by Twin Village and contained hazardous substances.

        7241. To date, Twin Village has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7242. According to Chemetco Site records, Defendant TXI Star Recycling (“TXI Star”)

 contributed at least 752,340 lbs. of materials to the Chemetco Site. These materials were

 generated by TXI Star and contained hazardous substances.

        7243. To date, TXI Star has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7244. According to Chemetco Site records, Defendant Tyler Steel & Salvage (“Tyler

 Steel”) contributed at least 29 lbs. of materials to the Chemetco Site. These materials were

 generated by Tyler Steel and contained hazardous substances.

        7245. To date, Tyler Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7246. According to Chemetco Site records, Defendant Tyroler Scrap Metals, Inc.

 (“Tyroler Metals”) contributed at least 743,874 lbs. of materials to the Chemetco Site. These

 materials were generated by Tyroler Metals and contained hazardous substances.

        7247. To date, Tyroler Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7248. According to Chemetco Site records, Defendant Tzschoppe Industries Inc.

 (“Tzschoppe”) contributed at least 11,988 lbs. of materials to the Chemetco Site. These materials

 were generated by Tzschoppe and contained hazardous substances.

        7249. To date, Tzschoppe has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7250. According to Chemetco Site records, Defendant U-Metco Inc. (“U-Metco”)

 contributed at least 7,391 lbs. of materials to the Chemetco Site. These materials were generated

 by U-Metco and contained hazardous substances.




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        7251. To date, U-Metco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7252. According to Chemetco Site records, Defendant U.S. #1 Recycling, Inc. (“U.S. #1

 Recycling”) contributed at least 14,361 lbs. of materials to the Chemetco Site. These materials

 were generated by U.S. #1 Recycling and contained hazardous substances.

        7253. To date, U.S. #1 Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7254. According to Chemetco Site records, Defendant U.S. Brass (“US Brass”)

 contributed at least 1,320 lbs. of materials to the Chemetco Site. These materials were generated

 by US Brass and contained hazardous substances.

        7255. To date, US Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7256. According to Chemetco Site records, Defendant U.S. Bronze Foundry and

 Machine, Inc. (“Bronze Foundry”) contributed at least 667,247 lbs. of materials to the Chemetco

 Site. These materials were generated by Bronze Foundry and contained hazardous substances.

        7257. To date, Bronze Foundry has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7258. According to Chemetco Site records, Defendant U.S. Metals (“U.S. Metals”)

 contributed at least 3,122 lbs. of materials to the Chemetco Site. These materials were generated

 by U.S. Metals and contained hazardous substances.

        7259. To date, U.S. Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7260. According to Chemetco Site records, Defendant U.S. Trading (“U.S. Trading”)

 contributed at least 1,016 lbs. of materials to the Chemetco Site. These materials were generated

 by U.S. Trading and contained hazardous substances.

        7261. To date, U.S. Trading has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7262. According to Chemetco Site records, Defendant U.S. Zinc Corporation (“U.S.

 Zinc”) contributed at least 83,391 lbs. of materials to the Chemetco Site. These materials were

 generated by U.S. Zinc and contained hazardous substances.

        7263. To date, U.S. Zinc has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7264. According to Chemetco Site records, Defendant U.S.A. Mold, Inc. (“U.S.A.

 Mold”) contributed at least 144,414 lbs. of materials to the Chemetco Site. These materials were

 generated by U.S.A. Mold and contained hazardous substances.

        7265. To date, U.S.A. Mold has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7266. According to Chemetco Site records, Defendant Ultra Stamping & Assembly, Inc.

 (“Ultra Stamping”) contributed at least 86,513 lbs. of materials to the Chemetco Site. These

 materials were generated by Ultra Stamping and contained hazardous substances.

        7267. To date, Ultra Stamping has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7268. According to Chemetco Site records, Defendant Ulveco Inc. (“Ulveco”)

 contributed at least 1,646 lbs. of materials to the Chemetco Site. These materials were generated

 by Ulveco and contained hazardous substances.




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        7269. To date, Ulveco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7270. According to Chemetco Site records, Defendant Umpire and Control Services Inc.

 (“Umpire Control”) contributed at least 23,280 lbs. of materials to the Chemetco Site. These

 materials were generated by Umpire Control and contained hazardous substances.

        7271. To date, Umpire Control has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7272. According to Chemetco Site records, Defendant Unicorn Metals Recycling Co.,

 Inc. (“Unicorn Recycling”) contributed at least 464,850 lbs. of materials to the Chemetco Site.

 These materials were generated by Unicorn Recycling and contained hazardous substances.

        7273. To date, Unicorn Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7274. According to Chemetco Site records, Defendant Union Auto Salvage (“Union

 Auto”) contributed at least 384,914 lbs. of materials to the Chemetco Site. These materials were

 generated by Union Auto and contained hazardous substances.

        7275. To date, Union Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7276. According to Chemetco Site records, Defendant Union City Iron (“Union City

 Iron”) contributed at least 5,869 lbs. of materials to the Chemetco Site. These materials were

 generated by Union City Iron and contained hazardous substances.

        7277. To date, Union City Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7278. According to Chemetco Site records, Defendant Union Iron & Metal Company

 (“Union Iron & Metal”) contributed at least 32,008 lbs. of materials to the Chemetco Site. These

 materials were generated by Union Iron & Metal and contained hazardous substances.

        7279. To date, Union Iron & Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7280. According to Chemetco Site records, Defendant Union Pacific Railroad Co.

 (“Union Pacific”) contributed at least 31,320 lbs. of materials to the Chemetco Site. These

 materials were generated by Union Pacific and contained hazardous substances.

        7281. To date, Union Pacific has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7282. According to Chemetco Site records, Defendant Unique Resources (“Unique

 Resources”) contributed at least 28,466 lbs. of materials to the Chemetco Site. These materials

 were generated by Unique Resources and contained hazardous substances.

        7283. To date, Unique Resources has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7284. According to Chemetco Site records, Defendant United Alloys & Steel Co.

 (“United Alloys”) contributed at least 1,072,054 lbs. of materials to the Chemetco Site. These

 materials were generated by United Alloys and contained hazardous substances.

        7285. To date, United Alloys has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7286. According to Chemetco Site records, Defendant United Brass Manufacturers, Inc.

 (“United Brass”) contributed at least 35,217 lbs. of materials to the Chemetco Site. These

 materials were generated by United Brass and contained hazardous substances.




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        7287. To date, United Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7288. According to Chemetco Site records, Defendant United Chemi-Con, Inc. (“United

 Chemi-Con”) contributed at least 1,794 lbs. of materials to the Chemetco Site. These materials

 were generated by United Chemi-Con and contained hazardous substances.

        7289. To date, United Chemi-Con has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7290. Defendant United DMS of Tennessee, LLC (“United DMS”) is responsible for the

 waste attributable to DMS Refining, Inc. (“DMS Refining”).

        7291. According to Chemetco Site records, DMS Refining contributed at least 55,665

 lbs. of materials to the Chemetco Site. These materials were generated by DMS Refining and

 contained hazardous substances.

        7292. To date, United DMS has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7293. According to Chemetco Site records, Defendant United Iron and Metal (“United

 Iron”) contributed at least 25 lbs. of materials to the Chemetco Site. These materials were

 generated by United Iron and contained hazardous substances.

        7294. To date, United Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7295. According to Chemetco Site records, Defendant United Metal (“United Metal”)

 contributed at least 55,555 lbs. of materials to the Chemetco Site. These materials were

 generated by United Metal and contained hazardous substances.




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        7296. To date, United Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7297. According to Chemetco Site records, Defendant United Metal Recyclers (“United

 Metal Recyclers”) contributed at least 20,082 lbs. of materials to the Chemetco Site. These

 materials were generated by United Metal Recyclers and contained hazardous substances.

        7298. To date, United Metal Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7299. According to Chemetco Site records, Defendant United Metal Recyclers, Inc.

 doing business as Midwest Recyclers (“United Metal Recyclers, Inc.”) contributed at least

 207,896 lbs. of materials to the Chemetco Site. These materials were generated by United Metal

 Recyclers, Inc. and contained hazardous substances.

        7300. To date, United Metal Recyclers, Inc. has not paid any response costs incurred by

 the Chemetco Group at the Chemetco Site.

        7301. According to Chemetco Site records, Defendant United Metal Traders, Inc.

 (“United Metal Traders”) contributed at least 34,385 lbs. of materials to the Chemetco Site.

 These materials were generated by United Metal Traders and contained hazardous substances.

        7302. To date, United Metal Traders has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7303. According to Chemetco Site records, Defendant United Metal-D.H. Griffin

 Recycles, LLC (“DH Griffin Recycles”) contributed at least 964,129 lbs. of materials to the

 Chemetco Site. These materials were generated by DH Griffin Recycles and contained hazardous

 substances.




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        7304. To date, DH Griffin Recycles has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7305. According to Chemetco Site records, Defendant United Non-Ferrous Trading Ltd.

 (“United Non-Ferrous”) contributed at least 2,577,391 lbs. of materials to the Chemetco Site.

 These materials were generated by United Non-Ferrous and contained hazardous substances.

        7306. To date, United Non-Ferrous has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7307. According to Chemetco Site records, Defendant United Recycling, Inc. (“United

 Recycling”) contributed at least 2,326 lbs. of materials to the Chemetco Site. These materials

 were generated by United Recycling and contained hazardous substances.

        7308. To date, United Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7309. According to Chemetco Site records, Defendant United Refining (“United

 Refining”) contributed at least 581,887 lbs. of materials to the Chemetco Site. These materials

 were generated by United Refining and contained hazardous substances.

        7310. To date, United Refining has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7311. According to Chemetco Site records, Defendant United Scrap, Inc. (“United

 Scrap”) contributed at least 1,303 lbs. of materials to the Chemetco Site. These materials were

 generated by United Scrap and contained hazardous substances.

        7312. To date, United Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7313. According to Chemetco Site records, Defendant United Smelting (“United

 Smelting”) contributed at least 1,818,007 lbs. of materials to the Chemetco Site. These materials

 were generated by United Smelting and contained hazardous substances.

        7314. To date, United Smelting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7315. According to Chemetco Site records, Defendant United States Air Force

 (“USAF”) contributed at least 59,180 lbs. of materials to the Chemetco Site. These materials

 were generated by USAF and contained hazardous substances.

        7316. To date, USAF has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7317. According to Chemetco Site records, Defendant United States Department of

 Defense (“DOD”) contributed at least 1,056,203 lbs. of materials to the Chemetco Site. These

 materials were generated by DOD and contained hazardous substances.

        7318. To date, DOD has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        7319. According to Chemetco Site records, Defendant United States Scrap (“United

 States Scrap”) contributed at least 235 lbs. of materials to the Chemetco Site. These materials

 were generated by United States Scrap and contained hazardous substances.

        7320. To date, United States Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7321. According to Chemetco Site records, Defendant Universal Exchange, L.L.C.

 (“Universal Exchange”) contributed at least 1,172 lbs. of materials to the Chemetco Site. These

 materials were generated by Universal Exchange and contained hazardous substances.




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        7322. To date, Universal Exchange has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7323. According to Chemetco Site records, Defendant Universal Metals & Ore Co., Inc.

 (“Universal Metals”) contributed at least 44,425 lbs. of materials to the Chemetco Site. These

 materials were generated by Universal Metals and contained hazardous substances.

        7324. To date, Universal Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7325. According to Chemetco Site records, Defendant Universal Recycling (“Universal

 Recycling”) contributed at least 1,889,418 lbs. of materials to the Chemetco Site. These

 materials were generated by Universal Recycling and contained hazardous substances.

        7326. To date, Universal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7327. According to Chemetco Site records, Defendant Universal Salvage (“Universal

 Salvage”) contributed at least 2,065 lbs. of materials to the Chemetco Site. These materials were

 generated by Universal Salvage and contained hazardous substances.

        7328. To date, Universal Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7329. According to Chemetco Site records, Defendant Universal Scrap Metals, Inc.

 (“Universal Scrap Metals”) contributed at least 89,594 lbs. of materials to the Chemetco Site.

 These materials were generated by Universal Scrap Metals and contained hazardous substances.

        7330. To date, Universal Scrap Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7331. Defendant Univertical LLC (“Univertical”) is responsible for the waste

 attributable to Univertical Corporation (“Univertical Corp.”).

        7332. On or about January 2, 2014, Univertical Corp. was merged with and into

 Univertical Holdings #2 LLC (“Univertical Holdings”).

        7333. On or about January 21, 2014, Univertical Holdings amended its name to

 Univertical.

        7334. According to Chemetco Site records, Univertical Corp. contributed at least

 226,477 lbs. of materials to the Chemetco Site. These materials were generated by Univertical

 Corp. and contained hazardous substances.

        7335. To date, Univertical has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7336. According to Chemetco Site records, Defendant USA Recycling (“USA

 Recycling”) contributed at least 2,280 lbs. of materials to the Chemetco Site. These materials

 were generated by USA Recycling and contained hazardous substances.

        7337. To date, USA Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7338. According to Chemetco Site records, Defendant USA Waste Inc. (“USA Waste”)

 contributed at least 103,420 lbs. of materials to the Chemetco Site. These materials were

 generated by USA Waste and contained hazardous substances.

        7339. To date, USA Waste has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7340. According to Chemetco Site records, Defendant Utah Metal Works, Inc. (“Utah

 Metal”) contributed at least 278,179 lbs. of materials to the Chemetco Site. These materials were

 generated by Utah Metal and contained hazardous substances.

        7341. To date, Utah Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7342. According to Chemetco Site records, Defendant Utility Metals, Inc. (“Utility

 Metals”) contributed at least 8,657,291 lbs. of materials to the Chemetco Site. These materials

 were generated by Utility Metals and contained hazardous substances.

        7343. To date, Utility Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7344. According to Chemetco Site records, Defendant Uvonics (“Uvonics”) contributed

 at least 2,801 lbs. of materials to the Chemetco Site. These materials were generated by Uvonics

 and contained hazardous substances.

        7345. To date, Uvonics has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7346. According to Chemetco Site records, Defendant V-Metals (“V-Metals”)

 contributed at least 14 lbs. of materials to the Chemetco Site. These materials were generated by

 V-Metals and contained hazardous substances.

        7347. To date, V-Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7348. According to Chemetco Site records, Defendant V.R. Systems Inc. (“V.R.

 Systems”) contributed at least 321 lbs. of materials to the Chemetco Site. These materials were

 generated by V.R. Systems and contained hazardous substances.




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        7349. To date, V.R. Systems has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7350. According to Chemetco Site records, Defendant V&V Recycling (“V&V

 Recycling”) contributed at least 517 lbs. of materials to the Chemetco Site. These materials were

 generated by V&V Recycling and contained hazardous substances.

        7351. To date, V&V Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7352. According to Chemetco Site records, Defendant Valdosta (“Valdosta”)

 contributed at least 5,783 lbs. of materials to the Chemetco Site. These materials were generated

 by Valdosta and contained hazardous substances.

        7353. To date, Valdosta has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7354. According to Chemetco Site records, Defendant Valley Brass (“Valley Brass”)

 contributed at least 2,275,342 lbs. of materials to the Chemetco Site. These materials were

 generated by Valley Brass and contained hazardous substances.

        7355. To date, Valley Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7356. According to Chemetco Site records, Defendant Valley Recycling (“Valley

 Recycling”) contributed at least 32,914 lbs. of materials to the Chemetco Site. These materials

 were generated by Valley Recycling and contained hazardous substances.

        7357. To date, Valley Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7358. According to Chemetco Site records, Defendant Valley Sales (“Valley Sales”)

 contributed at least 11,979 lbs. of materials to the Chemetco Site. These materials were

 generated by Valley Sales and contained hazardous substances.

        7359. To date, Valley Sales has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7360. According to Chemetco Site records, Defendant Valley Scrap Metal (“Valley

 Scrap”) contributed at least 734,188 lbs. of materials to the Chemetco Site. These materials were

 generated by Valley Scrap and contained hazardous substances.

        7361. To date, Valley Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7362. Defendant Van’s Iron & Metal Inc. (“Van’s Iron”) is responsible for the waste

 attributable to Gilbert Iron & Metal Co., Inc. (“Gilbert Iron”).

        7363. According to Chemetco Site records, Gilbert Iron contributed at least 124,968 lbs.

 of materials to the Chemetco Site. These materials were generated by Gilbert Iron and contained

 hazardous substances.

        7364. To date, Van’s Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7365. According to Chemetco Site records, Defendant Vandalia Electric Motor Service,

 Inc. (“Vandalia Electric”) contributed at least 7,305 lbs. of materials to the Chemetco Site. These

 materials were generated by Vandalia Electric and contained hazardous substances.

        7366. To date, Vandalia Electric has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7367. According to Chemetco Site records, Defendant Vaughn Battery Company

 (“Vaughn Battery”) contributed at least 22,320 lbs. of materials to the Chemetco Site. These

 materials were generated by Vaughn Battery and contained hazardous substances.

        7368. To date, Vaughn Battery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7369. According to Chemetco Site records, Defendant Veazey Milling (“Veazey”)

 contributed at least 464,276 lbs. of materials to the Chemetco Site. These materials were

 generated by Veazey and contained hazardous substances.

        7370. To date, Veazey has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7371. According to Chemetco Site records, Defendant Venice Scrap (“Venice Scrap”)

 contributed at least 115 lbs. of materials to the Chemetco Site. These materials were generated

 by Venice Scrap and contained hazardous substances.

        7372. To date, Venice Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7373. According to Chemetco Site records, Defendant Ventura Industries (“Ventura

 Industries”) contributed at least 89 lbs. of materials to the Chemetco Site. These materials were

 generated by Ventura Industries and contained hazardous substances.

        7374. To date, Ventura Industries has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7375. According to Chemetco Site records, Defendant Venture Metals, LLC (“Venture

 Metals”) contributed at least 147,911 lbs. of materials to the Chemetco Site. These materials

 were generated by Venture Metals and contained hazardous substances.




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        7376. To date, Venture Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7377. Defendant Veolia ES Technical Solutions, LLC (“Veolia Solutions”) is

 responsible for the waste attributable to Global Recycling Technologies (“Global Recycling”).

        7378. In or about 2003, Onyx Environmental Services LLC (“Onyx”) acquired Global

 Recycling.

        7379. In or about 2006, Onyx amended its name to Veolia Solutions.

        7380. According to Chemetco Site records, Global Recycling contributed at least

 226,853 lbs. of materials to the Chemetco Site. These materials were generated by Global

 Recycling and contained hazardous substances.

        7381. Additionally, Veolia Solutions is responsible for the waste attributable to

 Shoreland Metals, Inc. (“Shoreland Metals, Inc.”).

        7382. In or about 2002, Onyx acquired Shoreland Metals, Inc.

        7383. According to Chemetco Site records, Shoreland Metals, Inc. contributed at least

 1,100,271 lbs. of materials to the Chemetco Site. These materials were generated by Shoreland

 Metals, Inc. and contained hazardous substances.

        7384. To date, Veolia Solutions has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7385. Defendant Veolia Special Services, Inc. (“Veolia Services”) is responsible for the

 waste attributable to Superior Special Services, Inc. (“Superior Services”).

        7386. In or about 2003, Superior Services amended its name to Onyx Special Services,

 Inc. (“Onyx Special”).

        7387. In or about 2006, Onyx Special amended its name to Veolia Services.




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        7388. According to Chemetco Site records, Superior Services contributed at least

 299,700 lbs. of materials to the Chemetco Site. These materials were generated by Superior

 Services and contained hazardous substances.

        7389. To date, Veolia Services has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7390. According to Chemetco Site records, Defendant Versatile Metals, Inc. (“Versatile

 Metals”) contributed at least 148,655 lbs. of materials to the Chemetco Site. These materials

 were generated by Versatile Metals and contained hazardous substances.

        7391. To date, Versatile Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7392. According to Chemetco Site records, Defendant Vertical Seal Company

 (“Vertical Seal”) contributed at least 71,282 lbs. of materials to the Chemetco Site. These

 materials were generated by Vertical Seal and contained hazardous substances.

        7393. To date, Vertical Seal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7394. According to Chemetco Site records, Defendant Vertical Turbine Specialists

 (“Vertical Turbine”) contributed at least 10,648 lbs. of materials to the Chemetco Site. These

 materials were generated by Vertical Turbine and contained hazardous substances.

        7395. To date, Vertical Turbine has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7396. According to Chemetco Site records, Defendant Vi-Cal Metal (“Vi-Cal”)

 contributed at least 29 lbs. of materials to the Chemetco Site. These materials were generated by

 Vi-Cal and contained hazardous substances.




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        7397. To date, Vi-Cal has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7398. According to Chemetco Site records, Defendant Vickers (“Vickers”) contributed

 at least 60,938 lbs. of materials to the Chemetco Site. These materials were generated by Vickers

 and contained hazardous substances.

        7399. To date, Vickers has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7400. According to Chemetco Site records, Defendant Vicksburg Iron (“Vicksburg

 Iron”) contributed at least 321 lbs. of materials to the Chemetco Site. These materials were

 generated by Vicksburg Iron and contained hazardous substances.

        7401. To date, Vicksburg Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7402. According to Chemetco Site records, Defendant Victor Valley Recycling (“Victor

 Valley”) contributed at least 5,066 lbs. of materials to the Chemetco Site. These materials were

 generated by Victor Valley and contained hazardous substances.

        7403. To date, Victor Valley has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7404. According to Chemetco Site records, Defendant Victory Auto Wreckers, Inc.

 (“Victory Auto”) contributed at least 178,327 lbs. of materials to the Chemetco Site. These

 materials were generated by Victory Auto and contained hazardous substances.

        7405. To date, Victory Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7406. According to Chemetco Site records, Defendant Vincent A. Pace Inc. (“A. Pace

 Inc.”) contributed at least 1,672,022 lbs. of materials to the Chemetco Site. These materials were

 generated by A. Pace Inc. and contained hazardous substances.

        7407. To date, A. Pace Inc. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7408. According to Chemetco Site records, Defendant Virginia Insulated Products, Inc.

 (“Virginia Products”) contributed at least 7,358 lbs. of materials to the Chemetco Site. These

 materials were generated by Virginia Products and contained hazardous substances.

        7409. To date, Virginia Products has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7410. According to Chemetco Site records, Defendant Virginia Scrap (“Virginia Scrap”)

 contributed at least 235,100 lbs. of materials to the Chemetco Site. These materials were

 generated by Virginia Scrap and contained hazardous substances.

        7411. To date, Virginia Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7412. According to Chemetco Site records, Defendant Vishay Dale Electronics, LLC

 (“Vishay”) contributed at least 95,614 lbs. of materials to the Chemetco Site. These materials

 were generated by Vishay and contained hazardous substances.

        7413. To date, Vishay has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7414. According to Chemetco Site records, Defendant Vista Metals (“Vista Metals”)

 contributed at least 71 lbs. of materials to the Chemetco Site. These materials were generated by

 Vista Metals and contained hazardous substances.




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        7415. To date, Vista Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7416. According to Chemetco Site records, Defendant Vista Recycling, Inc. (“Vista

 Recycling”) contributed at least 16,627 lbs. of materials to the Chemetco Site. These materials

 were generated by Vista Recycling and contained hazardous substances.

        7417. To date, Vista Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7418. According to Chemetco Site records, Defendant Visteon Corporation (“Visteon”)

 contributed at least 62,242 lbs. of materials to the Chemetco Site. These materials were

 generated by Visteon and contained hazardous substances.

        7419. To date, Visteon has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7420. According to Chemetco Site records, Defendant Vito Martinos Service & Supply

 (“Martinos Service”) contributed at least 193 lbs. of materials to the Chemetco Site. These

 materials were generated by Martinos Service and contained hazardous substances.

        7421. To date, Martinos Service has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7422. According to Chemetco Site records, Defendant Volex Activity Committee

 (“Volex Committee”) contributed at least 516 lbs. of materials to the Chemetco Site. These

 materials were generated by Volex Committee and contained hazardous substances.

        7423. To date, Volex Committee has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7424. According to Chemetco Site records, Defendant Vosges (“Vosges”) contributed at

 least 41 lbs. of materials to the Chemetco Site. These materials were generated by Vosges and

 contained hazardous substances.

        7425. To date, Vosges has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7426. According to Chemetco Site records, Defendant Vought Aircraft Company

 (“Vought Aircraft”) contributed at least 1,840 lbs. of materials to the Chemetco Site. These

 materials were generated by Vought Aircraft and contained hazardous substances.

        7427. To date, Vought Aircraft has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7428. According to Chemetco Site records, Defendant Vulcan Materials (“Vulcan”)

 contributed at least 32,743 lbs. of materials to the Chemetco Site. These materials were

 generated by Vulcan and contained hazardous substances.

        7429. To date, Vulcan has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7430. According to Chemetco Site records, Defendant W. Silver Recycling, Inc.

 (“Silver Recycling”) contributed at least 44,790 lbs. of materials to the Chemetco Site. These

 materials were generated by Silver Recycling and contained hazardous substances.

        7431. To date, Silver Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7432. According to Chemetco Site records, Defendant W.C. Rose (“W.C. Rose”)

 contributed at least 1,658 lbs. of materials to the Chemetco Site. These materials were generated

 by W.C. Rose and contained hazardous substances.




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        7433. To date, W.C. Rose has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7434. According to Chemetco Site records, Defendant W.I. Sandy’s (“W.I. Sandy’s”)

 contributed at least 3,872 lbs. of materials to the Chemetco Site. These materials were generated

 by W.I. Sandy’s and contained hazardous substances.

        7435. To date, W.I. Sandy’s has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7436. According to Chemetco Site records, Defendant W.S.I., Inc. (“W.S.I.”)

 contributed at least 299 lbs. of materials to the Chemetco Site. These materials were generated

 by W.S.I. and contained hazardous substances.

        7437. To date, W.S.I. has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7438. According to Chemetco Site records, Defendant W.W. Enterprises (“W.W.

 Enterprises”) contributed at least 13,550 lbs. of materials to the Chemetco Site. These materials

 were generated by W.W. Enterprises and contained hazardous substances.

        7439. To date, W.W. Enterprises has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7440. According to Chemetco Site records, Defendant W&W Recycling (“W&W

 Recycling”) contributed at least 329 lbs. of materials to the Chemetco Site. These materials were

 generated by W&W Recycling and contained hazardous substances.

        7441. To date, W&W Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7442. According to Chemetco Site records, Defendant Wabash Alloys (“Wabash

 Alloys”) contributed at least 558 lbs. of materials to the Chemetco Site. These materials were

 generated by Wabash Alloys and contained hazardous substances.

        7443. To date, Wabash Alloys has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7444. According to Chemetco Site records, Defendant Wabash Iron & Metal Company,

 Inc. (“Wabash Metal”) contributed at least 84,506 lbs. of materials to the Chemetco Site. These

 materials were generated by Wabash Metal and contained hazardous substances.

        7445. To date, Wabash Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7446. According to Chemetco Site records, Defendant Wacter Metals & Recycling, Inc.

 (“Wacter Metals”) contributed at least 9,675 lbs. of materials to the Chemetco Site. These

 materials were generated by Wacter Metals and contained hazardous substances.

        7447. To date, Wacter Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7448. According to Chemetco Site records, Defendant Wagers Salvage and Recycling,

 Inc. (“Wagers Salvage”) contributed at least 3,054 lbs. of materials to the Chemetco Site. These

 materials were generated by Wagers Salvage and contained hazardous substances.

        7449. To date, Wagers Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7450. According to Chemetco Site records, Defendant Waldorf Iron (“Waldorf Iron”)

 contributed at least 11 lbs. of materials to the Chemetco Site. These materials were generated by

 Waldorf Iron and contained hazardous substances.




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        7451. To date, Waldorf Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7452. According to Chemetco Site records, Defendant Walker Auto (“Walker Auto”)

 contributed at least 3,480 lbs. of materials to the Chemetco Site. These materials were generated

 by Walker Auto and contained hazardous substances.

        7453. To date, Walker Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7454. According to Chemetco Site records, Defendant Walker Metallurigical

 Corporation (“Walker”) contributed at least 4,097 lbs. of materials to the Chemetco Site. These

 materials were generated by Walker and contained hazardous substances.

        7455. To date, Walker has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7456. According to Chemetco Site records, Defendant Walker’s Main (“Walker’s

 Main”) contributed at least 62,112 lbs. of materials to the Chemetco Site. These materials were

 generated by Walker’s Main and contained hazardous substances.

        7457. To date, Walker’s Main has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7458. According to Chemetco Site records, Defendant Wall Auto Wreckers (“Wall

 Wreckers”) contributed at least 66,106 lbs. of materials to the Chemetco Site. These materials

 were generated by Wall Wreckers and contained hazardous substances.

        7459. To date, Wall Wreckers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7460. According to Chemetco Site records, Defendant Wallace Recycling, Inc.

 (“Wallace Recycling”) contributed at least 261,631 lbs. of materials to the Chemetco Site. These

 materials were generated by Wallace Recycling and contained hazardous substances.

        7461. To date, Wallace Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7462. According to Chemetco Site records, Defendant Wallace Steel (“Wallace Steel”)

 contributed at least 5,467 lbs. of materials to the Chemetco Site. These materials were generated

 by Wallace Steel and contained hazardous substances.

        7463. To date, Wallace Steel has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7464. According to Chemetco Site records, Defendant Wallach Iron & Metal Co., Inc.

 (“Wallach Metal”) contributed at least 907,304 lbs. of materials to the Chemetco Site. These

 materials were generated by Wallach Metal and contained hazardous substances.

        7465. To date, Wallach Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7466. According to Chemetco Site records, Defendant Walt’s Radiator (“Walt’s”)

 contributed at least 19,536 lbs. of materials to the Chemetco Site. These materials were

 generated by Walt’s and contained hazardous substances.

        7467. To date, Walt’s has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7468. According to Chemetco Site records, Defendant Walton Metals (“Walton

 Metals”) contributed at least 870,313 lbs. of materials to the Chemetco Site. These materials

 were generated by Walton Metals and contained hazardous substances.




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          7469. To date, Walton Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

          7470. According to Chemetco Site records, Defendant Wanaco Inc. (“Wanaco”)

 contributed at least 3,518 lbs. of materials to the Chemetco Site. These materials were generated

 by Wanaco and contained hazardous substances.

          7471. To date, Wanaco has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

          7472. Defendant Wang Electric Systems, LLC (“Wang Electric Systems”) is responsible

 for the waste attributable to Wang Electric, Inc. (“Wang Electric”).

          7473. In or about 1984, Wang Electric was incorporated with the Arizona Secretary of

 State.

          7474. In or about 2004, Wang Electric Systems was incorporated with the Arizona

 Secretary of State.

          7475. In or about 2015, Wang Electric was dissolved.

          7476. Wang Electric’s last officers of record were Nils and Sherry Wang, at 4107 East

 Winslow Avenue, Phoenix, Arizona 85040 (the “Winslow address”).

          7477. Wang Electric Systems’ current officers of record are Nils and Sherry Wang, at

 the Winslow address.

          7478. According to Chemetco Site records, Wang Electric contributed at least 6,078 lbs.

 of materials to the Chemetco Site. These materials were generated by Wang Electric and

 contained hazardous substances.

          7479. To date, Wang Electric Systems has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7480. According to Chemetco Site records, Defendant Wapak Iron and Metal

 (“Wapak”) contributed at least 42 lbs. of materials to the Chemetco Site. These materials were

 generated by Wapak and contained hazardous substances.

        7481. To date, Wapak has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7482. According to Chemetco Site records, Defendant Ward Printing (“Ward Printing”)

 contributed at least 202 lbs. of materials to the Chemetco Site. These materials were generated

 by Ward Printing and contained hazardous substances.

        7483. To date, Ward Printing has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7484. According to Chemetco Site records, Defendant Ward Salvage (“Ward Salvage”)

 contributed at least 2,646 lbs. of materials to the Chemetco Site. These materials were generated

 by Ward Salvage and contained hazardous substances.

        7485. To date, Ward Salvage has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7486. According to Chemetco Site records, Defendant Warehouse Management

 (“Warehouse Management”) contributed at least 931,267 lbs. of materials to the Chemetco Site.

 These materials were generated by Warehouse Management and contained hazardous

 substances.

        7487. To date, Warehouse Management has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7488. According to Chemetco Site records, Defendant Warren Co. Metal (“Warren

 Metal”) contributed at least 9,312 lbs. of materials to the Chemetco Site. These materials were

 generated by Warren Metal and contained hazardous substances.

        7489. To date, Warren Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7490. According to Chemetco Site records, Defendant Warren County (“Warren

 County”) contributed at least 21,711 lbs. of materials to the Chemetco Site. These materials were

 generated by Warren County and contained hazardous substances.

        7491. To date, Warren County has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7492. According to Chemetco Site records, Defendant Warrenton Copper LLC

 (“Warrenton Copper”) contributed at least 5,675,962 lbs. of materials to the Chemetco Site.

 These materials were generated by Warrenton Copper and contained hazardous substances.

        7493. To date, Warrenton Copper has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7494. According to Chemetco Site records, Defendant Washington Iron Works, Inc.

 (“Washington Iron”) contributed at least 19,961 lbs. of materials to the Chemetco Site. These

 materials were generated by Washington Iron and contained hazardous substances.

        7495. To date, Washington Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7496. According to Chemetco Site records, Defendant Washington Recycling

 (“Washington Recycling”) contributed at least 98 lbs. of materials to the Chemetco Site. These

 materials were generated by Washington Recycling and contained hazardous substances.




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        7497. To date, Washington Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7498. According to Chemetco Site records, Defendant Wastach Metal Recycling

 (“Wastach Recycling”) contributed at least 47,760 lbs. of materials to the Chemetco Site. These

 materials were generated by Wastach Recycling and contained hazardous substances.

        7499. To date, Wastach Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7500. According to Chemetco Site records, Defendant Waste Management of Arizona

 (“WMA”) contributed at least 9,181,995 lbs. of materials to the Chemetco Site. These materials

 were generated by WMA and contained hazardous substances.

        7501. To date, WMA has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7502. According to Chemetco Site records, Defendant Waste Not Recycling (“Waste

 Not”) contributed at least 2,305 lbs. of materials to the Chemetco Site. These materials were

 generated by Waste Not and contained hazardous substances.

        7503. To date, Waste Not has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7504. Defendant WCA of Missouri, LLC doing business as Waste Corporation of

 Missouri (“WCA of Missouri”) is responsible for the waste attributable to Waste Corporation of

 Missouri, Inc. (“Waste Corporation of MO”).

        7505. In or about 2000, Waste Corporation of MO was formed as a Delaware

 corporation.




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        7506. In or about 2016, Waste Corporation of MO was dissolved, with last officer of

 record as Michael A. Roy at 1330 Post Oak Boulevard, 30th Floor, Houston, Texas 77056

 (“Post Oak address”).

        7507. In or about 2016, WCA of Missouri was formed as a Delaware corporation, with

 officer Michael Roy at the Post Oak address.

        7508. Waste Corporation of MO was a subsidiary of Waste Corporation of America,

 and WCA of Missouri is a subsidiary of Waste Corporation of America.

        7509. According to Chemetco Site records, Waste Corporation of MO contributed at

 least 68,700 lbs. of materials to the Chemetco Site. These materials were generated by Waste

 Corporation of MO and contained hazardous substances.

        7510. To date, WCA of Missouri has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7511. According to Chemetco Site records, Defendant Webb Metals, Ltd. (“Webb

 Metals”) contributed at least 15,187 lbs. of materials to the Chemetco Site. These materials were

 generated by Webb Metals and contained hazardous substances.

        7512. To date, Webb Metals has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7513. According to Chemetco Site records, Defendant Weber Auto & Truck Parts

 (“Weber Auto”) contributed at least 54 lbs. of materials to the Chemetco Site. These materials

 were generated by Weber Auto and contained hazardous substances.

        7514. To date, Weber Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7515. According to Chemetco Site records, Defendant Weber Transport (“Weber

 Transport”) contributed at least 52,669 lbs. of materials to the Chemetco Site. These materials

 were generated by Weber Transport and contained hazardous substances.

        7516. To date, Weber Transport has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7517. According to Chemetco Site records, Defendant Weems Enterprises, Inc.

 (“Weems”) contributed at least 324 lbs. of materials to the Chemetco Site. These materials were

 generated by Weems and contained hazardous substances.

        7518. To date, Weems has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7519. According to Chemetco Site records, Defendant Weigh & Pay Scrap (“Weigh &

 Pay”) contributed at least 77,601 lbs. of materials to the Chemetco Site. These materials were

 generated by Weigh & Pay and contained hazardous substances.

        7520. To date, Weigh & Pay has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7521. According to Chemetco Site records, Defendant Weiner Broker (“Weiner

 Broker”) contributed at least 992 lbs. of materials to the Chemetco Site. These materials were

 generated by Weiner Broker and contained hazardous substances.

        7522. To date, Weiner Broker has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7523. According to Chemetco Site records, Defendant Weiser Recycling, Inc. (“Weiser

 Recycling”) contributed at least 9,411 lbs. of materials to the Chemetco Site. These materials

 were generated by Weiser Recycling and contained hazardous substances.




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        7524. To date, Weiser Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7525. According to Chemetco Site records, Defendant Weissman Iron (“Weissman”)

 contributed at least 591,869 lbs. of materials to the Chemetco Site. These materials were

 generated by Weissman and contained hazardous substances.

        7526. To date, Weissman has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7527. According to Chemetco Site records, Defendant Weisz Iron & Metal (“Weisz”)

 contributed at least 2,326 lbs. of materials to the Chemetco Site. These materials were generated

 by Weisz and contained hazardous substances.

        7528. To date, Weisz has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7529. According to Chemetco Site records, Defendant Weller Auto Parts, Inc. (“Weller

 Auto Parts”) contributed at least 13,458 lbs. of materials to the Chemetco Site. These materials

 were generated by Weller Auto Parts and contained hazardous substances.

        7530. To date, Weller Auto Parts has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7531. According to Chemetco Site records, Defendant Wellston Scrap (“Wellston”)

 contributed at least 59 lbs. of materials to the Chemetco Site. These materials were generated by

 Wellston and contained hazardous substances.

        7532. To date, Wellston has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7533. According to Chemetco Site records, Defendant Wentworth Scrap (“Wentworth”)

 contributed at least 111,090 lbs. of materials to the Chemetco Site. These materials were

 generated by Wentworth and contained hazardous substances.

        7534. To date, Wentworth has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7535. Defendant Wes’s Auto & Diesel Repair, L.L.C. (“Wes’s Auto”) is responsible for

 the waste attributable to Wes’s Heavy Duty Radiator (“Heavy Duty Radiator”).

        7536. According to Chemetco Site records, Heavy Duty Radiator contributed at least

 27,898 lbs. of materials to the Chemetco Site. These materials were generated by Heavy Duty

 Radiator and contained hazardous substances.

        7537. To date, Wes’s Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7538. Defendant Wesbell Investment Recovery Ltd. (“Wesbell Recovery”) is

 responsible for the waste attributable to Wesbell Asset Recovery Center, Inc. (“Wesbell Asset

 Recovery”).

        7539. On or about March 21, 2013, Wesbell Asset Recovery amended its name to

 Wesbell Recovery.

        7540. According to Chemetco Site records, Wesbell Asset Recovery contributed at least

 89,390 lbs. of materials to the Chemetco Site. These materials were generated by Wesbell Asset

 Recovery and contained hazardous substances.

        7541. To date, Wesbell Recovery has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7542. According to Chemetco Site records, Defendant WESCO Distribution, Inc.

 (“WESCO Distribution”) contributed at least 1,076 lbs. of materials to the Chemetco Site. These

 materials were generated by WESCO Distribution and contained hazardous substances.

        7543. To date, WESCO Distribution has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7544. According to Chemetco Site records, Defendant Wesley Holmes (“Wesley

 Holmes”) contributed at least 430 lbs. of materials to the Chemetco Site. These materials were

 generated by Wesley Holmes and contained hazardous substances.

        7545. To date, Wesley Holmes has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7546. According to Chemetco Site records, Defendant Wesman Salvage (“Wesman

 Salvage”) contributed at least 117,086 lbs. of materials to the Chemetco Site. These materials

 were generated by Wesman Salvage and contained hazardous substances.

        7547. To date, Wesman Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7548. According to Chemetco Site records, Defendant West Allis Sales (“West Allis”)

 contributed at least 26,102 lbs. of materials to the Chemetco Site. These materials were

 generated by West Allis and contained hazardous substances.

        7549. To date, West Allis has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7550. According to Chemetco Site records, Defendant West Brant Iron (“Brant Iron”)

 contributed at least 103,385 lbs. of materials to the Chemetco Site. These materials were

 generated by Brant Iron and contained hazardous substances.




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        7551. To date, Brant Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7552. According to Chemetco Site records, Defendant West Coast Metal (“West Coast

 Metal”) contributed at least 1,015 lbs. of materials to the Chemetco Site. These materials were

 generated by West Coast Metal and contained hazardous substances.

        7553. To date, West Coast Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7554. According to Chemetco Site records, Defendant West End Hide, Fur & Metal Co.,

 Inc. (“West End”) contributed at least 23,696 lbs. of materials to the Chemetco Site. These

 materials were generated by West End and contained hazardous substances.

        7555. To date, West End has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7556. According to Chemetco Site records, Defendant West End Scrap (“West End

 Scrap”) contributed at least 12,620 lbs. of materials to the Chemetco Site. These materials were

 generated by West End Scrap and contained hazardous substances.

        7557. To date, West End Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7558. According to Chemetco Site records, Defendant West Florida (“West Florida”)

 contributed at least 19,864 lbs. of materials to the Chemetco Site. These materials were

 generated by West Florida and contained hazardous substances.

        7559. To date, West Florida has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7560. According to Chemetco Site records, Defendant West Michigan Iron & Metal,

 Inc. doing business as Dusty’s Scrap (“Michigan Iron”) contributed at least 2,672,749 lbs. of

 materials to the Chemetco Site. These materials were generated by Michigan Iron and contained

 hazardous substances.

        7561. To date, Michigan Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7562. According to Chemetco Site records, Defendant West Philadelphia Bronze

 Corporation (“Philadelphia Bronze”) contributed at least 115,460 lbs. of materials to the

 Chemetco Site. These materials were generated by Philadelphia Bronze and contained hazardous

 substances.

        7563. To date, Philadelphia Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7564. According to Chemetco Site records, Defendant West Virginia (“West Virginia”)

 contributed at least 432,808 lbs. of materials to the Chemetco Site. These materials were

 generated by West Virginia and contained hazardous substances.

        7565. To date, West Virginia has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7566. According to Chemetco Site records, Defendant West Warwick Scrap Metal

 (“Warwick Scrap”) contributed at least 388 lbs. of materials to the Chemetco Site. These

 materials were generated by Warwick Scrap and contained hazardous substances.

        7567. To date, Warwick Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7568. According to Chemetco Site records, Defendant Westbank Metal (“Westbank”)

 contributed at least 408,593 lbs. of materials to the Chemetco Site. These materials were

 generated by Westbank and contained hazardous substances.

        7569. To date, Westbank has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7570. According to Chemetco Site records, Defendant Westbank Metals Corporation

 (“Westbank Metals”) contributed at least 41,835 lbs. of materials to the Chemetco Site. These

 materials were generated by Westbank Metals and contained hazardous substances.

        7571. To date, Westbank Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7572. Defendant Westcoast Recycling, Inc. (“Westcoast Recycling”) is responsible for

 the waste attributable to Westcoast Scrap, Inc. (“Westcoast Scrap”).

        7573. In or about 1989, Westcoast Scrap was formed as a Florida corporation.

        7574. In or about October 1992, Westcoast Scrap was administratively dissolved for

 failure to file an annual report, with last officers of record as Charles Gray, Jr. and Mary F. Gray

 at 5246 Southwest 20th Place, Cape Coral, Florida (the “20th Pl. address”).

        7575. In or about March 1995, Westcoast Recycling was formed as Florida corporation,

 with incorporators Charles Gray, Jr. and Mary F. Gray, at the 20th Pl. address.

        7576. According to Chemetco Site records, Westcoast Scrap contributed at least 16,759

 lbs. of materials to the Chemetco Site. These materials were generated by Westcoast Scrap and

 contained hazardous substances.

        7577. To date, Westcoast Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7578. According to Chemetco Site records, Defendant Westech Recyclers International

 Group, LLC doing business as Westech Recyclers (“Westech Recyclers”) contributed at least

 11,340 lbs. of materials to the Chemetco Site. These materials were generated by Westech

 Recyclers and contained hazardous substances.

        7579. To date, Westech Recyclers has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7580. According to Chemetco Site records, Defendant Western Brass (“Western Brass”)

 contributed at least 4,549,787 lbs. of materials to the Chemetco Site. These materials were

 generated by Western Brass and contained hazardous substances.

        7581. To date, Western Brass has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7582. According to Chemetco Site records, Defendant Western Bronze, Inc. (“Western

 Bronze”) contributed at least 18,293 lbs. of materials to the Chemetco Site. These materials were

 generated by Western Bronze and contained hazardous substances.

        7583. To date, Western Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7584. According to Chemetco Site records, Defendant Western Carolina Forklift

 (“Carolina Forklift”) contributed at least 170 lbs. of materials to the Chemetco Site. These

 materials were generated by Carolina Forklift and contained hazardous substances.

        7585. To date, Carolina Forklift has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7586. According to Chemetco Site records, Defendant Western Metal Co. (“Western

 Metal Co.”) contributed at least 1,179,075 lbs. of materials to the Chemetco Site. These materials

 were generated by Western Metal Co. and contained hazardous substances.

        7587. To date, Western Metal Co. has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7588. According to Chemetco Site records, Defendant Western Metal Recycling

 (“Western Metal”) contributed materials to the Chemetco Site. These materials were generated

 by Western Metal and contained hazardous substances.

        7589. To date, Western Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7590. According to Chemetco Site records, Defendant Western Metal Recycling LLC

 (“Western Metal Recycling”) contributed at least 822,849 lbs. of materials to the Chemetco Site.

 These materials were generated by Western Metal Recycling and contained hazardous

 substances.

        7591. To date, Western Metal Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7592. According to Chemetco Site records, Defendant Western Recycling (“Western

 Recycling”) contributed at least 384,781 lbs. of materials to the Chemetco Site. These materials

 were generated by Western Recycling and contained hazardous substances.

        7593. To date, Western Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7594. According to Chemetco Site records, Defendant Western Scrap Processing Co.,

 Inc. (“Western Scrap”) contributed at least 84,766 lbs. of materials to the Chemetco Site. These

 materials were generated by Western Scrap and contained hazardous substances.

        7595. To date, Western Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7596. According to Chemetco Site records, Defendant Western Smelting & Metals Inc.

 (“Western Smelting”) contributed at least 45,341 lbs. of materials to the Chemetco Site. These

 materials were generated by Western Smelting and contained hazardous substances.

        7597. To date, Western Smelting has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7598. According to Chemetco Site records, Defendant Westernore, Inc. (“Westernore”)

 contributed at least 5,226 lbs. of materials to the Chemetco Site. These materials were generated

 by Westernore and contained hazardous substances.

        7599. To date, Westernore has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7600. According to Chemetco Site records, Defendant WesTex Iron & Metal Company

 (“WesTex”) contributed at least 35,434 lbs. of materials to the Chemetco Site. These materials

 were generated by WesTex and contained hazardous substances.

        7601. To date, WesTex has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7602. According to Chemetco Site records, Defendant Westinghouse (“Westinghouse”)

 contributed at least 78,019 lbs. of materials to the Chemetco Site. These materials were

 generated by Westinghouse and contained hazardous substances.




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        7603. To date, Westinghouse has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7604. Defendant Westinghouse Air Brake Technologies Corporation (“Wabtec”) is

 responsible for the waste attributable to Perma-Cast (“Perma-Cast”).

        7605. According to Chemetco Site records, Perma-Cast contributed at least 54,914 lbs.

 of materials to the Chemetco Site. These materials were generated by Perma-Cast and contained

 hazardous substances.

        7606. To date, Wabtec has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7607. According to Chemetco Site records, Defendant Westminco (“Westminco”)

 contributed at least 7,572 lbs. of materials to the Chemetco Site. These materials were generated

 by Westminco and contained hazardous substances.

        7608. To date, Westminco has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7609. According to Chemetco Site records, Defendant Westside Radiator Service,

 L.L.C. (“Westside Radiator”) contributed at least 40,619 lbs. of materials to the Chemetco Site.

 These materials were generated by Westside Radiator and contained hazardous substances.

        7610. To date, Westside Radiator has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7611. According to Chemetco Site records, Defendant Wharton Enterprises

 (“Wharton”) contributed at least 701 lbs. of materials to the Chemetco Site. These materials were

 generated by Wharton and contained hazardous substances.




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        7612. To date, Wharton has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7613. According to Chemetco Site records, Defendant Wheeler Metals, Inc. (“Wheeler

 Metal”) contributed at least 23,349 lbs. of materials to the Chemetco Site. These materials were

 generated by Wheeler Metal and contained hazardous substances.

        7614. To date, Wheeler Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7615. According to Chemetco Site records, Defendant White Bluff (“White Bluff”)

 contributed at least 6,281 lbs. of materials to the Chemetco Site. These materials were generated

 by White Bluff and contained hazardous substances.

        7616. To date, White Bluff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7617. According to Chemetco Site records, Defendant White Metal (“White Metal”)

 contributed at least 1,509 lbs. of materials to the Chemetco Site. These materials were generated

 by White Metal and contained hazardous substances.

        7618. To date, White Metal has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7619. According to Chemetco Site records, Defendant Wholesale Radiator Warehouse

 (“Radiator Warehouse”) contributed at least 442 lbs. of materials to the Chemetco Site. These

 materials were generated by Radiator Warehouse and contained hazardous substances.

        7620. To date, Radiator Warehouse has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7621. According to Chemetco Site records, Defendant Wichita Iron & Metals

 Corporation, Inc. (“Wichita Metals”) contributed at least 52,365 lbs. of materials to the

 Chemetco Site. These materials were generated by Wichita Metals and contained hazardous

 substances.

        7622. To date, Wichita Metals has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7623. According to Chemetco Site records, Defendant Wild West Wind (“Wild West

 Wind”) contributed at least 33,448 lbs. of materials to the Chemetco Site. These materials were

 generated by Wild West Wind and contained hazardous substances.

        7624. To date, Wild West Wind has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7625. According to Chemetco Site records, Defendant Wilhoit Company (“Wilhoit”)

 contributed at least 1,495 lbs. of materials to the Chemetco Site. These materials were generated

 by Wilhoit and contained hazardous substances.

        7626. To date, Wilhoit has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7627. According to Chemetco Site records, Defendant Wilkoff & Sons LLC (“Wilkoff

 & Sons”) contributed at least 121,429 lbs. of materials to the Chemetco Site. These materials

 were generated by Wilkoff & Sons and contained hazardous substances.

        7628. To date, Wilkoff & Sons has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7629. According to Chemetco Site records, Defendant Willamette Trading (“Willamette

 Trading”) contributed at least 1,305 lbs. of materials to the Chemetco Site. These materials were

 generated by Willamette Trading and contained hazardous substances.

        7630. To date, Willamette Trading has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7631. According to Chemetco Site records, Defendant William Nelson Co. (“Nelson

 Co.”) contributed at least 592 lbs. of materials to the Chemetco Site. These materials were

 generated by Nelson Co. and contained hazardous substances.

        7632. To date, Nelson Co. has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7633. According to Chemetco Site records, Defendant William Reisner Corporation

 (“William Reisner”) contributed at least 135,220 lbs. of materials to the Chemetco Site. These

 materials were generated by William Reisner and contained hazardous substances.

        7634. To date, William Reisner has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7635. According to Chemetco Site records, Defendant Williams Mobile (“Williams

 Mobile”) contributed at least 670 lbs. of materials to the Chemetco Site. These materials were

 generated by Williams Mobile and contained hazardous substances.

        7636. To date, Williams Mobile has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7637. According to Chemetco Site records, Defendant Willoughby Iron and Waste

 Materials LLC (“Willoughby Iron”) contributed at least 8,694 lbs. of materials to the Chemetco

 Site. These materials were generated by Willoughby Iron and contained hazardous substances.




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        7638. To date, Willoughby Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7639. According to Chemetco Site records, Defendant Wills Point Inc. (“Wills Point”)

 contributed at least 22,492 lbs. of materials to the Chemetco Site. These materials were

 generated by Wills Point and contained hazardous substances.

        7640. To date, Wills Point has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7641. According to Chemetco Site records, Defendant Wills Point Iron and Metal

 (“Wills Point Iron”) contributed at least 22,492 lbs. of materials to the Chemetco Site. These

 materials were generated by Wills Point Iron and contained hazardous substances.

        7642. To date, Wills Point Iron has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7643. According to Chemetco Site records, Defendant Wilson’s Metal Exchange, Inc.

 (“Wilson’s Metal”) contributed at least 39,595 lbs. of materials to the Chemetco Site. These

 materials were generated by Wilson’s Metal and contained hazardous substances.

        7644. To date, Wilson’s Metal has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7645. According to Chemetco Site records, Defendant Winchester (“Winchester”)

 contributed at least 1,728 lbs. of materials to the Chemetco Site. These materials were generated

 by Winchester and contained hazardous substances.

        7646. To date, Winchester has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7647. Defendant Winchester Electronics Corp. (“Winchester Electronics”) is

 responsible for the waste attributable to Kings Electronics Co., Inc. (“Kings Electronics”).

        7648. In or about August 2012, Kings Electronics was acquired by and merged with and

 into Winchester Electronics.

        7649. According to Chemetco Site records, Kings Electronics contributed at least 8,496

 lbs. of materials to the Chemetco Site. These materials were generated by Kings Electronics and

 contained hazardous substances.

        7650. To date, Winchester Electronics has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7651. According to Chemetco Site records, Defendant Windtech, Inc. (“Windtech”)

 contributed at least 147,911 lbs. of materials to the Chemetco Site. These materials were

 generated by Windtech and contained hazardous substances.

        7652. To date, Windtech has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7653. According to Chemetco Site records, Defendant Wire Recycling Inc. (“Wire

 Recycling”) contributed at least 1,126 lbs. of materials to the Chemetco Site. These materials

 were generated by Wire Recycling and contained hazardous substances.

        7654. To date, Wire Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7655. According to Chemetco Site records, Defendant Wisconsin Recycling

 (“Wisconsin Recycling”) contributed at least 26,529 lbs. of materials to the Chemetco Site.

 These materials were generated by Wisconsin Recycling and contained hazardous substances.




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        7656. To date, Wisconsin Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7657. According to Chemetco Site records, Defendant Wise Recycling, LLC (“Wise

 Recycling”) contributed at least 66,834 lbs. of materials to the Chemetco Site. These materials

 were generated by Wise Recycling and contained hazardous substances.

        7658. To date, Wise Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7659. According to Chemetco Site records, Defendant Wittenberg Scrap (“Wittenberg

 Scrap”) contributed at least 24,802 lbs. of materials to the Chemetco Site. These materials were

 generated by Wittenberg Scrap and contained hazardous substances.

        7660. To date, Wittenberg Scrap has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7661. According to Chemetco Site records, Defendant WM Miller Scrap Iron & Metal

 (“Miller Scrap”) contributed at least 2,146,315 lbs. of materials to the Chemetco Site. These

 materials were generated by Miller Scrap and contained hazardous substances.

        7662. To date, Miller Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7663. According to Chemetco Site records, Defendant Wolf Iron and Metal (“Wolf

 Iron”) contributed at least 75,741 lbs. of materials to the Chemetco Site. These materials were

 generated by Wolf Iron and contained hazardous substances.

        7664. To date, Wolf Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7665. According to Chemetco Site records, Defendant Wolverine Bronze Company

 (“Wolverine Bronze”) contributed at least 14,014 lbs. of materials to the Chemetco Site. These

 materials were generated by Wolverine Bronze and contained hazardous substances.

        7666. To date, Wolverine Bronze has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7667. According to Chemetco Site records, Defendant Womack Salvage (“Womack

 Salvage”) contributed at least 820 lbs. of materials to the Chemetco Site. These materials were

 generated by Womack Salvage and contained hazardous substances.

        7668. To date, Womack Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7669. According to Chemetco Site records, Defendant Wood & Tomkin (“Wood &

 Tomkin”) contributed at least 582,091 lbs. of materials to the Chemetco Site. These materials

 were generated by Wood & Tomkin and contained hazardous substances.

        7670. To date, Wood & Tomkin has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7671. According to Chemetco Site records, Defendant Wood Brothers Steel Stamping

 Co. doing business as Ames Metal Products Company (“Wood”) contributed at least 18,412 lbs.

 of materials to the Chemetco Site. These materials were generated by Wood and contained

 hazardous substances.

        7672. To date, Wood has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7673. According to Chemetco Site records, Defendant Woody’s US (“Woody’s”)

 contributed at least 91,148 lbs. of materials to the Chemetco Site. These materials were

 generated by Woody’s and contained hazardous substances.

        7674. To date, Woody’s has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7675. According to Chemetco Site records, Defendant Woonsocket Auto (“Woonsocket

 Auto”) contributed at least 9,416 lbs. of materials to the Chemetco Site. These materials were

 generated by Woonsocket Auto and contained hazardous substances.

        7676. To date, Woonsocket Auto has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7677. According to Chemetco Site records, Defendant Wooster Iron & Metal (“Wooster

 Iron”) contributed at least 3,254,659 lbs. of materials to the Chemetco Site. These materials were

 generated by Wooster Iron and contained hazardous substances.

        7678. To date, Wooster Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7679. According to Chemetco Site records, Defendant World Automotive (“World

 Automotive”) contributed at least 132,540 lbs. of materials to the Chemetco Site. These materials

 were generated by World Automotive and contained hazardous substances.

        7680. To date, World Automotive has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7681. According to Chemetco Site records, Defendant WRG, Inc. doing business as

 Buckeye Metal Co. (“WRG”) contributed at least 170,421 lbs. of materials to the Chemetco Site.

 These materials were generated by WRG and contained hazardous substances.




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        7682. To date, WRG has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7683. According to Chemetco Site records, Defendant Wright Salvage (“Wright

 Salvage”) contributed at least 5,018 lbs. of materials to the Chemetco Site. These materials were

 generated by Wright Salvage and contained hazardous substances.

        7684. To date, Wright Salvage has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7685. According to Chemetco Site records, Defendant Wright’s Recycling (“Wright’s

 Recycling”) contributed at least 2,788 lbs. of materials to the Chemetco Site. These materials

 were generated by Wright’s Recycling and contained hazardous substances.

        7686. To date, Wright’s Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7687. According to Chemetco Site records, Defendant Wright’s Scrap Metals Inc. doing

 business as Wright’s Scrap & Recycling (“Wright’s Scrap”) contributed at least 64,389 lbs. of

 materials to the Chemetco Site. These materials were generated by Wright’s Scrap and contained

 hazardous substances.

        7688. To date, Wright’s Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7689. Defendant WTE Corporation (“WTE”) is responsible for the waste attributable to

 J. Sax & Co., Inc. (“J. Sax”).

        7690. In or about 1999, WTE acquired J. Sax.




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        7691. According to Chemetco Site records, J. Sax contributed at least 3,910 lbs. of

 materials to the Chemetco Site. These materials were generated by J. Sax and contained

 hazardous substances.

        7692. To date, WTE has not paid any response costs incurred by the Chemetco Group at

 the Chemetco Site.

        7693. Defendant Wurth Electronics Midcom Inc. (“Wurth Midcom”) is responsible for

 the waste attributable to Midcom, Inc. (“Midcom”).

        7694. On or about February 7, 2007, Midcom amended its name to Wurth Midcom.

        7695. According to Chemetco Site records, Midcom contributed at least 6,341 lbs. of

 materials to the Chemetco Site. These materials were generated by Midcom and contained

 hazardous substances.

        7696. To date, Wurth Midcom has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7697. According to Chemetco Site records, Defendant WW Auto Sala (“WW Auto”)

 contributed at least 34,021 lbs. of materials to the Chemetco Site. These materials were

 generated by WW Auto and contained hazardous substances.

        7698. To date, WW Auto has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7699. According to Chemetco Site records, Defendant Wyckoff, Inc. (“Wyckoff”)

 contributed at least 57,383 lbs. of materials to the Chemetco Site. These materials were

 generated by Wyckoff and contained hazardous substances.

        7700. To date, Wyckoff has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7701. According to Chemetco Site records, Defendant Wyoming Recycling (“Wyoming

 Recycling”) contributed at least 81,059 lbs. of materials to the Chemetco Site. These materials

 were generated by Wyoming Recycling and contained hazardous substances.

        7702. To date, Wyoming Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7703. According to Chemetco Site records, Defendant XCerra Corporation doing

 business as Everett Charles Technology (“XCerra”) contributed at least 2,741 lbs. of materials to

 the Chemetco Site. These materials were generated by XCerra and contained hazardous

 substances.

        7704. To date, XCerra has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.

        7705. According to Chemetco Site records, Defendant Xenia Iron & Metal (“Xenia

 Iron”) contributed at least 195,996 lbs. of materials to the Chemetco Site. These materials were

 generated by Xenia Iron and contained hazardous substances.

        7706. To date, Xenia Iron has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7707. Defendant Yerberia San Francisco, Inc. (“Yerberia”) is responsible for the waste

 attributable to Silverado Radiator & Muffler Shop, Inc. (“Silverado Radiator”).

        7708. According to Chemetco Site records, Silverado Radiator contributed at least 5,235

 lbs. of materials to the Chemetco Site. These materials were generated by Silverado Radiator and

 contained hazardous substances.

        7709. To date, Yerberia has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.




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        7710. According to Chemetco Site records, Defendant Yong Sing (US), Inc. doing

 business as Sun-Lite Metals (“Yong Sing”) contributed at least 242,537 lbs. of materials to the

 Chemetco Site. These materials were generated by Yong Sing and contained hazardous

 substances.

        7711. To date, Yong Sing has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7712. According to Chemetco Site records, Defendant Yorke Doliner & Company

 (“Yorke Doliner”) contributed at least 43,925 lbs. of materials to the Chemetco Site. These

 materials were generated by Yorke Doliner and contained hazardous substances.

        7713. To date, Yorke Doliner has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7714. According to Chemetco Site records, Defendant You Name It (“You Name It”)

 contributed at least 191 lbs. of materials to the Chemetco Site. These materials were generated

 by You Name It and contained hazardous substances.

        7715. To date, You Name It has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7716. According to Chemetco Site records, Defendant Young Recycling Inc. (“Young

 Recycling”) contributed at least 658,913 lbs. of materials to the Chemetco Site. These materials

 were generated by Young Recycling and contained hazardous substances.

        7717. To date, Young Recycling has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.




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        7718. According to Chemetco Site records, Defendant Yuba City Scrap (“Yuba City”)

 contributed at least 10 lbs. of materials to the Chemetco Site. These materials were generated by

 Yuba City and contained hazardous substances.

        7719. To date, Yuba City has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7720. According to Chemetco Site records, Defendant Yudin Scrap Metal (“Yudin

 Scrap”) contributed at least 92,866 lbs. of materials to the Chemetco Site. These materials were

 generated by Yudin Scrap and contained hazardous substances.

        7721. To date, Yudin Scrap has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7722. According to Chemetco Site records, Defendant Z Recyclers (“Z Recyclers”)

 contributed at least 2,616 lbs. of materials to the Chemetco Site. These materials were generated

 by Z Recyclers and contained hazardous substances.

        7723. To date, Z Recyclers has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7724. Defendant Z-Tech Global Solutions LLC (“Z-Tech”) is responsible for the waste

 attributable to Axcess Technologies LLP (“Axcess”).

        7725. According to Chemetco Site records, Axcess contributed at least 406,176 lbs. of

 materials to the Chemetco Site. These materials were generated by Axcess and contained

 hazardous substances.

        7726. To date, Z-Tech has not paid any response costs incurred by the Chemetco Group

 at the Chemetco Site.




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        7727. According to Chemetco Site records, Defendant 0ZLG Cores (“0ZLG Cores”)

 contributed at least 6,384 lbs. of materials to the Chemetco Site. These materials were generated

 by 0ZLG Cores and contained hazardous substances.

        7728. To date, 0ZLG Cores has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7729. According to Chemetco Site records, Defendant Zinc Corporation of America

 (“Zinc Corporation”) contributed at least 84,180 lbs. of materials to the Chemetco Site. These

 materials were generated by Zinc Corporation and contained hazardous substances.

        7730. To date, Zinc Corporation has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7731. According to Chemetco Site records, Defendant Zinc Nacional (“Zinc Nacional”)

 contributed at least 2,514 lbs. of materials to the Chemetco Site. These materials were generated

 by Zinc Nacional and contained hazardous substances.

        7732. To date, Zinc Nacional has not paid any response costs incurred by the Chemetco

 Group at the Chemetco Site.

        7733. According to Chemetco Site records, Defendant Zircon Precision Inc. (“Zircon

 Precision”) contributed at least 181 lbs. of materials to the Chemetco Site. These materials were

 generated by Zircon Precision and contained hazardous substances.

        7734. To date, Zircon Precision has not paid any response costs incurred by the

 Chemetco Group at the Chemetco Site.

        7735. According to Chemetco Site records, Defendant Zoila Esperanza Nunez de Cortez

 (“Zoila Esperanza”) contributed at least 306,147 lbs. of materials to the Chemetco Site. These

 materials were generated by Zoila Esperanza and contained hazardous substances.




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         7736. To date, Zoila Esperanza has not paid any response costs incurred by the

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                        COUNT I – COST RECOVERY UNDER CERCLA

         7737. The Chemetco Group realleges and incorporates by reference Paragraph Nos. 1

 through 7736 of this Complaint as if fully restated herein.

         7738. Section 107(a)(3)-(4) of CERCLA, 42 U.S.C. §§ 9607(a)(3)-(4), provides, in

 relevant part, that:

         Notwithstanding any other provision or rule of law, and subject only to the
         defenses set forth in subsection (b) of this section --

         (3) any person who by contract, agreement, or otherwise arranged for disposal or
         treatment, or arranged with a transporter for transport for disposal or treatment, of
         hazardous substances owned or possessed by such person, by any other party or
         entity, at any facility or incineration vessel owned or operated by another party or
         entity and containing such hazardous substances, and

         (4) any person who accepts or accepted any hazardous substances for transport to
         disposal or treatment facilities, incineration vessels or sites selected by such
         person, from which there is a release, or threatened release which causes the
         incurrence of response costs, of a hazardous substance, shall be liable for -- (A)
         all costs of removal or remedial action incurred by... a State... not inconsistent
         with the national contingency plan; (B) any other necessary costs of response
         incurred by any other person consistent with the national contingency plan;....

         7739. “Disposal” is defined in CERCLA Section 101(29) by reference to the Solid

 Waste Disposal Act (“SWDA”). 42 U.S.C. § 9601(29). The SWDA defines “disposal” as “the

 discharge, deposit, injection, dumping, spilling, leaking, or placing of any solid waste or

 hazardous waste into or on any land or water so that such solid waste or hazardous waste or any

 constituent thereof may enter the environment or be emitted into the air or discharged into any

 waters, including ground waters.” 42 U.S.C. § 6903(3).




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        7740. “Facility” is defined in CERCLA Section 101(9) as “any building, structure,

 installation, equipment, pipe or pipeline” or “any site or area where a hazardous substance has

 been deposited, stored, disposed of, or placed....” 42 U.S.C. § 9601(9).

        7741. “Hazardous substance” is defined in CERCLA Section 101(14) by reference to

 other federal statutes and by reference to a list of substances published by EPA at 40 C.F.R. §

 302.4. 42 U.S.C. § 9601(14).

        7742. “Person” is defined in CERCLA Section 101(21) as “an individual, firm,

 corporation, association, partnership, consortium, joint venture, commercial entity, United States

 Government, State, municipality, commission, political subdivision of a State, or any interstate

 body.” 42 U.S.C. § 9601(20).

        7743. “Release” is defined in CERCLA Section 101(22) as “any spilling, leaking,

 pumping, pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping or

 disposing into the environment (including the abandonment or discarding of barrels, containers,

 and other closed receptacles containing any hazardous substance or pollutant or contaminant)....”

 42 U.S.C. § 9601(22).

        7744. “Response” is defined in CERCLA Section 101(25), and includes “removal”

 actions, “remedial” actions, and enforcement activities related thereto. 42 U.S.C. § 9601(25).

        7745. The Chemetco Site is a “facility” within the meaning of Section 101(9) of

 CERCLA, 42 U.S.C. § 9601(9).

        7746. There has been a “release” and/or a threatened “release” of “hazardous

 substances” at the Chemetco Site which has caused the incurrence of “response costs” by the

 Chemetco Group, within the meanings of Sections 101(22), 101(14) and 107 of CERCLA, 42

 U.S.C. §§ 9601(22), 9601(14) and 9607.




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        7747. The Chemetco Group is a “person” within the meaning of Section 101(21) of

 CERCLA, 42 U.S.C. § 9601(21).

        7748. Each of the Defendants is a “person” within the meaning of Section 101(21) of

 CERCLA, 42 U.S.C. § 9601(21).

        7749. Pursuant to CERCLA, 42 U.S.C. §§ 9607(a)(3) and/or 9607(a)(4), each

 Defendant is liable as an arranger or generator of materials containing hazardous substances,

 which materials were disposed at the Chemetco Site; and/or a transporter of hazardous

 substances who selected the Chemetco Site for the disposal of such hazardous substances, and

 who did dispose of such hazardous substances at the Site.

        7750. As a result of the release and threatened release of hazardous substances at or

 from the Chemetco Site, the Chemetco Group has incurred response costs and will continue to

 incur costs of “response,” as that term is defined by Section 101(25) of CERCLA, 42 U.S.C. §

 9601(25).

        7751. The response costs incurred by the Chemetco Group in connection with the

 Chemetco Site are consistent with the NCP.

        7752. Pursuant to CERCLA Sections 107 and 113, 42 U.S.C. §§ 9607 and 9613, each

 Defendant is strictly, jointly and severally liable for the voluntary past and future response costs

 incurred and to be incurred by the Chemetco Group in response to the release or threatened

 release of hazardous substances at and from the Chemetco Site.

        WHEREFORE, the Chemetco Group respectfully requests that this Court enter a

 judgment in its favor and against all Defendants holding that each Defendant is strictly, jointly

 and severally liable for the voluntary response costs incurred and to be incurred by the Chemetco

 Group, including appropriate pre-judgment interest, in connection with the release and/or




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 threatened release of hazardous substances at the Chemetco Site. The Chemetco Group further

 requests that this Court award interest and costs of suit, including reasonable attorney’s fees and

 consultant fees as permitted by law; and order any such other relief as the Court may deem just

 and appropriate under the circumstances.

                        COUNT II – CONTRIBUTION UNDER CERCLA

         7753. The Chemetco Group realleges and incorporates by reference Paragraph Nos. 1

 through 7752 of this Complaint as if fully restated herein.

         7754. Sections 113(f)(1) and (3)(B) of CERCLA, 42 U.S.C. §§ 9613(f)(1) and (3)(B),

 provide, in relevant part, that:

         Any person may seek contribution from any other person who is liable or
         potentially liable under section 9607(a)....

         A person who has resolved its liability to the United States or a State for some or
         all of a response action or for some or all of the costs of such action in an
         administrative or judicially approved settlement may seek contribution from any
         person who is not party to a settlement....

         7755. The Chemetco Group has resolved its liability to EPA for matters covered in the

 RI/FS AOC.

         7756. All Defendants are liable parties under CERCLA, but have not resolved their

 liability to the Chemetco Group or EPA.

         7757. Through December 31, 2017, the Chemetco Group has been compelled to incur

 and/or otherwise pay over $1,000,000 in response costs at the Chemetco Site under the RI/FS

 AOC.

         7758. The Chemetco Group is entitled to contribution from all Defendants under

 Section 113(f) of CERCLA, 42 U.S.C. § 9613(f), for Defendants’ respective equitable shares of

 all costs and damages incurred by the Chemetco Group, including applicable interest as provided

 for in Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).


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         WHEREFORE, the Chemetco Group respectfully requests that this Court enter a

 declaratory judgment against all Defendants finding that they are each liable under CERCLA and

 are obligated to pay for their equitable shares of all past and future response costs, including

 appropriate pre-judgment interest, associated with the Chemetco Site. The Chemetco Group

 further requests that this Court award interest and costs of suit, including reasonable attorney’s

 fees and consultant fees as permitted by law; and order any such other relief as the Court may

 deem just and appropriate under the circumstances.

                 COUNT III – DECLARATORY RELIEF UNDER CERCLA

         7759. The Chemetco Group alleges and incorporates by reference Paragraph Nos. 1

 through 7758 of this Complaint as if fully restated herein.

         7760. There is a present and actual controversy between the Chemetco Group and all

 Defendants concerning their respective rights and obligations with respect to the response costs

 associated with the Chemetco Site.

         7761. Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), provides, in relevant part,

 that:

         In any such action described in this subsection, the court shall enter a declaratory
         judgment on liability for response costs or damages that will be binding on any
         subsequent action or actions to recover further response costs or damages. A
         subsequent action or actions under section 9607 of this title for further response
         costs at the vessel or facility may be maintained at any time during the response
         action, but must be commenced no later than 3 years after the date of completion
         of all response action. Except as otherwise provided in this paragraph, an action
         may be commenced under section 9607 of this title for recovery of costs at any
         time after such costs have been incurred.

         7762. The Chemetco Group seeks a declaratory judgment under Section 113(g)(2) of

 CERCLA, 42 U.S.C. § 9613(g)(2), against all Defendants holding them liable for their respective

 equitable shares of response costs, that will be binding in any subsequent action to recover




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 further response costs.

          7763. The Chemetco Group is entitled to judgment against all Defendants for past and

 future response costs incurred in connection with the Chemetco Site.

          WHEREFORE, the Chemetco Group respectfully prays that this Court enter a declaratory

 judgment against all Defendants finding that they are each liable under CERCLA and are

 obligated to pay for their equitable shares of all past and future response costs associated with the

 Chemetco Site. The Chemetco Group further requests that this Court award interest and costs of

 suit, including reasonable attorney’s fees and consultant fees as permitted by law; and order any

 such relief as the Court may deem just and appropriate under the circumstances.

 Dated:    February 12, 2018                   Respectfully submitted,

                                               THE JUSTIS LAW FIRM LLC


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